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                     MASTER AGREEMENT

                            between
                      MACK TRUCKS, INC.


                             and the


                    INTERNATIONAL UNION
                     UNITED AUTOMOBILE
                       AEROSPACE AND
                  AGRICULTURAL IMPLEMENT
                   WORKERS OF AMERICA,
                              UAW
                     And Its Locals 171, 677,
                        1247, 2301, 2420


                October 25, 2019 – October 1, 2023




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                            MASTER AGREEMENT
                             MACK TRUCKS, INC.
                                 AND THE
                  INTERNATIONAL UNION UNITED AUTOMOBILE
                  AEROSPACE AND AGRICULTURAL IMPLEMENT
                        WORKERS OF AMERICA, UAW


This Master Agreement (hereinafter designated as the “AGREEMENT”), made this 25th
day of October 2019 by and between MACK TRUCKS, INC., a Pennsylvania
corporation, (hereinafter designated as "MANAGEMENT" or the "COMPANY") and the
INTERNATIONAL         UNION,      UNITED    AUTOMOBILE,      AEROSPACE       AND
AGRICULTURAL IMPLEMENT WORKERS OF AMERICA, UAW, on its own behalf and
on behalf of its Locals Nos. 171, 677, 1247 and         2301 and 2420 (hereinafter
designated collectively as the "UNION"), covering bargaining unit employees of the
Company in facilities at Hagerstown, Maryland; Jacksonville, Florida; Allentown,
Pennsylvania; Macungie, Pennsylvania; Middletown, Pennsylvania; and Baltimore,
Maryland is for the purpose of memorializing the Agreement between the Parties
(hereinbefore the Company and the Union).

WITNESSETH:

That the Parties hereto mutually agree as follows:


                             ARTICLE 1 - RECOGNITION

SECTION 1

The Company recognizes the Union as the exclusive collective bargaining agent for the
employees of the Company in the bargaining units described in the Local Supplemental
Agreements.

SECTION 2

The Company agrees to notify the Union as promptly as practicable of its intention to
construct or acquire any new facility or any addition thereto.

SECTION 3 Management Rights

All management rights not expressly modified or relinquished by this Agreement are
reserved to the Company. Such rights will not be exercised in a manner that conflicts
with the express provisions of this Agreement. The exercise of such rights may be
made the subject of a grievance under Article 5 of this Agreement.




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                    ARTICLE 2 - UNION SHOP AND CHECK-OFF

SECTION 4

(a) All present employees covered by this Agreement who are members of the Union as
    of the date of the signing of this Agreement shall continue their membership in the
    Union as a condition of employment. All present employees covered by this
    Agreement who are not members of the Union as of the date of the signing of this
    Agreement shall, as a condition of employment, become members of the Union
    upon the thirtieth (30th) calendar day following the date of the signing of this
    Agreement. All employees hired on or after the date of the signing of this
    Agreement and covered by this Agreement shall, as a condition of employment
    become members of the Union upon the thirtieth (30th) calendar day following the
    date of their employment.

(b) All employees covered by this Agreement must become members of the Union and
    retain, as a condition of further employment, their membership in good standing in
    accordance with the Union's Constitution and By-laws for the duration of the
    contract, subject to the provisions of the National Labor Relations Act of 1947, as
    amended, or hereafter amended.

(c) The Company will not retain or re-employ in any job in the bargaining unit an
    employee who fails to comply with the provisions of this Section.

(d) If a dispute arises as to whether an employee has failed to maintain membership in
    good standing in the Union as required herein, such dispute may be submitted for
    determination by an arbitrator in accordance with the provisions of this contract.
    The decision of the arbitrator shall be final and binding upon the Parties.

(e) An employee shall not be required to become a member of or continue membership
    in the Union as a condition of employment, if employed in any state which prohibits,
    or otherwise makes unlawful, membership in a labor organization as a condition of
    employment.

SECTION 5

a) For the duration of this Agreement and subject to the provisions of this Section, the
   Company agrees to deduct from the wages earned, any regular benefits paid under
   the Supplemental Unemployment Benefits Plan, or any back pay awards for time
   lost from work as a result of a disciplinary suspension or discharge and pay over to
   the Local Union, the Union membership dues of all employees within the bargaining
   unit who are members of the Union and who, in writing, authorize and request the
   Company to do so in accordance with the provisions of this Section. In addition, any
   Settlement Bonus or payments under the Profit Sharing Plan shall have Union dues
   deducted at the rate of 1.44% of the total amount of any such payment. "Union
   membership dues" as used herein, means the employee's periodic dues and
   initiation fees. Should the Local Union later certify to the Company that the amount
   due as periodic Union dues has been changed, the Company shall deduct and remit
   in accordance with such certification. The Local Union will keep the Company

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   informed of the proper amounts to be deducted in each case, however, the
   frequency of such deduction shall be uniform throughout the Company. The Local
   Union shall give the Company at least two (2) weeks advance notice of any changes
   in the amounts to be deducted.

   Employees who desire to authorize and request the Company to make such
   deductions and payments of their Union membership dues shall use the form
   attached hereto as Exhibit 1 and entitled "Authorization for Check-off of Dues". An
   alternative form of authorization for use with employees in units located in right-to-
   work states is attached as Exhibit 1-A.

   Payroll deductions of the Union membership dues shall become effective in the
   calendar month during which the "Authorization for Check-off of Dues" form,
   properly filled out and signed by the employee, is submitted to the Company by the
   Local Union before the twentieth (20th) day of the month. If such forms are received
   on or after the twentieth (20th) day of the month, deductions shall become effective
   in the first payroll period of the subsequent month.

   Payroll deductions of Union membership dues will be made from the last full
   workweek of the month and shall be taken from the first payday of the following
   month. Dues will also be deducted during the month from any regular Supplemental
   Unemployment Benefits payment. All such sums deducted by the Company shall
   be remitted to the Local Union Financial Secretary no later than the fifteenth (15th)
   day of the month. The Company will furnish to the Local Union the identity of
   employees for whom payroll or Supplemental Unemployment Benefits payment
   dues deductions are made. Such list will be furnished not later than the work day
   following pay day.

   No payroll or Supplemental Unemployment Benefits deduction of Union
   membership dues shall be made from the earnings of any payroll period in which
   the employee’s earnings after deducting taxes and other deductions required by law
   are insufficient to cover the full deduction for such payments. Amounts not
   deducted in any payroll period in a month due to lack of earnings or for any other
   reason will be deducted, to the extent earnings are available, in the last payroll
   period commencing in that month, but in no event will the deduction of membership
   dues be deferred beyond the calendar month in which such membership dues are
   initially owed.

   Once each month, the Company will forward to the Local Union Financial Secretary
   a listing of employees’ names and badge numbers indicating the reason for failure
   to include any sum or sums which would ordinarily have been checked-off from the
   wages or Supplemental Unemployment Benefits payment of the employees on the
   list under the provisions of this section.

b) Any employee rehired after a loss of seniority status shall execute a new check-off
   authorization prior to any deductions of dues or initiation fees by the Company
   pursuant to this Article.


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                           ARTICLE 3 - REPRESENTATION

Representation provisions are contained in the respective Local Supplemental
Agreements.


                              ARTICLE 4 - NOTIFICATION

SECTION 6

The Union shall furnish the Company with a list of those employees elected to
represent the Union as set forth in Article 3 of the respective Local Supplemental
Agreements.

The Union will also furnish a list of the names of all officers of the Local Union referred
to in Article 3 or Article 6 of the respective Local Supplemental Agreements.

SECTION 7

The Company shall furnish the International Union and the respective Local Unions with
lists of the names of all employees in the respective bargaining units together with their
last known mailing addresses as reflected in the Company's personnel records. Mailing
lists will be provided in a reasonable timeframe upon request and it is understood that
their use shall be restricted to appropriate Union purposes and the information shall not
be disclosed to any third party.


                       ARTICLE 5 - GRIEVANCE PROCEDURE

A grievance is a specific request, protest or a complaint by an employee or the
Union regarding disciplinary actions, the administration, interpretation,
compliance or non-compliance of the contractual provisions of this collective
bargaining agreement and other matters pertaining to conditions of employment.
Should a grievance arise, the Union and the Company shall make an earnest
effort to ascertain the facts and seek a fair and equitable resolution through the
use of the following procedure.

The time limits specified throughout the grievance procedure may be extended by
written mutual agreement. In cases of suspension or discharge the grievance filing and
processing time limits for those cases are found in Article 19, Section 63 of the Master
Agreement.

SECTION 8            STEP ONE

Any employee or a designated member of a group of employees having a grievance
should first discuss the grievance with the appropriate supervisor within three (3)
working days of becoming knowledgeable of the issue, who will attempt to adjust it.


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If the grievance is not satisfactorily resolved after discussion, then it shall be reduced to
writing, in a method determined by the Company, signed by the employee and/or the
appropriate Local Union representative. Issues involving continued alleged contract
violations, the Union need only file a single grievance to preserve its ongoing position.
The Union will give written notice to Labor Relations of trailing occurrences. To be
considered timely, a grievance must be reduced to writing and filed with Management
within ten (10) working days of the occurrence of the facts giving rise to the grievance.
For the purpose of defining "working days" within this article, working days shall be
interpreted to mean the normal business days of Monday through Friday, excluding
contractual holidays. Days and plant shutdown periods during which the employee is
justifiably absent shall not be considered in computing the ten (10) day period. If the
Union has been notified by the Company in accordance with Local practice of any layoff
or recall, any grievance must be filed within the ten (10) day period.

The grievance shall be presented to the appropriate supervisor, with a copy to the
local Human Resources/Labor Relations Department.

The supervisor shall respond in writing, within five (5) working days after receipt of the
grievance.

The Union representative shall accept or reject the supervisor's answer, in writing,
within five (5) working days of receipt.

Any Article, Section or Agreement relied upon in the grievance or grievance answer
should be noted.

SECTION 9            STEP TWO

A written grievance which is not satisfactorily resolved by the written answer of the
supervisor shall be taken up by the appropriate Local Union representative with the
person designated in the applicable Local Supplemental Agreement as the Company's
Step 2 representative within ten (10) working days. The Company's Step 2
representative will give written answers to all grievances discussed at Step 2 within five
(5) working days after the meeting. The Union shall accept or reject the Company’s
answer within five (5) working days of its receipt. If the Grievance is not satisfactorily
resolved it shall be taken up with the appropriate Company representative for the facility
by the appropriate Local Union representative.

SECTION 10           STEP THREE- CHAIRPERSON / PRESIDENT

The appropriate Local Union representatives shall within the five (5) working days’ time
period advise the appropriate Company representatives in writing, of their desire to
discuss a specified grievance or grievances, which were unresolved at Step 2 or were
not required to be reviewed at Step 2, e.g. policy grievance. The Company
representatives will meet with the Local Union representatives within ten (10) working
days from the date of the receipt of notice, and will meet by mutual agreement

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thereafter, so long as any of the specified grievances remain unresolved. Attendees at
such meeting shall be limited to two (2) additional representatives for each party.

The Company representatives will give written answers to the written grievances
submitted to him within ten (10) working days after the meeting at which the grievance
is discussed. The Local Union Representative may have the assistance of the
International Representatives of the Union at this meeting and thereafter.

If the grievance is not satisfactorily resolved at this step, then the Local Union
representatives may appeal the grievance in writing to the Review Step within thirty (30)
working days from the date of receipt of the Company's written Third Step answer by
forwarding the appeal to the Corporate Labor Relations Department.

SECTION 11          REVIEW STEP

   a) Any grievance properly appealed to the Review Step of the grievance procedure
      shall be reviewed by the Parties in accordance with the provisions of this
      Section. In the case of properly appealed grievances involving discharge, the
      Review Step representatives shall arrange a meeting within two (2) weeks after
      receipt of notice.

   b) The Corporate Director of Employee and Labor Relations or designated
      representative, the designee of the Regional Director and/or the Mack Trucks
      Department Representative of the UAW will meet as necessary to hear
      grievances placed in the Review Step. Attendees at such meeting shall be
      limited to two (2) additional representatives for each Party.

   c) The Company's Review Step Representative shall give a written answer to all
      grievances discussed at the Review Step, within thirty (30) working days of a
      Review Step meeting. The Union's Review Step Representative will set forth, in
      writing, the Union's response to the written disposition of all grievances, within
      thirty (30) working days of receipt.

   d) Any dispute which is not settled by the foregoing grievance procedure, may be
      submitted to arbitration. Within thirty (30) days of rejecting the Review Step
      answer, the Union shall appeal the grievance to arbitration by giving written
      notice to the Corporate Director of Employee and Labor Relations. Any
      grievance which is not submitted to arbitration within this time period shall be
      considered settled on the basis of the last answer and not subject to further
      consideration.

   e) The Review Step may be waived by mutual agreement of the responsible
      Review Step representatives designated above. The Parties may, by mutual
      agreement of the responsible Review Step representatives, submit an
      unresolved grievance to mediation in lieu of or in addition to the Review Step of
      the grievance procedure. The purpose of mediation is to provide guidance to the


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     Parties in reaching an agreement to resolve a specific issue. The opinion of the
     mediator is not binding on the Parties nor may it be referenced in any arbitration
     nor may it be referenced in any adjudication. The Parties will select a mediator
     using the services of the Federal Mediation and Conciliation Service (FMCS).
     Following the mediation, both parties shall have thirty (30) calendar days to
     accept or reject the mediation recommendation. If the parties do not settle the
     grievance within thirty (30) working days of the mediation, the Union may appeal
     the grievance to arbitration as defined in Article 5, Section 12(a). The Company
     and the Union shall bear equally the costs, fees and expenses incidental to
     proceedings before the mediator.

  f) Expedited Arbitration

     The parties, in efforts to bring about quick resolution of workplace disputes or
     reduce costs of formal arbitrations, may elect to utilize expedited arbitration of
     grievances in lieu of the review step. Expedited arbitrations shall be limited to
     cases of discharge or disciplinary lay-off of five (5) or more days or grievances
     dealing with alleged contractual violations of the respective Supplemental
     Agreement. The Union shall notify the Company within thirty (30) working days
     from the date of receipt of the Company's written Third Step answers of its desire
     to waive the review step and move the grievance to expedited arbitration. The
     decision to proceed to expedited arbitration in lieu of the normal grievance
     procedure is subject to the review and agreement of the appropriate UAW
     International or Regional Representative and the respective Company review
     step representative. Such agreement shall not be unreasonably withheld. The
     Union shall contact American Arbitration Association within 15 working days of
     receipt of written approval for the request for expedited arbitration.

     1) The parties shall designate an arbitrator under the rules of expedited
        arbitration of the American Arbitration Association.

     2) The hearing shall be conducted in accordance with the following:
        (a) The Rules and Procedure for Expedited Arbitration of the American
            Arbitration Association shall apply.
        (b) AAA shall appoint a neutral arbitrator.
        (c) The parties shall discuss and confirm dates for the expedited arbitration.
        (d) Each case shall be presented by the appropriate local representative,
            which may include the third-step grievance representative.
        (e) The hearing shall be informal. No briefs or transcripts are to be made.
        (f) The arbitrator shall issue a decision no later than seven (7) days after the
            conclusion of the hearing excluding Saturdays, Sundays and holidays.
            The arbitrator’s decision shall be based on the records and testimony
            presented during the hearing and shall include a brief written explanation
            for the basis of his conclusion. These decisions shall not be cited as
            precedent in any grievance or arbitration procedure.
        (g) The decision rendered by the arbitrator will be binding upon the parties.
        (h) The costs shall be shared equally by the parties.

SECTION 12        ARBITRATION


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(a) The Parties shall designate a permanent arbitrator to serve for a period of one year.
    A permanent arbitrator may be terminated by mutual agreement at any time and a
    new permanent arbitrator selected. The one year term may be renewed for
    subsequent one year terms on an annual basis.

   (1) In the event the Union desires to take an unresolved grievance to arbitration, it
      must make application to the permanent arbitrator within three (3) months of the
      date that the Union notified the Company in writing of its intent to appeal the
      grievance to arbitration. The arbitration shall be held within twelve (12) months
      of the date the Union notified the Company of its intent to appeal to arbitration or
      such grievances shall be considered withdrawn and resolved without prejudice or
      precedent. These dates may be extended by mutual agreement.

(b) During any period when the permanent arbitrator is unavailable or when mutual
   agreement has not been reached on a permanent arbitrator, arbitration cases shall
   be heard by temporary arbitrators selected in accordance with the following
   procedure.

   (1) The American Arbitration Association shall provide, upon receipt of the Union's
       written Notice of Request for Arbitration, the names of five (5) candidates. The
       Union shall make such request consistent with the time elements defined in
       Article 5, Section 12(a).

   (2) If the Company and the Union cannot agree upon the selection of any of these
       five (5) candidates as arbitrator within ten (10) days from the date the names are
       submitted by the American Arbitration Association, each party shall alternately
       have the privilege of rejecting one (1) of the names until there is one candidate
       remaining and the remaining candidate shall be the arbitrator.

(c) Neither Party shall be called upon to submit to arbitration unless the foregoing
    procedure for the appointment of an arbitrator has been followed.

(d) The arbitrator is not empowered to hear any grievance which has not been the
    subject of written notice as provided above unless both parties agree to the
    submission of such grievance.

(e) The power of the arbitrator stems from this Agreement, and the arbitrator's function
    is to interpret and apply this Agreement and any other agreement which the parties
    may enter into supplemental thereto. The arbitrator shall have no power to add to,
    or subtract from or modify, any of the terms of this Agreement or any of the terms of
    any agreement which may be supplemental thereto, except as such power may be
    conferred upon the arbitrator by any of the provisions of this agreement.

   The decision of the arbitrator shall be final and binding upon the Company, the
   Union and the employees.


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(f) The Company and the Union shall bear equally the cost, fees and expenses
    incidental to proceedings before the arbitrator.

(g) Except in grievances being discussed during Expedited Arbitration, the procedure
    for hearing disputes referred to the arbitrator shall be left to the discretion of the
    arbitrator after consultation with the Parties.

(h) In discipline and discharge cases, the Parties explicitly authorize the arbitrator to
    consider the statutory discrimination issues that are, or could be, the subject of an
    unfair labor practice charge under the National Labor Relations Act. The arbitrator
    is directed by the Parties to identify each statutory issue and explain why the facts
    presented either do or do not support the unfair labor practice allegation.

SECTION 13

(a) The Company shall pay the President of the Local Union or the Vice President in the
    absence of the President for time spent in attendance at meetings with Company
    representatives (excluding meetings with supervisors) or arbitration proceedings.
    Such payment shall be at the regular paid rate.

(b) The Company shall pay an employee on the active payroll for time required to testify
    at arbitration proceedings. Such employees shall be paid their regular paid rate.

SECTION 14

The foregoing provisions shall not deprive any employee or employees of the
employee’s rights under Section 9 (a) of the National Labor Relations Act.

SECTION 15

The Parties will continue to meet from time to time to discuss matters of mutual interest.

SECTION 16

The Company will make every effort to pay settlements for settled grievances when all
information has been properly verified, not later than the second pay period following
receipt of the information. A copy of the letter authorizing payment will be given to the
Local Union.




                               ARTICLE 6 - SENIORITY

SECTION 17



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(a) The first ninety (90) work days of continuous employment shall be a probationary
    period during which time an employee may be terminated without recourse. There
    shall be no obligation on the part of the Company to recall a probationary employee
    laid off because of a reduction in force. The seniority of employees retained by the
    Company beyond the probationary period shall date from the date of hire. If a
    probationary employee is not making satisfactory progress during his probationary
    period and faces the risk of release, the appropriate Local Union representative will
    be notified by the Company so that he may provide to the probationary employee
    whatever counseling may be necessary or appropriate. In the event a probationary
    employee is released, prior to obtaining seniority, the Company shall promptly notify
    the appropriate Local Union representative.

(b) Days on which an employee is absent shall not be counted in accumulating the
    ninety (90) work days referred to above. However, when an employee has
    completed ninety (90) work days, the seniority date shall be the employee’s date of
    hire. An employee’s ninety (90) work days must be accumulated within a period of
    one (1) year following the date of hire.

(c) If an employee is terminated due to a reduction in force during the probationary
    period and is subsequently rehired by the Company within a one (1) year period
    following the original date of hire, such employee may acquire seniority by working a
    number of days which, when added to the number of days worked in such
    employee’s prior period of employment, will equal ninety (90). In such case, the
    employee’s seniority date shall be established by counting back ninety (90) work
    days beginning with the day on which such employee completed ninety (90) days of
    work.

(d) The seniority order of employees hired after the effective date of this Agreement
    who commence work on the same date shall be determined by using the last four
    digits of each employee’s social security number (i.e., the employee with the lower
    number shall be deemed to have the greater seniority).

(e) In the event of a transfer of employees with the same seniority date from one facility
    of the Company to another, the relative order of seniority established at the facility
    from which they transferred shall be preserved. Employees who are already at the
    facility to which such jobs are transferred who have the same seniority as the
    transferred employees, shall be deemed to have the greater seniority. Employees
    who transfer in from different facilities, at the same time, with the same seniority
    date, shall have their relative seniority order established in accordance with
    paragraph (d) above. Employees who transfer from other Company facilities on the
    same date shall have greater seniority than new hires, if their respective date of
    transfer and date of hire are the same.

(f) Seniority shall continue to accumulate during periods of layoff up to the maximum
    period of layoff provided in Section 18 below.



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(g) For the purposes of layoff, recall or the filling of vacancies, a new employee must
    complete ninety (90) work days of active employment in any one year, even though
    not consecutive.

(h) An employee who has accumulated less than ninety (90) work days in one year,
    shall be deemed to possess no seniority rights for any purpose. If such employee is
    rehired or retained in the Company's employ after such year, the employee shall be
    required to accumulate active employment without reference to the prior
    employment, in order to attain seniority status. A new year for the purposes of
    acquiring complete seniority under this Section, shall commence with the date of
    rehire.

SECTION 18           LOSS OF SENIORITY

Seniority shall be lost for any of the following reasons:

(a) Voluntary resignation.

(b) Discharge for just cause.

(c) If an employee has been laid off or notified not to report to work on a particular day
    and fails to return to work within five (5) working days after proper notification has
    been delivered to the employee, unless a reasonable excuse can be furnished.
    Notification shall be in writing delivered to the employee in person or sent to the
    employee by registered mail, return receipt requested or by certified mail. The
    Company shall be entitled to rely upon the address shown in the records of its
    personnel office. If an employee is unavailable for such delivery at such address,
    such employee shall notify the Company in writing of the reason for such
    unavailability and notify the Company of the date on which the employee will be
    available for such delivery. Proper reason for non-availability shall constitute a
    reasonable excuse for failure to report. The Company will acknowledge in writing to
    the employee receipt of such information.

(d) If the employee is absent for five (5) consecutive working days without satisfactory
    cause.

(e) If, having satisfactory cause, the employee is absent for five (5) consecutive working
    days without giving notice to the Company's personnel office of the reason for such
    absence. No employee shall lose seniority for failure to give such notice if the
    employee submits a reasonable excuse for such failure. The employee shall
    receive written acknowledgment of the notice required by this Section.

(f) (1) Retirement in accordance with the Pension Agreement, except for employees
        receiving permanent and total disability benefits.
    (2) Acceptance of severance payments under the Supplemental Unemployment
        Benefits Plan and Severance Pay Plan.


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(g) In the case of an employee with seniority who has been employed six (6) months or
    less if the employee has been laid off twelve (12) consecutive months.

(h) In the case of an employee who has been employed more than six (6) months but
    not more than two (2) years if the employee has been laid off for twenty-four (24)
    consecutive months.

(i) In the case of an employee who has been employed more than two (2) years if the
    employee has been laid off for a period equal to such employee's seniority upon the
    date of such layoff.

(j) The acceptance and placement of an employee into a supervisory or non-bargaining
    unit position at a facility covered by the Master Agreement.

(k) Upon the conclusion of their accumulation of seniority period as specified in Article
    10, Section 23, paragraph (b), sub-paragraphs (1), (2), or (3), employees who are
    continuously absent thereafter due to a non-work related or work-related injury or
    illness and who fails to demonstrate their current medical and work status in writing
    to their facility’s Labor Relations Office on an annual basis during the calendar
    month in which they first became absent, shall lose their seniority.

   The company will provide the employee a letter notifying them of their obligation to
   annually report their non-work related or work related injury or illness when the
   employee begins LTD. In order to maintain the employee-employer relationship the
   company will notify the employee and the local union in writing prior to the loss of
   their seniority. It is the responsibility of the employee to maintain accurate and
   updated information in the respective employer’s personnel file. This includes, but
   is not limited to, name, address, phone numbers, etc.

SECTION 19

Notice of loss of seniority will be given to the Local Union and to the employee involved
at the employee's last known address, in writing, immediately upon an entry to that
effect being made in the personnel records of the Company. The notice to the Local
Union will include the employee's telephone number unless designated as an unlisted
number, badge number, certified mail number and last address of record.

SECTION 20

Seniority lists shall be prepared and furnished to each member of the Local Union
Committee and four (4) additional copies to the Local Union who shall make them
available for the inspection of employees and other Local Union Officials. Seniority lists
shall be revised quarterly by the Company and shall be so arranged that the employee
with the highest seniority shall be first on the list and the employee with the lowest
seniority shall be the last. The Local Union will receive quarterly a seniority list showing
employees laid off. In the event of special elections, the Company will provide a



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seniority list for the use of the election committee when sufficient advance notice is
received from the Local Union.

SECTION 21            MASTER RECALL LIST

A Master Recall List will be maintained to provide employment opportunities for eligible
employees from any of the bargaining units covered by the respective Local
Supplemental Agreements who are on involuntary layoff for any reason, and for eligible
employees affected by a facility closing or partial closing.


(a) Eligibility for Inclusion on the Master Recall List:

   (1) Employees having established seniority (as defined in this Article) who have
       been laid off involuntarily for six (6) consecutive months from a bargaining unit
       covered by the respective Local Supplemental Agreements. Laid-off employees
       are eligible for immediate placement on the Master Recall List for other
       bargaining units within their home work site.

   (2) Employees having established seniority and who are placed on layoff due to a
       facility closing after the effective date of this Agreement.

   (3) Employees having established seniority and who are placed on layoff as a direct
       result of a partial facility closing (excluding layoff in lieu of transfer) after the
       effective date of this Agreement. A partial facility closing is defined as, the
       elimination of work as a direct result of a single event of the sale, transfer, or
       permanent discontinuance of a product line or business segment which will
       cause a permanent reduction in force of the lesser of twenty percent (20%) or
       one hundred and fifty (150) employees in the bargaining unit then on the active
       payroll, or an aggregate reduction of 30 percent or more from the active
       bargaining unit payroll as of the effective date of this Agreement resulting from a
       series of events as described above.

(b) Each eligible employee at the time of their joint layoff processing meeting will be
    required to indicate his desire, in writing, on forms provided by the Company to be
    included on the Master Recall List. Such employee’s failure to indicate his
    participation on the Master Recall List at such time will result in the retention of his
    recall rights to only the facility and Unit from which he was laid off.

(c) Placement of employees from the Master Recall List will be accomplished in the
    following manner:

   (1) When an employee becomes eligible to be placed on the Master Recall List, the
       employee will be given a skills inventory form to be filled out by the employee to
       identify their qualifications in order to be considered for placement:



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(i) An employee who designates “at any locations” on the Master Recall List will
    be requested in line of seniority to report to the first open job that meets his
    qualifications. Failure to accept that job removes such employee from the
    entire Master Recall List.

(ii) An employee who elects to be on the Master Recall List will have the option
     to sign up for up to three specific existing locations other than his home
     facility. If an employee is offered a transfer to one of the three selected and
     existing locations and refuses the transfer, such employee will be removed
     from the Master Recall List for that specific location. Such employee will
     remain on the list for the two remaining and existing locations. (e.g., the
     employee cannot select a facility that no longer exists, such as Atlanta PDC).

(iii) Employees, if desired, will have the responsibility to change their designated
      locations in writing every year during the month of October to be effective
      November 1st. Employees wishing to change their location selections can
      only change the number of locations which are currently on file. Example:
      Baltimore Warehouse, Hagerstown Shop and Jacksonville PDC were
      selected and on file in the prior year. The employee in March refused
      Jacksonville PDC. The employee during the next October re-selection month
      can pick only one or two different locations. No employee may be permitted
      to re-select a location to which he had previously refused a job offer.

(iv) An employee will have five (5) days after notification of a job opening to
     accept or reject the offer. Notification is defined as a phone call/phone
     message and a letter’s postmarked date. In the absence of an acceptance or
     rejection from the employee within the five (5) days after notification, the
     employee shall be deemed to have rejected the job offer. When an
     employee accepts a transfer he or she will have up to ten (10) days to report
     to the facility in the case of an employee whose residence is less than 65
     miles from the recalled facility, or will have up to twelve (12) days to report if
     the employee’s residence is 65 miles or more from the recalled facility. In
     either case, such reporting date may be adjusted by mutual agreement of the
     Company and the employee due to unusual personal circumstances but in no
     event later than fifteen (15) days from the acceptance date. An employee
     who accepts the job opening but who fails to report to the new facility within
     the prescribed reporting period shall incur a break in seniority pursuant to
     Article 6, Section 18 (c) unless the employee is held at a facility as described
     in section (f), (2) below or is unable to report due to an Act of God, personal
     medical emergency or other condition beyond the control of the employee.

(v)
      (a) If more than one employee from the same facility transfers to the same
          new facility with the same hire date, the natural order of seniority from
          their home facility will stay intact, according to Article 6.



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          (b) If more than one employee from different locations transfers to the same
              facility with the same hire date, the order of seniority will be determined
              by Article 6 of the Master Agreement.

          (c) When an employee transfers into a facility with the same hire date as an
              employee that is already at the facility, employees from the home facility
              shall have the greater seniority, according to Article 6.

   (2) The determination of qualifications in (1) (i) and (1) (ii) above shall include
       consideration of all prior work experience, demonstrated skill, ability, and other
       normal hiring standards. Employees applying for a position in another location
       must meet the criteria set forth at that specific location. Pre-employment tests
       shall not be required.

   (3) The most senior qualified employee on the Master Recall List will be offered
       placement on an open job at a Company operation after all qualified employees
       at that operation have been recalled from layoff.

   (4) Once an employee who is on the Master Recall List, as a result of a facility or
       Partial Facility Closing, has been placed at a Company operation on an open job,
       the employee will carry his/her previous bargaining unit seniority to the new
       bargaining unit. The employee's recall and seniority rights at the home operation
       will be terminated.

   (5) Once an employee who is on the Master Recall List as a result of being eligible
       by the terms of (a) (1) above, has been placed at a Company operation on an
       open job, the employee will take day one seniority in the new bargaining unit and
       will retain recall rights to his/her prior bargaining unit. However, the employee
       may elect in writing to waive recall rights and to relinquish their seniority in their
       former unit at any time following his Master Recall List placement. In such case

      the employee will have his seniority established in the new unit. Such
      employee’s former unit seniority will be applied at the new unit for the purposes
      of vacation entitlement and all applicable Master Agreement entitlements.

   (6) An employee who is on the Master Recall List as a result of a facility or Partial
       Facility Closing and who has been transferred to a new unit based on the
       procedures in (c) (4) above will be eligible for relocation allowance in Appendix
       D.

(d) Employees will be removed from the Master Recall List as follows:

   (1) When an employee receives a job placement at a UAW operation as a result of
       the above procedures or is recalled to his/her home bargaining unit.




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   (2) If an employee refuses a job offer that resulted from the implementation of the
       procedures in the Master Recall List, the employee will retain his seniority rights
       in the bargaining unit from which he was placed on layoff status.

   (3) If an employee accepts a job offer that resulted from the implementation of the
       procedures in the Master Recall List and does not report to the facility on the
       date agreed upon between the employee and the Company (exceptions will be
       made for situations beyond the control of the employee).

(e) The Company may utilize qualified employees from the Master Recall list to fill
    temporary vacancies of two (2) to twenty-six (26) weeks continuous duration
    following notification and discussion with the Local Union. Such temporary
    employment will be subject to the following:

   (1) An offer to fill a temporary position will be made to qualified employees.

   (2) An employee accepting a temporary position will retain his/her position on the
       Master Recall List and all recall rights to their home facility and will maintain
       eligibility for permanent positions through Master Recall while filling the
       temporary position.

   (3) A qualified employee who is notified of a temporary job opening shall have two
       (2) business days thereafter to accept or reject the offer. The employee
       accepting the offer shall have five (5) working days to report to the new facility.
       An employee who rejects the offer shall remain on the Master Recall List. An
       employee who accepts a temporary job and who fails to report for such work on
       the date agreed upon will be removed from the Master Recall List unless the
       failure to report was due to conditions or circumstances beyond the control of the
       employee.

   (4) A temporary employee shall not have any rights to exercise his/her seniority in
       the bargaining unit at the temporary location. Such employee shall not be
       permitted to bid, bump or otherwise transfer to another job or shift within the
       bargaining unit. The temporary employee must remain in the position in which he
       was placed until released or at the conclusion of six (6) months, whichever
       occurs first. Should the temporary vacancy exceed six (6) months, the Company
       may retain the temporary employee for an additional period as mutually agreed
       upon. A temporary employee who is laid off will be entitled to the benefits
       provided to laid off employees under the applicable Appendices of the Master
       Agreement.

   (5) A temporary employee shall be paid the wage of the temporary job at the wage
       progression level the employee had attained at the time of his/her layoff from
       their last facility. Such temporary employee will be entitled to all of the benefits,
       terms and conditions of the Mack Master Agreement except for those excluded
       in this temporary employment section.


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   (6) In the event that the temporary employee fails to meet an acceptable level of
       work performance such employee may be released and laid off from the
       temporary assignment.

   (7) A temporary employee can schedule and observe earned vacation or other
       leaves of absences in accordance with the Unit’s Local Supplemental
       Agreement, subject to the Company’s staffing requirements and other
       departmental absences. Should the temporary employee’s vacation or leave
       request create a department hardship, the Company may release the employee
       from his assignment.

   (8) Temporary employees shall not be entitled to a relocation allowance under
       Appendix D.

   (9) The provisions of Article 6, Section 21 (f), (1) and (2) shall be applicable to this
       Section 21 (e).

(f) General

   (1) The Company will not entertain any grievances on back-pay liability as a result of
       the implementation of the provisions of the Master Recall List. If an employee
       identifies an error in placement, the Company will correct it in the next available
       job opening to be filled through the Master Recall List.

   (2) Recognizing the potential delay inherent in the transfer and relocation of
       employees between operations, and the critical time requirements of production
       schedule increases, the Company retains the right to hold, for a period up to
       thirty-five (35) calendar days, an employee who is working at a facility due to an
       assignment resulting from this Section 21 and who is recalled to his home
       facility. Such holding period shall commence from the date recalled to the home
       facility. The Company may temporarily fill job openings at the receiving and/or
       departing UAW location created by the recall by temporarily recalling MRL
       employees or assigning employees currently employed at the receiving and/or
       departing location. This temporary assignment of such employees will be made
       without regard to the provisions of the Local Supplemental Agreement on
       Seniority. In no case will a grievance be entertained by the Company as a result
       of this temporary assignment. The appropriate wage payment provisions in the
       relevant Local Supplemental Agreement will apply to such temporary
       assignments.

   (3) The Company will provide an electronic copy of the current Master Recall List to
       the UAW – Mack Trucks Department and to the Chairman and President of the
       respective bargaining units covered under the Local Supplemental Agreements
       on a monthly basis.



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SECTION 22

Additional provisions regarding Seniority may be found in the respective Local
Supplemental Agreements.


                         ARTICLE 7 - LAYOFF AND RECALL

The total duration of an employee’s voluntary layoff during one layoff event shall not
exceed the duration of their weekly SUB benefit entitlement as defined in Appendix C,
Article III (a) of the Master Agreement. A layoff event is defined as the period of time
between the first layoff of an employee during a reduction in force and the recall of the
last employee from such reduction.

Additional Layoff and Recall provisions are contained in the respective Local
Supplemental Agreements.


                 ARTICLE 8 - POSTING NEW JOBS OR VACANCIES

Job placement provisions are contained in the respective Local Supplemental
Agreements.


                         ARTICLE 9 - TRANSFER OF SHIFT

Transfer of shift provisions are contained in the respective Local Supplemental
Agreements.


                        ARTICLE 10 - LEAVES OF ABSENCE

SECTION 23          SICK LEAVE

(a) An employee who shall become incapacitated by occupational injury or illness, and
    whose claim of injury or illness is supported by evidence satisfactory to the
    Company physician, shall be granted sick leave during continuing disability, without
    loss of, or interruption of, seniority.

(b) An employee who shall become incapacitated by non-occupational injury or illness,
    and whose claim of injury or illness is supported by evidence satisfactory to the
    Company physician, shall be granted a sick leave during the employee's continuing
    disability, provided, however, that such leaves shall be subject to the following
    conditions relating to accumulation of seniority, and further provided that no
    employee shall lose seniority because of continuing disability exceeding the period
    the employee's seniority is permitted to accumulate under subsection (1), (2) and (3)
    below:


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   (1) A seniority employee with less than one (1) year of seniority shall continue to
       accumulate seniority during sick leave for a period of one (1) year, at the end of
       this period such accumulation shall cease.

   (2) An employee with one (1) but less than two (2) years' seniority shall continue to
       accumulate seniority during sick leave for a period of two (2) years, at the end of
       this period such accumulation shall cease.

   (3) An employee with two (2) or more years' seniority shall continue to accumulate
       seniority during sick leave for a period equal to the length of the employee's
       seniority upon the date the leave commences, at the end of this period such
       accumulation shall cease.

   (4) An employee returning to work after a period of disability in excess of that
       provided in subsections (1), (2) and (3) above, shall return with the seniority
       accumulated as set forth above and shall have their seniority date adjusted
       accordingly.

(c) In the event a Company physician has conducted an examination of an employee
    and upon request from the employee, the Company physician will furnish to the
    employee's physician a copy of the Company physician's report with reference to
    the physician's examination of the employee applying for sick leave.

(d) When an injured or sick employee is sent home from work, the Company shall notify
    the appropriate Local Union representative as soon as possible, but in any event
    within twenty-four (24) hours.

(e) When employees are hurt in the course of their work and must lose time from work
    to visit the Company doctor or first aid, their regular rate will be paid for lost time
    going to and coming from the doctor's or first aid office. In the event that the
    medical professional sends the employee home, such employee shall be paid for
    the balance of the shift at their regular rate.

(f) Any employee who has been incapacitated at such employee's regular work by
    sickness or injury may be employed by the Company at other work in the facility
    which is available and which the employee is able to do, and every reasonable effort
    shall be made by the Company to find such employment for the employee. In the
    event of any layoff, such employee may be retained regardless of seniority and shall
    be exempt from the seniority provisions of this Agreement in that respect. The
    Company will notify the Union in case it retains any employee in accordance with
    the provisions of this subsection out of line of seniority, and the propriety of such
    retention may be questioned by the Union. The incapacity referred to herein must
    be such as to substantially prejudice the employee's opportunity of securing other
    employment. In connection with discussions regarding this Section, it was agreed
    that employees who suffer the loss, or the loss of the use of, an eye, limb, three
    fingers or thumb as the result of an injury incurred while at work, shall have

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   preferential seniority rights over all other employees within their bargaining unit,
   except union officers, as long as there is work to be performed that they can
   perform.


SECTION 24            PAID SICK LEAVE FOR SALARIED EMPLOYEES

(a) Salaried employees (as designated in the respective Local Supplemental
    Agreements) who are absent from work due to sickness or injury shall be eligible for
    the following benefits during each calendar year of the Agreement, beginning
    January 1, 2013:

                 Seniority                  Incidental/      Maximum Number of Weeks*
                                            Sick Injury      for Which Salary Continuation
                                               Days                   Will be Paid
    Less than 2 months                           0                       None
    2 months but less than 1 yr.                 2                          2
    1 year but less than 2 yrs.                  4                          4
    2 years but less than 10 yrs.                6                          9
    10 years but less than 20 yrs.               8                1 week/yr. of service
    20 years and over                           10                1 week/yr. of service

*Up to a maximum of 26 weeks of salary continuation will be paid per calendar year.

Eligibility shall be effective on the employee’s employment anniversary date.

(b) The above paid sick leave allowance, which shall be a combined total of the
    incidental day entitlement plus the salary continuation entitlement, shall be
    applicable to successive one (1) year periods commencing January 1 and
    terminating December 31. The allowance shall not be accumulated from year to
    year. During such one (1) year period, all absences due to illness, including sick
    leave and incidental illness, shall be charged against the aforesaid paid sick leave
    allowance.

(c) An employee who is scheduled to work, or has volunteered to work, any hours of
    daily or weekend overtime or a Holiday, and is subsequently unable to work due to
    sickness/injury, will not be eligible for paid sick leave to cover such missed time.

(d) An employee who leaves work during his shift due to sickness/injury will be required
    to use an entire incidental sick/injury day should the employee leave work within the
    first four (4.0) hours of his shift. An employee who leaves work during his shift due
    to sickness/injury after the first four (4.0) hours of his shift will be ineligible for paid
    sick leave.




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(e) After returning to work, an employee shall, during the year such employee returned
    to work, only be entitled to the remainder of any paid sick leave to which said
    employee is entitled under this Agreement.

(f) In the event the illness or injury of an employee receiving paid sick leave is
    continuous and extends beyond December 31 in any year, only that portion of the
    paid sick leave to which such employee was eligible at the date of the
    commencement of such illness or injury shall be paid. Such employee must return
    to work for ten (10) full work days in order to re-qualify for the paid sick leave
    allowance for the subsequent year.

(g) An employee who continues to be absent after exhausting his paid sick leave
    allowance may apply for Accident and Sickness (A&S) benefits as provided in
    Appendix B of the Master Agreement. Such employee’s A&S eligibility as provided
    in Appendix B, Article II, Section 4 shall be reduced by the amount of time for which
    the employee has already been paid a sick leave allowance.

(h) In the case of absences due to illness of five (5) or more consecutive work days,
    employees shall present satisfactory evidence of bona fide illness or injury in order
    to receive paid sick leave.

   An employee will not be required to furnish medical evidence to substantiate
   absences due to illness of periods of less than five (5) consecutive work days if such
   employee’s absences during the one (1) year period specified above are not in
   excess of the incidental allowance, except in instances where there is cause to
   suspect abuse such as falsification of the reported reason for absence or failure to
   report such absence.

(i) It is the intent of the Parties that such paid absences are only for the purpose of
    bona fide illness and consequently the Company shall not be precluded from taking
    appropriate action including request for verification, denial of pay, and/or disciplinary
    action where such abuses are deemed to exist.

   In the event the Union disagrees with the Company’s determination and/or action,
   the dispute may be subject to the regular grievance procedure.

   The Union agrees to co-operate and promote the elimination of abuses of incidental
   “sick” days.

(j) The granting of a paid sick leave by the Company under no circumstances is
    intended to imply paid equivalent leave of absence or payment of salary where the
    employee has not been absent on account of sickness or illness.

(k) Salary continuation can only be used in one week increments (i.e. five (5) or more
    continuous days) and cannot be used as individual sick days.



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SECTION 25          PERSONAL LEAVE OF ABSENCE

(a) Upon two (2) weeks' written notice on a form provided by the Company, leaves of
    absence not to exceed two (2) weeks shall be granted, without loss of seniority, to
    employees who have less than seven (7) years of seniority with the Company. Such
    leaves of absence, not to exceed four (4) weeks, shall be granted to employees
    having seven (7) years or more of seniority with the Company. Personal leave of
    absence will be granted only under the following conditions:

   (1) All vacation time off in excess of forty (40) hours has been exhausted, and

   (2) Provided that the manning does not fall below, for whatever reason, the
       minimum manning established for vacation purposes or,

   (3) By mutual agreement. The requirement of two (2) weeks written notice shall not
       apply in cases of emergency.

(b) Leaves of absence may be extended by mutual agreement between the Company
    and the Union and in such cases seniority shall continue to accumulate.

(c) If, in the opinion of the Company, the granting of such leaves at the time requested
    would seriously interfere with the Company's operations, the Company may bring
    such facts to the attention of the Union and such leaves may be postponed by
    mutual agreement between the Company and the Union. In no case may an
    employee utilize a leave of absence for a period for which vacation has been
    requested and denied.

(d) The leave of absence application form shall contain a space for indicating the
    reason for the requested leave,
    and employees shall be required to state such reason on the form.

(e) Employees recalled to work shall not be eligible for a leave of absence for a period
    of two (2) weeks from the time of their return except by mutual agreement between
    the Company and the Union. In cases where such leave is granted by mutual
    agreement, the period of leave shall not be considered as time worked for any
    purpose other than retention of seniority.

(f) The allowances for personal leaves of absence under this Article shall refer to
    periods terminating on January 1 of each year of this contract.




SECTION 26          UNION AND ELECTIVE OFFICE LEAVE




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   (a) Upon application, the Company will grant a leave of absence to such of its
       employees who are elected or appointed to office in the International Union or
       the Local Union, or who are elected or appointed, without regard to geographical
       location, to a municipal, state or federal office, provided the Company is
       furnished with written certification of such appointment to a municipal, state or
       federal office, for a period of one (1) year without loss of seniority. Such leaves
       of absence may be renewed from year to year with seniority accumulating. Upon
       the expiration of such leave of absence, the employee on such leave of absence
       under this Section shall be returned to the employee’s job in line with the
       employee’s seniority and shall receive the rate of pay prevailing for that job. The
       renewal will not be necessary for elected or appointed offices of the International
       Union with the understanding that the Union will notify the Company, to the
       extent possible, thirty (30) days in advance of the expiration of such leave(s).

   (b) Employees who are elected, selected or volunteer to serve on a Local Union
       Committee, Sub-Committee, or in any other capacity, other than the elected
       representational offices provided by Article 3 of the Local Supplemental
       Agreements, may be granted reasonable time off from work (a partial or full
       workday) without pay to perform those duties provided such duties can only be
       performed during the employee’s regularly scheduled working hours and the
       Local Union President provides written notice to the Labor Relations Department
       (or facility Manager in the absence of any local Labor Relations department) of
       such duties as far in advance as possible of the requested absence.

SECTION 27           FAMILY AND MEDICAL LEAVE

(a) The Family and Medical Leave Act (FMLA) entitles eligible employees to up to
    twelve (12) weeks of unpaid leave per year if they have one (1) year of Company
    service and have worked at least 1,250 hours during the twelve (12) month period
    immediately preceding the leave. The leave shall be granted for the following
    purposes:

   (1) To care for the employee’s child after birth or placement of a child with the
       employee for adoption or foster care.

   (2) To care for the employee’s spouse, child or parent who has a serious health
       condition.

   (3) For a serious health condition that makes the employee unable to perform the
       essential functions of his position.

(b) Employees must provide at least thirty (30) days advance notice in writing when the
    leave is anticipated. If the leave is not anticipated, the employee must give notice in
    writing as soon as practical.

(c) Benefits:


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   (1) Company-provided Group Life Insurance and Health Benefits shall be continued
       under the same conditions as though the employee was actively at work.

   (2) A husband and wife who are both employed by the Company shall each be
       allowed to take up to twelve (12) weeks of FMLA leave to care for the other if
       seriously ill and unable to work, to care for a child or parent with a serious health
       condition or for his or her own illness. The couple shall be limited to a combined
       total of twelve (12) weeks if the leave is taken for the birth, adoption or the
       placement of a child in foster care.

   (3) Company-provided sick leave (short or long-term) shall be integrated with the
       FMLA leave up to a maximum of six (6) weeks during each contract year period.

             (i)    A sick day must be designated as A&S leave in order for FMLA to
                    be charged.

             (ii)   An employee is not considered to be on A&S leave if they do not
                    meet the eligibility criteria for a paid benefit prescribed in Appendix
                    B of the 2019 Mack Master Agreement.

(d) General FMLA Provisions:

   (1) Employees shall continue to accumulate seniority while on an FMLA leave as
       provided for in the Collective Bargaining Agreement.

   (2) Employees may elect to use accrued and/or unused vacation during the FMLA
       leave.



SECTION 28          MARYLAND HEALTHY WORKING FAMILIES ACT

      This section is only applicable to those facilities located in the state of Maryland
      and covered under this Agreement.

A. Hourly Employees

   Up to forty (40) hours of vacation may be used for all purposes set forth and in
   accordance with the Maryland Healthy Working Families Act. Notwithstanding any
   provision to the contrary in this Agreement or in the Local Supplemental
   Agreements, any newly hired employee shall, in the year of hire, be immediately
   credited with paid time off (as set forth below), which may only be used for the
   purposes set forth in, and in accordance with, the Maryland Healthy Working
   Families Act. Employees hired prior to September 1 shall be credited with forty (40)
   hours. Employees hired thereafter shall be credited with eight (8) hours for each


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   month left in the year. [For example, an employee hired in September will be
   credited with thirty-two (32) hours.] Unused hours may not be carried over to the
   following calendar year. However, in the immediately following calendar year, the
   employee shall be credited with forty (40) hours of paid time off, which shall include
   all paid vacation hours to which the employee is entitled for that year. Any paid time
   off in excess of the employee’s earned vacation hours may only be used for the
   purposes set forth in, and in accordance with, the Maryland Healthy Working
   Families Act. Unused hours may not be carried over to the following calendar year.


B. Salaried Employees

   To the extent a salaried employee’s incidental and vacation allowance does not
   meet the requirements of the Maryland Healthy Working Families Act, he shall be
   granted additional paid days for the purposes set forth in, and in accordance with,
   the Maryland Healthy Working Families Act. Unused hours may not be carried over
   to the following calendar year.


C. Vacation Shutdown

   An employee who has forty (40) hours or less of vacation and incidental paid sick
   leave may, at his discretion, retain up to forty (40) hours of paid time off for use
   solely in accordance with, the Maryland Healthy Working Families Act by notifying
   the Company in writing of such intent at least fourteen (14) calendar days prior to
   the scheduled shutdown. Any employee who accepts vacation pay will be deemed
   to have waived this right and to have utilized all such paid time off that might
   otherwise be used for the purposes set forth in the Maryland Healthy Working
   Families Act. In administering this provision, the Company will fully comply with all
   state and federal laws.


D. The Company will comply with the Maryland Healthy Working Families Act. In the
   event that a situation arises where an employee requests, and is entitled to use,
   paid time off pursuant to the Maryland Healthy Working Families Act, such time off
   will be granted without penalty, notwithstanding any contrary provision in this
   Agreement.



SECTION 29 GENERAL PROVISIONS FOR ALL FORMS OF LEAVE

   (a) At the time an employee applies for a leave of absence, such employee states
       that the reason for such leave is to engage in gainful employment elsewhere,
       such leave of absence shall be denied. If an employee engages in gainful
       employment while on any leave of absence from the Company, such employee


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      may be subject to discharge in accordance with the provisions of this Agreement.
      The leave of absence application form shall contain a statement to the above
      effect. The gainful employment prohibited under this subsection shall not include
      employment in the offices referred to in Section 26 of this Article. Moreover, an
      employee on sick leave who engages in outside part-time or light employment
      shall not be subject to the restriction against outside gainful employment
      provided that the employee furnishes proof to the Company no later than one (1)
      week after commencing such outside employment that such outside employment
      is recommended by the employee's physician as a substitute for full time or
      regular work, and provided further that the Company cannot provide such
      employee with light employment as recommended by such physician. The
      recommendation of the employee's physician may, at the Company's option, be
      subject to the approval of the Company's physician.

   (b) An employee who does not return from a leave of absence upon the expiration
       thereof, except in cases of employees whose leaves of absence are renewed or
       extended in accordance with the provisions of this Article, shall be in the same
       position as an employee who has been absent from work for five (5) consecutive
       days without satisfactory cause under the provisions of Article 6, Section 18 (d)
       and (e) hereof.

   (c) Written notice of the terms of the leave of absence of an individual employee will
       be given to the employee and the Local Union.

   (d) An employee returning from any leave of absence shall be returned to the job
       such employee left in accordance with local practice. If seniority does not permit
       a return to the job vacated, such employee shall be permitted to exercise
       seniority in accordance with the provisions of Article 7 of the appropriate Local
       Supplemental Agreement. If the employee has become incapable of performing
       the job the employee left, such employee shall be placed on an open and
       available job which such employee is capable of performing, or in the absence of
       such job, the job such employee shall be entitled to, if any, shall be determined
       in accordance with local practice, or, if there is no practice, by mutual agreement.

SECTION 30

Additional administrative provisions and Local application may be found in the
respective Local Supplemental Agreements.


                        ARTICLE 11 - MILITARY PROVISIONS

SECTION 31 MILITARY LEAVES OF ABSENCE

(a) An employee voluntarily enlisting in the military services of the country conscripted
    to perform military duties in the services of the country, or being a member of the
    National Guard or the Organized Reserve shall retain seniority and accumulate

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   seniority during such service and shall be reinstated in the employee's regular
   position in the seniority list at the expiration of the term of service provided the
   employee is qualified and able to do available work in line with the employee's
   seniority and makes application for reinstatement within ninety (90) days after
   release from service, or, if the employee is disabled at the expiration
   of the employee's term of service, within ninety (90) days after the termination of the
   disability, and provided further that the employee furnishes a certificate of
   satisfactory completion of service unless an exception to this requirement is made
   by mutual agreement between the parties hereto.

   If the parties fail to agree on making such an exception, the question of whether the
   Company is unreasonable in refusing to make an exception may be submitted to the
   arbitrator selected in the usual manner. In considering the reasonableness or
   unreasonableness of the Company's position, the arbitrator shall consider all the
   facts and circumstances, including the following reasons for failure to receive a
   certificate of satisfactory completion of military service and the effect of such
   reasons upon the employee's employment qualifications; mutual recognition by the
   parties that a person who committed an offense may have been rehabilitated and
   that such person should not be deprived of an opportunity for gainful employment;
   the impact upon operations and morale; and security regulations.

(b) An employee who enters military service while in a laid off status shall be entitled to
    remain on military leave of absence until reinstatement on the seniority list in
    accordance with the provisions of (a) above, without regard to whether recall rights
    would have expired during the employee's military service. Although not required by
    law or this Agreement, employees covered by this Subsection are expected to notify
    the Company at the time of their entrance into military service.

(c) An employee who returns to work under the provisions of this Section shall have the
    right to exercise seniority in any new classification created during such absence
    provided such employee's seniority is greater than the seniority of the employee
    displaced and such employee is qualified to perform the job.

(d) If an employee covered by (a) and (b) returns to the employee's former job, such
    employee shall receive the rate of pay the employee would have received had such
    employee remained in such job, including all progression and general increases. If
    such employee returns to a different job, such employee's rate shall be determined
    as though the employee has returned to such employee's former job and had been
    immediately transferred to the job in which the employee is placed in accordance
    with the provisions of this Agreement, including all progression and general
    increases.

SECTION 32          MILITARY BONUS

Upon the first occasion of terminating active employment to enter military service, the
Company will grant a bonus of two (2) weeks pay computed on the basis of average


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hourly earnings for the preceding four (4) weeks to an employee who has at least one
(1) year seniority, and shall grant a bonus of one (1) week's pay computed in the same
manner to employees having more than six (6) months but less than one (1) year
seniority. The provisions of this Section shall not apply in the following instances:

(a) When an employee is called to "active duty for training" under the Armed Forces
    Reserve Act of 1952, as amended.

(b) When an employee, being a member of the National Guard or the Organized
    Reserve, is ordered to active duty at a time other than a period of national
    emergency.

SECTION 33          VACATION PAY

(a) Upon termination of active employment to enter military service, an employee
    covered by Section 30 (a) and (b) of this Article, shall receive, in addition to any
    payment provided for in Section 31 above, proportionate vacation pay for time
    worked from the start of the vacation credit year to the date such employee ceases
    work in accordance with the provisions of Article 15.

(b) An employee covered by Section 30 (a) and (b) of this Article returning to active
    employment from military service in accordance with the provisions of this Article
    shall, on the date upon which the vacation take year commences, be eligible to
    receive proportionate vacation pay for time worked from the date of the employee's
    return to active employment to the date upon which the vacation take year
    commences in accordance with the provisions of Article 15.

SECTION 34          NATIONAL GUARD OR ORGANIZED RESERVE SERVICE PAY

With respect to all employees, the Company will pay such employee the difference
between National Guard or Organized Reserve Duty Pay. The amount of National
Guard or Organized Reserve Duty Pay shall be determined by the Company on the
following basis: The total National Guard or Organized Reserve Duty Pay shall be
divided by the actual number of days such employee spends in the National Guard or
Organized Reserve. The result thereof shall be multiplied by up to and including
fourteen (14) days within a calendar year. Earnings will be computed at base rate plus
COLA. Pay will be computed on a basic forty (40) hour week. Such employee must
present a statement from the military for pay received for performing such duty to the
Human Resources Office in order to secure the adjustment. An employee who takes
the two (2) weeks' encampment during the employee's vacation period will only receive
normal vacation pay for this period. In the event an employee is required to take
encampment during a vacation shutdown, the employee shall be given the opportunity,
subject to the provisions of Article 15 of the appropriate Local Supplemental
Agreements, to take vacation at another time during the balance of the vacation period
and shall receive vacation pay immediately prior to the vacation week or weeks
selected. Employees who perform "emergency duty" will be paid for the time involved


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but not to exceed a total of thirty (30) days in any calendar year with pay computed as
above.

SECTION 35          PEACE CORPS

Sections 30 and 32 of this Article 11 shall also be applicable to employees entering into
full-time service with the Peace Corps.


                           ARTICLE 12 - HOURS OF WORK

SECTION 36

(a) The normal work week shall consist of forty (40) hours of work.

(b) It shall be made up of five consecutive days, Monday to Friday inclusive, each week.

(c) Eight (8) consecutive hours of work each day except for lunch periods shall
    constitute the normal working day.

(d) The regularly scheduled work week shall commence Monday morning of each week
    at the hours specified in the respective Local Supplemental Agreements.

(e) Specific application of the Hours of Work provision is continued in the respective
    Local Supplemental Agreements.

(f) The Local Parties at each facility shall have the right to establish alternate working
    shifts with mutual agreement. Employees working such shifts shall be subject to all
    of the entitlements provided by the Master Agreement except if otherwise modified
    or abridged in a Local Supplemental Agreement.

SECTION 37

(a) The starting times specified in the Local Supplemental Agreements may be varied
    by mutual agreement but not otherwise except on account of breakdowns, material
    shortages, overtime requirements or other good cause. In case a change shall
    become necessary, the Company and the Union shall attempt to reach agreement
    on the change. If no agreement is reached, the change shall become effective, but
    its propriety shall be subject to the grievance procedure.

(b) In addition to the factors set forth in (a) above, the Company in determining the
    reasonableness of the change of shift will also consider all the existing
    circumstances including the provisions of the Master Agreement, and the availability
    of employees working outside their home spots consistent with operating and
    production requirements. This Section relating to changes in starting time of a shift
    shall not restrict the right of the Company to schedule overtime work subject to the
    provisions of this Agreement.

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                                                                                JA000704
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(c) In the event the Company violates the provisions of this Section by not attempting to
    reach agreement on a change of a specified starting time, or by affecting a change
    which is unreasonable, the maximum remedy shall be payment of an amount equal
    to overtime premium for any hours worked outside the regular shift hours of the shift
    affected multiplied by the number of employees actually working such hours. Such
    payment shall be proportionately divided among the employees adversely affected,
    or if none are affected or if there is a balance remaining after such proportionate
    payment, to the employees actually working on the affected shift during the hours
    outside the regular shift hours. This payment shall be in the nature of a penalty and
    shall not affect the seniority or recall status of any employees who receive such
    payment. Such penalty premium shall be in addition to regular overtime premium
    payments, computed in the usual manner.


                               ARTICLE 13 - OVERTIME

SECTION 38

Employees' pay shall be computed and paid at one and one-half (1.5) times the regular
rate for hours worked in the following cases:

(a) For work performed in excess of eight (8) hours in any working day, or in excess of
    eight (8) continuous hours worked, excluding lunch periods.

(b) For work performed in excess of forty (40) hours in any working week. It shall be
    understood that no employee shall receive both daily and weekly overtime pay for
    the same overtime hours.

(c) For all work performed on Saturday.

(d) For work performed by an employee prior to the regular starting time of the shift
    when the employee is requested to report for work prior to such time and is not
    afforded an opportunity of working until the regular quitting time of the shift.

(e) For work performed by an employee during the regularly scheduled lunch period for
    the employee's shift when the employee is requested by the Company
    to work during such lunch period. An employee so working during the employee's
    regularly scheduled lunch period shall be entitled to a lunch period after the required
    work is completed. This sub-paragraph shall not apply to continuous shifts.

The foregoing shall not, however, result in the pyramiding of premium time under this
Master Agreement or any Local Supplement.




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SECTION 39

Employees shall receive double time for all work performed on Sundays

SECTION 40

Appropriate overtime records shall be maintained by the supervisors and made
available for inspection by appropriate Local Union representatives.

SECTION 41

The Company shall give the Local Union notice of weekend overtime requirements by
two-thirty (2:30) p.m., Thursday, to the extent possible.

SECTION 42

When the Company calls in a Local Union representative to act as such after that
person's regular shift hours, payment shall be on an overtime basis.

SECTION 43

Should an employee miss an overtime turn due to a requirement to serve on active duty
with the National Guard or organized reserve, the government regulation providing for
the opportunity to make up such missed turn shall be followed upon the request of such
employee upon the employee's return to work.

SECTION 44

Additional provisions relating to this Article are contained in the respective Local
Supplemental Agreements.

                              ARTICLE 14 - HOLIDAYS

SECTION 45                HOLIDAY SCHEDULE

                              2019-2020 (15 Holidays)
              Monday           November 11, 2019         Veterans Day
             Thursday          November 28, 2019        ThanksgivingB,J,H
              Friday           November 29, 2019        ThanksgivingB,J,H
             Tuesday           December 24, 2019         ChristmasB,J,H
            Wednesday          December 25, 2019         ChristmasB,J,H
             Thursday          December 26, 2019           Christmas
              Friday           December 27, 2019           Christmas
              Monday           December 30, 2019           Christmas
             Tuesday           December 31, 2019         ChristmasB,J,H
            Wednesday           January 1, 2020        New Year’s DayB,J,H



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               Monday              January 20, 2020     Martin Luther King, Jr. DayB
               Friday               April 10, 2020             Good FridayB
               Monday                May 25, 2020            Memorial DayB,J,H
               Friday                July 3, 2020        Independence DayB,J,H
               Monday             September 7, 2020            Labor DayB,J,H

Due to customer requirements, the Baltimore Part Distribution Center will observe the core
holidays indicated with an (B) above, the Jacksonville Part Distribution Center will observe
the core holidays indicated with an (J) above, and the Hagerstown Remanufacturing
Operation will observe the core holidays indicated with an (H) above. The remaining
holidays will be observed as floating holidays to be scheduled and observed during the
contractual year.



                                 2020-2021 (15 Holidays)

                Monday           November 9, 2020            Veterans Day
               Thursday          November 26, 2020         ThanksgivingB,J,H
                Friday           November 27, 2020         ThanksgivingB,J,H
               Thursday          December 24, 2020           ChristmasB,J,H
                Friday           December 25, 2020           ChristmasB,J,H
                Monday           December 28, 2020             Christmas
               Tuesday           December 29, 2020             Christmas
              Wednesday          December 30, 2020             Christmas
               Thursday          December 31, 2020           ChristmasB,J,H
                Friday             January 1, 2021       New Year’s DayB,J,H
                Monday            January 18, 2021    Martin Luther King, Jr. DayB
                Friday              April 2, 2021            Good FridayB
                Monday              May 31, 2021           Memorial DayB,J,H
                Monday               July 5, 2021      Independence DayB,J,H
                Monday           September 6, 2021           Labor DayB,J,H

Due to customer requirements, the Baltimore Part Distribution Center will observe the
core holidays indicated with an (B) above, the Jacksonville Part Distribution Center
will observe the core holidays indicated with an (J) above, and the Hagerstown
Remanufacturing Operation will observe the core holidays indicated with an (H)
above. The remaining holidays will be observed as floating holidays to be scheduled
and observed during the contractual year.




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                                                                                       JA000707
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                              2021-2022 (15 Holidays)

                 Friday          November 12, 2021           Veterans Day
                Thursday         November 25, 2021         ThanksgivingB,J,H
                 Friday          November 26, 2021         ThanksgivingB,J,H
                 Friday          December 24, 2021           ChristmasB,J,H
                 Monday          December 27, 2021             Christmas
                Tuesday          December 28, 2021             Christmas
               Wednesday         December 29, 2021             Christmas
                Thursday         December 30, 2021             Christmas
                 Friday          December 31, 2021           ChristmasB,J,H
                 Monday            January 3, 2022          New Year’s Day
                 Monday           January 17, 2022    Martin Luther King, Jr. DayB
                 Friday             April 15, 2022           Good FridayB
                 Monday             May 30, 2022           Memorial DayB,J,H
                 Monday              July 4, 2022       Independence DayB,J,H
                 Monday          September 5, 2022           Labor DayB,J,H


Due to customer requirements, the Baltimore Part Distribution Center will observe the
core holidays indicated with an (B) above, the Jacksonville Part Distribution Center
will observe the core holidays indicated with an (J) above, and the Hagerstown
Remanufacturing Operation will observe the core holidays indicated with an (H)
above. The remaining holidays will be observed as floating holidays to be scheduled
and observed during the contractual year.

                              2022-2023 (15 Holidays)

                 Friday          November 11, 2022          Veterans Day
                Thursday         November 24, 2022         ThanksgivingB,J,H
                 Friday          November 25, 2022         ThanksgivingB,J,H
                 Friday          December 23, 2022            Christmas
                 Monday          December 26, 2022            Christmas
                Tuesday          December 27, 2022            Christmas
               Wednesday         December 28, 2022            Christmas
                Thursday         December 29, 2022            Christmas
                 Friday          December 30, 2022            Christmas
                Monday             January 2, 2023         New Year’s Day
                Monday            January 16, 2023   Martin Luther King, Jr. DayB
                 Friday             April 07, 2023          Good FridayB
                Monday              May 20, 2023          Memorial DayB,J,H
                Tuesday              July 4, 2023      Independence DayB,J,H
                Monday           September 4, 2023          Labor DayB,J,H

Due to customer requirements, the Baltimore Part Distribution Center will observe the
core holidays indicated with an (B) above, the Jacksonville Part Distribution Center
will observe the core holidays indicated with an (J) above, and the Hagerstown
Remanufacturing Operation will observe the core holidays indicated with an (H)


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above. The remaining holidays will be observed as floating holidays to be scheduled
and observed during the contractual year.


SECTION 46           HOLIDAY ELIGIBILITY

(a) To be eligible for holiday pay, the employee shall meet the following eligibility rules:

   (1) The employee has seniority in the bargaining unit in which the employee is then
       working on or before the day of observance of the holiday, or the employee
       previously completed a probationary period of Company employment other than
       in the employee's present bargaining unit and the Company service the
       employee so acquired was not broken at the time of the employee's transfer of
       employment into the employee's present bargaining unit, or the employee has
       completed thirty (30) calendar days of Company employment on or before the
       day of observance of the holiday.

       Such holiday shall not count, however, as part of the employee’s ninety (90)
       work day probationary period.

   (2) Employees must work their full shift on the scheduled working day
       immediately before and after each holiday to receive holiday pay. Any day
       in which the employee received compensation for the full shift, with the
       exception of an employee being up to fifteen (15) minutes late or leaving
       their shift fifteen (15) minutes before their quit time, will be considered a
       day worked under this provision. For example, if the holiday falls on a
       Friday the employee is required to have worked (or receive full
       compensation) on the preceding Thursday and the following Monday.

       Note: Local Attendance rules and policies will apply to any late starts and
       early quits.

       (i) An employee’s reason for not performing work on the last scheduled work
           day prior to or the next scheduled workday after the specified holiday may be
           excused by local management for good and sufficient cause on a case-by-
           case basis and if excused such holiday(s) shall be paid.

   (3) With respect to a holiday falling within the Christmas holiday period the
       employee must have worked:

          i) in the workweek in which the Christmas holiday period commences,
              unless such Christmas holiday period commences on a Monday; or
          ii) in the workweek prior to the workweek in which the Christmas holiday
              period commences if such Christmas holiday period commences on a
              Monday.



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          An employee’s reason for not performing work within such “qualifying
          workweek” may be excused by local management for good and sufficient
          cause on a case-by-case basis and if excused such holiday(s) shall be paid.

(b) It is understood that an employee who retires and who performs work within the
    qualifying workweek shall receive holiday pay for holidays which fall in such week. It
    is further understood that, in the case of the Christmas holiday period, such retired
    employee who performs work within the qualifying workweek shall receive pay for all
    the holidays observed during such Christmas holiday period.

(c) An employee who has been approved to return to work after a confining illness or
    injury for which the employee received Weekly Disability Benefits and it happens to
    be the Christmas holiday period will receive holiday pay for each of the designated
    holidays on and after the date the employee was approved to return to work.

(d) An employee who would have returned to work from a disciplinary suspension
    except for the fact that the date of such return falls within the Christmas holiday
    period will receive holiday pay for each of the designated holidays on and after the
    date the employee would have returned.

(e) An employee who is laid off for any reason in the first, second, third, or fourth
    workweek prior to the week in which the Christmas holiday period begins, shall, if
    otherwise eligible, receive pay for each of the holidays in the Christmas holiday
    period, providing such employee worked in the week in which the layoff occurs.

(f) An employee who works in the fifth, sixth, or seventh workweek prior to the week in
    which the Christmas holiday period begins, and who is laid off for any reason during
    that week shall, if otherwise eligible, receive pay for one-half of the holidays falling
    during such Christmas holiday period providing such employees worked in the week
    in which the layoff occurs.

(g) In the event an employee is requested to work on a holiday listed in Section 45 of
    this Article and accepts such work assignments and fails to report for and perform
    such work without reasonable cause, such employee shall not receive pay for the
    holiday.

(h) When one or more of the holidays designated in Section 45 above falls within an
    employee's scheduled vacation and on a day on which the employee would normally
    have been scheduled to work but for the employee being on vacation, such
    employee will be granted an additional casual day(s) off with pay, to be taken on the
    employee's last scheduled work day immediately preceding or the employee's next
    scheduled work day immediately following the employee's scheduled vacation, or
    the employee can elect to schedule the additional casual day(s) at a later date
    subject to the provisions regarding casual days in the applicable Local Supplemental
    Agreements.



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(i) If with respect to a week included in the Christmas holiday period, an employee
    supplements holiday pay by claiming and receiving an unemployment compensation
    benefit, or claims and receives waiting period credit to which the employee would
    not have been entitled if holiday pay had been treated as remuneration for the week,
    the employee shall be obligated to pay to the Company the lesser of the following
    amounts:

   (1) An amount equal to the employee's holiday pay for the week in question, or

   (2) An amount equal to either the unemployment compensation paid to the
       employee for such week or the unemployment compensation which would have
       been paid to the employee for such week if it had not been a waiting period. The
       Company will deduct from earnings subsequently due and payable the amount
       which the employee is obligated to pay as provided above.

(j) Nothing contained herein or in a Local Supplemental Agreement shall allow an
    employee to receive holiday pay, if payment would result in a duplication of any
    state or federal benefit received by the employee. However, should the amount of
    the benefit be less than the amount of the holiday pay, the employee shall receive
    the difference.

SECTION 47

Compensation for recognized holidays shall be as follows:

(a) Employees who perform no work on one of the above enumerated holidays shall be
    paid eight (8) straight time hours holiday pay, including any applicable shift
    premium.

(b) Employees who perform work on one of the enumerated holidays shall be paid in
    the following manner:

   (1) Double time for all hours worked plus 8 hours straight time holiday pay.


   (2) If only part of a holiday is worked, but it is within their normal or prearranged
       shift, double time for hours worked with a minimum of four hours, plus 8 straight
       time hours holiday pay.

SECTION 48

Additional provisions relating to this Article are contained in the respective Local
Supplemental Agreements.

                              ARTICLE 15 - VACATIONS

SECTION 49

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                                                                                  JA000711
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(a) During the term of this Agreement, the vacation credit year shall commence each
    January 1 and continue through each December 31.

(b) The vacation take years during the term of this Agreement shall be:

Monday January 6 2020 to Sunday January 3, 2021

Monday January 4 2021 to Sunday January 2, 2022

Monday January 3, 2022 to Sunday January 1, 2023

Monday January 2, 2023 to Monday January 1, 2024


SECTION 50

(a) Employees will receive vacation proportionate to the employee’s hours credited
    during the vacation credit year in accordance with the hours credited table in Section
    (b) below as follows:

      Seniority (as of Jan. 1)   Pay   Time Off
      6 months but < 3 yrs      40 hrs   1 wk
      3 yrs but < 10 yrs       120 hrs   3 wks
      10 yrs but < 20 yrs      160 hrs   4 wks
      20 or more years         200 hrs   5 wks

(b) An employee will have worked and/or have been credited with a total of nine
    hundred (900) hours during the vacation credit year in order to be eligible for a full
    vacation in accordance with Article 15 of this Local Supplement and Article 15 of the
    Master Agreement. An employee who has worked or been credited with less than
    nine hundred (900) hours during the vacation credit year will be eligible for
    proportionate vacation in accordance with the following table:

                          Hours Credited         % of Full
                                                 Vacation
                             900 or more            100%
                                 860                  95
                                 820                  90
                                 780                  85
                                 740                  80
                                 700                  75
                                 660                  70
                                 620                  65
                                 580                  60
                                 540                  55

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                                500                 50
                                450                 45
                                400                 40
                                350                 35
                                300                 30
                                250                 25
                                200                 20
                                150                 15
                                100                 10
                                 50                  5
                            Less than 50           None

(c) The following periods not worked will be credited as time worked for the purpose of
    computing vacation eligibility: holidays, vacations taken or paid for during the
    vacation credit year, Local Union business leave of absence, absence due to injury
    or illness (if the absence is continuous, it will not count as time worked in any
    subsequent vacation credit period), paid absence while on jury duty, absence when
    receiving bereavement pay, time spent in military service as provided by
    governmental regulations, and time off due to temporary layoffs which will not
    exceed fourteen (14) consecutive days, as described in Article 7, of the Local
    Supplemental Agreements.

   A seniority employee’s accumulated progression time for purposes of vacation
   eligibility calculation will stop when he/she leaves active employment and will
   resume when he/she returns to active employment. The foregoing does not affect
   the seniority provisions of Article 6, Sections 17 and 18 of the Master Agreement.

SECTION 51

(a) The Company will have the option to shut down operations for up to a two (2)
    consecutive week vacation period. The Company will give notice to the Union, in
    writing no later than October 1, 2020 for the announced 2021 shutdown and by each
    successive October 1 for the following year’s shutdown period. The two-week
    vacation shutdown period shall be the week beginning with the last Monday in July
    and the week beginning with the first Monday in August.

(b) When the Company schedules a vacation shutdown, employees who are not
    scheduled to work during shutdown shall be subject to the following:

   (1) Employees whose vacation entitlement is equal to or less than the duration of
       any vacation shutdown shall take their full vacation entitlement during the
       shutdown.

   (2) Employees whose vacation entitlement is greater than the duration of any
       vacation shutdown shall take vacation equal to the length of the shutdown during
       the shutdown.


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SECTION 52

With respect to employees working during the vacation shutdown, the following
conditions shall apply:

(a) Employees eligible for one (1) or more weeks of vacation:

   (1) Employees who are scheduled to work for a period less than the full duration of a
       vacation shutdown shall be paid vacation time for any full weeks not scheduled
       to work during such period. Such employees shall, if otherwise eligible, be
       entitled to SUB and unemployment compensation for any week or partial week
       not worked during such period.

(b) Employees not eligible for vacation:

   (1) Employees who are not eligible for vacation shall be entitled to SUB and
       unemployment compensation, if otherwise eligible, for any working days they are
       not scheduled to work during the vacation shutdown. However, an employee who
       declines to accept an offer of work during such vacation shutdown shall not be
       eligible for SUB or unemployment compensation payments for the days such
       work was offered, providing such offer of work was made forty-five (45) calendar
       days before the first week of the vacation shutdown period.

SECTION 53

Any employee who is eligible for less vacation than the duration of the vacation
shutdown and who is not scheduled to work during the vacation shutdown, shall not be
deemed to be on vacation during any period of the vacation shutdown in excess of the
employee's remaining vacation eligibility. However, an employee who declines to
accept an offer of work during such vacation shutdown shall not be eligible for SUB or
unemployment compensation payments for the days such work was offered, providing
such offer of work was made forty-five (45) calendar days before the first week of the
vacation shutdown period.

SECTION 54

The special seniority of Local Union officials, listed in the Local Supplemental
Agreements, shall apply in the case of work performed during vacation shutdown
including inventory work.

SECTION 55

Additional provisions relating to this Article are contained in the respective Local
Supplemental Agreements.



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          ARTICLE 16 - WAGES, STARTING RATES AND PROGRESSION


SECTION 56          WAGES

(a) Base rates after the appropriate cost-of-living allowance (hereinafter referred to as
    COLA) fold will remain at current levels for the duration of the Agreement, except as
    specifically provided below.

(b) The job classifications, the wage rates to be paid, and the methods of payment are
    specified in each Local Supplemental Agreement and made a part thereof, and such
    classifications and wages shall remain in effect for the duration of this Agreement
    except as otherwise modified by mutual agreement by the Parties.

(c) Pursuant to the wage progression system for employees hired prior to March 25,
    2013, the appropriate maximum wage rate will be multiplied by the percentage
    factor representing the stage in the wage progression the employee has achieved
    (i.e. 70% for the first twelve months, 80% for the second twelve months and 90% for
    the third twelve months). After thirty-six months, the employee will be entitled to
    100% of the maximum wage rate for his classification.

(d) Wage rates and progression for Skilled Trades, Lab Technicians, Engineering
    Technicians and those classifications in the Design Group, if any, will be established
    at each of the facilities and will be documented in the respective Local Supplemental
    Agreements.

(e) Maintenance, Cores and General Maintenance classifications as defined in the
    Hagerstown and Macungie Local Supplemental Agreements will not be subject to
    wage progression.

(f) Breaks in service resulting from layoff, leaves of absence, long term disability, etc.
    (excluding compensable injuries) which exceed thirty (30) calendar days shall not
    be credited toward the employee’s next wage progression step. The foregoing
    does not affect seniority provisions of Article 6, Sections 17 and 18 of the Master
    Agreement.

(g) Employees hired on or after March 25, 2013 shall be paid as follows:




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                                               Wage Rate Upon Hire and Ongoing
                                                 Percentage of Base Rate for
                                                        Classification
  Date of Hire                                              70%
  After 12 months                                           75%
  After 24 months                                           80%
  After 36 months                                           85%
  After 48 months                                           90%
  After 60 months                                           95%
  After 72 months                                          100%


  Employees hired on or after March 25, 2013 (except for those employees
  transitioned to traditional status prior to October 2, 2016) and who are in a wage
  progression shall not receive any future COLA accruals until all wage progression
  stages have been completed (pursuant to Article 16, Section 55 of the 2019 Mack
  Master Agreement) at which time they will be advanced to the current maximum
  wage rate including all unpaid COLA accruals.

  Breaks in service resulting from layoff, leaves of absence, long term disability, etc.
  (excluding compensable injuries) which exceed thirty (30) calendar days in any one
  (1) of the six (6) twelve (12) month periods stated above will not be counted toward
  accumulated wage progression time and shall delay the individual’s progression to
  the next step for a period of time equal to the breaks in service. A seniority
  employee’s time in progression will stop when he/she leaves active employment and
  will resume when he/she returns to active employment. The foregoing does not
  affect seniority provisions of Article 6, Sections 17 and 18 of the Master Agreement.



SECTION 57          ANNUAL ADJUSTMENTS

  (a) Within two weeks following ratification of this Agreement a three thousand five
      hundred dollar ($3,500) ratification bonus will be paid to all B.U. employees
      who are actively at work or on layoff. Employees in wage progression as of the
      effective date of this Agreement will also receive this payment.

  (b) During the third year of this Agreement all B.U. employees will receive a one
      thousand dollar ($1,000) lump-sum payment effective October 3, 2021.

  (c) The lump sum payment described in (a) above shall be subject to all applicable
      Federal, State and Local Payroll withholdings and deductions.




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SECTION 58          COST OF LIVING ALLOWANCE

(a) The COLA shall be added to each employee's straight time earnings, but not the
    base wage for any classification.

(b) The COLA in effect at the time shall be included in computing overtime and shift
    premiums and in determining call-in pay, call-back pay and pay for vacation, holiday
    payments, jury duty pay, bereavement pay and short-term military duty pay.

(c) Employees in wage progression as of the effective date of this Agreement will not be
    eligible for COLA adjustments during their wage progression period. At the
    completion of their wage progression period, such individuals will be advanced to
    the maximum rate in their classification, which will include the then current COLA.

(d) Basis for Allowance:
    The amount of the COLA shall be determined and redetermined as provided below
    on the basis of the Consumer Price Index -- All items (1967 = 100) Revised Urban
    Wage Earners and Clerical Workers (CPI-W) published by the Bureau of Labor
    Statistics, United States Department of Labor (hereinafter designated as the
    "Index"). Adjustments in the COLA shall be made at the following times and in the
    amounts as set forth below:



         Effective Date of Adjustment             Based upon Three-Month
                                                Average of the BLS Consumer
                                                         Price Index

     December 5, 2016                       August, September, October 2016
     March 6, 2017                          November and December 2016 and
                                            January 2017
     June 5, 2017                           February, March, April 2017
     September 4, 2017                      May, June, July 2017
     December 4, 2017                       August, September, October 2017
     March 5, 2018                          November and December 2017 and
                                            January 2018
     June 4, 2018                           February, March, April 2018
     September 3, 2018                      May, June, July 2018
     December 3, 2018                       August, September, October 2018
     March 4, 2019                          November and December 2018 and
                                            January 2019
     June 3, 2019                           February, March, April 2019
     September 2, 2019                      May, June, July 2019




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In determining the three-month average of the Index for a specified period, the
computed average shall be rounded to the nearest 0.1 index point. In no event will a
decline in the three-month average of the Index below 672.1 provide the basis for a
further reduction in wages.

(e) Amount of Allowance

   (1) The amount of COLA float effective October 1, 2016 was $0.22. After the COLA
       fold-in and effective October 2, 2016 the COLA float shall be zero. Any quarterly
       COLA adjustment during this Agreement which is negative shall reduce the
       COLA float amount by that negative amount or by the amount of the float,
       whichever is less. In no case will the COLA float be less than zero following
       such reduction.

   (2) Effective October 2, 2016 and for any period thereafter as provided in
       Subsection (d), the COLA shall be in accordance with the following tables:

      Three-Month
      Avg. of the Index                 COLA Allowance

          672.2 – 672.4                                $ .01
          672.5 – 672.7                                $ .02
          672.8 – 672.9                                $ .03
          673.0 – 673.2                                $ .04
          673.3 – 673.4                                $ .05
          673.5 – 673.7                                $ .06
          673.8 – 674.0                                $ .07
          674.1 – 674.2                                $ .08
          674.3 – 674.5                                $ .09
          674.6 – 674.7                                $ .10
          674.8 – 675.0                                $ .11
          675.1 – 675.3                                $ .12
          675.4 – 675.5                                $ .13

      and so forth with one cent (1¢) adjustment for each 0.26 change in the average
      of the Index. The table will be extended to provide 1¢ adjustments payable
      sequentially for each 0.3, 0.2, 0.3, 0.2, 0.3 change in the average of the Index,
      with that sequence repeated so as to provide an average adjustment over time of
      1¢ for each .26 change in the average of the Index.

   (3) The cost-of-living adjustment during the life of this Agreement shall be
       suspended and not be payable and with no subsequent restoration or
       make-up.

(f) In the event the Bureau of Labor Statistics does not issue the appropriate Consumer
    Price Indexes on or before the beginning of one of the pay periods referred to in
    paragraph (e) above, any adjustments in the COLA required by such appropriate

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   Indexes shall be effective at the beginning of the first pay period after receipt of the
   Indexes.

(g) Continuance of the COLA shall be contingent upon the availability of the Index in its
    present form and calculated on the same basis as the Index for August 2016 unless
    otherwise agreed upon by the Parties. If the Bureau of Labor Statistics changes the
    form or the basis of calculating the BLS Consumer Price Index, the Parties agree to
    request the Bureau to make available, for the life of this Agreement, a monthly
    Consumer Price Index in its present form and calculated on the same basis as the
    Index for August 2016.

   Notwithstanding the above, beginning with the Index for January 1985, the CPI-W
   as revised to reflect modification of its homeownership component, will be used to
   determine the amount of the cost-of-living allowance. In the event any other
   modifications are made to the Index during the term of this agreement, the Parties
   will determine the appropriate Consumer Price Index to use.

(h) No adjustments, retroactive or otherwise, shall be made due to any revision which
    may later be made in the published figures for the BLS Consumer Price Index for
    any month or months specified in paragraph (d).



SECTION 59           NEW JOB CLASSIFICATIONS

When new jobs are created, the Company and the Union shall promptly negotiate to the
end that such jobs are properly classified. If the Parties are unable to agree upon the
proper classification and the rate of pay of any job, the matter shall be referred to
arbitration as provided in this Agreement. In any such arbitration, the arbitrator shall
have the authority in a single arbitration, to determine the appropriate classification and
rate, as well as the authority to award retroactive pay. During the pendency of
negotiation or arbitration, the job shall be performed on the basis proposed by the
Company.


SECTION 60

Unless otherwise restricted by applicable state regulations, all payroll payments to
employees will be made on Friday by electronic direct deposit to the bank or financial
institution the employee so designates. If restricted by applicable state regulations,
such employees will have their paycheck mailed from the payroll processing vendor to
their address on record with the Company, unless such employee voluntarily elects the
direct deposit option. Any weekly make-up payments to correct payroll underpayments
will be made by direct deposit or issued to the employee in Pay-Cards.Each Company
location will have the ability to assist in the correction of payroll errors in
conjunction with the Human Resources Service Center. Further, understanding


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the impact payroll errors have on its employees, the parties agree to jointly work
on solutions to minimize the number of errors that occur.

SECTION 61          NIGHT SHIFT PREMIUM

(a) Six percent (6%) night shift premium shall be paid for work performed on the second
    and third shifts (nights) at all locations covered by the Master Agreement.

(b) Employees regularly assigned to any approved special shift, at least fifty percent
    (50%) of which falls within the regular second or third shift hours, shall also receive
    a night shift premium differential of six percent (6%) for time worked on approved
    special shifts. "Regularly assigned" for the purposes of this Subsection means any
    period worked within night shift hours which is separated from an employee's
    regularly scheduled shift and does not continue into or extend continuously beyond
    such shift, except for an assignment arising out of a "call-back", covered by the
    provisions of the respective Local Supplemental Agreements. "Regular second or
    third shift hours" are defined in the Local Supplemental Agreements.

SECTION 62

Employees who are required to work away from the area in which such employee's
facility is located shall be given an appropriate advance of monies for expenses to be
incurred. Arrangements to pay the employee's wages, including overtime payments, as
well as additional required expense monies, shall be made at the time of work
assignment.

Additional specific provisions relative to wages and hours of work are contained in the
respective Local Supplemental Agreements.



                      ARTICLE 17 - TRANSFERS-WAGE RATES

Employee Transfer Provisions are contained in the respective Local Supplemental
Agreements.


                      ARTICLE 18 - PRODUCTION STANDARDS

Provisions are contained in the respective Local Supplemental Agreements.


                     ARTICLE 19 - DISCHARGE AND DISCIPLINE

SECTION 63




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No employee who has acquired seniority with the Company under this Agreement shall
be suspended, discharged or disciplined except for just cause. Upon the discharge or
suspension of such employee, the following procedure shall be observed:

(a) The Company shall promptly notify the appropriate Local Union representative of
    the employee's discharge or suspension.

(b) After the notice of discharge or suspension is given to the appropriate Local Union
    representative, and upon the request of the Union, an informal pre-grievance
    meeting concerning the discharge or suspension will be arranged between a
    designated Company representative and an appropriate Union representative. The
    meeting will occur either during the normal first shift work hours on the day of the
    discharge or suspension or no later than the end of the first shift of the working day
    following the discharge or suspension.

(c) The Company shall advise the employee and the appropriate Local Union
    representative in writing of the grounds for the discharge or suspension no later than
    the end of the employee's shift on the working day following the discharge or
    suspension.

(d) Any grievance based upon a discharge or suspension shall be submitted to the
   designated Company representative in writing within ten (10) working days
   thereafter, or the employee and the Union shall be deemed to have waived any
   objection to such discharge or suspension. If the Union requests an immediate
   hearing on any grievance arising out of such discharge or suspension, a meeting on
   such grievance will be arranged forthwith.

(e) In the event any discharge, suspension or disciplinary matter is brought to arbitration
    pursuant to the grievance procedure under this contract, the arbitrator shall have
    authority to direct full reinstatement with back pay or to impose a lesser penalty if
    warranted.

SECTION 64

In imposing discipline on a current charge, the Company will not take into account any
prior infractions which occurred more than two (2) years previously.


SECTION 65

No record of a prior written reprimand nor any derogatory information contained in the
Company's central personnel files shall be used in any subsequent disciplinary
proceeding unless the employee affected has received a copy of such written
reprimand or derogatory information, it being expressly understood that notes or
memoranda retained by a supervisor to refresh memory shall not be barred in such
proceeding.


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SECTION 66

No employee shall be discharged or disciplined while on a bona fide sick leave.

SECTION 67

Notwithstanding the provisions of Article 22 herein, the arbitrator herein shall have the
authority in discharge cases
to determine whether employees otherwise eligible shall receive a Supplemental
Allowance under the Pension Plan, in accordance with the provisions of Appendix A,
Mack-UAW Pension Plan, Summary Plan Description of this Master Agreement.


                      ARTICLE 20 - STRIKES AND LOCKOUTS

Except as provided in the respective Local Supplemental Agreements regarding
Production Standards and Article 21 of this Master Agreement as applicable, the Union
agrees that there shall be no authorized strikes during the term of this Agreement. The
Union agrees not to ratify any unauthorized strike. It further agrees that if an
unauthorized strike occurs, the Local and International Union officials will immediately
meet with the Company and take appropriate action to end the strike, including, but not
limited to, public renunciation of the strike and instructions to employees to return to
work. The Union further agrees that in the event of a strike in violation of this
Agreement, the Company may take disciplinary action against those workers who take
part in the strike. The Company, for its part, agrees that there shall be no lockouts
during the life of this Agreement. As
long as the Union, its officers, agents and employees comply with the above provisions,
the Company agrees not to bring any court action for damages or take other action
which is not provided for in this contract, against the Union, its officers, agents and
employees for breach of this Article.


                        ARTICLE 21 - HEALTH AND SAFETY

SECTION 68          JOINT APPROACH

(a) The Company recognizes its obligation to provide a safe and healthy work
    environment for its employees. The Union shall cooperate with the Company's
    efforts to carry out its obligation and both Parties agree to use their best efforts,
    jointly, to achieve that end. With regard to any and all joint activities referenced
    in this Article, the parties acknowledge and agree the joint relationship is vital
    to the parties’ efforts to provide a safe and healthy workplace. However, the
    Company retains the final decision-making authority covering any joint activity
    referenced herein. This does not eliminate the Union from following the
    grievance procedure as outlined in Article 5 of the Master Agreement.


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(b) The Parties working together, will use these agreed upon procedures to achieve
    mutually desired results while conforming to relevant legal requirements. Adherence
    to these procedures is to be fostered by both Parties as preferential to recourse to
    outside agencies or other avenues outside the scope of this Agreement.

(c) The International Union, UAW, Local Unions, Union and Joint Health and Safety
    Committees, Union officials, employees and agents shall not be liable for any work-
    connected injuries, disabilities or diseases which may be incurred by employees of
    the Company or its subsidiaries or by third parties while on Company property. This
    is not intended to, and does not increase the Company's liability in such cases
    beyond its normal exposure, if any (i.e. Worker's Compensation).

SECTION 69           HEALTH AND SAFETY REPRESENTATION

(a) The Union Health and Safety Representative will be appointed by the UAW
    International Union.     The parties agree that the UAW Health and Safety
    Representative will at a minimum complete an OSHA 30 Hour course within four (4)
    years of being appointed. The parties also agree that it is important to have the best
    educated and trained/certified UAW Health and Safety Representatives that are
    representing the membership and the Company; therefore, it is highly encouraged
    that they attain an Occupational Health and Safety Technologist (OHST) certification
    or equivalent course to further their education in the health and safety field. The
    Company recognizes a Union Health and Safety Representative for the following
    locations.

(b) In the manufacturing locations at Hagerstown and Macungie, this will be a full-time
    position. In the Middletown Remanufacturing facility the Union’s Health and Safety
    Representative will be provided with two (2) consecutive straight-time hours per
    regular workday (Monday through Friday) as mutually agreed to on the workday in
    the performance of such duties. Additional paid time in excess of these two (2)
    hours may be required of the Representative on any given regular workday as
    determined and approved by the Company. The Union Health and Safety
    Representative will be responsible for the administration of Health and Safety
    programs for all Union represented employees in their respective Local. The
    Company will recognize an Alternate representative who will function when the
    principal is absent for one (1) full day or longer, and as
    needed during shorter absences of the principal, the Alternate may function in
    response to emergency situations. The Health and Safety Representative will be
    permitted to work overtime to perform mutually agreed upon health and safety
    related tasks.

(c) In the Parts Distribution Centers, the Union Health and Safety Representative will
    function as needed to fulfill the responsibilities detailed in (e) below. The Health and
    Safety representatives shall have the right to leave their work to perform those
    responsibilities, upon notifying their respective supervisor. If leaving work will


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   disrupt subsequent operations, the Health and Safety representative and the
   supervisor shall make other arrangements as shall be necessary. It is understood
   that the Union Health and Safety Representative will be released immediately in the
   case of an emergency and will be released within a period of one hour for other
   duties. A Bargaining Unit Committeeperson will be designated by the Local to
   function as the Alternate Health and Safety Representative under the same
   conditions as the Alternate in (b) above.

(d) The Chairpersons of Local #1247 may function as necessary to deal with health and
    safety issues.

(e) The Union Health and Safety Representative is responsible for working jointly, with
    and separately from, the Facility Manager responsible for Health & Safety to
    implement and evaluate the effectiveness of all of the facility's Health and Safety
    programs, including:

   (1) UAW Health and Safety Representatives will be notified in advance of health and
       safety inspections by private agency officials, and licensed inspectors required or
       by consultants retained by the Company, and whenever possible by government
       officials including federal, state, city and county code enforcement, and be
       afforded an opportunity to accompany such
       officials or consultants and provide any pertinent information to them. A copy of
       such reports, including those of insurance inspectors, will be provided to the
       UAW Health and Safety Representative. The Company retains the right to
       withhold the portions of any report that would be protected, under law, as
       attorney-work product or by the attorney-client privilege, or management
       privileged information, with the exception of those sections related to health and
       safety. In addition, UAW Health and Safety Representatives may accompany
       Corporate and International Union Health and Safety professionals on inspection
       tours.

   (2) The primary responsibility for conducting accident investigations lies with the
       immediate supervisor of the employees involved. Except in the case of a
       medical emergency, employees are responsible, for notifying their supervisor
       immediately following an injury or accident.         The accident investigations
       conducted by the supervisors shall be submitted within 24 (it is understood that
       the submitted report might only be a preliminary and not a completed report)
       hours. The Company will make available, upon request, any preliminary
       information available during the course of the investigation. The Facility Health
       and Safety Team will be notified as soon as possible and will be forwarded for
       review all reports of these investigations and where appropriate, conduct
       investigations of serious or potentially serious accidents including near misses.
       If it is determined that the serious injury was caused by an equipment
       malfunction, the investigation and repairs will be implemented prior to another
       employee being assigned that machine.



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   Management will notify the Union Health and Safety Representative of any
   significant spills, fires, serious injury, fatality (SIF Cases) before the end of the
   shift the incident occurred on, or illness including OSHA recordable and Worker
   Compensation cases within 24 hours.

   A near miss (non-injury incident) reporting system will be established at each
   facility. The parties will encourage employees to participate in the near miss
   reporting system.     The Union Health and Safety Representative will be
   responsible for tracking, recording and trending all near miss reports and will
   provide monthly reports to the facility Manager responsible for Health and Safety.
   The Company will provide a computer system for each Union Health and Safety
   Representative to perform this task. The Parties recognize that the foundation of
   any successful safety process rests with a cultural atmosphere that allows
   employees to bring potentially hazardous situations to the attention of the Union
   and Management in order to achieve timely correction.

(3) Review, recommend and administer/conduct local safety training (which shall not
    be primarily video based), education and information programs.

(4) Conduct industrial hygiene surveys to measure noise, air contaminants and air
    flow with equipment provided by the Company.

(5) Make regular inspections of the facility.

(6) Have access to Safety Data Sheets (SDS). Full disclosures of hazardous
    chemicals, regardless of concentration, must accompany SDS’s before the SDS
    is approved for use.

(7) In conjunction with the Facility Health and Safety Manager, jointly develop
    necessary Health and Safety Programs for the facility, including, but not limited
    to, those specific programs set forth hereafter.

(8) In conjunction with the Facility Health and Safety Manager, review new facility
    layouts, new manufacturing equipment and major process (including changes in
    chemical usage) changes. When layout is complete and prior to approval, the
    Health and Safety Team will review to help ensure good health and safety
    practices are followed. This review may include design, vendor tryout and post-
    installation review. Such review shall include potential ergonomic problems.
    Noise reduction factors of new machinery and hand tools to be purchased by the
    Company shall be reviewed. The Health and Safety Manager or designee will
    make a final approval determination based on the reviews. Local Management
    will communicate to all Engineers their responsibility to notify and involve Union
    and Company health and safety personnel to comply with this section. The
    Company and Union will jointly develop a comprehensive checklist for use during
    the review of new/modified machinery and processes.



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   (9) Prepare reports of findings of the above activities for facility Management and
       the Joint Health and Safety Committee.

(f) The Union Health and Safety Representative and the Facility Manager responsible
    for Health and Safety acting jointly are referred to as the Facility Health and Safety
    Team in the sections hereunder.

SECTION 70          LOCAL COMMITTEE ON HEALTH & SAFETY

(a) To facilitate open communications on health and safety matters, a joint committee
    on Health and Safety will be established in each facility.

(b) In the manufacturing locations, the Committee will be comprised of not less than
    four (4) Union members, including the Union Chairperson(s) or designee, the Union
    Health and Safety Representative and at least two members selected by the Union
    and not less than two (2) members of Management, including one (1) senior
    member (i.e.Facility Manager or empowered designee), the Facility Health and
    Safety Manager or designee and other members of management as needed.
    Committee members designated by the Union will be members of the Shop
    Committee.

(c) In the other locations (offices, Parts Distribution Centers, Engineering, and
    Middletown Remanufacturing Center), the Committee will be comprised of not less
    than two (2) Union members including the President/Chairperson or designee and
    the Health and Safety Representative and not less than two (2) Management
    members including the PDC Manager or empowered designee.

(d) The Committee, co-chaired by the Facility Health and Safety Team will meet once a
    month for the purpose of reviewing the status of the Facility Health and Safety
    Program. Committee members will be supplied with a monthly analysis of all
    accidents and injuries and other appropriate data. The Committee will review
    reports and recommendations of its members or other facility employees and will
    recommend appropriate actions relating to the Facility Health and Safety Program to
    the Facility Manager for implementation.          The Union Health and Safety
    Representative is responsible to insure that a facility-wide master list of health and
    safety issues/concerns is maintained. The list will include the issue/concern, the
    hazard or risk, the recommended action, the person(s) responsible to implement the
    improvement, the proposed completion date and updated status. Copies of the
    master list will be provided monthly to all members of the Committee. Open health
    and safety items will be communicated to employees through postings, safety talks
    and plant or group meetings.

(e) In the event of an emergency, any member of the Safety Committee may call a
    special meeting of the Safety Committee, to be convened as soon as possible.




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(f) Minutes of Committee meetings shall be taken by either the Facility Environmental,
    Health and Safety Manager or the Union Health and Safety Representative and if
    acceptable, signed by both above individuals. Copies of the minutes will be
    provided to all Committee members and the Facility Manager, in a timely manner.

SECTION 71           INTERNATIONAL JOINT COMMITTEE

An International Joint Committee on Health and Safety (hereinafter referred to as the
International Safety Committee) will be established, consisting of two (2)
representatives of the International Union plus one alternate appointed by the Director
of the Union's Mack Truck Department, and two (2) representatives of the Company
plus one alternate appointed by the Corporate Director of Employee and Labor
Relations of the Company. Each party will appoint at least one (1) member who has
professional training in industrial hygiene or safety. This Committee shall:

(a) Meet at mutually agreeable times and places; at least one (1) face-to-face meeting
    at a facility annually. When mutually agreed, an additional face-to-face meeting will
    be scheduled.

(b) Review the Company's safety and health programs and make necessary or
    desirable recommendations.

(c) Develop the annual training plan for the Union Health and Safety Representatives
    and Alternates.

(d) Develop and recommend to the Company guidelines for employee training and
    education, with special emphasis placed on crane and hoist operation and
    inspection, powered industrial vehicle safety, rigging, robotics, confined space entry,
    electrical safety for electricians and remote control crane operations.

(e) Review and analyze federal, state, or local standards or regulations which affect the
    health and safety programs within the Company.

(f) Review Health and Safety issues and concerns regarding serious or unusual
    situations affecting employees’ health and safety and make necessary or desirable
    recommendations.

(g) Review and analyze serious accidents, injuries, fatalities (SIF) and near misses, and
    injury and illness data for all facilities.

(h) Receive and deal with matters referred to them by the Local Safety and Health
    Committees.

(i) A joint safety inspection will be performed during the face-to-face meeting(s).

SECTION 72


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The Company agrees to provide the Union Health and Safety Representatives access
to all health and safety-related information (except management-privileged information)
available to their Company counterparts in a timely manner, including, but not limited to:

(a) Provide and maintain appropriate equipment for conducting industrial hygiene
    surveys for chemical and physical hazards encountered in its facilities. Such
    equipment shall include, but is not limited to, noise level meters, sampling pumps,
    dosimeters, detection tubes and appropriate sampling media.

(b) Provide appropriate education and training for the Union Health and Safety
    Representatives, Local Union Chairpersons that function as Health and Safety
    Representatives and Alternates as determined by the International Safety
    Committee. At a minimum, two training programs will be scheduled each calendar
    year for Union Health and Safety Representatives. Any additional training requests
    from the Union Health and Safety Representative must be mutually agreed upon by
    the International Safety Committee. Training will include at least one Joint Training
    Session and the topic will be jointly agreed upon by March 1 st of each calendar year.
    The second additional training will be determined jointly at the location level and will
    be based on the location’s specific needs. Alternates and Chairpersons that are
    functioning as Health and Safety Representatives will also be scheduled for one
    training per year, the subject of which will also be determined by the local Joint
    Health and Safety Committee. It is not the intent of the International Safety
    Committee to schedule the Union Health and Safety Representatives and Alternates
    out of the plant for training at the same time. Any dispute regarding Local training
    decisions will be resolved by the International Joint Committee of Health and Safety.

(c) Disclose, upon request of the International Safety Committee, the SDSs for any
    known hazardous chemicals or materials to which the employees are exposed,
    including any information regarding remedies and antidotes (i.e. first aid measures)
    for such chemicals and to provide the Local Union Health and Safety
    Representatives, the SDSs for any known hazardous chemicals or materials being
    used at that operation, even if being used on a trial basis.

(d) Arrange for regular surveys of each facility by the Company's Industrial Health and
    Safety staff, or preferred vendor, and provide special surveys at the request of the
    International Joint Committee on Health & Safety. Such special survey reports will
    be provided to the International Joint Committee on Health and Safety.

(e) Provide facility access, upon reasonable notice, to all Company UAW organized
    locations to Health and Safety Representatives of the International Union. Reports
    on such facility surveys will be provided to the Company.

(f) Where required by regulation and/or company policy, or by request of the
    International Joint Committee on Health and Safety, provide information to
    employees who are exposed to potentially harmful agents or toxic materials, at no


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   cost to them, medical services, physical examinations, and other appropriate tests
   including audiometric examinations at a frequency and extent necessary to
   determine whether the health of such employee is being adversely affected and to
   instruct them in the safe use of these materials. Also, upon the employee's written
   request, copies of such information will be forwarded to the employee's personal
   physician. Periodic physical examinations and x-rays, as needed, for spray painters
   and such other classifications as may be recommended by the Local Committee on
   Health and Safety, and when required by regulation and/or Company Policy or by
   request of the International Joint Committee, shall be provided by the Company at
   no expense or loss of earnings to such employees.

(g) Whenever it is determined that an employee has had a personal exposure
    exceeding the permissible level as set forth in 29CFR-1910.1000. The employee
    will be notified and such information shall be entered in the employee's medical
    record.

SECTION 73

In the event an employee recognizes a safety concern, or has a reasonable belief that a
work condition will cause an imminent danger to life or limb, the condition is to be
brought to the attention of the immediate supervisor. Failing resolution of the issue by
the Supervisor, the employee should request the involvement of the respective
Bargaining Committeeperson who will attempt to resolve the issue with the supervisor
and/or the next level of management.

If the issue is not resolved, the Supervisor or Committeeperson will call upon the
Facility Health and Safety Team to investigate and help resolve the issue.

If the issue is still not resolved, it is the position of the Parties that an employee will not
be required to work under an alleged condition which presents an imminent danger to
life or limb, until the highest-ranking member of management on-site at the time and the
Facility Health and Safety Manager (Management counterpart of UAW Health and
Safety Representative) has made a decision that the condition does not pose an
imminent danger. This procedure shall not preclude the filing of a Health and Safety
grievance in step one (1) of the Grievance Procedure.

SECTION 74

Notwithstanding the provisions of Article 20 of the Master Agreement, the Union shall
have the right, in connection with grievances alleging violations of health and safety
provisions, to strike in accordance with the following procedure:

   (a) Within sixty (60) days from the date of the written decision submitted at Step 3 of
       Article 5, the Union shall notify the Human Resources Manager, in writing, that it
       does not intend to arbitrate the grievance or grievances but that it has been



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      authorized by a vote of its Local Membership to strike concerning grievances
      specified in the written notice.

   (b) During at least the ten working (10) days following such notice, the Company
       shall review such grievance or grievances with the International Union and the
       appropriate Local Bargaining Committee. The parties shall have the right to
       have their International Safety Committee members participate in such review,
       including the right to inspect the conditions which are the subject of grievance.

   (c) Upon fulfillment of the review requirement of (b) above and during the ninety (90)
       day period following receipt in accordance with (a) above, the Union shall have
       the right to strike upon five (5) days' written notice from the Regional Director of
       the UAW International Union to the Vice President of Labor Relations of the
       Company that the International Union has authorized such strike.

   (d) In the event the Union does not strike within such ninety (90) day period or
       mutually agreed upon extension thereof, the right to strike shall be deemed
       waived unless thereafter the dispute is again processed in accordance with the
       provisions of paragraphs (a), (b) and (c), including re-authorization by the
       membership and the International Union of a strike regarding such dispute. In
       such event, it is understood that the sixty (60) day limitation of paragraph (a)
       above shall not apply.

   (e) It is understood that at any time prior to the expiration of the aforesaid ninety (90)
       day period, the Union may refer the grievance to arbitration in accordance with
       the provisions of Article 5 of the Master Agreement in which case the right to
       strike hereunder shall be deemed waived.

   (f) In the discussion and settlement of the grievances which are the subject of a
       strike notice, neither Party shall be required to bargain or act with respect to any
       other issue, grievance or dispute.

Nothing herein shall be construed to restrict any employee's rights under Section 502 of
the Labor Management Relations Act, 1947, as amended.



SECTION 75

(a) The Company will continue to provide personal protective equipment (PPE) and
    special protective clothing as required. This equipment will be supplied at no cost to
    the employee. Once having received such equipment, the employee shall turn in
    the equipment to receive a replacement, except when beyond the employee's
    control. Such exceptions must be documented.




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(b) All employees presently supplied with appropriate PPE and special protective
    clothing will continue to be supplied with at no cost to the employee. The Local
    Union shall be furnished a list of classifications and the locations of all employees
    who have been supplied with PPE and special protective clothing and shall have the
    right to request changes to the list. In applying this paragraph, appropriate fire
    retardant special protective clothing will be supplied to all welders performing gas,
    air or combination welding, who wear over such special protective clothing the
    leather sleeves and the leather aprons supplied by the Company. It is understood
    that, when provided as PPE, the use of the special protective clothing is mandatory
    while employees are performing duties.

(c) It is understood that employees shall wear ANSI-rated safety glasses with side
    shields, which will be supplied by the Company without cost to the employees and
    replaced without cost if they are broken. The Company will supply, without cost to
    the employee, prescription safety glasses with side shields, including bifocal and
    trifocal progressive lenses, when obtained through the authorized source. The
    prescription safety glasses will be replaced by the Company without cost to the
    employee if they are in any way damaged beyond repair in the performance of work
    for the Company.
    The employee will pay for eye examination, except where covered by the Vision
    Care Program.

(d) The Company will annually provide eligible employees (i.e. on the active
    payroll as of January 1st) the sum of one hundred forty dollars ($140) for the
    purchase of ANSI approved safety shoes to be worn in all areas of the facility
    as required by the Company, this reimbursement will be paid on the first pay
    period every January. Employees hired after January 1 st will receive the shoe
    allowance on their first pay period. The company will provide reimbursement for a
    second pair of safety shoes at the discretion of the acting Health and Safety
    Manager when the original pair of shoes has been subject to work-related damage
    beyond repair, and the employee submits the damaged shoes for exchange.



SECTION 76

(a) SAFETY TALKS PROGRAM
    Both parties share the view that safety talks will be a part of the Safety Program.
    These talks are usually conducted by supervision and serve the purpose of
    educating employees in safe work practices, encouraging awareness of workplace
    hazards and providing a mechanism for feedback to employees’ safety concerns.
    The Facility Health and Safety Team will establish the frequency and monitor the
    effectiveness of the Facility Safety Talk Program. The Company agrees that Safety
    Talks are not a substitute for formal training programs but will be used to
    compliment such programs.



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(b) SAFETY LOCKOUT PROGRAM
    The Company will ensure that an effective lockout program is implemented in each
    facility consistent with OSHA Standards. In addition to OSHA regulatory
    requirements, the following will apply: 1.)Tags alone will not be used to isolate
    energy. Placards containing machine-specific lockout procedures, listing equipment
    needed and verification methods, will be posted on all machinery and equipment
    with multiple energy sources. 2.) Placards will also be posted on single energy
    source machines that have an energy isolation device that is not located in the
    immediate vicinity. 3.) Annual refresher training will be conducted. 4.) Audits will be
    performed on an annual basis to ensure compliance with the lockout program. 5.)
    Any additional elements identified in the Volvo Safety Directives relating to the
    Lockout/Tagout (LOTO) Procedure.The Facility Health and Safety Team is
    responsible for developing and modifying the program consistent with changing
    facility conditions and operations and OSHA standards. In addition, best practices,
    such as those incorporated into ANSI Z-244, and monitored power systems which
    comply with American National Standards for machine tools (ANSI B11.19) and
    manufacturing systems/cells (ANSI B11.20) will be reviewed and considered for
    incorporation into the program.

(c) EDUCATION
    A joint effort will be directed toward the development of new and the expansion of
    existing training programs. The program will prioritize employees known to be at
    high risk to injury or illness, such as those in the skilled trades and maintenance
    classifications. Training required by regulation shall consist of both classroom and
    hands-on, where feasible. Such training will be scheduled with enough notice to
    provide ample opportunity to work around production schedules.

(d) HAZARDOUS MATERIALS / CHEMICALS REDUCTION AND CONTROL
    Effective control of hazardous materials will serve to protect the employees of Mack
    and the surrounding communities. The Company is committed to the goal of
    continuous reduction in the use of hazardous materials / chemicals consistent with
    the Corporate Program. This will be accomplished through the implementation of a
    written program, which establishes a local Hazardous Material Review Program
    (HMRP).       The process will involve appropriate engineering, environmental,
    purchasing, security and safety personnel.          Local UAW Health and Safety
    Representatives will be included in the program. The local HMRP will define the
    hazardous material / chemicals approval process and emphasize ongoing efforts to
    identify safer substitutes for new as well as materials / chemicals currently in use.
    This includes hazardous materials / chemicals on incoming production parts. These
    efforts will be directed by the Facility Health and Safety team and are expected to
    reduce employee exposures and protect the environment. The Health and Safety
    Manager, or designee, will make a final approval determination based on the review
    of the SDS.

(e) ERGONOMICS



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(1) It is the Company and Union’s objective to establish and maintain an effective
    ergonomics program, appropriate to each facility, in order to control
    occupationally related musculoskeletal disorders. The Company recognizes its
    responsibility to support the Ergonomics Program by providing the necessary
    resources (e.g. training, economic tools) and leadership. All aspects of the
    Ergonomics Program will be jointly developed and administered.

(3) The Company recognizes that computerization of Worker’s Compensation,
    medical visit and OSHA recordable data is an important step in the ergonomic
    process and will begin working toward that end. Union Health and Safety
    Representatives and appropriate members of the Ergonomics Committee will be
    provided access to the system.


(3) Joint Facility Ergonomics Committees
    A Joint Ergonomics Committee will be established at each facility and at a
    minimum will meet monthly. At PDCs the Local Health and Safety Committee
    will serve as the Ergonomics Committee. Each Committee will be jointly co-
    chaired by the Company and Union. Each Committee will include appropriate
    Union and Company representatives and additional members from
    Facility/Maintenance Departments, Engineering, Medical and Tool and
    Equipment Procurement/Design. The Joint Ergonomics Committee will review
    employee injuries and illnesses to identify potential ergonomic risks and/or
    stressors, review ergonomic job analyses, evaluate the status of the facility’s
    prioritized ergonomic-related risks and/or stressors job listing, recommend job
    improvements and oversee related ergonomics training. At risk jobs that have
    not been corrected within six (6) months of the ergonomics job analysis will be
    placed on the agenda of the facility Local Committee on Health & Safety and the
    action list for those jobs will be forwarded to the International Joint Committee for
    review.



(4) Job Evaluation
    (i) The Parties will jointly select the method(s) of job analysis based on mutual
        agreement, such as the ACGIH hand activity level and TLV, 2016 ACGIH
        Upper Limb Localized Fatigue TLV, Volvo Ergonomics Screening Tool,
        RHOMERT recovery model for analyzing shoulder stress, NIOSH 1991 lifting
        model and three dimensional static strength prediction model, UAW Risk
        Factor Checklist and/or other mutually agreeable risk factor checklists will be
        included in the tools used to evaluate jobs with potential ergonomic risks
        and/or stressors. The use of outside contractors to perform job analyses will
        be considered jointly but will not reduce the duties of the local Health and
        Safety representative. A joint ergonomic job evaluation will be conducted
        within two (2) weeks of a OSHA Recordable ergonomic related injury or
        illness. Additionally, when mutually agreed upon, a joint job analysis will be
        conducted when an employee reports symptoms of an ergonomic injury,

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         when the Company becomes aware of an ergonomic risk factor, when an
         Ergonomics Review Form is submitted and when major machinery and
         equipment changes are made. Employees performing jobs being analyzed
         will be asked to provide input on problem aspects of the job and potential
         corrective measures. Employees performing the job will be notified prior to
         job changes. Ergonomic job analyses and evaluations of work stations will be
         conducted, and recommendations for appropriate improvements made by
         Facility Health and Safety Supervisors, Union Health and Safety
         Representatives, Alternate Union Health and Safety Representatives,
         Engineers and others jointly designated by the Ergonomics Committee.

      (ii) Ergonomic job evaluations will be entered into a computer database. The
           database will insure consistent recordkeeping, facilitate tracking of at risk
           jobs in need of improvement, and provide a convenient method to update
           evaluations after job changes or ergonomic improvements. Union Health and
           Safety Representatives and appropriate members of the Ergonomics
           Committee will have access to the computer system.

      (iii) Ergonomic design criteria and checklists will be jointly selected for use in job
            evaluation and the joint review of new equipment and processes.

   (5) Job Improvements
       Feasible engineering controls (job redesign) will be implemented as the preferred
       method to control ergonomic risk factors.

   (6) Training
       (i) An Ergonomics Awareness Training Program has been developed for all
           facility employees. This awareness training will be implemented every three
           (3) years. Employees will have the opportunity to submit recommendations
           to the Ergonomics Committee for the redesign of workstations and/or work
           assignments and receive feedback on their recommendations, prior to
           reconstruction of their area. The Ergonomics Committee will receive
           additional training including risk factor analysis on the use of the tools.

      (ii) In addition to general ergonomics training, appropriate personnel, Industrial
           Engineers, and the Ergonomics Committee will be trained in job evaluation,
           design criteria and checklists used for equipment review.

      (iii) The International Joint Committee will utilize the consultation of the
            International Union’s ergonomic specialist when they deem it appropriate to
            aid the Local Ergonomics Committee as a resource.

(f) WORKING ALONE
    The Company and Union agree that assigning an employee to work in an isolated
    location does not in and of itself create an unsafe condition. When such
    assignments involve work situations potentially hazardous to an employee, such
    work shall be in accordance with recognized safe work practices. Each Facility

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   Health and Safety Team will review and list high hazard areas and jobs and develop
   Safe Operating Procedures (SOP). When an employee is required to work in an
   isolated area, precautions which might include two-way communication, periodic
   checks by the supervisor or guard force, adequate support personnel or other
   means, will be taken to monitor the well being of the employee. Additionally, the
   Company will exercise caution in the assignment of apprentices who may be less
   familiar with the hazards associated with certain tasks necessary to be performed in
   remote or isolated locations. The Company will make certain apprentices are
   knowledgeable of the potential hazards associated with performing work in these
   locations before assignment.

(g) CONFINED SPACE / PERMIT-REQUIRED CONFINED SPACE PROGRAM
    The Company will assure that all work in permit-required confined spaces shall be
    conducted in accordance with OSHA standards, and may require activities, such as:
    air sampling, ventilation, communications systems, personal surveillance or
    adequate support personnel as appropriate to the hazard posed by the permit-
    required confined space to be entered. The Joint Safety Team at each location will
    identify all permit-required confined spaces and training will be provided in
    accordance with regulatory standards.

(h) NOISE ABATEMENT PROGRAM
    The Company recognizes that noise induced hearing loss is a permanent and
    irreversible condition that affects the quality of an employee’s life. Management is
    committed to reducing hazardous noise levels (i.e. >85dBA for 8 hour TWA) in the
    facilities. A comprehensive sound survey will be conducted at each facility where a
    potential for hazardous noise levels exist. The survey will identify the primary
    sources of noise and list feasible engineering controls to reduce exposure to an 8
    hour TWA exposure level below 85 dBA. The Company will develop and implement
    a Noise Abatement Program at locations where 8 hour TWA noise levels exceed 85
    dBA. The program will include an annual listing of noise reduction projects and
    specific machinery and equipment affected. The goal of the noise abatement
    program is to reduce the number of employees required to wear hearing protection
    as a result of exposures to hazardous levels of noise. The Local Committee on
    Health & Safety will review the noise abatement program each year. The Company
    will require suppliers to comply with a 78 dBA 8 hour TWA noise specification,
    where feasible, for new machinery, equipment and powered tools.


(i) OUTSIDE CONTRACTOR SAFETY PROGRAM
    The Company will institute an Outside Contractor Safety Program. Management will
    conduct periodic inspections to ensure compliance. Contractor’s found to violate
    health and safety regulation, Company safety procedures or state and federal
    standards will be advised and will be expected to implement corrective actions.

(j) FALL PREVENTION PROGRAM



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   The Company and Union will establish a Fall Prevention Program referencing
   industries’ best practices, such as the ANSI Z-359 Fall Protection Code and other
   recognized standards. The Union Health and Safety Representative will survey
   employees to identify tasks that involve work at heights. Each task will be
   documented, prioritized and evaluated to determine feasible engineering controls.
   The Union Health and Safety Representative will submit a detailed report annually
   by the conclusion of the 1st quarter, which includes a list of tasks working at height,
   control measures utilized, and any residual risks identified, with recommendations
   for enhanced controls. Personal fall protection equipment will be made available
   when engineering controls are not appropriate to prevent falls. Procedures will be
   established to inspect, maintain and store personal fall prevention equipment.
   Affected workers will be trained on the proper use of this equipment and on the
   proper procedures for working at heights. Both Parties agree that installation of fall
   prevention systems and personal fall protection systems (anchorage points,
   harnesses, lanyards and climbing systems) requires special skill and knowledge. As
   such, employees and/or contractors performing this function will be properly trained
   and qualified. Management will provide the necessary resources and support to
   make this program successful.

(k) EMERGENCY EVACUATION TRAINING
    The Company will institute an annual training program for Emergency Evacuation
    Coordinators. Employees will be made aware of evacuation routes and procedures
    as part of the Safety Talk Program. To familiarize employees, the Company will test
    warning alarm systems and conduct an emergency evacuation drill on an annual
    basis.

(l) MACHINING FLUIDS CONTROL PROGRAM
    The parties recognize that the Company has made great strides in the past few
    years in improving the plants’ environment in machining areas. To continue this
    progress the parties agree to review best practices for both large machining cells
    and stand alone machines. The Company and Union will analyze the results of
    industrial hygiene sampling surveys of machining areas and develop appropriate
    engineering controls in continuing attempts to achieve and maintain exposure levels
    to total particulate mass of 0.5 mg/M3 (TWA) or less. Procedures and equipment
    proven to be effective in the study to reduce exposure will be utilized when major
    machine renovations are scheduled. The Company will consider machining fluid
    exposures when purchasing new equipment.

   The Company agrees to work diligently toward the attainment of the current NIOSH
   Recommendations for “Occupational Exposure to Metalworking Fluids.”

(m) UNION AND MANAGEMENT LEADERSHIP HEALTH AND SAFETY MEETING
   The parties recognize the importance of leadership involvement in the safety
   process. As such, the parties agree to include top corporate management (or
   designee), top members of the International Union (or designee), the Local
   Unions’ President, Chairpersons and Safety Representative and Company


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   leadership in one joint meeting during the term of the contract. The International
   Joint Committee will be responsible for setting the agenda, location and date
   of the meeting. The goal of the meeting will be to review the status of the
   Company’s health and safety program, compliance with contract provisions, and
   program implementation at each facility.

(n) PREVENTIVE MAINTENANCE
    The Company has established a Preventive Maintenance Program at all facilities.
    An important element of the Company's preventive maintenance program is to
    conduct regularly- scheduled preventive maintenance on safety-related items such
    as, but not limited to eye washes and showers, hazardous waste systems, safety
    devices, cranes and hoists, lifting devices, assembly line drive units, and powered
    material handling equipment. Members of the Local Committee on Health & Safety
    will periodically review the program and have access to all associated records.

   The Company recognizes the importance of ventilation systems to maintain a safe
   and healthy environment, control air contaminants and reduce the risk of fires and
   explosions. Preventive maintenance programs will be implemented to insure that
   plant ventilation systems operate properly.

   Any proposed change to the frequency of a safety related preventative maintenance
   task, on any piece of equipment must be reviewed and discussed with the Facility
   Health and Safety Team prior to implementation of the change.

(o) MEDICAL SERVICES
    The Company will provide professional, quality medical care for each facility. The
    Local Committees on Health & Safety will conduct an annual survey of employees to
    evaluate medical services. The results of the survey will be reviewed with the
    appropriate medical management staff and posted in the plant. In addition, the
    results from the medical survey will be forwarded to the International Joint
    Committee for review.

   When a second or third shift operation would occur at any facility, the Company and
   Union will meet to discuss and study the feasibility of having a nurse or EMT staffed
   in the Medical Department. This will also apply to Saturdays, Sundays and Holidays
   when employees are scheduled to work.

   The Company will work towards providing sufficient MERT (Medical Emergency
   Response Team) coverage on all shifts. MERT will be equipped with radios, or
   other effective means (approved by the local Joint Health and Safety Team), for
   communication, special ID badges, paid training and other necessary equipment.
   There will be special emphasis on the second and third shifts to recruit new
   members who will be offered flexible training opportunities and shift meetings to
   accommodate schedules. Each location will develop and implement a procedure to
   identify MERT members in the facility on each shift. MERT members will be
   properly trained and certified as required.


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   Members shall attend or be afforded an opportunity to attend regularly scheduled
   training in order to maintain such certification. Every effort will be made to ensure
   that training is included in the annual training plan for each individual. Such training
   will be scheduled with enough notice to provide ample opportunity to work around
   production schedules.

(p) There shall be a properly trained Industrial Emergency Spill Response (IER) Team
    where required, and/or as deemed necessary by the Joint Health and Safety Team.
    Training shall include annual refresher training. Members shall be afforded an
    opportunity to attend all required training in order to maintain certification in
    accordance with their duties and/or level of responsibility.

(q) Powered Industrial Vehicle Operation and Pedestrian Safety

   The parties agree to comply with OSHA regulatory requirements regarding powered
   industrial vehicle operation and pedestrian safety.

   In addition, with the requirements above, the parties agree that the use of any
   device to listen to or view any audio and/or video content increases the
   exposure risk for potential serious injuries or fatalities (SIF) while operating a
   powered industrial vehicle. As such, the use of these devices is prohibited while
   operating a powered industrial vehicle.

   This will apply to all employees, visitors and contractors who are walking in
   pedestrian aisle ways where powered industrial vehicles are present.


                            ARTICLE 22 - PENSION PLAN

The Parties have provided for a Pension Plan by Supplemental Agreement, which is
attached hereto as Appendix A and made a part of this Agreement as if set out in full
herein.

No matter respecting the provisions of the Pension Plan shall be subject to the
grievance procedure established in this Agreement, except as expressly provided for in
the Pension Plan.
                      ARTICLE 23 - INSURANCE PROGRAM

The Parties have provided for an Insurance Program by Supplemental Agreement,
which is attached hereto as Appendix B and made a part of this Agreement as if set out
in full herein.

No matter respecting the provisions of the Insurance Program shall be subject to the
grievance procedure established in this Agreement, except as expressly provided for in
the Insurance Program.


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        ARTICLE 24 - SUPPLEMENTAL UNEMPLOYMENT BENEFITS PLAN
                        AND SEVERANCE PAY PLAN

The Parties have provided for a Supplemental Unemployment Benefits Plan by
Supplemental Agreement, which is attached hereto as Appendices and made a part of
this Agreement as if set out in full herein.

                   ARTICLE 25 - TRANSFER TO OTHER FACILITIES

The understanding of the Parties concerning transfers to other facilities is set forth in
Appendix D attached hereto and made a part hereof.


                          ARTICLE 26 - NO DISCRIMINATION

SECTION 1

With regard to employees covered by this Agreement, the Company and the Union
agree that they will not unlawfully discriminate in any employment decisions, including
but not limited to the recruitment, hiring, compensation, training and apprenticeship,
promotion, upgrading, demotion, downgrading, transfer, layoff, discipline and
termination, and all other terms and conditions of employment because of race, color,
sex, gender, creed, religion, national origin, political affiliation, union affiliation, age,
affectional or sexual orientation, gender identity or expression, marital status, disability,
veteran status, citizenship status, genetic information or any other characteristic
protected by federal or applicable state law.


SECTION 2

The Parties shall jointly work together to encourage all employees to use the
established grievance procedure as the preferred remedy to handle claims of alleged
discrimination.


SECTION 3

Whenever reference in this Agreement is made to the male gender, it shall apply
equally to any gender.




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                             ARTICLE 27 - JOB SECURITY

SECTION 77

(a)   No outsourcing of operations currently performed by the Office, Parts Distribution
      Center, Engineering or Shop bargaining units will occur during the term of this
      Agreement, with the following exceptions:

       (1) The periodic purchase of certain parts and services of a nature and to the
           extent currently acquired from outside vendors on a temporary “as needed”
           basis due to capacity or production breakdowns which will not have a
           negative impact on employment at any of the Company plant facilities.
           When it becomes necessary to temporarily outsource operations on an “as
           needed” basis, management will make available the pertinent information to
           the Union when the need becomes known.

              (i) When it becomes necessary to invoke this temporary outsource
                  provision for breakdowns, the Company will diligently pursue every
                  approach to correct the cause that gave rise to the need to temporarily
                  outsource and do so in a manner that will return such work as soon as
                  possible.

              (ii) Work temporarily outsourced, for capacity reasons, will be returned to
                   the appropriate bargaining unit when the conditions that gave rise to
                   the need to outsource no longer exist.

       (2) Sourcing decisions made utilizing the sourcing procedures set forth in
           Exhibits 2 and 3.

              (i) National Sourcing Committee approval will be needed (with the
                  exception of (ii), (iii) and (iv) below) if there is no agreement at the
                  Local Sourcing Committee level or the sourcing decision in question
                  impacts another bargaining unit covered by the Master Agreement.

              (ii) National Sourcing Committee approval will not be needed if no
                   employees will be laid-off as a direct result of the sourcing decision.

              (iii) National Sourcing Committee approval will not be needed if employees
                    who were hired on or after March 25, 2013 who are laid-off as a direct
                    result of the sourcing decision are provided SUB and
                    Hospital/Surgical/Medical/Rx Drugs/Dental benefits for up to fifty-two
                    (52) weeks or their length of service, whichever is shorter.

              (iv) National Sourcing Committee approval will not be needed if employees
                   who were hired before March 25, 2013 who are laid-off as a direct
                   result of the sourcing decision are provided:


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             (aa) if on voluntary layoff, SUB and Hospital/Surgical/Medi-cal/Rx
                Drugs/Dental benefits for the duration of their layoff or two (2)
                years,
                whichever is shorter; or

             (bb) if on any other form of layoff, SUB benefits for the duration of
                their layoff or three (3) years, whichever is shorter, and
                Hospital/Surgical/Medi-cal/Rx Drugs/ Dental benefits for the
                duration of their layoff or an additional fifty-two (52) weeks,
                whichever is shorter.

      (v) The following provisions shall apply as pertains to layoffs as a direct
          result of a sourcing decision, as referenced in (ii), (iii), and (iv) above.

             (aa) If there is to be a layoff as the direct result of a sourcing
                decision, voluntary layoffs shall first be solicited utilizing the
                canvassing procedure set forth in the appropriate Local
                Supplemental Agreement. If not enough volunteers are
                obtained via the voluntary layoff procedure, then the remainder
                of the required manpower reductions shall be obtained by
                Involuntary layoffs per the language in the appropriate Local
                Supplemental Agreement.

             (bb) An employee who volunteers for layoff under (aa) above must
                remain on layoff for one (1) year, unless recalled earlier. After
                one year of layoff, there shall be another solicitation of
                employees for voluntary layoff utilizing the canvassing
                procedure set forth in the appropriate Local Supplemental
                Agreement (the initial volunteer is eligible to volunteer again).
                The successful volunteer must remain on layoff for one (1) year
                at which point they will be recalled, unless recalled earlier. After
                completion of the two one-year terms of voluntary layoff,
                employee(s) will be involuntarily laid-off per the language in the
                appropriate Local Supplemental Agreement and be entitled to
                up to fifty- two (52) weeks of the appropriate benefits.

             (cc) If an employee is laid-off as the direct result of a sourcing
                 decision and then recalled to work, and subsequently laid-off
                 within nine (9) months of the date of recall, they shall be
                 considered to be on layoff as the direct result of a sourcing
                 decision and shall be entitled to the balance of their benefits
                 from their initial layoff period, if any.

             (dd) If a sourcing decision occurs with no associated layoff, and a
                subsequent layoff occurs within six (6) months of the sourcing
                event, an amount of employees who are laid-off equal to the


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                          amount of jobs impacted by the sourcing decision shall be
                          considered to be on layoff as a direct result of sourcing.


         (3) Supplemental Sourcing agreements provided in: Local 677 Macungie Shop,
             Outsourcing Agreement, Letter #3, Macungie Cab Paint Agreement.

         (4) Work outsourced pursuant to any agreement reached under the provisions of
             Letter #9 (Insourcing Opportunities).

(b)
      (1) Should the Company decide to transfer bargaining unit work from one facility
          covered by the Master Agreement to another facility covered by the Master
          Agreement, the Company will provide ninety (90) days’ advance written notice to
          the Union should the transfer result in a partial facility closure, or nine (9)
          months’ advance written notice to the Union should the transfer result in a
          complete facility closure, in order to afford the Parties adequate time to discuss
          the applicability of Appendix D to the transfer. In circumstances where business
          conditions necessitate a more rapid transfer of the work, the Company and the
          Union may discuss an expedited transfer timeframe. The Parties agree to meet,
          however, during the life of this Agreement, as requested by either Party, to
          discuss and exchange pertinent information on contemplated transfer decisions
          in an effort to assure high quality and economically viable work for bargaining
          unit employees.

      (2) In the event of a complete facility closure, after the effects bargaining, any
          employee who is not afforded the opportunity to transfer or does not accept any
          options that may be offered through the effects bargaining, shall be considered
          to be on layoff as the direct result of sourcing and receive SUB and
          Hospital/Surgical/Medical/Rx Drugs/Dental benefits per Section 77(a)(2)(iii) and
          (iv-bb).

(c) The Company will not close during the life of this Agreement any facilities at which
    work is being performed by UAW bargaining unit employees, with the exception of
    facility closures under the terms of (b) above.

      It is understood that conditions beyond the control of the Company, e.g. act of God,
      may arise which could affect the Company’s ability to comply with this Section.
      Should such conditions occur, the Company will discuss the situation with the Union
      before taking any action.

SECTION 78             SKILLED TRADES / MAINTENANCE CONTRACTING

(a) The Company will fully utilize its seniority employees in the skilled trades /
    maintenance / general maintenance classifications in the performance of



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   maintenance and construction work and in the fabrication of tools, dies, jigs and
   fixtures normally and historically performed by them.
(b) Notwithstanding the above, Hagerstown, Macungie, and Middletown have
    developed lists of specific skilled trades/ maintenance/ general maintenance work
    within their local supplemental agreements that shall be exempt from the provisions
    of this Section.
(c) Nothing contained herein shall affect the right of the Company to continue
    arrangements currently in effect, nor shall the fulfillment of warranty obligations by
    vendors or the work which a vendor must perform to prove out equipment be limited.
    In situations where a warranty is involved or any lease contracts are involved, the
    Company will provide the Union with a complete copy of the warranty, contract and /
    or any lease contracts where applicable.
(d) Nothing contained herein shall be interpreted so as to limit the expansion of work
    regularly and customarily performed by said employees, but rather to provide an
    opportunity to expand and establish new levels of competence and operational
    effectiveness within the skilled trades and maintenance classifications.

(e) Through the application of (a) above, the term “fully utilize” shall be interpreted to
    mean that prior to any work being contracted out, the Company shall first utilize the
    employees in the skilled trades / maintenance / general maintenance classifications,
    consistent with skill levels, manpower requirements and competitiveness for the
    considered work. Furthermore, the term “fully utilize” shall also be interpreted to
    mean that the Company will not layoff or excess any skilled trades / maintenance /
    general maintenance employee, journeyman or apprentice with 3 or more years of
    training from the affected classification(s) as the direct result of the contracted work,
    or be required to recall from layoff any laid-off employee if the term of the contracted
    work is less than two days.
(f) Following the aforementioned requirements of (e) above, should it remain necessary
    for the Company to employ the services of an outside contractor(s), it will on each of
    the day or days the outside contractor(s) is performing either skilled trades,
    maintenance or general maintenance work, assign the number of employees
    necessary in the affected classification(s) an amount of overtime hours equal to the
    total number of hours the outside contractor(s) is performing or has performed either
    skilled trades, maintenance or general maintenance work. The Company shall
    determine the number of employees to whom the overtime hours shall be allocated.
    (For example, if an outside contractor(s) performs 24 hours of either skilled trades,
    maintenance or general maintenance work, the Company may work six employees
    in the affected classification(s) four hours of overtime, four employees six hours of
    overtime, or any other combination thereof that equals 24 total hours of overtime).
(g) In no event shall any seniority employee be laid off as a result of work being
    performed by any outside contractor on, within, or outside the facility.
(h) Consistent with the provisions of this Section, the Company agrees that should a
    subcontract be required, it will be temporary in nature and will not have a negative
    impact on employment.


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(i) When the contracting of work is being considered, the Company shall withhold
    taking action, in order to provide the Union a reasonable opportunity for discussion
    of the matter.
(j) A “reasonable opportunity” for the Union discussion shall mean a period fixed by
    written notice to the Union of not less than ten (10) working days, unless an
    emergency should arise.
(k) After receipt of notification in (j) above, the parties will meet and discuss why
    management is contemplating contracting out the work. The Union will be entitled to
    include as participants in the meeting an employee of the affected craft. The parties
    will discuss the reasons, which include: equipment, manpower, skills and time
    constraints. During the meeting, the Company will provide to the Union a copy of the
    proposed contract submitted for bid consideration including the contractor’s warranty
    and the contractor’s proposed start and end date. Following the meeting, the
    Company will provide to the Union a completed version of form WWW27 describing
    what was discussed and/or agreed upon.
(l) It is understood that the provisions of this Section shall be applicable to facilities
    leased by the Company unless the Company provides to the Union a complete copy
    of the lease agreement / contract between itself and the Lessor which identifies
    specifically the Lessor’s total responsibilities for repairs, maintenance and or
    construction work on the leased facilities. Any of the aforementioned work not
    identified in the lease agreement as the Lessor’s responsibility will be subject to the
    provision of this Section.
(m)   For the purpose of this Section, the Parties agree that:
          1) The term outsourcing does not apply to the skilled trades, maintenance, or
             general maintenance classifications; and
          2) The terms subcontracting, outside contracting, and contracting as used
             herein are synonymous and are the only terms the Parties will apply with
             regard to the provisions of this Section.




SECTION 79          ENGINEERING CONTRACTING

(a) It is the policy of the Company to use its own employees as much as possible in the
    performance of work covered by this agreement consistent with such considerations
    as efficiency, economy, quality, governmental, customer or time requirements and
    with regard for the interests of affected employees.

(b) In no event shall any seniority employee who customarily performs the work in
    question be laid off as a direct and immediate result of work being performed by any
    outside contractor on or within the Engineering facility.




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(c) The Company agrees that should such subcontracting be required, it will be
    temporary in nature and will not have a negative impact on employment.

(d) Problems arising out of implementation of the foregoing policy shall be handled in
    accordance with Section 80 below.

SECTION 80

A. The parties agree that all work normally and customarily performed by qualified
   Engineering Group employees which is performed outside of the Engineering
   facilities by non-Engineering Group employees will be considered an outsource and
   will be controlled by Section 77 of Article 27.

B. The parties agree that all work which is performed “in house”, that is, on or within
   any of the Engineering facilities, will be considered an “outside contract” and subject
   to the terms of Sections 79, 80, 81, and 82 of this Article. Should the Company bring
   an outside contractor to work within any engineering facility it may do so provided
   that:

       1. All laid off employees within affected classifications are recalled,

       2. No engineering group employees within the affected classifications will be
          laid off as the result of the outside contracting,

       3. All bargaining unit employees in the affected classifications will be offered a
          reasonable amount of overtime during the entire period an outside contractor
          is on or within the facility,

       4. Recognized local practices relating to outside contacting shall continue.

SECTION 81

(a) The matters covered by Sections 80 and 81, to the extent applicable shall be carried
    out through discussion with the President of the Local Union, Engineering / Office
    Chairperson, and the appropriate Committeeperson(s) and a designated
    representative(s) of the Company.

(b) Meeting shall be held, only when requested by the Union, when problems related to
    this Article arise at a time and place arranged by the Union.

(c) Where the Union concludes that non-confidential Company data is necessary and
    relevant to the discussions, the Company shall make such data available to the
    Union upon its request.

SECTION 82
It is expressly understood that the question of the Company’s compliance with the
provisions of Section 78, 79, 80 and 81 above shall be subject to the grievance and


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arbitration procedures under Article 5 of the Master Agreement and local Supplemental
Agreement(s).




                                ARTICLE 28 - GENERAL


SECTION 83           SEPARABILITY

If any part of this Master Agreement or its Local Supplemental Agreements is held
invalid due to existing or future federal or state legislation, the remainder of this Master
Agreement and its Local Supplemental Agreements shall not be affected thereby.

SECTION 84           JURY DUTY / WITNESS SERVICE

(a) Any employee who has completed his probationary period and is subpoenaed and
    reports for jury duty or witness service in a court of record, including that performed
    on the employee’s behalf, or who reports for pre-jury duty examination by the court
    or administrative governmental agency shall be eligible for jury / witness pay except
    that absences resulting from:

   (1) witness service resulting from another employer, or

   (2) attendance in court or a hearing before a Judge or Magistrate or other civil office
       on his own behalf or on behalf of a minor child in cases involving motor vehicle
       violations, child support, child custody, adoption, foster care, marital separation /
       divorce proceedings or arrests for breaking the law do not qualify the employee
       for jury duty/witness service pay regardless of a Subpoena, Summons or Show
       Cause Order for such attendance.

(b) The Company’s payment for such eligible duty, when added to the daily jury or
    witness fee (excluding expense and transportation allowances) paid by the court or
    agency and wages, if any, earned by the employee from the Company for that day,
    shall equal the amount of wages (excluding shift premium but including the cost-of-
    living allowance) the employee otherwise would have earned by working during
    straight time hours for the Company on that day. The amount shall be computed
    based upon the straight time wage rate paid at the time of service for each day
    partially or wholly spent in performing such duty if the employee otherwise would
    have been scheduled to work for the Company and does not work.

(c) In order to receive payment under this Section, an employee must give the
    Company prior notice and documentation indicating that such employee has been
    summoned or subpoenaed for such required attendance and must furnish



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   satisfactory evidence that said duty or witness service was performed on the days
   for which the employee claims such payment.

(d) An employee’s absence due to a subpoena, summons or a show cause order will be
    deemed to be an excused absence only if the above documentation requirements
    are fulfilled and timely presented to the Company and where the employee’s failure
    to appear on the requested date could result in contempt of court, arrest, criminal
    charges, fines or imprisonment of the employee.


SECTION 85                BEREAVEMENT

(a) (1) Five (5) Day Bereavement: When death occurs in the employee's immediate
        family: employee’s spouse, parent, child, stepchild or stepparent (who raised
        and supported the employee), the employee shall be excused for up to five (5)
        consecutive normally scheduled work days (excluding Saturdays, Sundays,
        holidays and vacation of one week or less).

    (2) Three (3) Day Bereavement: When death occurs in the employee’s family:
        brother, sister, stepbrother, stepsister, grandparent, great grandparent
        grandchild, parent of current spouse, stepparent of current spouse,
        grandparent of current spouse, the employee shall be excused for up to three
        (3) consecutive normally scheduled work days (excluding Saturdays, Sundays,
        holidays and vacation of one week or less).

    (3) In order to be eligible to receive pay for excused bereavement days as
        provided in paragraphs (1) and (2) above, the employee will notify the
        company of the desired days to be taken off. In those circumstances where
        the funeral or memorial service of an immediate family member is
        postponed or delayed, the Company will permit the employee to split the
        eligible bereavement period into two separate and distinct periods; one
        immediately following te date of death and the other inclusive of the date
        of the funeral or memorial service.


(b) If an employee works overtime on a weekend during a bereavement period, the
    employee shall receive no subsequent bereavement leave (excluding the use of
    (a)(3) above or (f) below).

(c) The employee shall receive pay for any excused scheduled days of work (excluding
    Saturdays and Sundays, or, in the case of seven day operations, the sixth and
    seventh days of the employee's scheduled workweek) provided the employee
    attends the funeral.

(d) Payment for each day of bereavement shall be made at the employee's regular
    straight time hourly rate excluding night shift premium, overtime, and premium pay

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   on the last day worked. Time thus paid will not be counted as hours worked for
   purposes of overtime.

(e) If the death occurs during a scheduled vacation of one (1) week or less, the
    employee shall have the option to receive pay in lieu of the vacation or to take the
    vacation at a later date. If the death occurs during a period of time off of greater
    than one (1) week (such as a period of vacation, shutdown, down weeks, Christmas
    shutdown or a combination thereof), the employee shall be paid for the
    bereavement period in lieu of taking the time off at a later date.

(f) In the event a member of the employee's immediate family, as herein defined, dies
    while in the active service of the United States, the employee may, should the
    funeral be delayed, postpone the use of one day of the bereavement period of up to
    three (3) or five (5) days, as the case may be, to permit him to attend the funeral.

(g) In the event the remains of a member of the employee's immediate family, as herein
    defined, is not buried in continental North America solely because the
    circumstances of the death has resulted in the physical destruction of the body or
    the body has been donated to an accredited North American hospital or medical
    center for research purposes, the requirement that the employee attend the funeral
    will be waived.

SECTION 86          TUITION REFUND

(a) The Company offers and administers a tuition refund program under which
    employees having seniority and in active service, who satisfactorily complete after
    hour courses, approved by the Company at appropriate educational institutions,
    receive the full amount of the tuition, books and fees paid (less tax deductions), up
    to a total calendar year limit of $7,500, upon satisfactorily completing the approved
    course. The processing of the tuition request shall not be unduly delayed at the
    originating facility and such approval or disapproval of the request shall be made by
    the Corporate Labor Relations Department. The subsequent layoff of the employee
    who has previously received the Company’s initial written approval of the course or
    who has commenced the approved course will not affect the reimbursement of the
    course, if otherwise eligible.

(b) The educational institution may be any accredited college, university,
    correspondence school, secondary school, business, trade or vocational school.

(c) Courses selected by the employee under this Plan will be considered acceptable if
    they meet one or more of the following conditions:

   1. They are job-related -- that is, they will tend to improve the employee's
      performance on the current job; or




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   2. They are a part of a curriculum leading to a degree in a field which is job-related;
      or

   3. They will help prepare the employee for future assignments with the Company
      for which the employee might reasonably be expected to qualify; or

   4. They are courses taken to complete the requirements for a grammar school
      certificate or high school diploma; or

   5. They are basic education courses designed to provide an elementary level of
      competency in reading, writing and mathematical skills; or

   6. They are courses of instruction directed towards qualifying an employee as an
      apprentice in Company-related skilled trades.

(d) The Company has also agreed to provide a Tuition Reimbursement Program for laid
    off employees which will provide a maximum of one thousand five hundred dollars
    ($1,500) per year for trade, business, or vocational school training. Employees will
    qualify for this tuition reimbursement based on the criteria established above.
    However, tuition reimbursement will be permitted for any reasonable vocational or
    technical purpose, subject to Company approval, on a case-by-case basis.

(e) The Parties have expressed a joint commitment to contact the educational,
    vocational or technical institutions referenced above in an effort to develop a
    deferred tuition payment plan. Payment of tuition and fees to the institution will,
    however, continue to be the employee’s responsibility with reimbursement to the
    employee after successful completion of the course.




SECTION 87           EROSION OF BARGAINING UNIT

The Company will not reassign bargaining unit work unreasonably, arbitrarily or
capriciously so as to erode any bargaining unit covered by this Master Agreement. Any
claim or grievance by the Union alleging the reassignment of bargaining work so as to
erode any bargaining unit covered by this Master Agreement shall be taken up directly
with the designated representative at the facility where the claim or grievance arises,
and the parties shall attempt to resolve the issue.

If such claim or grievance is not satisfactorily settled or withdrawn by the Union, the
matter shall be referred to the review step for disposition in accordance with Article 5 of
the Master Agreement.

If the parties at the review step are unable to resolve such claim or grievance, the
matter may be submitted to arbitration. If the arbitrator determines that the Company


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has reassigned bargaining work in violation of the first paragraph above, the arbitrator
shall be empowered to direct that the work be returned to the bargaining unit. The
arbitrator shall not, however, be empowered to assign to the bargaining unit any work
which has not been conclusively demonstrated as previously being performed by
bargaining unit personnel.

SECTION 88          JOINT EDUCATION AND TRAINING COMMITTEE

In an effort to develop and maintain appropriate training and educational
programs, the parties agree to continue programs and practices as defined in
local contracts.

SECTION 89          PHYSICAL EXAMINATIONS

Employees on the second and third shifts who are required to take physical
examinations shall be compensated for time so spent, provided they appear for such
physical examination at the time specified by the Company and provided, further, that
such compensated hours shall not be utilized in any manner for overtime premium
purposes.

SECTION 90          NON-FELONIOUS INCARCERATION

In the event an employee is detained in a jail on any non-felonious charge, the
employee shall not be automatically discharged by reason thereof, but the employee's
case shall be reviewed on its merits taking into consideration all the circumstances, to
determine whether or not a leave of absence for the period of detention shall be
granted.

SECTION 91          COMPANY RULE CONFLICT

In the event that the Company's rule books or other rules conflict with the provisions of
this contract, this contract shall control.

SECTION 92          EMPLOYEE ORIENTATION

The parties agree to continue and expand the Employee Orientation Program which is
to be developed and administered jointly. When such program is shown to new
employees, the Union will be afforded the opportunity to participate in its presentation
by having one of its existing paid Union representatives present. Such presentation will
not be on Company time.

SECTION 93          SUPPORT FOR LOCAL EFFORTS TO COMBAT ALCOHOL AND
                    DRUG ABUSE

The Parties agree that the problems of alcohol and drug abuse are being handled in
various ways at each of the operations covered by this Master Agreement and each


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                                                                          UAW - 000305
                                                                               JA000750
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such local program was found to be substantially effective. It is mutually agreed that
such programs shall be continued during the term of this agreement.

SECTION 94

Additional specific provisions of a general nature are contained in the respective Local
Supplemental Agreements.

                         ARTICLE 29 - POSTING CONTRACT

Management will promptly provide a sufficient number of printed copies of the Master
Agreement to each of the Local Unions covered by this Agreement for distribution to
each represented employee. The Parties will jointly proof read the Agreement prior to
printing to assure accuracy.


                             ARTICLE 30 - SUCCESSORS

This Agreement shall be binding upon the employer's successors, assigns, purchasers,
or transferees whether such succession, assignment or transfer be affected voluntarily
or by operation of law; and in the event of the employer's merger or consolidation with
another company or companies, this Agreement shall be binding upon the merged or
consolidated company.

The employer further agrees to make a condition of any sale, merger, reorganization,
transfer or assignment that the buyer or transferee will assume the existing collective
bargaining agreement as a condition of such sale, transfer or assignment. The Parties
further agree that in the event of Article 30 any dispute regarding the application of this
language, the employer will agree to expedite arbitration such that a final and binding
award can be rendered prior to any such sale, merger, reorganization or transfer.


                               ARTICLE 31 - DURATION

SECTION 95

Except as otherwise provided for in this Master Agreement or in the various Local
Supplements, the effective date of these Agreements shall be the 25th day of October
2019. This Master Agreement and its Local Supplemental Agreements shall continue in
full force and effect until 11:59 p.m., October 1, 2023.

These Agreements shall continue in effect for successive yearly periods after October
1, 2023 ,unless notice is given in writing by either Party not less than sixty (60) days
prior to October 1, 2023, or any one (1) year anniversary date thereafter, of its desire to
modify, amend or terminate these agreements. If such notice is given by either Party,
this Agreement shall be open for modification, amendment or termination, as such
notice may indicate during the sixty (60) days prior to October 1, 2023, or the

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                                                                           UAW - 000306
                                                                                 JA000751
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subsequent one (1) year anniversary date, as the case may be. Upon receipt by either
Party of the written notice provided for above, the Parties shall promptly arrange a
mutually agreed upon date to commence negotiations pursuant to any such written
notice. Written proposed changes with respect to the Master Agreement and Local
Supplemental Agreements shall be given by either Party on the date of the
commencement of those negotiations.

SECTION 96           CONDUCT OF NEGOTIATIONS

Negotiations pursuant to Section 95 above shall be conducted in accordance with the
applicable provisions of Subsections (a), (b) and (c) below and any new agreements
between the Parties resulting therefrom shall not be binding or effective unless reduced
to writing and signed by the Parties designated in Subsections (a), (b) and (c) below.

(a) Master Agreement

   Amendments to this Master Agreement or new agreements affecting same or
   adding to same shall be negotiated by the Top Negotiating Committee of the UAW
   Mack Truck Council, International representatives of the Union and representatives
   of the Company, and shall be signed by the Corporate Director of Employee and
   Labor Relations of the Company, the members of the Top Negotiating Committee of
   the Council, and the Director of the UAW Mack Truck Department.

(b) Local Supplements

   With respect to Local Supplemental Agreement issues negotiated locally in
   accordance with the provisions of Section 95 of this Article, resulting modifications in
   such Local Supplemental Agreements or any negotiated by the respective Local
   Union representatives who are members of the Top Negotiating Committee of the
   Council (who may have the assistance of International representatives of the Union)
   and representatives of the Company, and shall be signed by the Company's local
   Human Resources Manager and such Local Union representatives.

(c) Unsettled Issues of Local Supplemental Agreements With respect to any Local
    Supplemental Agreement issues which are not settled through local negotiations
    and which, therefore, are negotiated jointly along with the Master Agreement issues
    in accordance with the provisions of Section 95 of this Article, resulting modifications
    in such Local Supplemental Agreements or new agreements affecting same or
    adding to same shall be negotiated and executed in accordance with (a) above.

SECTION 97           MODIFICATION OF MASTER AGREEMENT DURING LIFE OF
                     AGREEMENT

   a) The Parties acknowledge that during the negotiations which resulted in this
      Agreement, each had the unlimited right and opportunity to make demands and
      proposals with respect to any subject or matter not removed by law from the area


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                                                                            UAW - 000307
                                                                                  JA000752
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      of collective bargaining, and that the understandings and agreements arrived at
      by the parties after the exercise of that right and opportunity are set forth in this
      Agreement. Therefore, the Company and the Union, for the life of this
      Agreement, each voluntarily and unqualifiedly waives the right and each agrees
      that the other shall not be obligated to bargain collectively with respect to any
      subject or matter “not specifically” referred to, or covered in this Agreement, even
      though such subject or matter may not have been within the knowledge or
      contemplation of either or both of the Parties at the time that they negotiated or
      signed this Agreement.

   b) This Agreement contains the entire understanding, undertaking, and agreement
      of the Company and the Union, after exercise of the right and opportunity
      referred to in the first sentence of Section 1 above, and finally determines and
      settles all matters of collective bargaining between the parties for its term. Any
      changes to this Agreement or any changes to any other terms and conditions of
      employment not covered or contemplated by this Agreement during its term,
      whether by addition, waiver, deletion, amendment, or modification, must be
      reduced to writing and executed by the Company’s Corporate Director,
      Employee and Labor Relations and the designated International Representative
      to be enforceable.

   c) The waiver of any breach, term or condition of any of the provisions of this
      Agreement by either Party does not constitute a precedent or past practice for
      any future waiver or enforcement of such breach.

   d) The above provisions shall not restrict the Parties from addressing operational
      issues on a non-precedent setting basis as provided for in Letter of Agreement
      #15 or from addressing Insourcing Opportunities as provided for in Letter of
      Agreement #7.

SECTION 98          MODIFICATION OF LOCAL SUPPLEMENTAL AGREEMENTS
                    DURING LIFE OF AGREEMENT

Modifications in the Local Supplemental Agreements or new agreements affecting or
adding to same, other than those referred to in (b) and (c) in Section 976 above, and
which occur during the term of such Local Supplemental Agreements, shall be
negotiated by the respective Local Union Committee and respective Local facility
management representatives, and shall be signed by the Company's local Human
Resources Manager and the members of the respective Local Union Committee. This
provision shall not restrict the Parties from addressing operational issues on a non-
precedent setting basis as provided for in Letter of Agreement #15 or from addressing
Insourcing Opportunities as provided for in Letter of Agreement #7.


                       ARTICLE 32 - PROFIT SHARING PLAN



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                                                                           UAW - 000308
                                                                                 JA000753
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The understanding of the Parties concerning the Profit Sharing Plan is set forth in
Appendix "E" attached hereto and made a part hereof.


                      ARTICLE 33 - LEGAL SERVICES PLAN

The understanding of the Parties concerning the Mack Legal Services Plan is set forth
in Appendix F attached hereto and made a part hereof. No matter respecting the
provisions of the Legal Services Plan shall be subject to the grievance procedure
established in this Agreement, except as expressly provided for in the Legal Services
Plan.


                             ARTICLE 34 – 401(k) Plan

The understanding of the Parties concerning the Mack-UAW 401(k)Plan is set forth in
Appendix “G” attached hereto and made a part hereof.




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                                                                      UAW - 000309
                                                                            JA000754
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                                           EXHIBIT "1"

                        AUTHORIZATION FOR CHECK-OFF OF DUES
(Does not apply to the Jacksonville Units. For those Units, see Exhibit “1-A”).

TO: Mack Trucks, Inc.

I hereby assign to Local Union No.______, International Union, United Automobile, Aerospace
and Agricultural Implement Workers of America (UAW), from any wages earned or to be
earned by me, any Settlement Bonus, any payments made under the Profit Sharing Plan, any
regular benefits paid under the Supplemental Unemployment Benefits Plan or any back pay
awards for time lost from work as a result of a disciplinary suspension or discharge (hereinafter
referred to collectively as “pay”), in each case as your employee (in my present or in any future
employment by you) such sums as the Financial Officer of said Local Union No.______, may
certify as due and owing from me as membership dues, including an initiation or reinstatement
fee and monthly dues in such sum as may be established from time to time as union dues in
accordance with the Constitution of the International Union, UAW. I authorize and direct you to
deduct such amounts from my pay, and to remit same to the Union at such times and in such
manner as may be agreed upon between you and the Union at any time while this authorization
is in effect. This assignment, authorization and direction shall be irrevocable for the period of
one (1) year from the date of delivery hereof to you, or until the termination of the collective
agreement between the Company and the Union which is in force at the time of delivery of this
authorization, whichever occurs sooner; and I agree and direct that this assignment,
authorization and direction shall be automatically renewed, and shall be irrevocable for
successive periods of one (1) year each or for the period of each succeeding applicable
collective agreement between the Company and the Union, whichever shall be shorter, unless
written notice is given by me to the Company and the Union, not more than twenty (20) days
and not less than ten (10) days prior to the expiration of each period of one (1) year, or of each
applicable collective agreement between the Company and the Union, whichever occurs
sooner.

This authorization is made pursuant to the provisions of Section 302 (c) of the Labor
Management Relations Act of 1947 and otherwise.

Contributions or gifts to the UAW are not deductible as charitable contributions for Federal
Income Tax purposes.


(Signature of Employee Here)

(Address of Employee)

(Type or print name of employee here)

(City)        (State)     (Zip Code)

(Employee's Badge No.)




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                                                                                  UAW - 000310
                                                                                       JA000755
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                                         EXHIBIT "1-A"

                        AUTHORIZATION FOR CHECK-OFF OF DUES

(Applies to the Jacksonville Units.)

TO: Mack Trucks, Inc.

I hereby assign to Local Union No._______, International Union, United Automobile, Aerospace
and Agricultural Implement Workers of America (UAW), from any wages earned or to be
earned by me, any Settlement Bonus, any payments made under the Profit Sharing Plan, any
regular benefits paid under the Supplemental Unemployment Benefits Plan or any back pay
awards for time lost from work as a result of a disciplinary suspension or discharge (hereinafter
referred to collectively as “pay”), in each case as your employee (in my present or in any future
employment by you) such sums as the Financial Officer of said Local Union No.______, may
certify as due and owing from me as membership dues, including an initiation or reinstatement
fee and monthly dues in such sum as may be established from time to time as union dues in
accordance with the Constitution of the International Union, UAW. I authorize and direct you to
deduct such amounts from my pay, and to remit same to the Union at such times and in such
manner as may be agreed upon between you and the Union at any time while this authorization
is in effect. This assignment, authorization and direction may be revoked at any time.

This authorization is made pursuant to the provisions of Section 302 (c) of the Labor
Management Relations Act of 1947 and otherwise.

Contributions or gifts to the UAW are not deductible as charitable contributions for Federal
Income Tax purposes.



(Signature of Employee Here)

(Address of Employee)

(Type or print name of employee here)

(City)        (State)     (Zip Code)

(Employee's Badge No.)




                               Exhibit #2 – Sourcing Procedure


(a) At the time the Company decides to conduct a formal study of a matter that may be
    subject to the Sourcing Process the affected UAW Sourcing Committee will be
    advised of the study.

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                                                                                UAW - 000311
                                                                                      JA000756
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(b) At the time the study is completed it will be provided to the UAW Sourcing
    Committee. Completed formal studies of matters that may be a subject of the
    Sourcing Process will contain all of the relevant data considered by Management in
    arriving at a decision. Generally, the relevant information provided will include, as
    applicable, material, labor, capital requirements, tooling costs, and warranty
    considerations. Reasonable requests for additional information will be provided in a
    timely manner.

(c) Within two weeks of the receipt of the study, the Local Sourcing Committee will
    provide a response to the sourcing question.

(d) In the event the UAW Sourcing Committee has a matter they wish to have
    considered in the Sourcing Process; the matter will be presented to the
    Management Sourcing Representative and considered for study. In the event
    management does not believe the matter warrants an expenditure of resources for a
    complete study the UAW Sourcing Committee will be advised in writing, within six
    (6) weeks. At the time management determines a study to be viable, the union will
    be provided an estimated time for completion. In the event the UAW Local
    Chairperson wishes to pursue the matter further, the available venue to address the
    matter is with the UAW Mack Department Administrative Assistant.

(e) The facility Human Resource Manager is the responsible party to assure the
    Sourcing Process as described herein and the language of Article 27, Section 77 (a)
    is not violated.

(f) The UAW Mack Department Administrative Assistant and the Mack Trucks Director
    Employee and Labor Relations are committed to holding sessions with a frequency
    sufficient to assure expedient resolution of the matters for which they are
    responsible. Unresolved issues will be referred to the National Sourcing Committee.

(g) Certain sourcing matters will be solely within the purview of the UAW Mack
    Department Administrative Assistant and the Mack Director Employee and Labor
    Relations. Unresolved issues or issues involving more than one facility will be
    referred to the National Sourcing Committee.

(h) This process should allow the Local UAW Sourcing Committee to become involved
    in value added activities to improve operations.

The National Sourcing Committee’s approval is needed to outsource any proposal in
dispute.




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                                                                          UAW - 000312
                                                                               JA000757
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                                      Exhibit #3

                                      SOURCING

A.   NATIONAL SOURCING COMMITTEE

     1.    UAW – 2 representatives from UAW International – Mack Trucks
           Department and Macungie and Hagerstown Shop Chairpersons and
           Presidents.

     2.    Mack Trucks, Inc. – Director, Employee & Labor Relations and four (4)
           Company representatives appointed by him.

     3.    In the event a matter comes before the National Sourcing Committee from
           a bargaining unit that is not normally represented on the committee, an
           active employee from the bargaining unit in question would be appointed
           by the Director of the UAW-Mack Trucks Department to join the National
           Sourcing Committee on an ad hoc basis in its consideration of the matter.
           Likewise, the Company will appoint an individual from the location in
           question to join the National Committee on an ad hoc basis to consider
           the matter.

B.   LOCAL SOURCING COMMITTEES

     1.    Macungie, Hagerstown, Parts Distribution Centers, Office and Engineering
           Sections and Remanufacturing Center

           UAW – The President and Chairperson of the respective units shall
           function on an “as needed” basis to accomplish the scope of responsibility
           as set forth for the local sourcing committees in Section D below.

     2.    Mack Trucks, Inc. – a sourcing representative will be assigned by the
           Company at all Master Agreement bargaining unit locations involved
           insourcing initiatives to work with their UAW counterparts. The
           management sourcing representative may assign various duties to the
           appropriate staff to support the process.

C.   OBJECTIVES
     1.    Growth and viability for the Company and the Union
     2.    All decisions of the National Committee or Local Committee will be based
           on present and future ramifications.

D.   SCOPE OF RESPONSIBILITY

     1.    Local Committees

           a.    Refer to Exhibit 2

     2.    National Committee
           a.    National committee approval will be needed if:


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                                                                      UAW - 000313
                                                                            JA000758
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            (1)   there is no agreement at the Local Sourcing Committee
                  level, or
            (2)   the sourcing decision in question impacts another bargaining
                  unit covered by the Master Agreement

      b.    National Committee will support the activities of the Local
            Committees, as needed

      c.    National Committee will hold annual meetings and keep the
            Company, Local Union and International Union informed of
            subjects of discussion and results.




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                                                                  UAW - 000314
                                                                          JA000759
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IN WITNESS WHEREOF, the parties have executed this MASTER AGREEMENT this
25th day of October, 2019


FOR THE INTERNATIONAL UNION:              FOR THE COMPANY:


Ray Curry                                 D. William Waters, Jr.
Secretary Treasurer and Director          Director, Employee & Labor Relations
UAW Heavy Truck Dept.
                                          Chris Filipowicz
John Eblin                                Manager, Employee & Labor Relations
Assistant Director
UAW Heavy Truck Dept.                     Curt Youngdale
                                          Human Resources Business Partner
Dave Snyder
International Rep.                        Tim Newman
UAW Heavy Truck Dept.                     Director, Human Resources

Troy Friday                               Malin Norman
International Rep                         Director, Human Resources
UAW Heavy Truck Dept.
                                          Matt Hanegraaf
Dave Perkins                              Manager, Labor Relations
International Rep.
Region 8                                  Kelley Dameron
                                          Vice President, Human Resources
Craig Stout
International Rep                         Eanne Gillon
Region 8                                  Director, Benefits

Karl Klaus                                Angie Smallwood
International Rep.                        Manager, Benefits Strategy
Region 9
                                          Rick Robinson
Matt Uptmor                               Director, Health, Safety & Environment
International Rep.
Health & Safety                           Michael Schubert
                                          Manager, Safety
Ted Szepanick.
International Rep                         Alissa Whitt
Strategic Research Dept.                  Human Resources Business Partner

Frank Cerra                               Jacob Bowman
International Rep                         Human Resources Business Partner
UAW Social Security Dept.


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                                                                        JA000760
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                                          Charles Roberts
                                          Legal Counsel

                                          Terry Clark
                                          Legal Counsel

                                          Stan Janis
                                          Finance

FOR LOCAL NO. 171                         FOR LOCAL NO. 1247

Dave Fowler, Jr.                          Brett Dennis
President                                 President

Ron Dietz, Jr.                            Mark Bair
Committeeperson                           EBU Chairperson

Jeff Mongan
Committeeperson

Tom Kunkleman                             FOR LOCAL NO. 2301
Committeeperson

Larry W. Miller                           Douglas Irvine
Committeeperson                           President

Serena Veldhuizen                         Ron Sheffield
OBU Chairperson                           Committeeperson

Levi Wilson
Remanufacturing Chairperson

FOR LOCAL NO. 2420

Alan McBerry
President

FOR LOCAL NO. 677

Walt Smith
President

Kevin Fronheiser
Shop Chairperson




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                                                               UAW - 000316
                                                                   JA000761
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David Durgin
EBU & OBU Chairperson

Al Keefer
Remanufacturing Chairperson

Louis Kurtz
Committeeperson

Michael Kalusky
Committeeperson

Russel Jones
Committeeperson




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                                                                   JA000762
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                       MASTER LETTERS OF AGREEMENT

                                                                    Page #
1       Equal Employment Opportunity

2       Federal Health Security Act

3       National Executive Committee

4       Medical Disputes

5       Neutrality Letter

6       Voluntary Political Contributions

7       Insourcing Opportunities

8       Sourcing

9       Union/Management Relationship

10      Resolution of Employee Complaints

11      Personal Leave of Absence

12      Employee Outplacement Assistance

13      Board of Directors

14      Overtime

15      New Operating Environment

16      Extension of Seniority Recall Rights

17      Health and Safety Issues

18      Competitive Changes in the Workplace

19      Health & Safety

20      Arbitration Procedural Guidelines




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                                                               UAW - 000318
                                                                   JA000763
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21      Lean Manufacturing

22      Special Single Sum Payments




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                                                               UAW - 000319
                                                                   JA000764
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Letter #1

Revised: June 1, 2009
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Equal Employment Opportunity

Dear Mr. Eblin:

Over the years, the Company and the Union have demonstrated leadership in developing
policies and putting them into practice to overcome discrimination because of race, sex, age,
physical handicap, political or religious affiliations, and national origin. Our discussions in this
area have recognized that the Parties need to maximize our adherence to the law and the
concept of equal opportunity in all aspects of employment.

Discussions during these negotiations highlighted the desirability of increased communication
and cooperative effort on this subject to encourage employees to secure the prompt resolution
of all claims of the denial of equal opportunity rights, and to determine the cause of such claims
in order to reduce the probability of these claims arising or recurring, and for the following
purposes: (a) To increase understanding, (b) To avoid multiplicity of litigation in many forms
simultaneously which is frequently time consuming, contradictory and hence non-productive in
relieving employee problems, (c) To seek solutions to mutual problems, (d) To exchange
information, expertise and advice.

Accordingly, the Parties agreed to establish the following Equal Employment Opportunity
Committee(s):

The Joint Corporate/International EEO Committee will be composed of two (2) representatives
of the International Union and two (2) representatives of the Company.

The Joint Corporate/International Committee will meet as frequently as is mutually deemed
desirable or necessary and its functions shall be the following:

A.   Explore affirmative concepts and programs that will enhance equal employment
     opportunity.

B.   Review and discuss ways and means of encouraging employees and grievance
     representatives to resolve claims of equal opportunity rights.

C.   Advise and counsel Local Equal Employment Opportunity Committees at operations
     covered by the Master Agreement.




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                                                                                   UAW - 000320
                                                                                         JA000765
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Such Local EEO Committees shall be composed at each location of two (2) representatives of
the Company and two members from the respective Local Union.

Local EEO Committees will meet quarterly or as frequently as is mutually desirable or
necessary, and shall have the following functions:

A.   Recommend to the Joint Corporate/International Committee ways and means of promoting
     equal opportunity rights.

B.   Recommend action with respect to specific instances of practices in order to minimize
     complaints alleging such claims.

C.   Suggest guidelines for Union and Company representatives' action in the proper, prompt
     handling of complaints, including the employee’s right to privacy.

D.   To review copies of all written complaints involving discrimination filed by employees in the
     bargaining unit. The Human Resources Manager will furnish copies of such complaints to
     the Committee and advise them of the results of the Company’s investigation including its
     assessment of any violation or non-violation of the law and any pending discipline.

The Parties continue to recognize their legal and moral responsibility for ensuring that all
Company employees have equal employment opportunities and freedom from discrimination as
set forth in the Agreement. All such employee complaints shall be reported by them to the
location’s Human Resources Department.

Consequently, the function of the Joint Corporate/ International Equal Employment Opportunity
Committee and Local EEO Committees shall be advisory, consultative and cooperative. While
the Company and the Union will welcome the recommendation of the Committees, the
Committees may not commit either Party to a specific course of action. Furthermore, the Union
agrees that it will discourage its members from bypassing the internal complaint procedure with
respect to any claim or complaint against the Company. However, an employee who is
disciplined by the Company as the result of its investigation may file a grievance protesting the
appropriateness or reasonableness of that discipline.

Provisions for payment to Union members of the Local E.E.O. Committee for attending E.E.O.
Committee meetings are contained in the appropriate Local Supplemental Agreements.

Very truly yours,



D. William Waters, Jr.
Director Employee & Labor Relations




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                                                                                  UAW - 000321
                                                                                        JA000766
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Letter #2

Revised: June 1, 2009
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Federal Health Security Act

Dear Mr. Eblin:


This confirms our understanding that, notwithstanding Article III, Section 9 of Appendix
B, if during the term of the collective bargaining agreement between the Company and
the Union signed today, any national health insurance act (other than a Workers'
Compensation or occupational health law) is enacted or amended to provide hospital,
surgical, medical, prescription drug, dental or vision benefits for employees, which in
whole or in part duplicate or may be integrated with the benefits under the Program, the
benefits under the Insurance Program shall be modified in whole or in any part, so as to
integrate or so as to eliminate any duplication of such benefits with the benefits
provided by such federal law. This integration shall be designed to maintain such
integrated benefits as nearly comparable as practicable to the benefits provided in the
Insurance Program. Such integration shall not result in persons covered under the
Program having to pay deductibles or copayments for Insurance benefits which they
would not otherwise pay under the insurance program.

If any such federal law is enacted or amended, as provided in the paragraph above, the
Company will pay, beginning with the date benefits under such law become available
and continuing through October 1, 2016, any premiums, taxes or contributions that
employees who are eligible for Company-paid coverage under the Insurance Program
may be required to pay under the law for benefits which may be integrated with the
Insurance Program. This includes payments that are specifically earmarked or
designated for the purpose of financing the program of benefits provided by law, in
addition to any premiums, taxes or contributions required of the Company by law. If
such premiums, taxes or contributions are based on wages, the Company will pay only
the premiums, taxes or contributions applicable to wages received from the Company.
Any savings realized by the Company from integrating or eliminating any duplication of
benefits provided under the Insurance Program with the benefits provided by law, shall
be retained by the Company.

These understandings are conditioned on the Company obtaining and maintaining such
governmental approvals as may be required to permit the integration of the benefits


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                                                                         UAW - 000322
                                                                              JA000767
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provided under the Insurance Program with the benefits provided by any such law;
otherwise the Company and the Union shall meet and develop an acceptable
alternative to accomplish the intent of this letter for the remaining term of the
agreement.



Very truly yours,


D. William Waters, Jr.
Director Employee & Labor Relations




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                                                                   UAW - 000323
                                                                        JA000768
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Letter #3

Revised:      October 2, 2016

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214


Re: National Executive Committee

Dear Mr. Eblin:


The parties to this agreement recognize that the long term viability of the Company is
essential to ensure employment opportunities and job security for the maximum number
of employees within the Company. In order to work toward these mutual objectives in
an environment which fosters cooperation and understanding between all interested
parties, the Company and the Union have agreed to form a committee made up of eight
members of which four will be appointed by the Director of the UAW Mack Trucks
Department (Vice President of Heavy Truck Department UAW, the Administrative
Assistant, the National Servicing Representative, and the Regional Servicing
Representative for the area and/or designated expert, if needed) and four to be
designated by the Company Director of Employee & Labor Relations.

This Committee will be responsible for coordinating the efforts of Union and
Management officials toward mutually established goals for the life of this Agreement.
The Committee will meet on an annual or some other mutually agreeable basis to
discuss items of significance to the Union, the employees and the Company.

Agendas which will be agreed upon prior to these meetings could include, but need not
be limited to:

-      Discussing the employment impact of the Company's overall strategies and
       considering possible alternatives which would improve operating efficiencies and
       enhance job security.

-      Identifying local projects which could be implemented at the Company's facilities.

-      Recommending new approaches for improving product quality.

-      Improving communications and the exchange of information between the Union
       and the Company.


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                                                                          UAW - 000324
                                                                               JA000769
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-     Discussing the development of new technology and its impact throughout the
      Company upon the scope of bargaining units.

-     Discussing the development of training programs to provide opportunities to both
      active and laid-off employees to upgrade their job skills; and thereby improve
      their job placement and job retention possibilities relative to their seniority; and
      thereby contribute toward the goal of retaining senior employees at work and
      assist laid-off UAW Mack Trucks’ employees in finding suitable employment
      outside of Mack Trucks.


Further, the parties have recognized the need to promote training, retraining and
personal development activities which would improve job skills, thereby enhancing job
security for Mack Trucks' employees and contributing to the competitiveness of the
Company. As a result, the National Executive Committee will, during the life of this
Agreement, develop a joint UAW Mack Trucks Employee Development and Training
Program. The objectives of which will include the following:

During the term of the 2001 Master Agreement, the Company’s contribution obligation
to the Joint Training Fund had been equal to $.08 for all hours compensated including
overtime hours, by UAW-represented employees. It is agreed, however, that the
Company’s contribution to the Joint Training Fund shall be suspended from October 25,
2019 through October 1, 2023. The Company will maintain a sufficient balance in the
Fund to cover its expenditures.

Training programs developed under this letter of Agreement and the allocation of funds
from the Joint Training Account shall continue to be administered jointly by Union and
Company members of the National Executive Committee.

In the event that expenses of mutually agreed programs exceed amounts accumulated
in the joint training accounts, Mack Trucks will contribute additional funds as needed.
In addition, the Union and Company will cooperate in attempts to obtain funding for
training purposes from various governmental agencies.


Sincerely,


D. William Waters, Jr.
Director Employee & Labor Relations




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                                                                          UAW - 000325
                                                                                JA000770
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Letter #4


Reissued: October 2, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Medical Disputes

Dear Mr. Eblin:

During the course of 1998 negotiations, the parties discussed the problem of resolving
medical disputes concerning the existence or nonexistence of either a total or partial
disability which arise in the application of the applicable provisions of the Agreement.

The parties shall immediately meet following notification that a dispute exists and shall
select an appropriate physician to perform an Independent Medical Examination (IME)
as expeditiously as possible to determine the status of the employee. The physician
selection process will be by mutual agreement or from a previously agreed upon panel
of physicians whose credentials will be periodically reviewed. The disability benefit
shall be continued through the date the results of the scheduled IME are received,
unless the employee returns to work prior to this date. If the IME determination is that
the employee is able to work, or if the employee fails to appear for the scheduled IME
without a justifiable reason, the benefit shall be terminated immediately and the
employee instructed to return to work. If the determination is that the employee is
unable to return to work, benefits shall be continued until it is determined that the
employee is able to return to work.

The resulting decision will be binding upon the parties. The Union and Company will
share equally any costs resulting from such appointments.

The parties agree that the following procedures shall apply to the IME:

1.    The physician performing the IME
            (a)    be provided all needed medical documentation by both the
                   Company and the employee or his treating physician
            (b)    conduct a telephone conference call with the Company and the
                   employee to answer any questions he may have
            (c)    complete a physical capabilities form to the employee following the
                   IME


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                                                                          UAW - 000326
                                                                               JA000771
     Case 5:21-cv-02500-JMG Document 25-4 Filed 04/11/22 Page 100 of 557




2.     If the employee returns to work and then goes off work again due to the same
       injury, illness, or condition, the employee shall be referred to the same physician
       for a new IME.


Very truly yours,


D. William Waters, Jr.
Director Employee & Labor Relations




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                                                                          UAW - 000327
                                                                                JA000772
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Letter #5

(Reference 1992 Contract)
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Neutrality Letter

Dear Mr. Eblin:

During 1992 negotiations, the Parties discussed at length the issues of mutual respect
and acceptance, particularly as they apply to UAW organizing efforts at the Company's
non-represented facilities. The Company assured the Union that it in no way wishes to
impede the UAW's legitimate institutional interests in organizing production/
maintenance, clerical, technical, or warehouse employees at any Mack Trucks, Inc.
facilities. In order to provide tangible evidence affirming this commitment, the Company
agrees to:

1.     Maintain a neutral position with respect both to the UAW and the issues of Union
       representation generally during any organizing campaign conducted by the UAW
       at any Mack Trucks, Inc. facilities for an appropriate bargaining unit of
       production/maintenance, clerical, technical, or warehouse employees.

2.     Recognize the UAW as the sole and exclusive collective bargaining agent for an
       appropriate bargaining unit of production/maintenance, clerical, technical, or
       warehouse employees at any Company facilities on the basis of a card check in
       which a majority (fifty percent plus one) of the employees signed an authorization
       card.

3.     Extend all terms and conditions of the Master Agreement to any facility whose
       employees have chosen the UAW as their collective bargaining representative.

Sincerely,


D. William Waters, Jr.
Director Employee & Labor Relations




                                           98

                                                                          UAW - 000328
                                                                               JA000773
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Letter #6

(Reference 1987 contract)

Reissued: October 2, 2016


Mr. Norwood Jewell
Vice President and Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Dear Mr. Jewell:

Re:    New Manufacturing and Parts Distribution Facilities

Regarding the establishment of new manufacturing facilities engaged in operations
identical or similar to those performed in facilities where the UAW currently holds
representation rights under this Master Agreement, the Company and Union agree as
follows:

No facilities will be built or opened in Mexico, the United States, and/or Canada for the
term of this Agreement without mutual agreement with the International Union UAW.

Sincerely,


D. William Waters, Jr.
Director Employee & Labor Relations




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                                                                          UAW - 000329
                                                                               JA000774
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Letter #6

(Reference 1982 Contract)
Revised: June 1, 2009
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Voluntary Political Contributions

Dear Mr. Eblin:

It is agreed between Mack Trucks, Inc. and the International Union, UAW (the Union)
that the following understandings have been reached in connection with the Union's
request that the Company make deductions for voluntary political contributions from the
paychecks of Company employees represented by the Union.

1. The designated financial officer of each Local Union will furnish to the local
   management for each employee for whom a deduction is to be made, an
   authorization card signed by the employee containing the following information:

   a. Name
   b. Employee Number
   c. Department Number
   d. Address
   e. Last 4 digits of Social Security Number
   f. Local Union Number
   g. Amount to be deducted each month elected by the employee on the deduction
      card.
   h. Date of Signature

   Voluntary contributions will start in the month following delivery to the Company if
   such authorization card is delivered not later than the 20th day of the month.

2. The Company will make such authorized deductions from wages earned and issued
   during the third full pay period (or subsequent pay periods) of the month and will
   continue the deductions while such authorization is in effect.

3. The Company will issue three separate checks payable to the UAW V-CAP, in care
   of the UAW's National CAP Department for deductions made in the preceding


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                                                                        UAW - 000330
                                                                             JA000775
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   month. The UAW's Voluntary Political Contributions Fund (V-CAP) is in full
   compliance with the Federal Election Campaign Act. Overpayment to the Union
   resulting from canceled employee authorizations will be refunded by the UAW
   International Union's Voluntary Political Contributions Fund (V-Cap).

4. A monthly report will be provided to the Local Union financial officer and regional
   office which will indicate name, employee number, Local Union number, last 4 digits
   of social security number, month and year-to-date deduction for each member.

5. Three separate magnetic tapes will be furnished, upon request, not to exceed four
   times a year, in the following format: Local/location, department, last 4 digits of
   social security number, employee number, first name and initial, last name, address,
   shift, current deduction, year-to-date deduction amount, company code to be
   assigned by National CAP Department.

6. Mack Trucks and the UAW, during the 1987 negotiations, agreed that the cost of
   this program was included in the overall economic settlement which includes the
   initial setup and programming costs, all general administration costs, computer and
   machine time, and all costs associated with the processing of new authorization,
   changes or cancellations.

7. Employees who wish to cancel their authorizations for payroll deductions will sign a
   card supplied by the Union for that purpose.

8. The designated financial officer of the Local Union will collect and forward to local
   management as one transmittal, all signed authorization cards and cancellation
   cards for the initial processing and for each subsequent monthly period.

9. In the event of layoff or transfer, the Union-covered employee's authorization card
   will be held with payroll records and reinstated upon said employee returning to a
   job covered by the Agreement.

10. The Company shall implement this program at any time after July 1, 1987, upon the
    Union's request.

11. The Union will indemnify and hold the Company harmless from any and all liability or
    claims arising from administrative error resulting from the deductions provided for in
    this agreement.



Very truly yours,


D. William Waters, Jr.
Director Employee & Labor Relations


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                                                                          UAW - 000331
                                                                                JA000776
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Letter #8

(Original date July 7, 1998)
Reissued: October 2, 2016

Mr. Norwood Jewell
Vice President and Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Dear Mr. Jewell:

Re: Procedure to be Followed if Wages or Benefits Disallowed or Postponed

If a governmental agency having appropriate authority holds that any increase in wages
or benefits provided for by this Master Agreement or by any Local Supplemental
Agreement thereto is disallowed or postponed, the Company will periodically, as the
proscribed payments become due, place in escrow an amount of money equal to that
necessary to provide the wages and benefits so disallowed or postponed, if so doing is
permissible under Government regulations. The Parties will negotiate means of making
available to employees benefits equal in value to any monies so deposited in escrow in
a manner that will be permissible under Government regulations.


Sincerely,



D. William Waters, Jr.
Director Employee & Labor Relations




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                                                                       UAW - 000332
                                                                            JA000777
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Letter #7

October 2, 2012 (Original Issue Date)
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214


Re:    Insourcing Opportunities

Dear Mr. Eblin:

During the course of the 2012 negotiations, the Parties discussed the various
opportunities that occasionally arise for new work to be insourced into a facility covered
by the Mack Master Agreement. The Company explained its concerns that, while these
insourcing opportunities may make sense from a business standpoint, provisions in the
collective bargaining agreement present cost and/or flexibility issues that ultimately lead
to a decision not to insource the new work. In order to address these concerns, and
with the goal of providing opportunities to expand the business along with the increased
job security for bargaining unit members that would result, the Parties have agreed to
the following:

       1. Upon written request from either Party, the Company, the appropriate UAW
          Regional Director (or designee), and the Local Union will enter into
          discussions within ten (10) working days to discuss a potential insourcing
          opportunity. The requesting Party will present the details of the opportunity to
          the other Party, including: details of the work under consideration for
          insource, timing of the potential insource and headcount impact. Local
          Management will also present to the above Union parties any proposals it
          wishes to make to revise and/or append the Local Supplemental Agreement
          in order to achieve a positive business case for the insourcing of the work in
          question. Such proposals may include outsourcing of current bargaining unit
          work in exchange for the insourcing of new work.

       2. The Local Parties shall have twenty (20) working days from the date of the
          initial meeting to reach an agreement to revise and/or append the Local
          Supplemental Agreement. Should no agreement be obtained in the agreed
          upon timeframe, Local Management may forward the issue to the Corporate
          Labor Relations function, which shall then present the issue to the Regional
          UAW Director (or designee) for discussion. Any agreement reached between


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                                                                            UAW - 000333
                                                                                 JA000778
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             Corporate Labor Relations and the Regional Director (or) designee shall be
             binding upon the Local Parties.

      3. The timeframes referenced in #1 and #2 above may be extended by mutual
         agreement.

      4. Should the contractual relief required by the Company in order to achieve a
         positive business case impact the Master Agreement, then the Corporate
         Labor Relations function and Heavy Truck Department of the International
         Union shall be party to the discussions and any subsequent agreement shall
         not be considered valid without their signatures. However, notwithstanding
         Article 27 of the Master Agreement, it shall be understood that the Local
         Parties may agree to the insource or outsource of product or work under
         paragraph #1 above.

      5. The International Union shall determine whether any Agreement reached
         under the terms of this Letter shall require a membership ratification vote.

      6. This Letter is not intended to diminish the role of the National or Local
         Sourcing Committees as defined in Exhibits #2 and #3. However, it is
         expressly understood that approval of the National and/or Local Sourcing
         Committees shall not be required under the terms and conditions of this
         Letter.


Sincerely,


D. William Waters, Jr.
Director Employee & Labor Relations




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                                                                           UAW - 000334
                                                                                JA000779
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Letter #8

Original Issue: May 26, 1998
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Sourcing

Dear Mr. Eblin:

Consistent with the parties concern for optimizing job security opportunities for our
employees, the Company and the Union have established in Article 27 Section 77 Local
and National Sourcing Committees to submit insourcing and outsourcing
recommendations where a part, component, function or operation can be shown to be
manufactured or performed internally or externally in a manner superior to that of
current operating conditions on the basis of quality, delivery and cost.

Management reserves the right to unilaterally initiate and reverse at will permanent and
trial insourcing decisions made outside the Sourcing Process.

Sincerely,


D. William Waters, Jr.
Director Employee & Labor Relations




                                          105

                                                                         UAW - 000335
                                                                              JA000780
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Letter #9

(Original date July 7, 1998)
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Union / Management Relationship

Dear Mr. Eblin:

Mack Trucks, Inc. and the UAW have made a sincere effort to resolve issues through
the negotiation process. Each of us recognize that a strike represents a tangible failure
of this process, however, in the interest of our long term relationship, Mack has elected
to refrain from continuing production operations by hiring new employees as permanent
replacements for striking workers.

During those few instances in which a strike occurs, the UAW recognizes that Mack
must continue to protect equipment, facilities and, most importantly, fulfill its
commitments to customers by using salary employees as are available to continue
critically necessary operations in an orderly manner. For their part, the UAW commits
to maintain an orderly, peaceful protest without rancor or attack upon the Company or
its product. A picket action will be of an informational nature and there will be no
interference with the legitimate access to Mack's facilities.

This course of action by the Company has served the parties well. It has permitted us
to address the issue without additional pressure and escalation of the tensions of the
situations. Accordingly, it is Mack's intent to continue this long established Corporate
policy so long as our relationship remains businesslike.

Sincerely,


D. William Waters, Jr.
Director Employee & Labor Relations




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                                                                          UAW - 000336
                                                                               JA000781
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Letter #10

(Original date July 7, 1998)
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Resolution of Employee Complaints

Dear Mr. Eblin:

The Company and the Union have long recognized that the mutually satisfactory resolution of
employee complaints in the grievance procedure, by authorized Company and Union officials,
results in a final and binding determination for both parties as well as the employee involved.
The parties' recognition of this principle has contributed stability and certainty to the grievance
procedure. Accordingly, the Company views any attempt to reinstitute such claims by either
party as being antithetical to the purposes for which the grievance procedure was established.

However, subject to the provisions of Article 5 of the Master Agreement, in those instances
where the UAW's International Executive Board, Public Review Board, or Constitutional
Convention Appeals Committee have reviewed a grievance disposition and found that such
disposition was improperly concluded by the Union body or representative involved, the Heavy
Truck Department may so inform the Director of Employee and Labor Relations of the
Company and request in writing that such grievance be reinstituted in the parties' grievance
procedure at the same level at which it was originally settled. After receipt of such written
request, the grievance will be so reinstituted by the Company.

It is understood by the parties, however, that the Company will not be liable for any back pay
claims from the time of original disposition to the time of reinstitution of the grievance, and it is
further agreed that the reinstitution of any such grievance shall be conditioned upon agreement
by the Union and the employee(s) that neither will pursue such back pay claim against the
Company.

This letter is not to be construed as modifying in any other way either party's rights or
obligations pursuant to the Collective Bargaining Agreement or the final and binding nature of
any other grievance resolutions. It is also understood by the parties that this section and the
Company's obligation to reinstitute grievances consistent with the conditions set forth above
and upon written request from the Union, can be terminated by either party upon thirty (30)
days' notice in writing, to that effect.

Sincerely,

D. William Waters, Jr.
Director Employee & Labor Relations


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                                                                                    UAW - 000337
                                                                                          JA000782
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Letter #11

(Original date October 28, 1992)
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Personal Leave of Absence

Dear Mr. Eblin:

During the discussion of the Personal Leave of Absence section of Article 10 of the
Master Agreement, Management assured the Union of their intention to take a
reasonable administrative approach. In instances where approved leaves of absence
cause a negative impact on an employee who would be otherwise eligible for vacation
or holiday pay, the Human Resources department will review all attendant
circumstances and make a reasonable determination of eligibility.

This understanding is not intended to expand eligibility, but rather to address obvious
inequities which may arise due to the administration of the specific language of the
Personal Leave of Absence section.

Sincerely,


D. William Waters, Jr.
Director Employee & Labor Relations




                                          108

                                                                        UAW - 000338
                                                                             JA000783
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Letter #12

(Original dated July 7, 1998
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Employee Outplacement Assistance

Dear Mr. Eblin:

The Union has requested that Mack renew the commitment first made in the 1984
Agreement with regard to outplacement assistance. In response to that request, the
Company has agreed to continue to offer to employees on regular layoff assistance in
seeking other job opportunities through a career transition service provided by the
Company at no cost to the employees. This service will be provided as a need is
identified, for any facilities covered under this agreement, by the National Executive
Committee. Employees will be provided with:
   a. Information on employment opportunities within the regional area of residence.

   b. Counseling on the types of skills that are marketable in the job market of today
      and the future.
   c. Retraining and entrepreneurial programs.

   d. Counseling on how to seek, apply for and acquire employment.

The parties have agreed to fund these efforts through the Joint Training Fund.

Sincerely,

D. William Waters, Jr.
Director Employee & Labor Relations




                                          109

                                                                         UAW - 000339
                                                                                 JA000784
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Letter #13

(Original date May 26, 1998)
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Board of Directors

Dear Mr. Eblin:

The Company and the Union have set up a framework for identifying issues of mutual
interest which will enhance the long term viability and growth of the Company, thereby
maximizing job opportunities for our UAW represented employees. In the spirit of
maintaining our progress toward these very important objectives, arrangements will be
made, continuing the practice established under prior bargaining agreements, for the
Director of the UAW Heavy Truck Department to address the Corporation's Board of
Directors, appropriate committee(s) of the Board, or the Company's Management
Committee, on a periodic basis.

Sincerely,



D. William Waters, Jr.
Director Employee & Labor Relations




                                         110

                                                                       UAW - 000340
                                                                            JA000785
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Letter #14


(Original date May 26, 1998)
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Overtime

Dear Mr. Eblin:

During the discussions regarding the necessity for scheduled overtime, the parties
concluded that, recognizing the unique requirements within each unit, overtime was a
topic best provided for in the various Supplemental Agreements.

The Union expressed a concern that customer requirements could result in the
necessity to schedule excessive amounts of overtime, therefore, in making scheduling
decisions, Management agreed to consider alternatives to overtime including, but not
limited to, the recall of seniority employees, with the requisite skills, from layoff. The
intention is to make work scheduling decisions which result in the best quality, delivery
and cost advantages to our customer.

Management is willing to review the rationale for scheduling decisions with the union
upon request.

Sincerely,


D. William Waters, Jr.
Director Employee & Labor Relations




                                           111

                                                                          UAW - 000341
                                                                                JA000786
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Letter #15

(Original date: June 18, 1998)
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214


RE: New Operating Environment

Dear Mr. Eblin:

During the 2007 contract negotiations process, the Company and the Union engaged in
discussions to clarify, define and resolve critical issues necessary to improve the overall
competitiveness of Mack Trucks, Inc. The need for these improvements was driven by
our joint understanding of the seriousness of the competitive gap that exists between
Mack and its key competitors. Both parties also firmly agreed that these discussions
were only the initial steps necessary to create a new operating environment that will
allow us to become competitive as soon as possible and thereby provide security for
our employees, retirees and shareholders.

Consequently, the parties agree that each local plant/facility will continue to work to find
solutions to operating/business issues that prevent us from being competitive, now and
in the future. It is clearly understood that the parties at the local, and also at the
national level, will explore all reasonable alternatives to enable Mack to be competitive
in all of its business units. In order to achieve these goals, it is understood and agreed
that each local plant/facility may enter into agreements that may deviate from the
provisions of the Local Supplemental and Master Agreements, and other local
agreements with the approval of the International Union and Company.                    The
International Union will further advise the parties if membership approval is required to
negotiate such changes and if membership ratification is required to implement such
changes prior to any agreement that would modify and/or amend the Master
Agreement.

Recognizing the needs of all constituencies, the parties agree to continue to meet on an
ongoing basis at each location to implement strategic steps that will address the actions
outlined above.

Sincerely,
D. William Waters
Director Employee & Labor Relations


                                            112

                                                                            UAW - 000342
                                                                                  JA000787
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Letter #16

Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Extension of Seniority Recall Rights

Dear Mr. Eblin:

This will confirm our understanding that, notwithstanding the provisions of Article 6,
Section 18 (g), (h) and (i) of the Master agreement, employees who have or acquire
seniority as of October 25, 2019 shall retain their seniority recall rights through the term
of the new Agreement.

Sincerely,


D. William Waters, Jr.
Director Employee & Labor Relations




                                            113

                                                                            UAW - 000343
                                                                                  JA000788
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Letter #17

Revised: October 1, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Health and Safety Issues

Dear Mr. Eblin:

During the 2019 Negotiations the parties had extensive discussion regarding health and
safety. The Company and Union agree that by working jointly on programs
continues to enhance and improve the safety culture at all UAW represented
Mack facilities. Therefore, we will continue to work together to address and improve
the following Health and Safety items:

1. Will continue to develop alternative measures to eliminate the practice of
   employees working under suspended loads. Specifically, safety stands, blocks and
   improved crane and hoist procedures will be implemented. Standards applicable to
   each facility, such as the most current version of the ANSI standards for cranes,
   hoists, rigging and under the hook lifting devices, will be obtained and reviewed to
   guide the design process.

2. Will continue to provide safe access to all entrances and exits at the facility during
   and after snow /ice storms. The parking lots will be plowed and salted to assure
   that a safe condition exists.

3. Will continue to schedule qualified personnel to inspect all gas-fired equipment.

4. Will continue to maintain restrooms, water coolers/water fountains and
   eyewashes in a clean and sanitary condition.

5. Will continue to maintain water coolers/water fountains and eyewashes in a
   sanitary condition.

5. Additional efforts will be made to ensure that management recognizes the need to
   maintain properly balanced ventilation systems. The Company will continue to
   maintain properly balanced ventilation systems in the facilities. The Local
   Joint Health and Safety Team will ensure that Local Exhaust Ventilation (LEV)
   evaluations are completed periodically. In the event that a third party is used
   to conduct these evaluations, the UAW Health and Safety Representative has

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                                                                         UAW - 000344
                                                                               JA000789
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   the right to be present. If the LEV evaluations are conducted internally, the
   tools needed to perform these tasks will be available at each location. Time
   needed to perform these functions will be determined by the Joint Health and
   Safety Team. Acting Safety Representatives will perform evaluations during normal
   shift times, according to the annual plan and in a timely manner when complaints
   are received.

6. The Local Committee on Health and Safety at each facility will continue to develop
   action plans to resolve issues concerning powered industrial vehicle alternatives,
   traffic, pedestrian safety and aisle ways. at the Middletown facility, and chassis line
   buggy system safety in Macungie.

7. Upon ratification of this contract (no greater than 30 days) the International
   Joint Committee will assist Facility Management in the on-going issue with
   the chassis line buggy system at the Macungie LVO facility. The parties
   mutually agree that this is a serious safety issue that must be addressed.
   The Company will allocate appropriate resources to identify and implement
   actions to prevent the continuation of this issue. The Local Joint Health and
   Safety Team at the Macungie facility will continue to monitor the effectiveness of
   the actions and notify the International Joint Committee of the action plan, when
   actions are completed, and/or upon any new incidents, near misses or SIF (Serious
   Injury or Fatality) cases related to the issue on the chassis line buggy system
   and ensure that effective safety controls are in place and maintained.

8. The one-hundred thirty-five thousand dollars ($135,000) referenced in the 2004
   and 2009 2016 agreements will be carried forward into this agreement. This dollar
   amount may be utilized as the parties mutually agree for any particular joint study.
   Funds may be used to leverage other sources of research funding.

9. Within ninety (90) days of ratification of this Agreement, the Facility Health
   and Safety Team, PM Coordinator and a member of the Skilled Trades will
   conduct a review of the Preventative Maintenance Program to ensure that the
   safety related items have been properly identified and included in the
   facilities’ Preventative Maintenance Program. Will continue to ensure that all
   safety related items have been identified and entered into the Preventative
   Maintenance Program (PMP). The Joint Health and Safety Team will audit the
   PMP annually to ensure that safety related PM’s are completed as scheduled
   and not past due.

10. Within one hundred eighty (180) days of ratification of this Agreement the
    Company and the Local Union will meet to discuss, review and if necessary
    re-establish the role and responsibilities of the Medical Emergency Response
    Team (MERT).

11. Within one hundred eighty (180) days of ratification of this Agreement, both
    Hagerstown and Macungie Management Teams will meet with their Local

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                                                                          UAW - 000345
                                                                                JA000790
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Union at their respective locations to discuss how employee fatigue and
excess overtime affects the health and safety of employees.


Sincerely,


D. William Waters, Jr.
Director Employee & Labor Relations




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                                                           UAW - 000346
                                                                JA000791
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Letter #18


Original Issue: October 2, 2004
Revised:       June 1, 2009
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Competitive Changes in the Workplace

Dear Mr. Eblin,

During the course of the negotiations which led to the 2004 Master Agreement the Parties held
extensive discussions on possible future changes in the workplace of significant scope and
importance resulting from new technology, implementation of product plan strategies, and the
restructuring and integration of Mack Trucks into the processes of its parent Company, AB
Volvo and how these changes may or may not impact employees and the future operations of
the Company.

The Parties recognize that the U.S. manufacturing sector is shifting to a global base and that
the Company must be able to compete, not only domestically, but worldwide. In order to secure
a competitive advantage, the Parties recognize the need for change and to be able to obtain
capital investments which improve our technological and manufacturing methods.

The Company commits that during the term of the new Agreement it will meet with
representatives of the UAW International Heavy Truck Department and Local UAW
Representatives, where applicable, to discuss competitive changes resulting from new
technology, product and manufacturing strategies and restructuring plans which may impact our
processes, or manufacturing methods that result in the change or elimination of jobs or
otherwise potentially impact employment levels. Such meetings will be held in advance of such
implementations in order to provide the Union with information regarding the planned changes
and to engage in meaningful discussions to protect the interests of its members, including the
Company’s ability to provide employee training to utilize the new technology or process in order
to meet the needs of the competitive workplace.

Sincerely,


D. William Waters, Jr.
Director Employee & Labor Relations




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                                                                               UAW - 000347
                                                                                     JA000792
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Letter #19

Issued: June 1, 2009 (Original)
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Health and Safety

Dear Mr. Eblin,

During the course of these negotiations, Management and the Union have held
discussions concerning cadmium in the workplace. The Company commits that it will
not use Cadmium coated parts or fasteners in the assembly process.

In the unlikely event that Cadmium coated parts or fasteners are found in the plant, the
Company will provide a risk communication regarding Cadmium to all employees within
the facility. Should an exposure occur, the Company will schedule and pay for
biological testing conducted by a mutually agreed upon certified laboratory, and will
ensure that any cadmium-containing residue is properly cleaned up and disposed.

The Mack Trucks’ Corporate Director of Health and Safety, the U.A.W. International
Health and Safety Representative, and the Local Health and Safety Representative
agree to meet, discuss, and determine the adequacy of our existing strategy relating to
cadmium and determine if any additional actions may be required.

Sincerely,


D. William Waters, Jr.
Director Employee & Labor Relations




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                                                                         UAW - 000348
                                                                              JA000793
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Letter #20

October 2, 2012 (Original Issue Date)

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re:    Arbitration Procedural Guidelines

Dear Mr. Eblin:

This will confirm the Arbitration Procedural Guidelines agreed to on October 2, 2012
between the Company (Mack Trucks, Inc.) and the International Union, UAW. Those
understandings are:

1)     The parties may meet by telephone or in person with the Arbitrator prior to the
       hearing in order to discuss the subject matter of that hearing. Such meetings will
       be held only by mutual agreement.

2)     The hearing of cases shall be held at the facility or location from which the case
       arose. However, this does not preclude the parties from conducting a hearing or
       hearings at other locations where, in appropriate cases, and for reasons of
       convenience and economy, it may be desirable to conduct a hearing at another
       location.

3)     Witnesses shall be sworn under oath prior to providing their testimony.

4)     A transcript of the hearing by a Court Reporter may be requested by the parties
       who will equally share the cost, fees and expenses incurred by the Court
       Reporter. Transcript costs will be paid by the party ordering the transcript and
       the parties shall equally share the cost of a copy of a transcript if one is
       requested by the Arbitrator.

5)     Full disclosure of all documents, positions, evidence and witness lists from each
       party to the other will be completed no less than ten (10) business days prior to
       the start of the cancellation fee date established by the Arbitrator. Such
       exchange of information may be made in person, via e-mail, U.S. mail, telephone
       or any combination thereof.

6)     Unemployment Compensation and Workers Compensation documents may only
       be used for impeachment purposes.



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                                                                          UAW - 000349
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7)     No pre-hearing settlement offer(s) in the instant case or in other similar cases will
       be admissible by either party.

8)     The parties at their election may submit pre-hearing and/or post-hearing briefs
       unless directed otherwise by the Arbitrator.

9)     At the commencement of the hearing, either party may make a request of the
       Arbitrator to excuse persons from the hearing room who may be present but who
       are not appropriately affiliated with the hearing. Only those persons having a
       direct participation in the hearing shall be permitted to attend the hearing. Such
       persons will include Company and Union officials, their representatives,
       witnesses and mutually agreeable observers.

10)    Neither party will subpoena witnesses from the other party. However, any person
       properly present at the hearing may be called by the opposing party to testify as
       an adverse or hostile witness with the right to lead and cross-examine. Either
       party’s failure to call a witness shall give no rise to a presumption of his or her
       testimony or lack thereof.

11)    Either party may request that the Arbitrator appropriately sequester witnesses
       outside of the hearing room until such time as they are called to testify.

Should questions arise regarding the application of these Guidelines or a conflict exist
as to their meaning or application to a particular case, the parties will meet to discuss
and mutually resolve those issues.



Sincerely,



D. William Waters, Jr.
Director Employee & Labor Relations




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                                                                            UAW - 000350
                                                                                  JA000795
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Letter #21

(Original Date: June 1, 2009)
Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re: Lean Manufacturing


Dear Mr. Eblin:

During the negotiations which led to the 2012 Labor Agreement, the Parties discussed
the future changes to the processes and methods at the facilities covered by the Mack
Master Agreement resulting from the Company’s transition to a Lean Manufacturing
environment.

   The Parties recognize that Lean Manufacturing is the cornerstone for achieving and
    maintaining any competitive advantage, both domestically and globally.
   Despite its name, Lean Manufacturing is a strategy that encompasses all
    operational processes and strategies, not just those specific to manufacturing.
   The Lean strategy is focused on encouraging initiative, creating a harmonious
    culture of involvement based upon the long-term development of our employees,
    and ensuring employee input into day-to-day operations.
   The parties recognize that involving employees in key phases of the business such
    as quality, continuous improvement initiatives, operating efficiency, joint problem
    solving, and waste elimination is extremely important in achieving stated objectives.
   The parties recognize that we must continue to identify the best processes and work
    policies that will encourage employee participation.
   The implementation and success is dependent upon the joint cooperation of the
    Parties, which in turn will help to bolster job security and the long-term viability of our
    operations.
   The Parties recognize that successful implementation of lean manufacturing
    initiatives should result in more efficient operations, thus generating additional
    insourcing opportunities within the facility through the creation of additional capacity
    and free space.


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   The objective of Lean Manufacturing is to develop a systematic approach to
    identifying and eliminating waste through continuous improvement.
   Meeting this challenge requires a truly participative process and sustained employee
    involvement.
   In order for an operation to successfully implement Lean Manufacturing, there is a
    level of understanding and cooperation that must exist between all team members.
   The Parties thereby agree that the success of this initiative depends largely upon
    the implementation of work teams in the operations and a shift in the current culture
    to self-guided and self-sufficient work groups where team members will be required
    to be cross-trained on various jobs within their work group to ensure team-depth skill
    and knowledge.
   The Parties recognize that self-directed work teams and their team leaders must
    have performance goals, objectives and measurements within work groups to
    facilitate, quality initiatives, new product launch, health and safety initiatives,
    maintenance processes, operating effectiveness, and continuous improvement.
   The Parties also acknowledge that current processes, layouts, material and
    information flows cannot remain unchanged if the benefits of Lean Manufacturing
    are to be realized.

To this end, the Parties agree that they will endorse and embrace this new way of
working. The Local Parties will meet regularly once implementation has commenced to
monitor the success of the implementation and address any issues and concerns that
may arise. Should the Local Parties encounter issues related to the collective
bargaining agreement which they cannot resolve, representatives of the Corporate
Labor Relations function and International Union will attempt to help the Local Parties
resolve the issue prior to that issue being entered into the grievance procedure. The
Parties are committed to resolve any contractual issues surrounding this
implementation in a manner that facilitates the new processes in the overall interests of
the Company and its employees, including, if needed, the modification or adoption of
language      to     support      and      implement      the    new      environment.


Sincerely,


D. William Waters, Jr.
Director Employee & Labor Relations




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                                                                                JA000797
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Letter #22

Original Issue: October 2, 2004
Revised: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department
Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Re:          Special Single Sum Payments

Dear Mr. Eblin:

As agreed in the 2019 contract negotiations, a single sum payment will be made on January 1,
2020, January 1, 2021, January 1, 2022 and January 1, 2023 to:

1.      Employees who retired prior to August 1, 2019 with a Normal, Early, or Disability Pension
        who survive to January 1, 2020, January 1, 2021, January 1 2022 and January 1, 2023
        as the case may be.

2.      Surviving spouses of employees who retired prior to August 1, 2019 with a Normal, Early
        or Disability Pension provided that such surviving spouses are receiving or eligible to
        receive surviving spouse pensions as of January 1, 2020, January 1, 2021, January 1
        2022 and January 1, 2023 as the case may be.

3.      Surviving spouses of employees who terminated employment by death prior to August 1,
        2019 provided that such surviving spouses are receiving or eligible to receive surviving
        spouse pensions as of January 1, 2020, January 1, 2021, January 1 2022 and January 1,
        2023 as the case may be.

The amount of the single sum payment on January 1, 2020, January 1, 2021, January 1 2022
and January 1, 2023 shall be the product of (i) and (ii) below, where:

      (i)     equals $425 if the single sum is payable to a person described in (1) above or $275 if
              the single sum is payable to a person described in (2) or (3) above, and;

      (ii)    equals the ratio of the former employee’s credited service at time of retirement or
              death to 30 years with the maximum of such ratio equal to 1.

Sincerely,


D. William Waters, Jr.
Director Employee & Labor Relations


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                       BENEFIT AGREEMENTS


     Pension Plan                                 Appendix A

     Insurance Program                            Appendix B

     Supplemental Unemployment Benefit Plan       Appendix C

     Transfers to Other Plants                    Appendix D

     Profit Sharing Plan                          Appendix E

     Legal Services Plan                          Appendix F

     Mack-UAW 401(k) Plan                         Appendix G

                                 between

                        MACK TRUCKS, INC.
                               and the
                     INTERNATIONAL UNION,
                       UNITED AUTOMOBILE
                         AEROSPACE AND
                    AGRICULTURAL IMPLEMENT
                      WORKERS OF AMERICA
                                UAW
                         AND ITS LOCALS
                     171, 677, 1247, 2301, 2420


                 October 25, 2019 – October 1, 2023




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                                         WAIVER

Section 1

During the negotiations resulting in this Benefits Agreement concerning the benefits and
terms and conditions of employment of production, maintenance, and salaried
employees, the Company and the Union each had the unlimited right and opportunity to
make demands and proposals with respect to any subject matter as to which the
National Labor Relations Act imposes an opportunity or obligation to bargain. Except as
specifically set forth elsewhere in this Agreement, the Company expressly waives its
right to require the Union to bargain collectively, and the Union expressly waives its right
to require the Company to bargain collectively over all matters as to which the National
Labor Relations Act provides an opportunity or imposes an obligation to bargain,
whether or not: (1) such matters are specifically referred to or covered in this
Agreement; (2) such matters were discussed between the Company and the Union
during the negotiations that resulted in this Agreement; or (3) such matters were within
the contemplation or knowledge of the Company or the Union at the time this
Agreement was negotiated and executed.

Section 2

This Agreement contains the entire understanding, undertaking, and agreement of the
Company and the Union, after exercise of the right and opportunity referred to in the
first sentence of Section 1 above, and finally determines and settles all matters of
collective bargaining between the parties for its term. Any changes to this Agreement or
any changes to any other terms and conditions of employment not covered or
contemplated by this Agreement during its term, whether by addition, waiver, deletion,
amendment, or modification, must be reduced to writing and executed by the
Company’s Corporate Director, Employee and Labor Relations, the local Director of
Human Resources, and the designated International and Local Union representatives to
be enforceable.

Section 3

The waiver of any breach, term or condition of any of the provisions of this Agreement
by either party does not constitute a precedent or past practice for any future waiver or
enforcement of such breach.

Section 4

Unless specifically so provided in this Benefits Agreement to the contrary, past practices
shall not be binding on either party.




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                            Appendix A



                        Mack Trucks, Inc.
                     Mack-UAW Pension Plan
              For Employees Hired Before June 1, 2009


                     Summary Plan Description




                         October 25, 2019




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To All Participants:

The Mack-UAW Pension Plan (the Plan) is designed to help ensure your financial
security during retirement and to provide you with a source of income after you stop
working. The Pension Plan covers employees who were hired before June 1, 2009.

The Mack-UAW Pension Plan provides for Normal, Early, Disability and Deferred
Vested pension benefits. The Plan also provides benefits to eligible survivors of
deceased participants.

This is your Summary Plan Description for the Pension Plan reflecting the agreement
that is effective as of October 25, 2019, and as it applies to participants who retire or
otherwise terminate employment on or after August 1, 2019. If you retired or otherwise
terminated your employment before August 1, 2019, the rules of the Plan document as
in effect when you left will apply to you. If you need information about the Plan as in
effect previously, please contact the Plan Administrator.

This Summary Plan Description provides you with information about your rights and
benefits under the Plan in plain, easy-to-understand language. Because this is only an
overview of the Plan, not all provisions of the Plan are discussed.

The Plan is maintained pursuant to a collective bargaining agreement between the
Company and the International Union, UAW, Locals 171, 677, 1247, 2301 and 2420.
You may obtain a copy of the collective bargaining agreement by writing to the Plan
Administrator (see last page of this Summary for address). Additionally, the collective
bargaining agreement is also available for examination by participants and beneficiaries
at the office of the Plan Administrator and at the office of each Local.

The general explanation provided in this summary does not change, expand or
otherwise interpret the terms of the Plan. The complete text of the official Plan
document may be obtained from the Plan Administrator. If there are any differences,
conflicts or inconsistencies between the information contained in this document and the
official Plan document, the Plan document will always govern.

We encourage you to read this booklet carefully and share it with your family. If you
have any questions about the Plan after reading this material, please contact your local
Human Resources Department, Benefits Representative, or call Mercer HR Services at
1-800-356-9240 or log into www.ibenefitcenter.com.




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Participation in the Plan

You are eligible to be an active participant in the Plan if:
 you are an active employee of Mack Trucks, Inc. or a UAW facility under the Mack
  Master Agreement (the “Company”); and
 you are represented by UAW Locals 171, 472, 677, 1247, 2301, 2420 or 5841; and
 you were hired or rehired before June 1, 2009.

Earning Service

You can earn two types of service under the Plan: credited service and vesting service.

Credited Service

Your credited service is based on the hours of pay you receive from the Company in a
calendar year and is used to calculate the benefits you will receive under the Plan.

To count as a full year of credited service, you must be paid for at least 1,700 hours.

You will receive proportionate credit (i.e., a partial year of credited service) to the
nearest 1/10 of a year for years in which you receive pay for less than 1,700 hours. If
you complete at least 1,615 hours during a calendar year, you will receive credit for a
full year. For example, suppose you complete 1,620 hours during a year. You will
receive 1,620/1,700 = .953 years, which would round to 1.0 year of credited service.

You may also receive credited service for periods during which you:

 are on an approved leave of absence for the purpose of permitting you to hold a
  position with the Local Union;
 are on an approved leave of absence for the purpose of permitting you to hold a
  position with the International Union;
 are in active service up to five years in the Armed Forces; or
 are on an approved leave of absence due to an occupational injury or illness and
  receiving Workers’ Compensation.

In addition, if you have seniority as defined in the collective bargaining agreement, you
may also be granted credit for time during which you are absent due to a layoff or a
Company-approved sick leave, provided you have received pay from the Company for
at least 170 hours of work in the year your layoff or sick leave begins.
To avoid duplication, pay for unused vacation does not count as credited service.
However, pay for accrued vacation does count as credited service.

Pay for unused vacation or accrued vacation is recognized for the purpose of satisfying
the 170-hours requirement described above.

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Vesting Service
Your vesting service is equal to the number of years from your employment date to your
severance date and is used to determine whether you are entitled to a benefit under the
Plan. Years of service are calculated on the basis of completed months, with a
completed month meaning the period of work from a particular day in a given month
through the day preceding that day in the next month. An additional full month is
awarded for any portion of a month beyond a completed month.

You also earn credit toward years of vesting service for periods during which you are
absent from work on unpaid leave under the Family and Medical Leave Act of 1993 and
for periods during which you are absent from work due to military service and you meet
the requirements of the Uniformed Services Employment and Reemployment Rights
Act.

You stop earning vesting service when your employment with the Company ends
(“severance date”). However, you may continue to earn vesting service during:

 a Company-approved leave of absence for a period of up to two years;
 a layoff of up to two years, provided you don’t refuse recall within that period; or
 a period of up to one year following your termination of employment from the
  Company, if you return to the Company within that year.

Transfers Into a Bargaining Unit or Creation of a New Bargaining Unit
If you become covered under the Plan because you are transferred into a covered
bargaining unit or because you become a member of a newly formed bargaining unit,
you may retain all of the credited and vesting service you had earned under any other
Company retirement plan as of the time of transfer. To avoid duplication, the benefit
payable from the Plan will be offset by the benefit payable under any other Company
retirement plan.

Transfers Out of the Plan
If your coverage under this Plan ends because you are no longer represented by one of
the UAW locals identified in the “Eligibility” section of this summary, you will retain the
credited service that you had earned under this Plan and you will continue to earn
vesting service as long as you are employed by the Company.

Breaks in Service
You will have a “break in service,” if you cease working for the Company before
accumulating five years of vesting service and thus before you become eligible for a
Deferred Vested Pension. If you have a break in service, you may lose all of your years
of credited service and vesting service. Depending upon the length of the break, the
loss may be temporary and the previously accrued years of credited service and vesting
service may be restored upon resumption of work with the Company. A longer break is

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permanent, meaning that years of credited service and vesting service cannot be
restored even if you later return to work with the Company.
For these purposes, your Severance Date is the date as recorded in the Company’s
records, on which you quit, retire, are discharged, or die, or, if earlier, the first
anniversary of the first day of a period during which you remain absent from service with
the Company and all Affiliated Companies (with or without pay) for any reason.

You shall incur a One-Year Period of Severance if your employment with the Company
is severed and you remain out of the employment of the Company for the 12-month
period ending on the day before the anniversary of your Severance Date.

If you sever your employment before accumulating five years of vesting service, you will
permanently lose your years of credited service and years of vesting service if you are
not reemployed by the Company before you incur five consecutive One-Year Periods of
Severance.

If you sever your employment before accumulating five years of vesting service, you
may nevertheless have your years of credited service and years of vesting service
restored if you are re-employed by the Company before you incur five consecutive One-
Year Periods of Severance, so long as you have earned one year of vesting service
following your return to employment.

Notwithstanding the foregoing, an absence for one or more of the following reasons
shall not be considered a severance from service: (a) layoff for a period not in excess of
two years; (b) Company-approved leave of absence for a period not in excess of two
years; (c) military service that meets the requirements for coverage under the Uniformed
Services Employment and Reemployment Rights Act or such that the right to
reemployment is protected by any other law; or (d) unpaid leave under the Family and
Medical Leave Act of 1993. Additionally, if you are absent from work beyond the first
anniversary of the first day on which you are absent by reason of pregnancy, childbirth
or adoption, or for the purpose of the care for your child immediately after birth or
adoption, the 12-consecutive-month period beginning on the first anniversary of the first
day of such absence shall be neither a one-year period of severance nor a year of
credited service or vesting service.

Qualifying for Benefits Under the Plan

You may qualify for any of three types of retirement under the Plan:

 Normal
 Early
 Disability




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The Plan also provides a deferred vested pension if you break seniority after you have
completed five years of vesting service but before you qualify for one of the three types
of retirement shown above.


Normal Retirement

You are eligible to receive a Normal Retirement benefit if you retire at or after age 65
(the Plan’s Normal Retirement Age) and you have earned at least five years of credited
service.


Early Retirement

You are eligible for Early Retirement benefits if:

 You retire after earning at least 30 years of credited service (regardless of your age);
  or
 You retire between ages 60 and 65 and you have earned 10 or more years of credited
  service; or
 You retire between ages 55 and 62 and your age plus your years of credited service
  equal at least 85; or

 You retire after age 55 because your job is eliminated due to the sale, transfer or
  permanent discontinuance of a product line or business segment, provided that at
  least 20% of all bargaining unit employees in the plant, or 150 bargaining unit
  employees, are terminated as the direct result of that sale, transfer or discontinuance,
  and further provided that you would have met one of the eligibility conditions for early
  retirement described above if you had continued in employment for a period of time
  equal to your vesting service.


Disability Retirement
You may be eligible for Disability Retirement benefits if:

 you are totally and permanently disabled because of an illness or injury; and
 you are younger than age 65; and
 you have earned at least 10 years of credited service.

You are totally and permanently disabled if you have a permanent incapacity which
results in your being unable to engage in any regular employment or occupation, by
reason of any medically demonstrable physical or mental condition, with the Company
at the plant or plants where you work, provided you are not engaged in paid regular
employment (excluding employment or occupation which on the basis of medical advice

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the Board of Administration determines to be for purposes of rehabilitation). You will not
be considered to be totally and permanently disabled if your incapacity resulted from
service in the armed forces of any country, provided, however, that this restriction shall
not prevent you from being deemed to be totally and permanently disabled as described
herein if you have accumulated at least five years of seniority after separation from
service in the armed forces and before such incapacity occurs.

To qualify for Disability Retirement benefits, you will be required to submit to an
independent medical examination by a doctor selected by the Board of Administration.
In addition, you may be required to submit to periodic reexaminations up to twice a year
at the Board’s request to determine your continuing eligibility for benefits.


Deferred Vested Pension

If you incur a break in seniority before you qualify for one of the three types of
retirement mentioned above and you have five or more years of vesting service, you
qualify to receive an unreduced deferred vested pension when you reach age 65 or a
reduced deferred vested pension when you reach age 60 (or if earlier, when the sum of
your age, to the nearest one-tenth year, plus your credited service equals 85). If your
benefit commences before age 65, it is reduced by 7.2% for each year (or .6% for each
month) by which benefits begin before your 65th birthday.


Calculating Your Benefits

Your basic benefit from the Plan is called your Life Income benefit.


Normal Retirement

Your Normal Retirement Life Income benefit is determined as of the date you retire, and
is calculated by multiplying your credited service times the Life Income benefit rate
applicable to your retirement date.

The Life Income benefit rates are as follows:
                                                        Life Income
             Retirement Date                            Benefit Rate
             January 1, 2020 or later                      $49.50




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Benefit Escalation

If you retire from active service on or after August 1, 2019 and prior to October 1, 2023,
your pension will be adjusted to reflect the scheduled increase in the plan’s Benefit
Rate. For example, suppose you retire in 2019 when the Benefit Rate is $48.50. Your
pension will be based on the $48.50 level. Your pension will increase on January 1,
2020, when the Benefit Rate increases to $49.50. It will remain at this ($49.50) level
thereafter.
              An Example of Your Normal Retirement Pension Benefit
Assume that you retire in 2019 (on or after August 1) at age 65 with 20 years of credited
service.

Your monthly Normal Retirement Benefit would be determined as follows:
         Year                         Monthly Pension
      2019                               $48.50 x 20 = $970
      2020 and later                     $49.50 x 20 = $990



Early Retirement
Your Early Retirement Life Income benefit is also determined as of the date you retire
and is calculated by multiplying your credited service times the Life Income benefit rate
applicable to your retirement date times the reduction factor for early commencement.

The early retirement reduction factor is based on the following table:

                                                 Early Retirement Factor
Retirement Date                              Under Age 60       60 and Over
January 1, 2017 or later                        .9381              1.000

Benefit escalation (described above) applies to Early Retirement Benefits.

If you retire on an Early Retirement Date, you may also be eligible for a Supplemental
Allowance. Please see Page 15 for a description of the Supplemental Allowance.




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                 An Example of Your Early Retirement Pension Benefit

Assume that you retire in 2019 (on or after August 1) at age 58 with 30 years of credited
service.

You would be eligible for the supplemental allowance and your Early Retirement Benefit
payable until age 62 and one month would be as follows:

                     Year                             Monthly Pension
              2019 and later, until
             age 62 and one month                           $2,480


Your monthly Early Retirement Benefit payable after age 62 and one month would be
determined as follows: $49.50 x 30 x .9381 = $1,393


In this example, because you attain age 62 and one month after January 1, 2020, your
pension is calculated using a benefit level and early retirement factor of $49.50 and
.9381, respectively.


                 An Example of Your Early Retirement Pension Benefit

Assume that you retire in 2019 (on or after August 1) at age 58 with 27 years of credited
service.
You would be eligible for the supplemental allowance and your early retirement pension
would be determined as follows:

               Year                               Monthly Pension
        2019 and later, until
       age 62 and one month                27/30 x $2,480 x 76% = $1,696

Your monthly Early Retirement Benefit payable after age 62 and one month would be
determined as follows:        $49.50 x 27 x .9381 = $1,253

In this example, because you attain age 62 and one month after January 1, 2020, your
pension is calculated using a benefit level and early retirement factor of $49.50 and
.9381, respectively.


Disability Retirement

If you qualify for Disability Retirement, you will receive an unreduced benefit determined
in the same manner as the Normal Retirement benefit above.


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Benefit escalation (described earlier) applies to Disability Retirement Benefits.

In addition, if you begin receiving your disability benefit before you reach age 62 and
one month (or become eligible to receive an unreduced Social Security benefit), your
disability retirement benefit may be increased by an additional amount called the
Temporary Benefit. The amount of your Temporary Benefit is determined by multiplying
your credited service up to a maximum of 30 years times the current rate, $35.85. When
you reach age 62 and one month, or you become eligible to receive an unreduced
Social Security benefit (if earlier) your Temporary Benefit will stop.


                     An Example of your Disability Retirement Benefit

Assume that you retire after qualifying for total and permanent disability in 2019 (on or
after August 1), at age 45 with 20 years of credited service. Your monthly Disability
Retirement Benefit would be determined as follows:

Life Income benefit =     $48.50 x 20 = $ 970
Temporary benefit    =    $35.85 x 20 =      717
Total                                     $1,687

Because of benefit escalation, your monthly benefit would increase, effective January 1,
2020, as follows:

Life Income benefit =     $49.50 x 20 = $ 990
Temporary benefit    =    $35.85 x 20 =      717
Total                                     $1,707

When you reach age 62 and one month, your Temporary benefit will stop, and your
pension will be $990 per month.


Deferred Vested Pension
If you terminate employment with the Company and you qualify for a Deferred Vested
pension, you may elect to begin receiving your benefit the first of any month following
your 60th birthday (or, if earlier, the first day of the month following the month in which
the sum of your age, to the nearer one-tenth year, plus your credited service, equals
85). The amount of your Deferred Vested pension is determined based on the date you
broke seniority. If you break seniority, the benefit rate for each year of credited service
is based on the benefit rates in the following table:




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                                                          Life Income
              Date as of which Seniority is Broken        Benefit Rate
              January 1, 2019 – December 31, 2019           $48.50
              January 1, 2020 or later                      $49.50

Deferred Vested Pensions are payable as a life annuity only, subject to your spouse’s
Survivor Benefit rights. The Plan contains no provisions for lump-sum or disability
payments of Deferred Vested Benefits. If you begin receiving payment of your Deferred
Vested pension before you reach age 65, this benefit will be permanently reduced by
6/10ths of 1% for each month between your age at the commencement of payments
and your 65th birthday.

Benefit escalation (described above) does not apply to Deferred Vested Pension
benefits. If you break seniority prior to becoming eligible to retire, your pension will be
determined using the Life Income benefit rate in effect when your seniority is broken
and you will not be eligible for benefit escalation.


                  An Example of Your Deferred Vested Pension
Assume that you terminate employment in 2019 (on or after August 1) at age 45
with 10 years of credited service.
Your monthly pension payable at age 65 would be determined as follows:
         10 x $48.50 = $485.00
Instead, you can elect to begin to receive your pension as early as age 60. In that
case, your monthly pension would be determined as follows:
         10 x $49.50 x 64% = $316.00


Survivor Benefits
The Plan also provides benefits for your eligible survivors in the event of your death.
These benefits may include a Regular Survivor benefit, a Pre-Retirement Survivor benefit,
or Transition and Bridge Survivor Income benefits.


Regular Survivor Option
A Regular Survivor benefit is paid to your eligible spouse in the event of your death after
retirement or if you die while still an active employee but after you become eligible for
Normal or Early retirement.


Eligibility and Waiver
Your benefits automatically include the Regular Survivor Option if:




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 you retire on Normal or Early retirement; or
 you retire on Total and Permanent disability and you are at least 55 years of age.

Your benefits are subject to the Regular Survivor Option that becomes effective on the
later of: 1) the date you retire, or 2) the date you and your spouse have been married for
one year.

If you retire on Total and Permanent disability, have less than 30 years of credited
service, and are less than 55 years of age, the Regular Survivor Option will be effective
on the later of:

 the first day of the month following your 55th birthday; or
 the date you and your spouse have been married for one year.

Your benefits under a Deferred Vested pension are subject to the Regular Survivor
benefit on the later of:

 the date payment of your Deferred Vested pension begins; or
 the date you and your spouse have been married for one year.

If you do not wish for your spouse to receive Regular Survivor benefits, you may elect to
waive the option by notifying the Board of Administration during the 180-day period
preceding the date the option is due to take effect. In other words, if you do not want
your pension to be reduced, as described below (because your spouse is more than 10
years younger than you), you can waive coverage during the 180-day period prior to
your benefit commencement date. This notice must include your spouse’s consent to
this waiver, and your spouse’s signature must be notarized unless witnessed by a
Company representative.

In addition, your survivor option may be canceled in the event you lose your spouse
through death or divorce. Cancellation will become effective on the first day of the
month following the month that the Board of Administration receives proof of your
spouse’s death or your divorce.

Effect of the Monthly Survivor Benefit on Your Pension
If you have a monthly survivor benefit in effect, your Life Income benefit may be reduced
to provide for continued benefits to your surviving spouse. If your spouse is more than
10 years younger than you, your Life Income benefit will be reduced by ½% for each
year in excess of the 10 that your spouse is younger than you. For example, if your
spouse is 12 years younger than you, your Life Income benefit will be reduced by 1%
(½% x 2). The reduced amount of your pension is referred to as your Adjusted Life
Income benefit.



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Calculating Your Survivor Benefit
The benefit your surviving spouse will be eligible to receive is equal to 55% of your
Adjusted Life Income benefit. You may also elect to provide a survivor benefit of 75% to
your spouse. If you choose this option, your benefit will be reduced on an actuarially
equivalent basis.


If You Die While Still Employed
In the event of your death while you are still employed but after you become eligible to
retire under the Normal or Early retirement provisions of the Plan, your spouse will be
eligible to receive a Survivor Pension benefit. This Survivor Pension benefit is equal to
55% of the Life Income benefit you would have received if you had retired and begun to
receive benefits on the first day of the month preceding your death.


Pre-Retirement Survivor Option
Until you are eligible for coverage under the Regular Survivor Option, your spouse is
automatically covered by the Pre-Retirement Survivor Option if you:

 are an active participant in the Plan; and
 have at least five years of Vesting Service; and
 have been married to your spouse for at least one year.

You are also covered by this option if you broke seniority after January 1, 1985 and
have been found eligible for a deferred vested pension.

If you die while covered under the Pre-Retirement Survivor Option, your spouse will
receive a benefit equal to 55% of the Life Income benefit you would have received if you
had survived to your earliest possible retirement date. Payment to your surviving
spouse will begin on the first day of the month following the month you would have
become eligible to retire.

If you do not wish to be covered by the Pre-Retirement Survivor Option, you may submit
a waiver to the Board at any time before your coverage becomes effective. Your spouse
must consent to your waiver in writing.

If you are divorced, you can elect to cancel your coverage without your spouse’s
consent by providing satisfactory proof of divorce to the Board of Administration.

Your coverage under the Pre-Retirement Survivor Option will automatically be canceled
when you become eligible for coverage under the Regular Survivor Option.




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Transition and Bridge Survivor Income Benefits
Transition and Bridge Survivor Income Benefits may be paid to your eligible survivors if
you die 1) while actively employed, 2) while receiving a Total and Permanent Disability
pension benefit, or 3) while on layoff and insured for Group Life Insurance. These benefits
are designed to help your family adjust to the loss of your income.

Eligible survivors include:

 Your spouse, provided you were married for the one-year period immediately prior to
  your death;

 Your unmarried children who are:

   -    under 21 years of age;

   -    between 21 and 25 years of age, legally residing with you and dependent on you;
        or

   -    over 25 years of age, totally and permanently disabled, legally residing with and
        dependent on you.

Children include your natural children, legally adopted children, and step-children residing
with you at the time of your death.

In some cases, if there is no eligible spouse or children, benefits may also be paid to
your parents or adoptive parents, provided they were dependent on you at the time of
your death for at least 50% of their support.
Transition Benefits
Transition benefits will be paid to your eligible survivors beginning on the first day of the
month following your death and continuing for a maximum of 24 months.

If only one survivor is entitled to benefits, and this survivor is not eligible for an
unreduced Old Age, Survivor or Disability benefit under the Federal Social Security Act,
the monthly Transition benefit will be $600.

If the survivor is eligible for an unreduced Old Age, Survivor, or Disability benefit under
the Federal Social Security Act, the Transition benefit will be $325.

If more than one survivor is entitled to benefits, the applicable Transition benefit will be
divided equally among the eligible survivors. For example, if an employee dies in 2020
and benefits are payable to two children, neither of whom are eligible for Social Security
benefits, each child would receive $300.00 ($600 divided by 2).


Bridge Benefits


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After the maximum period for Transition benefits, your surviving spouse may also be
eligible to receive Bridge benefits. To qualify for Bridge benefits, your spouse must be:

 at least 45 years of age at the time of your death, or the sum of your spouse’s age at
  the time of your death and your credited service equals at least 55; and
 unmarried at the time benefits begin; and
 ineligible to receive full Widow or Widower’s benefits under Social Security; and
 ineligible to receive an Old Age, Survivor, or Disability benefit under Social Security.

The monthly Bridge benefit will be $600.

Bridge benefits will be payable to a surviving spouse until the earlier of:

 Age 62 and one month; or
 Remarriage.

If the Transition/Bridge benefit payment period extends beyond the date that benefits
would begin under the Regular Survivor Option or the Pre-Retirement Survivor Option
(as applicable), your spouse will receive the greater of the Transition/Bridge benefit or
the Survivor benefit until the expiration of the Transition/Bridge benefit payment period.


Survivor Benefits for Retirees Receiving a Disability Retirement Benefit
If you die while in receipt of a Disability Retirement benefit, your spouse will receive
Transition benefits and Bridge benefits (if applicable).

If you die before you have attained age 55, or if you retired before you had 30 years of
credited service, your spouse will receive benefits under the Pre-Retirement Survivor
Option (see page 17). If you die after age 55, or if you had 30 years of service when you
retired, your spouse will receive benefits under the Regular Survivor Option (see page
15).




Other Benefits Provided by the Plan
Supplemental Allowance
If you retire under the early retirement provisions of the Plan before reaching age 62
and one month, you may be eligible to receive a Supplemental Allowance. The
Supplemental Allowance is designed to provide a predetermined level of benefits until
you become eligible for Social Security benefits. If you retire with 30 years of credited
service, you receive the maximum Supplemental Allowance. If you retire with less than

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30 years of credited service, you receive a proportionate amount. In addition, if you
retire with less than 30 years of credited service, your benefit will be reduced for early
commencement if your retirement precedes age 60.

If you retire on or after August 1, 2019 with 30 or more years of credited service, your
maximum monthly benefit would be as follows:

                         Year                     Maximum Monthly Benefit
                     2019 and later                      $2,480

Benefit escalation (described on page 14) applies to the Supplemental Allowance.

If you retire with less than 30 years of credited service, you will receive a proportionate
amount. For example, if you had 20 years of credited service and you retired on
September 1, 2019 on or after age 60, your maximum monthly benefit would be 20/30 x
$2,450 or $1,633. If you retire before age 60, your maximum monthly benefit will be
reduced by 1% for each month that your retirement date proceeds the first day of the
month that you turn age 60. For example, if you retire at age 58 (24 months early) with
20 years of service, your monthly benefit will be reduced by 24% to $1,241 ($1,633 x
76%). Your monthly benefit would be adjusted each year to reflect the scheduled benefit
rate increases (see the examples on page 13.)

Part of this maximum amount will be provided by your Life Income benefit, and the
balance will be your Supplemental Allowance.


Special Age 65 Benefit
The Special Age 65 benefit is intended to reimburse a retired employee or spouse for a
portion of premium required for Medicare Part B coverage.
You are eligible to receive the Special Age 65 benefit if you are at least age 65 or you
are enrolled for Medicare Part B coverage. Your spouse (or your surviving spouse in the
event of your death) is also eligible to receive the Special Age 65 benefit if he or she is
enrolled for Medicare Part B coverage. The benefit is not payable to you (or your
spouse) if you retire with a Deferred Vested Pension (see page 11).

The monthly amount of the Special Age 65 benefit is the actual Medicare Part B premium,
up to a maximum of $115.00.

Payment of the Special Age 65 benefit will begin on the earlier of:

 The first day of the month in which you, your spouse, or your surviving spouse turns
  age 65, or
 The date you, your spouse, or your surviving spouse enrolls in Medicare Part B
  coverage.


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Please note that if you become eligible for Medicare Part B coverage before your 65th
birthday, payment of the Special Age 65 Benefit will not begin until the first day of the
month after you submit a copy of your Medicare card to the Board of Administration.


Effects Agreements

If you elected to participate in the retirement incentive program described in the
Baltimore PDC Effects Agreement, you will be credited with additional years of credited
service for purposes of determining your eligibility to retire under the Plan and for
purposes of determining the amount of your pension benefit. The period for which
additional years of credited service will be credited begins on the date of your layoff,
and ends on the date you begin to receive pension benefits. If you meet two or more
thresholds for early retirement, you can retire on either date and the plan provisions
applicable to that retirement date apply. In addition, if you attain age 60 during the
contract term (before October 1, 2019), your life income benefit will be calculated with
no reduction for early commencement.

If you elected to participate in the retirement incentive program described in the
Jacksonville PDC Effects Agreement, and you attain age 60 and retire before the end of
the contract (October 1, 2019), your life income benefit will be calculated with no
reduction for early commencement.


Payment of Benefits
Payment of your benefits will generally begin on the first day of the month that coincides
with or follows the date you retire. However, if you work beyond age 70½, you can elect
to begin to receive your pension as of the April 1 following the year in which you attain
age 70½, even if you are still working for the Company.

If you were less than age 65 on May 1, 2012, and you work after your normal retirement
age, your pension will be equal to the greater of (a) your accrued benefit as of May 1,
2012 actuarially increased from your normal retirement date to the date as of which your
benefit commences to be paid and (b) your accrued benefit determined as of your
benefit commencement date.

If you were at least age 65 on May 1, 2012, and you retire after that date, your pension
will be equal to the greater of (a) your accrued benefit as of your normal retirement date
actuarially increased from your normal retirement date to the date as of which your
benefit commences to be paid and (b) your accrued benefit determined as of your
benefit commencement date.

Applying for Benefits
To receive any benefit under the Plan, you must complete and return an application
form. To obtain an application form, contact your local Human Resources Department,

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Local UAW Benefits Representative or Mercer (1-800-356-9240) no earlier than 180
days prior to the date you wish to commence benefits.

If your claim is denied, in whole or in part, you will receive written notification of the
Board’s decision within 90 days of the date the Board received your claim. This
notification will include the specific reasons for the decision, reference to the specific
Plan provisions on which the decision is based, a description of any additional
information needed to complete the claim and why such information is necessary, and a
description of the Plan’s review procedures and the time limits applicable to such
procedures, including a statement of your right to bring a civil action under §502(a) of
ERISA following a denial on review.


In some cases, the Board may require more than 90 days to make a decision regarding
your claim. In this case, the Board may take up to an additional 90 days, provided you
are notified of the extension within the initial 90-day period together with an explanation
of why more time is needed.

Appeal Procedures
If your claim for benefits is denied, in whole or in part, you may appeal the denial in
writing within 60 days after you receive the denial. You or your representative have a
right to review, upon request and free of charge, pertinent plan documents, records and
other information and to submit a written statement, documents, records or other
information in support of your claim.

The Board will conduct a full review of your claim and make a decision on the appeal
within 60 days after they receive your written request for review.
In some cases, the Board may need more time to make a decision. In such a case, they
may take an additional 60 days, provided you are notified of the extension within the
initial 60-day period together with an explanation of why more time is needed.

The Board’s decision regarding your appeal will be conveyed to you in writing. The
Board’s notice to you regarding its decision will include the specific reasons for the
decision, reference to the specific Plan provisions on which the decision is based, a
statement that you are entitled to receive, upon request and free of charge, pertinent
Plan documents, records and other information, and a statement of your right to bring a
civil action under §502(a) of ERISA.


Additional Plan Information
Limits on Benefits
The Internal Revenue Service has established certain limits on the amount of benefits
employees may receive from the Plan. If your benefits are affected by these limitations,
you will be notified by the Plan Administrator.


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Benefits Payable to Minors and Individuals Declared Legally Incompetent
If the Board determines, after receiving appropriate proof, that the person to whom
benefits under the Plan are payable is incapable of looking after their own affairs
because of illness, injury, or minor status, payment may be made to the spouse, parent,
child, brother, sister or legal guardian who is responsible for the person.


Vesting
No employee or other person will have any vested rights under the Plan, except rights, if
any, that accrue on retirement or upon attaining eligibility for deferred vested or survivor
benefits as described in the Plan.


Nonalienation of Benefits
In general, no one can take away your benefits under this Plan and you cannot give or
sell them to someone else or use them as collateral for a loan. Also, your creditors
cannot claim your benefits to satisfy your debts.

However, in the case of certain Qualified Domestic Relations Orders relating to provisions
for child support, alimony, or marital property rights of your spouse, part or all of your
benefits may be assigned to meet those obligations. If a court issues a Qualified
Domestic Relations Order that applies to you, you will be notified by the Plan
Administrator before any action is taken.

The Board of Administration has established procedures for determining whether an
order constitutes a Qualified Domestic Relations Order. Participants and beneficiaries
can obtain a copy of such procedure, without charge, from the Board of Administration.


Offsets For Payments Made Because of a Qualified Domestic Relations Order
The amount of monthly pension benefits otherwise payable to you at retirement will be
reduced by the actuarially equivalent value of any past and future benefits paid to any
other person under a Qualified Domestic Relations Order. If this reduction applies to
you, you will be notified by the Plan Administrator.


Re-employment After Retirement
If you are re-employed by Mack Trucks after you retire, you will continue to receive your
Life Income benefit, but not your Supplemental Allowance (if any). However, if you are
employed by a Volvo company other than Mack trucks, you will continue to receive both
your Life Income benefit and your Supplemental Allowance.


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Deductions for Workers’ Compensation
If you become eligible for Workers’ Compensation benefits as a result of a claim filed
more than two years after you retire or break seniority, a deduction will be made from
your monthly benefit equal to the amount of payments you received under Workers’
Compensation provided these benefits are attributable to premiums, assessments,
taxes or other payments made by or at the expense of the Company.


Plan Costs and Funding
The entire cost of benefits under this Plan is paid by the Company. Contributions are
actuarially determined and paid to a Trust Fund set up for this purpose. No contributions
from employees are required or permitted.


Amendment or Termination of the Plan
The Company expects the Plan to continue, however the Company reserves the right to
amend or terminate the Plan at any time with the mutual agreement of the Company
and the Union. If any change to the Plan is required by the Internal Revenue Service for
compliance with the Internal Revenue Code, the change may be made retroactively, if
necessary.

Should the Plan terminate, the assets remaining in the Trust Fund after administrative
expenses have been paid would be used to pay benefits according to priorities outlined
in the Plan document.

The first priority would be to pay benefits to participants, beneficiaries, or surviving
spouses who were already receiving benefits as of the three-year period ending on the
date of plan termination, or who would have had a right to receive such benefits if the
participant had retired before the plan termination.

The next priority would be to use any remaining assets in the Trust Fund to pay all other
benefits guaranteed by the Pension Benefit Guaranty Corporation (see below). Then,
payment of all other vested benefits under the Plan other than those that became
vested because of the plan termination would be made. Finally, if any assets remained
in the Trust, payment of any other eligible benefits under the Plan would be made.


Pension Benefit Guaranty Corporation
Your benefits under the Mack-UAW Pension Plan are insured by the Pension Benefit
Guaranty Corporation (PBGC), a Federal insurance agency. If the Plan terminates
(ends) without enough money to pay all benefits, the PBGC will step in to pay pension


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benefits. Most people receive all of the pension benefits they would have received
under the Plan, but some people may lose certain benefits.
The PBGC guarantee generally covers (1) normal retirement benefits, (2) disability
benefits if you become disabled before the Plan terminates, and (3) certain benefits for
your survivors.

The PBGC generally does not cover: (1) Benefits greater than the maximum guaranteed
amount set by law for the year in which the Plan terminates; (2) some or all of benefit
increases and new benefits based on Plan provisions that have been in place for fewer
than 5 years at the time the Plan terminates; (3) benefits that are not vested because
you have not worked long enough for the Company; (4) benefits for which you have not
met all of the requirements at the time the Plan terminates; (5) certain early retirement
provisions (such as supplemental benefits that stop when you become eligible for Social
Security) that result in an early retirement monthly benefit greater than your monthly
benefit at the Plan’s normal retirement age; and (6) non-pension benefits, such as
health insurance, life insurance, certain death benefits, vacation pay and severance
pay.
Even if certain of your benefits are not guaranteed, you still may receive some of those
benefits from the PBGC depending upon how much money your Plan has and on how
much the PBGC collects from employers.

For more information about the PBGC and the benefits it guarantees ask the Board of
Administration or go to the PBGC’s website, www.pbgc.gov or call toll-free at 1-800-
400-7242 (TTY/TDD users may call the Federal relay service toll-free at 1-800-877-
8339 and ask to be connected to 1-800-400-7242).


Your Rights Under ERISA
As a participant in the Mack-UAW Pension Plan, you are entitled to certain rights and
protections under the Employee Retirement Income Security Act of 1974, as amended
(ERISA). ERISA provides that all participants of the Plan shall be entitled to:
 Examine, without charge, at the Plan Administrator’s office and at other specified
  locations such as worksites and union halls, all documents governing the Plan,
  including insurance contracts and Collective Bargaining Agreements and a copy of
  the latest annual report (Form 5500 Series) filed by the Plan with the U.S. Department
  of Labor, and available at the Public disclosure Room of the Employee Benefits
  Security Administration.

 Obtain, upon written request to the Board of Administration, copies of all documents
  governing the Plan, including insurance contracts and collective bargaining
  agreements, and copies of the latest annual report (Form 5500 Series) and updated
  summary plan description. The Board of Administration may make a reasonable
  charge for copies.

 Receive a summary of the Plan’s annual financial report. The Board of Administration is
  required by law to furnish each participant with a copy of this Annual Funding Notice.

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 Obtain a statement telling you whether you have a right to receive a pension at normal
  retirement age (age 65) and if so, what your benefits would be at normal retirement
  age if you stop working under the Plan now. If you do not have a right to a pension,
  the statement will tell you how many more years you have to work to get a right to a
  pension. This statement must be requested in writing and is not required to be given
  more than once every twelve (12) months. The Plan must provide the statement free
  of charge.

In addition to creating rights for Plan participants, ERISA imposes duties upon the
people who are responsible for the operation of the employee benefit plan. The people
who operate your Plan, called “fiduciaries” of the Plan, have a duty to do so prudently
and in your interest and that of other Plan participants and beneficiaries.

No one, including your employer, or any other person, may fire you or otherwise
discriminate against you in any way to prevent you from obtaining a pension benefit or
exercising your rights under ERISA.

If your claim for a pension benefit is denied or ignored, in whole or in part, you have a
right to know why this was done, to obtain copies of documents relating to the decision
without charge, and to appeal any denial, all within certain time schedules.

Under ERISA, there are steps you can take to enforce the above rights. For instance, if
you request a copy of Plan documents or the latest annual report from the Plan and do
not receive them within 30 days, you may file suit in a federal court. In such a case, the
court may require the Plan Administrator to provide the materials and pay you up to
$110 a day until you receive the materials, unless the materials were not sent because
of reasons beyond the control of the Board of Administration.

If you have a claim for benefits which is denied or ignored, in whole or in part, you may
file suit in a state or Federal court. In addition, if you disagree with the Board of
Administration’s decision or lack thereof concerning the qualified status of a domestic
relations order, you may file suit in Federal court. If it should happen that Plan
fiduciaries misuse the Plan’s money, or if you are discriminated against for asserting
your rights, you may seek assistance from the U.S. Department of Labor, or you may
file suit in Federal court. The court will decide who should pay court costs and legal
fees. If you are successful, the court may order the person you have sued to pay these
costs and fees. If you lose, the court may order you to pay these costs and fees, for
example, if it finds your claim is frivolous.

If you have any questions about your Plan, you should contact the Board of
Administration. If you have any questions about this statement of your rights under
ERISA, contact the nearest office of the Employee Benefits Security Administration,
U.S. Department of Labor, listed in your telephone directory, or the Division of Technical
Assistance and Inquiries, Employee Benefits Security Administration, U.S. Department
of Labor, 200 Constitution Avenue N.W., Washington, DC 20210. You may also obtain
certain publications about your rights and responsibilities under ERISA by calling the
publications hotline of the Employee Benefits Security Administration.

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Administrative Information
This section provides you with information about how the Mack-UAW Pension Plan is
administered.

Plan Name
Mack-UAW Pension Plan

Type of Plan
This Plan is a defined benefit pension plan designed to provide retirement benefits to
eligible employees and their survivors.

Plan Number
004

Employer Identification Number
XX-XXXXXXX

Plan Year
January 1 through December 31

Agent for Service of Legal Process
Corporate Secretary
c/o Mack Trucks, Inc.
7900 National Service Road
Greensboro, NC 27409
(Service may also be made upon the Plan Administrator or the Plan Trustee)

Plan Sponsor/Plan Administrator
Mack Trucks, Inc.
7900 National Service Road
Greensboro, NC 27409

Plan Trustee
JP Morgan Chase Bank
3 Chase MetroTech Center, Floor 6
Brooklyn, NY 11245

Board of Administration


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The Plan is administered by the Mack-UAW Joint Board of Administration. One-half of
the Board members are appointed by the Company and one-half of the Board members
are appointed by the Union.

The Board of Administration is responsible for the day-to-day operation of the Plan. For
example, the Board determines eligibility of employees to participate in the Plan,
interprets Plan provisions and maintains records necessary for proper administration of
the Plan. No member of the Board of Administration receives compensation for services
on the Board.


The determination of the Board about any disputed question will be final and binding.
Any claims for benefits or questions about the Plan should be addressed to the Board.
You can contact the Board at the following address:

Mercer
Attn: Mack UAW Pension Board
PO Box 9622
Des Moines, IA 50306-0622




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                                APPENDIX B


                             Mack Trucks, Inc.
                    Mack UAW Insurance Program


                       Summary Plan Description




The benefit coverage in effect on the date of execution of the Master Agreement,
including the terms and conditions of coverage, the rules of initial eligibility,
continuation of coverage and other general conditions of coverage contained in
Appendix B dated October 25, 2019 or its replacement is your Summary Plan
Description (SPD) for Welfare Benefits (Insurance Program) that replaces the
original benefit agreement format and encompasses the terms of your agreement
as well as required regulatory information. Although the format is new, this SPD
is not bolded or underlined for ease of reading.




                             October 25, 2019




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                             APPENDIX B

                       INSURANCE PROGRAM

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                                      APPENDIX B

                                INSURANCE PROGRAM

                                        ARTICLE I



SECTION 1            Continuation of the Program

The Insurance Program which is attached as Appendix B to the Collective Bargaining
Agreement between the parties dated June 1, 2009 (herein called the “2009 Insurance
Program”) shall be amended, effective as of October 25, 2019 as described below, and
maintained by the Company as amended for the duration of the Collective Bargaining
Agreement of which Appendix B is a part.



SECTION 2            Continuation of Benefits

Provisions for payment of benefits under the 2009 Insurance Program will continue in
accordance with the conditions, provisions, and limitations until October 1, 2019. On
and after that date, benefits will be provided and paid by the Company under the
amended 2019 Insurance Program as describe below (hereinafter known as the
“Program”).

The Company shall arrange for group insurance coverage as here and after provided.

Such coverage will be arranged at the Company’s sole discretion, in any manner or
through any organization, including, but not limited to, a program or programs provided
by an insurance carrier, by arrangement with a hospital plan corporation, professional
health service corporation, or similar plan or organization; through a preferred provider
arrangement; through a self-insured plan; or through a combination of any such
methods. The terms and conditions of coverage, including those amendments made in
these negotiations, are continued on the assumption that the current arrangement to
deliver benefit is continued on the traditional fee for service basis for the term of the
labor agreement. The Company will not exercise its option to select an alternate
delivery system until the parties have reached mutual agreement on the terms and
conditions including restrictions, limitations and definitions that would be applicable to
any alternate delivery system.

The benefits provided under this Agreement as described in the following pages of this
Appendix, as amended from time to time pursuant to the mutual agreement of the
parties, will remain in effect during the term of this Agreement and will not be altered by
the provisions of any agreement between the Company and any benefit program

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provider. If there is a conflict between the language of this Agreement and that of any
agreement between the Company and any benefit program provider, the language of
this Agreement shall control.


SECTION 3           Definitions

   a) Employee means an individual who is actively at work within the bargaining unit
      on or after the effective date of this Agreement, or who, on or after the effective
      date of this agreement, is, pursuant to the terms and conditions of the Collective
      Bargaining Agreement and Local Supplements, on personal leave of absence or
      sick leave, maternity leave, vacation or is permanently and totally disabled, but
      excluding one who is on military leave, or leave of absence with the International
      Union, or leave of absence because of election to federal, state county or
      municipal office.

   b) Pension plan means the Mack-UAW Pension Plan attached as Appendix A to
      the Collective Bargaining Agreement.


                                      ARTICLE II



SECTION 1           Introduction to Coverage

Appendix B is a Summary Plan Description that explains the essential features and
conditions of the group insurance benefits provided to you and your eligible dependents
as of October 25, 2019, through the duration of the agreement. In general, the Plans
cover active UAW employees of Mack Trucks, Inc. or any facility working under the
Mack-UAW Master Agreement and their eligible dependents. This Appendix describes
the details of the following programs:

       Life Insurance
       Accidental Death and Dismemberment Insurance
       Accident and Sickness Insurance
       Long Term Disability Insurance
       PPO Medical Coverage
       PPO Prescription Drug Coverage
       IBH Mental Health Coverage
       Vision Coverage
       Dental Coverage
       HMO Medical and Prescription Drug Coverage

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SECTION 2            Eligibility and Commencement of Coverage

(a) Employee

If you were hired or rehired on or after January 1, 2014, and those previously hired who
were not yet eligible for benefits, the coverages listed above will commence on the first
day of third month immediately following your date of hire for both you and your eligible
dependents, provided that if you are not actively at work when the coverage would
otherwise take effect, coverage will not take effect until the day you return to full-time,
active work. Human Resources (or the HR Service Center) will provide you the
necessary enrollment forms.

When you enroll in Medical benefits (including waiver of coverage) you must do so
within 31 days of your effective date of coverage. Your benefit election will remain in
effect until you make a change. You may not make a change to your medical coverage
election until the next annual enrollment period, unless you have a life event change
(see examples below). This is because you are making your required medical
contributions on a pre-tax basis (before taxes) and the IRS requires us to follow certain
regulations (Section 125).

Pre-tax contributions are taken from your pay before Federal, Social Security and (in
some locations) State taxes are taken. Because your taxable income is reduced, you
pay fewer taxes and you never are required to pay tax on that income. This reduction in
pay has no effect on the value of your life, accident, A&S and long term disability
coverage or any other benefits based on pay.

Eligible dependents maybe added (or dropped) during your initial enrollment period,
during annual enrollment or within 31 days of the life event change. Examples of life
event changes include the following:

          o Marriage, divorce, legal separation,
          o Birth of a child, adoption or placement for adoption,
          o Death of a spouse or child,
          o When your child is no longer an eligible dependent,
          o You, your spouse or your child lose coverage under another benefit plan
            or that coverage is significantly changed (your spouse loses his/her job or
            is reduced to part-time status), or
          o Your COBRA coverage continuation period ends from another employer.




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If you do not enroll your new dependents within 31 days, you must wait until the next
annual enrollment period to do so. You must also drop your ineligible dependents within
31 days to reduce your medical contributions.

(b)    Eligible dependents include:

   o The lawful spouse of an employee (including a spouse of a common-law
     marriage, as recognized by Pennsylvania Commonwealth Law with legal
     documentation provided), provided that the newly married spouse of a benefit-
     eligible employee will be eligible for coverage as of the date of marriage; and
   o any child of the employee who is:
     o less than 26 years old regardless of dependency, marital or student status;
     o 26 or more years old and primarily supported by you and incapable of self-
         sustaining employment by reason of mental or physical handicap. Proof of the
         child's condition and dependence must be submitted to the Plan within 31
         days after the date the child ceases to qualify above. During the next two
         years the Plan may, from time to time, require proof of the continuation of
         such condition and dependence. After that, the Plan may require proof no
         more than once a year.
     o A child includes a legally adopted child. It also includes a stepchild or foster
         child. Any child under the age of 26 who is adopted by you, including a child
         who is placed with you for adoption, will be eligible for Dependent Coverage
         upon the date of placement with you. A child will be considered placed for
         adoption when you become legally obligated to support that child, totally or
         partially, prior to that child’s adoption. If a child placed for adoption is not
         adopted, all health coverage ceases when the placement ends, and will not
         be continued.
     o A child under Qualified Medical Child Support Order (QMCSO). If a QMCSO
         is issued for your child, that child will be eligible for coverage as required by
         the order and you will not be considered a Late Entrant for Dependent
         Coverage. You must notify your Employer and elect coverage for that child
         and yourself, if you are not already enrolled, within 31 days of the QMCSO
         being issued. Any payment of benefits in reimbursement for Covered
         Expenses paid by the child, or the child’s custodial parent or legal guardian,
         shall be made to the child, the child’s custodial parent or legal guardian, or a
         state official whose name and address have been substituted for the name
         and address of the child.
     o Special Enrollment Notice: if you are declining coverage for yourself or your
         eligible dependents because of other health insurance coverage, you may in
         the future be able to enroll yourself or your eligible dependents in health



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      coverage, provided that you request enrollment within 31 days after your
      other coverage ends.
      Eligible employees and dependents may also enroll under two additional
      circumstances:

        o The employee’s or dependent’s Medicaid or Children’s Health
            Insurance Program (CHIP) coverage is terminated as a result of loss of
            eligibility; or
        o The employee or dependent become eligible for a subsidy (state
            premium assistance).
     You or your dependents must request Special Enrollment within 60 days of
     loss of Medicaid/CHIP or of the eligibility determination.
   o Sponsored dependents are only eligible for Medical/Drug coverage.
     Sponsored Dependents include blood relatives who depend on you for more
     than half of their financial support. They must qualify as your dependents or
     have been reported as dependents on your federal income tax return.
     Sponsored dependents can be other individuals who reside in your household
     and depend on your for more than half their financial support. The must
     qualify as your dependents or have been reported as dependents on your
     federal income tax return. You will be required to initially and periodically
     provide proof of dependent status.
     Sponsored Dependents must be enrolled for coverage within 90 days of first
     being eligible. If you do not, they must be enrolled for January 1. You must
     submit enrollment information one month prior to January 1 by contacting the
     HR Service Center at 1-800-344-8339..The Company will make available
     group medical and prescription drug coverage to sponsored
     dependents at the group rate cost. Required contributions for a sponsored
     dependent are made on an after-tax basis

Coverage for a dependent will continue through the last day of the month in which
dependent is no longer an “eligible dependent” as defined above.




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                                       ARTICLE III

 LIFE INSURANCE, ACCIDENTAL DEATH AND DISMEMBERMENT INSURANCE,
    ACCIDENT AND SICKNESS INSURANCE, AND LONG-TERM DISABILITY
                            INSURANCE



SECTION 1           Group Life Insurance

(a) The amount of group life insurance payable for death is as follows:
          One and one-half (1.5) times base pay wage rate rounded to the next even
          dollar.

          *Base pay wage rate is your contractual hourly rate of pay times 2,080 hours.

(b) Acceleration for Terminal Illness
    A disabled employee who has a terminal illness may receive on and after the
    effective date of his/her coverage, 50% or 100% of the employee’s Group Life
    Insurance in 12 monthly installments (hereafter such installments are referred to as
    the "monthly installments") subject to the following:

      1. Monthly installments shall begin on the later of:

         the first of the month following Prudential’s receipt of proof of terminal illness,
          or
         six months from commencement of disability, or
         the month in which weekly Accident and Sickness Benefits or Long-Term
          Disability Benefits cease, or
         the date of signed application for such monthly installments.


             No monthly installments shall be made to any person after the month in
             which age 65 is attained.

             Terminal illness means an injury or sickness expected to result in death
             within one year without any reasonable prospect of recovery as
             determined by the insurer, its medical staff or a qualified party selected by
             the insurer.

      2. Upon the death of a disabled employee while such employee is receiving
         monthly installments, Group Life Insurance equal to the remaining monthly

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          installments, if any or $500, whichever is greater, shall be paid to his
          beneficiary in a lump sum. If at the time of death a disabled employee has
          received 100% of the Group Life Insurance in monthly installments, $500 of
          Group Life Insurance shall be paid to such employee’s beneficiary.

       3. If a disabled employee returns to work, the full amount of such employee's
          Group Life Insurance in accordance with Section 1 (a) of this Article III will
          again be reinstated until such employee terminates employment. If a
          disabled employee has returned to work and again becomes disabled, such
          employee may not receive additional installments.

       4. If a disabled employee recovers from total and permanent disability, but does
          not return to work or is not eligible for insurance under any provisions of this
          Program, all of such employee's insurance terminates.

(c) Beneficiary
    When you enroll for coverage (Group Life and Group AD&D), you must name a
    Beneficiary(ies) on the form furnished by the Company. You may change your
    Beneficiary at any time by completing another form. If there is more than one
    Beneficiary but the Beneficiary form does not specify their shares, the proceeds will
    be split evenly. If you do not have a named Beneficiary at the time of your death or
    your Beneficiaries have predeceased you, your life insurance amount will be paid to
    the first of the following: Your (a) surviving spouse; (b) surviving child(ren) in equal
    shares; (c) surviving parents in equal shares; (d) surviving siblings in equal shares;
    (e) estate.

(d) Filing a claim
    The amount of your coverage will be payable when the carrier receives written proof
    of death. Written proof of loss must be submitted within 90 days of the date of death.
    Your Beneficiary should contact the Volvo HR Service Center in Greensboro, NC at
    1-800-344-8339, or by email at hrsc@volvo.com to file a claim.

(e) When your coverage ends
    Your coverage will end when your employment ends, your membership in the
    covered class ends, or the group contract ends.

(f) Conversion Privilege
    If you cease to be covered for life insurance because your employment ends or your
    coverage ends, you may be eligible to convert part or your entire insurance amount



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   to an individual life insurance contact. Evidence of insurability is not required but
   you must convert your coverage and pay your first premium by the later of:

          1. the thirty-first day after you cease to be insured; and
          2. the fifteenth day after you have been given notice of conversion, but in no
             event later than the 92nd day after you cease to be insured under your
             group coverage.
          Premiums under conversion are based on the carrier’s rate as it applies to
          type and amount of coverage based on age and risk at the time of
          conversion.

(g) Recovery of overpayment
    If payment is been paid in error, the insurance company reserves the right to recover
    the benefits paid.

(h) Cost of coverage
    Mack pays the entire cost for your Group Life coverage.


SECTION 2           Group Accidental Death and Dismemberment (AD&D)
                    Insurance

The Company also provides AD&D Insurance benefits. To receive these benefits, your
injury or death must be accidental. There are two types of benefits payable under
AD&D. Death benefits are payable to your Beneficiary (see Article III, Section 1(c)).
Dismemberment benefits are payable to you for certain accidental injuries.

   (a) The amount of benefits payable under the plan is as follows, provided the loss
   occurs within one year from date of the accident:



      Death Benefits (no time limit)                       Percentage of Life Insurance
                                                                    Amount

         Not job related                                                 50%

         Job related                                                    100%

      Dismemberment Benefits

         Sight of both eyes                                             100%




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      Loss of both hands or both feet                              100%

      Loss of any two: one foot, one hand, sight of                100%
      one eye

      Loss of one hand, or one foot, or sight on                    50%
      one eye, or loss of speech



If you have more than one loss due to the same accident you will be paid no more
than your total amount of Life Insurance.

(b) A loss is not covered if it results from any of the following:
           1. Suicide, or attempted suicide or self-inflicted injury
           2. Sickness, or medical treatment of sickness
           3. Any bacterial or viral infection
           4. War or act of war, whether declared or not and includes armed
               resistance
           5. Accident that occurs while serving on full-time active duty for more
               than 30 days in any armed forces
           6. Commission of or attempt to commit an assault or a felony
           7. Being under the influence of any narcotic unless administered or
               consumed on the advice of a Doctor

(c) Filing a claim
The amount of your coverage will be payable when the carrier receives written proof
of loss. Written proof of loss must be submitted within 90 days of the date of your
death or accident. You or your Beneficiary should contact the Volvo HR Service
Center in Greensboro, NC at 1-800-344-8339, or by email at hrsc@volvo.com as
soon as possible for help in filing a claim.

(d) When coverage ends
Your coverage will end when your employment ends; your membership in the
covered class ends, the group contract ends, or the program is terminated.

(e) Recovery of overpayment
If payment has been paid in error, the insurance company reserves the right to
recover the benefits paid.




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   (f) Conversion
   Coverage under this program cannot be converted to an individual policy when
   coverage ends.

   (g) Cost of coverage
   Mack pays the entire cost for your AD&D coverage.


SECTION 3           Group Accident and Sickness Benefits

The A&S program will pay you benefits if you become disabled while covered under the
Plan. Effective for disabilities which commence on or after October 25, 2019, for
employees hired or rehired prior to March 25, 2013, Group Accident and Sickness
Benefits will be provided for eligible employees as follows:

   (a) Benefit amount for employees with one or more year’s seniority:
              $680.00 per week or 60% of base pay, whichever is greater.

      The amount of benefit payment to eligible employees with less than one year of
      seniority who is not subject to the wage progression set forth below will be 75%
      of the scheduled amount set forth above.

      The benefit amount for employees who are in wage progression pursuant to
      Article 16, Section 55 shall be equivalent to the wage progression level. For
      example, if an employee is at the 80% wage progression level, he shall receive
      80% of the A&S benefit amount referenced above.

      For Employees hired or rehired on or after March 25, 2013, any disabilities
      commencing after their effective date of coverage shall equal 60% of the weekly
      base wage rate, not subject to progression.

      (b) Eligibility Requirements

          To be eligible for benefits an employee must:

             1. become wholly and continuously disabled while insured for Accident
                and Sickness Benefits, and

             2. be unable to perform all duties of his occupation, and

             3. be under the care of a physician licensed to practice medicine, and

             4. furnish the Company with notice and satisfactory proof of disability.



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 (c)     Commencement of Benefits

       Benefits for an eligible employee shall begin with the first day of disability
       due to an accident and with the earlier of:

       1. the eighth consecutive day of disability due to sickness, or
       2. the first day of confinement in a legally constituted hospital, or
       3. the first scheduled work day on or following the day surgery costing at
           least $25 is performed.

       For a salaried employee with six months or more seniority, benefits shall be
       payable the first day following the last day on which Company-paid sick
       leave pursuant to the applicable Local Supplemental Agreement is paid to
       such employee by the Company.

 (d) Duration of Benefits
     Weekly benefits will be payable up to a maximum of 52 weeks for any one
     continuous period of disability. The existence at the same time of two or
     more causes of disability shall not be considered as creating more than one
     period of disability. An otherwise eligible employee shall be eligible to
     receive Accident and Sickness Benefits for:

         1. a period equal to such employee's length of service (from last date of
            hire) at commencement of disability, or
         2. 52 weeks, whichever is less.

       If at the date of expiration of such period you are confined in a hospital for
       the same disability or are receiving payments from the Company under any
       Worker's Compensation Law or any Occupational Disease Law or Act,
       benefits shall continue to be payable while you are so confined or continues
       to receive lost time benefits, but in no event not longer than 52 weeks.

 (e) Fractional Part of a Week

       Daily benefits shall be payable on the basis of a five-day workweek proration
       unless otherwise required by law.




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 (f) Successive Disabilities

     Any two successive periods of disability separated by less than two
     consecutive weeks of active work on a full time basis will be considered one
     period of disability, except that any two disabilities due to different and
     unrelated causes separated by at least one day's return to work will be
     treated as separate disabilities. In the event of a pregnancy disability, such
     requirement of one day's return to work will not be required if another
     disability is due to a different and unrelated cause, but the total period for
     which benefits will be paid will not exceed 52 weeks.

 (g) Occupational Disabilities

     Benefits payable for any period of disability will be reduced by any payments
     for time lost from work in that period to which the employee is entitled under
     any Worker's Compensation or Occupational Disease Law, including lump
     sum payments. No reduction will be made for payments for hospitalization or
     medical expense, or for disfigurements, or specific allowance for loss, or 100
     % loss of use of a member. No reduction will be made for permanent partial
     disability payments for an occupational illness or injury unrelated to the
     disability for which benefits under this Section 3 are payable.

     In the event that Accident and Sickness Benefits are paid on the basis that
     an employee's period of disability is not compensable under any Worker’s
     Compensation or Occupational Disease Law, and subsequently, such period
     of disability is found to be compensable under Worker's Compensation or
     Occupational Disease Law, the employee will repay, in full, the amount
     duplicated by Accident and Sickness Benefit payments made for the same
     period. Repayment by the employee will be in one lump sum; however, if
     repayment cannot be made in one lump sum, satisfactory arrangements to
     repay the overpayment will be made.

 (h) Holiday Pay

     Accident and Sickness Benefits will not be paid for any day for which the
     employee is entitled to holiday pay.

 (i) Waiver

     An employee may irrevocably waive any right to receive Accident and
     Sickness Benefits with respect to any period of disability by completing a
     waiver form furnished by the Company for that purpose. No Accident and



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     Sickness Benefits will be payable for any period of disability covered by such
     waiver.

 (j) Unemployment Compensation

     Benefits payable for any period of disability will be reduced by any
     Unemployment Compensation benefits paid for the same period. This
     reduction shall not apply to employees on a qualifying layoff.

 (k) What is not covered

     The A&S Program does not cover disabilities due to:

              War, or any act of war, whether declared or not,
              Taking part in commission of a felony, or
              Active military duty.

 (l) How to file a Claim

        If you have a claim for A&S benefits, please contact your local Human
        Resources Department or the HR Service Center in Greensboro (1-800-
        344-8339). They will help you file your claim.

 (m) Verification of Disability

        You will be required initially and periodically to furnish written proof of your
        disability satisfactory to the Company. Charges for the completion of any
        forms or statements by your Doctor will be your responsibility. You may
        also be required, as proof of your disability, to be examined by a Doctor
        designated by the Company at Company expense.

 (n) When coverage ends

        Your coverage will end when your employment ends; your membership in
        the covered class ends, the group contract ends, or the program is
        terminated.

 (o) Recovery of overpayments

        The Company reserves the right to recover benefits that were paid in
        error, duplicated in full or in part as the result of a compensable illness or
        injury under any Federal or state law, or determined not to be required.




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     (p) Conversion
          A&S coverage cannot be converted to an individual policy when
          coverage ends.



SECTION 4         Reinstatement of Accident and Sickness Insurance During
                  Layoff

     (a) Eligibility Requirements

         If you become disabled while on layoff, Accident and Sickness Insurance
         may be reinstated, subject to the following:

                   1. you become wholly and continuously disabled while on a
                      qualifying layoff as defined in the MACK-UAW Supplemental
                      Unemployment Benefit Plan (SUB Plan) and while insured for
                      life insurance,
                   2. you are eligible for a Regular Benefit under the SUB Plan, and
                   3. you have applied for the benefit and have furnished the
                      Company with satisfactory proof of disability.

         Each week a benefit is claimed, you must:

                   1. be unable to perform all duties of your occupation,
                   2. be under a doctor's care, and
                   3. be eligible to receive a Regular Benefit under the SUB Plan.

     (b) Payment of Benefits

         Benefits start on the first day of a qualifying disability. No benefit shall be
         payable beyond the earlier of: (1) the time that the employee no longer
         satisfies the disability requirement; or (2) the employee is no longer eligible
         for regular SUB Benefits.

     (c) Suspension or Reduction of Benefits

         No benefit shall be payable for any week in which:

                    1. you receive an Accident and Sickness or Long-Term Disability
                       Benefit under this program, or

                    2. you are not eligible for a Regular SUB benefit.



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           The benefit for any week (or day(s) in the event of a fractional part of a
           week) will be reduced by the amount of the Regular SUB Benefit you
           received for the same week (or day(s) in the event of a fractional part of a
           week) and any disability benefit you receive for the same week under a plan
           financed in whole or in part by another employer.

     (d) Other

           Except as specifically modified under Section 4, benefits will be governed by
           the applicable provisions of Section 3.



SECTION 5           Long-Term Disability Benefits

     (a) Eligibility for Benefits

           To be eligible for Long-Term Disability Benefits, you must:

        1.  be totally disabled and unable to engage in any regular employment or
           occupation by reason of any medically demonstrable physical or mental
           condition with the Company at the Plant or Plants where you work
           provided you are not engaged in regular employment for remuneration or
           profit (excluding employment or occupation which on the basis of medical
           evidence is determined to be for purposes of rehabilitation), and
        2. have exhausted your Accident and Sickness Benefits as provided in
           Article III, Section 3, and
        3. have not been continuously disabled for a period greater than the number
           of months of your seniority at commencement of your disability.


              For an employee who waives receipt of Accident and Sickness Benefits,
              the time such employee would have otherwise exhausted such benefits
              shall be deemed the time such employee exhausts them for purposes of
              this Subsection.

     (b) Amount of Benefit

      1.     If you were hired or rehired prior to March 25, 2013 and your disability
             commences:




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         On or after           But prior to        Monthly
                                                  LTD Benefit

       January 1, 1984        January 1, 1988        $1,150

       January 1, 1988        January 1, 1989        $1,205

       January 1, 1989        January 1, 1990        $1,240

       January 1, 1990        January 1, 1991        $1,275

       January 1, 1991        January 1, 1992        $1,310

       January 1, 1992       November 1, 1992        $1,350

      November 1 , 1992       August 1, 1993         $1,425

        August 1, 1993         May 1, 1994           $1,475

         May 1, 1994          March 1, 1995          $1,550

        March 1, 1995         August 1, 1998         $1,600

        August 1, 1998        August 1, 1999         $1,650

        August 1, 1999        August 1, 2000         $1,700

        August 1, 2000        October 2, 2001        $1,750

       October 2, 2001        October 2, 2002        $1,800

       October 2, 2002        October 2, 2003        $1,850

       October 2, 2003        October 2, 2004        $1,900




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       October 2, 2004        October 2, 2005        $1,950

       October 2, 2005        October 2, 2006        $2,000

       October 2, 2006         June 1, 2009          $2,050

         June 1, 2009          June 1, 2010          $2,125

         June 1, 2010          June 1, 2011          $2,200

         June 1, 2011         March 25, 2013         $2,275

        March 25, 2013        March 25, 2014         $2,310

        March 25, 2014        March 25, 2015         $2,345

        March 25, 2015        March 25, 2016         $2,380

        March 25, 2016        October 1, 2016        $2,415




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 Benefit amount for employees who are at the following wage progression:

                 Wage Progression               Amount of Long Term Disability
                                                           Benefits

     a)                 70%                 70% of the Amount listed in (b) 1 above

     b)                 80%                 80% of the Amount listed in (b) 1 above

     c)                 90%                 90% of the Amount listed in (b) 1 above



    2. For all employees, any disabilities commencing on or after October 2,
       2016 will equal 60% of monthly basic wage rate, not subject to wage
       progression.

    In addition, the long term disability benefit amounts described above in (b) 1
    and 2 are reduced by an amount equal to the monthly equivalent of the total
    of the following benefits for which you may be eligible:

                a) all benefits under any retirement plan sponsored for Mack
                   employees,
                b) lost time benefits under Worker's Compensation laws or other
                   laws providing benefits for occupational injury or disease,
                   including lump-sum settlements, but excluding specific
                   allowances for loss, or 100 percent loss of use, of a body
                   member,
                c) disability or old age insurance benefits to which the person is
                   entitled (primary insurance amount) under the Federal Social
                   Security Act or any future legislation providing similar benefits,
                   except old age benefits reduced because of the age at which
                   received, and
                d) benefits under any state or federal law providing benefits for
                   working time lost because of disability.

          If you are awarded, including retroactively, any or all of the benefits
          identified above for any month or partial month for which long term
          disability benefits have been paid, you will repay, in full, the amount by
          which the sum of: (1) awards received above and (2) long term disability
          (LTD) benefits payments made to you, exceeds your LTD benefit payable


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       for the same period. Increases to the benefits identified above received
       after LTD benefits begin are not included in calculation unless it is an
       adjustment to the original payment. Your repayment will be in one lump
       sum; however, if repayment cannot be made in one lump sum, satisfactory
       arrangements to repay the overpayment will be made.

       If your Social Security Disability Insurance Benefit Award results from a
       reconsideration or hearing before an administrative law judge, the amount
       of Long Term Disability Benefits to be repaid will be reduced by any
       attorney fees associated with the award provided you make such
       repayment within 30 days of the later of (i) the date you receive the award
       or (ii) the date you are notified of the amount to be repaid. This reduction
       applies only to attorney fees associated with a successful appeal of a
       denial of Social Security Disability Insurance Benefits and includes only
       that portion of the attorney's fee associated with the period of time the
       employee was entitled to receive LTD benefits. The reduction for attorney
       fees may not exceed 25 percent of the repayment due. Attorney fees for
       services prior to denial of the initial application for Social Security
       Disability Insurance Benefits will not reduce the amount of repayment due.
       In the event an employee is also a retiree who is also receiving or has
       received a Temporary Benefit under Article V, Section 2 or Section 3 of
       the Mack UAW Pension Plan, the amount of reduction outlined above will
       be in proportion to the total repayment due under both the Pension Plan
       and the LTD Plan. The combined reduction from both Plans may not
       exceed 25% of the repayment due or the actual attorney fees, if such fees
       are less than 25% of the repayment due.

    3. In determining the amount by which Long-Term Disability Benefits are
       reduced:
       a) the monthly equivalent of benefits paid on a weekly basis shall be
          computed by multiplying the weekly benefit rate by 4.33, and
       b) lump-sum settlements under state Worker’s Compensation laws shall
          result in reductions equal to the monthly equivalent of the amount of
          the Worker's Compensation benefit to which the employee would have
          been entitled under applicable law had there been no lump-sum
          payment, but not to exceed in total the amount of the settlement, and
       c) increases to additional benefits outlined above, subsequent to the first
          day for which Long-Term Disability Benefits are payable, are
          disregarded except that the amount of such increase is not
          disregarded if it represents an adjustment in the original determination
          of the amount of such benefit, and all LTD benefit reductions will begin


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           with the later of the effective date of the award or the effective date of
           your LTD benefits.

     4.   The computation of your Long-Term Disability Benefit presumes your
          eligibility for Social Security Disability Insurance Benefits after you have
          been disabled for five months and Pension Plan disability retirement
          benefit (if you have 10 or more years of credited service). Amounts
          deducted from Long-Term Disability Benefits on this basis will be
          reinstated upon presentation of satisfactory evidence that these benefits
          were applied for and denied; provided, however, that a reduction in
          Long-Term Disability Benefits will be made in an amount equal to Social
          Security Disability Insurance Benefits that would have been payable
          except for your refusal to accept vocational rehabilitation services. You
          or a member of your family should contact the local Social Security
          Office to file a claim for Social Security benefits.

     5.   Benefits payable for less than a full calendar month shall be pro-rated on
          the basis of the ratio of calendar days of eligibility to total calendar days
          in the month.

     6.   The Company may require each applicant or recipient of Long-Term
          Disability Benefits to certify or furnish verification of the amounts of his
          income from sources listed in Subsection (b) 2 of this Section 5. The
          amount of any Long-Term Disability Benefit payments in excess of the
          amount that should have been paid, after reduction for such other
          benefits, may be deducted from future Long-Term Disability Benefits.

 (c) Commencement and Duration of Benefits

     1.   Long-Term Disability Benefits are payable to you following your approval
          and will commence the day following your last day of weekly Accident
          and Sickness Benefits, including weeks in which such Accident and
          Sickness Benefits were partially or wholly offset because of receipt of a
          Worker's Compensation benefit. LTD benefits are paid monthly as long
          as you have not been continuously disabled for a period longer than the
          number of months of your seniority.

     2.   The maximum period for Long-Term Disability Benefits is the number of
          full months of seniority, at the commencement of your disability, which
          exceeds the maximum number of weeks for which you were eligible to
          receive Accident and Sickness Benefits. The maximum period for
          salaried employees is reduced by the number of months (or fractional


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          months) that you receive Company-paid sick pay pursuant to the
          provisions of the applicable Local Supplemental Agreement. No benefits
          are payable to you beyond your date of death, the end of the month in
          which you attain age 65, or if you no longer satisfy the disability
          requirement.

           If you become disabled when you are age 60 or older you will be
          entitled to receive benefits for up to sixty (60) months (less the period of
          weekly Accident and Sickness benefits and salary continuation if any)
          but not after age 70. If you become disabled when you are age 70 or
          older, you will be entitled to benefits for up to three months.

           If your return to work with the Company is not effective to qualify you for
          a new period of Accident and Sickness Benefits (ineffective return to
          work) or if you engage in some gainful occupation or employment other
          than one for which you are reasonably qualified by education, training or
          experience, your satisfaction of the disability requirement does not end,
          but your Long-Term Disability Benefit will be suspended for the period of
          the ineffective return to work or the period you engage in the occupation
          or employment.

     3.   When determining your maximum period for monthly Long-Term
          Disability Benefits, any month in which your benefit is partially or wholly
          off-set by benefit payments from sources listed in Subsection (b) 2
          above, or suspended under Subsection (c) 2 above, is counted as a full
          month. Fractions of the first and last month are counted as fractions of a
          month.

     4. The cumulative total number of months during any previous periods of
        Long-Term Disability Benefits, regardless of whether for the same or
        related disabling condition, will reduce the maximum number of monthly
        benefit payments for which you are otherwise eligible if you again
        become eligible for Long-Term Disability Benefits.

 (d) Rehabilitation

     If you work under a recognized vocational rehabilitation program, you will be
     considered disabled for LTD coverage. However, your benefits will be
     suspended for the period you work.




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 (e) Proof of Disability

     You will be required, initially and periodically, to furnish written proof of your
     disability satisfactory to the Company. Charges for completion of any forms
     or statements by your Doctor will be your responsibility. The Company may
     require you, as a condition of eligibility, to submit to examination by a
     designated physician at Company expense for the purpose of determining
     your initial or continuing disability.

 (f) Exclusions

     No benefit shall be payable to an employee for any period of disability
     resulting from service in the armed forces of any country, unless such
     employee has been in employment with the Company at least 10 years after
     separation from such service. In addition, the LTD plan does not cover
     disabilities due to war, or any act of war, whether declared or not; taking part
     in the commission of a felony or active military service.

 (g) Waiver

     You may waive irrevocably any right to receive Long Term Disability Benefits
     with respect to any period of disability by completing a waiver form furnished
     by the Company for that purpose. No Long Term Disability Benefits will be
     paid for any period of disability covered by the waiver.

 (h) Medicare Enrollees

     Effective on and after January 1, 1985, an employee receiving Long-Term
     Disability Benefits, regardless of when the employee last ceased active work,
     who is enrolled in Medicare Part B coverage which is available under the
     Federal Social Security Act, will while so enrolled receive the actual
     Medicare Part B premium up to a maximum of $115 per month; to be
     effective the first day of the month following the month in which the Company
     is notified that the employee has enrolled for such coverage, unless the
     employee is receiving under the Pension Plan the same amount for the
     same purpose. Payment of the applicable amount provided under this
     Subsection (h) will be made concurrent with a monthly Long Term Disability
     Benefit payment and for the same period of disability.

 (i) Successive Disabilities

     Any two successive periods of disability, due to the same or related cause or
     causes, separated by less than 30 consecutive calendar days of active full-



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         time work, will be considered a continuation of the previous period of
         disability.

     (j) How to file a claim
                Please contact your local Human Resources Department or the HR
                Service Center at 1-800-344-8339.

     (k) When Coverage Ends
         1. Your LTD coverage will end on the earliest of the following dates:
             The date the Plan or the LTD Insurance Program is terminated
             The date your employment terminates, you retire, or you are laid off
             The date you no longer belong to a class of employee who are eligible
               for this coverage, and
             The date which you cease to be eligible for coverage.

     (l) Recovery of Overpayments

        If payment has been made under the LTD Plan but is determined to have
        been paid in error, duplicated in total or in part as result of a compensable
        illness or injury under any of the sources described under the LTD benefit
        reduction section, or not to have been required, Mack or the Claims
        Administrator has the right to recover the benefit paid. Repayment must be in
        one lump sum; however, if repayment cannot be made in one lump sum,
        satisfactory arrangement to repay the overpayment will be made.

     (m) Conversion

        Coverage under the LTD program cannot be converted to an individual policy
        when coverage ends.

SECTION 6         Continuation of Coverages

     (a) Sick Leave

         During the period you are on sick leave and unable to work at your
         customary job or other available work, the Company will continue your Group
         Life, Accidental Death and Dismemberment, Accident and Sickness, Long-
         Term Disability and Survivor Income (as described in Appendix A)
         coverages, if in effect, without employee contribution for the period equal to
         your seniority as of the date sick leave commences.




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     (Accident and Sickness Insurance or Long Term Disability Insurance
     terminates when maximum duration of benefits is reached).

 (b) Leave of Absence (Other Than Sick Leave)

     During the period you are on an approved leave of absence, including
     vacations pursuant to the terms of the applicable collective bargaining
     agreement, other than leave with the International Union, leave because of
     election to federal, state, county or municipal office, or military leave, the
     Company will continue your insurance under the Program without
     contributions.

 (c) Layoff

     Subject to any applicable federal or state law, if you are laid off, the Group
     Life Insurance and Accidental Death and Dismemberment Insurance in force
     at the time of such layoff, will continue without cost to you through the last
     day of the calendar month following the month in which you are laid off. If a
     returning veteran, who would be entitled to reinstatement under the Master
     Bargaining Agreement if the employee had sufficient seniority, is not
     reinstated and is placed on layoff, such Employee's Group Life and
     Accidental Death and Dismemberment insurance coverages will be in effect
     at no expense to the returning veteran for the balance of the month in which
     the employee is placed on layoff. In addition, Group Life Insurance and
     Accidental Death and Dismemberment Insurance shall continue to be
     provided for laid off employees, without cost, during a layoff which meets the
     conditions of Article I, Section 3 of the SUB Plan, including those employees
     laid off under any predetermined bumping system which may limit job
     selection for bumping purposes and those employees taking a voluntary
     layoff under any local supplemental agreement, for each full calendar month
     of layoff, (for which the employee receives no pay from the Company) for a
     period determined in accordance with the Seniority table below. The day the
     employee reports for work will be deemed to be the employee's last day
     worked prior to layoff (as of the date placed on layoff in the case of a
     returning veteran), but only for purposes of determining the period of
     continuation and eligibility for Company contributions for such coverages.




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            Year(s) of Seniority           Maximum Number of Months for Which

           on Last Day Worked                Coverage Will Be Provided Without

              Prior to Layoff                       Cost to Employees



               Less than 1                                        0

            1 but less than 4                                     6

            4 but less than 5                                     8

            5 but less than 6                                   10

               6 and Over                                       12



  If you remain on layoff beyond the period for which such insurances are
  continued at Company expense, you may continue the Group Life Insurance
  and Accidental Death and Dismemberment Insurance for up to an additional 12
  consecutive months of layoff by paying in advance to the Company the monthly
  premiums of $.50 per $1,000 life insurance in force.

  If you are laid off and have less than one year of Seniority, you may continue the
  Group Life Insurance and Accidental Death and Dismemberment Insurance in
  force for up to 12 months following the last full month the Company continues
  such insurances at no cost during your layoff (if there is no break in your
  Seniority) by paying to the Company in advance the monthly premium for such
  insurances and benefits of $.50 per $1,000 of life insurance in force.

  The Company will furnish you with a written statement at the time of your lay-off
  that will include the following information:

  1. number of months of continued insurances and benefits at no cost to you
     including one full calendar month following the month in which layoff
     occurred, and
  2. month and year that premium payment must be made to continue insurance
     and benefits in effect.




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(d) Termination After Age 60 (Excluding Retirement)

    If you are terminated after attaining age 60 with at least five years of credited
    service under the Pension Plan, you may continue the full amount of your Group
    Life and Accidental Death and Dismemberment Insurance in force at termination
    (as provided in Section 1(a) and Section 2 of this Article III) until you attain age
    65. To continue your coverage, you must pay in advance a monthly insurance
    contributions of $.50 for each $1,000 of life insurance in force

(e) While a Grievance is Pending

    If you are terminated and have a grievance pending to protest loss of Seniority
    resulting from discharge, failure to report, over-staying leave or disciplinary
    layoff, you may continue the full amount of such Group Life and Accidental
    Death and Dismemberment Insurance as provided in Section 1(a) and Section 2
    of this Article III until such grievance is resolved. To do so, you must pay in
    advance a monthly insurance contribution of $.50 per $1,000 of Group Life
    Insurance in force. If you are reinstated, or the disciplinary layoff is reduced, the
    Company will reimburse you for the insurance contributions which the Company
    otherwise would have paid.

(f) Return to Active Employment

    If your active employment ceases for any reason, but there was no break in your
    Seniority, then upon your return to active employment all insurance coverage
    commences immediately.

(g) Recall While Disabled

    If you are recalled from layoff and are physically unable to return to work
    because of a disabling illness or injury incurred during your period of layoff, you
    will be deemed eligible for benefits under the Insurance Program, provided that
    you furnish the Company with proof satisfactory to the Company’s physician of
    your bona fide illness or injury. You will not be entitled to such benefits if you are
    eligible to receive comparable benefits under any insurance program provided
    by another employer.

(h) Termination of Insurance

    Except as provided for in this Article III and subject to the conversion privileges
    under the Group Life Insurance policy, on the date you cease active work for the
    Company or cease being a member of a bargaining unit, all of your insurance
    under the program will be canceled.


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SECTION 7                Company Obligation

The Company will pay the full cost of all insurance provided in this Article III, less the
amounts of contributions required to be paid under Section 6 of this Article III.



SECTION 8                Definitions

"Accident" means an accidental bodily injury that results from sudden, unexpected,
and wholly external means.

"Claims Administrator” means a third party which has entered into an agreement
with the Company to provide services necessary to administer the benefits stipulated
under the Plan.

"Company-Paid Sick Leave” means the continuation of pay for absence due to
illness or injury subject to the limitations described in the respective labor
agreements.

“Physician" means a doctor of medicine, a doctor of osteopathy, a doctor of dental
surgery and a doctor of podiatry legally licensed to practice within the scope of that
license.



                                     ARTICLE IV

     PPO – PPO Prescription Drug - Dental – Vision Plans - HMO
Article IV provides you with a description of your Medical PPO, PPO Prescription
Drug, Dental, Vision and HMO (if applicable) benefits. You should familiarize
yourself with the Plans’ main provisions. A thorough understanding of your
coverage will enable you to use your benefits wisely. If you have any questions,
please contact the Claims Administrator’s Customer Service Department for specific
benefit plan information.



SECTION 1                Anthem PPO

Anthem Blue Cross and Blue Shield, or “Anthem” has been designated by Mack to
provide administrative services for the Medical PPO, such as claims processing,


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      care management, and other services, and to arrange for a network of health care
      providers whose services are covered by the Plan.

      Important: This is not an insured benefit Plan. The benefits described are funded by
      Mack who is responsible for their payment. Anthem provides administrative claims
      payment services only and does not assume any financial risk or obligation with
      respect to claims.

      Verification of Benefits

      You or your provider may call Customer Service with a benefits inquiry or verification
      of benefits during normal business hours (8:00 a.m. to 8:00 p.m. eastern time).
      Please remember that a benefits inquiry or verification of benefits is NOT a
      verification of coverage of a specific medical procedure. Verification of benefits is
      NOT a guarantee of payment. CALL THE CUSTOMER SERVICE NUMBER ON
      YOUR IDENTIFICATION CARD or see the section titled Health Care Management
      for Precertification rules.

      (a) Table of Contents



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      (b) Members Rights and Responsibilities

            You have certain rights and responsibilities when receiving Your health care.
            You also have a responsibility to take an active role in Your care. As Your health
            care partner, the Claims Administrator is committed to making sure Your rights


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 are respected while providing Your health benefits. That also means giving You
 access to the Claims Administrator’s Network Providers and the information You
 need to make the best decisions for Your health and welfare.

 1. These are Your rights and responsibilities:

    You have the right to:

       Speak freely and privately with Your doctors and other health providers
        about all health care options and treatment needed for Your condition

       Work with Your doctors in making choices about Your health care.

       Be treated with respect and dignity.

       Expect the Claims Administrator to keep Your personal health
        information private by following the Claims Administrator’s privacy
        policies, and state and Federal laws.

       Get the information You need to help make sure You get the most from
        Your health plan, and share Your feedback. This includes information on:

        -   The Claims Administrator’s company and services

        -   The Claims Administrator network of health care Providers

        -   Your rights and responsibilities

        -   The rules of Your health Plan

        -   The way Your health Plan works

       Make a complaint or file an appeal about:

        -   Your health Plan and any care You receive

        -   Any Covered Service or benefit decision that Your health Plan makes.

       Say no to care, for any condition, sickness or disease, without having an
        effect on any care You may get in the future. This includes asking Your
        Doctor tell You how that may affect Your health now and in the future.

       Get the most up-to-date information from a health care Provider about the
        cause of Your illness, Your treatment and what may result from it. You can
        ask for help if You do not understand this information.




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      You have the responsibility to:

         Read all information about Your health benefits and ask for help if You
          have questions.

         Follow all health Plan rules and policies.

         Although it is not required, it is highly recommended that you choose a
          Network Primary Care Physician (doctor), also called a PCP, to coordinate
          your care.

         Treat all Doctors, health care Providers and staff with respect.

         Keep all scheduled appointments. Call Your health care Provider’s office if
          You may be late or need to cancel.

         Understand Your health problems as well as You can and work with Your
          health care Providers to make a treatment plan that You all agree on.

         Inform Your health care Providers if You don’t understand any type of care
          you’re getting or what they want You to do as part of Your care plan.

         Follow the health care plan that You have agreed on with Your health care
          Providers.

         Give the Claims Administrator, Your Doctors and other health care
          Providers the information needed to help You get the best possible care
          and all the benefits You are eligible for under Your health Plan. This may
          include information about other health insurance benefits You have along
          with Your coverage with the Plan.

         Inform Member Services if You have any changes to Your name, address
          or family members covered under Your Plan.

If You would like more information, have comments, or would like to contact the
Claims Administrator, please go to anthem.com and select Customer
Support>Contact Us. Or call the Member Services number on Your Identification
Card.

The Claims Administrator wants to provide high quality customer service to our
Members. Benefits and coverage for services given under the Plan are governed by
the Employer’s Plan.




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(c) Schedule of Benefits

The Maximum Allowed Amount is the amount the Claims Administrator will reimburse
for services and supplies which meet its definition of Covered Services, as long as such
services and supplies are not excluded under the Member’s Plan; are Medically
Necessary; and are provided in accordance with the Member’s Plan. See the
Definitions and Claims Payment sections for more information. Maximum Allowed
Amount is generally the contracted amount of reimbursement the Claims Administrator
agrees to pay network providers. When you receive services by a Network Provider,
you are not responsible for any amounts above the Maximum Allowed Amount. Out of
Network Providers can bill you for amounts above the Maximum Allowed Amount.
Under certain circumstances, if the Claims Administrator pays the healthcare Provider
amounts that are Your responsibility, such as Deductibles, Copayments or Coinsurance,
the Claims Administrator may collect such amounts directly from You. You agree that
the Claims Administrator has the right to collect such amounts from You.

                        Schedule of Benefits                                  Network            Out-of-Network



Calendar Year Deductible

Individual                                                                      $350                 $400


Family – All eligible Members combined                                          $700                 $800

Copayments and charges in excess of the Maximum Allowed Amount
do not contribute to the Deductible.


All Covered Services are subject to the Deductible unless otherwise specified in this booklet.


Your Plan has an embedded Deductible which means:
 If You, the Subscriber, are the only person covered by this Plan, only the “Individual” amounts apply to You.
 If You also cover Dependents (other family members) under this Plan, both the “Individual” and the
   “Family” amounts apply. The “Family” Deductible amounts can be satisfied by any combination of family
   members but You could satisfy Your own “Individual” Deductible amount before the “Family” amount is
   met. You will never have to satisfy more than Your own ‘Individual” Deductible amount. If You meet Your
   “Individual” Deductible amount, Your other family member’s claims will still accumulate towards their own
   “Individual” Deductible and the overall “Family” amounts. This continues until Your other family members
   meet their own “Individual” Deductible or the entire “Family” Deductible is met.

Amounts satisfied toward the Network calendar year Deductible will be applied toward the Out-of-Network
calendar year Deductible and amounts satisfied toward the Out-of-Network calendar year Deductible will be


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                          Schedule of Benefits                        Network    Out-of-Network


applied toward the Network calendar year Deductible.


Coinsurance After the Calendar Year Deductible is Met (Unless
Otherwise Specified)



Plan Pays                                                              80%             70%


Member Pays                                                            20%             30%


All payments are based on the Maximum Allowed Amount and any
negotiated arrangements.      For Out of Network Providers, You are
responsible to pay the difference between the Maximum Allowed
Amount and the amount the Provider charges.       Depending on the
service, this difference can be substantial.


Out-of-Pocket Maximum Per Calendar Year
Includes Coinsurance, Copayments and the calendar year Deductible.
Does NOT include Prescription Drug benefits, precertification
penalties, services deemed not Medically Necessary by medical
management and/or Anthem, charges in excess of the Maximum
Allowed Amount and Non-Covered Services.


Individual                                                             $750          $2,400


Family – All other eligible Members combined                           $1,500        $4,800


Amounts satisfied toward the Network Out-of-Pocket Maximum will be applied toward the Out-of-
Network Out-of-Pocket Maximum and Out-of-Pocket amounts will be applied to Network Out-of-Pocket
Maximums.




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Note: Copayments only apply to certain Network services and are not applicable to Out-of
Network services. When a Copayment applies, the Deductible is waived. Unless otherwise
noted, services are subject to the applicable Deductible and Coinsurance.




Allergy Care


   Testing and treatment                                               20%                  30%




Behavioral Health / Substance Abuse Care – Covered by
Integrated Behavioral Health (See Section 3)


Clinical Trials                                                  Benefits are paid      Benefits are
                                                                   based on the          paid based
Please see Clinical Trials under Benefits section for further     setting in which         on the
information.                                                     Covered Services         setting in
                                                                    are received           which
                                                                                          Covered
                                                                                        Services are
                                                                                          received


Dental, Oral Surgery and TMJ Services


   Accidental Injury to natural teeth (treatment must be        Benefits are paid      Benefits are
    completed within 12 months of the Injury)                      based on the          paid based
                                                                  setting in which         on the
   Oral Surgery and TMJ – Subject to Medical Necessity -        Covered Services         setting in
    excludes appliances and orthodontic treatment                   are received           which
                                                                                          Covered
                                                                                        Services are
                                                                                          received


Diagnostic Physician’s Services


Diagnostic services (including second opinion) by a Physician or Specialist Physician – office visit or
home visit:



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                       Schedule of Benefits                        Network        Out-of-Network


Primary Care Physician Copayment                                   $20              30%


Specialist Physician Copayment                                     $40              30%


Diagnostic X-ray and Lab – office or independent lab               20%              30%

Any service billed with a diagnosis of rabies is covered at
   100%,not subject to Deductible, Network or Out-of-Network

Note: Diagnostic services are defined as any claim for services performed to diagnose an
illness or Injury.


Diabetic Supply                                                     20%                20%

Diabetic supplies covered by the prescription drug plan are
not covered under the PPO (lancets, syringes, insulin).

Diabetic supplies not covered by Rx plan are covered under
PPO.



Emergency Room, Urgent Care, and Ambulance Services

Emergency room for an Emergency Medical Condition
(Copayment waived if admitted or if referred by your doctor)        $125              $125

                                                                                    (See note
                                                                                      below)


                                                                    20%                30%
Use of the emergency room for non-Emergency Medical
Conditions

Urgent Care clinic visit for an Emergency Medical Condition         $40                30%


Ambulance Services (when Medically Necessary)                  Covered in full     Covered in
                                                                                      full
Land / Air



Note: Care received Out-of-Network for an Emergency Medical Condition will be provided at


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                       Schedule of Benefits                                Network         Out-of-Network


the Network level of benefits if the following conditions apply: A medical condition manifesting
itself by acute symptoms of sufficient severity (including severe pain) such that a prudent layperson,
who possesses an average knowledge of health and medicine, could reasonably expect the absence
of immediate medical attention to result in one of the following conditions: (1) Placing the health of the
individual (or, with respect to a pregnant woman, the health of the woman or her unborn child) in
serious jeopardy; (2) Serious impairment to bodily functions; or (3) Serious dysfunction of any bodily
organ or part.


Eye Care (non-routine)


   Office visit – medical eye care exams (treatment of
    disease or Injury to the eye)

     Primary Care Physician
                                                                           $20                  30%

     Specialist Physician                                                 $40                  30%


Hearing Care (routine)

Hearing Exam (once every 36 months)                                        $60                   $60

                                                                        Maximum              Maximum

Hearing Aid (repair or purchase)                                       100% up to           100% up to
                                                                        $1,600/yr.           $1,600/yr.


Hearing Care (non-routine)


   Office visit – Audiometric exam / hearing evaluation test

     Primary Care Physician                                               $20                  30%

     Specialist Physician                                                 $40                  30%


Home Health Care                                                           20%                  30%
 Including Private Duty Nursing benefit




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                        Schedule of Benefits                     Network       Out-of-Network


Hospice Care Services                                       Covered in Full         30%


Hospital Inpatient Services – Precertification Required           20%               30%


Room and board (Semiprivate or ICU/CCU)                           20%              30%


Hospital services and supplies (x-ray, lab, anesthesia,           20%              30%
   surgery (Precertification required), etc.)

Inpatient Physical Medical Rehab – limited to 30 days per
    calendar year, combined Network and Out-of-Network

Pre-Admission testing                                             20%               30%


Physician Services:


   ► Surgeon                                                      20%               30%


   ► Anesthesiologist                                             20%               30%


   ► Radiologist                                                  20%               30%


   ► Pathologist                                                  20%               30%


Inpatient Care                                                    20%                30%


Inpatient Therapies                                               20%                30%

(e.g., chemo, radiation, dialysis, infusion, physical,
occupational, respiratory, speech and vision)




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                        Schedule of Benefits                                  Network        Out-of-Network


Maternity Care & Other Reproductive Services


Physician’s office:

Global care (includes pre-and post-natal, delivery) – Copayment (first visit):


Primary Care Physician (includes obstetrician              and                  $20               30%
    gynecologist) Copayment/Coinsurance



Specialist Physician Copayment/Coinsurance                                      $40               30%


Midwife (Precertification required)                                             $20               30%


Physician Hospital/Birthing Center Services (Precertification required)


Physician’s services                                                            20%               30%


Newborn nursery services (well baby care)                                       20%               30%


Circumcision                                                                    20%               30%


Note: Newborn stays in the Hospital after the mother is discharged, as well as any stays exceeding 48
hours for a vaginal delivery or 96 hours for a cesarean section, must be pre-certified


Infertility Services


Limited Coverage       Diagnostic     Services   and    Limited    Covered at the         Covered at the
   Treatment                                                      benefit level of the   benefit level of the
                                                                    services billed        services billed


    (Non-Covered Services include but are not limited to:
    in-vitro fertilization, gamete intrafallopian transfer
    (GIFT), zygote intrafallopian transfer (ZIFT), artificial
    insemination, reversal of voluntary sterilization.)



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                         Schedule of Benefits                              Network        Out-of-Network


Sterilization Services (Precertification required for
Inpatient procedures)


Sterilizations for women will be covered under the “Preventive Care” benefit. Please see that section
in Benefits for further details.


Vasectomy                                                       Covered at the         Covered at the
                                                               benefit level of the   benefit level of the
                                                                 services billed        services billed


Medical Supplies and Equipment


   Medical Supplies                                                       20%                  20%


   Durable Medical Equipment                                              20%                  20%


   Orthotics                                                              20%                  30%

    Foot and Shoe


   Prosthetic Appliances (external)                                       20%                  30%

    Wigs/Toupees limited to 1 per benefit period, subject to
    Medical Necessity

Nutritional Counseling for Diabetes                                        20%                  30%


Outpatient Hospital/Facility Services


Outpatient facility                                                         20%                30%


Lab and x-ray services                                                      20%                30%


Outpatient Physician services (surgeon, anesthesiologist,                   20%                30%
   radiologist, pathologist, etc.)




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Physician Services (Home and Office Visits)


    Primary Care Physician                                           $20                 30%

                                                                      $40                 30%
    Specialist Physician



    Office Surgery                                                    20%               30%


    Prescription Injectables/Prescription Drugs                       20%               30%
     Dispensed in the Physician’s Office


Preventive Services (regardless of Provider or setting          Covered in Full           30%
where Preventive care is provided)

Note: Preventive Services are defined as any claim submitted with a “well” diagnosis. They include
the following routine services: adult physical exams, gynecological exams, PAP tests, mammograms,
pediatric physicals, and pediatric immunizations.


Private Duty Nursing                                                 20%                 30%


Skilled Nursing Facility                                              20%                 30%


Surgical Services                                                     20%                30%


Gastric Bypass/Obesity Surgery When Medically Necessary.              20%                30%
Precertification Required




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Therapy Services (Outpatient)


Physical Therapy                                                            20%                    30%


Occupational Therapy                                                        20%                    30%


Speech Therapy                                                              20%                    30%


Cardiac Rehabilitation                                                      20%                    30%


Chiropractic Care                                                           20%                    30%


Radiation Therapy                                                           20%                    30%


Chemotherapy                                                                20%                    30%


Respiratory Therapy                                                         20%                    30%


Vision Therapy                                                         Not Covered            Not Covered


Note: Inpatient therapy services will be paid under the Inpatient Hospital benefit.

Benefits for Physical Therapy are limited to 90 visits per calendar year, combined Network and Out-of-Network.

Benefits for occupational therapy are limited to 30 visits per calendar year, combined Network and Out-of-
Network.

Benefits for speech therapy are limited to 30 visits per calendar year, combined Network and Out-of-Network.

Benefits for chiropractic care are limited to 20 visits per calendar year, combined Network and Out-of-Network.

Transplants


Any Medically Necessary human organ and stem cell/bone                  Center of                   Out-of-
marrow transplant and transfusion as determined by the                  Excellence/Network         Network
Claims Administrator including necessary acquisition                    Transplant                Transplant
procedures, harvest and storage, including Medically                    Provider                   Provider



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Necessary preparatory myeloablative therapy.



The Center of Excellence requirements do not apply to
Cornea and kidney transplants; and any Covered Services,
related to a Covered Transplant Procedure, received prior to
or after the Transplant Benefit Period.

Note: Even if a Hospital is a Network Provider for other
services, it may not be a Network Transplant Provider for
these services. Please be sure to contact the Claims
Administrator to determine which Hospitals are Network
Transplant Providers. (When calling Customer Service, ask
to be connected with the Transplant Case Manager for
further information.)


Transplant Benefit Period
                                                               Starts one day prior
                                                               to a Covered
                                                               Transplant              Starts one day
                                                               Procedure and           prior to a
                                                               continues for the       Covered
                                                               applicable case         Transplant
                                                               rate/global time        Procedure
                                                               period (The number      and continues
                                                               of days will vary       to the date of
                                                               depending on the        discharge.
                                                               type of transplant
                                                               received and the
                                                               Center of Excellence
                                                               Network Transplant
                                                               Provider agreement.
                                                               Contact the
                                                               Customer Service
                                                               number on Your
                                                               Identification Card
                                                               and ask for the
                                                               Transplant Case
                                                               Manager for specific



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                       Schedule of Benefits                              Network         Out-of-Network


                                                                 Network Transplant
                                                                 Provider
                                                                 information.)



   Covered Transplant Procedure during the Transplant            Covered at 100%         Not Covered
    Benefit Period                                               when using a BDCT
                                                                      facility

                                                                    Network – 20%


   Bone Marrow & Stem Cell Transplant (Inpatient &               Covered at 100%         Not Covered
    Outpatient)                                                  when using a BDCT
                                                                      facility
   Includes unrelated donor search up to $30,000 per
    transplant.                                                     Network – 20%


Care coordinated through a Network Transplant Provider/ Center of Excellence – not subject to Deductible

When performed by Out-of-Network Transplant Provider (subject to Deductible, does not apply to the Out
  of Pocket Maximum). You are responsible for any charges from the Out-of-Network Transplant
  Provider which exceeds the Maximum Allowed Amount.


   Live Donor Health Services (including complications           Covered at 100%         Not Covered
    from the donor procedure for up to six weeks from            when using a BDCT
    the date of procurement)                                          facility

                                                                    Network – 20%


   Eligible Travel and Lodging –                                 Covered at 100%         Not Covered
                                                                 when using a BDCT
                                                                      facility

                                                                    Network – 20%




Limited to $10,000 per transplant maximum combined Network and Out-of-Network subject to Claims
   Administrator’s approval.



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All Other Covered Transplant Services                          20%                 Not Covered



                                                         Covered at 100%
                                                          when using a
                                                          BDCT facility




(d) Total Health and Wellness Solutions


   1. Quick Care Options
      Quick Care Options helps to raise Your awareness about appropriate alternatives
      to hospital emergency rooms (ERs). When You need care right away, retail
      health clinics and urgent care centers can offer appropriate care for less cost—
      and leave the ER available for actual emergencies. Quick Care Options educates
      You on the availability of ER alternatives for non-urgent diagnoses and provides
      provider finder website to support searches for ER alternatives.

    2. Complex Care
       The Complex Care program reaches out to You if You are at risk for frequent and
       high levels of medical care in order to offer support and assistance in managing
       Your health care needs. Complex Care empowers You for self-care of Your
       condition(s), while encouraging positive health behavior changes through ongoing
       interventions. Complex Care nurses will work with You and Your physician to offer:
        Personalized attention, goal planning, health and lifestyle coaching.

          Strategies to promote self-management skills and medication adherence.

          Resources to answer health-related questions for specific treatments.

          Access to other essential health care management programs.

          Coordination of care between multiple providers and services.

       The program helps You effectively manage Your health to achieve improved health
       status and quality of life, as well as decreased use of acute medical services.




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3. Condition Care Programs
      Condition Care programs help maximize Your health status, improve health
      outcomes and control health care expenses associated with the following
      prevalent conditions:
       Asthma (pediatric and adult).

             Diabetes (pediatric and adult).

             Heart failure (HF).

             Coronary artery disease (CAD).

             Chronic obstructive pulmonary disease (COPD).

  You will receive:

         24/7 phone access to a nurse coach who can answer your questions and give
          you up-to-date information about your condition.
         A health review and follow-up calls if you need them.
         Tips on prevention and lifestyle choices to help you improve your quality of
          life.

  4. Condition Care Support Programs

          Condition Care Support programs are designed to help You better manage the
          following conditions:

              Low Back Pain – focuses on disorders of the lumbar region.

              Musculoskeletal      –   addresses    arthritis,   osteoporosis   and   hip/knee
               replacements.

              Vascular At-Risk – targets hypertension, hyperlipidemia and metabolic
               syndrome as precursors of vascular diseases.


  5. Future Moms
          The Future Moms program offers a guided course of care and treatment, leading
          to overall healthier outcomes for mothers and their newborns. Future Moms
          helps routine to high-risk expectant mothers focus on early prenatal
          interventions, risk assessments and education. The program includes special

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    management emphasis for expectant mothers at highest risk for premature birth
    or other serious maternal issues. The program consists of nurse coaches,
    supported by pharmacists, registered dietitians, social workers and medical
    directors. You will receive:

        24/7 phone access to a nurse coach who can talk with you about your
        pregnancy and answer your questions.
       Your Pregnancy Week by Week, a book to show you what changes you can
        expect for you and your baby over the next nine months.
       Useful tools to help you, your doctor and your Future Moms nurse coach
        track your pregnancy and spot possible risks.


 6. 24/7 Nurse Line
    You may have emergencies or questions for nurses around-the-clock. 24/7
    Nurse Line provides You with accurate health information any time of the day or
    night. Through one-on-one counseling with experienced nurses available 24
    hours a day via a convenient toll-free number, You can make more informed
    decisions about the most appropriate and cost-effective use of health care
    services. A staff of experienced nurses is trained to address common health
    care concerns such as medical triage, education, access to health care, diet,
    social/family dynamics and mental health issues. Specifically, the 24/7 Nurse
    Line features:
     A skilled clinical team – RN license (BSN preferred) that helps Members
       assess systems, understand medical conditions, ensure Members receive
       the right care in the right setting and refer You to programs and tools
       appropriate to Your condition.

       Bilingual RNs, language line and hearing impaired services.

       Access to the AudioHealth Library, containing hundreds of audiotapes on a
        wide variety of health topics.

       Proactive callbacks within 24 to 48 hours for Members referred to 911
        emergency services, poison control and pediatric Members with needs
        identified as either emergent or urgent.

       Referrals to relevant community resources.




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 7. My Health Advantage
    My Health Advantage is a free service that helps keep You and Your bank
    account healthier. Here’s how it works: the Claims Administrator reviews
    Your incoming health claims to see if we can save You any money. The
    Claims Administrator can check to see what medications You’re taking and
    alert Your doctor if we spot a potential drug interaction. The Claims
    Administrator also keeps track of Your routine tests and checkups, reminding
    You to make these appointments by mailing You My Health Notes. My Health
    Notes summarize Your recent claims. From time to time, The Claims
    Administrator offers tips to save You money on prescription drugs and other
    health care supplies.

 8. AIM Imaging Cost & Quality Program
    Volvo has selected this innovative Imaging Cost & Quality Program for
    Anthem Blue Cross Blue Shield members through AIM Specialty Health. This
    Program provides You with access to important information about imaging
    services You might need. The Program is not a benefit under your health
    benefit plan.

    If You need an MRI or a CT scan, it’s important to know that costs can vary
    quite a bit depending on where You go to receive the service. Sometimes the
    differences are significant – anywhere from $300 to $3000 – but a higher
    price doesn’t guarantee higher quality. If your benefit plan requires You to
    pay a portion of this cost (like a deductible or coinsurance) where You go can
    make a very big difference to your wallet.

    That’s where the AIM Imaging Cost & Quality Program comes in – AIM does
    the research for You and makes it available to help You find the right location
    for your MRI or CT scan. Here’s how the Program works:

      Your doctor refers You to a radiology provider for an MRI or CT scan
      AIM works with your doctor to help make sure that You are receiving the
        right test – using evidence-based guidelines
      AIM also reviews the referral to see if there are other providers in your
        area that are high quality but have a lower price than the one You were
        referred to
      If AIM finds another provider that meets the quality and price criteria,, AIM
        will give You a call to let You know
      You have the choice – You can see the radiology provider your doctor
        suggested OR You can choose to see a provider that AIM tells You

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                  about. AIM will even help You schedule an appointment with the new
                  provider

            The AIM Imaging Cost & Quality Program gives You the opportunity to reduce
            your health care expenses (and those of your employer) by selecting high
            quality, lower cost providers or locations. No matter which provider You
            choose, there is no effect on your health care benefits. We are bringing this
            Program to You to give You information that helps You to make informed
            choices about where to go when You need care.

(e) Eligibility

    1. Coverage for the Employee

        This Benefit Booklet describes the benefits an Employee may receive under this
        health care Plan. The Employee is also called a Subscriber.

    2. Coverage for the Employee’s Dependents

        If the Employee is covered by this Plan, the Employee may enroll his or her
        eligible Dependents. Covered Dependents are also called Members.

        Please see ARTICLE II, Section 2, for detailed information regarding Eligibility for
        your benefits.

    3. Special Enrollment Periods

        If an Employee or Dependent does not apply for coverage when they were first
        eligible, they may be able to join the Plan prior to Open Enrollment if they qualify
        for Special Enrollment. Except as noted otherwise below, the Employee or
        Dependent must request Special Enrollment within 31 days of a qualifying event.

        Special Enrollment is available for eligible individuals who:

                 Lost eligibility under a prior health plan for reasons other than non-
                  payment of premium or due to fraud or intentional misrepresentation of a
                  material fact.

                 Exhausted COBRA benefits or stopped receiving group contributions
                  toward the cost of the prior health plan.

                 Lost employer contributions towards the cost of the other coverage;

                 Are now eligible for coverage due to marriage, birth, adoption, or
                  placement for adoption.

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      Important Notes About Special Enrollment:

        Individuals enrolled during special enrollment periods are not Late Enrollees.

          Individuals or Dependents must request coverage within 31 days of a
           qualifying event (i.e., marriage, exhaustion of COBRA, etc.).

   4. Medicaid and CHIP Special Enrollment/Special Enrollees

      Eligible Employees and Dependents may also enroll under two additional
      circumstances:

                 the Employee’s or Dependent’s Medicaid or Children’s Health
                  Insurance Program (CHIP) coverage is terminated as a result of loss
                  of eligibility; or
                 the Employee or Dependent becomes eligible for a subsidy (state
                  premium assistance program)


      The Employee or Dependent must request Special Enrollment within 60 days of
      the loss of Medicaid/CHIP or of the eligibility determination.
(f) How Your Plan Works

Note: Capitalized terms such as Covered Services, Medical Necessity, and Out-of-
Pocket Maximum are defined in the “Definitions” Section.

1. Introduction

   Your health Plan is a Preferred Provider Organization (PPO) which is a
   comprehensive Plan. The Plan is divided into two sets of benefits: Network and
   Out-of-Network. If You choose a Network Provider, You will receive Network
   benefits. Utilizing this method means You will not have to pay as much money; Your
   Out-of-Pocket expenses will be higher when You use Out-of-Network Providers.

   Providers are compensated using a variety of payment arrangements, including fee
   for service, per diem, discounted fees, and global reimbursement.

   All Covered Services must be Medically Necessary, and coverage or certification of
   services that are not Medically Necessary may be denied.
2. Network Services

   When You use a Network Provider or get care as part of an Authorized Service,
   Covered Services will be covered at the Network level. Regardless of Medical


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   Necessity, benefits will be denied for care that is not a Covered Service. The Plan
   has the final authority to decide the Medical Necessity of the service.

   Network Providers include Primary Care Physicians/Providers (PCPs), Specialists
   (Specialty Care Physicians/Providers - SCPs), other professional Providers,
   Hospitals, and other Facilities who contract with us to care for You. Referrals are
   never needed to visit a Network Specialist.

   To see a Doctor, call their office:

       Tell them You are an Anthem Member,

       Have Your Member Identification Card handy. The Doctor’s office may ask You
        for Your group or Member ID number.

       Tell them the reason for Your visit.

   When You go to the office, be sure to bring Your Member Identification Card with
   You.

   For services from Network Providers:

   A. You will not need to file claims. Network Providers will file claims for Covered
      Services for You. (You will still need to pay any Coinsurance, Copayments,
      and/or Deductibles that apply.) You may be billed by Your Network Provider(s)
      for any Non-Covered Services You get or when You have not followed the terms
      of this Benefit Booklet.

   B. Precertification will be done by the Network Provider. (See the Health Care
      Management – Precertification section for further details.)

        Please read the Claims Payment section for additional information on
        Authorized Services.

3. After Hours Care

   If You need care after normal business hours, Your doctor may have several options
   for You. You should call Your doctor’s office for instructions if You need care in the
   evenings, on weekends, or during the holidays and cannot wait until the office
   reopens. If You have an Emergency, call 911 or go to the nearest Emergency
   Room.




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4. Out-of-Network Services

   When You do not use a Network Provider or get care as part of an Authorized
   Service, Covered Services are covered at the Out-of-Network level, unless
   otherwise indicated in this Benefit Booklet.

   For services from an Out-of-Network Provider:

       the Out-of-Network Provider can charge You the difference between their bill and
        the Plan’s Maximum Allowed Amount plus any Deductible and/or
        Coinsurance/Copayments;

       You may have higher cost sharing amounts (i.e., Deductibles, Coinsurance,
        and/or Copayments);

       You will have to pay for services that are not Medically Necessary;

       You will have to pay for Non-Covered Services;

       You may have to file claims; and

       You must make sure any necessary Precertification is done. (Please see Health
        Care Management – Precertification for more details.)


5. How to Find a Provider in the Network

   There are three ways You can find out if a Provider or facility is in the Network for
   this Plan. You can also find out where they are located and details about their
   license or training.

       See Your Plan’s directory of Network Providers at www.anthem.com, which lists
        the Doctors, Providers, and facilities that participate in this Plan’s Network.

       Call Customer Service to ask for a list of doctors and Providers that participate in
        this Plan’s Network, based on specialty and geographic area.

       Check with Your doctor or Provider.

   If You need details about a Provider’s license or training, or help choosing a doctor
   who is right for You, call the Customer Service number on the back of Your Member
   Identification Card. TTY/TDD services also are available by dialing 711. A special
   operator will get in touch with us to help with Your needs.




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6. The BlueCard Program

   Like all Blue Cross & Blue Shield plans throughout the country, Anthem participates
   in a program called "BlueCard." This program lets You get Covered Services at the
   Network cost-share when You are traveling out of state and need health care, as
   long as You use a BlueCard Provider. All You have to do is show your Identification
   Card to a participating Blue Cross & Blue Shield Provider, and they will send Your
   claims to the Claims Administrator.

   If You are out of state and an Emergency or urgent situation arises, You should get
   care right away.

   In a non-Emergency situation, You can find the nearest contracted Provider by
   visiting the BlueCard Doctor and Hospital Finder website (www.BCBS.com) or call
   the number on the back of your Identification Card.

   You can also access Doctors and Hospitals outside of the U.S. The BlueCard
   program is recognized in more than 200 countries throughout the world.

   Please refer to Inter-Plan Programs in the Claims Payment section for more
   information on BlueCard.

7. Care Outside the United States – BlueCard Worldwide

   Prior to travel outside the United States, check with Your Group or call Customer
   Service at the number on your Identification Card to find out if Your Plan has
   BlueCard Worldwide benefits. Your coverage outside the United States may be
   different and we recommend:

         Before You leave home, call the Customer Service number on your
          Identification Card for coverage details.

         Always carry your current Identification Card.

         In an emergency, go directly to the nearest Hospital.

      The BlueCard Worldwide Service Center is available 24 hours a day, seven days
      a week toll-free at (800) 810-BLUE (2583) or by calling collect at (804) 673-
      1177. An assistance coordinator, along with a medical professional, will arrange
      a Physician appointment or hospitalization, if needed.

   Call the Service Center in these non-emergent situations:




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      You need to find a Physician or Hospital or need medical assistance
       services. An assistance coordinator, along with a medical professional, will
       arrange a Physician appointment or hospitalization, if needed.

      You need to be hospitalized or need Inpatient care. After calling the Service
       Center, You must also call the Claims Administrator to obtain approval for
       benefits at the phone number on your Identification Card. Note: this number
       is different than the phone numbers listed above for BlueCard Worldwide.

   Payment Information

          Participating BlueCard Worldwide Hospitals. In most cases, when You
           make arrangements for hospitalization through BlueCard Worldwide, You
           should not need to pay upfront for Inpatient care at participating BlueCard
           Worldwide hospitals except for the Out-of-Pocket costs (non-Covered
           Services, Deductible, Copayments and Coinsurance) You normally pay.
           The Hospital should submit Your claim on Your behalf.

          Doctors and/or non-participating Hospitals. You will need to pay upfront
           for outpatient services, care received from a Doctor, and Inpatient care not
           arranged through the BlueCard Worldwide Service Center. Then You can
           complete a BlueCard Worldwide claim form and send it with the original
           bill(s) to the BlueCard Worldwide Service Center (the address is on the
           form).

-Claim Filing

          The Hospital will file your claim if the BlueCard Worldwide Service Center
           arranged Your hospitalization. You will need to pay the Hospital for the
           Out-of-Pocket costs You normally pay.

          You must file the claim for outpatient and Physician care, or Inpatient care
           not arranged through the BlueCard Worldwide Service Center. You will
           need to pay the Provider and subsequently send an international claim
           form with the original bills to the Claims Administrator.


Claim Forms

International claim forms are available from the Claims Administrator, the BlueCard
Worldwide Service Center, or online at www.bcbs.com/bluecardworldwide. The
address for submitting claims is on the form.




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8. Copayment

   Certain Network services may be subject to a Copayment amount which is a flat-
   dollar amount You will be charged at the time services are rendered.

   Copayments are the responsibility of the Member. Any Copayment amounts
   required are shown in the Schedule of Benefits. Unless otherwise indicated,
   services which are not specifically identified in this Benefit Booklet as being subject
   to a Copayment are subject to the calendar year Deductible and payable at the
   percentage payable in the Schedule of Benefits.

9. Calendar Year Deductible

   Before the Plan begins to pay benefits (except certain benefits which are subject to
   Copayment instead of Deductible), You must meet any Deductible required. You
   must satisfy one Deductible for each type of coverage as explained in the Schedule
   of Benefits. Deductible requirements are stated in the Schedule of Benefits.

(g) Health Management - Precertification

Your Plan includes the processes of Precertification, Predetermination and Post Service
Clinical Claims Review to determine when services should be covered by Your Plan.
Their purpose is to promote the delivery of cost-effective medical care by reviewing the
use of procedures and, where appropriate, the setting or place of service that they are
performed. Your Plan requires that Covered Services be Medically Necessary for
benefits to be provided. When setting or place of service is part of the review, services
that can be safely provided to You in a lower cost setting will not be Medically
Necessary if they are performed in a higher cost setting.

Prior Authorization: Network Providers are required to obtain Prior Authorization in
order for You to receive benefits for certain services. Prior Authorization criteria will be
based on multiple sources including medical policy, clinical guidelines, and pharmacy
and therapeutics guidelines. The Claims Administrator may determine that a service
that was initially prescribed or requested is not Medically Necessary if You have not
previously tried alternative treatments which are more cost effective.

If You have any questions regarding the information contained in this section, You may
call the Customer Service telephone number on Your Identification Card or visit
www.anthem.com.

1. Types of Requests:

   Precertification – A required review of a service, treatment or admission for a
   benefit coverage determination which must be obtained prior to the service,


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    treatment or admission start date. For emergency admissions, You, Your authorized
    representative or Physician must notify the Claims Administrator within 2 business
    days after the admission or as soon as possible within a reasonable period of time.
    For childbirth admissions, Precertification is not required unless there is a
    complication and/or the mother and baby are not discharged at the same time.

    Predetermination – An optional, voluntary Prospective or Concurrent/Continued
    Stay Review request for a benefit coverage determination for a service or treatment.
    The Claims Administrator will review Your Plan to determine if there is an exclusion
    for the service or treatment. If there is a related clinical coverage guideline, the
    benefit coverage review will include a review to determine whether the service meets
    the definition of Medical Necessity under this Plan or is Experimental/Investigative
    as that term is defined in this Plan.

    Post Service Clinical Claims Review– A Retrospective review for a benefit
    coverage     determination     to    determine    the    Medical     Necessity      or
    Experimental/Investigative nature of a service, treatment or admission that did not
    require Precertification and did not have a Predetermination review performed.
    Medical Reviews occur for a service, treatment or admission in which the Claims
    Administrator has a related clinical coverage guideline and are typically initiated by
    the Claims Administrator.

Failure to Obtain Precertification Penalty:

IMPORTANT NOTE: IF YOU OR YOUR NON NETWORK PROVIDER
DO NOT OBTAIN THE REQUIRED PRECERTIFICATION, YOUR CLAIM
WILL BE DENIED. ONCE INFORMATION IS RECEIVED CLAIMS CAN
BE RE-OPENED BASED ON MEDICAL INFORMATION PROVIDED.
THIS DOES NOT APPLY TO MEDICALLY NECESSARY SERVICES
FROM A NETWORK OR BLUECARD PROVIDER.


The following list is not all inclusive and is subject to change; please
call the Customer Service telephone number on Your Identification
Card to confirm the most current list and requirements for Your Plan.

   Inpatient Admission

   Maternity Admission precertification only needed if inpatient stay exceeds 48 hours
    for normal delivery and 96 hours after a cesarean delivery.


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   Acute Inpatient Rehabilitation

   Home Health Care (includes Home Infusion billed by Home Health Care agency)

   Home Infusion Therapy (billed by home infusion specialist)

   Visiting Nurses, Private Duty Nursing (Home)

   Skilled Nursing Facility (SNF)

   Hospice (inpatient and outpatient)

   Organ and Tissue Transplant (inpatient and outpatient)

   Bone Marrow and Stem Cell Transplant (inpatient and outpatient)

   Air Ambulance

   Inpatient Mental Health/Substance Abuse (Network/Out-of-Network)

   Residential MH/SA (If covered, precertification required (Network/Out-of-Network)

   Partial Hospitalization MH/SA (Network/Out-of-Network)

   Intensive Outpatient MH/SA (Network/Out-of-Network)


    Utilizing a Provider outside of the Network may result in significant additional
    financial responsibility for You, because Your health benefit plan cannot prohibit Out-
    of-Network Providers from billing You for the difference between the Provider’s
    charge and the benefit the Plan provides.


    The ordering Provider, facility or attending Physician should contact the Claims
    Administrator to request a Precertification or Predetermination review (“requesting
    Provider”). The Claims Administrator will work directly with the requesting Provider
    for the Precertification request. However, You may designate an authorized
    representative to act on Your behalf for a specific request. The authorized
    representative can be anyone who is 18 years of age or older.

    The Claims Administrator will utilize its clinical coverage guidelines, such as
    medical policy and other internally developed clinical guidelines, and preventive
    care clinical coverage guidelines, to assist in making Medical Necessity decisions.
    The Claims Administrator reserves the right to review and update these clinical
    coverage guidelines periodically. Your Employer’s Group Health Plan Document
    takes precedence over these guidelines.

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   You are entitled to receive, upon request and free of charge, reasonable access to
   any documents relevant to Your request. To request this information, contact the
   Customer Service telephone number on Your Identification Card.

   The Claims Administrator may, from time to time, waive, enhance, modify or
   discontinue certain medical management processes (including utilization
   management, case management, and disease management) if at the Claims
   Administrator’s discretion, such change is in furtherance of the provision of cost
   effective, value based and/or quality services.

   In addition, the Claims Administrator may select certain qualifying Providers to
   participate in a program that exempts them from certain procedural or medical
   management processes that would otherwise apply. The Claims Administrator may
   also exempt Your claim from medical review if certain conditions apply.

   Just because the Claims Administrator exempts a process, Provider or claim from
   the standards which otherwise would apply, it does not mean that the Claims
   Administrator will do so in the future, or will do so in the future for any other
   Provider, claim or Member. The Claims Administrator may stop or modify any such
   exemption with or without advance notice. You may determine whether a Provider
   is participating in certain programs by contacting the customer service number on
   the back of your ID card.

   The Claims Administrator also may identify certain Providers to review for potential
   fraud, waste, abuse or other inappropriate activity if the claims data suggests there
   may be inappropriate billing practices. If a Provider is selected under this program,
   then the Claims Administrator may use one or more clinical utilization management
   guidelines in the review of claims submitted by this Provider, even if those guidelines
   are not used for all Providers delivering services to this Plan’s Members.

2. Request Categories:

         Urgent – A request for Precertification or Predetermination that in the opinion
          of the treating Provider or any Physician with knowledge of the Member’s
          medical condition, could in the absence of such care or treatment, seriously
          jeopardize the life or health of the Member or the ability of the Member to
          regain maximum function or subject the Member to severe pain that cannot
          be adequately managed without such care or treatment.
         Prospective – A request for Precertification or Predetermination that is
          conducted prior to the service, treatment or admission.
         Concurrent/Continued Stay Review - A request for Precertification or
          Predetermination that is conducted during the course of treatment or
          admission.

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         Retrospective - A request for Precertification that is conducted after the
          service, treatment or admission has occurred. Post Service Clinical Claims
          Review is also retrospective. Retrospective review does not include a review
          that is limited to an evaluation of reimbursement levels, veracity of
          documentation, accuracy of coding or adjudication of payment.

3. Decision and Notification Requirements

   Timeframes and requirements listed are based in general on federal regulations.
   You may call the telephone number on Your membership card for additional
   information.

      Request Category                      Timeframe Requirement for Decision and
                                            Notification

      Prospective Urgent                    72 hours from the receipt of request

      Prospective Non-Urgent                15 calendar days from the receipt of the request

      Concurrent/Continued Stay             72 hours from request and prior to expiration of
      Review when hospitalized at time      current certification
      of request

      Other Concurrent/Continued Stay       24 hours from the receipt of the request
      Review Urgent when request is
      received more than 24 hours
      before the expiration of the
      previous authorization

      Concurrent/Continued Stay             72 hours from the receipt of the request
      Review Urgent when request is
      received less than 24 hours before
      the expiration of the previous
      authorization or no previous
      authorization exists

      Concurrent/Continued Stay             15 calendar days from the receipt of the request
      Review Non-Urgent

      Retrospective                         30 calendar days from the receipt of the request




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      If additional information is needed to make a decision, the Claims Administrator
      will notify the requesting Provider and send written notification to You or Your
      authorized representative of the specific information necessary to complete the
      review. If the Claims Administrator does not receive the specific information
      requested or if the information is not complete by the timeframe identified in the
      written notification, a decision will be made based upon the information in the
      Claims Administrator’s possession.

      The Claims Administrator will provide notification of its decision in accordance
      with federal regulations.

      Notification may be given by the following methods:

      Verbal: oral notification given to the requesting provider via telephone or via
      electronic means if agreed to by the provider.

      Written: mailed letter or electronic means including email and fax given to, at a
      minimum, the requesting provider and the Member or authorized Member
      representative.

      Precertification does not guarantee coverage for or payment of the service or
      procedure reviewed. For benefits to be paid, on the date You receive service:

      a) You must be eligible for benefits;

      b) the service or surgery must be a Covered Service under Your Plan; and

      c)   the service cannot be subject to an exclusion under Your Plan

      d) You must not have exceeded any applicable limits under Your Plan.


4. Health Plan Individual Case Management

   The Claims Administrator’s health plan case management programs (Case
   Management) helps coordinate services for Members with health care needs due to
   serious, complex, and/or chronic health conditions. The Claims Administrator’s
   programs coordinate benefits and educate Members who agree to take part in the
   Case Management Program to help meet their health-related needs.

   The Claims Administrator’s Case Management programs are confidential and
   voluntary and are made available at no extra cost to you. These programs are
   provided by, or on behalf of and at the request of, your health plan case
   management staff. These Case Management programs are separate from any
   Covered Services you are receiving



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   If You meet program criteria and agree to take part, the Claims Administrator will
   help You meet your identified health care needs. This is reached through contact
   and team work with You and/or your authorized representative, treating Doctor(s),
   and other Providers.

   In addition, the Claims Administrator may assist in coordinating care with existing
   community-based programs and services to meet your needs. This may include
   giving You information about external agencies and community-based programs and
   services.

   In certain cases of severe or chronic illness or injury, the Plan may provide benefits
   for alternate care that is not listed as a Covered Service through the Claims
   Administrator’s Case Management program. The Plan may also extend Covered
   Services beyond the Benefit Maximums of this Plan. The Claims Administrator’s will
   make any recommendation of alternate or extended benefits to the Plan on a case-
   by-case basis, if in the Claims Administrator’s discretion the alternate or extended
   benefit is in the best interest of the Member and the Plan. A decision to provide
   extended benefits or approve alternate care in one case does not obligate the Plan
   to provide the same benefits again to You or to any other Member. The Plan
   reserves the right, at any time, to alter or stop providing extended benefits or
   approving alternate care. In such case, the Claims Administrator will notify You or
   your representative in writing.

   All admissions approved by the Health Care Management Pre-certification Program
   will be covered in accordance with Plan provisions. Admissions which are not
   approved by the pre-determination review process are subject to denial or
   reductions in payment for hospital and doctors charges. The member will not be
   responsible for hospital and doctor costs unless the member has been verifiably
   notified in writing that an admission request has been denied and the member enters
   the hospital against all medical advice, including the member's own doctors.

   However if the member's Network doctor or hospital fails to request pre-
   determination approval for an inpatient hospital stay, the member will not be held
   responsible for any expenses resulting from denials or reductions in payments for
   covered services.

(h) Benefits

Payment terms apply to all Covered Services. Please refer to the Schedule of Benefits
for details. All Covered Services must be Medically Necessary, whether provided
through Network Providers or Out-of-Network Providers.

1. Ambulance Service

   Medically Necessary ambulance services are a Covered Service when one or more
   of the following criteria are met:


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a) You are transported by a state licensed vehicle that is designed, equipped, and
   used only to transport the sick and injured and staffed by Emergency Medical
   Technicians (EMT), paramedics, or other certified medical professionals. This
   includes ground, water, fixed wing, and rotary wing air transportation.

b) For ground ambulance, You are taken:

         From your home, the scene of an accident or medical Emergency to
          Hospital;

         Between Hospitals, including when the Claims Administrator requires You
          to move from an Out-of-Network Hospital to a Network Hospital

         Between a Hospital and a Skilled Nursing Facility or other approved
          Facility.

c)        For air or water ambulance, You are taken:

         From the scene of an accident or medical Emergency to a Hospital;

         Between Hospitals, including when the Claims Administrator requires You
          to move from an Out-of-Network Hospital to a Network Hospital

         Between a Hospital and an approved Facility.

Ambulance Services are subject to Medical Necessity reviews by the Claims
Administrator. Emergency ambulance services do not require precertification and
are allowed regardless of whether the Provider is a Network or Out-of-Network
Provider.

Non-Emergency ambulance services are subject to Medical Necessity reviews by
the Claims Administrator. When using an air ambulance, for non-Emergency
transportation, the Claims Administrator reserves the right to select the air
ambulance Provider. If you do not use the air ambulance Provider the Claims
Administrator selects, the Out-of-Network Provider may bill you for any charges that
exceed the Plan’s Maximum Allowed Amount.

You must be taken to the nearest Facility that can give care for your condition. In
certain cases the Claims Administrator may approve benefits for transportation to a
Facility that is not the nearest Facility.

Benefits also include Medically Necessary treatment of a sickness or injury by
medical professionals from an ambulance service, even if You are not taken to a
Facility.


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    Ambulance services are not covered when another type of transportation can be
    used without endangering Your health. Ambulance services for your convenience
    or the convenience of Your family or Doctor are not a Covered Service.

    Other non-covered ambulance services include, but are not limited to, trips to:

            A Doctor’s office or clinic;

            A morgue or funeral home


      Important Notes on Air Ambulance Benefits

      Benefits are only available for air ambulance when it is not appropriate to use a
      ground or water ambulance. For example, if using a ground ambulance would
      endanger your health and your medical condition requires a more rapid transport
      to a Facility than the ground ambulance can provide, the Plan will cover the air
      ambulance. Air ambulance will also be covered if You are in an area that a
      ground or water ambulance cannot reach.

      Air ambulance will not be covered if You are taken to a Hospital that is not an
      acute care Hospital (such as a Skilled Nursing Facility), or if You are taken to a
      Physician’s office or your home.

      Hospital to Hospital Transport

      If You are moving from one Hospital to another, air ambulance will only be
      covered if using a ground ambulance would endanger your health and if the
      Hospital that first treats cannot give You the medical services You need. Certain
      specialized services are not available at all Hospitals. For example, burn care,
      cardiac care, trauma care, and critical care are only available at certain
      Hospitals. To be covered, You must be taken to the closest Hospital that can
      treat You. Coverage is not available for air ambulance transfers simply because
      You, your family, or your Provider prefers a specific Hospital or Physician.

2. Assistant Surgery

   Services rendered by an assistant surgeon are covered based on Medical
   Necessity.

3. Behavioral Health Care and Substance Abuse Treatment

   Covered by Integrated Behavioral Health (See Section 4).




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4. Breast Cancer Care

   Covered Services are provided for Inpatient care following a mastectomy or lymph
   node dissection until the completion of an appropriate period of stay as determined
   by the attending Physician in consultation with the Member. Follow-up visits are
   also included and may be conducted at home or at the Physician’s office as
   determined by the attending Physician in consultation with the Member.

5. Breast Reconstructive Surgery

   Covered Services are provided following a mastectomy for reconstruction of the
   breast on which the mastectomy was performed, surgery and reconstruction of the
   other breast to produce a symmetrical appearance, and prostheses and treatment of
   physical complications, including lymphedemas.

6. Cardiac Rehabilitation

   Covered Services are provided as outlined in the Schedule of Benefits.

7. Clinical Trials

   Benefits include coverage for services, such as routine patient care costs, given to
   You as a participant in an approved clinical trial if the services are Covered Services
   under this Plan. An “approved clinical trial” means a phase I, phase II, phase III, or
   phase IV clinical trial that studies the prevention, detection, or treatment of cancer or
   other life-threatening conditions. The term life-threatening condition means any
   disease or condition from which death is likely unless the disease or condition is
   treated.

   Benefits are limited to the following trials:

   a) Federally funded trials approved or funded by one of the following:

          i. The National Institutes of Health.
          ii. The Centers for Disease Control and Prevention.
         iii. The Agency for Health Care Research and Quality.
         iv. The Centers for Medicare & Medicaid Services.
         v. Cooperative group or center of any of the entities described in (i) through
              (iv) or the Department of Defense or the Department of Veterans Affairs.
         vi. A qualified non-governmental research entity identified in the guidelines
               issued by the National Institutes of Health for center support grants.


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      vii. Any of the following in i-iii below if the study or investigation has been
             reviewed and approved through a system of peer review that the
             Secretary determines 1) to be comparable to the system of peer review of
             studies and investigations used by the National Institutes of Health, and
             2) assures unbiased review of the highest scientific standards by qualified
             individuals who have no interest in the outcome of the review.
            (i)     The Department of Veterans Affairs.
            (ii)    The Department of Defense.
            (iii)   The Department of Energy.
b) Studies or investigations done as part of an investigational new drug application
   reviewed by the Food and Drug Administration;

c) Studies or investigations done for drug trials which are exempt from the
   investigational new drug application.

Your Plan may require You to use a Network Provider to maximize your benefits.

Routine patient care costs include items, services, and Drugs provided to You in
connection with an approved clinical trial that would otherwise be covered by this
Plan.

All other requests for clinical trials services, including requests that are not part of
approved clinical trials will be reviewed according to our Clinical Coverage
Guidelines, related policies and procedures.

Your Plan is not required to provide benefits for the following services. The Plan
reserves its right to exclude any of the following services:

    The Experimental/Investigative item, device, or service; or

    Items and services that are provided only to satisfy data collection and analysis
     needs and that are not used in the direct clinical management of the patient; or

    A service that is clearly inconsistent with widely accepted and established
     standards of care for a particular diagnosis;

    Any item or service that is paid for, or should have been paid for, by the sponsor
     of the trial.




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8. Consultation Services

   Covered when the special skill and knowledge of a consulting Physician is required
   for the diagnosis or treatment of an illness or Injury. Second surgical opinion
   consultations are covered.

   Staff consultations required by Hospital rules are excluded. Referrals, the transfer of
   a patient from one Physician to another for treatment, are not consultations under
   this Plan.

9. Dental Services – Related to Accidental Injury

   Your Plan includes benefits for dental work required for the initial repair of an Injury
   to the jaw, sound natural teeth, mouth or face which are required as a result of an
   accident and are not excessive in scope, duration, or intensity to provide safe,
   adequate, and appropriate treatment without adversely affecting the Member’s
   condition. Injury as a result of chewing or biting is not considered an Accidental
   Injury, except where the chewing or biting results from an act of domestic violence or
   directly from a medical condition.

   Treatment must be completed within the timeframe shown in the Schedule of
   Benefits.

   Other Dental Services

   Your Plan also includes benefits for Hospital charges and anesthetics provided for
   dental care if the Member meets any of the following conditions:

          The Member is under the age of five (5);
          The Member has a severe disability that requires hospitalization or general
           anesthesia for dental care; or
          The Member has a medical condition that requires hospitalization or general
           anesthesia for dental care.

10. Diabetes

   Equipment and Outpatient self-management training and education, including
   nutritional therapy for individuals with insulin-dependent diabetes, insulin-using
   diabetes, gestational diabetes, and non-insulin using diabetes as prescribed by the
   Physician. Covered Services for Outpatient self-management training and education
   must be provided by a certified, registered or licensed health care professional with
   expertise in diabetes. Screenings for gestational diabetes are covered under
   “Preventive Care.”


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11. Dialysis Treatment

    The Plan covers Covered Services for Dialysis treatment. After 30 months, the
    Plan will pay secondary to Medicare Part B, even if a Member has not applied for
    eligible coverage available through Medicare, per Medicare requirements.

12. Durable Medical Equipment

       This Plan will pay the rental charge up to the purchase price of the equipment. In
       addition to meeting criteria for Medical Necessity, and applicable Precertification
       requirements, the equipment must also be used to improve the functions of a
       malformed part of the body or to prevent or slow further decline of the Member’s
       medical condition. The equipment must be ordered and/or prescribed by a
       Physician and be appropriate for in-home use.

   The equipment must meet the following criteria:

       It can stand repeated use;
       It is manufactured solely to serve a medical purpose;
       It is not merely for comfort or convenience;
       It is normally not useful to a person not ill or Injured;
       It is ordered by a Physician;
       The Physician certifies in writing the Medical Necessity for the equipment. The
        Physician also states the length of time the equipment will be required. The Plan
        may require proof at any time of the continuing Medical Necessity of any item;
       It is related to the Member’s physical disorder

   13. Emergency Services


Life-threatening Medical Emergency or serious Accidental Injury.

Coverage is provided for Hospital emergency room care including a medical screening
examination that is within the capability of the emergency department of a Hospital,
including ancillary services routinely available to the emergency department to evaluate
an Emergency Medical Condition; and within the capabilities of the staff and facilities
available at the Hospital, such further medical examination and treatment as are
required to Stabilize the patient. Emergency Service care does not require any Prior
Authorization from the Plan.

Stabilize means, with respect to an Emergency Medical Condition: to provide such
medical treatment of the condition as may be necessary to assure, within reasonable
medical probability that no material deterioration of the condition is likely to result from

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  or occur during the transfer of the individual from a facility. With respect to a pregnant
  woman who is having contractions, the term “stabilize” also means to deliver (including
  the placenta), if there is inadequate time to affect a safe transfer to another Hospital
  before delivery or transfer may pose a threat to the health or safety of the woman or the
  unborn child.

  The Maximum Allowed Amount for emergency care from an Out-of-Network Provider
  will be the greatest of the following:

            The amount negotiated with Network Providers for the Emergency service
             furnished;
            The amount for the Emergency Service calculated using the same method
             the Claims Administrator generally uses to determine payments for Out-of-
             Network services but substituting the Network cost-sharing provisions for the
             Out-of-Network cost-sharing provisions; or
            The amount that would be paid under Medicare for the Emergency Service.


  The Copayment and/or Coinsurance percentage payable for both Network and Out-of-
  Network are shown in the Schedule of Benefits.

14. General Anesthesia Services


    Covered when ordered by the attending Physician and administered by another
    Physician who customarily bills for such services, in connection with a covered
    procedure.

    Such anesthesia service includes the following procedures which are given to cause
    muscle relaxation, loss of feeling, or loss of consciousness:

            spinal or regional anesthesia;

            injection or inhalation of a drug or other agent (local infiltration is excluded).

    Anesthesia services administered by a Certified Registered Nurse Anesthetist (CRNA)
    are only covered when billed by the supervising anesthesiologist.
15. Habilitative Services

  Benefits also include habilitative health care services and devices that help You keep,
  learn or improve skills and functioning for daily living. Examples include therapy for a
  child who isn’t walking or talking at the expected age. These services may include
  physical and occupational therapy, speech-language pathology and other services for
  people with disabilities in a variety of Inpatient and/or outpatient settings.

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16. Home Health Care Services

   Home Health Care provides a program for the Member’s care and treatment in the
   home. Your coverage is outlined in the Schedule of Benefits. The program consists
   of required intermittent skilled care, which may include observation, evaluation,
   teaching and nursing services consistent with the diagnosis, established and approved
   in writing by the Member’s attending Physician. Services may be performed by either
   Network or Out-of-Network Providers.

  Some special conditions apply:

         The Physician’s statement and recommended program must be pre-certified.

         Claims will be reviewed to verify that services consist of skilled care that is
          medically consistent with the diagnosis. Note: Covered Services available under
          Home Health Care do NOT reduce Outpatient benefits available under the
          Physical Therapy section shown in this Plan.

         A Member must be essentially confined at home.


  Covered Services:
     Visits by an RN or LPN. Benefits cannot be provided for services if the nurse is
        related to the Member.
     Visits by a qualified physiotherapist or speech therapist and by an inhalation
        therapist certified by the National Board of Respiratory Therapy.
     Visits to render services and/or supplies of a licensed Medical Social Services
        Worker when Medically Necessary to enable the Member to understand the
        emotional, social, and environmental factors resulting from or affecting the
        Member’s illness.
     Visits by a Home Health Nursing Aide when rendered under the direct
        supervision of an RN.
     Nutritional guidance when Medically Necessary.
     Administration or infusion of prescribed drugs.
     Oxygen and its administration.


  Covered Services for Home Health Care do not include:
         Food, housing, homemaker services, sitters, home-delivered meals.
         Home Health Care services which are not Medically Necessary or of a non-
          skilled level of care.



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         Services and/or supplies which are not included in the Home Health Care plan as
          described.
         Services of a person who ordinarily resides in the Member’s home or is a
          member of the family of either the Member or Member’s Spouse.
         Any services for any period during which the Member is not under the continuing
          care of a Physician.
         Convalescent or Custodial Care where the Member has spent a period of time for
          recovery of an illness or surgery and where skilled care is not required or the
          services being rendered are only for aid in daily living, i.e., for the convenience of
          the Member.
         Any services or supplies not specifically listed as Covered Services.
         Routine care and/or examination of a newborn child.
         Dietician services.
         Maintenance therapy.
         Dialysis treatment.
         Purchase or rental of dialysis equipment.


17. Hospice Care Services

  The services and supplies listed below are Covered Services when given by a Hospice
  for the palliative care of pain and other symptoms that are part of a terminal disease.
  Palliative care means care that controls pain and relieves symptoms, but is not meant to
  cure a terminal illness. Covered Services include:

         Care from an interdisciplinary team with the development and maintenance of an
          appropriate plan of care.
         Short-term Inpatient Hospital care when needed in periods of crisis or as respite
          care.
         Skilled nursing services, home health aide services, and homemaker services
          given by or under the supervision of a registered nurse.
         Social services and counseling services from a licensed social worker.
         Nutritional support such as intravenous feeding and feeding tubes.
         Physical therapy, occupational therapy, speech therapy, and respiratory therapy
          given by a licensed therapist.
         Pharmaceuticals, medical equipment, and supplies needed for the palliative care
          of your condition, including oxygen and related respiratory therapy supplies.
         Bereavement (grief) services, including a review of the needs of the bereaved
          family and the development of a care plan to meet those needs, both before and
          after the Member’s death. Bereavement services are available to surviving
          Members of the immediate family for one year after the Member’s death.

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           Immediate family means your spouse, children, stepchildren, parents, brothers
           and sisters.


   Your Doctor and Hospice medical director must certify that You are terminally ill and
   likely have less than 12 months to live. Your Doctor must agree to care by the Hospice
   and must be consulted in the development of the care plan. The Hospice must keep a
   written care plan on file and give it to the Claims Administrator upon request.

   Benefits for Covered Services beyond those listed above, such as chemotherapy and
   radiation therapy given as palliative care, are available to a Member in Hospice. These
   additional Covered Services will be covered under other parts of this Benefit Booklet.

18. Hospital Services

    You may receive treatment at a Network or an Out-of-Network Hospital. However,
    payment is significantly reduced if services are received at an Out-of-Network Hospital.
    Your Plan provides Covered Services when the following services are Medically
    Necessary.

   a) Network

      Inpatient Services

          Inpatient room charges. Covered Services include Semiprivate Room and board,
           general nursing care and intensive or cardiac care. If You stay in a private room,
           the Maximum Allowed Amount is based on the Hospital’s prevalent Semiprivate
           rate. If You are admitted to a Hospital that has only private rooms, the Maximum
           Allowed Amount is based on the Hospital’s prevalent room rate.

      Service and Supplies

          Services and supplies provided and billed by the Hospital while You’re an
           Inpatient, including the use of operating, recovery and delivery rooms.
           Laboratory and diagnostic examinations, intravenous solutions, basal metabolism
           studies, electrocardiograms, electroencephalograms, x-ray examinations, and
           radiation and speech therapy are also covered.

          Convenience items (such as radios, TV’s, record, tape or CD players,
           telephones, visitors’ meals, etc.) will not be covered.

      Length of Stay

      Determined by Medical Necessity.


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b) Out-of-Network

   Hospital Benefits
      If You are confined in an Out-of-Network Hospital, Your benefits will be
         significantly reduced, as explained in the “Schedule of Benefits” section.

19. Hospital Visits

   The Physician’s visits to his or her patient in the Hospital. Covered Services are limited
   to one daily visit for each attending Physician specialty during the covered period of
   confinement.

20. Human Organ and Tissue Transplant Services

   Notification

   To maximize your benefits, You need to call the Claims Administrator's transplant
   department to discuss benefit coverage when it is determined a transplant may
   be needed. You must do this before You have an evaluation and/or work-up for a
   transplant. Your evaluation and work-up services must be provided by a Network
   Transplant Provider to receive the maximum benefits.

   Contact the customer service telephone number on Your Identification Card and ask for
   the transplant coordinator. The Claims Administrator will then assist the Member in
   maximizing their benefits by providing coverage information including details regarding
   what is covered and whether any medical policies, network requirements or benefit
   booklet exclusions are applicable. Failure to obtain this information prior to receiving
   services could result in increased financial responsibility for the Member.

   Covered Transplant Benefit Period

   Starts one day prior to a Covered Transplant Procedure and continues for the
   applicable case rate / global time period. The number of days will vary depending on the
   type of transplant received and the Network Transplant Provider agreement. Contact
   the Claims Administrator for specific Network Transplant Provider information for
   services received at or coordinated by a Network Transplant Provider Facility or starts
   one day prior to a Covered Transplant Procedure and continues to the date of discharge
   at an Out-of-Network Transplant Provider Facility.

   Prior Approval and Precertification

   In order to maximize Your benefits, the Claims Administrator strongly encourages You
   to call its’ transplant department to discuss benefit coverage when it is determined a
   transplant may be needed. You must do this before You have an evaluation and/or
   work-up for a transplant. The Claims Administrator will assist You in maximizing Your

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   benefits by providing coverage information, including details regarding what is covered
   and whether any clinical coverage guidelines, medical policies, Network Transplant
   Provider requirements, or exclusions are applicable. Contact the Customer Service
   telephone number on the back of Your Identification Card and ask for the transplant
   coordinator. Even if the Claims Administrator issues a prior approval for the Covered
   Transplant Procedure, You or Your Provider must call the Claims Administrator’s
   Transplant Department for precertification prior to the transplant whether this is
   performed in an Inpatient or outpatient setting.

   Please note that there are instances where Your Provider requests approval for Human
   Leukocyte Antigen (HLA) testing, donor searches and/or a collection and storage of
   stem cells prior to the final determination as to what transplant procedure will be
   requested. Under these circumstances, the HLA testing and donor search charges are
   covered as routine diagnostic testing. The collection and storage request will be
   reviewed for Medical Necessity and may be approved. However, such an approval for
   HLA testing, donor search and/or a collection and storage is NOT an approval for the
   subsequent requested transplant. A separate Medical Necessity determination will be
   made for the transplant procedure.

   Transportation and Lodging

   The Plan will provide assistance with reasonable and necessary travel expenses as
   determined by the Claims Administrator when You obtain prior approval and are
   required to travel more than 50 miles from Your residence to reach the facility where
   Your covered transplant procedure will be performed. The Plan's assistance with travel
   expenses includes transportation to and from the facility and lodging for the transplant
   recipient Member and one companion for an adult Member, or two companions for a
   child patient. The Member must submit itemized receipts for transportation and lodging
   expenses in a form satisfactory to the Claims Administrator when claims are filed.
   Contact the Claims Administrator for detailed information. The Claims Administrator will
   follow Internal Revenue Service (IRS) guidelines in determining what expenses can be
   paid.

21. Licensed Speech Therapist Services

   Services must be ordered and supervised by a Physician as outlined in the Schedule of
   Benefits. Speech Therapy must be for the active treatment of disease, trauma or
   congenital anomalies. Speech Therapy is not covered when rendered for the treatment
   of Developmental Delay.




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22. Maternity Care & Reproductive Health Services

   Covered Services are provided for Network Maternity Care subject to the benefit stated
   in the Schedule of Benefits. If You choose an Out-of-Network Provider, benefits are
   subject to the Deductible and percentage payable provisions as stated in the Schedule
   of Benefits.

   Routine newborn nursery care is part of the mother’s maternity benefits. Benefits are
   provided for well-baby pediatrician visits performed in the Hospital.

   Should the newborn require other than routine nursery care, the baby will be admitted to
   the Hospital in his or her own name. (See “Changing Coverage (Adding a Dependent)”
   to add a newborn to Your coverage.)

   Under federal law, the Plan may not restrict the length of stay to less than the 48/96
   hour periods or require Precertification for either length of stay. The length of
   hospitalization which is Medically Necessary will be determined by the Member’s
   attending Physician in consultation with the mother. Should the mother or infant be
   discharged before 48 hours following a normal delivery or 96 hours following a cesarean
   section delivery, the Member will have access to two post-discharge follow-up visits
   within the 48 or 96 hour period. These visits may be provided either in the Physician’s
   office or in the Member’s home by a Home Health Care Agency. The determination of
   the medically appropriate place of service and the type of provider rendering the service
   will be made by the Member’s attending Physician.

   Contraceptive Benefits

   Benefits include oral contraceptive Drugs, injectable contraceptive Drugs and patches.
   Benefits also include contraceptive devices such as diaphragms, intra uterine devices
   (IUDs), and implants. Certain contraceptives are covered under the “Preventive Care”
   benefit. Please see that section for further details.

   Infertility Services

   Your Plan only includes benefits for the diagnosis of Infertility.

   Sterilization Services

   Benefits include sterilization services and services to reverse a non-elective sterilization
   that resulted from an illness or Injury. Reversals of elective sterilizations are not
   covered. Sterilizations for women are covered under the “Preventive Care” benefit.

23. Medical Care



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  General diagnostic care and treatment of illness or Injury. Some procedures require
  Precertification.

24. Nutritional Counseling

  Nutritional counseling related to the medical management of a disease state as stated
  in the Schedule of Benefits.



25. Out-of-Network Freestanding Ambulatory Facility

  Any services rendered or supplies provided while You are a patient or receiving
  services at or from a Out-of-Network Freestanding Ambulatory Facility will be payable at
  the Maximum Allowed Amount.

26. Out-of-Network Hospital Benefits

  If You are confined in an Out-of-Network Hospital, Your benefits will be significantly
  reduced, as explained in the “Schedule of Benefits” section.

27. Obesity

  Prescription Drugs and any other services or supplies for the treatment of obesity are
  not covered. Surgical treatment of obesity is only covered for patients meeting Medical
  Necessity criteria, as defined by the Plan

28. Oral Surgery

  Covered Services include only the following:

         Fracture of facial bones;

         Removal of impacted teeth;

         Lesions of the mouth, lip, or tongue which require a pathological exam;

         Incision of accessory sinuses, mouth salivary glands or ducts;

         Dislocations of the jaw;

         Treatment of temporomandibular joint syndrome (TMJ) or myofacial pain
          including only removable appliances for TMJ repositioning and related surgery
          and diagnostic services. Covered Services do not include fixed or removable
          appliances which involve movement or repositioning of the teeth, or operative
          restoration of teeth (fillings), or prosthetics (crowns, bridges, dentures);

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         Plastic repair of the mouth or lip necessary to correct traumatic Injuries or
          congenital defects that will lead to functional impairments; and

         Initial services, supplies or appliances for dental care or treatment required as a
          result of, and directly related to, accidental bodily Injury to sound natural teeth or
          structure occurring while a Member is covered by this Plan and performed within
          the timeframes shown in the Schedule of Benefits after the accident.


     Although this Plan covers certain oral surgeries as listed above, many oral surgeries
     are not covered. Covered Services also include the following:

         Orthognathic surgery for a physical abnormality that prevents normal function of
          the upper and/or lower jaw and is Medically Necessary to attain functional
          capacity of the affected part.

         Oral / surgical correction of accidental injuries as indicated in the “Dental
          Services” section.

         Treatment of non-dental lesions, such as removal of tumors and biopsies.

         Incision and drainage of infection of soft tissue not including odontogenic cysts or
          abscesses.


29. Other Covered Services

  Your Plan provides Covered Services when the following services are Medically
  Necessary:
         Chemotherapy and radioisotope, radiation and nuclear medicine therapy

         Diagnostic x-ray and laboratory procedures

         Dressings, splints, casts when provided by a Physician

         Oxygen, blood and components, and administration

         Pacemakers and electrodes

         Use of operating and treatment rooms and equipment

         HIV Testing will be provided on the same basis as other covered diagnostic tests.
          Such tests must be appropriate and necessary for the symptoms, diagnosis or
          treatment of a medical condition.



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      Treatments for Rabies-benefits are provided at 100% of the Allowable Charge.

30. Outpatient CT Scans and MRIs

  These services are covered at regular Plan benefits.

31. Outpatient Hospital Services

  The Plan provides Covered Services when the following outpatient services are
  Medically Necessary: pre-admission tests, surgery, diagnostic X-rays and laboratory
  services. Certain procedures require Precertification.

32. Outpatient Surgery

  Network Hospital Outpatient department or Network Freestanding Ambulatory Facility
  charges are covered at regular Plan benefits. Benefits for treatment by an Out-of-
  Network Hospital are explained under “Hospital Services”.

33. Physical Therapy, Occupational Therapy, Chiropractic Care

  Services by a Physician, a registered physical therapist (R.P.T.), a licensed
  occupational therapist (O.T.), or a licensed chiropractor (D.C.) as outlined in the
  Schedule of Benefits. All services rendered must be within the lawful scope of
  practice of, and rendered personally by, the individual provider. No coverage is
  available when such services are necessitated by Developmental Delay.

34. Physician Services

   You may receive treatment from a Network or Out-of-Network Physician. However,
   payment is significantly reduced if services are received from an Out-of-Network
   Physician.    Such services are subject to Your Deductible and Out-of-Pocket
   requirements.

35. Preventive Care

  Preventive Care services include screenings and other services for adults and children
  with no current symptoms or prior history of a medical condition associated with that
  screening or service.

  Members who have current symptoms or have been diagnosed with a medical condition
  are not considered to require Preventive Care for that condition but instead benefits will
  be considered under the Diagnostic Services benefit.

  Preventive Care Services in this section shall meet requirements as determined by
  Federal law. Many preventive care services are covered by this Plan with no
  Deductible, Copayments or Coinsurance from the Member when provided by a Network

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Provider. That means the Plan pays 100% of the Maximum Allowed Amount. These
services fall under the following broad categories as shown below:

  a)      Services with an “A” or “B” rating from the United States Preventive Services
       Task Force as authorized under the Affordable Care Act (ACA).


               Examples of these services are screenings for:

                         Breast cancer (mammograms);
                         Cervical cancer (Pap smears);
                         Colorectal cancer (colonoscopies);
                         High Blood Pressure;
                         Type 2 Diabetes Mellitus;
                         Cholesterol;
                         Child and Adult Obesity
                         Prostate cancer (PSA/digital rectal exams)


   b) Immunizations for children, adolescents, and adults recommended by the
      Advisory Committee on Immunization Practices of the Centers for Disease
      Control and Prevention,

   c) Preventive care and screenings for infants, children and adolescents as provided
      for in the comprehensive guidelines supported by the Health Resources and
      Services Administration; and

   d) Additional preventive care and screening for women provided for in the
      guidelines supported by the Health Resources and Services Administration,
      including the following:

         i.     Women’s contraceptives, sterilization procedures, and counseling.
                Coverage includes contraceptive devices such as diaphragms, intra
                uterine devices (IUDs), and implants.

        ii.     Breastfeeding support, supplies, and counseling.       Benefits for breast
                pumps are limited to one pump per pregnancy.

        iii.    Gestational diabetes screening.


  e) Preventive care services for tobacco cessation for Members age 18 and older as
     recommended by the United States Preventive Services Task Force including:

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           i.    counseling;

           ii.   Prescription Drugs; and

          iii.   Nicotine replacement therapy products when prescribed by a Provider,
                 including over the counter (OTC) nicotine gum, lozenges and patches.

          iv.    Prescription drugs and OTC items are limited to a no more than 180 day
                 supply per 365 days.



     f) Prescription Drugs and OTC items identified as an A or B recommendation by
           the United States Preventive Services Task Force when prescribed by a
           Provider including:

           i.    aspirin;

           ii.   folic acid supplement;

          iii.   vitamin D supplement;

          iv.    iron supplement; and

           v.    bowel preparations.

     Please note that certain age and gender and quantity limitations apply.

  You may call Customer Service using the number on Your Identification Card for
  additional information about these services or view the Federal government’s web sites,

  http://www.healthcare.gov/center/regulations/prevention.html, or http://www.ahrq.gov, and
  http://www.cdc.gov/vaccines/acip/index.html.)

36. Prosthetic Appliances

  Prosthetic devices to improve or correct conditions resulting from Accidental Injury or
  illness are covered if Medically Necessary and ordered by a Physician.

  Prosthetic devices include: artificial limbs and accessories; artificial eyes, one pair of
  glasses or contact lenses for eyes used after surgical removal of the lens(es) of the
  eye(s); arm braces, leg braces (and attached shoes); and external breast prostheses
  used after breast removal.

  The following items are excluded: corrective shoes; dentures; replacing teeth or
  structures directly supporting teeth, except to correct traumatic Injuries; electrical or

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  magnetic continence aids (either anal or urethral); and implants for cosmetic purposes
  except for reconstruction following a mastectomy.

37. Reconstructive Surgery

  Benefits include reconstructive surgery to correct significant deformities caused by
  congenital or developmental abnormalities, illness, injury or an earlier treatment in order
  to create a more normal appearance . Benefits include surgery performed to restore
  symmetry after a mastectomy. Reconstructive services needed as a result of an earlier
  treatment are covered only if the first treatment would have been a Covered Service
  under this Plan
  Note: Coverage for reconstructive services does not apply to orthognathic surgery. See
  the “Oral Surgery” section above for that benefit.

38. Retail Health Clinic

   Benefits are provided for Covered Services received at a Retail Health Clinic (e.g.,
   CVS Minute Clinics).

39. Skilled Nursing Facility Care

   Benefits are provided as outlined in the Schedule of Benefits. This care must be
   ordered by the attending Physician. All Skilled Nursing Facility admissions must be
   pre-certified. Claims will be reviewed to verify that services consist of Skilled
   Convalescent Care that is medically consistent with the diagnosis.

   Skilled Convalescent Care during a period of recovery is characterized by:

            a favorable prognosis;

            a reasonably predictable recovery time; and

            services and/or facilities less intense than those of the acute general Hospital,
             but greater than those normally available at the Member’s residence.

  Covered Services include:

            semiprivate or ward room charges including general nursing service, meals,
             and special diets. If a Member stays in a private room, this Plan pays the
             Semiprivate Room rate toward the charge for the private room;

            use of special care rooms;

            pathology and radiology;


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          physical or speech therapy;

          oxygen and other gas therapy;

          drugs and solutions used while a patient; or

          gauze, cotton, fabrics, solutions, plaster and other materials used in
           dressings, bandages, and casts.

    This benefit is available only if the patient requires a Physician’s continuous care
    and 24-hour-a-day nursing care.

    Benefits will not be provided when:

          A Member reaches the maximum level of recovery possible and no longer
           requires other than routine care;

          Care is primarily Custodial Care, not requiring definitive medical or 24-hour-a-
           day nursing service;

          Care is for mental illness including drug addiction, chronic brain syndromes
           and alcoholism, and no specific medical conditions exist that require care in a
           Skilled Nursing Facility;

          A Member is undergoing senile deterioration, mental deficiency or retardation,
           and has no medical condition requiring care;

          The care rendered is for other than Skilled Convalescent Care.

40. Surgical Care

   Surgical procedures including the usual pre- and post-operative care. Some
   procedures require Precertification.
41. Treatment of Accidental Injury in a Physician’s Office

    All Outpatient surgical procedures related to the treatment of an Accidental Injury,
    when provided in a Physician’s office, will be covered under the Member’s
    Physician’s office benefit if services are rendered by a Network Provider; services
    rendered by Out-of-Network Providers are subject to Deductible and Coinsurance
    requirements.
42. Prescription Drugs Administered by a Medical Provider

    This Plan covers Prescription Drugs when they are administered to You as part of a
    doctor’s visit, home care visit, or at an outpatient Facility. This includes Drugs for


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   infusion therapy, chemotherapy, Specialty Drugs, blood products, and office-based
   injectables and any drug that must be administered by a Provider. This section
   applies when your Provider orders the Drug and administers it to You. Benefits for
   Drugs that You inject or get at a Pharmacy (i.e., self-administered injectable Drugs)
   are not covered under this section. Benefits for those Drugs are described in the
   “Prescription Drug Benefit at a Retail or Home Delivery (Mail Order) Pharmacy”
   section.

   Note: When Prescription Drugs are covered under this benefit, they will not also be
   covered under your Employer’s Prescription Drug Plan. Also, if Prescription Drugs
   are covered under your Employer’s Prescription Drug Plan they will not be covered
   under this benefit.

   c) LIMITATIONS AND EXCLUSIONS

1. Any disease or Injury resulting from a war, declared or not, or any military duty or
   any release of nuclear energy. Also excluded are charges for services directly
   related military service provided or available from the Veterans' Administration or
   military facilities except as required by law.

2. Services for Custodial Care.
3. Services for confinement for custodial or convalescent care, rest cures or long-term
   custodial Hospital care.
4. Dental care and treatment and oral surgery (by Physicians or dentists) including
   dental surgery; dental appliances; dental prostheses such as crowns, bridges, or
   dentures; implants; orthodontic care; operative restoration of teeth (fillings); dental
   extractions; endodontic care; apicoectomies; excision of radicular cysts or
   granuloma; treatment of dental caries, gingivitis, or periodontal disease by
   gingivectomies or other periodontal surgery. Any treatment of teeth, gums or tooth
   related service except otherwise specified as covered in this Benefit Booklet.
5. Charges for treatment received before coverage under this option began or after it is
   terminated.
6. Treatments, procedures, equipment, drugs, devices or supplies (hereafter called
   "services") which are, in the Claims Administrator’s judgment, Experimental or
   Investigational for the diagnosis for which the Member is being treated.
7. Services, treatment or supplies not generally accepted in medical practice for the
   prevention, diagnosis or treatment of an illness or injury, as determined by the
   Claims Administrator.
8. Foot care only to improve comfort or appearance, routine care of corns, bunions
   (except capsular or related surgery), calluses, toenail (except surgical removal or

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   care rendered as treatment of the diabetic foot or ingrown toenails), flat feet, fallen
   arches, weak feet, chronic foot strain, or asymptomatic complaints related to the
   feet. Coverage is available, however, for Medically Necessary foot care required as
   part of the treatment of diabetes and for Members with impaired circulation to the
   lower extremities.
9. Shoe inserts, orthotics (will be covered if prescribed by a physician for diseases of
   the foot or systemic diseases that affect the foot such as diabetes when deemed
   medically necessary).
10. Treatment where payment is made by any local, state, or federal government
    (except Medicaid), or for which payment would be made if the Member had applied
    for such benefits. Services that can be provided through a government program for
    which You as a member of the community are eligible for participation. Such
    programs include, but are not limited to, school speech and reading programs.
11. Services paid under Medicare. With respect to end-stage renal disease (ESRD),
    after 30 months, Medicare shall be treated as the primary payor whether or not the
    Participant has enrolled in Medicare Part B.
12. Services covered under Workers’ Compensation, no-fault automobile insurance
    and/or services covered by similar statutory programs.
13. Court-ordered services, or those required by court order as a condition of parole or
    probation, unless Medically Necessary and approved by the Plan.
14. Outpatient prescription drugs prescribed by a physician and purchased or obtained
    from a retail pharmacy or retail pharmacist or a mail service pharmacy are excluded.
    These may be covered by a separate drug card program but not under this medical
    plan. Although coverage for Outpatient Prescription Drugs obtained from a retail
    pharmacy or pharmacist or mail service Pharmacy is excluded, certain Prescription
    Drugs are covered under your medical benefits when rendered in a Hospital, in a
    Physician’s office, or as part of a Home Health Care benefit. Therefore, this
    exclusion does not apply to prescription drugs provided as Ancillary Services during
    an Inpatient stay or an Outpatient Surgical procedure; to prescription drugs used in
    conjunction with a Diagnostic Service; Chemotherapy performed in the office; home
    infusion or home IV therapy, nor drugs administered in your Physician’s office.

15. Drugs, devices, products, or supplies with over the counter equivalents and any
    Drugs, devices, products, or supplies that are therapeutically comparable to an over
    the counter Drug, device, product, or supply.
16. Care, supplies, or equipment not Medically Necessary, as determined by the Claims
    Administrator, for the treatment of an Injury or illness. This includes, but is not limited



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   to, care which does not meet The Claims Administrator’s medical policy, clinical
   coverage guidelines, or benefit policy guidelines.
17. Vitamins, minerals and food supplements, as well as vitamin injections not
    determined to be medically necessary in the treatment of a specific illness.
    Nutritional supplements, services, supplies and/or nutritional sustenance products
    (food) related to enteral feeding, except when determined to be medically necessary.
18. Services for Hospital confinement primarily for diagnostic studies.
19. Cosmetic Surgery, reconstructive surgery, pharmacological services, nutritional
    regimens or other services for beautification, or treatment relating to the
    consequences of, or as a result of, Cosmetic Surgery, except for reconstructive
    surgery following a mastectomy or when medically necessary to correct damage
    caused by an accident, an injury or to correct a congenital defect.
20. Donor Search/Compatibility, except as otherwise indicated.
21. Contraceptive Drugs, except for any above stated covered contraceptive
    devices.(See prescription drug benefits)
22. In-vitro Fertilization and Artificial Insemination.

23. Hair transplants, hairpieces or wigs (except when necessitated by disease), wig
    maintenance, or prescriptions or medications related to hair growth.
24. Services and supplies primarily for educational, vocational or training purposes,
    including but not limited to structured teaching, applied behavioral analysis, or
    educational interventions, except as expressly provided in this Benefit Booklet.
25. Religious, marital and sex counseling, including services and treatment related to
    religious counseling, marital/relationship counseling and sex therapy.
26. Christian Science Practitioner Services.
27. Services and supplies for smoking cessation programs and treatment of nicotine
    addiction, including gum, patches, and prescription drugs to eliminate or reduce the
    dependency on or addiction to tobacco and tobacco products unless otherwise
    required by law. (See prescription drug benefits)

28. Services provided in a Residential Treatment Center (RTC).


29. Services provided in a Halfway House.
30. Treatment or services provided by a non-licensed Provider, or that do not require a
    license to provide; services that consist of supervision by a Provider of a non-
    licensed person; services performed by a relative of a Member for which, in the
    absence of any health benefits coverage, no charge would be made; services

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   provided to the Member by a local, state or federal government agency, or by a
   public school system or school district, except when the plan’s benefits must be
   provided by law; services if the Member is not required to pay for them or they are
   provided to the Member for free.
31. Routine care is not covered. Except for above stated covered preventive care
    services.
32. Services or supplies provided by a member of your family or household.
33. Charges or any portion of a charge in excess of the Maximum Allowed Amount as
    determined by the Claims Administrator for out-of-network claims.
34. Fees or charges made by an individual, agency or facility operating beyond the
    scope of its license.
35. Services and supplies for which you have no legal obligation to pay, or for which no
    charge has been made or would be made if you had no health insurance coverage.
36. Services for any form of telecommunication, unless otherwise noted in the benefits.
37. Charges for any of the following:
       a) Failure to keep a scheduled visit;
       b) Completion of claim forms or medical records or reports unless otherwise
          required by law;
       c) For Physician or Hospital's stand-by services;
       d) For holiday or overtime rates.
       e) Membership, administrative, or access fees charged by Physicians or other
          Providers. Examples of administrative fees include, but are not limited to, fees
          charged for educational brochures or calling a patient to provide their test
          results.
       f) Specific medical reports including those not directly related to the treatment of
          the Member, e.g., employment or insurance physicals, and reports prepared
          in connection with litigation.
38. Separate charges by interns, residents, house Physicians or other health care
    professionals who are employed by the covered facility, which makes their services
    available.
39. Personal comfort items such as those that are furnished primarily for your personal
    comfort or convenience, including those services and supplies not directly related to
    medical care, such as guest's meals and accommodations, barber services,
    telephone charges, radio and television rentals, homemaker services, travel
    expenses, and take-home supplies.

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40. Reversal of vasectomy or reversal of tubal ligation.
41. Salabrasion, chemosurgery and other such skin abrasion procedures associated
    with the removal of scars, tattoos, and actinic changes.
42. Services for outpatient therapy or rehabilitation other than those specifically listed as
    covered in this Benefit Booklet. Excluded forms of therapy include, but are not
    limited to, primal therapy, chelation therapy, rolfing, psychodrama, megavitamin
    therapy, purging, bioenergetic therapy, in-home wrap around treatment, wilderness
    therapy and boot camp therapy.
43. Vision care services and supplies, including but not limited to eyeglasses, contact
    lenses and related or routine examinations and services. Eye refractions. Analysis
    of vision or the testing of its acuity. Service or devices to correct vision or for advice
    on such service. Orthoptic training is covered. This exclusion does not apply for
    initial prosthetic lenses or sclera shells following intraocular surgery or for soft
    contact lenses due to a medical condition, i.e. diabetes.(See Vision Plan for
    coverage.) (See vision benefit)
44. Related to radial keratotomy or keratomileusis or excimer laser photo refractive
    keratectomy; and surgery, services or supplies for the surgical correction of
    nearsightedness and/or astigmatism or any other correction of vision due to a
    refractive problem.
45. Services for weight loss programs, services and supplies. Weight loss programs
    included but are not limited to, commercial weight loss programs (Weight Watcher,
    Jenny Craig, and LA Weight Loss).


   d) CLAIMS PAYMENT

Providers who participate in the BlueCard® PPO Network have agreed to submit claims
directly to the local Blue Cross and/or Blue Shield plan in their area. Therefore if the
BlueCard® PPO Network Hospitals, Physicians and Ancillary Providers are used, claims
for their services will generally not have to be filed by the Member. In addition, many
Out-of-Network Hospitals and Physicians will also file claims if the information on the
Blue Cross and Blue Shield Identification Card is provided to them. If the provider
requests a claim form to file a claim, a claim form can be obtained by contacting the HR
Service Center at 1-800-344-8339 or by email to hrsc@volvo.com or by visiting
www.anthem.com.

Please note You may be required to complete an authorization form in order to have
Your claims and other personal information sent to the Claims Administrator when You
receive care in foreign countries. Failure to submit such authorizations may prevent


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foreign providers from sending Your claims and other personal information to the Claims
Administrator.

1. How to File Claims

   Under normal conditions, the Claims Administrator should receive the proper claim
   form within 12 months after the service was provided. This section of the Benefit
   Booklet describes when to file a benefits claim and when a Hospital or Physician will
   file the claim for You.

   Each person enrolled through the Plan receives an Identification Card. Remember,
   in order to receive full benefits, You must receive treatment from a Network Provider.
   When admitted to a Network Hospital, present Your Identification Card. Upon
   discharge, You will be billed only for those charges not covered by the Plan.

   When You receive Covered Services from a Network Physician or other Network
   licensed health care provider, payment for Covered Services will be made directly to
   the provider.
   For health care expenses other than those billed by a Network Provider, use a claim
   form to report Your expenses. You may obtain these from the HR Service Center or
   the Claims Administrator. Claims should include Your name, Plan and Group
   numbers exactly as they appear on Your Identification Card. Attach all bills to the
   claim form and file directly with the Claims Administrator. Be sure to keep a
   photocopy of all forms and bills for Your records. The address is on the claim form.

   Save all bills and statements related to Your illness or Injury. Make certain they are
   itemized to include dates, places and nature of services or supplies.


2. Maximum Allowed Amount


   a) General

      This section describes how the Claims Administrator determines the amount of
      reimbursement for Covered Services. Reimbursement for services rendered by
      Network and Out-of-Network Providers is based on this Plan’s Maximum Allowed
      Amount for the Covered Service that You receive. Please see the Inter-Plan
      Programs section for additional information.

      The Maximum Allowed Amount for this Plan is the maximum amount of
      reimbursement Anthem will allow for services and supplies:




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         that meet Our definition of Covered Services, to the extent such services and
          supplies are covered under Your Plan and are not excluded;

         that are Medically Necessary; and

         that are provided in accordance with all applicable preauthorization, utilization
          management or other requirements set forth in Your Plan.

      You will be required to pay a portion of the Maximum Allowed Amount to the
      extent You have not met Your Deductible or have a Copayment or Coinsurance.
      In addition, when You receive Covered Services from an Out-of-Network
      Provider, You may be responsible for paying any difference between the
      Maximum Allowed Amount and the Provider’s actual charges. This amount can
      be significant.

      When You receive Covered Services from a Provider, the Claims Administrator
      will, to the extent applicable, apply claim processing rules to the claim submitted
      for those Covered Services. These rules evaluate the claim information and,
      among other things, determine the accuracy and appropriateness of the
      procedure and diagnosis codes included in the claim. Applying these rules may
      affect Claims Administrator’s determination of the Maximum Allowed Amount.
      The Claims Administrator’s application of these rules does not mean that the
      Covered Services You received were not Medically Necessary. It means the
      Claims Administrator has determined that the claim was submitted inconsistent
      with procedure coding rules and/or reimbursement policies. For example, Your
      Provider may have submitted the claim using several procedure codes when
      there is a single procedure code that includes all of the procedures that were
      performed. When this occurs, the Maximum Allowed Amount will be based on
      the single procedure code rather than a separate Maximum Allowed Amount for
      each billed code.

      Likewise, when multiple procedures are performed on the same day by the same
      Physician or other healthcare professional, the Plan may reduce the Maximum
      Allowed Amounts for those secondary and subsequent procedures because
      reimbursement at 100% of the Maximum Allowed Amount for those procedures
      would represent duplicative payment for components of the primary procedure
      that may be considered incidental or inclusive.

b) Provider Network Status

   The Maximum Allowed Amount may vary depending upon whether the Provider is a
   Network Provider or an Out-of-Network Provider.



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A Network Provider is a Provider who is in the managed network for this specific
product or in a special Center of Excellence or other closely managed specialty
network, or who has a participation contract with the Claims Administrator. For
Covered Services performed by a Network Provider, the Maximum Allowed Amount
for this Plan is the rate the Provider has agreed with the Claims Administrator to
accept as reimbursement for the Covered Services. Because Network Providers
have agreed to accept the Maximum Allowed Amount as payment in full for those
Covered Services, they should not send You a bill or collect for amounts above the
Maximum Allowed Amount. However, You may receive a bill or be asked to pay all
or a portion of the Maximum Allowed Amount to the extent You have not met Your
Deductible or have a Copayment or Coinsurance. Please call Customer Service for
help in finding a Network Provider or visit www.anthem.com.

Providers who have not signed any contract with the Claims Administrator and are
not in any of the Claims Administrator’s networks are Out-of-Network Providers,
subject to Blue Cross Blue Shield Association rules governing claims filed by certain
ancillary providers.

For Covered Services You receive from an Out-of-Network Provider, the Maximum
Allowed Amount for this Plan will be one of the following as determined by the
Claims Administrator:

         i.     An amount based on the Claims Administrator’s Out-of-Network
               Provider fee schedule/rate, which the Claims Administrator has
               established in its’ discretion, and which the Claims Administrator
               reserves the right to modify from time to time, after considering one or
               more of the following: reimbursement amounts accepted by like/similar
               providers contracted with the Claims Administrator, reimbursement
               amounts paid by the Centers for Medicare and Medicaid Services for
               the same services or supplies, and other industry cost, reimbursement
               and utilization data; or

        ii.    An amount based on reimbursement or cost information from the
               Centers for Medicare and Medicaid Services (“CMS”). When basing
               the Maximum Allowed amount upon the level or method of
               reimbursement used by CMS, the Administrator will update such
               information, which is unadjusted for geographic locality, no less than
               annually; or

        iii.   An amount based on information provided by a third party vendor,
               which may reflect one or more of the following factors: (1) the
               complexity or severity of treatment; (2) level of skill and experience


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             required for the treatment; or (3) comparable providers’ fees and costs
             to deliver care; or

      iii.   An amount negotiated by the Claims Administrator or a third party
             vendor which has been agreed to by the Provider. This may include
             rates for services coordinated through case management; or

      iv.    An amount based on or derived from the total charges billed by the
             Out-of-Network Provider.

     Providers who are not contracted for this product, but contracted for other
     products with the Claims Administrator are also considered Out-of-Network.
     For this Plan, the Maximum Allowed Amount for services from these
     Providers will be one of the five methods shown above unless the contract
     between the Claims Administrator and that Provider specifies a different
     amount.

     Unlike Network Providers, Out-of-Network Providers may send You a bill and
     collect for the amount of the Provider’s charge that exceeds the Plan’s
     Maximum Allowed Amount. You are responsible for paying the difference
     between the Maximum Allowed Amount and the amount the Provider
     charges. This amount can be significant. Choosing a Network Provider will
     likely result in lower Out of Pocket costs to You. Please call Customer Service
     for help in finding a Network Provider or visit the Claims Administrator’s
     website at www.anthem.com.

     Customer Service is also available to assist You in determining this Plan’s
     Maximum Allowed Amount for a particular service from an Out-of-Network
     Provider. In order for the Claims Administrator to assist You, You will need to
     obtain from Your Provider the specific procedure code(s) and diagnosis
     code(s) for the services the Provider will render. You will also need to know
     the Provider’s charges to calculate Your Out of Pocket responsibility.
     Although Customer Service can assist You with this pre-service information,
     the final Maximum Allowed Amount for Your claim will be based on the actual
     claim submitted by the Provider.

c) Member Cost Share


      i. For certain Covered Services and depending on Your plan design, You
         may be required to pay a part of the Maximum Allowed Amount as Your
         cost share amount (for example, Deductible, Copayment, and/or
         Coinsurance).


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      ii. Your cost share amount and Out-of-Pocket Limits may vary depending on
          whether You received services from a Network or Out-of-Network
          Provider. Specifically, You may be required to pay higher cost sharing
          amounts or may have limits on Your benefits when using Out-of-Network
          Providers. Please see the Schedule of Benefits in this Benefit Booklet for
          Your cost share responsibilities and limitations, or call Customer Service
          to learn how this Plan’s benefits or cost share amounts may vary by the
          type of Provider You use.

     iii. The Plan will not provide any reimbursement for non-Covered Services.
          You may be responsible for the total amount billed by Your Provider for
          non-Covered Services, regardless of whether such services are performed
          by a Network or Out-of-Network Provider. Non-Covered Services include
          services specifically excluded from coverage by the terms of this Benefit
          Booklet    and    services    received     after  benefits  have   been
          exhausted. Benefits        may       be    exhausted by    exceeding, for
          example, benefit caps or day/visit limits.

     iv. In some instances You may only be asked to pay the lower Network cost
         sharing amount when You use an Out-of-Network Provider. For example,
         if You go to a Network Hospital or Provider facility and receive Covered
         Services from an Out-of-Network Provider such as a radiologist,
         anesthesiologist or pathologist who is employed by or contracted with a
         Network Hospital or facility, You will pay the Network cost share amounts
         for those Covered Services. However, You also may be liable for the
         difference between the Maximum Allowed Amount and the Out-of-Network
         Provider’s charge.

d) Authorized Services

   In some circumstances, such as where there is no Network Provider available for
   the Covered Service, the Plan may authorize the Network cost share amounts
   (Deductible, Copayment, and/or Coinsurance) to apply to a claim for a Covered
   Service You receive from an Out-of-Network Provider. In such circumstance,
   You must contact the Claims Administrator in advance of obtaining the Covered
   Service. The Plan also may authorize the Network cost share amounts to apply
   to a claim for Covered Services if You receive Emergency services from an Out-
   of-Network Provider and are not able to contact the Claims Administrator until
   after the Covered Service is rendered. If the Plan authorizes a Network cost
   share amount to apply to a Covered Service received from an Out-of-Network
   Provider, You also may still be liable for the difference between the Maximum



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      Allowed Amount and the Out-of-Network Provider’s charge.         Please contact
      Customer Service for Authorized Services information or to request authorization.


3. Services Performed During Same Session

The Plan may combine the reimbursement of Covered Services when more than one
service is performed during the same session. Reimbursement is limited to the Plan’s
Maximum Allowed Amount. If services are performed by Out-of-Network Providers,
then You are responsible for any amounts charged in excess of the Plan’s Maximum
Allowed Amount with or without a referral or regardless if allowed as an Authorized
Service. Contact the Claims Administrator for more information.


4. Processing Your Claim

You are responsible for submitting Your claims for expenses not normally billed by and
payable to a Hospital or Physician. Always make certain You have Your Identification
Card with You. Be sure Hospital or Physician’s office personnel copy Your name, and
identification numbers (including the 3-letter prefix) accurately when completing forms
relating to Your coverage.


5. Timeliness of Filing for Member Submitted Claims

To receive benefits, a properly completed claim form with any necessary reports and
records must be filed by You within 12 months of the date of service. Payment of
claims will be made as soon as possible following receipt of the claim, unless more time
is required because of incomplete or missing information. In this case, You will be
notified of the reason for the delay and will receive a list of all information needed to
continue processing Your claim. After this data is received, the Claims Administrator will
complete claims processing. No request for an adjustment of a claim can be submitted
later than 24 months after the claim has been paid.


6. Necessary Information

In order to process Your claim, the Claims Administrator may need information from the
provider of the service. As a Member, You agree to authorize the Physician, Hospital,
or other provider to release necessary information.
The Claims Administrator will consider such information confidential. However, the Plan
and the Claims Administrator have the right to use this information to defend or explain
a denied claim.



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7. Claims Review

The Claims Administrator has processes to review claims before and after payment to
detect fraud, waste, abuse and other inappropriate activity. Members seeking services
from Out-of-Network Providers could be balanced billed by the Out-of-Network Provider
for those services that are determined to be not payable as a result of these review
processes. A claim may also be determined to be not payable due to a Provider's
failure to submit medical records with the claims that are under review in these
processes.


8. Explanation of Benefits

After You receive medical care, You will generally receive an Explanation of Benefits
(EOB). The EOB is a summary of the coverage You receive. The EOB is not a bill, but
a statement sent by the Claims Administrator, to help You understand the coverage You
are receiving. The EOB shows:

       total amounts charged for services/supplies received;

       the amount of the charges satisfied by Your coverage;

       the amount for which You are responsible (if any); and

       general information about Your Appeals rights and for ERISA plans, information
        regarding the right to bring an action after the Appeals process.


9. Inter-Plan Programs


a) Out-of-Area Services

   Anthem has a variety of relationships with other Blue Cross and/or Blue Shield
   Licensees referred to generally as “Inter-Plan Programs.” Whenever You obtain
   healthcare services outside of Anthem’s service area, the claims for these services
   may be processed through one of these Inter-Plan Programs, which include the
   BlueCard Program and may include negotiated National Account arrangements
   available between Anthem and other Blue Cross and Blue Shield Licensees.

   Typically, when accessing care outside Anthem’s service area, You will obtain care
   from healthcare Providers that have a contractual agreement (i.e., are “participating
   providers”) with the local Blue Cross and/or Blue Shield Licensee in that other
   geographic area (“Host Blue”). In some instances, You may obtain care from


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  nonparticipating healthcare Providers. Anthem’s payment practices in both instances
  are described below.

b) BlueCard® Program

  Under the BlueCard® Program, when You access covered healthcare services
  within the geographic area served by a Host Blue, Anthem will remain responsible
  for fulfilling Anthem’s contractual obligations. However, the Host Blue is responsible
  for contracting with and generally handling all interactions with its participating
  healthcare Providers.

  Whenever You access covered healthcare services outside Anthem’s service area
  and the claim is processed through the BlueCard Program, the amount You pay for
  covered healthcare services is calculated based on the lower of:

               The billed covered charges for Your Covered Services; or

               The negotiated price that the Host Blue makes available to Anthem.

  Often, this “negotiated price” will be a simple discount that reflects an actual price
  that the Host Blue pays to Your healthcare Provider. Sometimes, it is an estimated
  price that takes into account special arrangements with Your healthcare Provider or
  Provider group that may include types of settlements, incentive payments, and/or
  other credits or charges. Occasionally, it may be an average price, based on a
  discount that results in expected average savings for similar types of healthcare
  Providers after taking into account the same types of transactions as with an
  estimated price.

  Estimated pricing and average pricing, going forward, also take into account
  adjustments to correct for over- or underestimation of modifications of past pricing
  for the types of transaction modifications noted above. However, such adjustments
  will not affect the price Anthem uses for Your claim because they will not be applied
  retroactively to claims already paid.

  Federal law or the laws in a small number of states may require the Host Blue to add
  a surcharge to your calculation. If federal law or any state laws mandate other
  liability calculation methods, including a surcharge, the Claims Administrator would
  then calculate your liability for any covered healthcare services according to
  applicable law.

  You will be entitled to benefits for healthcare services that You accessed either
  inside or outside the geographic area Anthem serves, if this Booklet covers those
  healthcare services. Due to variations in Host Blue network protocols, You may also
  be entitled to benefits for some healthcare services obtained outside the geographic

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       area Anthem serves, even though You might not otherwise have been entitled to
       benefits if You had received those healthcare services inside the geographic area
       Anthem serves. But in no event will You be entitled to benefits for healthcare
       services, wherever You received them that are specifically excluded from, or in
       excess of the limits of, coverage provided by this Plan.

c) Non-Participating Healthcare Providers Outside Anthem’s Service Area

  i.      Member Liability Calculation

          When covered healthcare services are provided outside of the Claims
          Administrator’s Service Area by non-participating healthcare providers, the
          amount You pay for such services will generally be based on either the Host
          Blue’s nonparticipating healthcare provider local payment or the pricing
          arrangements required by applicable state law. In these situations, You may be
          liable for the difference between the amount that the non-participating healthcare
          provider bills and the payment the Claims Administrator will make for the
          Covered Services as set forth in this paragraph.

 ii.      Exceptions

          In certain situations, the Claims Administrator may use other payment bases,
          such as billed covered charges, the payment the Administrator would make if the
          healthcare services had been obtained within the Claims Administrator’s Service
          Area, or a special negotiated payment, as permitted under Inter-Plan Programs
          Policies, to determine the amount the Administrator will pay for services rendered
          by nonparticipating healthcare providers. In these situations, You may be liable
          for the difference between the amount that the non-participating healthcare
          provider bills and the payment the Claims Administrator will make for the
          Covered Services as set forth in this paragraph.

          If You obtain services in a state with more than one Blue Plan network, an
          exclusive network arrangement may be in place. If You see a Provider who is
          not part of an exclusive network arrangement, that Provider’s service(s) will be
          considered Out-of-Network care, and You may be billed the difference between
          the charge and the Maximum Allowable Amount. You may call the Customer
          Service number on Your ID card or go to www.anthem.com for more information
          about such arrangements.


10. Unauthorized Use of Identification Card

       If You permit Your Identification Card to be used by someone else or if You use the
       card before coverage is in effect or after coverage has ended, You will be liable for


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   payment of any expenses incurred resulting from the unauthorized use. Fraudulent
   misuse could also result in termination of the coverage. Fraudulent statements on
   enrollment forms and/or claims for services or payment involving all media (paper or
   electronic) may invalidate any payment or claims for services and be grounds for
   voiding the Member’s coverage. This includes fraudulent acts to obtain medical
   services and/or Prescription Drugs.


11. Assignment

   You authorize the Claims Administrator, on behalf of the Employer, to make
   payments directly to Providers for Covered Services. The Claims Administrator also
   reserves the right to make payments directly to You. Payments may also be made
   to, and notice regarding the receipt and/or adjudication of claims, an Alternate
   Recipient, or that person’s custodial parent or designated representative. Any
   payments made by the Claims Administrator will discharge the Employer’s obligation
   to pay for Covered Services. You cannot assign Your right to receive payment to
   anyone else, except as required by a “Qualified Medical Child Support Order” as
   defined by ERISA or any applicable Federal law.

   Once a Provider performs a Covered Service, the Claims Administrator will not
   honor a request to withhold payment of the claims submitted.

   The coverage and any benefits under the Plan are not assignable by any Member
   without the written consent of the Plan, except as provided above.


12. Questions About Coverage or Claims

   If You have questions about Your coverage, contact Your Plan Administrator or the
   Claims Administrator’s Customer Service Department. Be sure to always give Your
   Member Identification number.

          When asking about a claim, give the following information:
             identification number;

             patient’s name and address;

             date of service and type of service received; and

             provider name and address (Hospital or Physician).

   To find out if a Hospital or Physician is a Network Provider, call them directly or call
   the Claims Administrator.


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   The Plan does not supply You with a Hospital or Physician. In addition, neither the
   Plan nor the Claims Administrator is responsible for any Injuries or damages You
   may suffer due to actions of any Hospital, Physician or other person. In order to
   process Your claims, the Claims Administrator or the Plan Administrator may
   request additional information about the medical treatment You received and/or
   other group health insurance You may have. This information will be treated
   confidentially.

   An oral explanation of Your benefits by an employee of the Claims Administrator,
   Plan Administrator or Plan Sponsor is not legally binding.

   Any correspondence mailed to You will be sent to Your most current address. You
   are responsible for notifying the Plan Administrator or the Claims Administrator of
   Your new address.

   e) SUBROGATION AND REIMBURSEMENT

   These provisions apply when the Plan pays benefits as a result of injuries or
   illnesses You sustained and You have a right to a Recovery or have received a
   Recovery from any source.

1. Recovery

   A “Recovery” includes, but is not limited to, monies received from any person or
   party, any person’s or party’s liability insurance, uninsured/underinsured motorist
   proceeds, workers’ compensation insurance or fund, “no-fault” insurance and/or
   automobile medical payments coverage, whether by lawsuit, settlement or
   otherwise. Regardless of how You or Your representative or any agreements
   characterize the money You receive as a Recovery, it shall be subject to these
   provisions.

2. Subrogation

   The Plan has the right to recover payments it makes on Your behalf from any party
   responsible for compensating You for Your illnesses or injuries. The following apply:

         The Plan has first priority from any Recovery for the full amount of benefits it
          has paid regardless of whether You are fully compensated, and regardless of
          whether the payments You receive make You whole for Your losses, illnesses
          and/or injuries.

         You and Your legal representative must do whatever is necessary to enable
          the Plan to exercise the Plan's rights and do nothing to prejudice those rights.



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        In the event that You or Your legal representative fail to do whatever is
         necessary to enable the Plan to exercise its subrogation rights, the Plan shall
         be entitled to deduct the amount the Plan paid from any future benefits under
         the Plan.

        The Plan has the right to take whatever legal action it sees fit against any
         person, party or entity to recover the benefits paid under the Plan.

        To the extent that the total assets from which a Recovery is available are
         insufficient to satisfy in full the Plan's subrogation claim and any claim held by
         You, the Plan's subrogation claim shall be first satisfied before any part of a
         Recovery is applied to Your claim, Your attorney fees, other expenses or
         costs.

        The Plan is not responsible for any attorney fees, attorney liens, other
         expenses or costs You incur without the Plan's prior written consent. The
         ''common fund'' doctrine does not apply to any funds recovered by any
         attorney You hire regardless of whether funds recovered are used to repay
         benefits paid by the Plan.

3. Reimbursement

  If You obtain a Recovery and the Plan has not been repaid for the benefits the Plan
  paid on Your behalf, the Plan shall have a right to be repaid from the Recovery in the
  amount of the benefits paid on Your behalf and the following provisions will apply:

        You must reimburse the Plan from any Recovery to the extent of benefits the
         Plan paid on Your behalf regardless of whether the payments You receive
         make You whole for Your losses, illnesses and/or injuries.

        Notwithstanding any allocation or designation of Your Recovery (e.g., pain
         and suffering) made in a settlement agreement or court order, the Plan shall
         have a right of full recovery, in first priority, against any Recovery. Further,
         the Plan’s rights will not be reduced due to Your negligence.

        You and Your legal representative must hold in trust for the Plan the proceeds
         of the gross Recovery (i.e., the total amount of Your Recovery before attorney
         fees, other expenses or costs) to be paid to the Plan immediately upon Your
         receipt of the Recovery. You must reimburse the Plan, in first priority and
         without any set-off or reduction for attorney fees, other expenses or costs.
         The ''common fund'' doctrine does not apply to any funds recovered by any
         attorney You hire regardless of whether funds recovered are used to repay
         benefits paid by the Plan.


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         If You fail to repay the Plan, the Plan shall be entitled to deduct any of the
          unsatisfied portion of the amount of benefits the Plan has paid or the amount
          of Your Recovery whichever is less, from any future benefit under the Plan if:

           1. the amount the Plan paid on Your behalf is not repaid or otherwise
              recovered by the Plan; or

           2. You fail to cooperate.

         In the event that You fail to disclose the amount of Your settlement to the
          Plan, the Plan shall be entitled to deduct the amount of the Plan’s lien from
          any future benefit under the Plan.

         The Plan shall also be entitled to recover any of the unsatisfied portions of the
          amount the Plan has paid or the amount of Your Recovery, whichever is less,
          directly from the Providers to whom the Plan has made payments on Your
          behalf. In such a circumstance, it may then be Your obligation to pay the
          Provider the full billed amount, and the Plan will not have any obligation to
          pay the Provider or reimburse You.

         The Plan is entitled to reimbursement from any Recovery, in first priority, even
          if the Recovery does not fully satisfy the judgment, settlement or underlying
          claim for damages or fully compensate You or make You whole.


4. Your Duties

         You must notify the Plan promptly of how, when and where an accident or
          incident resulting in personal Injury or illness to You occurred and all
          information regarding the parties involved.

         You must cooperate with the Plan in the investigation, settlement and
          protection of the Plan's rights. In the event that You or Your legal
          representative fail to do whatever is necessary to enable the Plan to exercise
          its subrogation or reimbursement rights, the Plan shall be entitled to deduct
          the amount the Plan paid from any future benefits under the Plan.

         You must not do anything to prejudice the Plan's rights.

         You must send the Plan copies of all police reports, notices or other papers
          received in connection with the accident or incident resulting in personal
          Injury or illness to You.




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        You must promptly notify the Plan if You retain an attorney or if a lawsuit is
         filed on Your behalf.

  The Plan Sponsor has sole discretion to interpret the terms of the Subrogation and
  Reimbursement provision of this Plan in its entirety and reserves the right to make
  changes as it deems necessary.

  If the covered person is a minor, any amount recovered by the minor, the minor’s
  trustee, guardian, parent, or other representative, shall be subject to this provision.
  Likewise, if the covered person’s relatives, heirs, and/or assignees make any
  Recovery because of injuries sustained by the covered person, that Recovery shall
  be subject to this provision.

  The Plan shall be secondary in coverage to any medical payments provision, no-
  fault automobile insurance policy or personal Injury protection policy regardless of
  any election made by You to the contrary. The Plan shall also be secondary to any
  excess insurance policy, including, but not limited to, school and/or athletic policies.

  The Plan is entitled to recover its attorney’s fees and costs incurred in enforcing this
  provision.



  General Information

1. Workers’ Compensation

  The benefits under the Plan are not designed to duplicate any benefit for which
  Members are eligible under the Workers’ Compensation Law. All sums paid or
  payable by Workers’ Compensation for services provided to a Member shall be
  reimbursed by, or on behalf of, the Member to the Plan to the extent the Plan has
  made or makes payment for such services. It is understood that coverage
  hereunder is not in lieu of, and shall not affect, any requirements for coverage under
  Workers’ Compensation or equivalent employer liability or indemnification law.
2. Other Government Programs

  Except insofar as applicable law would require the Plan to be the primary payor, the
  benefits under the Plan shall not duplicate any benefits to which Members are
  entitled, or for which they are eligible under any other governmental program. To
  the extent the Plan has duplicated such benefits, all sums payable under such
  programs for services to Members shall be paid by or on behalf of the Member to the
  Plan.



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3. Medicare Program

   When You are eligible for the Medicare program and Medicare is allowed by federal
   law to be the primary payor, the benefits described in this Benefit Description will be
   reduced by the amount of benefits allowed under Medicare for the same Covered
   Services.


       If You Are Under Age 65 With End Stage Renal Disease (ESRD)

        If You are under age 65 and eligible for Medicare only because of ESRD
        (permanent kidney failure), the Plan will provide the benefits described in this
        Benefit Description before Medicare benefits. This includes the Medicare “three
        month waiting period” and the additional 30 months after the Medicare effective
        date. After 33 months, the benefits described in this Benefit Description will be
        reduced by the amount that Medicare allows for the same Covered Services.
       If You Are Under Age 65 With Other Disability

        If You are under age 65 and eligible for Medicare only because of a disability
        other than ESRD, the Plan will provide the benefits described in this Benefit
        Description before Medicare benefits. This is the case only if You are the actively
        employed Subscriber or the enrolled Spouse or child of the actively employed
        Subscriber and you are not receiving reimbursement for Part B Medicare
        premiums from the Company because you are enrolled in Medicare Part B.
       If You Are Age 65 or Older

      If You are age 65 or older and eligible for Medicare only because of age, the Plan
      will provide the benefits described in this Benefit Description before Medicare.
      This can be the case only if You are an actively employed Subscriber or the
      enrolled Spouse of the actively employed Subscriber.
4. Right of Recovery

   Whenever payment has been made in error, the Plan will have the right to recover
   such payment from You or, if applicable, the Provider. In the event the Plan
   recovers a payment made in error from the Provider, except in cases of fraud, the
   Plan will only recover such payment from the Provider during the 24 months after the
   date the Plan made the payment on a claim submitted by the Provider. The Plan
   reserves the right to deduct or offset any amounts paid in error from any pending or
   future claim. The cost share amount shown in Your Explanation of Benefits is the
   final determination and You will not receive notice of an adjusted cost share amount
   as a result of such recovery activity.


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   The Claims Administrator has oversight responsibility for compliance with Provider
   and vendor and Subcontractor contracts. The Claims Administrator may enter into a
   settlement or compromise regarding enforcement of these contracts and may retain
   any recoveries made from a Provider, Vendor, or Subcontractor resulting from these
   audits if the return of the overpayment is not feasible. The Claims Administrator has
   established recovery policies to determine which recoveries are to be pursued, when
   to incur costs and expenses and settle or compromise recovery amounts. The
   Claims Administrator will not pursue recoveries for overpayments if the cost of
   collection exceeds the overpayment amount. The Claims Administrator may not
   provide You with notice of overpayments made by the Plan or You if the recovery
   method makes providing such notice administratively burdensome.

5. Notice

   Any notice given under the Plan shall be in writing. The notices shall be sent to:
   The Employer at its principal place of business; to You at the Subscriber’s address
   as it appears on the records or in care of the Employer.

6. Fraud

   Fraudulent statements on Plan enrollment forms or on electronic submissions will
   invalidate any payment or claims for services and be grounds for voiding the
   Member’s coverage.

7. Conformity with Law

   Any provision of the Plan which is in conflict with the applicable federal laws and
   regulations is hereby amended to conform with the minimum requirements of such
   laws.



8. Clerical Error

   Clerical error, whether of the Claims Administrator or the Employer, in keeping any
   record pertaining to this coverage will not invalidate coverage otherwise validly in
   force or continue benefits otherwise validly terminated.

9. Policies and Procedures

   The Claims Administrator, on behalf of the Employer, may adopt reasonable
   policies, procedures, rules and interpretations to promote the orderly and efficient
   administration of the Plan with which a Member shall comply.




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10. Value-Added Programs

     The Claims Administrator may offer health or fitness related programs to Members,
     through which You may access discounted rates from certain vendors for products
     and services available to the general public. Products and services available under
     this program are not Covered Services under the Plan but are in addition to plan
     benefits. As such, program features are not guaranteed under Your Employer's
     Group health Plan and could be discontinued at any time. The Claims Administrator
     does not endorse any vendor, product or service associated with this program.
     Program vendors are solely responsible for the products and services You receive.

11. Waiver

     No agent or other person, except an authorized officer of the Employer, has
     authority to waive any conditions or restrictions of the Plan, to extend the time for
     making a payment to the Plan, or to bind the Plan by making any promise or
     representation or by giving or receiving any information.

g)      Definitions


1. Accidental Injury

     Bodily Injury sustained by a Member as the result of an unforeseen event and which
     is the direct cause (independent of disease, bodily infirmity or any other cause) for
     care which the Member receives. Such care must occur while this Plan is in force.
     It does not include injuries for which benefits are provided under any Workers’
     Compensation, Employer’s liability or similar law.




2. Administrative Services Agreement

     The agreement between the Claims Administrator and the Employer regarding the
     administration of certain elements of the health care benefits of the Employer's
     Group Health Plan.

3. Ambulance Services

     A state-licensed emergency vehicle which carries injured or sick persons to a
     Hospital. Services which offer non-emergency, convalescent or invalid care do not
     meet this definition.



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4. Authorized Service(s)

   A Covered Service rendered by any Provider other than a Network Provider, which
   has been authorized in advance (except for Emergency Care which may be
   authorized after the service is rendered) by the Claims Administrator to be paid at
   the Network level. The Member may be responsible for the difference between the
   Out-of-Network Provider’s charge and the Maximum Allowable Amount, in addition
   to any applicable Network Coinsurance, Copayment or Deductible. For more
   information, see the “Claims Payment” section.

5. Behavioral Health Care

   Covered by Integrated Behavioral Health

6. Benefit Period

   One year, January 1 – December 31 (also called year or the calendar year). It does
   not begin before a Member’s Effective Date. It does not continue after a Member’s
   coverage ends.

7. Centers of Excellence (COE) Network

   A network of health care facilities selected for specific services based on criteria
   such as experience, outcomes, efficiency, and effectiveness. For example, an organ
   transplant managed care program wherein Members access select types of benefits
   through a specific network of medical centers.


   A network of health care professionals contracted with the Claims Administrator or
   one or more of its affiliates, to provide transplant or other designated specialty
   services.
8. Claims Administrator

   The company the Plan Sponsor chose to administer its health benefits. Anthem
   Health Plans of Virginia was chosen to administer this Plan. The Claims
   Administrator provides administrative claims payment services only and does not
   assume any financial risk or obligation with respect to claims.
9. Coinsurance

   If a Member’s coverage is limited to a certain percentage, for example 80%, then the
   remaining 20% for which the Member is responsible is the Coinsurance amount.
   The Coinsurance may be capped by the Out-of-Pocket Maximum.

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10. Combined Limit

   The maximum total of Network and Out-of-Network benefits available for designated
   health services in the Schedule of Benefits.

11. Complications of Pregnancy

   Complications of Pregnancy result from conditions requiring Hospital confinement
   when the pregnancy is not terminated. The diagnoses of the complications are
   distinct from pregnancy but adversely affected or caused by pregnancy.
   Such conditions include acute nephritis, nephrosis, cardiac decompensation, missed
   or threatened abortion, preeclampsia, intrauterine fetal growth retardation and
   similar medical and surgical conditions of comparable severity. An ectopic
   pregnancy which is terminated is also considered a Complication of Pregnancy.
   Complications of Pregnancy shall not include false labor, caesarean section,
   occasional spotting, Physician prescribed rest during the period of pregnancy,
   morning sickness, hyperemesis gravidarum and similar conditions associated with
   the management of a difficult pregnancy which are not diagnosed distinctly as
   Complications of Pregnancy.

12. Congenital Anomaly

   A condition or conditions that are present at birth regardless of causation. Such
   conditions may be hereditary or due to some influence during gestation.

13. Coordination of Benefits

   A provision that is intended to avoid claims payment delays and duplication of
   benefits when a person is covered by two or more plans providing benefits or
   services for medical, dental or other care or treatment. It avoids claims payment
   delays by establishing an order in which plans pay their claims and providing an
   authority for the orderly transfer of information needed to pay claims promptly. It
   may avoid duplication of benefits by permitting a reduction of the benefits of a plan
   when, by the rules established by this provision, it does not have to pay its benefits
   first.

14. Copayment

   A cost-sharing arrangement in which a Member pays a specified charge for a
   Covered Service, such as the Copayment indicated in the Schedule of Benefits for
   an office visit. The Member is usually responsible for payment of the Copayment at
   the time the health care is rendered. Copayments are distinguished from
   Coinsurance as flat dollar amounts rather than percentages of the charges for


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   services rendered and are typically collected by the provider when services are
   rendered.

15. Cosmetic Surgery

   Any non-Medically Necessary surgery or procedure, the primary purpose of which is
   to improve or change the appearance of any portion of the body, but which does not
   restore bodily function, correct a disease state, physical appearance or
   disfigurement caused by an accident, birth defect, or correct or naturally improve a
   physiological function. Cosmetic Surgery includes but is not limited to rhinoplasty,
   lipectomy, surgery for sagging or extra skin, any augmentation or reduction
   procedures (e.g., mammoplasty, liposuction, keloids, rhinoplasty and associated
   surgery) or treatment relating to the consequences or as a result of Cosmetic
   Surgery.

16. Covered Dependent

   Any Dependent in a Subscriber’s family who meets all the requirements of the
   Eligibility section of this Benefit Booklet, has enrolled in the Plan, and is subject to
   Administrative Service Fee requirements set forth by the Plan.

17. Covered Services

   Medically Necessary health care services and supplies that are: (a) defined as
   Covered Services in the Member’s Plan, (b) not excluded under such Plan, (c) not
   Experimental/Investigative and (d) provided in accordance with such Plan.

18. Covered Transplant Procedure

   Any Medically Necessary human organ and stem cell/bone marrow transplants and
   transfusions as determined by the Claims Administrator including necessary
   acquisition procedures, harvest and storage, and including Medically Necessary
   preparatory myeloablative therapy.

19. Custodial Care

   Any type of care, including room and board, that (a) does not require the skills of
   professional or technical personnel; (b) is not furnished by or under the supervision
   of such personnel or does not otherwise meet the requirements of post-Hospital
   Skilled Nursing Facility care; (c) is a level such that the Member has reached the
   maximum level of physical or mental function and is not likely to make further
   significant improvement. Custodial Care includes, but is not limited to, any type of
   care the primary purpose of which is to attend to the Member’s activities of daily
   living which do not entail or require the continuing attention of trained medical or


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   paramedical personnel. Examples of Custodial Care include, but are not limited to,
   assistance in walking, getting in and out of bed, bathing, dressing, feeding, using the
   toilet, changes of dressings of non-infected, post-operative or chronic conditions,
   preparation of special diets, supervision of medication that can be self-administered
   by the Member, general maintenance care of colostomy or ileostomy, routine
   services to maintain other services which, in the sole determination of the Plan, can
   be safely and adequately self-administered or performed by the average non-
   medical person without the direct supervision of trained medical and paramedical
   personnel, regardless of who actually provides the service, residential care and adult
   day care, protective and supportive care including educational services, rest care
   and convalescent care.

20. Deductible

   The portion of the bill You must pay before Your medical expenses become Covered
   Services.
21. Dependent

   The Spouse and all children until attaining age limit stated in the Eligibility section.
   Children include natural children, legally adopted children and stepchildren. Also
   included are Your children (or children of Your Spouse) for whom You have legal
   responsibility resulting from a valid court decree. Mentally retarded or physically
   disabled children remain covered no matter what age. You must give the Claims
   Administrator evidence of Your child’s incapacity within 31 days of attainment of age
   26. The certification form may be obtained from the Claims Administrator or Your
   Employer. This proof of incapacity may be required annually by the Plan. Such
   children are not eligible under this Plan if they are already 26 or older at the time
   coverage is effective.

22. Detoxification

   The process whereby an alcohol or drug intoxicated or alcohol or drug dependent
   person is assisted, in a facility licensed by the appropriate regulatory authority,
   through the period of time necessary to eliminate, by metabolic or other means, the
   intoxicating alcohol or drug, alcohol or drug dependent factors or alcohol in
   combination with drugs as determined by a licensed Physician, while keeping the
   physiological risk to the patient to a minimum.

23. Developmental Delay

   The statistical variation, as defined by standardized, validated developmental
   screening tests, such as the Denver Developmental Screening Test, in reaching age
   appropriate verbal/growth/motor skill developmental milestones when there is no

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   apparent medical or psychological problem. It alone does not constitute an illness or
   an Injury.

24. Durable Medical Equipment

   Equipment which is (a) made to withstand prolonged use; (b) made for and mainly
   used in the treatment of a disease of Injury; (c) suited for use while not confined as
   an Inpatient at a Hospital; (d) not normally of use to persons who do not have a
   disease or Injury; (e) not for exercise or training.

25. Effective Date

   The date for which the Plan approves an individual application for coverage. For
   individuals who join this Plan after the first enrollment period, the Effective Date is
   the date the Claims Administrator approves each future Member according to its
   normal procedures.

26. Elective Surgical Procedure

   A surgical procedure that is not considered to be an emergency, and may be
   delayed by the Member to a later point in time.

27. Emergency Medical Condition

   (“Emergency services,” “emergency care,” or “Medical Emergency”) Emergency
   Medical Condition means a medical condition manifesting itself by acute symptoms
   of sufficient severity (including severe pain) such that a prudent layperson, who
   possesses an average knowledge of health and medicine, could reasonably expect
   the absence of immediate medical attention to result inone of the following
   conditions:

       Placing the health of the individual (or, with respect to a pregnant woman, the
        health of the woman or her unborn child) in serious jeopardy;

       Serious impairment to bodily functions; or

       Serious dysfunction of any bodily organ or part.

28. Employee

A person who is engaged in active employment with the Employer and is eligible for
Plan coverage under the employment regulations of the Employer. The Employee is
also called the Subscriber.




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29. Employer

An Employer who has allowed its Employees to participate in the Plan by acting as the
Plan Sponsor or adopting the Plan as a participating Employer by executing a formal
document that so provides.

30. Experimental/Investigative

Any Drug, biologic, device, Diagnostic, product, equipment, procedure, treatment,
service, or supply used in or directly related to the diagnosis, evaluation, or treatment of
a disease, injury, illness, or other health condition which the Claims Administrator
determines to be unproven.

The Claims Administrator will deem any Drug, biologic, device, Diagnostic, product,
equipment, procedure, treatment, service, or supply to be Experimental/Investigative if
the Claims Administrator, determines that one or more of the following criteria apply
when the service is rendered with respect to the use for which benefits are sought. The
Drug, biologic, device, Diagnostic, product, equipment, procedure, treatment, service, or
supply:

       Cannot be legally marketed in the United States without the final approval of the
        Food and Drug Administration (FDA), or other licensing or regulatory agency,
        and such final approval has not been granted;

       Has been determined by the FDA to be contraindicated for the specific use; or

       Is provided as part of a clinical research protocol or clinical trial or is provided in
        any other manner that is intended to evaluate the safety, toxicity, or efficacy of
        the Drug, biologic, device, Diagnostic, product, equipment, procedure, treatment,
        service, or supply; or

       Is subject to review and approval of an Institutional Review Board (IRB) or other
        body serving a similar function; or

       Is provided pursuant to informed consent documents that describe the Drug,
        biologic, device, Diagnostic, product, equipment, procedure, treatment, service,
        or supply as Experimental/Investigative, or otherwise indicate that the safety,
        toxicity, or efficacy of the Drug, biologic, device, Diagnostic, product, equipment,
        procedure, treatment, service, or supply is under evaluation.

Any service not deemed Experimental/Investigative based on the criteria above may still
be deemed Experimental/Investigative by the Claims Administrator. In determining
whether a Service is Experimental/Investigative, the Claims Administrator will consider
the information described below and assess whether:

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       The scientific evidence is conclusory concerning the effect of the service on
        health outcomes;

       The evidence demonstrates the service improves net health outcomes of the
        total population for whom the service might be proposed by producing beneficial
        effects that outweigh any harmful effects;

       The evidence demonstrates the service has been shown to be as beneficial for
        the total population for whom the service might be proposed as any established
        alternatives; and

       The evidence demonstrates the service has been shown to improve the net
        health outcomes of the total population for whom the service might be proposed
        under the usual conditions of medical practice outside clinical investigatory
        settings.

The information considered or evaluated by the Claims Administrator to determine
whether a Drug, biologic, device, Diagnostic, product, equipment, procedure, treatment,
service, or supply is Experimental/Investigative under the above criteria may include
one or more items from the following list which is not all inclusive:
    Published authoritative, peer-reviewed medical or scientific literature, or the
       absence thereof; or

       Evaluations of national medical associations, consensus panels, and other
        technology evaluation bodies; or

       Documents issued by and/or filed with the FDA or other federal, state or local
        agency with the authority to approve, regulate, or investigate the use of the Drug,
        biologic, device, Diagnostic, product, equipment, procedure, treatment, service,
        or supply; or

       Documents of an IRB or other similar body performing substantially the same
        function; or

       Consent document(s) and/or the written protocol(s) used by the treating
        Physicians, other medical professionals, or facilities or by other treating
        Physicians, other medical professionals or facilities studying substantially the
        same Drug, biologic, device, Diagnostic, product, equipment, procedure,
        treatment, service, or supply; or

       Medical records; or

       The opinions of consulting Providers and other experts in the field.



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The Claims Administrator has the sole authority and discretion to identify and weigh all
information and determine all questions pertaining to whether a Drug, biologic, device,
Diagnostic, product, equipment, procedure, treatment, service, or supply is
Experimental/Investigative.

31. Freestanding Ambulatory Facility

A facility, with a staff of Physicians, at which surgical procedures are performed on an
Outpatient basis-no patients stay overnight. The facility offers continuous service by
both Physicians and registered nurses (R.N.s). It must be licensed by the appropriate
agency. A Physician’s office does not qualify as a Freestanding Ambulatory Facility.

32. Group Health Plan or Plan

An employee welfare benefit plan (as defined in Section 3(1) of ERISA), established by
the Employer, in effect as of the Effective Date.

33. Health Plan Document

This Benefit Booklet in conjunction with the Health Plan Document, the application, if
any, any amendment or rider, Your Identification Card and Your application for
enrollment constitutes the entire Plan. If there is any conflict between either this Benefit
Booklet or the Health Plan Document and any amendment or rider, the amendment or
rider shall control. If there is any conflict between this Benefit Booklet and the Health
Plan Document, the Health Plan Document shall control.

34. Home Health Care

Care, by a licensed program or provider, for the treatment of a patient in the patient’s
home, consisting of required intermittent skilled care, which may include observation,
evaluation, teaching and nursing services consistent with the diagnosis, established and
approved in writing by the patient’s attending Physician.

35. Home Health Care Agency

A provider who renders care through a program for the treatment of a patient in the
patient’s home, consisting of required intermittent skilled care, which may include
observation, evaluation, teaching and nursing services consistent with the diagnosis,
established and approved in writing by the patient’s attending Physician. It must be
licensed by the appropriate agency.




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36. Hospice

A provider which provides care for terminally ill patients and their families, either directly
or on a consulting basis with the patient’s Physician. It must be licensed by the
appropriate agency.

37. Hospice Care Program

A coordinated, interdisciplinary program designed to meet the special physical,
psychological, spiritual and social needs of the terminally ill Member and his or her
covered family members, by providing palliative and supportive medical, nursing and
other services through at-home or Inpatient care. The Hospice must be licensed by the
appropriate agency and must be funded as a Hospice as defined by those laws. It must
provide a program of treatment for at least two unrelated individuals who have been
medically diagnosed as having no reasonable prospect of cure for their illnesses.

38. Hospital

An institution licensed by the appropriate agency, which is primarily engaged in
providing diagnostic and therapeutic facilities on an Inpatient basis for the surgical and
medical diagnosis, treatment and care of injured and sick persons by or under the
supervision of a staff of Physicians duly licensed to practice medicine, and which
continuously provides 24-hour-a-day nursing services by registered graduate nurses
physically present and on duty. “Hospital” does not mean other than incidentally:

   an extended care facility; nursing home; place for rest; facility for care of the aged;

   a custodial or domiciliary institution which has as its primary purpose the furnishing
    of food, shelter, training or non-medical personal services; or

   an institution for exceptional or disabled children.

39. Identification Card

The latest card given to You showing Your identification and group numbers, the type of
coverage You have and the date coverage became effective.

40. Ineligible Charges

Charges for health care services that are not Covered Services because the services
are not Medically Necessary or Precertification was not obtained. Such charges are not
eligible for payment.

41. Ineligible Provider



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A provider which does not meet the minimum requirements to become a contracted
Provider with the Claims Administrator. Services rendered to a Member by such a
provider are not eligible for payment.

42. Infertile or Infertility

The condition of a presumably healthy Member who is unable to conceive.

43. Injury

Bodily harm from a non-occupational accident.

44. Inpatient

A Member who is treated as a registered bed patient in a Hospital and for whom a room
and board charge is made.

45. Intensive Care Unit

A special unit of a Hospital that: (1) treats patients with serious illnesses or Injuries; (2)
can provide special life-saving methods and equipment; (3) admits patients without
regard to prognosis; and (4) provides constant observation of patients by a specially
trained nursing staff.

46. Late Enrollees

Late Enrollees mean Employees or Dependents who request enrollment in a health
benefit plan after the initial open enrollment period. An individual will not be considered
a Late Enrollee if: (a) the person enrolls during his/her initial enrollment period under the
Plan: (b) the person enrolls during a special enrollment period; or (c) a court orders that
coverage be provided for a minor Covered Dependent under a Member’s Plan, but only
as long as the Member requests enrollment for such Dependent within thirty-one (31)
days after the court order is so issued. Late Enrollees are those who declined coverage
during the initial open enrollment period and did not submit a certification to the Plan
that coverage was declined because other coverage existed.
47. Maternity Care

Obstetrical care received both before and after the delivery of a child or children. It also
includes care for miscarriage or abortion. It includes regular nursery care for a newborn
infant as long as the mother’s Hospital stay is a covered benefit and the newborn infant
is an eligible Member under the Plan.




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48. Maximum Allowed Amount

The maximum amount that the Plan will allow for Covered Services You receive. For
more information, see the “Claims Payment” section.

49. Medical Facility

A facility, including but not limited to, a Hospital, Freestanding Ambulatory Facility,
Chemical Dependency Treatment Facility, Skilled Nursing Facility, Home Health Care
Agency or mental health facility, as defined in this Benefit booklet. The facility must be
licensed, registered or approved by the Joint Commission on Accreditation of Hospitals
or meet specific requirements established by the Claims Administrator.

50. Medical Necessity or Medically Necessary

An intervention that is or will be provided for the diagnosis, evaluation and treatment of
a condition, illness, disease or injury and that is determined by the Claims Administrator
to be:

   Medically appropriate for and consistent with the symptoms and proper diagnosis or
    treatment of the Member’s condition, illness, disease or injury;

   Obtained from a Provider;

   Provided in accordance with applicable medical and/or professional standards;

   Known to be effective, as proven by scientific evidence, in materially improving
    health outcomes;

   The most appropriate supply, setting or level of service that can safely be provided
    to the Member and which cannot be omitted consistent with recognized professional
    standards of care (which, in the case of hospitalization, also means that safe and
    adequate care could not be obtained in a less comprehensive setting);

   Cost-effective compared to alternative interventions, including no intervention. Cost
    effective does not always mean lowest cost. It does mean that as to the diagnosis
    or treatment of the Member’s illness, injury or disease, the service is: (1) not more
    costly than an alternative service or sequence of services that is medically
    appropriate, or (2) the service is performed in the least costly setting that is
    medically appropriate;

   Not Experimental/Investigative;

   Not primarily for the convenience of the Member, the Member’s family or the
    Provider.

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   Not otherwise subject to an exclusion under this Benefit Booklet.

The fact that a Provider may prescribe, order, recommend, or approve care, treatment,
services or supplies does not, of itself, make such care, treatment, services or supplies
Medically Necessary or a Covered Service and does not guarantee payment.

51. Member

Individuals, including the Subscriber and his/her Dependents, who have satisfied the
Plan eligibility requirements of the Employer, applied for coverage, and been enrolled
for Plan benefits.

52. Network Provider

A Physician, health professional, Hospital, Pharmacy, or other individual, organization
and/or facility that has entered into a contract, either directly or indirectly, with the
Claims Administrator to provide Covered Services to Members through negotiated
reimbursement arrangements.

53. New Hire

A person who is not employed by the Employer on the original Effective Date of the
Plan.

54. Non-Covered Services

Services that are not benefits specifically provided under the Plan, are excluded by the
Plan, are provided by an Ineligible Provider, or are otherwise not eligible to be Covered
Services, whether or not they are Medically Necessary.

55. Out-of-Network Provider

A Provider, including but not limited to, a Hospital, Freestanding Ambulatory Facility
(Surgical Center), Physician, Skilled Nursing Facility, Hospice, Home Health Care
Agency, other medical practitioner or provider of medical services or supplies, that does
not have an agreement or contract with the Claims Administrator to provide services to
its Members at the time services are rendered.
Benefit payments and other provisions of this Plan are limited when a Member uses the
services of Out-of-Network Providers.




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56. Out-of-Pocket Maximum

The maximum amount of a Member’s Coinsurance payments during a given calendar
Plan year. When the Out-of-Pocket Maximum is reached, the level of benefits is
increased to 100% of the Maximum Allowed Amount for Covered Services.


57. Physician

Any licensed Doctor of Medicine (M.D.) legally entitled to practice medicine and perform
surgery, any licensed Doctor of Osteopathy (D.O.) legally licensed to perform the duties
of a D.O., any licensed Doctor of Podiatric Medicine (D.P.M.) legally entitled to practice
podiatry, and any licensed Doctor of Dental Surgery (D.D.S.) legally entitled to perform
oral surgery; Optometrists and Clinical Psychologists (PhD) are also Providers when
acting within the scope of their licenses, and when rendering services covered under
this Plan.

58. Primary Care Physician

A provider who specializes in family practice, general practice, internal medicine,
pediatrics, obstetrics/gynecology, geriatrics or any other provider as allowed by the
Plan. A PCP supervises, coordinates and provides initial care and basic medical
services to a Member and is responsible for ongoing patient care.

59. QMCSO, or MCSO – Qualified Medical Child Support Order or Medical Child
    Support Order

A QMCSO creates or recognizes the right of a child who is recognized under the order
as having a right to be enrolled under the health benefit plan to receive benefits for
which the Employee is entitled under the plan; and includes the name and last known
address of the Employee and each such child, a reasonable description of the type of
coverage to be provided by the plan, the period for which coverage must be provided
and each plan to which the order applies.

An MCSO is any court judgment, decree or order (including a court’s approval of a
domestic relations settlement agreement) that:

   provides for child support payment related to health benefits with respect to the child
    of a group health plan Member or requires health benefit coverage of such child in
    such plan, and is ordered under state domestic relations law; or

   enforces a state law relating to medical child support payment with respect to a
    group health plan.



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60. Retail Health Clinic

A facility that provides limited basic medical care services to Members on a “walk-in”
basis. These clinics normally operate in major pharmacies or retail stores. Medical
services are typically provided by Physicians Assistants and Nurse Practitioners.

61. Semiprivate Room

A Hospital room which contains two or more beds.

62. Skilled Convalescent Care

Care required, while recovering from an illness or Injury, which is received in a Skilled
Nursing Facility. This care requires a level of care or services less than that in a
Hospital, but more than could be given at the patient’s home or in a nursing home not
certified as a Skilled Nursing Facility.

63. Skilled Nursing Facility

An institution operated alone or with a Hospital which gives care after a Member leaves
the Hospital for a condition requiring more care than can be rendered at home. It must
be licensed by the appropriate agency and accredited by the Joint Commission on
Accreditation of Health Care Organizations or the Bureau of Hospitals of the American
Osteopathic Association, or otherwise determined by the Claims Administrator to meet
the reasonable standards applied by any of the aforesaid authorities.

64. Spouse

For the purpose of this Plan, a Spouse is defined as a person who is legally married to
the employee and who is recognized as the spouse under federal law.

65. Therapeutic Equivalent

Therapeutic/Clinically Equivalent drugs are drugs that can be expected to produce
similar therapeutic outcomes for a disease or condition.

66. Transplant Providers

Network Transplant Provider - A Provider that has been designated as a “Center of
Excellence” for Transplants by the Claims Administrator and/or a Provider selected to
participate as a Network Transplant Provider by a designee of the Claims Administrator.
Such Provider has entered into a transplant provider agreement to render Covered
Transplant Procedures and certain administrative functions to You for the transplant
network. A Provider may be a Network Transplant Provider with respect to:

       certain Covered Transplant Procedures; or

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           all Covered Transplant Procedures.

   Out-of-Network Transplant Provider - Any Provider that has NOT been designated as a
   “Center of Excellence” for Transplants by the Claims Administrator nor has not been
   selected to participate as a Network Transplant Provider by a designee of the Claims
   Administrator.

67. Urgent Care

   Services received for a sudden, serious, or unexpected illness, Injury or condition.
   Urgent Care is not considered an emergency. Care is needed right away to relieve
   pain, find out what is wrong, or treat a health problem that is not life-threatening.

68. Utilization Review

   A function performed by the Claims Administrator or by an organization or entity
   selected by the Claims Administrator to review and approve whether the services
   provided are Medically Necessary, including but not limited to, whether acute
   hospitalization, length of stay, Outpatient care or diagnostic services are appropriate.

69. You and Your

   Refer to the Subscriber, Member and each Covered Dependent.

f) Health Benefits Under Federal Law

   1. Choice of Primary Care Physician

       The Plan generally allows the designation of a Primary Care Physician (PCP). You
       have the right to designate any PCP who participates in the Claims Administrator’s
       Network and who is available to accept You or Your family members. For
       information on how to select a PCP, and for a list of PCPs, contact the telephone
       number on the back of Your Identification card or refer to the Claims Administrator’s
       website, www.anthem.com. For children, You may designate a pediatrician as the
       PCP.

   2. Access to Obstetrical and Gynecological (ObGyn) Care

       You do not need Prior Authorization from the Plan or from any other person
       (including a PCP) in order to obtain access to obstetrical or gynecological care from
       a health care professional in the Claims Administrator’s network who specializes in
       obstetrics or gynecology. The health care professional, however, may be required to
       comply with certain procedures, including obtaining Prior Authorization for certain
       services or following a pre-approved treatment plan, or procedures for making
       referrals. For a list of participating health care professionals who specialize in

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   obstetrics or gynecology, contact the telephone number on the back of Your
   Identification Card or refer to the Claims Administrator’s website, www.anthem.com.

3. Statement of Rights Under the Newborns’ and Mother’s Health Protection Act

   Group health plans and health insurance issuers generally may not, under Federal
   law, restrict benefits for any Hospital length of stay in connection with childbirth for
   the mother or newborn child to less than 48 hours following a vaginal delivery, or
   less than 96 hours following a cesarean section. However, Federal law generally
   does not prohibit the mother’s or newborn’s attending provider (e.g., Your Physician,
   nurse midwife, or Physician assistant), after consulting with the mother, from
   discharging the mother or her newborn earlier than 48 hours (or 96 hours as
   applicable). In any case, plans and issuers may not, under Federal law, require that
   a provider obtain authorization from the Plan or the insurance issuer for prescribing
   a length of stay not in excess of 48 hours (or 96 hours). However, to use certain
   providers or facilities, or to reduce Your out-of-pocket costs, You may be required to
   obtain Precertification. For information on Precertification, contact Your Plan
   Administrator.

   Also, under federal law, plans may not set the level of benefits or out-of-pocket
   costs so that any later portion of the 48 hour (or 96 hour) stay is treated in a manner
   less favorable to the mother or newborn than any earlier portion of the stay.
   Statement of Rights Under the Women’s Cancer Rights Act of 1998
   If You have had or are going to have a mastectomy, You may be entitled to certain
   benefits under the Women’s Health and Cancer Rights Act of 1998 (WHCRA). For
   individuals receiving mastectomy-related benefits, coverage will be provided in a
   manner determined in consultation with the attending Physician and the patient, for:

       All stages of reconstruction of the breast on which the mastectomy was
        performed;

       Surgery and reconstruction of the other breast to produce a symmetrical
        appearance;

       Prostheses; and

       Treatment of physical complications of the mastectomy, including lymphedema.

 These benefits will be provided subject to the same Deductibles and Coinsurance
 applicable to other medical and surgical benefits provided under this Plan. See the
 Schedule of Benefits.

 If You would like more information on WHCRA benefits, call Your Plan Administrator.

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  4. Mental Health Parity and Addiction Equity Act

  The Mental Health Parity and Addiction Equity Act provides for parity in the application
  of aggregate treatment limitations (day or visit limits) on mental health and substance
  abuse benefits with day/visit limits on medical/surgical benefits. In general, group health
  plans offering mental health and substance abuse benefits cannot set day/visit limits on
  mental health or substance abuse benefits that are lower than any such day/visit limits
  for medical and surgical benefits. A plan that does not impose day/visit limits on medical
  and surgical benefits may not impose such day/visit limits on mental health and
  substance abuse benefits offered under the Plan. Also, the Plan may not impose
  Deductibles, Copayment/Coinsurance and out of pocket expenses on mental health and
  substance abuse benefits that are more restrictive than Deductibles,
  Copayment/Coinsurance and out of pocket expenses applicable to other medical and
  surgical benefits.
  SECTION 2           Employee Contributions for Health Care (Anthem PPO and
                      Keystone HMO)

                                                            Weekly Contributions

          Employee Only                                               $16

          Employee Plus One                                           $24

          Family                                                      $36



         New contributions are effective 10/2/2017

  Contributions will be taken on a pre-tax basis. This requires employees to follow the
  IRS Section 125 rules which include enrolling for coverage for themselves and their
  dependents within 31 days of their eligibility date. If you do not enroll timely you must
  wait until the next Annual Enrollment Period.

(a) Wellness Incentives
    The Health for Life Wellness program is the cornerstone for promoting and achieving a
    culture of health among the Mack organization and incorporates the following features.

         (a) A contribution credit of $6 ($8 effective 10/2/2017) per week will reduce the
             members required health care contribution upon the attainment of all of the
             following:
                 1. Completion of annual Health Risk Assessment (HRA)
                 2. Completion of an annual biometric screening that measures blood
                    pressure, cholesterol, glucose and Body Mass Index (BMI), and

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              3. Annual written attestation that you do not use tobacco or the timely
                  completion of a tobacco cessation program.
       (b) HRA and biometric screenings will be performed on-site.
       (c) For employees to receive the contribution credit the current calendar year
           they must meet the wellness criteria described above during the prescribed
           time in the previous calendar year.
       (d) Annual cash incentives of up to $150 can be earned by meeting the following
           screen criteria:
              1. Blood pressure less than or equal to 130/85,
              2. Total cholesterol less than or equal to 200, and
              3. BMI less than or equal to 27.5 or BMI reduced by 1 full point from prior
                  year.
For each criterion that is achieved, the employee will receive a $50 cash payment in
their paycheck in the late fall.

SECTION 3           PPO Prescription Drug Coverage

You and your eligible dependents can receive benefits through the Prescription Drug
Card Program administered by Medco/Express Scripts. If you have questions you may
call Medco/Express Scripts Member Services 24 hours a day, seven day a week at 1-
866-467-1239 or you may visit the Medco/Express Scripts website at
www.medco.com.

(a)    How the Program Works – Retail Pharmacies

After you enroll for health coverage, you’ll receive a Medco identification card. When
you present the card at a participating pharmacy, you can receive up to a 34-day
supply of medication. To find the closest participating pharmacies near you, call the toll
free number or visit the Medco website. Your participating pharmacist will give you
generic drugs when they are available – unless your doctor indicates that the
prescription must be filled with brand name drugs.

Effective August 1, 2013, you pay the following prescription drug copay for each retail
prescriptions:

       $10 for each generic drug prescription,

       $30 for each brand name drug prescription, and

       $45 for each Targeted Brand drug.




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The Targeted Brands are: Aciphex, AIlegra, Allegra-D, Clarinex, Clarinex-D, Nexium,
Prevacid, Prilosec, Protonix, Zyrtec, Zyrtec-D, Xyzal, and Zegerid. If the doctor
specifies the use of a targeted drug, you pay $30.00 for that brand name drug.

The following over-the-counter medications will be provided with a co-pay of $10 for a
thirty day supply (mail order is not available): Prilosec OTC, Zantac, Claritin, Zyrtec. A
physician’s prescription order is required to receive this benefit.

If you have your prescription filled at a non-participating pharmacy, you can still receive
plan benefits. However, you’ll have to pay for the prescription at the time it’s filled and
then file a claim with Medco/Express Scripts. Claim forms are available from the HR
Service Center or online at www.medco.com.

(b)    Mail Order Drug Program

In addition to the Prescription Drug Card Program, you also can receive prescription
drug benefits through the Mail Order Drug Program. Administered by Medco/Express
Scripts, this program is designed to save you money by helping you pay for drugs used
to treat chronic conditions such as hypertension or diabetes.

Under the program, you can order up to a 90-day supply of prescription drugs. And,
medications are delivered right to your home, postage-paid. Like the Prescription Drug
Card Program, the pharmacist will give you generic drugs when they are available –
unless your doctor indicates that the prescription must be filled with brand name drugs.

Effective August 1, 2013, a co-payment equal to 2 times the amount described for a
one month supply paid by the member is applicable for each separate prescription
order and refill. This equals $20 for generic drugs and $60 for brand drugs. Effective
July 1, 2010, the co-pay for mail service of up to a 90 day supply of any Targeted
Brand will be $67.50.

Here is all you have to do when ordering maintenance drugs through the Mail Order
  Drug Program:

                When you need maintenance drugs, have your doctor give you a
                 prescription for up to a 90-day supply plus refills up to one year (as
                 appropriate). (If you must start taking the drug right away, also get a
                 separate prescription for a 14-day supply, which you can fill at a
                 participating pharmacy).

                Mail in your prescription. When you send your prescription, be sure to
                 include the order form and payment in the provided envelope. You may
                 also ask your doctor to fax your prescription by calling 1-888-327-9791
                 for further instruction.

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                Your order will be filled and delivered through the mail within eight
                 days of receipt, along with re-order instructions and pre-addressed
                 envelope for future prescriptions and refills.

                When you need refills, simply complete and mail your refill notice to the
                 Mail Order Drug Program in the pre-addressed envelope, or call 1-866-
                 467-1239 or go online to www.medco.com, and follow the instructions
                 for refilling your prescription.

(c) Specialty Medications

   Specialty medications are drugs that are used to treat complex conditions, such as
   cancer, hemophilia, hepatitis C, immune deficiency, multiple sclerosis and
   rheumatoid arthritis. Whether they’re administered by a health care professional,
   self-injected or taken by mouth, specialty medications require an enhanced level of
   service.

   Mack recommends that specialty pharmacy medications be accessed through
   Accredo Health Group, Medco’s specialty mail order pharmacy, and not be
   purchases through retail pharmacies. Accredo’s specialty mail pharmacy has
   enhanced services to monitor your care for these complex conditions. If you are not
   sure whether you are taking a specialty medication you can contact Medco/Express
   Scripts Customer Service at 1-866-467-1239 or go to www.medco.com for more
   information regarding your prescriptions.        You may also go online to
   www.accredo.com to receive more information about Accredo.

(d) Compound Drugs

     For compound drugs to be covered under the Plan, they must satisfy certain
     requirements. In addition to being medically necessary and not experimental or
     investigative, compound drugs must not contain any ingredient on a list of
     excluded ingredients. Furthermore, the cost of the compound must be determined
     by Express Scripts to be reasonable (e.g. if the cost of any ingredient has
     increased more than 5% every other week or more than 10% annually, the cost will
     not be considered reasonable). Any denial of coverage for a compound drug may
     be appealed in the same manner as any other drug claim denial under the Plan.

 (e) Cholesterol Care Value Program

     Express-Scripts’ Cholesterol Care Value Program (CCV) will help ensure members
     have appropriate access to a new and extremely costly class of anticholesterol
     medications, called PCSK9 inhibitors. These new self-injectable medications are
     priced significantly higher than the more cost-effective traditional cholesterol-
     lowering statins (Crestor and Lipitor). With the CCV program, the new PCSK9

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     inhibitors will require Prior Authorization to ensure appropriate use. To ensure
     members understand the potential side-effects and how to inject these
     medications, the PCSK9s can only be obtained from Express Scripts’ Specialty
     Pharmacy, Accredo, where nurses and specialist pharmacists will be available to
     provide individualized care and coaching.


(f) Definitions

        1. Brand name drug means the trade name under which a drug is advertised
            and sold.
        2. Compound drug as defined by the U.S. Food and Drug Administration (FDA)
            is a medication that requires a licensed pharmacist to combine, mix or alter
            the ingredients of a medication when filling a prescription. The FDA does not
            verify the quality, safety and/or effectiveness of compound medications.
        3. Copayment means the amount to be paid by the member for each separate
            prescription order or refill of a covered drug.
        4. Covered drug means injectable insulin or any prescription legend drug that is
            dispensed according to a prescription order provided that:
                The drug is medically necessary,
                The amount of the prescription charge exceeds the copayment,
                The drug is not included or includible in the cost of other services or
                   supplies provided to the member, and
                The drug is not entirely consumed at the time and place of the
                   prescription order.
        5. Generic name drug means the chemical name of the a drug that the FDA
            approved as therapeutically equivalent to a brand name drug.
        6. Member means either the covered employee under this program or any of
            the employee’s eligible dependents.
        7. Non-Participating Provider means any provider of pharmaceutical services
            that has not entered into a participating contract with Medco/Express Scripts.
        8. Participating Provider means any pharmacy or organization legally licensed
            to dispense drugs which has entered into an agreement with Medco/Express
            Scripts. The participating provider will charge the member the co-payment
            amount.
        9. Pharmacy means a licensed establishment where prescription drugs are
            dispensed by a licensed pharmacist.
        10. Prescription Legend Drug means any medicinal substance – the label of
            which under the FDA, is required to bear the legend: “Caution: Federal Law
            prohibits dispensing without a prescription” and includes compounded
            medication containing at least one prescription legend drug.


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        11. Prescription Order means the request for medication by a physician or
            dentist.

(g)   Prior Authorization
      The following drug categories require your physician to obtain prior authorization
      through Medco/Express Scripts.

          1.   Androgens and anabolic steroids
          2.   Anorexiants
          3.   Anti-narcoleptice agents (Nuvigil, Provigil)
          4.   Cosmetic drugs (Botulinum)
          5.   Dermatologicals for age 36 and older (Retin A)
          6.   Dermatologicals /Misc (Penlac Solution)
          7.   Erectile Dysfunction agents

(h) Quantity/Dose Duration
          4. Anti-Emetics
          5. Anti-Fungal Agents
          6. Erectile Dysfunction Agents
          7. Hypnotic Agents
          8. Migraine Therapy (Milligram based)

(i) Exclusions
         Your Prescription Card and Mail Order Drug programs do not cover the
         following:

               1. Drugs determined to be investigational or experimental by the FDA
                   (Federal Drug Administration),
               2. Non-Federal Legend Drugs (not approved by FDA), Federal Legend
                   Non-Drugs (Over the counter medications (OTC) that don’t require a
                   prescription), and Non-Federal Legend Non-Drugs (vitamins,
                   supplements and topical agents that do not require a prescription).
               3. Glucowatch Products (diabetic wrist watch),
               4. Insulin pump supplies,
               5. Emergency contraceptive products through mail order,
               6. Implant products obtained by mail order,
               7. Nutritional supplements and combo nutritional products,
               8. Relenza/Tamiflu products obtained through mail order
               9. Drugs to treat impotency for males under age 18
               10. Ostomy supplies
               11. Dental fluoride products




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             12. Certain injectable medications that are not covered through Specialty
                 Pharmacy and are usually not self-injectable (injectable provided in an
                 outpatient or physician setting)
             13. Cosmetic medications like Renova,
             14. Biologicals, immunizations, vaccines, allergy serum, blood parts
                 (except specialty products),
             15. Charges for therapeutic devices or appliances, support garments, or
                 other non-medical substances.
             16. Prescriptions that you’re entitled to receive without charge from any
                 local, state or federal programs, including Worker’s Compensation, and
             17. Prescriptions refilled in excess of the number specified by the
                 physician, or for any refill dispensed after one year from the initial
                 prescription.
             18. The charge for more than a 34-day supply of medication, except those
                 covered up to 90 day through Mail Order.


SECTION 4           Managed Behavioral Health


The Managed Behavioral Health Plan includes mental health and substance abuse
treatment benefits. The behavioral health benefit included for this plan is provided by
Integrated Behavioral Health (IBH). This plan is compliant with the Mental Health Parity
and Equity Act of 2008 (MHPAE) and Interim Final Rules (IFR) of 2010.


(a) Plan features include
    1. Enhanced mental health benefits available when network providers are used.
    2. National network of quality providers and facilities that have been selected and
       credentialed by IBH.
    3. Elimination of need for patient submission of claim forms when network providers
       are used.
    4. Network providers accept the plan payment as payment in full after the
       applicable copayment or deductible.
    5. All mental health services subject to medical necessity and appropriateness of
       care.
    6. Some services require prior authorization, call IBH for care coordination.
    7. If treatment is needed call 800-395-1616 and IBH will provide referrals, case
       management, care coordination, and benefit questions for your behavioral health
       plan.


   To assure your behavioral health services will be covered it is recommended that
   you obtain prior authorization by an IBH care manager at 800-395-1616. Services
   not pre-authorized by IBH are subject to retrospective review before payment
   determination.    Without pre-authorization, your claims will be subject to a


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      retrospective review and in some instances may not be covered. Certain services
      are still required to be pre-authorized, contact IBH with any questions. Your provider
      may be required to submit a treatment plan and documentation to establish medical
      necessity and appropriateness of care.

      Pre-authorization of all behavioral health services including initial outpatient care
      with a psychiatrist, psychologist or therapist is highly recommended.             Pre-
      authorization of behavioral health services will insure medical necessity criteria are
      met and retrospective review will be limited. All care is subject to eligibility, plan
      definitions, limitations, exclusions, and are payable when determined by IBH as
      medically necessary and appropriate. Expenses determined not clinically necessary
      will not be covered.

(b)      Inpatient Mental Health Benefits
         To find an in-network facility, contact Integrated Behavioral Health at 800-395-
         1616. The benefit may allow you to choose services through an out-of-network
         facility, but you may have to pay a larger portion of the costs, and subject to prior
         authorization and concurrent review.

         Pre-authorization is required for all inpatient, partial hospitalization, residential,
         and intensive outpatient care. You or your provider may call an IBH care
         manager at 800-395-1616 to obtain pre-authorization prior to starting any
         intensive treatment program.



(c)      Outpatient Mental Health Benefits
         All outpatient care beyond the initial 8 visits per year, or falling within additional
         outlier categories, requires the provider to submit a treatment plan for review of
         medical necessity, appropriateness of care, and pre-authorization of continued
         care.

         The following outpatient evaluations or treatments require authorization before
         commencing:

         1.   Psychological testing
         2.   Group therapy
         3.   Outpatient ECT
         4.   Or any service other than the initial 8 sessions with a licensed psychologist,
              licensed therapist or licensed psychiatrist.


         The benefit may allow you to choose services through either an IBH network
         provider or a non-network provider. Non-network providers must be

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       independently licensed and must follow plan requirements of submitting
       documentation of medically necessary care. Call IBH to determine if a non-
       network provider is eligible for coverage under your plan.

       While there are no treatment visit or hospital day limits in the benefit plan, all
       claims for treatment (including those delivered before any pre-authorization) are
       subject to review for medical necessity and appropriateness of care by IBH.

       All claims are subject to benefit eligibility as well as plan exclusions and
       limitations at time of service.

(d)    Your Managed Behavioral Health Benefits Schedule


  MENTAL HEALTH                         IBH Network                  Non-Network

  Inpatient                        100% of IBH allowable         70% of IBH allowable

  Outpatient                           $10.00 co-pay             70% of IBH allowable

  CHEMICAL DEPENDENCY                   IBH Network                  Non-Network

  Inpatient                        100% of IBH allowable         70% of IBH allowable

  Outpatient                           $10.00 co-pay             70% of IBH allowable



       Claim Note:

          All inpatient services require Pre-Certification.
          Some outpatient services require Pre-Certification.
          Medical remains responsible payer for Behavioral Health services for
           inpatients admitted under medical diagnoses.
          Retro review for non- network providers




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(e) Services Not Included in the Managed Behavioral Health Plan


      1. Services performed by the patient on him/herself or performed by immediate
         family, including but not limited to a spouse, child, brother, sister, parent, or the
         spouse’s parent, even if that individual is a qualified provider.


        2. Services provided by someone not licensed by the state to treat the condition for
          which the claim is made and to independently bill fee for service and/or not
          trained or experienced to treat a specific condition under review.


      3. Extended hospital stays that are unrelated to medically necessary and approved
         treatment.


      4. Services furnished by or for the U.S. government, Federal and state funded
         agency or foreign government, unless payment is legally required.


      5. Treatment that is of an experimental or educational nature. Procedures which are
         experimental, investigational, or unproven. Therapies and technologies whose
         long-term efficacy or effect is undetermined or unproven whose efficacy is no
         greater than that of traditionally accepted standard treatment.


      6. Services applied under any government program or law under which the
         individual is covered.


      7. Services for which a third-party is liable.


      8. New procedures, services, and medication until they are reviewed for safety,
         efficacy, and cost effectiveness.


      9. Alternative treatment methods that do not meet national standards for behavioral
         health practice, including but not limited to: regressive therapy, aversion therapy,
         neurofeedback or neuro-biofeedback, hypnotherapy, acupuncture, acupressure,
         aromatherapy, massage therapy, reiki, thought-field energy, art or dance therapy.




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 10. Services that are primarily to assess or address remedial educational disorders,
     including but not limited to: materials, devices and equipment to diagnose or treat
     learning disabilities.

11. Non-psychiatric therapy or education for autism, mental retardation, learning
    disabilities/disorders or developmental disorders, including social skills training.

12. Custodial care or supportive counseling, including care for conditions not typically
    resolved by treatment.

13. Services not medically necessary. All services must be medically necessary. The
    fact that a physician or other provider may prescribe order, recommended, or
    approve a service or supply does not, in itself, make it medically necessary, even
    though it is not specifically listed as an exclusion or limitation.

14. Court-ordered treatment, unless determined to be medically necessary and
    appropriate.

15. Psychological or neuropsychological testing, unless specifically pre-certified by
    IBH.

16. Inpatient treatment for co-dependency, gambling and sexual addiction.

17. Treatment primarily for chronic pain management or neuropsychological
    rehabilitation.

18. Treatment primarily for the convenience of the patient or provider.

19. Treatment provided primarily for medical or other research.

20. Charges for services, supplies or treatments which are primarily educational in
    nature; charges for services for educational or vocational testing or training and
    work hardening programs regardless of diagnosis or symptoms; charges for self-
    help training or other forms of non-medical self-care.

21. Charges primarily for marriage, career, or legal counseling.

22. Biofeedback, unless pre-approved by IBH.

23. Services provided if covered individual would not legally have to pay for them if
    the covered individual were not covered by the Plan or any other medical Plan, to
    the extent that exclusion of charges for such services is not prohibited by law or
    regulation.

24. Assessment or treatment secondary to sex change procedures.



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    25. Evaluation or services not required for health reasons, including but not limited to
        employment, insurance or government licenses, and court ordered, forensic, or
        custodial evaluations.

    26. Treatment of sexual dysfunction not related to organic disease. Sex therapy.

    27. Telephone consultations, charges for failure to keep a scheduled visit, charges
        for completion of a claim form, charges for obtaining medical records or
        completing a treatment report, and late payment charges.

    28. Methadone maintenance.

    29. Speech and language evaluations or speech therapy.

    30. Therapy or treatment intended primarily to improve or maintain general physical
        condition or for the purpose of enhancing job, school, athletic or recreational
        performance.

    31. Telephone, email and internet consultations in the absence of a specific benefit.

    32. Expenses for pastoral counseling, marriage therapy, music or art therapy,
        assertiveness training, social skills training, recreational therapy, stress
        management, or other supportive therapies.

    33. Long-term treatment at a residential treatment facility, or long term rehabilitation
        therapy unless authorized by IBH.

    34. Smoking cessation programs not covered under the medical plan.

    35. Therapeutic foster care, group home, half-way or three-quarter houses,
        residential/therapeutic schools, camps.

    36. Any treatment or condition excluded by the medical plan


(f) How Managed Behavioral Health Plan Claims Are Paid



   Network services require no claim forms. IBH will pay your provider directly. You are
   responsible for paying coinsurance, copay, or deductible that may apply.

   If you use a non-network provider, either you or the provider must submit a claim form
   and you are responsible for paying the balance of the provider’s outpatient or inpatient
   mental health or substance abuse charges, after the IBH payment of the non-network
   benefit based on the IBH allowable rate. The IBH allowable rate is the rate for the IBH


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  fee schedule for specific network services. Remember if you use non-network providers,
  your financial responsibility, the amount you pay, for non-network mental health or
  substance abuse care is higher and is based on the IBH allowable rate. Claims may
  be mailed to:

                          Integrated Behavioral Health
                          Claims Department
                          P.O. 30018
                          Laguna Niguel, CA 92607-0018


  SECTION 5           Dental Benefits Program

  The Mack UAW Dental Expense Benefit Program will be administered by United
  Concord Companies, Inc. (UCCI) for all UAW members who are employed by the
  Company and their covered dependents effective January 1, 2014.

  Employees and their covered dependents who are currently enrolled in the dental
  program administered by CIGNA will have no change in their benefits. UCCI will pay
  non-participating dentists at the 90th percentile to maintain the reimbursements to these
  dentists.

  The Dental Expense Benefits Program, as in effect June 1, 2009, as amended below
  will continue to be provided at Company expense with the following specifications:

(a) Payment of Benefits

  Benefits will be provided for eligible, necessary dental services when billed by the
  licensed dentist in charge of the case.

  Pre-authorization is routinely required for cases requiring $125 or more in benefits,
  including Space maintainers, Inlays, Crowns, Prosthetics, Periodontics and
  Orthodontics.

  For services covered under the Preventive Program, the Restorative Program, and the
  Prosthetic Rider, the maximum amount payable by the Plan in any one calendar year
  shall be $1,750 per member for services rendered on or after June 1, 2009; $1,800 per
  member effective for services rendered January 1, 2010; and $1,850 $1,950 per
  member for services rendered on or after January 1, 2020. The maximum payable
  under the Orthodontic Rider is outlined in Section 5(e).




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(b) Preventive Services - 100%

      1.     Oral examinations
      2.     X-rays of the teeth
      3.     Topical fluoride application for member under age 19
      4.     Cleaning, scaling and polishing of teeth
      5.     One lifetime application of tooth sealant on permanent posterior molars for
             dependent child age 14 or younger.
      6.     Brush Biopsy – Effective January 1, 2017



(c) Restorative Program – 90%

        1.  Repair of broken dentures
        2.  Palliative emergency treatment of conditions causing dental pain
        3.  Fillings consisting of silver amalgam and synthetic tooth color restorations
        4.  Simple extractions
        5.  Endodontic (treatment of the tooth's nerve)
        6.  Consultation
        7.  Space maintainers (not made of precious metals)
        8.  General Anesthesia administered in a Dentist's office
        9.  Oral Examinations performed to determine the need for and, if required, to plan
            a course of orthodontic treatment (includes study models and diagnostic x-
            rays)
        10. Inlays and Crowns (Not part of a bridge. No payment will be made for precious
            metal restorations unless the tooth cannot be restored with another material)
        11. Oral Surgery – including fracture treatment, cyst removal and surgical
            extractions. (Out-of-hospital only)
        12. Apicoectomy – dental root resection
        13. Periodontics:
        14. Examination of gums and underlying bone
        15. Treatment of gums
        16. Gum surgery to remove infection and reshaping of the gums to prevent future
            problems
        17. Bone surgery

(d) Prosthetic Rider - 50%

        1. Full or Partial dentures


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        2. Removable bridges (fixed bridges only when the replacement cannot be made
           by other methods)
        3. All necessary abutment work
        4. Relining of dentures as necessary


(e) Orthodontic Rider - 50%

   Active treatment, including initial installation of necessary appliances.

                 Maximum: $2,000 effective January 1, 2020

   Orthodontic benefits will be available for members under age 19, and for handicapping
   malocclusion only. Orthodontic Benefits will be continued beyond age 19 for a patient
   who is receiving orthodontic services upon the attainment of age 19 until the earlier of
   (1) completion of the current treatment plan or, (2) exhaustion of the maximum life-time
   orthodontic benefit.

(f) Accidental Injury to Sound Teeth

   Accident related procedures are not subject to the annual program dollar maximum. A
   separate per calendar year benefit of $1,950 effective January 1, 2020, will apply
   subject to subrogation provisions. Benefits will not be tied to the accident date but to
   the eligibility for the type of service reported when provided. The dental office is
   responsible for reporting when accident related.

(g) Exclusions

        1. Services received from a dental or medical department maintained by or on
           behalf of any employer, a mutual benefit association, labor union, trustee or
           similar person or group.
        2. Services for which the member incurs no charge.
        3. Services for any occupational condition, ailment or injury arising out of and in
           the course of covered employment under Worker's Compensation or
           Occupational Disease Laws, Federal Employers' Liability Acts, or other similar
           State or Federal Employers’ Liability Acts, or other similar State or Federal
           legislation; or provided by the United States Veterans Administration; or
           provided without cost to the member by any federal, state, county, or municipal
           hospital, agency or instrumentality.
        4. Services with respect to congenital malformations or primarily for cosmetic or
           esthetic purposes.
        5. Services, the cost of which has been or is later recovered in any action at law
           or in compromise or settlement of any claim.


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6. Services or supplies provided by any governmental body or instrumentality,
    whether federal, state or local, pursuant to any program under which any
    periodic payment of premiums, rate, enrollment fee or other similar charge is
    made by or for the member.
7. Appliances or restorations used solely to increase vertical dimensions.
8. Charges for services to the extent that such charges exceed the charge that
    would have been made and actually collected if no coverage existed
    hereunder.
9. Services in a hospital performed by a dentist who in any case is compensated
    by the hospital for similar services when performed for patients.
10. Local anesthesia when billed for separately by the dentist.
11. Gold foil restorations.
12. Complete mouth X-rays are limited to not more than once in any five year
    period, unless special need is shown.
13. Oral examinations, periapical and bitewing X-rays, fluoride applications, and
    prophylaxis services are limited to not more than twice each calendar year.
14. In all cases involving covered services in which the dentist and patient select a
    more expensive course of treatment than is customarily provided by the Dental
    Profession, consistent with sound professional standards of dental practice for
    the dental condition concerned, the Plan will pay the fee allowed for the lesser
    procedure. The dentist may charge the patient the difference for any amount
    over that for which the Plan is liable.
15. In the event a member transfers from the care of one dentist to that of another
    dentist during the course of treatment, or if more than one dentist performs
    services for one dental procedure, the Plan shall be liable for not more than the
    amount it would have been liable for had but one dentist performed the service.
16. Services other than those specifically covered herein.
17. Unusual procedures and techniques.
18. In the event any services to which a member is entitled under this program
    are also covered under any other health benefit plan, the Plan reserves the
    right to take into account the services provided or paid for under such plan in
    its determination of amounts payable for services under this program.
19. Any denture or bridge replacement made less than 5 years after a denture or
    bridge placement or replacement which was covered under this Agreement.
20. Authorized benefits for a bridge or denture completed within 60 days after
    termination under this Agreement are the only benefits available after such
    termination.
21. Charges for an appliance, or modification of one, for which an impression
    was made before the member became covered under the Plan.



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         22. Charges for a crown, bridge, or gold restoration for which the tooth was
             prepared before the member became covered under the Plan.
         23. Charges for root canal therapy if the pulp chamber was opened before the
             member became covered under the Plan.
         24. Charges for orthodontic procedures for which appliances were installed before
             the patient was covered by the Mack Dental Plan.

   (h) Definitions

       1. “Dentist” means a doctor of dental surgery (D.D.S.) or medical dentistry (D.M.D.)
          whose scope of practice is the diagnosis, prevention and treatment of diseases
          of the teeth and related structures.
       2. “Member” means either the covered person under this Program or any of the
          covered person's eligible dependents.
       3. “Plan” means the Company or a third party which enters into an agreement to
          provide the benefits stipulated under this Program.


(i) How to File a Claim
    Most dental providers will file your dental claim for you and your dependents. You need
    to provide your UCCI Identification Card (ID) to your provider. If your provider will not file
    your claim, you will need to obtain a claim form from your local Human Resources office
    or the HR Service Center.

   When you complete your claim form, please return to the Claims Administrator address
   on your ID Card. If your provider does not fill out the appropriate section on the form,
   please submit an itemize bill which contains the following:

             Patient’s name
             Employee name
             Date of service
             Type of service performed
             Amount of charge
             Name, address, phone number and tax identification number of provider.
   Using a network provider (UCCI) will ensure you the most comprehensive
   reimbursement for your claim.
(j) Recovery of Overpayments

   The Claims Administrator has the right to recover overpayments and payments made
   for benefits that were covered by another group health plan, governmental program or a
   statutory plan such as Workers’ Compensation or automobile no-fault. If payment has


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   been made, but is determined to have been paid erroneously, the Claims Administrator
   may recover these payments from the party who received the erroneous payment.

(k) Subrogation

   If you have expenses for dental services that resulted from the negligence or wrong
   doing of a third party, and you reach a settlement or a judgment, the Claims
   Administrator may recover any benefits paid by this Plan.

(l) When coverage ends
          Dental coverage will end on the earliest of the following dates:
          The date the Dental Plan is terminated,
          The last day of the month that your employment terminates.,
          The date you no longer belong to a class of employees eligible for the
            coverage,
          The date you or your enrolled dependents are no longer eligible for coverage,
            and
          When your COBRA coverage continuation ends.


   SECTION 6              Vision Benefits Program

   The Vision Expense Benefits Program as in effect January 1, 2017, as amended below,
   will continue to be provided at Company expense with the following specifications:

   Coverage for vision care benefits will apply to all eligible employees and their
   eligible dependents. Coordination of benefits will apply.

 (a)     Covered Expenses

       Your Blue View Vision Network

       Blue View Vision offers you one of the largest vision care networks in the industry, with
       a wide selection of experienced ophthalmologists, optometrists, and opticians. Blue
       View Vision’s network also includes convenient retail locations, many with evening and
       weekend hours, including LensCrafters, Sears Optical, Target Optical, JCPenney
       Optical and most Pearle Vision locations. Best of all – when you receive care from a
       Blue View Vision participating provider, you can maximize your benefits and money-
       saving discounts.

       Out-of-network: If you choose to, you may receive covered benefits outside of the
       Blue View Vision network. Just pay in full at the time of service, obtain an itemized



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           receipt, and file a claim for reimbursement of your out-of-network allowance. In-
           network benefits and discounts will not apply.

                                                                        IN-NETWORK              OUT-OF-NETWORK

Routine eye exam                                                          $0 copay                $75 Allowance
Once per calendar year

Eyeglass frames                                                $110 allowance, 20% off any        $60 Allowance
One pair every two calendar years                                  remaining balance

Eyeglass lenses
One pair every calendar year in standard plastic with choice of the following options:
           Single vision lenses                                           $0 copay                $40 Allowance
           Bifocal lenses                                                 $0 copay                $50 Allowance
           Trifocal lenses                                                $0 copay                $60 Allowance
           Lenticular lenses                                              $0 copay                $75 Allowance

Eyeglass lens enhancements
When obtaining covered eyewear from a Blue View Vision provider,
members may choose to add any of the following lens enhancements at no extra cost.
           Transitions Lenses (for a child under age 19)            $0 copay                   No allowance on lens
           Standard Polycarbonate (for a child under age
           19)                                                      $0 copay                    enhancements when
           Factory scratch coating                                  $0 copay                  obtained out-of-network

Contact lenses
Once every calendar year instead of eyeglass lenses
           Elective Conventional lenses; or                          $130 allowance;              $130 Allowance
                                                               15% of any remaining balance
           Elective Disposable Lenses; or                            $130 allowance;              $130 Allowance
                                                                 (no additional discount)
           Non-Elective Contact Lenses                                Covered in full             $130 Allowance

Contact lenses fit and follow-up
Available once a comprehensive eye exam has been completed
           Standard contact lens fitting                                     $0                   $35 Allowance

           Premium contact lens fitting                               10% off retail price        $35 Allowance
                                                                   then apply $55 allowance




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ADDITIONAL SAVINGS AVAILABLE FROM IN-NETWORK PROVIDERS                                          In-network Member Cost
                                                                                                   (after any applicable
                                                                                                           copay)
Retinal Imaging                                                                                     Not more than $39

Eyeglass lens upgrades
When obtaining eyewear from a Blue View Vision                 Transition lenses (Adults)                  $75
                                                               Standard Polycarbonate
provider, members may choose to upgrade their                           (Adults)                           $40
new eyeglass lenses at a discounted cost. Eyeglass             Tint (Solid and Gradient)                   $15
lens copayment applies                                                UV Coating                           $15
                                                                  Progressive Lenses
                                                                                   Standard                $65
                                                                             Premium Tier 1                $85
                                                                             Premium Tier 2                $95
                                                                             Premium Tier 3               $110
                                                                Anti-Reflective Coating
                                                                                   Standard               $45
                                                                             Premium Tier 1               $57
                                                                             Premium Tier 2               $68
                                                              Other Add-ons and Services           20% off retail price

Additional Pairs of Eyeglasses                                      Complete Pairs                 40% off retail price
Anytime from any Blue View Vision network provider                 Eyeglass materials              20% off retail price
                                                                  purchased separately

Eyewear Accessories                             Items such as non-prescription sunglasses, lens cleaning supplies,
                                                contact lens solutions, eyeglass cases, etc        20% off retail price

                                                              Discount applies to materials
Conventional Contact Lenses                                              only                      15% off retail price
After covered benefits have been used


             b) Exceptions and Limitations

            Benefits are not available for any lenses not requiring a prescription, including
             sunglasses

            Any lost or broken lenses or frames are not eligible for replacement unless the
             insured person has reached his or her normal service interval as indicated in the
             plan design

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         Medical or surgical treatment of the eye or any medication resulting from this
          treatment is not payable under the Vision Plan

         Benefits are not available for Orthoptics, vision training or subnormal vision aids

         Benefits are not available for services or materials provided as a result of Workers’
          Compensation or for examination required as a condition of employment
(c) How to File a Claim
      Blue View Vision in network providers will file your claim for you and your
      dependents. You need to provide your Vision Identification Card to your provider. If
      your provider will not file your claim, you will need to obtain a claim form from your local
      Human Resources office or the HR Service Center. If you utilize an out of network
      provider they will not file your claim for you.

      When you complete your claim form, please return to the Claims Administrator address
      on your ID Card. If your provider does not fill out the appropriate section on the form,
      please submit an itemize bill which contains the following:

                         Patient’s name
                         Employee name
                         Date of service
                         Type of service performed
                         Amount of charge
                         Name, address, phone number and tax identification number of
                          provider.


      Out-of-Network Claims
             Fax: 866-293-7373
             Email:          conclaims@eyewearspecialoffers.com
             Mail: Blue View Vision
                   Attn: OON Claims
                   PO Box 8504
                   Mason, OH 45040-7111


      Using a Blue View Vision provider (Anthem) will ensure you the most comprehensive
      reimbursement for your claim.




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      (d)    Recovery of Overpayment


      The Claims Administrator has the right to recover overpayments and payments made
      for benefits that were covered by another group health plan, governmental program or a
      statutory plan such as Workers’ Compensation or automobile no-fault. If payment has
      been made, but is determined to have been paid erroneously, the Claims Administrator
      may recover these payments from the party who received the erroneous payment.

(e) Subrogation

      If you have expenses for vision services that resulted from the negligence or wrong
      doing of a third party, and you reach a settlement or a judgment, the Claims
      Administrator may recover any benefits paid by this Plan.
(f) When coverage ends
         Vision coverage will end on the earliest of the following dates:
         The date the Vision Plan is terminated,
         The last day of the month that your employment terminates.,
         The date you no longer belong to a class of employees eligible for the coverage,
         The date you or your enrolled dependents are no longer eligible for coverage,
           and,
         The date your continuation coverage ceases as described in the “COBRA”
           Continuation Section.


      SECTION 7           Keystone HMO

      Keystone Health Plan Central, a Capital BlueCross Company, provides an HMO plan of
      benefits as an alternative to Mack employees residing in the 21 counties of
      Pennsylvania serviced by Keystone. HMOs, unlike PPOs, only provide benefit
      coverage if you are using participating network providers and hospitals. There are no
      out-of-network benefit payments.

      This plan is not an insured benefit plan. The benefits provided are funded by Mack who
      is responsible for their payment. Keystone provides network providers and claims
      payment services but assumes no financial risk or obligation with respect to claims.

      Verification of Benefits
      You or your provider may call Customer Service with any benefit inquiry or verification
      of your benefits during normal business hours (8:00 am to 8:00 pm eastern time).
      Please remember a benefit inquiry/verification is not a verification of coverage or
      guarantee of payment. Call the Customer Service Number on your Identification Card.



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(a)     Schedule of Benefits


SUMMARY OF COST-SHARING                               Amounts Members Are Responsible For:

Deductible (per calendar year)                        $200 per member
                                                      $400 per family

Copayments
                                                      $15 copayment per visit
   Office Visits - PCP (performed by a Family
    Practitioner, General Practitioner, Internist,
    Pediatrician, Preventative Medicine specialist,
    or participating Retail Clinic)



   Specialist Office Visit                           $30 copayment per visit



   After Hours Office Visit (in addition to the      $0 copayment per visit
    PCP office visit copayment)


                                                      $90 copayment per visit, waived if
   Emergency Room                                    admitted



   Urgent Care                                       $90 copayment per visit



   Inpatient (Per Admission)                         $0


                                                      $0
   Outpatient Surgery Copayment (facility)


Coinsurance                                           50% coinsurance, where applicable
Out-of-Pocket Maximum                                 $6,350 per member; $12,700 per family
Coverage Lifetime Maximum                             None


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SUMMARY OF BENEFITS             Limits and Maximums            Amounts Members Are
                                                               Responsible For:

PREVENTIVE CARE: Administered in accordance with Preventive Health Guidelines and
PA state mandates
Preventive Care Services
                                                           Covered in full, waive
 Pediatric Preventive Care                                deductible

   Adult Preventive Care                                      Covered in full, waive
                                                               deductible

Immunizations                                                  Covered in full, waive
                                                               deductible
Mammograms
                                                               Covered in full (no
   Screening Mammogram         One per benefit period         referral necessary),
                                                               waive deductible

                                                               Covered in full after
   Diagnostic Mammogram                                       deductible

Gynecological Services
                                                               Covered in full (no
   Screening Gynecological     One per benefit period         referral necessary),
    Exam                                                       waive deductible

                                                               Covered in full (no
   Screening Pap Smear         One per benefit period         referral necessary),
                                                               waive deductible

BENEFITS LISTED BELOW APPLY ONLY AFTER BENEFIT PERIOD DEDUCTIBLE IS
MET
Acute Care Hospital Room &                                   Covered in full after
Board                                                        deductible
Acute Inpatient Rehabilitation 60 days/benefit period        Covered in full after
                                                             deductible
Skilled Nursing Facility       Unlimited days/benefit period Covered in full after
                                                             deductible
Surgery
                                                             Covered in full after
 Surgical Procedure                                         deductible

                                                               Covered in full after

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   Anesthesia                                                    deductible

Maternity Services and                                            Covered in full after
Newborn Care                                                      deductible
Diagnostic Services
                                                                  Covered in full after
   Radiology                                                     deductible

                                                                  Covered in full, waive
   Laboratory                                                    deductible

                                                                  Covered in full after
   Medical tests                                                 deductible

Outpatient Therapy Services
                                  90 (visits each type/benefit    Copayment applies
   Physical Medicine             period)

                                  60 (visits/benefit period)      Copayment applies
   Occupational, Respiratory &
    Speech Therapy

                                  2 weeks (14 consecutive days)   Copayment applies
   Manipulation Therapy          of acute care service per
                                  accident or injury

Emergency Services                                                Covered in full, waive
                                                                  deductible
                                                                  Emergency room
                                                                  copayment applies,
                                                                  waived if admitted
                                                                  inpatient
Urgent Medical Care
                                                                  Covered in full after
   In Service Area                                               copayment (additional
                                                                  copayment for AH visit)
                                                                  Covered in full after
   Outside Service Area                                          Emergency Room
                                                                  copayment
Medical Transport

   Emergency Ambulance                                           Covered in full, waive
                                                                  deductible

   Non-Emergency Ambulance                                       Covered in full (between
                                                                  facility providers)


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Summary of Benefits            Limits and Maximums                  Amounts Members Are
(CONTINUED)                                                         Responsible For:
Home Health Care Services      Unlimited visits/benefit period      Covered in full after
                                                                    deductible
Hospice Care                   $7,500 lifetime max                  Covered in full after
                                                                    deductible
Durable Medical Equipment                                           50% coinsurance
(DME)
Prosthetic Appliances and                                           Covered in full after
Orthotic Devices                                                    deductible
Diabetic Supplies and                                               Covered in full when
Education                                                           obtained at Participating
                                                                    (DME) Provider
                                                                    50% coinsurance when
                                                                    obtained at a Participating
                                                                    Pharmacy
Infertility Services           Unlimited benefit lifetime           Covered in full after
                               max/subscriber & spouse each         deductible
Assisted Fertilization                                              Not Covered
OTHER STANDARD PLAN FEATURES
Preauthorization       Preauthorization is a clinical program in which our nurses work
                               with physicians to approve and monitor certain health care
                               services prior to the delivery of services. The purpose of
                               Preauthorization is to ensure all members receive medically
                               appropriate treatment to meet their individual needs.
Disease Management             Disease Management Programs are a collaborative process that
                               assess the health needs of a member with a chronic condition
                               and provides education, counseling and on-demand information
                               designed to increase a member’s self-management of his/her
                               diabetes, asthma, heart disease, and/or depression.
Nurse Line                     Nurse Line is staffed 24 hours a day, 7 days a week by
                               experienced Registered Nurses to provide information and
                               support for any health-related concern. Call 800-452-BLUE.
Better Health WorksSM          Answer questions about yourself and the way you live and, based
Personal Profile               on the answers you provide, you will receive customized
                               recommendations for your health situation. Support is available to
                               follow through on these recommendations and to make positive
                               health changes.
mycapbluecross.com             Members register for on-line access to their personal account to
                               check claim status, compare hospital quality and treatment costs,
                               print temporary proof of coverage, read the SimplyWellsm
                               member newsletter, view explanation of benefits, and much more.




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(b) STANDARD BENEFIT EXCLUSIONS.
    The following list highlights some standard benefit exclusions. It is NOT intended to be
    a complete list or a complete description of all categories of benefit exclusions:

   Cosmetic procedures – Acupuncture – Routine foot care; or support devices of the feet
   – Eyeglasses, contact lenses, or vision examinations for prescribing or fitting
   eyeglasses or contact lenses – Corneal surgery and other procedures to correct
   refractive errors – Prescription and over-the-counter drugs dispensed by a pharmacy or
   home health care agency provider – All dental services rendered after stabilization of a
   member in an emergency following an accidental injury – Treatment of obesity and/or
   morbid obesity - Any treatment leading or relating to or in connection with assisted
   fertilization, including donor services – Certain non-neonatal circumcision - Infertility
   services - Private duty nursing services - Procedures to reverse sterilization.
(c) Additional Plan Information
      1. Inpatient admissions as well as certain other services and equipment may
           require preauthorization.
      2. Participating providers agree to accept our allowance as payment in full—often
           less than their normal charge.
      3. For more information or to locate a participating provider, visit
           www.capbluecross.com.


(d) HMO Drug Benefits


   HIGHLIGHTS                          AMOUNTS YOU ARE RESPONSIBLE FOR:
                             Retail Pharmacy          Mail Service              Specialty
                             (up to a 30-day          Pharmacy                  Pharmacy
                             supply)                  (up to a 90-day           (up to a 30-
                                                      supply)                   day supply)
  DEDUCTIBLE
  Per benefit period*  None
  PRESCRIPTION DRUG TIER                              BENEFIT
  Generic Prescription $7 copayment                   $14 copayment             $7 copayment
  Drugs
  Preferred Brand      $22 copayment                  $44 copayment             $22
  Prescription Drugs                                                            copayment
  PRESCRIPTION DRUG TIER (Contraceptives)             BENEFIT
  Generic Prescription $0 copayment                   $0 copayment              Not covered
  Drugs
  Select Brand         $0 copayment                   $0 copayment              Not covered
  Prescription Drugs**
  Preferred Brand      $22 copayment                  $44 copayment             Not covered
  Prescription Drugs


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PRESCRIPTION CATEGORY                              BENEFIT
Contraceptives           Covered                   Covered                    Not covered
Fertility Drugs ($1,000  Covered (50%              Covered (50%               Not covered
benefit lifetime         coinsurance)              coinsurance)
maximum)
Sexual Dysfunction       Covered                   Covered                    Not covered
Drugs
Weight Loss Drugs        Not covered               Not covered                Not covered
Non-Specialty Drugs      Covered                   Covered                    Not covered
(self-administered)
Specialty Drugs (self-   Not covered               Not covered                Covered
administered)
Nicotine Cessation       Not covered               Not covered                Not covered
Products (prescription)
Vitamins (prescription,  Covered                   Covered                    Not covered
non-prenatal)
Prenatal Vitamins        Covered                   Covered                    Not covered
(prescription)
Anti-Flu Therapies       Covered                   Not covered                Not covered
Diabetic Supplies        Covered                   Covered                    Not covered
Topical Retinoid (Acne) Covered with age limit     Covered with age limit     Not covered
Products
Over-the-Counter         Not covered               Not covered                Not covered
Equivalents
UTILIZATION PROGRAM                                BENEFIT
Generic Substitution Program                       Voluntary Generic Substitution – In
                                                   addition to the coinsurance/ copayment, the
                                                   member pays the difference between the
                                                   brand and generic drug price (when there is
                                                   a generic alternative) regardless of whether
                                                   the physician or member requests the
                                                   brand be dispensed.
Quantity Level Limits (per prescription, per day   Applicable to selected drugs. Please
supply or per copayment)                           refer to the Capital BlueCross formulary
                                                   or go to www.capbluecross.com.
Prior Authorization                                Applicable to selected drugs. Please
                                                   refer to the Capital BlueCross formulary
                                                   or go to www.capbluecross.com.
Enhanced Prior Authorization                       Applicable to selected drugs. Please
                                                   refer to the Capital BlueCross formulary
                                                   or go to www.capbluecross.com.




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(e) HMO Drug Exclusions

1. Which are not medically necessary as determined by Capital or its designee;
2. Unless otherwise set forth in the group contract, drugs that do not legally require a
    prescription as determined by Capital;
3. For prescription drugs that have an over-the-counter equivalent;
4. For devices or appliances, including but not limited to, therapeutic devices, artificial
    appliances, or similar devices or appliances, except for diabetic supplies;
5. For the administration or injection of prescription drugs;
6. For prescription drugs received in and billed by a hospital, nursing home, home for the
    aged, convalescent home, home health care agency, or similar institution;
7. For allergy serums, desensitization serums, venom;
8. Which are considered by Capital or its designee to be experimental or investigational;
9. For any illness or injury which occurs in the course of employment if benefits or
    compensation are available or required, in whole or in part, under a workers’
    compensation policy and/or any federal, state or local government’s workers’
    compensation law or occupational disease law, including but not limited to, the United
    States Longshoreman’s and Harbor Workers’ Compensation Act as amended from time
    to time. This exclusion applies whether or not the member makes a claim for the
    benefits or compensation under the applicable workers’ compensation policy/coverage
    and/or the applicable law;
10. For any illness or injury suffered after the member’s effective date of coverage which
    resulted from an act of war, whether declared or undeclared;
11. Which are received by veterans and active military personnel at facilities operated by
    the Veteran’s Administration or by the Department of Defense, unless payment is
    required by law;
12. Which are received from a dental or medical department maintained by or on behalf of
    an employer, mutual benefit association, labor union, trust, or similar person or group;
13. For the cost of benefits resulting from accidental bodily injury arising out of a motor
    vehicle accident, to the extent such benefits are payable under any medical expense
    payment provision (by whatever terminology used, including such benefits mandated by
    law) of any motor vehicle insurance policy;
14. For items or services paid for by Medicare when Medicare is primary consistent with the
    Medicare Secondary Payer Laws. This exclusion shall not apply when the contract
    holder is obligated by law to offer the member the benefits of this coverage as primary
    and the member so elects this coverage as primary;
15. For care of conditions that federal, state or local law requires to be treated in a public
    facility;
16. Which are court ordered services when not medically necessary and/or not a covered
    benefit;


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17. Which are rendered while in custody of, or incarcerated by any federal, state, territorial,
    or municipal agency or body, even if the services are provided outside of any such
    custodial or incarcerating facility or building, unless payment is required by law;
18. Which exceed the allowable amount;
19. Which are cost-sharing amounts, differences between brand drug and generic drug
    prices (i.e. ancillary charges), and balances paid to non-participating pharmacies
    required of the member under this coverage;
20. For prescription drugs that require prior authorization if prior authorization is not
    obtained before dispensing the prescription drugs;
21. For quantities that exceed the limits/levels established by Capital;
22. For which a member would have no legal obligation to pay;
23. Which are incurred prior to the member’s effective date of coverage;
24. Which are incurred after the date of termination of the member’s coverage except as
    provided for in the Certificate of Coverage;
25. Which are received by a member in a country with which United States law prohibits
    transactions;
26. For prescription drugs utilized primarily to enhance physical or athletic performance or
    appearance;
27. For clinical cancer trial costs (e.g., drugs under investigation; patient travel expenses;
    data collection and analysis services), except for costs directly associated with medical
    care and complications, related to a Capital approved trial, which would normally be
    covered under standard patient therapy benefits;
28. For travel expenses incurred in conjunction with benefits unless specifically identified as
    a covered benefit elsewhere in the Certificate of Coverage;
29. For all prescription drugs and over-the-counter drugs dispensed during travel by a
    physician employed by a hotel, cruise line, spa, or similar facility;
30. For durable medical equipment;
31. For blenderized baby food, regular shelf food, or special infant formula;
32. For immunization agents, biological sera, blood, blood products;
33. For prescription drugs utilized to treat infertility;
34. For requests for reimbursement of covered drugs submitted after the allowed timeframe
    for reimbursement;
35. For all prescription drugs and over-the-counter drugs dispensed in a physician’s office
    or by a facility provider;
36. For anti-flu therapies;
37. For prescription drugs in connection with sexual dysfunction. This exclusion applies
    even if such drugs are medically necessary to treat an illness or medical condition
    unrelated to sexual dysfunction so long as there are other drugs which can be used to
    treat the non-sexual dysfunction condition besides the sexual dysfunction drug;
38. For prescription drugs utilized for weight loss purposes;


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39. For prescription drugs utilized to promote hair growth;
40. For prescription drugs utilized for cosmetic purposes;
41. For smoking cessation products;
42. For prescription vitamins (other than prenatal);
43. For topical retinoid products;
44. For injectable medications that cannot be self-administered;
45. For coverage through coordination of benefits;
46. Which are received through the designated and/or non-participating mail service
    pharmacy for mail service dispensing and submitted for reimbursement under retail
    dispensing benefits;
47. Which are received through a retail pharmacy for retail dispensing and submitted for
    reimbursement under mail service dispensing benefits;
48. For prescription drugs utilized in connection with non-covered medical services; and
49. For any other prescription drugs, service or treatment, except as provided in the
    Certificate of Coverage


   SECTION 8             Company and Employee Contributions

   (a) While Employed

       The Company will make the required contributions on behalf of each employee while
       the employee is at work (as defined below) for medical, prescription drug, dental,
       and vision coverage described in this Article IV equal to cost of coverage less the
       required Employee Contributions for health care as defined in Article IV, Section 2.
       Coverage is based on the employee's marital status and number of the employee's
       dependents, provided that such coverage is not in excess of the coverage described
       in the next paragraph.

       The coverage for which the Company will contribute under the foregoing will be
       based on the employee's timely election for:

                 (i)     Employee only,

                 (ii)    Employee and spouse, or

                 (iii)   Employee and family (including spouse and eligible children).

       For purposes of this Section, an employee shall be considered "at work" in any
       month if the employee receives pay from the Company for any time during such
       month.

       Employee Contributions will be taken on a pre-tax basis. When you enroll in
       health care benefits you must do so for you and your eligible dependents within 31

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      days of your eligibility effective date. Your benefit election (including waiver of
      coverage) for you and your eligible dependents will remain in effect throughout the
      calendar year. You may not make changes to your health care coverage elections
      until the next annual enrollment period unless you have a life event change (see
      examples below) and you make that change within 31 days of the life event. This is
      because you are making your required health care contributions on a pre-tax basis
      (before taxes) and therefore, the IRS requires Mack to follow certain tax rules (IRS
      Code Section 125).

      Pre-tax contributions are taken from your pay before Federal, Social Security and (in
      some locations) State taxes are taken. Because your taxable income is reduced,
      you pay fewer taxes and you never will pay tax on that income. This reduction in
      pay has no effect on the value of your other benefits for which you are entitled.

      Eligible dependents may be added (or dropped) during your annual enrollment
      period or within 31 days of the life event change. Examples of life event changes
      include the following:

             Marriage, divorce, legal separation,

             Birth of child, adoption or placement for adoption,

             Death of a spouse or child,

             When your child is no longer an eligible dependent,

             You, your spouse or your child lose coverage under another benefit plan or
              that coverage is significantly changed (your spouse loses his/her job or is
              reduced to part-time status), or

             Your COBRA coverage continuation period ends from another employer.


      If you do not enroll your new dependents within the 31 days requirement, you must
      wait until the next annual enrollment period to do so. You must also drop your
      ineligible dependents within 31 days to reduce your medical contributions.




(b)   During Sick Leave

       During the period you are on an approved sick leave and unable to work your
      customary job or other available work or if you are receiving Long-Term Disability
      benefits after exhaustion of Accident and Sickness Benefits (Article III, Section 3 of
      Appendix B), the Company will pay the full cost for medical, prescription drug, dental,

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        and vision coverage, for you and your eligible dependents for the duration of such
        absence; but not in excess of the period equal to your seniority when the absence
        commenced. You must have been enrolled in health care coverage at the
        commencement of your approved sick leave for such coverage to be extended.

(c)      During Layoff

         If you are laid off, coverage under Article IV will be provided to you and your eligible
         dependents, without cost, through the month following the month, in which the layoff
         occurs. This includes employees laid off under any predetermined bumping system
         which limits job selection for bumping purposes and those employees taking a
         voluntary layoff under any collective bargaining agreement permitting the same. Any
         returning veteran, who would be entitled to reinstatement under the Master
         Bargaining Agreement because of sufficient seniority, who is not reinstated and is
         placed on layoff, will have his/her coverage reinstated at no cost for the balance of
         the month in which he/she is placed on layoff.

         Medical, prescription drug, dental, and vision coverages will continue to be provided
         for you and your eligible dependents, without cost, during any layoff meeting the
         conditions of Section 2 of Article III of the SUB Plan. Continuation of health coverage
         is also extended if you are laid off under any predetermined bumping system which
         limits job selections for bumping purposes and during any voluntary layoff under any
         collective bargaining agreement permitting the same. Coverage is extended for each
         full calendar month of layoff (for which you receive no pay from the Company) for a
         maximum period determined in accordance with the applicable table in Article III,
         Section 6 (c). The day the employee reports for work shall be deemed to be the
         employee's last day worked prior to layoff, but only for purposes of determining the
         period of continuation and eligibility for Company-paid coverage.

         If there is no break in seniority, you may also continue medical, prescription drug,
         dental, and vision coverage during your layoff for an additional twelve consecutive
         months following the last month your coverage was continued at no cost by the
         Company under this Section 8 (c), by paying in advance the full monthly premium for
         such coverage.

         The Company will furnish employees with the same information in writing as
         contained in Article III, Section 6 (c) as to their individual status under this Section 8
         (c) at the time of layoff.

      (d) Surviving Spouses

         (i) If you are killed as the result of an on-the-job accident with the Company, the
                 coverage outlined in Article IV for which you were eligible for and enrolled in

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         at the time of your death will continue at no cost until your spouse remarries,
         and

   (ii) If you die and your surviving spouse qualifies for Bridge Survivor Income Benefits
            (or who would have otherwise qualified for Bridge Survivor Income Benefits
            except they attained age 62 during the period of Transition Benefits) under
            the provisions of the Pension Plan, coverage outlined in Article IV for which
            you were eligible and enrolled will continue at no cost for the six months
            immediately following the date coverage would have ended.

(e) Sponsored Dependents

   The Company will make available group medical and prescription drug coverage
   (but not, dental and vision expense coverage) provided for in this Article IV to
   sponsored dependents at the group rate cost. The employee shall furnish proof
   satisfactory to the Company that such sponsored dependent meets the eligibility
   requirements outlined in Article II, Section 2 (b).



SECTION 9           Continuation of Coverage

(a) Sick Leave

   During the period you are on approved sick leave and unable to work at your
   customary job or other available work, the Company will continue your medical,
   prescription drug, dental and vision coverage at no cost to you if you are eligible and
   enrolled in coverage.

(b) Leave of Absence (Other Than Sick Leave)

   During any period you are on an approved leave of absence pursuant to the
   applicable collective bargaining agreement, [other than leave with the International
   Union, leave because of election to federal, state, county or municipal office, or
   military leave (subject to the employee’s rights under the Uniformed Services
   Employment and Reemployment Rights Act)], the Company will continue your
   medical, prescription drug, dental, and vision coverage, if you are enrolled, without
   contribution through the end of the month following the month in which the leave
   begins. Thereafter, employees have the right to initiate their Federal COBRA rights.

   If you are on an approved local union leave you may continue your dental and vision
   coverage for the duration of such leave starting with the month following the last
   month for which coverage was provided by Company, by paying in advance the
   required full monthly premium.


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   During the period you are on vacation the Company will continue your medical,
   prescription drug, dental and vision coverage in force subject to the required
   Employee Contributions for health care as defined in Section 2.

(c) Layoff

   Subject to any applicable federal or state law, you may continue your medical,
   prescription drug, dental and vision coverage by paying the full group rate cost, while
   on layoff if you have not incurred a break in seniority. Coverage can continue
   through the twelfth consecutive month following the last month the Company paid for
   this coverage as defined in Section 8 of this Article IV.

(d) Recall While Disabled

   If you are recalled from layoff and are not physically able to return to work because
   of a disabling illness or injury incurred during your layoff, you will be eligible for
   benefits under the Insurance Program, provided you furnish the Company with proof
   satisfactory to the Company physician of your bona fide illness or injury. In addition,
   you cannot be entitled to such benefits if you are eligible to receive comparable
   benefits under any insurance program provided by another employer.

(e) While a Grievance is Pending

   If you are terminated, discharged or suspended for disciplinary reasons, your
   medical and prescription drug coverage (but not dental and vision coverage) will be
   continued at Company expense through the month following the month in which the
   termination, discharge or suspension occurred. If you are terminated and have a
   grievance pending for the reasons set forth in Section 6 (e) of Article III of the
   Program, medical and prescription drug coverage (but not dental and vision
   coverage) may be continued by you paying the full group rate until the grievance is
   resolved. If you are reinstated, or the disciplinary layoff is reduced, the Company
   will reimburse you for the insurance contributions which the Company otherwise
   would have paid. Dental and vision expense coverage will cease at the end of the
   day in which loss of seniority occurs.

(f) Return to Active Employment

   In the event your active employment ceases for any reason, and there was no break
   in your seniority, then upon your return to active employment your insurance
   coverage will commence immediately if you were enrolled in coverage when your
   active employment ceased.




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(g) Termination of Employment

   Accident & Sickness benefits, Long Term Disability benefits, life, and accident death
   and dismemberment benefits will cease as of the last day worked. Medical,
   prescription drug, dental, and vision, will cease on the last day of the month in which
   you last work.

   You have 31 days following the termination of your life insurance coverage to
   convert to a non-group, individual life insurance policy. The HR Service Center will
   supply you with the necessary information and forms to exercise this privilege.

   You have the right to exercise your Federal COBRA rights, which allow you to
   continue medical, prescription drug, dental, and vision coverage. See Section 12 for
   additional information on COBRA.

   There are no conversion privileges for AD&D insurance, Accident and Sickness
   benefits or Long Term Disability.



SECTION 10          Federal Medical Benefits Provided By Law

(a) As stated in Article IV, section 1(c), the Program will supplement benefits provided
    by the government, such as the Medicare benefits available under the Social
    Security Act to the extent allowed by the Medicare Secondary Payer Act and other
    applicable federal and state laws. Compliance by the Company with such laws shall
    be deemed full compliance with the provisions of this Program with respect to such
    employees eligible for benefits under such laws. If, as a result of such laws, the
    level of benefits provided for any group of employees or their dependents is
    generally lower than the corresponding level of benefits under the Program, the
    Company shall upon mutual agreement with the Union provide a plan of benefits
    supplementary to the federal benefits to the extent necessary to make total benefits
    as nearly comparable as practicable to the benefits provided under the Program,
    with such contributions by employees as are mutually determined to be consistent
    with the contributions established in this Program.

(b) The provisions of Subsection (a) above to the contrary notwithstanding and upon
    mutual agreement between the Company and the Union, the Company, may, if
    federal laws permit, substitute a plan of benefits for the benefits provided by the
    federal laws referred to in Subsection (a) above and modify the applicable provisions
    of this Program to the extent and in the respects necessary to secure the approval of
    such substitution from the appropriate governmental authority. The Company may
    make such plan available to employees and require from them such contributions as


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   are mutually determined to be consistent with the contributions established in this
   Section.

(c) Medical, prescription drug, dental and vision coverage provided to you under Article
    IV may be reduced by the amount of such benefits provided under any Federal or
    State law. In cases where you exercise an option under any Federal or State law to
    take cash payments in lieu of medical, prescription drug, dental or vision benefits,
    the equivalent of such payments will be required as a contribution toward the
    benefits provided in Article IV, but not to exceed Company cost for the Program.


SECTION 11          Coordination of Benefits

   Coordination of benefits is required under the Medical, Prescription Drug, Dental and
   Vision Programs when you incur eligible expenses and are covered by another
   group health plan, a governmental program, or a statutory plan such as automobile
   No-Fault.

   The Plan uses guidelines established by the National Association of Insurance
   Commissioners (NAIC) to determine the order in which coordinating plans will pay
   benefits. Under these guidelines, a plan without a coordination provision is always
   the primary plan. If all plans have coordinating provisions, the plan covering the
   patient directly as an employee, rather than as a dependent, will be primary, and the
   others will be secondary. If a child is covered under both parents' plans, the plan of
   the parent whose birthday falls earlier in the calendar year will be primary. If both
   parents have the same birthday, the plan that has covered a parent longer will be
   primary.

   When parents are separated or divorced, their plans pay in this order:

   1. The plan of the parent with financial responsibility for medical expenses of the
      child, when established under a court decree.

   2. The plan of the parent with custody of the child.

   3. The plan of the spouse of the parent with custody of the child.

   4. The plan of the parent not having custody of the child.

   5. In cases where dependent children of separated/divorced parents are subject to
      joint custody (and neither parent is designated as specifically responsible for
      health care expenses), the birthday rule is applied.




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If benefits have been provided before the Claims Administrator knows of a court
decree establishing financial responsibility for the medical expenses of the child, the
first point listed above does not apply.

The Plan will not coordinate with an individual insurance policy purchased by you.

In addition to the voluntary incentive set forth in this Article IV, Section 11(d) above,
the Company and Union will jointly study and, if feasible, implement a new
Coordination of Benefits provision to require a working spouse to enroll in his/her
employer’s medical plan, if there is no monthly premium contribution nor out of
network penalties.

COMPUTATION OF BENEFITS

When the Mack Program is the primary plan, benefits will be paid without regard to
any other plan. The secondary plans may then coordinate benefits so that total
benefits paid by all of the plans will not exceed total expenses incurred by the
member.

If the Mack Program is not the primary plan, the primary plan will pay benefits
without regard to the Mack Program. The Mack Plan will subtract the benefits paid
by the primary plan from the eligible expenses incurred. The Mack Plan will pay the
lesser of the remaining eligible expenses or the maximum amount that would have
been payable if the Mack Plan was primary. In no event, however, will the combined
benefit payments from both plans exceed the eligible expenses incurred.

The Plan will have the right to give or receive any information, without prior consent,
that may be necessary to administer the Coordination provisions.

The Plan has the right to recover overpayments and payments made for benefits
that were covered by another group health plan, a governmental program, or a
statutory plan such as Workers' Compensation or automobile No-Fault. If a payment
has been made, but is determined to have been paid erroneously, the Plan may
recover these payments.

If you have expenses that resulted from the negligence or wrong doing of a third
party and you reach a settlement or receive a judgment, the Plan may recover any
benefits paid by the Plan. The Plan may also attempt to recover benefits by filing a
lawsuit.




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SECTION 12          Continuation Of Coverage Under COBRA (Consolidated
                    Omnibus Budget Reconciliation Act of 1985, as Amended)
This section only applies to individuals who were considered active employees on or
after January 1, 1988, and their dependents.
Under federal law, the Plan offers you, your spouse, and your dependent children the
opportunity to elect to purchase a temporary extension of your health care coverage
(called "COBRA continuation coverage") at group rates in certain instances ("qualifying
events") where coverage under the Plan would otherwise end.
COBRA continuation coverage under this Plan is administered by Conexis COBRA
Services. Conexis can be reached at 1-888-678-4881.
(a) Eligibility for COBRA Continuation Coverage
    “Qualified beneficiaries” are eligible for COBRA continuation coverage if their
    coverage under the plan would otherwise end due to a qualifying event and if they
    were covered by the Plan on the day before such qualifying event occurs. Qualified
    beneficiaries include you, your spouse, and your dependent children. Moreover, any
    child who is born to or placed for adoption with you during a period when you are
    receiving COBRA continuation coverage will also be a qualified beneficiary.
    However, if you are married during a period when you are receiving COBRA
    continuation coverage, your new spouse will not be a qualified beneficiary.
   You have the right to elect to purchase COBRA continuation coverage if you lose
   coverage under the Plan due to either of the following qualifying events: (1) a
   reduction of your hours of employment so that you no longer meet the eligibility
   requirements or (2) because of the voluntary or involuntary termination of your
   employment (for reasons other than your gross misconduct).

   Your spouse and your dependent children have the right to purchase COBRA
   continuation coverage if they lose coverage under the Plan due to any of the
   following four qualifying events:
          1) Your death;
          2) The voluntary or involuntary termination of your employment (for reasons
             other than your gross misconduct) or the reduction of your hours of
             employment;
          3) Your divorce or legal separation from your spouse; or
          4) You become entitled to Medicare.
   In addition, any child of yours has the right to purchase COBRA continuation
   coverage if coverage under the Plan is lost because such child ceases to be a
   “Dependent” under the Plan.

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   All notices of qualifying events must be provided to your local Human Resources
   Department. You may be required to provide proof of your qualifying event to
   Human Resources when you provide notice of that event. Human Resources will
   notify Conexis, who is under contract with the Company to administer COBRA.
   Conexis can be reached at 1-888-678-4881.
   Moreover, the filing of a proceeding in bankruptcy under Title 11 of the United
   States Code may be a qualifying event for retirees. If a proceeding in bankruptcy is
   filed with respect to the Company and that bankruptcy results in the loss of
   coverage of any retiree covered under the Plan, the retired employee is a qualified
   beneficiary with respect to the bankruptcy. The retired employee's spouse,
   surviving spouse, and dependent children will also be qualified beneficiaries if
   bankruptcy results in the loss of their coverage under the Plan.
(b) Duration of COBRA Continuation Coverage
   The duration of COBRA continuation coverage depends upon the nature of the
   qualifying event causing the loss of coverage.
   Where coverage under the Plan is lost because of your termination of employment
   or reduction in hours, you, your spouse, and/or your dependent children will be
   afforded the opportunity to purchase COBRA continuation coverage for 18 months
   from the date of the qualifying event.
   If your spouse and/or dependent children lose coverage under the Plan due to any
   qualifying event other than your termination of employment or reduction in hours,
   they will be afforded the opportunity to purchase COBRA continuation coverage for
   36 months from the date of the qualifying event.
   Where your spouse and/or dependent children lose coverage under the Plan
   because of your termination of employment or reduction in hours, the 18-month
   period of COBRA continuation coverage may be extended to 36 months if they
   experience a second qualifying event during the initial 18-month period. Secondary
   qualifying events include your death, divorce, or the cessation of your child’s status
   as a dependent child under the Plan. If your spouse and/or dependent children
   experience a secondary qualifying event, they should notify Human Resources or
   Conexis of the occurrence of such event within 60 days of the event and advise the
   Plan if they wish to extend coverage.

   Moreover, in the event of your termination of employment or a reduction in your
   hours, coverage for you, your spouse, and/or your dependent children may be
   extended from 18 months to 29 months if one of you is determined by the Social
   Security Administration to be disabled, either at the time of the initial qualifying event
   or at any time during the first 60 days of COBRA continuation coverage. Notice of


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   such disability determination must be provided to the Plan on a date that is both
   within 60 days after the date of the determination and before the end of the 18-
   month period applicable to the initial qualifying event.
   If the disability extension applies with respect to a qualifying event, it applies with
   respect to each qualified beneficiary entitled to COBRA continuation coverage
   because of that qualifying event. Thus, the 29-month maximum coverage period
   applies to each qualified beneficiary who is not disabled as well as to the qualified
   beneficiary who is disabled and it applies independently with respect to each of the
   qualified beneficiaries.

   The qualified beneficiary must notify the Plan within 60 days if he or she is no longer
   disabled. The disability extension of COBRA continuation coverage will terminate
   upon recovery from disability if 18 months of continuation coverage have already
   been received.
   If more than one qualifying event occurs, no more than 36 months of COBRA
   continuation coverage will be available. Coverage will end sooner if Volvo ceases to
   provide any group health coverage, or if you or the individual covered under
   COBRA, after electing COBRA continuation coverage:

          initially becomes covered under another group health plan that does not have
           a pre-existing condition limitation, or
          fails to make required contributions when due, or
          initially becomes eligible for Medicare benefits. For purposes of termination of
           COBRA continuation coverage, an individual becomes eligible for Medicare
           benefits upon the effective date of enrollment in Part A or Part B, whichever
           occurs earlier.
(c) Scope of Continuation Coverage
    If a qualified beneficiary elects continuation coverage, the Plan will permit him or her
    to continue the Medical, Prescription Drug, Vision, and Dental Coverage that he or
    she was receiving immediately before the qualifying event. Such coverage will be
    identical to those coverages provided under the Plan to similarly situated employees,
    spouses and/or dependent children. COBRA continuation coverage does not
    include the continuation of Life Insurance, AD&D Insurance, A&S or LTD Coverages.
(d) Cost of COBRA Continuation Coverage
    You must pay the entire cost for COBRA continuation coverage. In the event you
    become eligible to elect COBRA continuation coverage, your Human Resources
    Department will advise you of your cost for coverage. In the case of disabled



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   participants who continue coverage after 18 months (up to 29 months) the maximum
   cost for COBRA coverage will be 150% of the cost for the extra coverage period.

   Your first payment, covering the entire period since the date of the qualifying event,
   is due within 45 days after the date on which COBRA continuation coverage is
   elected. Thereafter, you must pay for COBRA continuation coverage on a monthly
   basis, and payment is due at the Plan by the first of every month. You will receive a
   30-day grace period each month. As such, payment must be received by the end of
   the grace period on last day of the current month of eligibility. Failure to pay any
   premium in a timely manner (either by the end of the 45-day initial premium payment
   period or by the end of the monthly grace period) could cause your COBRA
   continuation coverage to be retroactively terminated. The Plan is not required under
   COBRA to send premium billing statements.
   Payment of benefits for any period may be delayed until your payment is received
   for that period. If you use the Plan during any period, you will be responsible for the
   premiums for that period.
   To the extent alternative continuation privileges are available under the Program that
   satisfy all the requirements for COBRA continuation coverage, such alternative
   continuation privileges will be integrated with the COBRA continuation coverage.
(e) COBRA Continuation Coverage Notification
    In the event of a divorce or legal separation, enrollment in Medicare, or a child no
    longer qualifying as a dependent, you must notify your Human Resources
    Department as soon as possible, but no later than 60 days after the event. Within
    14 days, your dependents will be advised of their rights to continue coverage under
    the Plan.
   In the event of a termination of employment, reduction of hours, or your death, you,
   your spouse, and/or your dependent children will automatically be notified of this
   opportunity to continue coverage. If you do not receive such notice within 14 days,
   please contact the Human Resources Service Center.
   If your family experiences another qualifying event while receiving COBRA
   continuation coverage, and if your spouse and dependent children wish to extend
   the duration of their continuation coverage as described above, you must make sure
   that the Human Resources Service Center is notified of the second qualifying event
   within 60 days after the occurrence of such second qualifying event.
   In order to protect your family’s rights, you should keep the Human Resources
   Service Center informed of any changes in the addresses of you or your family
   members. You should also keep a copy, for your records, of any notices you send
   to the Human Resources Service Center.

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(f) Election of COBRA Continuation Coverage
    You, your spouse, and/or your dependent children will have at least 60 days in which
    to elect continuation coverage. This election period will end the later of 60 days from
    the date you are notified of your continuation coverage rights or 60 days from the
    date of your loss of coverage. The Plan is not required to pay benefits until you
    have elected continuation coverage and paid the applicable premium. If, however,
    you, your spouse, and/or your dependent children apply for benefits under the Plan
    during the election period and benefits are paid from the plan, you will be considered
    to have elected continuation coverage, and you will be legally responsible for the
    premiums for that coverage.
   In accordance with the Trade Act of 2002, you will be afforded a second 60-day
   COBRA election period if you become eligible for trade adjustment assistance (TAA)
   under the Trade Act of 1974. You may be eligible to receive TAA if your
   employment is adversely affected by international trade (increased imports or a shift
   of production to another country). If you are a TAA-eligible individual and you did
   not elect continuation coverage during the 60-day COBRA election period that was a
   direct consequence of a TAA-related loss of coverage, you may elect continuation
   coverage during a 60-day period that begins on the first day of the month in which
   you are determined to be TAA-eligible, provided such election is made not later than
   6 months after the date of the TAA-related loss of coverage. You may elect
   coverage for yourself and your eligible dependents who are also qualified
   beneficiaries. Any continuation coverage elected during the second election period
   will begin with the first day of the second election period, and not on the date on
   which coverage originally lapsed.
   Any coverage which has been extended will end for you or your covered dependents
   on the first date on which any of the following occurs:

             the maximum coverage period for your qualifying event ends;
             you fail to pay the cost of COBRA continuation coverage on a timely basis;
             the date after electing COBRA continuation coverage, that the qualified
              beneficiary initially becomes covered for benefits under another group
              plan, unless the new plan contains a pre-existing condition exclusion or
              limitation which applies to any pre-existing condition of you and/or your
              dependent;
             the date that group health plan coverage ends for all employees of the
              Company;
             the date, after electing COBRA coverage, that the qualified beneficiary
              initially becomes entitled to Medicare benefits (except in certain cases).


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             the date on which the Social Security Administration determines that a
              covered person receiving 11 additional months of COBRA continuation
              coverage under a disability extension (beyond the initial 18-month period)
              is no longer disabled.
      (g) Effect of Failure to Elect Continuation Coverage
          In considering whether to elect continuation coverage, you should take into
          account that a failure to continue your group health coverage will affect your
          future rights under federal law. First, you can lose the right to avoid having
          pre-existing condition exclusions applied to you by other group health plans if
          you have more than a 63-day gap in health coverage, and election of
          continuation coverage may help you not have such a gap. Second, you will
          lose the guaranteed right to purchase individual insurance policies that do not
          impose such pre-existing condition exclusions if you do not get continuation
          coverage for the maximum time available to you. Finally, you should take into
          account that you have special enrollment rights under federal law. You have
          the right to request special enrollment in another group health plan for which
          you are otherwise eligible (such as a plan sponsored by your spouse’s
          employer) within 30 days after your group health coverage ends because of a
          qualifying event. You will also have the same special enrollment right at the
          end of continuation coverage if you get continuation coverage to the
          maximum time available to you.
      (h) If You Have Questions
          If you have questions about your COBRA continuation coverage, you should
          contact your HR Service Center at 800-344-8339, or you may contact the
          nearest Regional or District Office of the U.S. Department of Labor’s
          Employee Benefits Administration (EBSA). Addresses and phone numbers of
          Regional and District EBSA Offices are available through the EBSA website
          at www.dol.gov/ebsa.



                                             ARTICLE V

                                                  General
SECTION 1            Group Practice

In the event that a group practice direct service medical or dental care plan is
established or is available in any location where a facility of the Company is located, the
parties agree that, subject to the group practice plan satisfying both parties as to the
comprehensiveness and quality of services provided, each employee in such location

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will annually be offered the opportunity to choose between the group practice plan and
the medical or dental care coverage as outlined herein. The Company will pay to the
group practice plan, on behalf of those employees selecting such coverage an amount
equal to what it would have paid for the coverage outlined herein.

SECTION 2           Issue Resolution

   (a) The question of whether or not an employee is eligible for participation in the
       Program within the meaning of this Agreement may be determined through the
       grievance procedure at the plant where the employee works or worked.

   (b) In the event of any conflict between the provisions of the Insurance Program,
       (i.e., Appendix "B") and the provisions of any Insurance Policy or Rider, the
       provisions of the Insurance Program will supersede the provisions of such
       Policies or Riders to the extent necessary to eliminate such conflict.

   (c) It is understood that no grievance procedure of any collective bargaining
       agreement between the parties hereto shall apply to the Insurance Program or
       any insurance contract in connection therewith and that any claim for an insured
       benefit will be presented for settlement only to the insurer. Claims that are not
       settled in accordance with the terms of the Insurance Program shall be resolved
       in accordance with the Claims Review and Appeals Procedure in Article V,
       Sections 3 and 4.

SECTION 3           Claims Review and Appeals Procedures (except
                    Medco/Express Script)

The law provides that the Plan must set up reasonable rules for filing a claim for
benefits. In general, you (or your designated beneficiary) must file a written claim on
the appropriate form. Claims are normally filed by your provider.

Your claim and appeal rights as described herein may be asserted on your behalf by
your authorized representative (including a UAW Representative).

The law allows a reasonable amount of time for the Claims Administrator to evaluate a
claim and to decide whether to pay benefits based on the information contained in the
written claim.

You are entitled to receive written notice as to the status of your claim – whether it is
allowed, in full or in part, or denied. The timing of such notice depends upon the type of
claim that has been filed. The specific time periods are described below. If your claim
is denied in whole or in part, you may appeal the denial by following the specified
appeal procedures for each plan. Some plans have multiple levels of appeal, except life


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insurance and long term disability, which are determined by the carrier. The group
health plan for example, has multiple levels of appeal, including the right for an external
review of the denial in certain situations. The first level of appeal for health plans is a
mandatory appeal with the Claims Administrator. If you are not satisfied with that
determination, you may wish to initiate a second, voluntary appeal for your claim. For
your voluntary appeal, you must choose to use either the external review for the group
health plan or the UAW appeal process described later in this Section.

(a) Timing of Notice of Initial Determination
       You are entitled to receive written notice as to the status of your claim – whether
       it is allowed, in full or in part, or denied. The timing of such notice depends upon
       the type of claim that has been filed.
       In the case of a health claim involving urgent care, you will receive notice of the
       Plan’s benefit determination (whether adverse or not) as soon as possible, taking
       into account all medical emergencies and circumstances, but not later than 72
       hours after the Plan receives your claim, unless you fail to provide sufficient
       information to determine whether, or to what extent, benefits are covered or
       payable under the Plan. In the case of such a failure, the Plan shall notify you as
       soon as possible, but not later than 24 hours after receipt of the claim by the
       Plan, of the specific information necessary to complete the claim. You shall then
       be afforded a reasonable amount of time, taking into account the circumstances,
       but not less than 48 hours, to provide the specified information. The Plan shall
       then notify you of its benefit determination as soon as possible, but in no case
       later than 48 hours after the earlier of the Plan’s receipt of the specified
       information or the end of the period afforded to you to provide the additional
       specified information.
       If the Plan has approved an ongoing course of treatment to be provided over a
       period of time or a number of treatments, the Plan shall notify you of any
       reduction or termination by the Plan of such course of treatment before the end
       of such period of time or number of treatments. Such notice shall be provided at
       a time sufficiently in advance of the reduction or termination to allow you to
       appeal and obtain a determination on review before the benefit is reduced or
       terminated.

       If you have a claim for urgent care and you wish to extend a course of treatment
       beyond the period of time or number of treatments that constitutes such urgent
       care, the Plan shall decide your request as soon as possible, taking into account
       all medical emergencies and circumstances, and the Plan shall notify you of its
       benefit determination, whether adverse or not, within 24 hours after receipt of the



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 claim by the Plan, provided that any such claim is made to the Plan at least 24
 hours prior to the expiration of the period of time or number of treatments.

 In the case of any other pre-service health claim, the Plan shall notify you of the
 Plan’s benefit determination within a reasonable period of time appropriate to the
 medical circumstances, but not later than 15 days after receipt of the claim by the
 Plan. This period may be extended one time by the Plan for up to 15 days,
 provided that the Plan both determines that such an extension is necessary due
 to matters beyond the Plan’s control and notifies you, prior to the expiration of the
 initial 15-day period, of the circumstances requiring the extension and the date by
 which a determination will be made. If such an extension is necessary due to
 your failure to submit the information required to decide the claim, the notice of
 extension shall specifically describe the information required and you shall be
 afforded at least 45 days from receipt of such notice within which to provide the
 specified information.
 In the case of any other post-service health claim, the Plan shall notify you of the
 Plan’s benefit determination within a reasonable period of time, but not later than
 30 days after receipt of the claim. This period may be extended one time by the
 Plan for up to 15 days, provided that the Plan both determines that such an
 extension is necessary due to matters beyond the Plan’s control and notifies you,
 prior to the expiration of the initial 30-day period, of the circumstances requiring
 the extension and the date by which a determination will be made. If such an
 extension is necessary due to your failure to submit the information required to
 decide the claim, the notice of extension shall specifically describe the
 information required and you shall be afforded at least 45 days from receipt of
 such notice within which to provide the specified information.

 In the case of a claim for disability benefits, the Plan shall notify you of the Plan’s
 benefit determination within a reasonable period of time, but not later than 45
 days after receipt of the claim. This period may be extended by the plan for up to
 30 days, provided that the Plan both determines that such an extension is
 necessary due to matters beyond the Plan’s control and notifies you, prior to the
 expiration of the initial 45-day period, of the circumstances requiring the
 extension and the date by which a determination will be made. If prior to the end
 of the first 30-day extension period, the Plan determines that, due to
 circumstances beyond the control of the Plan, a decision cannot be rendered
 within the extension period, the period for making the determination may be
 extended for up to an additional 30 days, provided the Plan notifies the claimant,
 prior to the expiration of the first 30-day extension period, of the circumstances
 requiring the extension and the date by which the determination will be made. In

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   the case of any extension, the notice of extension shall specifically explain the
   standards on which entitlement to a benefit is based, the unresolved issues that
   prevent a decision on the claim, and the additional information needed to resolve
   those issues. The claimant shall be afforded at least 45 days to provide the
   specified information.
   In the case of a claim for life insurance benefits, the Plan shall notify you of the
   Plan’s benefit determination within a reasonable period of time, but not later than
   90 days after receipt of the claim. This period may be extended by the Plan for
   up to 90 days, provided that the Plan both determines that such an extension is
   necessary due to matters beyond the Plan’s control and notifies you, prior to the
   expiration of the initial 90-day period, of the circumstances requiring the
   extension and the date by which a determination will be made. The extension
   notice shall indicate the special circumstances requiring an extension of time and
   the date by which the plan expects to render the benefit determination.
(b) If Claim is Denied
    If your claim under the Plan is denied, either in full or in part, you will receive a
    written notice that explains the reasons for the denial and references to the
    specific Plan provisions on which the denial was based. If your claim was denied
    because you did not furnish complete information or documentation, the notice
    will state the additional materials needed to support your claim and why such
    information is necessary. The notice will also tell you how to request a review of
    the denied claim and will also include a statement of your right to bring a lawsuit
    under section 502 of the Act following a denial on review.
   If an internal rule, guideline, protocol, or other similar criterion was relied upon in
   making the benefit determination, the notice of denial will set forth either the
   specific rule, guideline, protocol or other similar criterion, or a statement that such
   was relied upon and will be provided to you free of charge upon request.
   If the denial is based on a medical necessity or experimental treatment or similar
   exclusion or limit, the notice shall set forth either an explanation of the scientific
   or clinical judgment for the determination, applying the terms of the Plan to your
   medical circumstances, or a statement that such an explanation will be provided
   free of charge upon request.
   In the case of a denial of a claim involving urgent care, the notice will describe
   the expedited review process applicable to such claims.
(c) Appeal of Claim Denial
    You shall have a reasonable opportunity to appeal any denial of you claim, and
    such appeal shall involve a full and fair review of your claim.


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   Your appeal shall be submitted within 180 days of your receipt of the notice that
   your claim has been denied. As part of your appeal you may submit written
   comments, documents, records and other information relating to your claim. You
   may also be provided, upon request and free of charge, reasonable access to
   and copies of all documents, records and other information relevant to your
   claim. The review of your claim shall take into account all comments,
   documents, records and other information submitted by you relating to your
   claim, without regard to whether such information was submitted or considered in
   the initial benefit determination.
   The review on appeal shall not afford any deference to the initial denial. If the
   denial of your claim is based in whole or in part on a medical judgment, the
   review shall involve consultation with a health care professional who has
   appropriate training and experience in the field involved in the medical judgment
   and who was not an individual consulted in connection with the initial benefit
   determination. Additionally, you will be notified of the identity of medical or
   vocational experts whose advice was obtained by the Plan in connection with
   your claim, without regard to whether the advice was relied upon in the denial of
   the claim.
   In the case of a claim involving urgent care, the review process may be
   expedited in that you may request an expedited appeal either orally or in writing
   and all necessary information, including the plan’s determination on review, may
   be transmitted between the Plan and you by telephone, facsimile or other
   available similarly expeditious method.
(d) Timing of Notification on Appeals
    In the case of a claim involving urgent care, the Plan shall notify you of the Plan’s
    determination on appeal as soon as possible, taking into account all medical
    emergencies and circumstances, but not later than 72 hours after receipt of the
    request for review.
   For a pre-service health claim, the Plan shall notify you of the Plan’s
   determination on appeal within a reasonable period of time appropriate to the
   medical circumstances, but not later than 30 days after receipt of the request for
   review.
   For a post-service health claim, the Plan shall notify you of the Plan’s
   determination on appeal within a reasonable period of time, but not later than 60
   days after receipt of the request for review.
   For a claim involving disability benefits, the Plan shall notify you of the Plan’s
   determination on appeal within a reasonable period of time, but not later than 45


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   days after receipt of the request for review. This period may be extended by the
   Plan for up to 45 days, provided that the Plan both determines that such an
   extension is necessary due to matters beyond the Plan’s control and notifies you,
   prior to the expiration of the initial 45-day period, of the circumstances requiring
   the extension and the date by which a determination will be made. The
   extension notice shall indicate the special circumstances requiring an extension
   of time and the date by which the plan expects to render the benefit
   determination.

   For a claim involving life insurance benefits, the Plan shall notify you of the Plan’s
   determination on appeal within a reasonable period of time, but not later than 60
   days after receipt of the request for review. This period may be extended by the
   Plan for up to 60 days, provided that the Plan both determines that such an
   extension is necessary due to matters beyond the Plan’s control and notifies you,
   prior to the expiration of the initial 60-day period, of the circumstances requiring
   the extension and the date by which a determination will be made. The
   extension notice shall indicate the special circumstances requiring an extension
   of time and the date by which the plan expects to render the benefit
   determination.
(e) Denial of Appeals
     If your appeal is denied, either in full or in part, you will receive a written notice
     that explains the reasons for the denial and references to the specific Plan
     provisions on which the denial was based. The notice will tell you that you are
     entitled to receive, upon request and free of charge, reasonable access to and
     copies of all documents, records and other information relevant to your claim.
     The notice will describe the voluntary appeal procedures described below and
     will include a statement of your right to bring a lawsuit under section 502 of the
     Act.
    If an internal rule, guideline, protocol, or other similar criterion was relied upon in
    denying the appeal, the notice of denial will set forth either the specific rule,
    guideline, protocol or other similar criterion, or a statement that such was relied
    upon and will be provided to you free of charge upon request.
    If the denial on appeal is based on a medical necessity or experimental
    treatment or similar exclusion or limit, the notice shall set forth either an
    explanation of the scientific or clinical judgment for the determination, applying
    the terms of the Plan to our medical circumstances, or a statement that such an
    explanation will be provided free of charge upon request.
(f) Additional Voluntary Appeals For Medical Claims – Member may choose
    between an External or UAW Review

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 1. External Review

      If the outcome of the mandatory first level appeal is adverse to You and it
      was based on medical judgment, You may be eligible for an independent
      External Review pursuant to federal law.

      You must submit Your request for External Review to the Claims
      Administrator within four (4) months of the notice of Your final internal
      adverse determination.

      A request for an External Review must be in writing unless the Claims
      Administrator determines that it is not reasonable to require a written
      statement. You do not have to re-send the information that You submitted for
      internal appeal. However, You are encouraged to submit any additional
      information that You think is important for review.

     For pre-service claims involving urgent/concurrent care, You may proceed
      with an Expedited External Review without filing an internal appeal or while
      simultaneously pursuing an expedited appeal through the Claims
      Administrator’s internal appeal process. You or Your authorized
      representative may request it orally or in writing. All necessary information,
      including the Claims Administrator’s decision, can be sent between the
      Claims Administrator and You by telephone, facsimile or other similar
      method. To proceed with an Expedited External Review, You or Your
      authorized representative must contact the Claims Administrator at the
      number shown on Your identification card and provide at least the following
      information:
     the identity of the claimant;
     the date(s) of the medical service;
     the specific medical condition or symptom;
     the provider’s name;
     the service or supply for which approval of benefits was sought; and
     any reasons why the appeal should be processed on a more expedited
      basis.


      All other requests for External Review should be submitted in writing unless
      the Claims Administrator determines that it is not reasonable to require a
      written statement. Such requests should be submitted by You or Your
      authorized representative to:

      Anthem Blue Cross and Blue Shield, ATTN: Appeals, P.O. Box 105568,
      Atlanta, Georgia 30348

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    You must include Your Member Identification Number when submitting
    an appeal.

    This is not an additional step that You must take in order to fulfill Your appeal
    procedure obligations described above. Your decision to seek External
    Review will not affect Your rights to any other benefits under this health care
    plan. There is no charge for You to initiate an independent External Review.
    The External Review decision is final and binding on all parties except for any
    relief available through applicable state laws or ERISA.

 2. UAW Appeal Process
    Procedures will be developed at the local operations with respect to
    discussions between Company and Local Union representatives in regard to
    the status of benefit claims presented under the Insurance Program.

    In the event that local procedures do not result in disposition of the claim, the
    Corporate Human Resources Department will furnish upon request of the
    Director of the UAW Heavy Truck Department any necessary information
    concerning the status of a claim upon which the question has arisen.

    After the Corporate Human Resources Department has furnished information
    concerning the status of a claim, the Director of the UAW-Heavy Truck
    Department may request a meeting with representatives of the Company for
    the purpose of discussing any specified claims upon which questions remain.
    The date upon which such meetings are to be held will be determined by
    mutual agreement. All questions raised with respect to such claims will be
    based on the provisions of the Insurance Program, and the responses to such
    questions will be in accordance with such Program.

    In the event the response of the Corporate Human Resources Department
    does not resolve the claim, and, in the opinion of the Union, the response
    violates any provision of the Insurance Program, the Union may request the
    appointment of an Impartial Arbitrator to hear and determine such dispute.
    Such Arbitrator will be the Permanent Arbitrator under the Master Agreements
    unless within thirty days after such request another person is selected by
    mutual agreement.

    The Arbitrator shall make his decision in accordance with the applicable
    provisions of the Insurance Program and he shall have no authority to add to
    or subtract from or modify any of the terms of the Insurance Program, nor to
    change or add to any benefit provided by the Insurance Program, nor to
    waive or fail to apply any requirement of eligibility for a benefit under the
    Insurance Program.


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          No decision of an Arbitrator in one case shall create a basis for a retroactive
          adjustment in any other case prior to the date of written filing of such other
          claim.

          There shall be no appeal from any ruling by the Arbitrator which is within his
          authority. Each such ruling shall be final and binding on the Union and its
          members, the employee or employees involved, and on the Company. Any
          case referred to the Arbitrator on which he has no authority to rule shall be
          referred back to the parties.

          The Company and the Union shall bear equally the fees and expenses of the
          Arbitrator.

(g) Requirement to file an Appeal before filing a lawsuit
    No lawsuit or legal action of any kind related to a benefit decision may be filed by
    You in a court of law or in any other forum, unless it is commenced within three
    years of the Plan's final decision on the claim or other request for benefits. If the
    Plan decides an appeal is untimely, the Plan's latest decision on the merits of the
    underlying claim or benefit request is the final decision date. You must exhaust the
    Plan's internal Appeals Procedure but not including any voluntary level of appeal,
    before filing a lawsuit or taking other legal action of any kind against the Plan. If
    Your health benefit plan is sponsored by Your employer and subject to the
    Employee Retirement Income Security Act of 1974 (ERISA) and Your appeal as
    described above results in an adverse benefit determination, You have a right to
    bring a civil action under Section 502(a) of ERISA.

SECTION 4            Claims Review Procedures and Appeals for Prescription Drugs
                     (Medco/ExpressScripts)
A pre-service claim is a request for coverage of a medication when your plan requires
you to obtain approval before a benefit will be payable. For example, a request for prior
authorization is considered a pre-service claim. For these types of claims (unless
urgent as described below) you will be notified of the decision not later than 15 days
after receipt of a pre-service claim that is not an urgent care claim, provided you have
submitted sufficient information to decide your claim. A Post-Service claim is a request
for coverage or reimbursement when you have already received the medication. For
post-service claims, you will be notified of the decision no later than 30 days after
receipt of the post-service claim, as long as all needed information was provided with
the claim.

If sufficient information to complete the review has not been provided, you will be
notified that the claim is missing information within 15 days from receipt of your claim for
pre-service and 30 days from receipt of your claim for post-service. You will have 45

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days to provide the information. If all of the needed information is received within the 45-
day time frame, you will be notified of the decision not later than 15 days after the later
of receipt of the information or the end of that additional time period. If you don’t
provide the needed information within the 45-day period, your claim is considered
“deemed” denied and you have the right to appeal as described below.

If your claim is denied, in whole or in part, the denial notice will include information to
identify the claim involved, the specific reasons for the decision, the plan provisions on
which the decision is based, a description of applicable internal and external review
processes and contact information for an office of consumer assistance or ombudsman
(if any) that might be available to assist you with the claims and appeals processes and
any additional information needed to perfect your claim. You have the right to a full and
fair impartial review of your claim. You have the right to review your file and the right to
receive, upon request and at no charge, the information used to review your claim. If
you are not satisfied with the decision on your claim (or your claim is deemed denied),
you have the right to appeal as described below.

(a) Urgent Claims (Expedited Reviews)
    An urgent care claim is defined as a request for treatment when, in the opinion of
    your attending provider, the application of the time periods for making non-urgent
    care determinations could seriously jeopardize your life or health or your ability to
    regain maximum function or would subject you to severe pain that cannot be
    adequately managed without the care or treatment that is the subject of your claim.
    In the case of a claim for coverage involving urgent care, you will be notified of the
    benefit determination within 72 hours of receipt of the claim provided there is
    sufficient information to decide the claim.

   If the claim does not contain sufficient information to determine whether, or to what
   extent, benefits are covered, you will be notified within 24 hours after receipt of your
   claim that information is necessary to complete the claim. You will then have 48
   hours to provide the information and will be notified of the decision within 48 hours of
   receipt of the information. If you don’t provide the needed information within the 48-
   hour period, your claim is considered “deemed” denied and you have the right to
   appeal as described below.

   If your claim is denied, in whole or in part, the denial notice will include information to
   identify the claim involved, the specific reasons for the decision, the plan provisions
   on which the decision is based, a description of applicable internal and external
   review processes and contact information for an office of consumer assistance or
   ombudsman (if any) that might be available to assist you with the claims and
   appeals processes and any additional information needed to perfect your claim. You
   have the right to a full and fair impartial review of your claim. You have the right to

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   review your file and the right to receive, upon request and at no charge, the
   information used to review your claim. If you are not satisfied with the decision on
   your claim (or your claim is deemed denied), you have the right to appeal as
   described below.

(b) Non-Urgent Appeal
    If you are not satisfied with the decision regarding your benefit coverage or you
    receive an adverse benefit determination following a request for coverage of a
    prescription benefit claim (including a claim considered “deemed” denied because
    missing information was not timely submitted), you have the right to appeal the
    adverse benefit determination in writing within 180 days of receipt of notice of the
    initial coverage decision. An appeal may be initiated by you or your authorized
    representative (such as your physician).

       To initiate an appeal for coverage, provide in writing:
          your name
          member ID
          phone number
          the prescription drug for which benefit coverage has been denied and
          any additional information that may be relevant to your appeal




                    This information should be mailed to:
                    Medco Health Solutions, Inc.,
                    Attn: Appeals
                    PO Box 631850
                    Irving, TX 75063-0030

   A decision regarding your appeal will be sent to you within 15 days of receipt of your
   written request for pre-service claims or 30 days of receipt of your written request for
   post-service claims. If your appeal is denied, the denial notice will include
   information to identify the claim involved, the specific reasons for the decision, the
   plan provisions on which the decision is based, a description of applicable internal
   and external review processes and contact information for an office of consumer
   assistance or ombudsman (if any) that might be available to assist you with the
   claims and appeals processes and any additional information needed to perfect your
   claim. You have the right to a full and fair impartial review of your claim. You have
   the right to review your file and the right to receive, upon request and at no charge,
   the information used to review your appeal. You also have the right to request the


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diagnosis code and treatment code and their corresponding meanings which will be
provided to you if available (i.e., if the information was submitted, relied upon,
considered or generated in connection with the determination of your claim).

If you are not satisfied with the coverage decision made on your appeal, you may
request in writing, within 90 days of the receipt of notice of the decision, a second
level appeal. A second level appeal may be initiated by you or your authorized
representative (such as your physician). To initiate a second level appeal, provide in
writing:
       your name
       member ID
       phone number
       the prescription drug for which benefit coverage has been denied
       any additional information that may be relevant to your appeal


        This information should be mailed to:

        Medco Health Solutions, Inc.
        Attn: Appeals
        PO Box 631850
        Irving, TX 75063-0030

A decision regarding your request will be sent to you in writing within 15 days of
receipt of your written request for pre-service claims or 30 days of receipt of your
written request for post-service claims. If the appeal is denied, the denial notice will
include information to identify the claim involved, the specific reasons for the
decision, new or additional evidence, if any considered by the plan in relation to your
appeal, the plan provisions on which the decision is based, a description of
applicable external review processes and contact information for an office of
consumer assistance or ombudsman (if any) that might be available to assist you
with the claims and appeals processes. You have the right to a full and fair impartial
review of your claim. You have the right to review your file, the right to receive, upon
request and at no charge, the information used to review your second level appeal,
and present evidence and testimony as part of your appeal. You also have the right
to request the diagnosis code and treatment code and their corresponding meanings
which will be provided to you if available (i.e., if the information was submitted, relied
upon, considered or generated in connection with the determination of your claim).
If new information is received and considered or relied upon in the review of your
second level appeal, such information will be provided to you together with an



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   opportunity to respond prior to issuance to any final adverse determination of this
   appeal. The decision made on your second level appeal is final and binding.

   If your second level appeal is denied and you are not satisfied with the decision of
   the second level appeal (i.e., your “final adverse benefit determination”) or your initial
   benefit denial notice or any appeal denial notice (i.e., any “adverse benefit
   determination notice” or “final adverse benefit determination”) does not contain all of
   the information required under the Employee Retirement Income Security Act of
   1974, as amended (“ERISA”), you have the right to bring a civil action under ERISA
   section 502(a).

   In addition, for cases involving medical judgment or rescission, if your second level
   appeal is denied and you are not satisfied with the decision of the second level
   appeal (i.e., your “final adverse benefit determination”) or your initial benefit denial
   notice or any appeal denial notice (i.e., any “adverse benefit determination notice” or
   “final adverse benefit determination”) does not contain all of the information required
   under the Employee Retirement Income Security Act of 1974, as amended
   (“ERISA”), you have the right to an independent review by an external review
   organization. Details about the process to appeal your claim and initiate an external
   review will be described in any notice of an adverse benefit determination and are
   also described below. The right to an independent external review is only available
   for claims involving medical judgment or rescission. For example, claims based
   purely on the terms of the plan (e.g., plan only covers a quantity of 30 tablets with no
   exceptions), generally would not qualify as a medical judgment claim.

(c) Urgent Appeal (Expedited Review)
    You have the right to request an urgent appeal of an adverse benefit determination
    (including a claim considered denied because missing information was not timely
    submitted) if your situation is urgent. An urgent situation is one where in the opinion
    of your attending provider, the application of the time periods for making non-urgent
    care determinations could seriously jeopardize your life or health or your ability to
    regain maximum function or would subject you to severe pain that cannot be
    adequately managed without the care or treatment that is the subject of your claim.
    To initiate an urgent claim or appeal request, you or your physician (or other
    authorized representative) must call l 800-753-2851 or fax the request to 1 888 235-
    8551. Claims and appeals submitted by mail will not be considered for urgent
    processing unless and until you call or fax and request that your claim or appeal be
    considered for urgent processing. In the case of an urgent appeal (for coverage
    involving urgent care), you will be notified of the benefit determination within 72
    hours of receipt of the claim. If the appeal is denied, the denial notice will include
    information to identify the claim involved, the specific reasons for the decision, new


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or additional evidence, if any considered by the plan in relation to your appeal, the
plan provisions on which the decision is based, a description of applicable external
review processes and contact information for an office of consumer assistance or
ombudsman (if any) that might be available to assist you with the claims and
appeals processes. You have the right to a full and fair impartial review of your
claim. You have the right to review your file, the right to receive, upon request and
at no charge, the information used to review your appeal, and present evidence and
testimony as part of your appeal. You also have the right to request the diagnosis
code and treatment code and their corresponding meanings which will be provided
to you if available (i.e., if the information was submitted, relied upon, considered or
generated in connection with the determination of your claim). If new information is
received and considered or relied upon in the review of your appeal, such
information will be provided to you together with an opportunity to respond prior to
issuance of any final adverse determination. The decision made on your urgent
appeal is final and binding. In the urgent care situation, there is only one level of
Appeal prior to an external review.

If your appeal is denied and you are not satisfied with the decision of the appeal (i.e.,
your “final adverse benefit determination”) or any appeal denial notice (i.e., “adverse
benefit determination notice” or “final adverse benefit determination”) does not
contain all of the information required under the Employee Retirement Income
Security Act of 1974, as amended (“ERISA”), you have the right to bring a civil action
under ERISA section 502(a).

In addition, for cases involving medical judgment or rescission, if your appeal is
denied and you are not satisfied with the decision (i.e., your “final adverse benefit
determination”) or your initial benefit denial notice or any appeal denial notice (i.e.,
your “adverse benefit determination” or “final adverse benefit determination”) does
not contain all of the information required under the Employee Retirement Income
Security Act of 1974, as amended (“ERISA”), you have the right to an independent
review by an external review organization.

In addition, in urgent situations where the appropriate timeframe for making a non-
urgent care determination would seriously jeopardize your life or health or your
ability to regain maximum function, you also have the right to immediately request an
urgent (expedited) external review, rather than waiting until the internal appeal
process, described above, has been exhausted, provided you file your request for an
internal appeal of the adverse benefit determination at the same time you request
the independent external review. If you are not satisfied or you do not agree with the
determination of the external review organization, you have the right to bring a civil
action under ERISA section 502(a).


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   Details about the process to appeal your claim and initiate an external review will be
   described in any notice of an adverse benefit determination and are also described
   below. The right to an independent external review is only available for claims
   involving medical judgment or rescission. For example, claims based purely on the
   terms of the plan (e.g., plan only covers a quantity of 30 tablets with no exceptions),
   generally would not qualify as a medical judgment claim.

(d) External Review Procedures
    The right to an independent external review is only available for claims involving
    medical judgment or rescission. For example, claims based purely on the terms of
    the plan (e.g., plan only covers a quantity of 30 tablets with no exceptions), generally
    would not qualify as a medical judgment claim. You can request an external review
    by an Independent Review Organization (IRO) as an additional level of appeal prior
    to, or instead of, filing a civil action with respect to your claim under Section 502(a)
    of ERISA. Generally, to be eligible for an independent external review, you must
    exhaust the internal plan claim review process described above, unless your claim
    and appeals were not reviewed in accordance with all of the legal requirements
    relating to pharmacy benefit claims and appeals or your appeal is urgent. In the
    case of an urgent appeal, you can submit your appeal in accordance with the above
    process and also request an external independent review at the same time,
    alternatively, you can submit your urgent appeal for the external independent review
    after you have completed the internal appeal process.

   To file for an independent external review, your external review request must be
   received within 4 months of the date of the adverse benefit determination (If the date
   that is four months from that date is a Saturday, Sunday or holiday, the deadline is
   the next business day).

   Your request should be mailed or faxed to:
       Medco Health Solutions, Inc.
       Attn: External Review Requests
       P.O. Box 631850
       Irving TX 75063-0030
       Phone: 1 800 753 2851
       Fax: 1 888 235 8551

(e) Non-Urgent External Review
    Once you have submitted your external review request, your claim will be reviewed
    within 5 business days to determine if it is eligible to be forwarded to an Independent
    Review Organization (IRO) and you will be notified within 1 business day of the
    decision.

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   If your request is eligible to be forwarded to an IRO, your request will randomly be
   assigned to an IRO and your appeal information will be compiled and sent to the
   IRO within 5 business days. The IRO will notify you in writing that it has received the
   request for an external review and if the IRO has determined that your claim involves
   medical judgment or rescission, the letter will describe your right to submit additional
   information within 10 business days for consideration to the IRO. Any additional
   information you submit to the IRO will also be sent back to the claims administrator
   for reconsideration. The IRO will review your claim within 45 calendar days and
   send you, the plan and Medco written notice of its decision. If you are not satisfied
   or you do not agree with the decision, you have the right to bring civil action under
   ERISA section 502(a). If the IRO has determined that your claim does not involve
   medical judgment or rescission, the IRO will notify you in writing that your claim is
   ineligible for a full external review and you have the right to bring civil action under
   ERISA section 502(a).

(f) Urgent External Review
    Once you have submitted your urgent external review request, your claim will
    immediately be reviewed to determine if you are eligible for an urgent external
    review. An urgent situation is one where in the opinion of your attending provider,
    the application of the time periods for making non-urgent care determinations could
    seriously jeopardize your life or health or your ability to regain maximum function or
    would subject you to severe pain that cannot be adequately managed without the
    care or treatment that is the subject of your claim.

   If you are eligible for urgent processing, your claim will immediately be reviewed to
   determine if your request is eligible to be forwarded to an IRO, and you will be
   notified of the decision. If your request is eligible to be forwarded to an IRO, your
   request will randomly be assigned to an IRO and your appeal information will be
   compiled and sent to the IRO. The IRO will review your claim within 72 hours and
   send you, the plan and Medco written notice of its decision. If you are not satisfied
   or you do not agree with the decision, you have the right to bring civil action under
   ERISA section 502(a).



SECTION 5           Health Care Coverage under the Uniformed Services
                    Employment and Reemployment Rights Act of 1994

As provided by the Uniformed Services Employment and Reemployment Act of 1994,
you and your dependents have the right to continue your group health benefits –
including medical, prescription drug, dental and vision coverage – if you are on military
leave of absence.


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For the first 31 days of your military leave, your cost for coverage will be equal to the
rate paid by active employees. If your military service lasts longer than 31 day the
Company will subsidize the cost of COBRA benefits for two months, reducing the cost
to the same level active employees pay. After two months, your cost will be 102% of
the Company’s cost. This period of coverage will count towards your COBRA allotment
of 24 months if you do not return to work.

Please contact the HR Services Center for information about the coverage available
under the Uniformed Services Employment and Reemployment Rights Act of 1994.



SECTION 6           About your Privacy

HIPAA imposes numerous requirements on employer health plans concerning the use
and disclosure of individual health information. This information, known as protected
health information, or PHI, includes virtually all identifiable health information held by
any health plan including the medical, prescription drug, dental and vision plans and the
EAP – whether received in writing, in electronic medium, or as on oral communication.
Mack has implemented policies and practices to appropriately protect the privacy of
your protected health information. PHI that you provide will be handled in accordance
with the Mack/Volvo HIPAA Privacy Policy.



SECTION 7           Plan Administrative Information

The Company is the Plan Administrator and is responsible for the general administration
of the Plans and for carrying out the provisions thereof. The Plan delegates
discretionary authority to the Plan Administrator to interpret the Plan on all issues of
coverage and operation.

The Company is the named fiduciary with respect to the Plans and may delegate to
various officers, employees and committees of the Company authority, as well as the
right of delegation, to carry out such of its responsibilities as it deems proper to the
extent permitted by the Employee Retirement Income Security Act of 1974 as now in
effect or as hereafter amended.

Plan Name
The official plan document covering the plans in Appendix B is the Volvo Welfare
Benefits Plan. Appendix B of the UAW Benefits Agreement highlights the welfare
benefits for the active employees of Mack Trucks, Inc. or other UAW facilities covered
under the Mack Master Agreement.


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Plan Type
This plan is a welfare benefits plan.

Plan Sponsor and Plan Administrator
Mack Trucks, Inc.
7900 National Service Road
Greensboro, NC 27409

Employer Identification Number
XX-XXXXXXX

Plan Number
506

Plan Year
January 1 through December 31

Claims Administrators
Multiple claim administrators provide services to benefits covered under Appendix B.

Anthem Blue Cross Blue Shield (PPO and Vision Plans)
P.O. Box 105187
Atlanta, GA 303348-5187
Phone: 1-844-855-1942


Medco/Express Scripts (Prescription Drug Plan)
One Express Way
St. Louis, MO 63121
Phone: 1-866-467-1239

Keystone Health Plan Central (HMO Plan)
A Subsidiary of Capital BlueCross
2500 Elmerton Avenue
Harrisburg, PA 17110
Phone: 1-866-683-2242

United Concordia Companies, Inc. (Dental Plan)
P.O. Box 890400
Camp Hill, PA 17089-0400
Phone: 1-800-226-6000

Integrated Behavioral Health (Mental Health Plan)


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P.O. Box 30018
Laguna Niguel, CA 92607
Phone: 1-800-395-1616

The Prudential Insurance Company of America (Life Insurance and AD&D Plan)
751 Broad Street
Newark, New Jersey, 07102
Phone: 1-800-524-0542

The Hartford Life and Accident Company (LTD Plan)
200 Hopmeadow Street
Simsbury, CT 06089
Phone: 1-800-915-1153

Conexis (COBRA Administration)
PO Box 226101
Dallas, TX 75222-6101

Agent for Legal Process
Mack Trucks, Inc.
7900 National Service Road
Greensboro, NC 27409




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SECTION 8            Your Rights Under ERISA

As a participant in the Mack Welfare Benefits Plan for the UAW Employees covered
under the Mack Master Agreement, you are entitled to certain rights and protections
under the Employee Retirement Income Security Act of 1974 (ERISA). ERISA provides
that all plan participants shall be entitled to:
       Examine, without charge, at the Plan Administrator’s office and at other specified
        locations, all documents governing the Plan, including insurance contracts and all
        documents filed by the Plan with the U.S. Department of Labor, such copies of
        the latest annual report (Form 5500 Series) and plan descriptions.

       Obtain, upon written request to the Plan Administrator, copies of documents
        governing the operation of the Plan, including insurance contracts and copies of
        the latest annual report (Form 5500 Series). The Plan Administrator may make a
        reasonable charge for the copies.
       Receive a summary of the Plan's annual financial report. Volvo is required by
        law to furnish each participant with a copy of this summary annual report.
       Continue health care coverage for yourself, your spouse or your dependents if
        there is a loss of coverage under the Plan as a result of a qualifying event. You
        or your dependents may have to pay for such coverage. Review this Summary
        Plan Description and the documents governing the Plan on the rules governing
        your COBRA continuation coverage rights.
       Reduction or elimination of exclusionary periods of coverage for preexisting
        conditions under the Plan if you have creditable coverage from another plan.
        You should be provided a certificate of creditable coverage, free of charge, from
        the Plan or health insurance issuer when you lose coverage under the Plan,
        when you become entitled to elect COBRA continuation coverage, when your
        COBRA continuation coverage ceases, if you request it before losing coverage,
        or if you request it up to 24 months after losing coverage. Without evidence of
        creditable coverage, you may be subject to a preexisting condition exclusion for
        12 months (18 months for late enrollees) after your enrollment date in your
        coverage.
In addition to creating rights for plan participants, ERISA imposes duties upon the
individuals who are responsible for the operation of the employee benefit plan. The
individuals who operate your plan, called "fiduciaries" of the plan, have a duty to do so
prudently and in the interest of you and other plan participants and beneficiaries. No
one, including Mack, the union or any other person, may fire you or otherwise
discriminate against you in any way to prevent you from obtaining a welfare benefit or
exercising your rights under ERISA.

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If your claim for a welfare benefit is denied or ignored, in whole or in part, you have a
right to know why this was done, to obtain copies of documents relating to the decision
without charge, and to appeal any denial within certain time schedules.
Under ERISA, there are steps you can take to enforce the above rights. For instance, if
you request a copy of plan documents or the latest annual report from the plan and do
not receive them within 30 days, you may file suit in a federal court. In such a case, the
court may require Volvo to provide the materials and pay you up to $110 a day until you
receive the materials, unless the materials were not sent because of reasons beyond
the control of Volvo. If you have a claim for benefits, which is denied or ignored, in
whole or in part, you may file suit in a state or federal court. In addition, if you disagree
with the plan’s decision or lack thereof concerning the qualified status of a medical child
support order, you may file suit in Federal court. If it should happen that plan fiduciaries
misuse the plan's money or if you are discriminated against for asserting your rights,
you may seek assistance from the U.S. Department of Labor or may file suit in a federal
court. The court will decide who should pay court costs and legal fees. If you are
successful, the court may order the person you have sued to pay these costs and fees.
If you lose, the court may order you to pay these costs and fees; for example, if it finds
your claim is frivolous.
If you have any questions about your plan, you should contact the Plan Administrator. If
you have any questions about this statement of your rights under ERISA, or if you need
assistance in obtaining documents from the Plan Administrator, you should contact the
nearest office of the Employee Benefits Security Administration, U.S. Department of
Labor, listed in your telephone directory, or the Division of Technical Assistance and
Inquiries, Employee Benefits Security Administration, U.S. Department of Labor, 200
Constitution Avenue N.W., Washington D.C., 20210. You may also obtain certain
publications about your rights and responsibilities under ERISA by calling the
publications hotline of the Employee Benefits Security Administration.




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SECTION 9          Letters of Understanding

LETTER # 1


Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department, Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Dear Mr. Eblin:


The Company and the Union agree to revise the psychiatric and substance abuse
benefits to comply with the federal Mental Health Parity Act when the law mandates
these changes and to implement a managed psychiatric substance abuse program
which provides quality psychiatric, substance abuse services at reasonable rates
through direct contracting with a limited network of quality providers. Components of
the program will include the following:

   Inpatient (includes hospital, day/night programs, halfway houses, detox facilities,
   etc.) and outpatient closed panel of psychiatric and substance abuse professionals
   including psychiatrists, Ph.D. psychologists, masters degrees and licensed
   psychiatric social workers.

   Enhanced outpatient benefits when network providers are used and care is
   coordinated by the Claims Administrator.

   Patients will not have to complete any claim forms when network providers are used
   and care is coordinated by the Claims Administrator.

   Network providers accept Plan payment as payment in full for covered services,
   except for any required employee copays when care is coordinated by the Claims
   Administrator.

   EAP integrated with network providers and administrator.

   Employees have choice of using network or non-network providers at any time.

When care is coordinated by the Claims Administrator, the employee receives the
highest level of benefits described below. When care is not coordinated by the Claims
Administrator, a lower level of benefits is provided as described below.

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An experienced psychiatric and substance abuse management organization will be
selected by the Company and the Union to perform provider recruitment, contracting
and claims payment.

The Company and Union will review the Claims Administrator’s systems/processes for
quality assurance, credentialing, grievance and complaint procedures, utilization review
and those other systems/processes deemed appropriate.

Benefits to be provided will be as follows:

                    Coordinated          Not Coordinated

Inpatient:

Plan Payment        100%                 50% of allowable (network) rate, up to 30 days
                                         per calendar year.

Outpatient:

Plan Payment        100%                 50% of allowable rate



Copayment           $10 per visit        None



Number of Visits    60 visits per        30 visits per calendar year
                    calendar year

Any referrals by a network provider to a non-network provider will be covered at 100%
(less any applicable co-payments).

Emergency services will be covered at the “Coordinated” care level provided the Claims
Administrator is notified within 48 hours or the first business day if the treatment occurs
on a weekend.

Very truly yours,



D.William Waters, Jr.
Director, Employee & Labor Relations




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LETTER #2

Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department, Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Dear Mr. Eblin:

Mack and the UAW have long recognized the major problems we jointly confront with
the U.S. health care system. The Company and the UAW share a serious concern
about the high cost of the health care system and the large number of uninsured. The
high cost of health expenditures diverts corporate funds from other business priorities
that will enable Mack to compete more effectively in the market place. Despite the
Company’s and UAW's efforts to manage our health care programs offered to members
of our Mack family, Company health care costs have continued to increase at
unacceptable rates. Indeed, the increasing amount of national resources allocated to
health care, at the expense of other national priorities, adversely impacts the nation's
ability to compete with other industrialized countries. Both Mack and the UAW share
the common objective for a high quality health care delivery system within our nation
that is accessible to all and which functions in a cost effective manner. In this regard,
Mack and the UAW jointly agree to support approaches directed towards achieving
prompt and lasting private sector and national policy solutions which will assure high
quality care to all individuals. Such approaches should include strong cost containment,
equitable financing, and appropriate quality assurance mechanisms.



Very truly yours,



D.William Waters, Jr.
Director, Employee & Labor Relations




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LETTER #3

Reissued: October 25, 2019

Mr. John Eblin
Assistant Director
UAW Heavy Truck Department, Solidarity House
8000 East Jefferson Avenue
Detroit, Michigan 48214

Dear Mr. Eblin:


During the 1984 negotiations, the Company agreed to implement Voluntary Family Life
Insurance on or before April 1, 1985 at no cost to the Company.

An employee who is actively at work within the bargaining unit on the enrollment date
will have the option to enroll.

An open enrollment period will be held once a calendar year for employees.



Very truly yours,



D.William Waters, Jr.
Director, Employee & Labor Relations




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                                      APPENDIX C

                   SUPPLEMENTAL UNEMPLOYMENT BENEFIT PLAN

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                                      APPENDIX C

                    SUPPLEMENTAL UNEMPLOYMENT BENEFIT
                             PLAN AGREEMENT


              This Agreement shall become effective on October 25, 2019.


                                        ARTICLE I

                                Regular Weekly Benefits


SECTION 1            Eligibility for a Regular Weekly Benefit

An employee having one (1) or more years of seniority at time of layoff shall be entitled
to a Regular Weekly Benefit if he:

   (a)        was on a qualifying layoff, as described in Article III, Section 2 , for all or
             part of a week; or
   (b)       Was eligible for a Reinstated Accident and Sickness benefit under
             Appendix B.

   (c)        was not eligible for a Short Work Week Benefit.


SECTION 2            Amount of Regular Weekly Benefits

(a) An eligible employee shall receive $330.00 for any qualifying week beginning on or
    after October 2, 2019.

(b) An eligible employee entitled to a reduced Regular Weekly Benefit because of
    ineligibility as provided in Article III, Section 2(b) with respect to part of the week,
    shall receive 1/5 of a Regular Weekly Benefit for each eligible workday.


SECTION 3           Duration of Regular Weekly Benefits


(a) Employees hired prior to March 25, 2013 will receive Regular Weekly Benefits in
    the amount set forth in Article I, Section 2 (a) based on the following table:



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                                                    Maximum Number
         Seniority at Layoff                    of Regular Weekly Benefits

       3 to 10 years                                       26
       10 or more years                                    52



(b) Employees hired prior to March 25, 2013 who are subsequently laid off will upon
    recall to work begin to regenerate their Regular Weekly Benefits (26 or 52 weeks as
    the case may be) on the basis of one (1) week of Regular Weekly Benefit for every
    one (1) full week of work up to their maximum number of eligible weeks as provided
    in section (a) above. A full week of work shall be defined as having worked or been
    paid forty (40) hours during a work week to include daily and weekend overtime
    hours worked and credit for hours paid under the Agreement for Jury Duty,
    Bereavement, Vacation, Holidays, or Military Leave training.

(c) Employees with one (1) years of seniority who were hired on or after March 25,
    2013 who are subsequently laid off will receive Regular Weekly Benefits in the
    amount set forth in Article I, Section 2 (a) of up to a total maximum number of
    thirteen (13) weeks over the duration of the Agreement. Such employees will upon
    recall to work begin to regenerate Regular Weekly Benefits on the basis of one (1)
    week of Regular Weekly Benefit for every one (1) full week of work up to thirteen
    (13) weeks. A full week of work shall be defined as having worked or been paid forty
    (40) hours during a work week to include daily and weekend overtime hours worked
    and credit for hours paid under the Agreement for Jury Duty, Bereavement,
    Vacation, Holidays, or Military Leave training.

SECTION 4           Transitioning to a Regular Weekly Benefit Duration Level

An eligible employee who, by virtue of his length of seniority, transitions to the 26
weeks or 52 weeks Regular Weekly Benefits duration levels while on layoff, shall
only become eligible for such newly acquired benefits duration level upon recall
to active work.

                                      ARTICLE II

                               Short Work Week Benefits


SECTION 1           Eligibility for a Short Work Week Benefit

An employee having one (1) or more years of seniority shall be entitled to a Short
Work Week Benefit if:


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       (a)     during such week he had less than 40 Compensated or Available Hours
             as defined in Article III, Section 1 of this Agreement, and

             (i)     (a) he performed some work for the Company, ;or

                     for such week he received some jury duty pay, bereavement pay,
                     military pay or vacation pay (excluding pay in lieu of vacation) from
                     the Company, or

             (ii)    for such week, he received only holiday pay from the Company
                     and, for the immediately preceding week , he either received a
                     Short Work Week Benefit or had 40 or more Compensated or
                     Available Hours;


                     (b)   he was on a qualifying layoff, as described in Article III
                           Section 2 for some part of the week

SECTION 2            Amount of Short Work Week Benefit

(a) The Short Work Week Benefit shall be an amount equal to the product of the
    number by which 40 exceeds his Compensated or Available Hours (as defined in
    Article III, Section 1 of this Agreement) computed to the nearest tenth per hour,
    multiplied by his base hourly rate (excludes all premiums) at time of layoff, with
    the result multiplied by eighty percent (80%).



                                      ARTICLE III

                                Benefit Determinations

SECTION 1            Compensated and Available Hours

For purposes of determining a benefit, an employee’s Compensated or Available
Hours during a week shall be calculated to include:

   (a) All hours for which an employee receives pay from the Company during the
       week, including Holiday Pay, Bereavement Pay, Jury Duty/Witness Pay,
       Incidental Sick Pay, Military Leave Pay or Vacation Pay (excluding pay in
       lieu of vacation), with each hour paid at a premium rate to be counted as 1
       hour, and




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   (b) All hours scheduled or made available to the employee by the Company
       but not worked by him (after having been given reasonable notice).

   (c) Overtime which is worked or available during the week which is in excess
       of six (6) hours will not be included in determining compensated or
       available hours.

      Example: Employee A earns $25.00 per hour. He performs eight (8) hours of
      work on Monday, Tuesday and Wednesday. He reports off on Thursday. No
      work is available on Friday. Eight (8) hours of overtime is performed on
      Saturday.

      Calculation:
               24    Compensated Hours (M, T, W)
                8    Available Hours (Th)
                6    Hours of Overtime Worked or Available (S)

               38    Total Compensated and Available Hours for the Week

                2    Eligible Hours for SWW Benefits (40hrs – 38hrs)
                     2hrs x $25 = $50
                     $50 x 80% = $40.00 SWW Benefit for Friday




SECTION 2            Qualified Conditions of Layoff

(a) A layoff for the purposes of this Agreement includes any layoff resulting from a
    reduction in force or temporary layoff, or from the discontinuance of a plant or
    operation, and any layoff occurring or continuing because the employee was unable
    to do the work offered by the Company although able to perform other work in the
    plant to which he would have been entitled if he had had sufficient seniority.

(b) An employee's layoff for all or part of any week will be deemed qualifying for a
    Regular Weekly Benefit or a Short Work Week Benefit only if:


       (1) such layoff or absence from work was not the consequence or result of:

       (i) disciplinary suspensions or discharge, or

       (ii)any strike, slowdown, work stoppage, picketing (whether or not by
           employees), or concerted action, at a Company facility or plants, or any
           dispute of any kind involving employees or other persons employed by the
           Company and represented by the Union whether at a Company facility, or
           elsewhere, or


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      (ii) any fault attributable to the employee , or

      (iii) any war or hostile act of a foreign power (but not government regulation or
           controls connected therewith), or

      (iv) sabotage or insurrection, or

      (v) any act of God, or,

      (vii) any refusal by the employee to accept available work when recalled
           pursuant to the Agreement.

      (2) with respect to such week the employee was not eligible for and was not
      claiming:

      (i) Company provided accident or sickness or Workers Compensation
          Benefits, or

      (ii) any Company pension or retirement benefit;

      (3) with respect to such Week the employee was not in military service (other
      than short-term active duty or training of 30 days or less) or on a military leave
      greater than 30 days.

   (c) An eligible employee who is on a qualifying layoff and who is ordered for
short-term active duty of 30 days or less in a National Guard, Reserve or similar unit
due to:
        (iii) training: will be deemed to be on a qualifying layoff for not more than
               two (2) weeks of Regular Weekly Benefits in a calendar year, or

       (iv)   a State or National emergency: will be deemed to be on a qualifying
               layoff for not more than four (4) weeks of Regular Weekly Benefits in
               a calendar year.


(d) An eligible employee who is determined to be ineligible for a benefit for some
    part of a week due to the reasons listed in Section (b) above but who is
    otherwise eligible for some benefit for a part of the same week, shall be
    entitled to a reduced Benefit of 1/5 of a Regular Weekly Benefit for each
    regular workday (M – F) of eligibility during such week as provided in Article I,
    Section 2 (b).

SECTION 3                          Acts of God




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With respect to any layoff that results from an act of God, and the denial or reduction
of either Regular Weekly Benefits or Short Work Week Benefits, the Company will
give written notice to the Local Union Chairman. The written notice will be provided
no later than the end of the week following the layoff and will show the reason or
reasons for such denial or reduction of Regular Weekly Benefits or Short Work
Week Benefits, and an explanation of the incident which caused the Company to
determine that the layoff was the result of an act of God,. For purposes of this
Section, an act of God means an occurrence or circumstance directly affecting a
Company facility or facilities which results from natural causes exclusively and is in no
sense attributable to human negligence, influence, intervention or control


SECTION 4                         Benefit Overpayments

If the Company determines that any benefit(s) paid under this Agreement should not
have been paid or should have been paid in a lesser amount, he shall return the amount
of overpayment to the Company. However, no repayment shall be required if the
cumulative overpayment is $10 or less or if notice has not been given within 120 days
from the date the overpayment was established or created; If the employee shall fail to
return such amount promptly, the Company shall make a deduction from any future
benefits (not to exceed $20 from any one benefit payment except in cases of fraud or
willful misrepresentation) otherwise payable to such employee, or make a deduction
from compensation payable by the Company to such employee (not to exceed $50 from
any one paycheck except in cases of fraud or willful misrepresentation), or both. The
Company is authorized to make such deduction from the employee 's compensation.

SECTION 5                         Deduction of Union Dues

The Company, upon authorization from an employee, shall deduct monthly Union dues
from Regular Weekly Benefits paid under this Agreement and pay such sums directly
to the Union in his behalf.


                                      ARTICLE IV

                                    Administration


SECTION 1           Authority of the Company


   The Company shall have authority as is necessary and appropriate in order to carry
   out its duties under this Agreement, including, without limitation, the following:




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   (1) to investigate the correctness and validity of information furnished with respect to
       the eligibility and amount of a benefit;

(2) to make initial determinations with respect to benefits;

(3) to establish reasonable rules, regulations and procedures;

(4) to establish and maintain necessary records; and

(5) to prepare and distribute information explaining this Agreement

Any dispute as to the application of the provisions of this Appendix are subject to
the grievance procedure contained in Article 5 of the Master Agreement.




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                              APPENDIX D

                  TRANSFER TO OTHER LOCATIONS

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                                      APPENDIX D

                         TRANSFER TO OTHER LOCATIONS


SECTION 1            Restatement of the Plan

Set forth in this Appendix D are the terms and conditions governing the transfer of
employees to other plant, office, engineering, or parts distribution center locations. It is
specifically understood that transfer under these provisions refers to transfer of work on
or after the effective date of this Agreement from a plant, office, engineering or parts
distribution center location covered by the Agreement.

SECTION 2            Transfers to New or Existing Locations

The terms of this Section 2 shall govern inter-location transfers (i.e., transfers between
plants, offices, engineering, or parts distribution center locations operated by the
Company and covered by the Agreement). The plant, office, engineering, or parts
distribution center location operated by the Company and covered by the Agreement,
from which work is transferred, shall hereinafter be referred to as the "old location". The
plant, office, engineering, or parts distribution center location to which work is to be
transferred shall hereinafter be referred to as the "new location ".

In the event of a transfer of one or more operations from an old location to a new
location, the employees affected by such transfer shall have the right to transfer to the
new location with the transferred work. However, the number of employees transferring
shall not exceed the number of employees required to perform the work of the
transferred operations at the new location. The classifications and the rates for such
classifications in effect at the new location shall be applicable to the transferred work.
In the event there are no classifications at the new location applicable to the transferred
work, appropriate classifications and rates of pay shall be agreed upon between the
Local Union and the Company at the new location. The parties shall use the framework
of the classification and rate system of the new location, pursuant to Article 16, Section
55 of the Agreement. Upon transfer, the employee accepting such transfer waives all
recall rights to the old location, and shall carry to the new location full old location
seniority. The employee's old location seniority shall be used for all affected contractual
benefits.

Since each transfer of operations between Company locations is likely to be unique, the
Company and the International Union and the affected Local Unions will meet promptly,
pending transfer of work between such locations, to determine among other things:

   1. The number of employees to be transferred

   2. The method of canvassing and the employees to be canvassed in the old
      location


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   (a) who are working on the jobs to be transferred and

   (b) who possess the necessary qualifications (as defined in the applicable Local
       Supplemental Agreement) in seniority order in the jobs affected by the
       transfer, including such employees on layoff.

3. The number of employees, if any, in the new location who are on layoff but:

   (a) have seniority in the classifications affected by the transfer of work and

   (b) have recall rights to such classifications and

   (c) have more seniority than the canvassed employees at the old location who
       have indicated a desire to transfer.

4. The mechanics of the actual transfer of work from the old location to the new
   location, taking into consideration the following:

   (a) any problems of phasing out the work in the old location,

   (b) deviations from seniority in conjunction with the transfer required by the
       Company,

   (c) the desires of the employees by seniority preference on the timing of their
       individual transfer to the new location.

   Details as to the application of the principles set forth above as related to any
   particular transfer shall be the subject of discussion between the Company and
   the International Union and the Local Unions directly affected.

   While it is the desire of the parties to reach mutual agreement on the application
   of the terms of Appendix D to the particular transfer involved, failure to reach
   agreement on such application or delay in reaching such agreement shall not
   serve to delay the transfer of such work and the Company shall not be subject to
   any back pay or retroactive monetary liability under the grievance procedure or
   otherwise as the result of going forward with such transfer. This provision shall
   not operate, however, to prevent corrections from being made through the
   grievance procedure of the application of the principles agreed upon herein or
   agreements reached hereunder.

   Nothing in the preceding language shall negate the application of the Master
   Recall List provisions of Article 6.




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SECTION 3            Relocation Allowance

An employee who is transferred from one Company location to another, pursuant to
Section 2 of this Appendix D, will promptly be paid a relocation allowance, provided:

   (a) The location to which the employee is to be relocated is at least fifty (50) miles
       from the location from which the employee was transferred, and

   (b) As a result of such relocation, the employee changes permanent residence, and

   (c) The employee makes application within six (6) months after commencement of
       employment at the new location.


SECTION 4            Relocation Allowance Amount

The amount of relocation allowance for employees transferred on or after the effective
date of this Agreement will be determined as follows:


  Miles Between Plants            Single Employees              Married Employees

          50 - 99                       $ 1,600                         $3,200

        100 - 299                        $1,800                         $3,600

        300 - 499                        $1,900                         $3,800

        500 & over                       $3,000                         $6,000




SECTION 5            Conditions Affecting Allowance Amount

   (a) An employee's relocation allowance, when combined with any present or future
       federal or state relocation allowance or its equivalent, shall not exceed the
       maximum amount of the relocation allowance provided for under Section 4
       above.

   (b) Only one relocation allowance will be paid where two or more members of a
       family living in the same residence are relocated pursuant to this Appendix D.

   (c) Employees who are single parents with dependents (as defined by IRS
       regulations) will be eligible to receive the married relocation amount provided the
       dependents are residing with the single parent at the time of the relocation.

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                              APPENDIX E

                 MACK-UAW PROFIT SHARING PLAN

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         C      Other Understandings                250




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                              MACK - UAW Profit Sharing Plan


A. Duration and Eligibility
   1. The Plan is effective January 1, 2012.
   2. The Plan shall remain in effect through the duration of the October 25, 2019
      Master Agreement, including any extensions of the contract.
   3. Seniority employee members of UAW local unions hired prior to the effective
      date of this Agreement and covered by the Agreement are participants in the
      Profit Sharing Plan provided:
       (a) such employee worked during a Plan year, and
       (b) such employee was neither discharged nor quit prior to the end of the
           applicable Plan year.
   4. Employees hired or rehired after the effective date of this Agreement will become
      participants in the Profit Sharing Plan on the first day of the first Plan year after
      attainment of one year of seniority and will be subject to the eligibility provisions
      of A. 3. a) and b) above. For example, an employee hired on July 1, 2012 who
      works continuously through the 90 day probationary period and obtains one year
      of seniority on July 1, 2013, will become eligible to participate in the Profit
      Sharing Plan on January 1, 2014 with any earned payout payable on April 30,
      2015.
   5. Employees who quit and are rehired in the same plan year will be credited for all
      hours worked in the Plan year.
   6. Discharged employees, if reinstated, will receive credit for all hours for which
      back pay is awarded, plus all hours worked during the Plan year.
   7. In the event an otherwise eligible employee dies during a Plan year, his profit
      sharing benefit shall be paid to the person designated as his beneficiary under
      the Company's Group Life Insurance Plan.
   8. Employees who retire during the Plan year receive credit for all hours worked in
      that Plan year.
B. Formula for Fund Development.
   1. The basis for which this Plan is funded is the return of shareholders’ equity
      (ROE) percentage of the AB Volvo Group as published in its annual report. (For
      example, the 2010 ROE was 16%). The AB Volvo Group’s ROE percentage
      calculation is defined as Income for the period divided by average shareholders’
      equity. If the AB Volvo Group does not publish a ROE percentage in its annual


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   report, the Company will calculate the ROE percentage using the definition
   above and forward the details of the calculation to the UAW.
2. Size of the profit sharing fund will be determined as follow:
    a.   Based on the ROE percentage calculated in item B 1. above a profit sharing
         funding per bargaining unit employee will be determined based on the table
         below.
    b.   The total profit sharing fund will then be calculated by multiplying the profit
         sharing funding per bargaining unit employee from the table below by the
         total annual average number of bargaining unit employees. Such average
         shall be the total of all bargaining unit employees on the last day of each
         month in the year divided by twelve (12).
    c.   In determining the total of bargaining unit employees, the following
         guidelines shall apply:
         i)     All bargaining unit employees actively at work or on vacation, but
                excluding employees on leaves of absence, are included.
         ii)    Employees who are on sick leave or personal business and do not
                have hours worked during the pay period will not be counted in the
                headcount for that pay period.
         iii)   Employees who retire will be eligible for the payout, but will not be
                included in the headcount after retirement.
         iv)    Employees who are on indefinite or temporary layoff and do not have
                hours worked during a pay period will not be counted.




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            ROE %                                 Payout Funding Per
                                                Bargaining Unit Employee
        Less than 11.99%                                   $0
          12% to 12.99                                    $400
          13% to 13.99                                    $550
          14% to 14.99                                    $700
          15% to 15.99                                    $850
          16% to 16.99                                   $1,000
          17% to 17.99                                   $1,200
          18% to 18.99                                   $1,400
          19% to 19.99                                   $1,700
          20% to 20.99                                   $2,000
          21% to 21.99                                   $2,300
          22% to 22.99                                   $2,600
          23% to 23.99                                   $2,900
          24% to 24.99                                   $3,200
           25% and >                                     $3,580

3. Payout Calculation & Notification
   a.   An average payout per hour worked will be computed by dividing the
        calculated fund (determined in item 2.b above) by the total number of straight
        time hours worked (during regularly scheduled eight (8) hour shift, five (5)
        day week) by all eligible bargaining unit employees. The payout per
        participant will be calculated by multiplying the average payout per hour by
        the number of straight time hours worked by the participant.
   b.   The Company will provide three (3) copies of the final audited Profit Sharing
        report to the International Union by March 31st of the year following the end
        of the Plan year.
   c.   All payouts, if any, will be made by April 30 of the year following the end of
        the Plan year, or by the last business day before April 30th.
   d.   Bargaining unit employees will have the option to receive the payout as
        wages or to be deposited directly into their 401k account in lieu of being
        treated as wages. Such election may be made annually by April 15 following
        the end of the Plan year. The Company will supply duplicate forms to all
        bargaining unit employees to make this election. When payouts are received
        as wages all required deductions will be taken with FIT calculated at the rate
        dictated by federal regulations.




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      e.   The Company and the International Union will issue a joint written notice of
           the Plan’s payout status prior to the direct deposit or distribution of the
           checks.
C. Other Understandings.
   1. Time spent on Union duties by bargaining unit employees who are on the active
      payroll will be counted as hours worked.
   2. Hours worked by employees on weekly payroll shall be the total straight time
      hours worked during the regularly scheduled eight (8) hour shift, five (5) day
      week, excluding all overtime hours but including holiday pay and observed
      vacation entitlement, as of the last pay period ending in each of the Plan years.
   3. Detailed worksheets showing the calculations of the Profit Sharing Fund and
      payout amounts will be provided to the parties to this agreement, with the
      appropriate review and execution of the letter report by a public accounting firm
      selected by the Company.
   4. The parties agree to refer any disagreements over the interpretation of the terms
      of this agreement to a mutually-acceptable impartial person for resolution.
   5. The Company will respond as soon as practicable to reasonable requests from
      the Union for information supporting the computations made by the Company in
      determining the profit sharing fund, straight time hours worked, and employment
      status.
   6. The Company will, as soon as practicable, inform the union of any change to the
      AB Volvo Group’s definition and calculation of return to shareholders’ equity
      percentage, and the resulting impact upon the Profit Sharing Plan, provide
      necessary supporting information and discuss any appropriate modifications to
      the Plan.




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                                   Appendix F



                                Mack Trucks, Inc.

                              Legal Services Plan

                           Summary Plan Description




This Summary Plan Description (SPD) format replaced the prior contract language
effective October 2, 2016. Although “new”, this SPD is not bolded or underlined for
                                 ease of reading.




                                 October 2, 2016




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      INTRODUCTION

      The UAW-Mack Legal Services Plan was established by the Company, Mack Trucks, Inc. as a result of
      negotiations with the UAW. The Plan is intended to provide personal legal services for eligible active and
      certain laid-off employees and retired employees, their spouses and dependent children. The Plan became
      effective December 16, 1991.

      This summary provides general information about the Plan, who is eligible to receive benefits under the
      Plan, what those benefits are, how to obtain benefits and what your rights under ERISA are.

      Hyatt Legal Plans, Inc. has been selected to provide for legal plan benefits. The services will be provided
      through a panel of carefully selected Participating Law Firms. Lawyers in this network are called Plan
      Attorneys. These arrangements are described in detail in this summary. The actual provisions of the Plan
      are set out in a written document maintained by your employer. All statements made in this booklet are
      subject to the provisions and terms of that document, which controls in the event of conflict with this
      summary.

      HOW TO GET LEGAL SERVICES

      Web Site
      To use the Legal Plan, visit the Hyatt Legal Plans’ web site at legalplans.com. Once there, click on the
      “Members Log in” icon at the top of the page. You will be taken to a secure page that will require you to
      enter your Social Security Number. After you enter your Social Security Number you will jump to a page
      that is specific for member services. On this page you can choose the following options:

               How Do I Use the Plan?                                    Obtain Case Number
               Covered Services                                          Life Guide
               Attorney Locator                                          Self-Help Documents/Forms

Client Service Center
You may also use the Legal Services Plan by calling Hyatt Legal Plans' Client Service Center at 1-800-821-6400
Monday – Thursday 8 a.m. to 7 p.m. and Friday 8 a.m. to 6 p.m., Eastern Time. Be prepared to give your Social
Security Number. If you are a spouse or an eligible dependent child of an eligible person, you will need the Social
Security Number of the employee through whom you are eligible. The Client Service Representative who answers
your call will:
               Verify your eligibility for services;
               Make an initial determination of whether and to what extent your case is covered (the Plan Attorney will
                make the final determination of coverage);
               Give you a Case Number which is similar to a claim number (you will need a new Case Number for
                each new case you have);
               Give you the telephone number of the Plan Attorney most convenient to you; and
               Answer any questions you have about the Legal Plan.

You then call the Plan Attorney to schedule an appointment at a time convenient to you. Evening and Saturday
appointments are available. If you choose, you may select your own attorney. Also, where there are no Participating
Law Firms, you will be asked to select your own attorney. In both of these circumstances, Hyatt Legal Plans will
reimburse you for these non-Plan attorneys' fees in accordance with a set fee schedule.




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For services to be covered, you or your eligible dependents must have obtained a Case Number, retained an attorney
and the attorney must begin work on the covered legal matter while you are an eligible member of the legal plan.

WHAT SERVICES ARE COVERED

The Legal Plan entitles you and your eligible dependents to receive certain personal legal services. The available
benefits are very comprehensive, but there are limitations and other conditions which must be met. Please take time for
yourself and your family to read the description of benefits carefully.

All benefits are available to you and your spouse and dependents, unless otherwise noted.

ADVICE AND CONSULTATION                                           include the Plan Attorney's attendance or
                                                                  representation at the small claims trial.
Office Consultation and Telephone Advice
This benefit provides the opportunity to discuss with             DEBT MATTERS
an attorney any personal legal problems which are not
specifically excluded or prohibited matters. During the           Debt Collection Defense
consultation, the attorney will explain the Participant's         This benefit provides Participants with negotiation
rights, point out his or her options and, if needed,              with creditors for a repayment schedule, limiting
recommend a course of action. The Plan Attorney will              creditor harassment, and representation in defense of
identify any further coverage available under the Plan,           any action for personal debt collection, foreclosure,
and will undertake representation if the Participant so           repossession or garnishment, up to and including trial
requests. If representation is covered by the Plan, the           if necessary. It does not include defense against a
Participant will not be charged for the Plan Attorney's           judgment, vacating a judgment, counter claims, cross
services. If representation is recommended, but is not            claims, bankruptcy, any action arising out of divorce or
covered by the Plan, the Plan Attorney will provide a             post-decree matters, or any matter where the creditor is
written fee statement in advance. The Participant may             affiliated with the UAW or Mack Trucks.
choose whether to retain the Plan Attorney at his or her
own expense; seek outside counsel; or do nothing.                 Personal Bankruptcy
There are no restrictions on the number of times per              This benefit covers the Employee and spouse in pre-
year a Participant may use this service; however, for a           bankruptcy planning, the preparation and filing of a
non-covered matter, this service is not intended to               personal bankruptcy or Wage Earner petition and
provide the Participant with continuing access to a Plan          representation at all court hearings and trials. This
Attorney in order to undertake his or her own                     benefit does not include bankruptcy or Wage Earner
representation.                                                   petitions for any business in which the Employee or
                                                                  spouse may have an interest, and is not available if the
CONSUMER PROTECTION                                               UAW or Mack Trucks is a creditor, even if the
                                                                  Employee or spouse chooses to reaffirm that specific
Consumer Protection Matters                                       debt.
This service covers the Participant as a plaintiff, for
representation, including trial, in disputes over                 DEFENSE OF CIVIL LAWSUITS
consumer goods and services where the amount being
contested exceeds $300 and the controversy is                     Civil Litigation Defense
evidenced by a written document such as a sales slip,             This benefit covers the Participant for defense of civil
contract, note or warranty. This service does not                 proceedings in a trial court of general jurisdiction or
include disputes over insurance, land, construction,              before an administrative agency or a local, state, or
home improvements or matters involving real property.             federal agency. It does not apply where services are
                                                                  available or are being provided by virtue of a
Small Claims Assistance                                           homeowner or vehicle insurance policy. It does not
This benefit includes counseling the Participant on               include divorce or post-decree defense, paternity,
prosecuting a small claims action; helping the                    support or custody matters or litigation of a job-related
Participant prepare documents; advising the Participant           incident.
on evidence, documentation and witnesses; and
preparing the Participant for trial. The service does not
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DOCUMENT PREPARATION                                             as representation at the hearing or trial, regardless
                                                                 whether the Employee is a plaintiff or a defendant.
Deeds                                                            This benefit does not include disputes which arise after
This benefit includes the preparation of any deed for            the issuance of a divorce decree.
which the Participant is either the grantor or grantee.

Demand Letters                                                   INSURANCE MATTERS
This benefit covers the preparation of letters which
demand money, property or some other property                    Insurance Claims
interest of the Participant, except an interest which is         This benefit provides the Participant with assistance in
an excluded service, mailing them to the addressee and           making insurance claims with the Participant's own
forwarding and explaining any response to the                    carrier, provided that carrier is not affiliated with the
Participant. Negotiations and representation in                  Employer. Litigation is not included.
litigation are not included.
                                                                 PERSONAL INJURY
Mortgages
This benefit includes the preparation of any mortgage            Personal Injury
for which the Participant is the mortgagor.                      Subject to applicable law and court rules, Plan
                                                                 Attorneys will handle personal injury matters (where
Notes                                                            the Participant is the plaintiff) at a maximum fee of
This benefit includes the preparation of any promissory          25% of the gross award. It is the Participant's
note for which the Participant is the payor or payee.            responsibility to pay this fee and all costs.

FAMILY LAW                                                       Property Damage
                                                                 Subject to applicable law and court rules, Plan
Adoption and Legitimization                                      Attorneys will handle property damage matters (where
All governmental agency and stepparent adoptions are             the Participant is the plaintiff) at a maximum fee of
fully covered for the Employee and spouse.                       25% of the gross award. It is the Participant's
Legitimization of a child for the Employee and spouse,           responsibility to pay this fee and all costs.
including reformation of a birth certificate, is also a
fully covered service.                                           Social Security Disability
                                                                 Subject to applicable law and court rules, Plan
Guardianship or Conservatorship                                  Attorneys will handle Social Security Disability
This service covers establishing a guardianship or               matters at a fee 10% less than the prevailing fee. It is
conservatorship over a person and his or her estate by           the Participant's responsibility to pay this reduced fee
the Employee or spouse. It includes obtaining a                  and all costs.
temporary guardianship or conservatorship if
necessary, gathering any necessary medical evidence,             REAL ESTATE MATTERS
preparing the paperwork and attending the hearing.
This benefit does not include representation of the              Boundary or Title Disputes
person over whom guardianship or conservatorship is              This service includes negotiations and litigation arising
sought, or any proceedings involving annual                      in connection with boundary or title disputes involving
accountings once guardianship or conservatorship has             a Participant's primary residence, where coverage is
been established.                                                not available under the Participant's homeowner or title
                                                                 insurance policies.
Name Change
This benefit covers the Participant for all necessary            Eviction and Tenant Problems (Tenant Only)
pleadings and court hearings for a legal name change.            This service assists the Participant as a tenant with
                                                                 matters involving leases, security deposits or other
Separation or Divorce                                            disputes with a residential landlord. The benefit also
This benefit is available to the Employee only, not to a         covers eviction defense, up to and including trial, if
spouse or dependents. This service includes preparing            necessary. It does not include representation as a
and filing all necessary pleadings, motions and                  plaintiff in a lawsuit against the landlord.
affidavits, and drafting settlement agreements as well
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                                                                TRAFFIC MATTERS
Refinancing of Home
This benefit includes the review or preparation, by an          Traffic Defense
attorney representing the Participant, of all relevant          This benefit covers representation of the Participant in
documents (including the mortgage, deed and                     defense of any traffic ticket or driving under influence
documents pertaining to title, insurance, recordation           charge, including court hearings, negotiation with the
and taxation), which are involved in the refinancing of         prosecutor and trial. It also covers representation in
a Participant's primary residence. It does not include          proceedings to restore a driving license.
services provided by any attorney representing a
lending institution or title company. The benefit does          WILLS AND ESTATE PLANNING
not include the refinancing of a second home, vacation
property, unimproved land, rental property or property          Living Trusts
held for business or investment. Home equity loans are          This benefit includes the preparation of a living trust
not included under this benefit.                                for the Participant. It does not include tax planning.

Sale or Purchase of Home                                        Living Wills
This benefit includes the review or preparation, by an          This benefit covers the preparation of a living will for
attorney representing the Participant, of all relevant          the Participant.
documents (including the purchase agreement,
mortgage, deed and documents pertaining to title,               Powers of Attorney
insurance, recordation and taxation), which are                 This benefit includes the preparation of any power of
involved in the purchase or sale of a Participant's             attorney when the Participant is granting the power.
primary residence. The benefit also includes attendance
of an attorney at closing, in cities where it is the            Probate
custom to do so. It does not include services provided          Subject to applicable law and court rules, Plan
by any attorney representing a lending institution or           Attorneys will handle probate matters at a fee 10% less
title company. The benefit does not include the sale or         than the prevailing fee. It is the Participant's
purchase of a second home, vacation property,                   responsibility to pay this reduced fee and all costs.
unimproved land, rental property or property held for
business or investment. Home equity loans are not
                                                                Wills and Codicils
included under this benefit.
                                                                This benefit covers the preparation of a will for the
                                                                Participant. The creation of any testamentary trust is
                                                                covered. The benefit includes the preparation of
                                                                codicils and will amendments. It does not include tax
                                                                planning.


EXCLUSIONS
Certain matters are excluded from coverage under the Legal Plan. No services, not even a consultation, can be
provided for the following matters:

   Payment made to a third party such as costs, witness fees, filing fees or fines;
   Appeals or class actions;
   Business, farm, patent or copyright matters;
   Matters for which you are or have been receiving legal services before you received an Authorization Number;
   Matters or disputes involving the UAW, Mack Trucks, Hyatt Legal Plans, MetLife or a Plan Attorney;
   Matters concerning employment including Company and statutory benefits.

ELIGIBILITY

Please see ARTICLE II, Section 2 (b) for detailed information regarding Eligibility for your dependents.


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WHEN COVERAGE ENDS

                Coverage will end on the earliest of the following dates:
                The date the Plan is terminated,
                The last day of the month that your employment terminates,
                The date you no longer belong to a class of employees eligible for the coverage,
                The date you or your enrolled dependents are no longer eligible for coverage


AMENDMENT OR TERMINATION

While your employer expects to continue to offer participation in the Legal Service Plan, it reserves the right to amend,
or terminate the Plan at any time. If the Plan is terminated, all covered services then in process will be handled to their
conclusion under the Plan.

ADMINISTRATION AND FUNDING

The Legal Service Plan is provided for and administered through a contract with Hyatt Legal Plans, Inc. Hyatt Legal
Plans makes all determinations regarding attorneys' fees and what constitutes covered services.

PLAN CONFIDENTIALITY, ETHICS AND INDEPENDENT JUDGMENT

Your use of the Plan and the legal services is confidential. The Plan Attorney will maintain strict confidentiality of the
traditional lawyer-client relationship. Your employer will know nothing about your legal problems or the services you
use under the Plan. Plan administrators will have access only to limited statistical information needed for orderly
administration of the Plan.

No one will interfere with your Plan Attorney's independent exercise of professional judgment when representing you.
All attorneys' services provided under the Plan are subject to ethical rules established by the courts for lawyers. The
attorney will adhere to the rules of the Plan and he or she will not receive any further instructions, direction or
interference from anyone else connected with the Plan. The attorney's obligations are exclusively to you. The
attorney's relationship is exclusively with you. Hyatt Legal Plans, Inc., or the law firm providing services under the
Plan is responsible for all services provided by their attorneys.

You should understand that the Plan has no liability for the conduct of any Plan Attorney. You have the right to file a
complaint with the state bar concerning attorney conduct pursuant to the Plan.

Plan attorneys will refuse to provide services if the matter is clearly without merit, frivolous or for the purpose of
harassing another person. If you have a complaint about the legal services you have received or the conduct of an
attorney, call Hyatt Legal Plans at 1-800-821-6400. Your complaint will be reviewed and you will receive a response
within two business days of your call.

OTHER SPECIAL RULES

In addition to the coverages and exclusions listed, there are certain rules for special situations. Please read this section
carefully.

What if other coverage is available to you? If you are entitled to receive legal representation provided by any other
organization such as a government agency, or if you are entitled to legal services under any other legal plan, coverage
will not be provided under this Plan. However, if you are eligible for legal aid or Public Defender services, you will
still be eligible for benefits under this Plan, so long as you meet the eligibility requirements.


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What if you are involved in a legal dispute with your dependents? You may need legal help with a problem
involving your spouse or your children. In some cases, both you and your child may need an attorney. If it would be
improper for one attorney to represent both you and your dependent, only you will be entitled to representation by the
plan attorney. Your dependent will not be covered under the Plan.

What if you are involved in a legal dispute with another employee? If you or your dependents are involved in a
dispute with another eligible employee or that employee's dependents, Hyatt Legal Plans will arrange for legal
representation with independent and separate counsel for both parties.

What if the court awards attorneys' fees as part of a settlement? If you are awarded attorneys' fees as a part of a
court settlement, the Plan must be repaid from this award to the extent that it paid the fee for your attorney.

DENIAL OF BENEFITS AND APPEAL PROCEDURES

Denials of Eligibility

Hyatt verifies eligibility using information provided by Mack Trucks. When you call for services, you will be advised
if you are ineligible and Hyatt Legal Plans will contact Mack for assistance. If you are not satisfied with the final
determination of eligibility, you have the right to a formal review and appeal. Send a letter within 60 days explaining
why you believe you are eligible to:

UAW- Mack Trucks Legal Services Plan
7900 National Service Rd
Greensboro, NC 27409

Within 30 days, you will be provided with a written explanation.

Denials of Coverage

If you are denied coverage by Hyatt Legal Plans or by any Plan Attorney, you may appeal by sending a letter to:

Hyatt Legal Plans, Inc.
Director of Administration
1111 Superior Avenue
Cleveland, Ohio 44114-2507

The Director will issue Hyatt Legal Plans' final determination within 30 days of receiving your letter. This
determination will include the reasons for the denial with reference to the specific Plan provisions on which the denial
is based and a description of any additional information that might cause Hyatt Legal Plans to reconsider the decision,
and an explanation of the review procedure.

YOUR ERISA RIGHTS

Congress enacted the Employee Retirement Income Security Act (ERISA) to safeguard your interests and those of
your beneficiaries under your employee benefit plans. As a participant in The Legal Plan, you are entitled to certain
rights and protections under the Employee Retirement Income Security Act of 1974 (ERISA). ERISA provides that all
Plan participants shall be entitled to:

   Examine, without charge, at the Plan Administrator's office and at other specified locations, all Plan documents,
   including collective bargaining agreements and copies of all documents filed by the Plan with U.S. Department of
   Labor; such as detailed annual reports and Plan descriptions;
   Obtain copies of all Plan documents and other Plan information upon written request to the Plan Administrator. The
   Administrator may make a reasonable charge for the copies;
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   Receive a summary of the Plan's annual financial report from the Plan Administrator who is
   required by law to furnish this to you.

In addition to creating rights for Plan participants, ERISA imposes duties upon the people who
are responsible for the operation of the employee benefit Plan. The people who operate your Plan,
called "fiduciaries" of the Plan, have a duty to do so prudently and in the interest of you and other
Plan participants and beneficiaries. No one, including your employer or any other person, may
fire you or otherwise discriminate against you in any way to prevent you from obtaining a welfare
benefit or exercising your rights under ERISA. If your claim for a welfare benefit is denied in
whole or in part, you must receive a written explanation of the reason for the denial. You have the
right to have the Plan review and consider your claim. Under ERISA, there are steps you can take
to enforce the above rights. If you request materials from the Plan and do not receive them within
30 days, you may file suit in a federal court. In such a case, the court may require the Plan
Administrator to provide the materials and pay you up to $110 a day until you receive the
materials, unless the materials were not sent because of reasons beyond the control of the
Administrator. If you have a claim for benefits which is denied or ignored, in whole or in part,
you may file suit in a state or federal court. If it should happen that Plan fiduciaries misuse the
Plan's money, or if you are discriminated against for asserting your rights, you may seek
assistance from the U.S. Department of Labor, or you may file suit in a federal court. The court
will decide who should pay court costs and legal fees. If you lose, the court may order you to pay
these costs and fees, for example if it finds your claim is frivolous. If you have any questions
about your Plan, you should contact the Plan Administrator. If you have any questions about this
statement or about your rights under ERISA, you should contact the nearest Area Office of the
U.S. Labor Management Services Administration, U.S. Department of Labor.

FOR YOUR INFORMATION:

Name of Plan: The UAW-Mack Trucks Legal Services Plan

Plan Sponsor: Mack Trucks, Inc.

Type of Plan:            Welfare Benefit Plan for pre-paid legal services

Plan Administrator:
                         UAW- Mack Trucks Legal Services Plan
                         7900 National Service Rd
                         Greensboro, NC 27409

Agent for Service of Legal Process:       Plan Administrator

Provider of Benefits:
Hyatt Legal Plans, Inc.
1111 Superior Avenue
Cleveland, Ohio 44114-2507
1-800-821-6400

Plan Identification Number:               506-B
Sponsor's Employer Identification Number: XX-XXXXXXX

Effective Date: 12/16/91

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Plan Year:     January 1 - December 31

If you are having any kind of problem, please call Hyatt Legal Plans at 1-800-821-6400. A
Hyatt Legal Plans representative will help you solve the problem to your satisfaction.




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                                 APPENDIX G
                             MACK-UAW 401(k) PLAN

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                ARTICLE I – Introducing Your 401(k) Plan Benefits

Mack Trucks, Inc. maintains the Mack-UAW
                                                        The 401(k) Plan makes
401(k) Plan (the “Plan” or the “401(k) Plan”) for the
                                                        saving for retirement easy.
benefit of eligible employees and their
                                                        It is designed to help
beneficiaries. Your benefit under the Plan helps to
                                                        supplement your income
make your retirement years more financially
                                                        from other sources, such as
secure.
                                                        the Pension Plan and Social
                                                        Security.
Each year, Mack Trucks, Inc. (referred to in this
SPD as the “Company” unless otherwise specified)
allows you to contribute part of your annual pay into a personal account. All
money in your account is invested as you choose in a wide array of individual
and pre-mixed investment funds. You can receive your savings when you leave
the Company and all affiliates for any reason.

This booklet is the summary plan description (“SPD”) for the Plan. It
summarizes the provisions of the Plan as in effect on January 1, 2014 (as
amended through January 1, 2017). You may be subject to different rules if you
terminated your employment before this date. Every effort has been made to
ensure that the SPD accurately describes the Plan terms. In the case of any
conflict between this SPD and the terms of the Plan, the terms of the Plan will
control. If you have any questions, you may contact a Plan representative at
1-800-356-9240 between 8:30 am and 6:30 pm Eastern Time, on any business
day. You may obtain a copy of the Plan document by writing to Plan
Administrator. This SPD describes your 401(k) Plan benefits as negotiated
under the collective bargaining agreement between the Union and the
Company.




SECTION 1                   Your Plan Benefits at a Glance

The Plan has many flexible features that help you plan for your future. Here are
some highlights of the Plan.




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Plan Feature       How It Works
Eligibility and    If you meet the eligibility criteria for the Plan, you are
Enrollment         entitled to commence making contributions to the Plan
                   beginning on the first of the month following the date you
                   attain 5 months of seniority. If you were hired on or after
                   June 1, 2009 and if you do not take action to enroll or
                   decline enrollment by the 30th day following the date you
                   can start making contributions, you will be automatically
                   enrolled in the Plan and you will be deemed to have
                   elected to contribute 3% of your pay to the Plan on a
                   pre-tax basis.
Pre-tax            You can save from 1% to 75% of your Pay in the Plan.
Contributions      You may also make separate elections each Plan Year
                   to save from 10% to 75% of a cash payment (if you
                   receive one) from the Mack-UAW Profit Sharing Plan;
                   from 10% to 75% of a ratification bonus; and from 10%
                   to 75% of a lump sum bonus. Separate elections are
                   required for each such election. The 2020 limit on pre-
                   tax contributions is $19,500.
Company            If you were hired or rehired on or after June 1, 2009, the
Contributions      Company will contribute (1) as matching contributions,
                   60% of the first 6% of Pay you contribute, plus 4% of
                   your Pay effective January 1, 2020. The 4% contribution
                   will be made even if you do not make contributions to the
                   Plan. Therefore, if you contribute at least 6% of Pay, the
                   Company will contribute 7.60% (60% of 6% plus 4%) to
                   the plan. Only employees hired or rehired on or after
                   June 1, 2009 are eligible for the Company
                   contributions. Catch-up contributions, contributions in
                   accordance with the separate election to save from 10%
                   to 75% of a cash payment from the Mack-UAW Profit
                   Sharing Plan, or contributions of 10% to 75% of a
                   ratification bonus or lump sums bonus, are not matched.
Catch-up           If you are age 50 or older by the end of the year, you can
Contributions      contribute an additional amount on a pre-tax basis, up to
                   $6,500 in 2020 (subject to the 75% maximum
                   contribution percentage).
Choice of          You determine how your Plan account is invested. You
Investment Funds   may change your investments by calling Mercer HR
                   Services’ toll-free number or by accessing their Internet
                   site.




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 Plan Feature         How It Works
 Automatic Payroll    It’s easy to make contributions to your Plan account
 Deductions           because they’re taken out automatically each pay
                      period. You may start, stop, or change your contributions
                      at any time.
 Loans and            Under certain circumstances, you may have access to
 Withdrawals          your savings while you’re still working for the Company.
 Quarterly            Each quarter, a statement will be available that shows all
 Statements           the activity in your plan account.
 Access to Account    You may obtain your current account balance, execute
 Information and      transactions (for example, investment changes and
 Plan questions       withdrawals), and ask questions regarding the Plan, as
                      described in Article VII.

The following pages explain how the 401(k) Plan works and include important
rules and limitations. Please read this summary carefully.




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                          ARTICLE II – Plan Membership
SECTION 1             Who Is Eligible
You are eligible to participate in the Plan if you:

 are employed by the Company and you are covered by a collective bargaining
  agreement between the Company and the International Union, UAW, Locals
  171, 677, 1247, 2301 and 2420, and
 you have attained seniority under the collective bargaining agreement.
SECTION 2             When Participation Begins
You may begin participating in the Plan on the first day of the month following
attainment of five months of seniority. If you leave the Company and later return
to work for the Company in the eligible class described above, you will be able to
join the Plan again during any payroll period which begins after your return to
work.
SECTION 3             Enrolling in the Plan
                                                          You are eligible to join
When you become eligible to enroll, you will receive      the 401(k) Plan
an enrollment kit that contains instructions regarding    beginning with the first
the enrollment process. You may also request a kit        payroll period after
from Mercer HR Services. To enroll, you may call the      meeting the eligibility and
Plan’s toll free number at 1-800-356-9240 or go to the    participation
Plan’s website at www.ibenefitcenter.com. These           requirements.
Plan access features are available 24 hours a day,
seven days a week. You may also enroll or ask a question by speaking with a
Plan representative at that number between 8:30 am and 6:30 pm Eastern time,
on any business day. If you are unable to enroll by either of these methods,
please contact your local Human Resources Department. If you choose to
participate, you’ll need to:
 Select the percentage of Pay you would like to save in pre-tax dollars
 Authorize the Company to make regular payroll deductions for your 401(k) Plan
  contributions
 Indicate which funds you want to invest in, and
 Name a beneficiary (or beneficiaries) to receive the value of your Plan account
  if you die. Please note: If you are married, your spouse is automatically your
  beneficiary. If you wish to name someone other than your spouse as your
  beneficiary, you’ll need to complete a Beneficiary Designation Form, on which
  you must obtain your spouse’s written consent, witnessed by a notary public or
  Plan representative. If you’re single, you may name any person as your
  beneficiary. If you die and are not survived by a designated primary or

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  contingent beneficiary, your Plan beneficiary will be your spouse or if you do
  not have a spouse, your estate.

Contributing to the 401(k) Plan is completely voluntary. If you do not want to
contribute when you first become eligible, you may begin contributing at a later
date. Keep in mind, however, that you can save as little as 1% of your Pay in the
Plan.

If you were hired on or after June 1, 2009 and if you do not take action to enroll
or decline to enroll within 30 days after the date you become eligible to
contribute, you will be automatically enrolled in the Plan as if you made an
election to contribute 3% of pay to the Plan.

Effective January 1, 2017, your initial automatic enrollment percentage will be
increased by 1% each year up to a maximum of 6%, unless you make a different
choice. You may also elect to make changes via the web at
www.ibenefitcenter.com or by phone by calling 1-800-356-9240.


SECTION 4            Election Discrepancies
You must notify the Plan Administrator in writing of any discrepancies in your
payroll deduction or investment election within 30 days of receipt of the first pay
statement or investment confirmation statement reflecting the discrepancy. If you
do not timely notify the Plan Administrator in writing, you will be deemed to have
elected the payroll deduction or investment election reflected on your statement.
To facilitate a prompt correction, you may also contact a Plan representative at
1-800-356-9240 between 8:30 am and 6:30 pm (in addition to providing written
notice to the Plan Administrator).




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                   ARTICLE III – Building Your Plan Account
Under the Plan, your account can grow in several ways:

 Your pre-tax contributions
 Company contributions (if eligible)
 Your rollover contributions (if any), and
 Investment growth.

The following pages explain how each works.

The Plan offers a number of interactive resources    You may save from 1% to
to help you plan for your retirement. You can log    75% of your annual pay in
on to www.ibenefitcenter.com to use a retirement     whole percentages on a
goal calculator to estimate how much money you       pre-tax basis.
may need for retirement and what your current
contribution percentage may need to be to pursue your goal. You can also use
the paycheck calculator to see how your Plan contributions would impact your
take-home pay. In addition, the Plan’s Smart GoalTM feature enables you to
systematically increase the amount you save over time. These resources, as well
as some of the pre-mixed investment funds described, enable you to pursue a
disciplined approach to retirement savings.
SECTION 1            Your Pay
For purposes of determining contribution amounts under the Plan, the term “Pay”
means your base hourly rate of pay, including cost-of-living allowances but
excluding premiums or bonuses. Pay also includes amounts paid after your
termination of employment if such amounts are paid before the later of 2½
months or the end of the year after you terminate employment and would have
been paid to you if you had continued employment.

The amount of your Pay that can be taken into account each year is subject to a
limit imposed by the IRS ($285,000 in 2020).
SECTION 2            Your Pre-tax Contributions
You may save from 1% to 75% – in whole percentages – of your Pay in the form
of pre-tax contributions. You may also make separate elections each Plan Year
to save from 10% to 75% of a cash payment (if you receive one) from the Mack-
UAW Profit Sharing Plan; from 10% to 75% of a ratification bonus; and from 10%
to 75% of a lump sum bonus. Separate elections are required for each such
election. If you are age 50, or will reach age 50 by the end of the year, you can
contribute an additional amount on a pre-tax basis, up to $6,500 in 2020. These
additional contributions are called “catch-up” contributions. You can only make
catch-up contributions if you reach, or you expect to reach, one of the legal limits

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on contributions for the year. Your catch-up contributions plus your other
contributions can’t exceed 75% of your Pay.
Legal Contribution Limitations. The Internal Revenue Service (IRS) imposes the
following limits on how much money can be contributed on your behalf each
year:

 Regular pre-tax contributions cannot exceed an annual dollar limit ($19,500 in
  2020).
 The maximum amount that can be contributed to your account each year – in
  the form of regular pre-tax contributions and matching contributions – cannot
  exceed a dollar amount ($57,000 in 2020) or 100% of your compensation,
  whichever is less.
 Your Pay that can be taken into account each year is subject to a limit
  ($285,000 in 2020).
 In some cases, highly-compensated employees may be restricted from making
  certain contributions to the Plan so that the Plan can comply with these and
  other IRS guidelines. You will be notified if you are affected by these
  restrictions.
 If you are age 50, or will reach age 50 by the end of the year, you can
  contribute an additional pre-tax amount each year in excess of the foregoing
  limits ($6,500 in 2020) by making a separate election. These additional
  contributions are called “catch-up” contributions. You can make catch-up
  contributions only if you reach, or you expect to reach, one of the Plan’s limits
  on contributions for the year. Your catch-up contributions plus your other
  before-tax contributions can’t exceed 75% of your Pay. Your total pre-tax
  contributions (including catch-up contributions) can’t exceed $26,000 in 2020.

These limits are adjusted from time to time by the government for changes in the
cost of living.

How Pre-tax Contributions Work. Pre-tax contributions are deducted from your
paycheck before federal – and, in most locations, state and local – income taxes
are withheld. As a result, your taxable income is reduced, so you pay less in
taxes. You will pay taxes on this money, including any investment earnings,
when you receive your account balance at retirement (or earlier, if you withdraw
the money).

Even though you’re taxable income is reduced when you make pre-tax
contributions to the Plan, the level of your other pay-related benefits will not be
affected. The value of these benefits continues to be based on your full pay (as
defined under those plans) before you contribute to the 401(k) Plan.

Please note that pre-tax contributions do not reduce Social Security taxes or
Social Security benefits.

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SECTION 3           Company Contributions
If you were hired or rehired on or after June 1, 2009, the Company makes
contributions on your behalf. Prior to May 1, 2013, each pay period, the
Company matched 100% (that is, dollar for dollar) of your pre-tax contributions
(excluding catch-up contributions, contributions of Mack-UAW Profit Sharing Plan
payments, if any, and contributions of ratification bonuses or lump sum bonuses)
which did not exceed 5 percent of your Pay for such pay period. If you
contributed at least 5% of your Pay to the Plan, the Company matching
contribution was 5% of your Pay.

Effective May 1, 2013, if you were hired or rehired on or after June 1, 2009, the
Company will make the following contributions on your behalf: (1) as matching
contributions, 60% of the first 6% of Pay that you contribute each pay period and
(2) 2% of your Pay. If you contribute at least 6% of Pay, the total Company
contribution will be 5.6% of your Pay.

Effective 1/3/2019, if you were hired or rehired on or after June 1, 2009, the
Company will make the following contributions on your behalf: (1) as matching
contributions, 60% of the first 6% of Pay that you contribute each pay period and
(2) 3% of your Pay. If you contribute at least 6% of Pay, the total Company
contribution will be 6.6% of your Pay.

Effective 1/1/2020, if you were hired or rehired on or after June 1, 2009, the
Company will contribute (1) as matching contributions, 60% of the first 6%
of pay you contribute, plus (2) 4% of your Pay. Therefore if you contribute
at least 6% of Pay, the total Company contribution will be 7.6% of your Pay.

Catch-up contributions, contributions of Mack-UAW Profit Sharing Plan
payments, if any, and contributions of ratification bonuses or lump sum bonuses
are not eligible to be matched by Company contributions.

The Company match is made on a per-paycheck basis. This means that if you
contribute less than 6% of your Pay in a given pay period, you will miss some or
all of the match for that period. Because the IRS limits contributions you may
make on a pre-tax basis to your account, you should carefully consider the
percentage of Pay that you contribute to the Plan so that you can maximize the
matching contributions to your account over the course of the year.
SECTION 4           An Example of Your Plan Savings         Here’s an example of
Assume you’re married with one child and decide to save     the advantage of
6% of your $40,000 pay, or $2,400, through the Plan. The    saving on a pre-tax
following chart shows how your pre-tax contributions        basis as opposed to
increase your spendable income.                             saving through an
                                                            ordinary bank account.


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If you are not eligible to receive a matching contribution (you were hired prior to
June 1, 2009), please refer to the first chart in this Section 4.

If you are eligible to receive a matching contribution (you were hired or rehired on
or after June 1, 2009), please refer to the second chart in this Section 4.

                                               Pre-Tax Savings
 Employees Hired Prior to June 1, 2009 –         Through the          Saving
 No Matching Contribution                           Plan          Outside the Plan
 Base Pay                                         $40,000             $40,000
 Pre-Tax Savings                                  – 2,400                  –0
 Taxable Income                                   $37,600             $40,000
 Federal Income Tax*                              – 1,285             – 1,525
 Post-Tax Savings (6%)                                 –0             – 2,400
 Spendable Income                                 $36,315             $36,075
 Immediate Gain Through Tax Savings                  $240                  $0
* Based on estimated federal income tax rates for 2016 assuming you are
  married, file jointly, take the standard deduction, claim three exemptions, and
  have no other income.

As you can see, in this example you would have $240 more in current spendable
income by saving 6% of your Pay through the Plan on a pre-tax basis as
opposed to saving on a post-tax basis outside the Plan. Remember that taxes
are only deferred. You’ll be responsible for paying income taxes on your pre-tax
savings and any investment earnings when you receive a payout of your Plan
account.




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 Employees Hired or Rehired On or After       Pre-Tax Savings
 June 1, 2009 – With Matching                   Through the          Saving
 Contribution                                      Plan          Outside the Plan
 Base Pay                                        $40,000             $40,000
 Pre-Tax Savings                                 – 2,400                  –0
 Taxable Income                                  $37,600             $40,000
 Federal Income Tax*                             – 1,285             – 1,525
 Post-Tax Savings (6%)                                –0             – 2,400
 Spendable Income                                $36,315             $36,075
 Immediate Gain Through Tax Savings                 $240                  $0
 Company Contribution (3.6% match +
 2%)                                             + 2,240               + 800
 Total Benefit                                   $ 2,480               $ 800
* Based on estimated federal income tax rates for 2016 assuming you are
  married, file jointly, take the standard deduction, claim three exemptions, and
  have no other income.

As you can see, in this example you would have $240 more in current spendable
income by saving 6% of your Pay through the Plan on a pre-tax basis as
opposed to saving on a post-tax basis outside the Plan. Also, the Company will
contribute $2,240 to your Plan account compared with only $800 (2%) if you save
outside the Plan. Remember that taxes are only deferred. You’ll be responsible
for paying income taxes on your pre-tax savings, your matching contributions,
and any investment earnings when you receive a payout of your Plan account.

SECTION 5            Additional Pre-Tax Contributions of Profit Sharing Plan
                     Payments, Ratification Bonuses and Lump Sum
                     Bonuses
In some years, the Company may make a cash payment to you pursuant to the
Mack-UAW Profit Sharing Plan. If so, you may make a separate election to
contribute 10%-75% of that payment to your Plan Account. Similarly, you may
elect to contribute 10% - 75% of any ratification bonus or 10% - 75% of a lump
sum bonus. Separate elections are required for each such election. Note that
Profit Sharing payments, ratification bonuses and lump sum bonuses are not
treated as part of your pay for purposes of your regular pre-tax contribution. A
contribution from your Mack-UAW Profit Sharing Plan payment, ratification bonus
or lump sum bonus is not matched. A separate election to contribute part of any
such payment or bonus you may receive must be made each year.




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SECTION 6            Rollover Contributions
                                                          If you participated in
You may roll over or directly transfer certain other      another employer’s tax-
types of savings into the Plan. By doing so, you          deferred savings plan, you
continue to defer income tax on that money and            may be able to roll the
have the same investment opportunity as the rest of       money into the 401(k)
your Plan account.                                        Plan.

If you are a current employee, you may roll over into the Plan certain amounts
you received from any other retirement plan that meets certain IRS requirements
and is therefore subject to special tax rules under Section 401 or Section 403(a)
of the Internal Revenue Code. You may also roll over amounts from an IRA if
those amounts were rolled into the IRA from such a retirement plan. The Plan
does not accept rollovers from Roth IRAs or rollover of any after-tax amounts.

For example, you may be eligible to make a rollover contribution to the Plan if
you worked for another employer with a qualified savings plan before joining the
Company. You can roll the payout you receive from that plan into the 401(k) Plan
as long as you do so within 60 days of receiving the money, as required by the
IRS.

You also may be able to have your plan account from your prior employer-
sponsored plan transferred as a direct rollover to the 401(k) Plan. If you do not
elect a direct rollover, you will be subject to a 20% withholding tax on the taxable
portion of your distribution. See “How Taxes Affect Your Benefits” for more
information about the tax consequences of rolling over money from one plan to
another.

Any amounts that you roll over into the Plan (including investment income on
those amounts) can be withdrawn by you at any time and for any reason.
However, if you take a withdrawal from the rollover account, that withdrawal will
be subject to income taxes and, if you are under age 59½, also may be subject to
a 10% penalty tax. See “How Taxes Affect Your Benefits” for more information.
SECTION 7            Account Transfers To or From Other Volvo 401(k) Plans
If you transfer to an employment status where you become eligible to participate
in another 401(k) plan sponsored by a non-participating affiliate of the Company,
you may elect to transfer your current Plan account balance to your new plan.
Similarly, if you transfer employment from an employment status where you were
a participant in another 401(k) plan sponsored by a non-participating affiliate of
the Company, you also may elect to transfer your account balance under that
plan to this Plan. Each type of contribution (e.g., elective pre-tax, profit sharing,
rollover) and attributable earnings that you transfer in this manner will become
subject to the Plan’s distribution and withdrawal restrictions applicable to such
contribution type. However, the transferred amounts will retain the prior plan’s
vesting schedule if more favorable.


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SECTION 8           Tax Deferred Saving
                                                        Like your pre-tax
Another big advantage to saving through the Plan is     contributions, the
that your investment earnings continue to grow tax-     investment earnings in
deferred as long as the money remains in the Plan.      your account accumulate
Most other forms of saving tax your investment          on a tax-deferred basis
earnings each year.                                     until you withdraw the
Keep in mind, however, that tax-deferred does not       money.
mean tax-free. Your Plan account – including the
investment earnings – will be taxed as ordinary income in the year it is paid to
you. More information about taxes and the Plan is included under “How Taxes
Affect Your Benefits”.




                    ARTICLE IV – Investing Under the Plan


SECTION 1           Your Investment Choices
You have a choice of investment funds for investing your account.

The Plan’s investment lineup was designed to offer you a variety of options from
a wide range of investment categories, without offering an overwhelming number
of choices. In addition, every fund is offered in the share class with the lowest
available expense ratio (i.e., the lowest fee). The Plan’s fiduciaries who are
responsible for monitoring the available funds may change the investment line-up
to ensure that each available fund is an appropriate investment option for the
Plan.

Investors should carefully consider the investment objectives, risks, charges, and
expenses of a fund before investing. For a prospectus or an offering statement
containing this and other information about any fund in the Plan, please call
1-800-356-9240. Read the prospectus or offering statement carefully before
making any investment decisions. Fund performance is not guaranteed; Plan
accounts can lose money.




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The Plan is intended to be a plan described in Section 404(c) of the Employee
Retirement Income Security Act of 1974 (“ERISA”) and Labor Regulation
2550.404(c)-1, as amended (referred to as a “404(c) plan”). Section 404(c) may
relieve the Plan’s fiduciaries of liability for any losses that result from investment
instructions given by you or your beneficiaries to invest (or not invest) in
particular investment funds, provided the Plan complies with certain requirements
of Section 404(c). To qualify as a 404(c) plan, Plan fiduciaries must select
appropriate investment funds as alternatives, make available certain information
about the Plan’s investment choices, and allow participants to direct the
investment of account balances in a manner that complies with applicable rules
under ERISA. Because you supervise and direct how your Plan account is
invested among available investment funds, and because the Plan is designed to
comply with certain rules for 404(c) plans under ERISA, fiduciaries of the Plan
may be relieved of liability for losses, if any, that occur in your Plan account as a
direct result of your investment instructions. A participant or beneficiary will
remain responsible for making investment decisions with respect to Plan
accounts remaining in the Plan after your termination of employment for any
reason.

Should you fail to direct the investment of your account, your Plan account will be
invested in the Target Retirement Fund that corresponds with your date of birth
on record with the Company, assuming a retirement age of 65 (see the chart on
page 11). If your date of birth is not in the Company’s records, your Plan account
will be invested in the Target Retirement Income Fund. Your Plan account will
remain invested in the applicable default investment fund until you make another
selection.

On a daily basis, you can change your investment elections. You can reallocate
the funds in which your future contributions will be invested in 1% increments.
You can make exchanges (transfers) in dollar amounts, percentages (i.e.,
reallocation), or shares. Again, please read the applicable prospectus for
information regarding trading restrictions and fees for individual funds. See
Article VII for instructions for making investment elections and changes.

This SPD provides general information about the Plan’s investment options. It
does not intend to provide investment advice. More detailed information about
the Plan’s investment options is available from Mercer HR Services. For further
information on investments, you may wish to consult a trusted, reputable
investment advisor.

Choosing a single investment from the “ready-mixed” portfolio choices offers you
a one-step approach to diversification (“Option A”). Or, you can mix your own
portfolio from among the Plan’s other fund choices (“Option B”).

Option A: Choose a ready-mixed portfolio
The Target Retirement Funds allow you to:


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 Make a single investment choice based on the year you plan to start
  withdrawing assets, typically at retirement
 Invest in a comprehensive portfolio that is professionally diversified across
  investment styles
 Have your fund’s risk level adjusted to generally become more conservative
  over time

All of the Target Retirement Funds are diversified across an array of funds that
invest in different styles and include a mix of stocks, bonds, and capital
preservation investments. Your portfolio will be automatically rebalanced for you
on a periodic basis, and your exposure to risk will generally be reduced as you
get closer to retirement. Remember that diversification and rebalancing do not
guarantee a profit or eliminate risk and you can still lose money in a diversified
portfolio.

Each Target Retirement Fund has a different target date indicating when the
fund’s investors expect to begin withdrawing assets from their accounts, typically
at retirement. You can simply select the single fund with the target year that most
closely matches the date on which you intend to withdraw money for retirement.
The Income Fund is designed for participants who are close to achieving or have
already achieved their retirement goals or other savings objectives. Please refer
to the prospectus for more details.

When deciding which Target Retirement Fund is right for you, you may wish to
consider a number of factors in addition to a fund’s target date, including your
age, how your fund investment will fit into your overall investment allocation, and
whether you are looking for a more aggressive or more conservative allocation.

Each Target Retirement Fund is designed to be used as a single-choice
approach to diversification for your Plan account and generally should not be
used in combination with any other Target Retirement Fund or the Plan’s other
investment options. When you invest in a Target Retirement Fund, there is
generally no need to change your investment selections in the future unless your
time horizon for withdrawing from your account changes.

The underlying funds held by each Target Retirement Fund may invest in
international securities, which involve risks such as currency fluctuations,
economic instability, and political developments. The funds may also invest some
or all of their assets in small and/or midsize companies. Such investments
increase the risk of greater price fluctuations.

The funds may also have a significant portion of their assets in bonds. Mutual
funds that invest in bonds are subject to certain risks including interest rate risk,
credit risk, and inflation risk. As interest rates rise, bond prices fall. Long-term
bonds have more exposure to interest rate risk than short-term bonds. Lower-

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rated bonds may offer higher yields in return for more risk. Unlike bonds, bond
funds have ongoing fees and expenses.
To help you decide, simply review the table below.

Most aggressive: Higher risk/longer targeted investment period
   If your expected or actual
   year of retirement is                       Consider
    – 2043–2047                        Target Retirement 2055 Fund
    – 2038–2042                        Target Retirement 2050 Fund
    – 2033–2037                        Target Retirement 2045 Fund
    – 2028–2032                        Target Retirement 2040 Fund
    – 2023–2027                        Target Retirement 2035 Fund
    – 2018–2022                        Target Retirement 2030 Fund
    – 2013–2017                        Target Retirement 2025 Fund
    – 2008–2012                        Target Retirement 2020 Fund
    – Before 2017                      Target Retirement Income Fund
Most conservative: Lower risk/shorter targeted investment period

Target Retirement Funds are ranked according to market and credit risk. Market
risk measures how sensitive a fund may be to economic and market changes.
Market risk is generally higher for funds that invest heavily in stocks. Credit risk
measures how susceptible a fund’s income holdings may be to the nonpayment
of principal or interest by the issuer. These rankings are relative only to the listed
funds and should not be compared with the rankings of other investments.
Moreover, there can be no assurance that any one fund will have less risk or
more reward than any other fund.

Option B: Mix your own portfolio
Understand risk and reward factors
If you choose to mix your own portfolio, you will select your own combination of
individual funds offered by your Plan to create a diversified portfolio that matches
your specific risk tolerance and investment goals. Review your Enrollment Guide
or the Mercer website for information about the available funds.

An important part of investing is determining how much risk (of losing money)
you are willing to accept in exchange for potential reward (of making money).
There are a number of factors to weigh when determining a fund’s relative risk
and potential reward in comparison to other funds offered by your Plan.
Specifically, you may wish to consider investment style, company size, and
geography.

The importance of rebalancing


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Keep in mind that over time different performance gains and losses among your
funds can move your portfolio away from your initial diversification strategy. To
keep your portfolio on track, you should examine your existing account balance
percentages at least once a year and “rebalance” or adjust your holdings to align
with your intended strategy.

Your enhanced Plan will offer an automatic rebalancing option that enables you
to have your portfolio automatically rebalanced every 3, 6, or 12 months.

Diversification and rebalancing will not necessarily prevent you from losing
money; however, they may help reduce volatility and potentially limit downside
losses.

Investment style
Funds are managed in different styles. Investment style refers to the way a fund
is managed and the types of stocks and bonds in which it invests. There can be
no assurance that funds will achieve their investment objectives.
Higher potential risk/higher potential reward
    Growth funds seek to maximize the value of your savings over time by
    investing in the stocks of companies that have a strong potential for providing
    above-average earnings growth.

    Blend funds seek to increase the value of your savings over time by
    investing in the stocks of companies with strong earnings growth potential as
    well as those priced below their expected long-term worth.

    Value funds seek to increase the value of your savings over time by
    investing in undervalued, or attractively priced, stocks of well-established
    companies.

    Income funds seek to provide a steady stream of income, which is
    reinvested in your account, and in some cases a small amount of growth, by
    investing in bonds issued by governments and corporations and similar
    income-producing securities.

    Capital preservation funds seek to offer price stability and a steady stream
    of income, which is reinvested in your account, by investing in short-term
    bonds or contracts issued by creditworthy companies, financial institutions,
    and government entities.
Lower potential risk/lower potential reward




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Company size
Specific to stock funds, company size refers to the total market value or
“capitalization” of a company as determined by its outstanding stock shares.

Higher potential risk/higher potential reward
    Small-cap funds invest in the stocks of small companies, which often offer
    innovative products and services. However, because of their small size, such
    companies may also present volatility and liquidity risks.

    Mid-cap funds invest in the stocks of midsize companies, which may have a
    faster growth rate than large companies but also more stability than small
    companies.

    Large-cap funds invest in the stocks of large companies which, because of
    their asset size, tend to be the most stable.
Lower potential risk/lower potential reward




Geography
Stocks and bonds are issued by companies and government entities around the
world and offer varying degrees of risk and potential reward.

Higher potential risk/higher potential reward
   International/global funds invest in stocks issued by companies outside the
   United States or bonds issued by government entities or companies outside
   the United States. Global funds invest in securities of issuers worldwide and
   international funds invest mainly in securities of issuers outside the United
   States. International and global funds may perform well when U.S. domestic
   funds do not, but they also involve unique risks such as currency fluctuations,
   economic instability, and political developments. Additional risks, including
   illiquidity and volatility, may be associated with emerging market securities.

   Domestic funds invest in stocks issued by companies or bonds issued by
   government entities or companies located in the United States and tend to
   track the ups and downs of the U.S. economy.


Lower potential risk/lower potential reward

The investment style, company size, and geography illustrations are not intended
as investment advice, but rather as a general guide to investment style
risk/potential reward profiles. Because blend funds have the flexibility to invest in

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both growth and value stocks in varying proportions, at any given time they may
have a higher or lower risk/potential reward profile than value funds or growth
funds. There can be no assurance that any fund will experience less volatility or
greater reward than any other fund. Investing in small-cap and mid-cap
companies involves increased risk of price volatility compared with investing in
large-cap companies.

View sample investor profiles
The profiles below can help you determine how to diversify your own portfolio
among your Plan’s investment styles based on your goals, risk tolerance, and
years to retirement. As you develop your investment strategy, it’s important to
consider that your retirement (and need for a steady stream of income) may last
20 years or more. So be sure to factor this time into your long-term investment
objectives.




The sample profiles take into consideration the time remaining to anticipated
retirement at age 65, historical inflation rates, and risk and potential return
relationships of the asset classes shown. No other assumptions have been
made. You should not consider these sample profiles to be investment advice,
and when applying these profiles to your individual situation, consider your other
assets, income, and investments (e.g., the equity in your home, other retirement
plan and IRA assets, and your savings) in addition to your Plan account. You
may wish to consult a financial advisor to review your specific situation. Call your
Plan’s toll-free number if you have any questions.


Learn more about your funds


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The following profiles outline the investment objective and strategy – including
style, company size, and geography – for each of the investments offered by
your Plan. There can be no assurance that a fund will achieve its objective. The
funds are listed in alphabetical order under each style category; categories are
listed according to market and credit risk. Please see page 280 for more
information about investment styles.

Investors should carefully consider the investment objectives, risks, charges, and
expenses of a fund before investing. For a prospectus or an offering statement
containing this and other information about any fund in the Plan, please call 1-
800-356-9240. Read the prospectus or offering statement carefully before
making any investment decisions.




SECTION 2           Plan Investment Fees
All of the funds in the Plan’s new investment lineup are being offered in the share
classes with the lowest available expense ratios. Generally, the share class that
has the lowest expense ratio for each fund will have the highest investment
return, as compared with the other share classes offered for that fund.

What are expense ratios and share classes?
The operating fees for the funds are assessed as a percentage of the assets
invested and are deducted directly from those assets. The expense ratio is used
to represent the sum of those operating fees.

Some funds offer different types of shares, known as “classes.” Each class
invests in the same portfolio of investments and has the same objectives and
policies. However, each class has different fees and expenses and therefore
different performance results. As mentioned above, the share class with the
lowest expense ratio for each fund will generally have the highest investment
return, as compared with the other share classes offered for that fund. For
information about fund fees and expenses, please refer to each fund’s
prospectus or offering statement.

How you invest your account is entirely up to you; the Company cannot give
investment advice. For more information or a prospectus on any of the funds,
please contact Mercer HR Services by phone at 1-800-356-9240 or online at
www.ibenefitcenter.com.



                          ARTICLE V – Plan Expenses
SECTION 1           Plan Administrative Fees


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In order to offer all of the funds in the share classes with the lowest available
expense ratios and still pay for all of the Plan’s administrative costs, it will be
necessary to implement a per-participant fee. This fee will be deducted quarterly
from your account, reflecting administrative expenses for the previous quarter.
SECTION 2           Plan Investment Fees
Plan Investment Fees are described in Article IV.
SECTION 3           Other Fees

Fees that may apply to your account (for example, QDRO fees and the
administrative fees described above) are listed on a fee schedule that is part of
your quarterly account statement.
                ARTICLE VI – If You Leave Before Retirement
SECTION 1           Vesting
                                                         Vesting determines your
Vesting means you have a permanent right to the          right to your Plan account
value of your Plan account – including any company       when you leave the
contributions made on your behalf and any                Company.
investment gains or losses on that money.

Under the 401(k) Plan, you are always 100% vested in your pre-tax contributions
and rollover contributions, if any, and the investment gains or losses on that
money. You become vested in matching contributions and any investment gains
and losses on that money at the rate of 20% for each year of service, as follows:
                Years of Service…             Vested Percentage…
                         1                             20%
                         2                             40%
                         3                             60%
                         4                             80%
                         5                            100%

You will also become 100% vested in matching contributions if you reach age 65,
or die while employed by the Company or while performing qualified military
service, or become disabled as determined under the Company’s long-term
disability plan that applies to you.
SECTION 2           Contributions Following Protected Military Leave
If your employment with the Company is interrupted by a period of military
service that lasts less than 5 years and you return to service in accordance with
the Uniformed Services Employment and Reemployment Rights Act of 1994
(“protected military leave”), you will have the right to make restorative

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contributions equal to the amount of pre-tax contributions (including catch-up
contributions, if applicable) that you could have made for the period of your
military leave (based on your eligible Pay immediately prior to such leave). The
Company will make any matching contributions to your account to the extent
required by law. You are required to notify the Plan Administrator at the
commencement of your protected military leave or as soon as possible
thereafter.




                       ARTICLE VII – 401(k) Plan Flexibility
The 401(k) Plan gives you the flexibility to
                                                      You can change your
change your decisions to keep pace with your
                                                      elections as your
circumstances. You may make the following
                                                      circumstances change. You
changes by contacting Mercer HR Services at
                                                      can change your investments
1-800-356-9240 or online at
                                                      simply by calling Mercer HR
www.ibenefitcenter.com:
                                                      Services or accessing their
 Change your contribution percentage.                web site.
  You may increase or decrease the amount
  you contribute to the Plan at any time. To change your contribution percentage,
  contact Mercer HR Services by phone or online. The change will take effect as
  soon as administratively possible.
 Stop or resume your contributions. You may stop contributing to or resume
  contributing to the plan at any time. To stop or resume contributions, you must
  contact Mercer HR Services. Your change will take effect as soon as
  administratively possible.
 Transfer your existing investments or change your investment elections
  for future contributions. You may transfer your existing investments or
  change your investment elections for new contributions going into your account
  at any time. To transfer your funds or change your investment elections, simply
  call Mercer HR Services toll-free or visit the Plan’s website.
 Change your beneficiary designation. You may change your beneficiary at
  any time by accessing the Plan’s website or calling Mercer HR Services’ toll-
  free number to request a Beneficiary Designation Form. Remember, however,
  that if you’re married and wish to name someone other than your spouse as
  your beneficiary, you’ll need your spouse’s written consent, witnessed by a
  notary public.
The Plan Administrator may temporarily suspend certain Plan activities in order
to facilitate a transfer of assets and/or liabilities to or from the Plan, a change in
service providers, or the investment options of the Plan. Actions that may be

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suspended include, but are not limited to, distributions, withdrawals, loans,
investment and contribution elections, and changes in contribution percentages
and investment fund allocations. If practicable, you will be notified in advance of
any suspension so that you can plan accordingly. In some cases, your
transaction requests may be delayed due to administrative time lags in file
transfers needed to facilitate such transactions.




                 ARTICLE VIII – Receiving Your Plan Account
In general, you may request a distribution of your Plan account when you retire
or leave the Company and all of its affiliates. Under certain circumstances you
may be able to access your money while you are actively working for the
Company. The following paragraphs describe how distributions, loans, and
withdrawals work.

SECTION 1             Distributions
You or your beneficiary can receive the vested value of your Plan account when
you leave the Company and all of its affiliates for any reason, including
retirement, disability, or death.

Mack will distribute your Plan savings automatically if you leave the Company
and all of its affiliates (for any reason) and the value of your Plan account is
$1,000 or less. If the vested value of your Plan account is greater than $1,000,
you can elect to have your account distributed:

 In a lump sum, or
 For participants with an account transferred from the Mack Trucks, Inc.
  Retirement Savings Plan, the vested portion of that account may be distributed
  in equal monthly installments over a period not exceeding 10 years.

If you elect to leave your money in the Plan after you leave the Company,
periodic distribution of your account balance will begin the April 1 following the
year in which you reach age 70½.

In the event of your death, your beneficiary will receive your benefits in a lump
sum as soon as administratively possible. However, if your spouse is your
beneficiary and the value of your account is greater than $1,000, he or she can
elect to defer payment until the date you would have reached age 70½.
SECTION 2             Loans
If you wish, you may borrow money from your Plan account. When you repay the
loan, you repay your Plan account, with interest. In essence, you pay yourself

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back because you’re borrowing your own money. The Plan’s written loan
program is in Appendix A to this SPD. You may also obtain a copy or apply for a
loan by calling Mercer HR Services at 1-800-356-9240 or by visiting their website
at www.ibenefitcenter.com.

Keep in mind that you do not pay income taxes on any money borrowed from
your Plan account. In addition, the interest portion of your repayments is not tax
deductible. You may wish to consult a tax advisor before borrowing from the
plan.

SECTION 3           In-Service Withdrawals
Under the Plan’s withdrawal feature, you can withdraw money from your Plan
account under certain circumstances. The portion of your account available for
withdrawal does not include the amount that is reflected on your statement as an
outstanding loan balance.

You can withdraw funds from your rollover account at any time and for any
reason. If you have an account transferred from the Mack Trucks Inc. Retirement
Savings Plan, you may withdraw a portion of that account under certain
circumstances. You cannot withdraw pre-tax contributions prior to age 59½,
except that pre-tax contributions may be available for hardship withdrawal
(explained below under the heading “Hardship Withdrawals”).

If your account includes Company matching contributions, you cannot withdraw
that money prior to age 59½.
SECTION 4           Age 59½ Withdrawals
Once you reach age 59½, you may withdraw part or all of your vested Plan
account at any time.
SECTION 5           Hardship Withdrawals
If you are younger than age 59½, you may             If you experience certain
withdraw your pre-tax contributions and earnings     financial hardships, you can
on pre-tax contributions made before 1989 only if    withdraw money from your
you experience financial hardship as defined by      account. If you do, you have
the IRS. In general, the IRS considers a financial   to stop contributing to the
hardship to exist if you have no other resources     Plan for six months.
reasonably available to meet the need of an
immediate and heavy financial burden. This kind of need may include:

 Funds needed to purchase your primary residence;
 Funds needed to prevent your eviction from, or foreclosure on the mortgage of,
  your primary residence;



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 Expenses for the repair of damage to your principal residence, to the extent
  that such expenses are the type that would qualify for the IRS casualty
  deduction;
 Funeral expenses for your deceased parents, your spouse and/or your
  dependents;
 Post-secondary tuition expenses and related educational fees for you, your
  spouse, or your dependents for the next twelve months only, and
 Unreimbursed medical expenses (incurred or to be incurred) for yourself,
  spouse or dependents, to the extent that such expenses are the type that
  would be tax deductible by you.

The following rules apply to hardship withdrawals:

 The amount of the withdrawal cannot be greater than your financial need,
  although it can include amounts you may need to pay any applicable income
  taxes and penalties.
 Before obtaining a hardship withdrawal, you must exhaust all loans and other
  distribution options available under this and any other plan sponsored by the
  Company or an affiliate.
 Your pre-tax contributions (and any other elective contributions under a plan
  sponsored by the Company or an affiliate) will automatically be suspended for
  the six-month period following the date of your withdrawal. You must make a
  new election after the end of the six-month period to resume making
  contributions to the Plan.

For all withdrawals, including Hardship withdrawals, you must contact Mercer HR
Services at 1-800-356-9240.

You are responsible for paying ordinary income taxes on the amount of your
withdrawal in the year you receive the distribution. A penalty tax of 10% – in
addition to ordinary income tax – also may apply if you make the withdrawal
before reaching age 59½. Hardship withdrawals may not be rolled over. (See
“How Taxes Affect Your Benefit” for information about withholding and penalty
taxes.)




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                      ARTICLE IX – Account Information
SECTION 1           Quarterly Statements
Plan account statements are available on the
Plan’s website, www.ibenefitcenter.com. If you        Once each quarter, you can
have an email address on file you will receive        receive a statement
notification when your quarterly statement is         showing the status of your
available online. Your quarterly statement shows      plan account. Keep your
the following:                                        statements in a safe place
                                                      so you can keep track of the
 The amount of pre-tax contributions you made        growth of your 401(k)
                                                      savings.
 The amount of matching contributions credited
  to your account
 The percentage of your total contribution that you are allocating to each
  investment fund
 Opening and closing balances for each investment fund
 Any loans you have taken or payments you have made, including loan
  balances
 Any withdrawals you have made, and
 The amount of fees you have paid.

You may view your account balance online each day at www.ibenfitcenter.com.
To receive a quarterly statement by mail you must contact Mercer at 1-800-356-
9240 and request a mailed statement.
SECTION 2           Voice Response System and Web Site


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Current information about your account is available
daily through a toll-free number at 1-800-356-9240 or     Information about your
online at www.ibenefitcenter.com. These Plan              account is available
access features are available 24 hours a day, seven       24 hours a day by calling
days a week. You may also speak with a Plan               Mercer HR Services at
representative at that number between 8:30 am and         1-800-356-9240 or by
6:30 pm Eastern Time, on any business day.                logging onto
                                                          www.ibenefitcenter.com.




                 ARTICLE X – How Taxes Affect Your Benefits
The 401(k) Plan enjoys certain tax advantages
                                                        Although you are not taxed
because it is intended to be a long-term savings
                                                        on your savings while the
program for retirement. For example, under
                                                        money remains in the
current federal income tax law, your money is not
                                                        401(k) Plan, you’ll have to
taxable while it is held in the Plan. You will owe
                                                        pay income taxes when you
income taxes on your distribution when you
                                                        receive a distribution.
receive payment of your benefits.

Prior to receiving a distribution, you will receive a detailed notice that describes
many of the tax rules that apply. A general description of the rules is provided in
this section of the SPD. Before deciding how to receive your Plan distribution,
you should review the detailed tax notice and seek the advice of your attorney or
investment advisor.

In addition to ordinary income taxes, you also may owe a 10% penalty tax
depending on when and under what circumstances you receive a distribution.
The 10% penalty tax will not apply in these situations:

 Your account is paid to you after age 59½
 Your account is paid to you after you retire from the Company during or after
  the year in which you reach age 55
 Your account is distributed in approximately equal installments over your life
  expectancy (even if you leave the Company before age 55)
 Your account is paid because you become disabled or die



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 Your account is used to pay medical expenses eligible to be deducted on your
  year-end federal income tax return
 Payment is directed to another person by a qualified domestic relations order,
  or
 You direct the Plan Administrator to transfer your entire account to an IRA or
  another qualified employer-sponsored plan.

When you are eligible to receive a distribution from the Plan, you have several
choices:

 You can elect that the Plan directly roll over your eligible rollover distribution
  (generally, a lump sum or payments made over a period of less than 10 years,
  excluding a hardship distribution) to another eligible retirement plan or IRA
  (other than a SIMPLE IRA or Coverdell Education Savings Account). In this
  case, you will avoid paying the 10% penalty. You will also avoid paying
  ordinary income taxes currently if you rollover the taxable portion to another
  eligible retirement plan or a traditional IRA. You will be subject to ordinary
  income taxes if you elect a rollover to a Roth IRA. In addition, if you are
  married you must file a joint tax return with your spouse. You must elect a
  direct rollover before you receive your benefits.
 You may choose to receive some or all of your distribution. In this case, the
  Plan is required to withhold 20% of the taxable amount you receive to be
  applied toward your taxes. You can still roll over the remaining amount into
  another qualified plan or IRA within 60 days, and you will defer taxes on that
  amount. You also may roll over 100% of your distribution. However, you will
  have to find other money to replace the 20% that is withheld.



                       ARTICLE XI – Claims Information
SECTION 1            Filing a Claim
You must apply to receive benefits from the Plan. To
apply for benefits, you must contact Mercer HR           There are specific
Services by calling 1-800-356-9240. If you die, your     procedures for filing
beneficiary must contact the Human Resources             claims and settling
Department. Benefits are paid as soon as possible        disputes. See Article
after you or your beneficiary file a claim. If you defer XII.
receiving your benefits after you leave the
employment, keep the Company informed of any address changes so you can
continue to receive information about your Plan account.

If your claim for benefits is denied, you have certain rights under the law. For
more information, see the description of your rights under Benefit Denial and
Appeal.


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             ARTICLE XII – Other Important Facts About the Plan
SECTION 1            Circumstances Which Could Affect Your Benefit
Benefits may be denied, lost or suspended, or you may not qualify or be eligible
for benefits, under the following circumstances:

 You are not eligible to participate in the Plan
 If a benefit under the program cannot be paid because you or your beneficiary
  cannot be found, the benefit will be forfeited in certain circumstances. If the
  payee is located at a later date, benefits which were due but could not be paid
  will be paid in a single sum and the right to future benefits will be reinstated in
  full
 If you receive a benefit payment in excess of the amount which you are owed,
  the excess will be returned to the Plan. The Plan Administrator may do this by
  either (1) reducing future Plan payments owing to you until the excess is
  recovered or (2) requiring you or your beneficiary to repay the excess to the
  Plan
 If a Company contribution is made by reason of a mistake of fact, the Company
  can recover the contribution
 If a tax deduction for a Company contribution is disallowed, the Company
  contribution can be returned to the Company.

Other circumstances which could affect the amount of your benefit include:
Limitations on Contributions. Federal law limits the amount of contributions
that may be made to the Plan. If these limitations affect you, you will be notified.

Military Leave. It’s your responsibility to notify the Company as soon as possible
if you are going to go on military leave. If you leave work for a qualified military
leave, you may make additional contributions when you return to work to make
up for the period when you were on leave (provided you return to work for the
Company within the time period prescribed by federal law for protection of your
reemployment rights). You will receive service credit while on qualified military
leave.

Plan Insurance. Unlike your benefit in the Pension Plan, your Plan benefit is not
insured by the Pension Benefit Guarantee Corporation (PBGC) because your
benefit is determined solely based upon contributions to the Plan and gains and
losses thereon.

Assignment of Benefits. Your Plan benefit is not assignable or alienable. Your
creditors cannot claim your account to satisfy debts. However, a court may order
all or a portion of your account be paid to an “alternate payee” (such as a former

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spouse, minor children, etc.) under a Qualified Domestic Relations Order. The
Plan Administrator determines whether a domestic relations order is qualified
pursuant to certain procedures under the Plan. You or your beneficiary can
obtain, without charge, a copy of these procedures from the Plan Administrator.
You should contact the Plan Administrator when you become aware of any court
proceedings that may affect your benefits so that appropriate action may be
taken.

In addition, if you commit a crime against the Plan, a court may order, or a legal
settlement between you and a governmental agency may provide, that all or a
portion of your benefit will be paid to the Plan.
SECTION 2            Interpretation of the Plan
The Plan Administrator has full authority to interpret the provisions of the Plan
and this SPD. While the SPD is intended to be complete and accurate,
remember that it is only a summary of the Plan’s provisions. In interpreting this
SPD, the Plan Administrator will rely on the governing Plan document. In the
event of any conflict between this SPD and the Plan document, the Plan
document will always control. The explanations in the SPD cannot alter, modify,
or otherwise change the controlling Plan document, nor can any rights accrue by
reason of any statements or omissions in the SPD.

The Plan Administrator’s decisions regarding the interpretation of the Plan
document and SPD and all questions that may arise thereunder as to the status
and rights of participants and others, are conclusive and binding on all persons.
The Plan Administrator may, however, appoint and delegate some of its
interpretation and decision-making authority to other individuals. The Plan
documents are available for review in the Human Resources Department during
normal business hours.
SECTION 3            Benefit Denial and Appeal
If all or part of your claim for benefits is denied, or if there is a dispute regarding
your right to participate in the Plan, the Plan Administrator will notify you in
writing of the specific reason or reasons for the denial of your claim or the
decision with respect to your participation. The notice will reference the
appropriate Plan provision or provisions on which the denial or decision is based,
include a description of any additional material or information necessary to
perfect the claim and an explanation of why such material or information is
necessary, and inform you of your right to sue in federal court if your claim is
denied on appeal.

The notice will also describe how claims are reviewed and outline the steps for
requesting review of your claim. Usually the written notice will be issued within 90
days of receipt of your claim. However, due to special circumstances, some
cases may require an additional 90 days to review. You will be notified if
additional time is required for review of your claim.

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If you or your beneficiary disagrees with the decision of the Plan Administrator,
you have 60 days after receiving the notice of denial to request a review of your
case by the Plan Administrator. As part of the appeal review procedures, you or
your beneficiary will be allowed to:
 submit additional documents, records, and information relating to the claim;
 request access to and receive copies (free of charge) of all Plan documents,
  records, and other information affecting the claim;
 appeal the denial in writing; and
 have someone act as your representative in the appeal procedure.

The Plan Administrator’s review of a claim on appeal will take into account all
comments, documents, records, and other information relating to the claim
submitted in connection with the appeal, without regard to whether such
information was submitted or considered in the initial claim determination.

The Plan Administrator will usually give its final decision within 60 days after
receipt of your request for review. However, some cases may require an
additional 60 days to review due to special circumstances. You will be notified if
additional time is required to review your claim. You will be notified by mail of the
Plan Administrator’s final decision and the specific reasons for the decision. If the
Plan Administrator denies the claim on appeal (in whole or in part), the notice will
inform you (or your beneficiary) of the right to receive (upon request and free of
charge) copies of all documents, records, or other information that were
submitted to the Plan, considered by the Plan, or generated in the course of
making the benefit determination and your right to sue in federal court.

The Plan Administrator has full discretion and authority to determine all claims
under the Plan. Any action or determination in the review procedure will be final,
conclusive, and binding on all participants and beneficiaries and their
representatives.


                   ARTICLE XIII – Administrative Information

Plan Name
The official name of the plan is the Mack-UAW 401(k) Plan.

Plan Type
The Plan is a defined contribution plan with a 401(k) feature.




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Plan Sponsor and Plan Administrator
The Plan Sponsor and Plan Administrator is:
Mack Trucks, Inc.
7900 National Service Road (27409)
P.O. Box 26115
Greensboro NC 27402-6115

Plan Trustee
The Trustee is:
Mercer Trust Company
1 Investors Way
Norwood, MA 02062.

Employer Identification Number (EIN)
XX-XXXXXXX

Plan Number
012

Plan Year
The Plan year is January 1 to December 31

Agent for Service of Legal Process
For disputes arising under the Plan, service of legal process can be made upon
the Plan Administrator or the Plan Trustee.


                   ARTICLE XIV – Your Rights Under ERISA
As a participant in the Mack-UAW 401(k) Plan, you are entitled to certain rights
and protections under federal law as stated in the Employee Retirement Income
Security Act of 1974 (ERISA). ERISA entitles you as a plan participant to:

 Examine, without charge, at the Plan Administrator’s office and at other
  specified locations, all Plan documents, including copies of all documents filed
  by the plan with the U.S. Department of Labor, such as detailed annual reports
  and plan descriptions.
 Obtain copies of all Plan documents and other plan information upon written
  request to the Plan Administrator. The Plan Administrator may charge a
  reasonable amount for the copies.
 Receive a summary of the Plan’s annual financial report. The Plan
  Administrator is required by law to furnish each participant with a copy of this
  summary annual report.




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Quarterly Statements
If you are a member of the Plan, you have a right to receive a quarterly statement
at no charge to you. If the statement is not provided automatically, you may
request it in writing.

Obligations of Fiduciaries
In addition to creating rights for Plan participants, ERISA imposes duties upon
the individuals who are responsible for the operation of the Plan. These
individuals are called fiduciaries. They have a duty to operate the Plan prudently
and in the interest of you and other Plan participants and beneficiaries.

Provisions for Legal Action
No one, including your employer or any other person, may fire you or otherwise
discriminate against you in any way to prevent you from obtaining a benefit or
exercising your rights under ERISA. If your claim for a benefit is denied in whole
or in part, you must receive a written explanation of the denial. You have the right
to have the Plan Administrator review and reconsider your claim.

Under ERISA, you can take steps to enforce the rights outlined above. For
instance, if you request materials from the Plan and do not receive them within
30 days, you may file suit in a federal court. In such a case, the court may require
the Plan Administrator to provide the materials and pay you up to $110 a day
until you receive the materials, unless the materials were not sent because of
reasons beyond the control of the Plan Administrator.

If your claim for benefits is denied or ignored, in whole or in part, you may file suit
in a state or federal court. In addition, if you disagree with the Plan’s decision or
lack thereof concerning the qualified status of a domestic relations order, you
may file suit in Federal court. If it should happen that Plan fiduciaries misuse the
Plan’s money or if you are discriminated against for asserting your rights, you
may seek assistance from the U.S. Department of Labor, or you may file suit in a
federal court. The court will decide who should pay court costs and legal fees. If
you are successful, the court may order the person you have sued to pay these
costs and fees. If you lose, the court may order you to pay these costs and fees,
for example, if it finds your claim is frivolous.
Assistance with Your Questions
If you have any questions about your Plan, you should contact the Plan
Administrator. If you have any questions about this statement or about your rights
under ERISA, or if you need assistance in obtaining documents from the Plan
Administrator, you should contact the nearest office of the Employee Benefits
Security Administration, U.S. Department of Labor, by calling the toll-free hotline
at 866-444-EBSA (3272). You will be automatically transferred to the nearest
EBSA office (based on the area code of the telephone used to place the call).
Alternatively, you may write to the Division of Technical Assistance and Inquiries,
Employee Benefits Security Administration, U.S. Department of Labor,
200 Constitution Avenue N.W., Washington, D.C. 20210. You may also obtain

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certain publications about your rights and responsibilities under ERISA by
contacting the EBSA by telephone or mail (at the number and address stated
above) or through the internet at www.dol.gov/ebsa.


                           ARTICLE XV – A Final Note
The Company intends to continue the 401(k) Plan indefinitely, but reserves the
right to discontinue or change the Plan at any time and for any reason by action
of its Board of Directors or its delegate. (Of course, the 401(k) Plan is part of the
collective bargaining agreement, and any amendment or Plan termination during
the contract would be subject to the collective bargaining process.) If the
Company terminates the Plan for any reason, the assets in the Plan will be used
for the exclusive benefit of Plan members and beneficiaries. If the Plan
terminates or partially terminates, you will receive a distribution of your plan
account according to the terms of the official Plan document.

This booklet is a Summary Plan Description of the Mack-UAW 401(k) Plan. It
highlights the main provisions of the Plan but is subject to the terms of the legal
Plan document. Where this description and the official Plan document vary in the
description of the Plan, the Plan document is the final authority.

This description of the 401(k) Plan is not an employment contract or any type of
employment guarantee.




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Appendix A

                            Mack-UAW 401(k) Plan
                               Loan Program

1. This Loan Program is effective for loans made on or after November 1, 2007.
   Loans issued prior to that date are subject to their original terms. Terms not
   defined herein have the same meaning as in the Plan’s summary plan
   description.

2. Administration The Plan Administrator is authorized to administer the Loan
   Program, and to prescribe such forms and regulations as it considers
   necessary or appropriate to administer the Loan Program. The Plan
   Administrator has directed Mercer to act as its agent to administer the Loan
   Program in accordance with the Plan Administrator’s prescribed forms and
   procedures. The Company may amend or terminate the Loan Program at any
   time.

3. Conditions and Limitations Applicable to All Loans

   A. Eligibility You may apply for a loan if you are an active participant who
      has a vested account balance in the Plan. By applying for a loan, you are
      certifying that the proposed borrowing is for your own purposes and not for
      the benefit of any other party-in-interest to the Plan (such as an Employer
      or any Plan fiduciary). No more than one loan may be outstanding from
      the Plan at any time.

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 B. Maximum Principal Amount The maximum principal amount of any loan
    cannot exceed the following limits:

       Dollar limit: The principal amount cannot exceed $50,000, reduced by
        any outstanding loan balance on the day the loan is made (or, if
        greater, the highest outstanding loan balance during the one-year
        period ending on the day before the day the loan is made).

       Percentage limit: As of the day the loan is made, the principal amount,
        when added to the amount of any other Plan loan outstanding, cannot
        exceed 50% of your vested Plan account balance.

    For purposes of these limits, your outstanding loan balance is determined
    by aggregating any loan you may have under all qualified plans
    maintained by members of the Company’s controlled group.

 C. Minimum Principal Amount The minimum principal amount of any loan
    is $1,000 (one thousand dollars). Loans will only be issued in $1.00 (one
    dollar) increments. The repayment period you choose must be in 1 month
    increments.

 D. Duration The repayment period of any general purpose loan will be no
    more than 5 years. The repayment period of a primary residence loan will
    be no more than 10 years.

 E. Repayment Method A loan will generally be repaid in substantially equal
    installments by payroll deduction from each paycheck. Loan repayments
    are made in after-tax dollars. Partial pre-payment of your outstanding
    balance is not permitted.

 F. Timing of Repayment Repayment will begin as soon as administratively
    practicable following the loan issuance.

 G. Plan Accounting The distribution of the proceeds of a loan will be
    charged solely against your account, and all repayments of principal and
    interest will be credited solely to your account in accordance with the
    requirements of the Plan. The unpaid principal balance of a loan will be
    reflected as a receivable for your account. An origination fee of $35 will
    be charged against your account at the time that you take your loan. An
    annual maintenance fee of $20 will be charged against your account on a
    quarterly basis pro rata for each year your loan remains outstanding.

 H. Interest Rate As determined by the Company, the interest rate for a loan
    will be the Prime Rate as listed in The Wall Street Journal on the 3rd
    business day of the month in which you request the loan, plus 1%. The
    interest rate so determined will remain fixed throughout the duration of the
    loan. Loans granted at different times may bear different interest rates.


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 I. Security Each loan will be secured by the assignment of up to 50% of
    your vested account balance, not to exceed the amount of your loan. No
    other security will be required or accepted.

 J. Loan Default If you fail to make an installment payment on your loan
    when due, the Plan Administrator will arrange for Mercer to provide you
    written notice of your right to cure this failure by making up missed
    payments or repaying the loan in full. If your failure to make an installment
    repayment continues after such written notice has been provided, the Plan
    Administrator shall inform Mercer of a default in your repayment of the
    loan. Such default will occur no later than the last business day of the
    calendar quarter following the calendar quarter in which your last payment
    was received. This will result in a deemed distribution for federal income
    tax purposes (i.e., a distribution subject to applicable taxes and penalties),
    and the Internal revenue Service will be notified of such distribution. The
    amount of the distribution equals the entire outstanding balance of the
    loan (including accumulated interest) at the time of the default. The Plan is
    authorized to offset this amount against your account at the time you are
    eligible for a distribution from the Plan.

 K. Termination of Employment If you terminate employment with an
    outstanding loan, you will have 90 days from your termination of
    employment to repay your loan in full. If you do not repay your loan in full
    by that time, the unpaid loan balance will be treated as a deemed
    distribution paid directly to you and will therefore be subject to applicable
    taxes and penalties. Additional, the Internal Revenue Service will be
    notified that you received a distribution from your account.

 L. Repayment in Full As noted above, partial prepayments are not
    permitted. However, you may pay off the entire balance of the loan at any
    time without penalty or service fee by sending a certified check made
    payable to Mercer Trust Company, Trustee of the Plan. Please reference
    your name and social security number on the check and mail it to the
    following address:
    US Postal (including USPS Express Mail     Other Courier Mail
    Mercer                                     Mercer
    Attn: Mack-UAW 401(k) Plan                 Attn: Mack-UAW 401(k) Plan
    P.O. Box 9740                              Investors Way
    Providence, RI 02940-9740                  Norwood, MA 02062

 M. Suspension If you go on an authorized unpaid leave of absence of up to
    one year, you may contact Mercer HR Services at 1-800356-9240 to
    request a repayment suspension for this period. You will be required to
    make up the missed payments by either of the following options (as you
    elect): (1) making a catch-up loan payment when your leave of absence
    ends, or (2) having the Plan reamortize your outstanding loan over the
    remaining portion of the original loan term.

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4. Application Procedure You may request a loan by phone at 1-800-356-
   9240 or through the internet at www.ibenefitcenter.com any day. You will be
   told the maximum amount you may borrow, the interest rate that will apply
   and the amount and number of payroll deductions required to repay your loan
   based on its term. If you direct a loan be made to you from the Plan on the
   terms described, a Truth in Lending Disclosure Statement explaining the
   financial terms of your loan will be mailed to you, along with a check for the
   amount of your loan.

   If you would like to request a loan with a loan term of longer than five (5)
   years to purchase a principal residence, you must obtain a Primary
   Residence Verification form by contacting Mercer at the toll-free number
   above.

5. Approval or Denial Your loan application will be reviewed by a
   representative and may be approved only to the extent that the loan
   requested complies with the requirements of this Loan Program. To the extent
   that a loan application is denied, the representative will inform you of the
   reason(s) for the denial, with specific reference to the requirements of the
   Loan Program upon which the denial is based. If you are denied a loan, you
   may discuss this with the Company.

6. Promissory Note and Security Agreement By cashing or depositing the
   check for your loan, you will be agreeing to repay the loan in accordance with
   the terms of the Truth In Lending Disclosure Statement provided to you at that
   time and this Loan Program. Together you’re endorsed or negotiated loan
   check, Truth In Lending Disclosure Statement, and this Loan Program will
   constitute your Promissory Note and Security Agreement with respect to your
   loan. Without limiting the foregoing, this means that:
      You will agree that your loan payments (including interest and other
       finance charges) will be made by payroll deduction as provided in the
       payment schedule of the Truth In Lending Disclosure Statement.
      You will assign and grant to the Plan a security interest of up to 50% of
       your vested account balance, not to exceed the balance of your loan
       immediately after it is made, as security for prompt and full repayment of
       the loan.
   If for any reason you do not wish to accept the loan on the terms of this Loan
   Program and the Truth In Lending Disclosure statement, do not cash or
   deposit the check. Mark the front of the check “VOID” and return it
   immediately to Mercer. Returned checks will be reinvested in your account on
   a current market basis, not retroactively to the date the loan was issued.

Your Truth In Lending Disclosure Statement, together with this Loan Program, is
your permanent record of the terms of your loan. Keep it with your financial
records. Your regular participant statement will show how much you have repaid
on a loan, and how it has been reinvested.

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                       MACUNGIE OPERATIONS
                     SUPPLEMENTAL AGREEMENT

                               between

                          MACK TRUCKS, INC.

                                and the

                         International Union,
                         United Automobile,
                            Aerospace and
                        Agricultural Implement
                         Workers of America,
                                 UAW
                            Local No. 677




                   October 25, 2019 — October 1, 2023




                                              UAW - 000354


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                                      MACK TRUCKS, INC.
                             MACUNGIE SHOP LOCAL SUPPLEMENT
                                       International Union
                               United Automobile, Aerospace and
                                Agricultural Implement Workers
                                         of America UAW
                                      and its Amalgamated
                                          Local No. 677

       This Supplemental Agreement, made this 25th day of October, 2019, by and between
       Mack Trucks, Inc., a Pennsylvania corporation (hereinafter designated as the
       “Company”) and the International Union, United Automobile, Aerospace and Agricultural
       Implement Workers of America, UAW, on its own behalf and behalf of its Amalgamated
       Local No. 677 (hereinafter designated collectively as the “Union”), covering employees
       in its shop bargaining unit at Macungie, Pennsylvania.

       WITNESSETH:
       That the parties hereto mutually agree as follows:


                                    ARTICLE 1 - RECOGNITION

       All production, non-production and Skilled Trades employees at the Company's
       Macungie, Pennsylvania Plant, but excluding executives, directors, business team
       leaders, supervisors, production engineers, draftsmen, designing, planning and
       estimating engineers, plant protection employees and office employees.


                           ARTICLE 2 - UNION SHOP AND CHECK OFF
                                   (See Master Agreement)

                                  ARTICLE 3 - REPRESENTATION

      SECTION 1

       The Union shall be represented in the facility by the President of the Local Union, the
       Shop Chairperson and six (6) Bargaining Committeepersons, who shall be elected by
       the Macungie Shop Unit. At the time of their election or appointment to office, all Union
       representatives shall be employees of Mack Trucks, Inc. The Union will provide written
       notice that an employee is authorized to act on behalf of the Union and the Company
       will then recognize the employee as a Union representative permitted to function as
       provided in this Agreement.

      SECTION 2

       The six (6) Bargaining Committeepersons shall represent specific areas to be
       determined by the Union on a reasonable basis and submitted to the Company thirty
       (30) days in advance of the posting for Committeeperson elections.

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      SECTION 3

       (a) The President and Shop Chairperson will work full time on proper Union
           representation activities as provided in Mack/UAW Agreements. They shall be paid
           at their regular rate, by the Company for time so spent, for up to eight (8) hours
           each regular work day, Monday through Friday, except as otherwise provided in
           Article 13.

       (b) In addition, the President and Chairperson may perform duties and responsibilities
           relative to the position which are not covered by UAW Mack Agreements. However,
           it is recognized their primary and foremost responsibilities are the UAW Mack
           Agreements.

       (c) The Committeepersons will work full time as Union representatives, including
           functions specified in the grievance procedure. They shall be paid by the Company
           for time so spent for up to eight (8) hours on each regular work day, Monday through
           Friday, except as otherwise provided in Article 13.

      SECTION 4

       (a) A Vice Shop Chairperson and Vice President will be elected or appointed and their
           duties will be the same as the elected Chairperson and President, respectively, and
           will be permitted to function when the principal(s) is/are absent from work. The Union
           will notify the Human Resources Department as far in advance as possible when the
           Vice Shop Chairperson or Vice President is scheduled to act in place of the
           Chairperson or President.

       (b) An Alternate Committeeperson for each member of the Bargaining Committee will
           be elected or appointed whose duties will be the same as the Committeeperson.
           The Alternate Committeeperson will be permitted to function when the regular
           Committeeperson is absent from work. The Union will notify the Human Resources
           Department as far in advance as possible when an Alternate is acting in place of a
           Committeeperson. During the 2001 Local Labor negotiations, the Union requested
           that additional Union representation be permitted during periods of production rate
          changes which impact plant mannings. It was agreed by the parties that additional meetings
          would be required after ratification to further discuss this issue to establish the parameters
          within which the alternate Union committeepersons might operate during such periods.

       (c) The provisions of this Section 4 will also include the appointment of an Alternate
           when either the Principal and Alternate in Sections (a) and (b) above are absent.

      SECTION 5

       (a) No employee shall stop their assigned work for any purpose related to the
           investigation or settlement of a grievance without promptly requesting permission of
           their Supervisor, which shall be granted within a reasonable time.



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       (b) Bargaining Committeepersons when working overtime as Committeepersons may
           perform their normal functions as described in this Article, but will not interrupt the
           work of employees other than to discuss a grievance that occurs during the overtime
           period.

       (c) Should the Company believe representation time is being abused, a meeting must
           be called with the Local Representatives and the International Representatives to
           allow the Union to correct such alleged abuse.


                                     ARTICLE 4 - NOTIFICATION
                                      (See Master Agreement)


                              ARTICLE 5 - GRIEVANCE PROCEDURE
                                    (See Master Agreement)

      SECTION 6

       Company’s Step 2 representative -- Department Manager or designee.

                                       ARTICLE 6 - SENIORITY

      SECTION 7

       (a) In the case of employees commencing work on the same date, order of seniority
           among the employees shall be determined by using the last four digits of each
           employee’s social security number. In other words, the employee with the lower
           social security number shall be deemed to have the greatest seniority. An employee
          shall be given an identification badge on the date the employee actually commences work.

       (b) In the case of employees whose probationary period is completed on the same date,
           order of seniority among the employees shall be determined by using the last four
           digits of their social security number, i.e., the employee with the lowest social
           security number shall be deemed to have the greatest seniority.

       (c) In the case of employees hired prior to October 28, 1992 and who commenced work
           on the same date, seniority will be determined by reference to the time stamp on the
           employees’ application forms, i.e., the employee with the earliest date and time
           stamped will have the greater seniority.

       (d) When it becomes necessary for the Company to hire new employees who possess
           the special skills required for the performance of a particular classification, the
           employee shall not be permitted to bid out of the classification until all employees
           with greater seniority have been recalled. Prior to hiring new employees, laid off
           employees acquiring special skills required for the performance of a particular
           classification through verifiable certified training programs, will be given the

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           opportunity.
       (e) When it becomes necessary for the Company to hire new employees due to a
           particular skill the employee has work experience in, the Company will notify the new
           employee prior to the employee’s hire of the fact that the employee is being hired for
           that particular skill and the conditions involved with the position. A letter will be given
           to the employee signifying the skill for which the employee was hired with copies
           forwarded to the Union and the employee’s personnel file. The skills in this Section
           applicable are painter, sheet metal finisher, welder, and material tech inspectors.
           The new employee will be subject to the same terms and conditions of employment
           during the probationary period as other new hires and will be accorded all
           contractual provisions subsequent to that period with the following exceptions:

          1. The new employees will only be able to exercise their seniority if they are
             excessed or bumped off the skills position for which they were hired. (Locked into
             twenty-four (24) month skills letter.)

          2. Should the employee not be in the job for which the employee was hired, and
             should the Company be unable to fill a vacancy by either returning a home spot
             or through the job posting procedure in the classification for which the employee
             was hired and notified, the Company shall have the right to transfer the employee
             from the employee’s job to such vacancy.
             (a) The Company will effect this transfer by utilizing the least senior employee
                 hired for that particular classification.

              (b) Should the transferred employee have an established home spot in a
                  classification from which the employee is transferred, the employee will retain
                  that home spot and be returned to it when the employee is released from the
                  job the employee was transferred to, seniority permitting.

              (c) Should the employee be transferred from a job for which the employee does
                  not have a home spot, the employee will be returned to the last job the
                  employee left when the employee is released, seniority permitting.

              (d) The Company is limited on transferring any employee under this Section for a
                  period of twenty-four (24) months.

      SECTION 8

       (a) The Bargaining Chairperson shall continue to work as long as there is work in the
           Macungie Shop.

       (b) Bargaining Committeepersons shall continue to work in their respective
           representation district, provided that there are employees working in the district.

       (c) The President shall continue to work as long as there is work in the Macungie Shop,
           Allentown Engineering or Allentown Office provided that there are employees still at
           work.

       (d) The Bargaining Chairperson and Bargaining Committeepersons shall be recalled

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          when one (1) or more employees have been recalled to their respective district.

       (e) The President shall be recalled when one (1) or more employees have been recalled
           to the Macungie Shop, Allentown Engineering or Allentown Office.

       (f) The Bargaining Chairperson, the President, and Bargaining Committeepersons shall
           remain in their classification, department and shift as long as there is work.

       (g) The President shall exhaust his/her seniority within his/her "home" bargaining unit
           before exercising his/her/her seniority rights under (c) above in a different bargaining
           unit.

      SECTION 9

       Credited service information will be included on the employee benefit questionnaires
       and distributed to all employees no later than June 1 of each year.

                                  ARTICLE 7 - LAYOFF & RECALL
      SECTION 10

       (a) In cases of layoffs other than those designated in Section 11 of this Article, before
           any employee having seniority shall be laid off, all probationary employees shall first
           be terminated unless there are no seniority employees available to take the jobs
           held by the probationary employees.


      SECTION 11 - Temporary Layoffs

       (a) (1) Temporary Layoffs are those arising out of conditions which at the time the layoff
               occurs enable the Company to advise the employee that the employee will be
               recalled during a period not in excess of thirty (30) consecutive calendar days,
               unless it is mutually agreed between the Company and the Union to extend the
               layoff beyond the aforementioned thirty (30) days. Temporary layoffs shall mean
               temporary adjustments of the work force due to conditions beyond the control of
               the Company which may be made without the application of the layoff provisions
               of this Agreement.

          (2) Probationary employees will be laid off in the department, area, classification and
              on the shift where the layoff occurs.

          (3) Employees who have elected to be laid off in accordance with the provisions of
              (b)(1) below will be laid off in the department, area, classification and shift where
              the layoff occurs beginning with the most senior employee, until the required
              number of employees in the affected department, area, classification and shift is
              exhausted.

          (4) If a sufficient number of employees to meet the layoff requirement is not obtained
              through the application of (2) and (3) above, employees as of the effective date

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              of the layoff will then be laid off by shift in the department, area, and classification
              where the layoff occurs, beginning with the least senior employee. Once a layoff
              has been implemented, no additional hours (overtime) may be worked in that
              area of where the layoff is occurring until the employee is recalled.

          (5) Employees will be recalled in the following order department, area,
              classification, and shift:

              (i) By seniority beginning with the least senior employee laid off under (4) above.

              (ii) In seniority order beginning with the most senior employee laid off under (3)
                   above.

              (iii) Probationary employees may be recalled.

       (b) (1) Employees with seniority may indicate their desire to be laid off, in the event of a
               temporary layoff, by following the procedure indicated below:

              (i) Employees may complete an electronic or a triplicate form, to be supplied
                  by the Company, indicating their preference.

              (ii) Once an election has been made, it may be changed once every thirty (30)
                   calendar days.

              (iii) Changes in elections to be laid off will become operative seven (7) calendar
                    days subsequent to the election dates.

       (c) The Company will not incur any liability from the operation of the procedure except in
           regard to a claim that a more senior employee was laid off instead of a lesser senior
           employee, except when the claim involves contention as to whether or not the
           employee had elected to be laid off.

       (d) The Company will not work overtime in a department/area affected by this Section
           without mutual agreement between the parties with the following exceptions:

          (1) When employees who are affected by a temporary layoff are needed as a
              support force for a department/area which is not directly affected by a temporary
              layoff.
              It is understood that the number of support forces working overtime will not
              exceed the number that is required for support during the normal hours of work
              when a temporary layoff is not in effect.

       (e) Should the temporary layoff continue in excess of five (5) working days, the Union
           may, in writing, request the Company to adjust the work force in accordance with the
           provisions of this Article 7 and the Company will do so within five (5) working days
           thereafter.

       (f) During scheduled down weeks, the Flex Pool classification may be assigned to


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          supplement the Offline Department.

      SECTION 12 - SHIFT CURTAILMENT

       (a) In the event there is a temporary cessation of work (partial shift curtailment), the
           Company may layoff affected employees for the balance of the shift and up to five
           (5) consecutive workdays in a given week. Curtailments are limited to a maximum of
           thirty (30) working days / sixty (60) events per employee per calendar year.

          An event is a layoff for four (4) hours or less. A layoff of four (4) to eight (8) hours will
          be considered two (2) events.

          Curtailments will be implemented when necessary by department, area,
          classification, and shift. Examples of major line departments are Conventional
          Department, COE Department or Offline Department. Partial shift curtailment is not
          intended to be implemented in lieu of rate changes or “down” weeks.

          During partial shift curtailment occurrences affected sub assembly areas will work
          until production requirements are achieved.

       (b) Procedures for implementation:

              (1) Entire departments and/or areas will end production at the designated
                  times, affecting both production techs and assigned production techs-flex.
                  Material Departments and/or areas will also follow the affected
                  department and or areas. All probationary employees within the
                  affected Department, area, classification, shift will be curtailed first.

              (2) If a need exists within the affected department, area, classification, and
                  shift for additional tasks to be completed during the curtailment period, that
                  are not signed up for temporary layoff per Article 7, Section 11(a)(1) will be
                  assigned the work.

              (3) An employee who has reached the thirty (30) working days / sixty (60)
                  events annual maximum per calendar year must notify their supervisor for
                  reassignment if affected by a sixty- first (61st) event.

              (4) The flex technicians in the curtailed area may be retained for
                  reassignment.


                 (a) Flex that are in a curtailed area that are signed up for temporary layoff will
                     be released first unless all Flex are signed up and then the most junior
                     may be retained for reassignment.

              (5) Partial shift curtailment will not require the two (2) hour penalty for refusal of
                  offered overtime Re: Short Work Week



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          In cases of dispute as to whether an employee has the necessary qualifications to
          do an available job, the employee shall be given a five (5) day trial period at that job
          with instructions as would normally be given a qualified employee starting the job.

       (c) An employee who fails to qualify shall be placed on an open available job the
           employee is capable of performing, or in the event there is no such job, the
           employee shall be placed on a job then filled by the least senior employee in the
           unskilled classifications.

      SECTION 13

       (a) In the event of a curtailment, excess employees from the affected assembly
           area(s) will be transferred to other assembly areas if required. The least
           senior employees shall be transferred first and will return to the job from
           which they transferred in seniority order as the production level on the
           affected assembly area(s) resumes.

      SECTION 14 - GENERAL LAYOFF

       In the event of a general layoff, the Company shall meet with the Bargaining Committee
       and shall furnish the Bargaining Committee with appropriate information concerning the
       layoff, and shall also furnish the Chairperson of the Bargaining Committee with an
       electronic list of employees to be laid off not less than forty-eight (48) hours in
       advance of the layoff. The Company shall also furnish the Chairperson of the
       Bargaining Committee an electronic list of employees who are to be recalled to work,
       prior to the return of the employees to work. In the event of a temporary layoff, as
       outlined in Section 11 of this Article, notice of layoff shall be given to the Chairperson of
       the Bargaining Committee as much in advance as possible.

       MPL rest of General layoff (except medical language which is in a new medical proposal)

       (a) In the event of a production curtailment, excess employees from the affected
           assembly area(s) will be transferred to other assembly areas if required. The least
           senior employees shall be transferred first and will return to the job from which they
           transferred in seniority order as the production level on the affected assembly
           area(s) resumes.

       (b) For the purpose of this Agreement, home spot is defined as the employee’s
           department, area, classification and shift recognized by the Company's records on
           the effective date of the contract, or any subsequent group or classification acquired
           by bidding or waiver. An employee can have only one (1) home spot at any given
           time.

       (c) Employees may waive their home spot by submitting written notice on a form
           supplied by the Company to the Human Resources Office. All forms shall be time
           and date stamped at the time of submission and a copy will be sent to the Union. All
           home spot waivers submitted prior to the end of the regular work shift on Tuesday
           will be effective at the end of the shift that Tuesday.

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       (d) If an employee on layoff is recalled and refuses a job the employee is capable of
           performing, the employee shall be considered as a voluntary quit.

       (e) An employee cannot sign a home spot waiver while the employee is on a temporary
           job bid. An employee who bumps into a group must have seniority over a permanent
           employee to sign a home spot waiver.

       (f) An employee's waiver can only be cancelled by being called back to his/her home
           spot and physically moved prior to the end of his/her regular work shift on Tuesday.
       (g) Probationary employees shall not establish a "home spot" until they establish a
           home through posted notice or job waiver at the end of the probationary period
           when they attain seniority. Probationary employees shall establish a home spot per
           Article 8, Section 20 upon completion of their probationary period if they are the
           successful bidder on a job between the 31st and 90th day of their probationary period
           before obtaining seniority.


      SECTION 15

       (a) In the event of any increase or decrease in the number of employees within a group,
           classification or shift, the Company will notify the Chairperson of the Bargaining
           Committee forty-eight (48) hours in advance.

       (b) Whenever curtailment of work shall require a reduction in the number of employees,
           but shall not require an actual layoff because of the availability of work, the
           employees affected may immediately exercise their seniority on a plant-wide basis.

       (c) Once any layoff has been implemented, no additional hours (overtime) may be
           worked until the employee is recalled.

      SECTION 16

       Employees returning from any extended absence (e.g., covered by Accident and
       Sickness benefits, workers’ compensation benefits, absences of five (5) or more work
       days, or absences due to surgery or hospitalization of any duration) from the plant will
       be required to clear through the medical department prior to returning to work. The
       employee will be compensated for the time spent in the dispensary.

      SECTION 17

       (a) Any employee remaining at work after a layoff with less seniority than laid off
           employees will be excluded from exercising bidding rights until all employees with
           greater seniority have been recalled.

       (b) No employee shall have the right to take a layoff as long as there is a less senior
           employee on a job that the employee is capable of doing, except as modified by
           Sections 11 and 18 of this Article.


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       (c) Employees who have been determined by the Company Medical Department to be
           unable to perform the work of their regular job, as a result of a work related or non-
           work related illness or injury, may either be medically placed in a job that they
           are able to perform all functions or assigned to transitional work through the
           application of the following procedures:

           1. Based upon a review of the employee's medical condition, the Medical
              Department will determine work restrictions and refer the employee to the
              Facility.
              Medical Placement Committee for appropriate placement. The Company physician will
              abide by the employee’s treating physician’s restrictions upon the employee’s initial
              return to work until Article 7, Section 17 (e) takes effect.

           2. The Facility Medical Placement Committee, consisting of a representative of the
              Medical Department, Human Resources Department, and a designated Union
              Representative, will review the individual case and will assign the employee
              work, within their medical restrictions, in the following sequence:

                  (a)    Assigned to an open and available job in their Department, Area,
                         Classification and Shift that the employee is able to perform all
                         the functions of that job within their medical restrictions.

                  (b)    If there is no job within their medical restriction under (a), then they will
                         be assigned to an open and available job anywhere in the facility that
                         the employee is able to perform all the functions of that job
                         within their medical restrictions.

                  (c)    If there is no job within their medical restriction in the facility, then they
                         will be assigned to transitional work for: A maximum period of ninety
                         (90) cumulative work days per injury or medical condition work days
                         unless placed in an open and available job that the employee is
                         capable of performing

       (d) In the event an employee cannot be placed within their medical restrictions under
           any of the above, they shall remain on or go out under the appropriate benefit
           coverage. The appropriate Committeeperson will be notified.
       (e) An employee’s medical restrictions will be reviewed regularly with the objective of
           returning the employee to their own job. When an employee has successfully
           recovered in the judgment of the Company Physician to be capable of performing
           their own job, they shall be returned to that job, seniority permitting.

           3. Clarification of terms used in this provision:

                  (a)    Seniority - for placement in the transitional work program, an
                         employee must have sufficient seniority to be at work in the facility, or
                         lacking seniority, be at work pursuant to Article 10, Section 23 (g) of
                         the Master Agreement.

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                  (b)       Open and Available - Any temporary opening, such as one due to
                            vacation or illness, or any permanent opening which is available after
                            all home spot employees have been returned and the job has been
                            posted with no successful bidders. The one-time internal canvass will
                            be applied within the Supervisor’s area before placing a medically-
                            restricted employee on the job. When 2(b) is applied, temporary
                            openings will be limited to forty-five (45) days.

                  (c)       Transitional Work - Any non-traditional work or part-time traditional
                            work which is within the employees’ medical restriction.

                  (d)       Traditional Work - May consist of all or any portion of a bargaining unit
                            work function which is within the employees’ medical restriction.

         4. After review of the evaluation and recommendations of the Medical Restriction
            Sub-committee, the following procedural points related to the placement of
            medically restricted employees were agreed to on Wednesday, October 16,
            1996. While agreeing to make changes to the current medical restriction
            placement procedure, both parties recognize that making these changes may
            have an impact on the Macungie Operation’s benefits (social) costs, sick leave
            absenteeism rates, as well as compliance with the Americans with Disabilities
            Act. In light of this recognition, both parties agree to meet and review the impact
            of the revised procedures:

            (a)         Return to Home spot: An employee who has medical restrictions will be
                        returned to their home spot provided that the anticipated duration of the
                        opening is for a period of 8 calendar days or longer and provided that the
                        job the employee is transferring to is within the employee’s medical
                        restrictions. Such transfer must be reviewed and approved by the Medical
                        Placement Committee.

            (b)         Bidding and Bumping: An employee with medical restrictions will be
                        permitted to bid or bump either temporarily or permanently into any
                        classification provided that the job the employee is transferring to is within
                        the employee’s medical restrictions. The employee must be able to
                        perform all functions of the job without modification. Such bid or bump
                        must be reviewed and approved by the Medical Placement Committee.
                        The appropriate Committeeperson will be notified by the Medical
                        Placement Committee prior to actual placement on the job by the
                        medically restricted employee.

            (c)         Job Modification: The practice of modifying jobs up to 10 - 15% for
                        medically restricted employees will not continue. Those employees who
                        are currently placed with modifications will be allowed to stay on those
                        modified jobs. Because of the potential impact upon the Operation’s
                        benefits (social) costs and sick leave absenteeism rates, the parties have
                        agreed to maintain records regarding those restricted employees who are

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                    placed out of work on a Company benefits program when a job could have
                    been, but was not modified. This information will be reviewed periodically
                    and discussed by the parties for potential revision of this job modification
                    provision.

             (d)    Pre-placement: Until an employee with medical restrictions is placed on a
                    job within his/her medical restrictions, he/she may be placed for up to one
                    (1) full day on an opening to replace an absent employee or in general
                    maintenance. During the one-day placement, the employee must be able
                    to do 100% of the functions for that job. This one (1) day assignment may
                    be utilized between temporary assignments (e.g., vacation replacements
                    or sick leave replacements).

             (e)    Overtime: Medically restricted employees will be eligible for overtime in
                    their classification if and only if the work being performed complies with
                    said employee’s medical restrictions. However, working overtime out of
                    the employee’s current classification must be reviewed and approved in
                    advance by the Medical Placement Committee. It is understood that the
                    Medical Placement Committee will meet as soon as practical to review
                    the overtime work. Employees who are on transitional work are not eligible
                    to work overtime.

      SECTION 18 - Voluntary Layoff Agreement

       (a) At the sole discretion of Management a voluntary layoff may be implemented
           as follows: An employee(s) with five (5) years’ corporate seniority may (in order of
           seniority) elect a voluntary layoff in lieu of a less senior employee(s) being excessed
           from the same classification, department and shift, if each of the following occurs:

          (1) Reduction in plant manpower as a result of any of the following conditions:

             (A)    A required net reduction in the workforce.
             (B)    A decrease in vacation allotments.
             (C)    Employees returning from accident and sickness, workers’ compensation,
                    or long-term disability.
             (D)    Employees returning from voluntary layoff.
             (E)    Once a layoff has been implemented, no additional hours (overtime) may
                    be worked until the employee is recalled.

          (2) The employee gives written notice of their election at least seven (7) work days
              prior to the date the Company notifies the Union that an excess in the
              employee’s classification, department and shift will occur. An employee must
              report in person to the Human Resources office to process such election. This
              section covers all types of voluntary layoffs.

          (3) Once per calendar year employees eligible for voluntary layoff may elect a
              minimum of thirteen (13) weeks up to a maximum of twenty-six (26) weeks. Once
              a layoff duration is elected, it may be modified in accordance with Article 7


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             section 18 (a) (2).

          (4) Employees with ten (10) or more years’ seniority may extend the voluntary layoff
              by an additional twenty-six (26) weeks one time during the duration of this
              agreement. The extension will be the full twenty-six (26) week period. Extension
              notification must be four (4) weeks prior to the end of the current layoff period.

          (5) A voluntary layoff can only be terminated by the recall of the employee by the
              Company at any time following four (4) weeks of layoff.

       (b) Recall of employees will be accomplished in the following order:
          (1) Employees on voluntary layoff will be recalled in inverse seniority order after a
              minimum of four (4) weeks on voluntary layoff.

          (2) Employees other than voluntary layoffs having recall rights.

          (3) All employees with less than one (1) year’s seniority.

       (c) General rules governing voluntary layoffs:

          (1) Employees who have exercised voluntary layoff rights will not be permitted to
              exercise them again until all other eligible employees in that same classification,
              department and shift requesting layoff have been granted voluntary layoff in
              seniority order.

          (2) Employees on voluntary layoff will be returned at the expiration of their requested
              layoff, or when manpower needs necessitate a recall to the specific job in the
              classification, department and shift he/she left providing the majority of the job
              content (51%) still exists and the employee has sufficient seniority. If the
              employee has insufficient seniority to return, he/she will be further processed
              under Article 7, Section 14 of this Local Agreement.

          (3) If S.U.B. is modified or reduced, the employee may return to work immediately or
              they may elect to remain on layoff for the remaining weeks without S.U.B.

          (4) An employee may revoke their election for voluntary layoff. This revocation must
              be made at least ten (10) work days prior to the effective date they would have
              been laid off.

          (5) An employee who has elected to be placed on voluntary layoff and then returns
              to work after the layoff is still eligible for future layoff under these provisions. An
              employee who wishes not to be placed on voluntary layoff again must revoke
              their election.

          (6) An employee who has been placed on voluntary layoff and is recalled prior to
              their requested layoff period will be the first to be placed on voluntary layoff for
              the balance of their originally requested layoff period when the next opportunity
              arises provided they have not revoked their voluntary layoff election.


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          (7) When a layoff results as a direct result of volume/production and/or product mix
              changes, the following process shall apply.

              (a) The voluntary layoff list shall identify the employees to be laid off from the
                  reducing department, classification and shift. The layoff will be implemented
                  by seniority. If the required number of displacements is achieved, no
                  additional layoffs will be implemented.

              (b) If additional layoffs are required, the Company will lay off the senior
                  employees remaining on the voluntary list to a level not to exceed an
                  additional 15% per job classification with a population of one hundred (100) or
                  more and 10% for classification of less than one hundred (100).
                  Classifications of ten (10) or less will be evaluated based on need at the time
                  of the layoff. Additional reductions will be made through the general layoff
                  process. Human Resources will list the required displacements remaining if
                  “(b)” is necessary.

              (c) If the voluntary layoffs exceed the percentages above, the Company and
                  Union will meet to review and discuss if additional layoffs can occur in a
                  particular area.

          (8) All voluntary layoff recalls will be by department, classification and shift in inverse
              seniority order.

          (9) Any problems or special needs that may arise with the administration of the
              voluntary layoff process, the parties agree to meet and discuss the issues and
              attempt to resolve those issues.

          (10) The Company will not incur any liability from operation of this procedure.

                        ARTICLE 8 - POSTING NEW JOBS OR VACANCIES

      SECTION 19

       (a) When new jobs are created or vacancies occur in the plant, the Company shall post
           notice of the fact and the notice shall state the classification, rate or rate change,
           department number, production area as defined in Article 13, Section 35, Paragraph
           A, Sub-Paragraph 1 and shift of the job. The most senior employee applying for the
           job or to fill the vacancy, within forty eight (48) hours or until 10:00 AM of the
           working day following the posting, whichever is later, shall be given preference in
           filling the new job or vacancy consistent with the ability of the employee to perform
           the services required. The time referred to above for posted notices shall not include
           that time during which the plant is not in operation due to a short work week or a
           temporary layoff. In case of dispute arising under the provisions of this Section as to
           whether an employee has the ability to perform the service required, the
          employee shall be given a five (5) and if required up to a ten (10) working day trial period
          at that job with such instruction as would normally be given a qualified employee starting the
          job. This shall not operate to give an inexperienced employee preference on a job bid over


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        an experienced employee. When a second (2nd) or third (3rd) shift employee is absent on
        the shift covered by the job posting, the employee may bid prior to the expiration of the job
        posting, provided, however, the employee makes the bid in the Macungie Human Resources
        Office and subsequently works the employee's scheduled shift that day.

        Employees who desire to permanently bid to a different department, area,
        classification and shift may make up to three (3) pre-bid applications at the Human
        Resources Department which will be maintained as active bids unless withdrawn or
        changed within the guidelines of the pre-bid procedure. Once a prebid has been
        awarded the remaining bids become null and void.

        Employees making application shall indicate their order of preference (1-2-3) of their
        pre-bid(s) and any award shall be binding upon them unless notice of being the
        successful bidder is not posted by written notification within twenty-four (24) hours
        after the bidding is closed.

        If there are two (2) or more employees bidding on the posted job, the award will be
        based on plant seniority.

        Employees will be allowed to withdraw their bid(s) at any time; however, the
        withdrawal will not be effective for a period of two (2) working days from the date of
        withdrawal.

        Employees will only be entitled to change (add or modify) their pre-bid(s) on a
        quarterly basis, i.e., March, June, September or December and the modified pre-
        bid(s) shall become active the first day of the ensuing month.

        Within Departments, employees will be able to bid by Departments/Area (e.g.,
        L-Cab (CAB-1) Line, C-Cab (CAB-2) Line, Radiator Groom, Materials LVLC
        inbound, Materials LVO—Shipping etc.)

        Pre-bid(s) applications must be accurately completed on a Company-provided
        triplicate form or the company provided electronic form. The form must also be
        signed by the employee and a representative of the Human Resources Department
        and date/time stamped. The Human Resources Department, employee and Local
        Union will each receive a copy.

        Employees on Accident & Sickness (A&S) or Workers’ Compensation (WC) will be
        ineligible to be awarded a job bid; however, their pre-bid(s) will remain in effect
        unless modified during the next pre-bid modification month.

        Employees on Jury Duty, Bereavement, Vacation, Approved Personal Leave of
        Absence or Military Leave of Absence of two (2) weeks or less will be awarded the
        bid if they are the successful applicant. In those instances, Article 8, Section 22
        Paragraph (a) will not apply. If an employee is out longer than two (2) weeks, their
        pre-bid(s) will remain in effect unless changed (add or modify) during the next pre-
        bid modification period.



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          Permanent vacancies will be filled in accordance with the job bidding procedure
          contained within this section but will cease immediately upon the second employee
          from the Department being awarded a job bid. At this time, the Company will fill the
          single permanent vacancy within Departments at their discretion and with the most
          practical method possible.

          Employees on A&S or Workers’ Compensation will return to the job prior to their
          medical absence, department seniority permitting, the temp employee will go
          back to their homespot job and the bumped employee will be assigned to an
          open and available position, and pending Article 7, Section 17, Paragraph C.

          Elected and appointed Union officials will be eligible to maintain pre-bid applications
          during their elected or appointed terms in accordance with the provisions of this
          section. If the Union official is to be awarded a bid, they must immediately decide to
          accept the bid award or be passed over for award consideration. Accepting a bid
          outside of their respective District will require them to forfeit their elected position.

          If any new classifications are developed, jobs shall be bid on a plant-wide basis to
          gain the initial manpower requirements. Once the new classification has been
          established, the pre-bid process shall be used for future manpower requirements.

       (b) Employees who are qualified to perform work in one (1) or more of the component
           classifications of a job which is a combination of existing classifications, and who are
           physically capable to be trained to perform work in the other classifications, shall
           have the right to exercise their seniority to bid into the combined classification.

       (c) (1) All open permanent jobs will be filled as follows:

                (1) Internal canvass within the open job’s supervisors book then backfills
                    will be filled in the following manner:
                (2) Homespot move or if that is not possible then awarded by a prebid.
                (3) Company assigned.
                (4) If a problem arises, the Company and the Union will sit down to attempt
                    to work out a mutually agreeable solution.

         All job requirements, other than those covered by the Flex Pool as outlined in this
         Article 8, shall first be satisfied by returning the appropriate home spot employees.
         Employees who have been notified in writing that they are to return to their home spot
         may be bumped by a more senior employee even though they are not physically
         returned to their home spot.

              (2) Additional personnel needed to fill job requirements, other than those covered
              by the Flex Pool as outlined in this Article 8, shall be secured through posted
              notice bids after item (1) above is complied with. The shop request shall clearly
              stipulate whether the vacancy is of a temporary or permanent nature based on (i)
              below:




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              (i) If the job opening is the result of sickness, vacation, leave of absence,
                  personal leave or elected Union office with the Union of more than forty-five
                  (45) working days, it shall be posted temporary.

       (d) Should a workday or week be curtailed for some reason such as a layoff as outlined
           under Article 7, Section 11 of this Local Agreement and all employees are not
           afforded the right to bid during the forty eight (48) hour posting period as outlined in
           (a) of this Section, the period of time will be extended to enable the elapse of forty
           eight (48) hours of posting during the time the full work force is working.

       (e) Notwithstanding the other provisions of this Article 8, including the Flex Pool
           Agreement, the Company may temporarily assign an employee for a period of up to
           five (5) days. When this occurs the Committeeperson for the area which the
           employee is moving from will be notified. It is understood the employee will receive
           the higher rate of the job assigned to or the job the employee is assigned from
           whichever is higher for the entire day. The employee so assigned will only be
           eligible for overtime on the job the employee was assigned from. If there is a home
           spot employee out of the group by excess or bump, the home spot employee, will
           be paid the difference, if any, between the rate the home spot employee is receiving
           and the employee's home spot rate. This Section will be used primarily but not
           exclusively, to replace employees who are bidders or home spot returnees and will
           be utilized within a department and shift.


       SECTION 20

       Probationary employees may bid for posted notice twelve weeks (12) after they have
       completed their probation. Vacation shutdown and the Christmas holiday periods will
       not count toward the twelve week (12) period. This does not have any affect on any
       other Local or Master contract language regarding probationary period or probationary
       status.


       SECTION 21

       Any employee awarded a permanent or temporary bid will not be eligible for another
       permanent or temporary bid for a period of six (6) months from the date of the award.
       The above six (6) month limitation will not apply to skilled trades manpower
       requirements.


       SECTION 22

       (a) The Company will provide a posted written notification within twenty-four (24) hours
           after the bidding is closed. Successful bidders shall be placed on their new jobs as
           soon as possible, but not later than the third working Monday (Tuesday for Monday
           holiday) after posted notification.



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          If the Company fails to post the notice to successful bidders within twenty-four (24)
          hours, the bidders may decline the bid. In the event an employee’s bid is canceled,
          the Company will notify the employee in writing of the fact within twenty-four (24)
          hours.

          The “move time” requirements are not applicable to bids resulting from shift
          additions.

       (b) When the Company fills a vacancy for a new job by returning a home spot employee
           or placing a successful bidder on the job, the employee shall be so placed not more
           than four (4) hours after the job has been filled by another employee. In the event
           the employee’s job is not filled within the time limit, the proper employee shall be
           paid the difference, if any, between the employee's rate and the rate of the job for
           the time worked by the other employee in the job after the first four (4) hours of the
           condition.

       (c) The provisions of (b) of this Section will not be applicable to employees transferred
           under this Article, Section 19 (e).

       SECTION 23

       A successful bidder who fails to qualify shall be placed on an open available job that
       employee is capable of performing. An open available job is one which was posted with
       no successful bidders. In the event there is no such job, the employee shall be placed
       on a job then filled by the least senior employee in the unskilled classifications.

       SECTION 24

       (a) The Company recognizes the desirability of filling temporary vacancies of over forty-
           five (45) working days which it has had adequate prior notice such as leave for
           sickness where both parties agree that the sickness will last for more than one (1)
           full calendar week, vacations of more than one (1) full calendar week, and leaves of
           absence for more than one (1) full calendar week. The Company shall fill the
           vacancy, whenever practicable, through the Flex Pool procedure, if applicable, or if
           not, through job bidding. Vacancies existing two (2) full calendar weeks or more
           shall be filled by the Flex Pool procedure, if applicable, or if not, through job bidding.

       SECTION 25

       (a) The Flex Pool classification will be assigned on a daily basis for replacements due
           to daily absenteeism, vacations, leaves of absence, sick leave, and training within
           the direct and indirect classifications of Production Technician, Material Technician,
           Production Technician - Final, General Maintenance and CAC Technician for
           vacancies of up to forty-five 45 working days. CAC replacements from the Flex Pool
           must have at least five (5) years’ seniority as per the qualifications of Letter #11 of
           the Local Supplemental Agreement.

       (b) The Flex Pool will be established for day shift and, depending upon manpower
           requirements, may be established as needed for second or third shift.

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       (c) Both parties recognize that priority use of the Flex Pool is to support production as
           outlined in (a) above. In addition, there are other functions that are necessary to
           support production. Such items include health and safety and emergency situations
           to prevent loss of production. Once production has been supported, additional uses
           of Flex Pool employees could be for such temporary special assignments as, but not
           limited to, 5S activities, labeling bins, quality related work, flow team work, verify or
           count inventory, audit part usage, ISO documentation, participation in lean
           manufacturing activities, performing specific SCR repairs before the vehicles reach
           the Final Department.

       (d) Flex Probation and Performance


              (1)    Flex are expected to have a positive, productive and constructive
                     role within the team. When the team and supervisor identifies that
                     this is not the case they can request an evaluation.

              (2)    Upon a successful prebid there will be a 90 calendar day
                     probationary period where the Flex will be evaluated by the
                     supervisor and the team. If they are found to have not met the key
                     criteria of the position they will be returned to an open and available
                     position.

              (3)    If an incumbent Flex is having an ongoing problem meeting the key
                     criteria of the job than an evaluation can be requested by the
                     supervisor and team members. This will occur over a three month
                     period including 3 monthly reviews during this evaluation time span
                     where issues can be identified. Training and coaching will be
                     implemented to address the issues identified. If after several
                     attempts, it is determined that improvement has been insufficient
                     then the parties can mutually agree that the Flex can be removed and
                     returned to an open and available position. Once an employee has
                     been removed from a flex position they will not be able to bid on a
                     flex job without the mutual agreement.

       (e) After (a) and (c) above are satisfied, all excess Production Technicians – Flex will be
           utilized in Departments and all excess Material technician-Flex will be utilized in
           the Material departments.

       (f) The Company will determine the appropriate authorized number of Production
           Technician – Flex and Materials Technician-Flex in keeping with the existing
           process for all other departments.

       (g) The Flex Pool may be used to replace voluntary layoff employees for a period up to
           180 days for all job classifications except Skilled Trades.

       (h) (1) Vacation allotments will continue to be used for the Production Technician Final
           classification.
           (2) To fill vacation vacancies within the Material Technician classification, the

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                vacation schedule will be reviewed and a minimum number will be determined
                that represents ongoing vacations. This number of vacation vacancies will be
                filled by homespots and/or temporary bids. Vacation vacancies above this
                number will be filled by the Flex Pool. For example, if the ongoing number is
                determined to be five (5), five (5) homespots and/or bidders will be moved to fill
                the openings to the five (5) level. During any week(s) the actual level exceeds five
                (5), employees from the Flex Pool may be assigned to fill such vacancies. During
                any week(s) when the actual number of vacations is less than five (5), the
                Company may excess from the Material Technician classification. It is understood
                that the number of ongoing vacations will fluctuate based upon the vacation
                schedule.

            (3) All Production Technician vacation vacancies will be filled from the Flex Pool. (4)

            (4) Production Flex Pool employees will be utilized in the General Maintenance
                classification for temporary vacancies of up to 2 weeks. For temporary vacancies
                of more than 2 weeks, a homespot employee will be returned. If there are no
                homespots, a flex employee may be assigned for up to 45 working days.

      (i) A temporary job for which there is no successful bidder may be back-filled from the Flex
          Pool. In addition, Flex Pool employees may be used to replace employees who under
          the terms of specific letters of agreement fill in for the tool crib, production layout, or the
          material technician working in Facilities.

        (j) Assignment to any job within the Flex Pool will be the responsibility of the Flex
            Coordinator.

        (k) (1) Recognizing that the employees in the Flex pool classification may be assigned
            daily to different jobs, these employees will be assigned to the overtime book in
            which the employee has been assigned for six (6) or more working days. Employees
            reassigned for six (6) or more working days will be placed in the new overtime book
            on the morning of the seventh (7th) day. The base book will be the L-Cab Line (CAB-
            1) book. The Flex classification will remain in the appropriate overtime book and will
            be eligible for overtime rotation in the individual production group.

           (2) Special projects with specific work requirements in the Offline Department or
            Customer Adaptation Center may be supplemented by the Flex classification without
            authorization restrictions. The appropriate UAW representative will be notified of
            such special projects prior to the work commencing.

       SECTION 26

         (a) Job bids posted for vacancies of the nature described in Section 24 (a) of this Article
             shall be plainly marked "temporary.” An employee may bid on a temporary vacancy
             within the same classification but not the same shift provided the job posting is at a
             later date. Should the employee be the successful bidder and should the original
             temporary condition not expire, the Company will award the bid to the next most
             senior qualified bidder, if any.


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       (b) In the event a posted job is temporarily filled by assignment of an employee other
           than the successful bidder, the successful bidder shall be paid the difference, if any,
           between the employee's rate and the rate of the posted job for the time worked by
           the assigned employee on the temporary assignment.

       (c) An employee awarded the temporary job shall be returned to the job from which the
           employee was transferred when the employee, on leave of absence, sick leave,
           personal leave, elected Union office or vacation, returns to work. Any employee(s)
           awarded a temporary bid may be retained in the temporary department for one week
           to cover subsequent departmental absences. Should there be no subsequent needs,
           the least senior temporary bidder will be returned to the job they left as a result of
           the successful bid. This one week extension does not apply to Production and
           Material Departments.

       (d) In the event an employee’s bid is canceled, the Company will notify the employee in
           writing of the fact within twenty-four (24) hours.

       (e) The provisions of this Section will not be applicable to employees assigned under
           Section 19 (e) of this Article.

       (f) An employee receiving a temporary job by posted notice bid while working in the
           employee's home spot shall remain in the temporary job until the employee is no
           longer needed as a replacement, and shall then return to the employee’s home
           spot/job if seniority permits. If seniority does not permit, then this employee becomes
           eligible to exercise the employee's seniority.

       (g) No employees may bid back into their home spot while out of their home spot on a
           temporary bid.

       (h) Temporary bidders in the Production Technician and Material Technician
           classification in Departments will be released from their temporary bid in
           Departments, regardless of seniority, when the employees they are replacing return
           to their jobs or if they are bumped or excessed. These temporary bidders will then
           return to the job from which they bid. Employees placed in a job, regardless of
           seniority, will be the first to leave the supervisor’s area when an excess occurs in
           that supervisor’s area
       (i) Employees placed on temporary jobs may move from temporary jobs as follows:

          (1) All homespot employees are recalled except those who have exercised their
              seniority under Article 8, Section 26 (f).
          (2) These employees may bid on posted permanent jobs in Departments.

          (3) If all homespot employees are back to their homespot other than those covered
              by Article 8, Section 26 (f), and there are no successful bidders, the most senior
              temporarily placed employee will be placed into a permanent job.

       (j) In an effort to further clarify Article 8, Section 26 (h) and (i) of the Local Agreement,


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          the parties have agreed to the following:

          • Clarifying Section 26 (h) – The least senior employee in a temporary job will be
            the first to leave that supervisor’s area when an excess or bump occurs. A placed
            employee is one placed on a job as a result of a posted notice with no successful
            bidder or as a result of being placed under Article 7, Section 17 (c).
          • Clarifying Section 26 (i) (1) – There is no homespot recall if the homespot
            employee is already in the department, classification and shift in either a
            permanent or temporary job.
          • Clarifying Section 26 (i) (3) – When a new opening occurs, homespot employees
            will be recalled and if there are no homespot employees the job will be posted as
            permanent. If there are no successful bidders the most senior placed employee,
            as defined in the clarification of Section 26 (h) above, will move to that
            permanent job.
          • When canvassing for open and available jobs seniority will prevail. Employees
            holding a permanent job will be canvassed first and, if no one takes it, employees
            holding temporary jobs following placement under Section 26 (h) (i.e., permanent
            employees placed in temporary jobs because of an excess or bump) will be
            canvassed by seniority for the permanent position. Other employees who have
            been temporarily placed will not be canvassed.
          • The Company will maintain a list of employees who have been placed on jobs.
            This list will include employees placed under Article 7, Section 17 (c).


       SECTION 27

       An employee receiving a temporary job through posted notice bid while working on a job
       other than the employee's home spot shall return to the employee's home spot when it
       opens in line with the employee's seniority.


       SECTION 28

       An employee receiving a temporary job through posted notice bid, and while on the job
       received subsequent temporary jobs through posted notice bid shall, when no longer
       needed as a replacement on the last temporary job worked, return to the job the
       employee filled just prior to the employee's first temporary job received through posted
       notice bid, if the employee's seniority permits. If seniority does not permit, then this
       employee becomes eligible to exercise said employee's seniority.

       SECTION 29

       An employee excessed or displaced on the employee's job, who then exercises
       seniority and selects a job that is covered by a posted notice bid for a permanent or
       temporary job, will be permitted to go on the job provided, however, that if a lesser
       senior employee has been awarded the job through notification as required under
       Section 22 (a) above or a lesser senior employee is actively working in said groups or
       department. When the employee who is the successful bidder arrives on the job, the

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       least senior employee in the group shall be released. If, when the successful bidder
       arrives on the job and the employee’s seniority does not permit the employee getting the
       job, the employee shall be treated as another excessed or displaced employee.
       However, the employee's home spot will be changed to the new job. This shall count as
       a job bid.

       SECTION 30

       Pre-bid and Temporary job bids can be completed electronically or in triplicate and
       punched on a time clock at the time of signature.

       (a) Bids for posted Temporary positions and Pre-bid applications must be completely
           filled out with proper and correct information, including the signature of the individual
           bidding for the job. Any bid with incorrect or missing information shall be null and
           void. The Company shall furnish locked boxes with slots at the Human Resources
           Office for bidding purposes by employees on the night shifts.

       (b) Employees signing for more than one (1) bid on a given notice will be given a bid at
           the discretion of the Personnel Office unless the sequence is specified in the block
           provided on the bid form.

       SECTION 31

       (a) Internal job openings in Departments which occur as a result of the following will be
           filled by providing a one-time canvass of the permanent employees within the
           supervisor’s area where such openings occur:

              1.     Model build-out.
              2.     Model start-up.
              3.     Plant rearrangement with mutual agreement (e.g., moving the MRU from
                     the “L” line (CAB-1) to the “C” Line (CAB-2) line or moving the MRU from
                     the “H” line (VEH-2) line to the “G” line (VEH-1). It is understood that
                     mutual agreement will not be withheld as long as the plant rearrangement
                     is similar to the examples listed.
              4.     Rate change, including model mix change between production lines.
              5.     Product change (e.g., new classification, insourcing of work, frames).
              6.     Addition or elimination of a shift within Departments, or the addition or
                     elimination of a shift outside Departments involving 25 or more employees.
              7.     Return to home spot related to items “1” through “6” above.


          The canvass will be made for all permanent openings at the time. However, only the
          most senior permanent employee, plus any employees who have previously been
          trained will be permitted to move.

       (b) Internal job openings which occur as a result of retirements, deaths, quits, return to
           homespots, or model mix changes within a production line, except those resulting
           from items set forth in Section (a) will be filled in the same manner as established


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          above, except all openings will be filled through the one-time canvass.

       (c) All eligible employees will be canvassed in the supervisor’s area for internal job
           openings.

       (d) Manpower movement within the Offline Department will follow the process below:

           1. Any open and available position in the Offline Department will be canvassed by
              the applicable Union Committeeperson by seniority.
           2. If there is no interest in the open position through the canvass, the successful
              home spot recall or bidder will be assigned to the job.
           3. If the employee in the canvass moves into the job, their position will be backfilled
              by seniority upon request.
           4. If nobody requested the open position, the successful home spot recall or bidder
              will be assigned to the job.
           5. If a problem arises, the Company and the Union will sit down to attempt to work
              out a mutually agreeable solution.

       SECTION 32

       The following provisions will not be utilized unless the flex pool has been fully utilized to
       fill authorized production CA and repair positions.

       (a) A maximum of six (6) employees from the Production Technician Offline
           classification may be utilized on a daily basis to perform "peak load" and/or other
           repair work within Production Departments. As an example of this type work, the
           parties discussed "following a specific job through the production process assisting
           with the vehicle assembly.” This provision is not however intended to supplement
           daily absentee replacements.

       (b) In the event manpower levels within Production Departments fall below approved
           authorizations, Management may elect to shutdown either a portion of or the entire
           Offline Department and reassign the affected personnel to perform Production
           Technician operations in Production Departments.

       (c) Assignments described in either of the above situations shall be made in reverse
           seniority order, with the least senior employee(s) always being re-assigned to
           Production Department.

       (d) Should the requirement arise to utilize the special skills of Production Technician
           Offline employees to perform line troubleshooting functions, assignments shall be
           made on the basis of the employee's known expertise. Specialists in electrical,
          mechanical, etc. may be assigned to specific product difficulties such as engine no start, or
          electrical troubleshooting matters.

       (e) Employees classified as Production Technician Offline who possess specific skills in
           areas such as welding, sheet metal finishing or spray painting may be assigned,
           within the Offline Department, to replace an incumbent with the skills who is absent
           or has been reassigned to an operation on the Cab, “G” (VEH-1) or “H” (VEH-2) line.

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          These assignments shall be made on the basis of the employee's known expertise.

       (f) Production Technician Final employees re-assigned to Production Department will
           continue to work in their assigned area unless the incumbent reports to work that
           day. In such cases, that Production Technician Offline employee will be returned to
           the Offline Department.


       SECTION 33

          Qualification Period

          An employee changing jobs through these provisions shall be entitled to the
          usual instructions from his/her supervisor as to the tools and the specifics of
          the job. After a minimum of five (5) working days but not more than thirty (30)
          working days, unless mutual agreed to extend , the supervisor will provide
          feedback to the employee. If such employee does not, in the opinion of his/her
          Supervisor, show proper competence within the specified qualification period,
          a he/she and his/her Committeeperson shall be notified that he/she is not
          qualifying and he/she will be returned back to his/her previous department and
          classification and be placed into any opening that remains unfilled, In the
          event there is no such opening, the employee shall be placed in the
          department and classification then filled by the least senior employee in the
          bargaining unit which he/she is qualified to perform. The awarding of a critical
          process job will carry with it an automatic five (5) day extension on the
          training period if requested by the employee or the Union due to the nature of
          the process.

          Any new classifications, created during the life of the agreement will be
          discussed to determine the appropriate qualification period for said job.
          Under unusual conditions, the specified qualification period may be extended
          by mutual agreement between the Company and the Union.


               *Above may be extended by mutual agreement.




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                                 ARTICLE 9 - TRANSFER OF SHIFT

       SECTION 34

       (a) Employees who desire to change their shift shall make an application for transfer not
           later than the end of the employee's regular second day of work of the normal
           regularly scheduled workweek. The company will have until the second Monday
           after application is made to transfer the employee to the desired shift
           excluding the employee’s time off prior to the transfer. An employee's failure to
           make the request by the end of the employee's second regularly scheduled shift will
           result in the transfer being effective the third Monday after application is made.
           The request shall be granted on the basis of seniority within their classification. An
           employee making a request of a transfer of shift shall not have the right to cancel or
           withdraw the request. The home spot of an employee transferred from the
           employee's home spot shall automatically become the home spot job on the shift to
           which the employee is transferred. An employee shall have the right to change shift
           under this section no more than two (2) times within each calendar year. However,
           an employee who has transferred into a classification or successfully executed a
           shift preference may not change shifts again for a period of twelve (12) weeks.


       (b) Notwithstanding the terms of (a) above, if an employee is claiming a hardship,
           the Company and Union may, at its discretion, discuss permitting additional
           shift changes or agree to make the shift change effective outside paragraph (a)
           above. The employee making the request must present substantial proof of
           such hardship. Any agreement outside (a) above will be by mutual agreement
           only.

       (c) Probationary employees shall only be eligible to exercise their rights under
           this provision twelve (12) weeks after successfully completing their ninety (90)
           day probationary period.

       (d) Employees shall only have the right to transfer shifts when the only employee that
           can be displaced by seniority is the least senior perm employee.


       (e) Employees who have exercised their seniority under (a) above may be bumped by a
           more senior employee prior to the actual transfer, provided the employee is the least
           senior employee on the job the employee is transferring. Should the employee be
           bumped, the employee's transfer will be voided and the employee will remain on the
           job and shift from which the transfer was requested. Should the employee have a
          homespot on the shift the employee is requesting a transfer from, the employee will
          establish a new home spot on the shift the employee requested transfer.

       (f) Employees who have exercised their seniority under (a) above and who are retiring
           within seven days, may elect not to move to their requested shift if the move was for
           pay purposes only. The Company will agree to pay all monies for shift differential
           and for all unused and accrued vacation.

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                                ARTICLE 10 - LEAVES OF ABSENCE
                                     (See Master Agreement)

       Personal leaves of absence shall not be coupled with a vacation other than by mutual
       consent of the Company and the Union, except in cases of emergency.


                               ARTICLE 11 - MILITARY PROVISIONS
                                    (See Master Agreement)

                                  ARTICLE 12 - HOURS OF WORK

       SECTION 35

       1. (a) The normal starting time of the LVO plant shall be as follows:

               DAY SHIFT                    SECOND SHIFT                     THIRD SHIFT

                6:45 AM                         3:15 PM                         11:00 PM

          (b) The normal starting time for the week will be Monday for first shift, Monday
              afternoon for second shift, and Monday night for third shift.



          (c) The normal starting time of the LVLC shall be as follows:

              DAY SHIFT                    SECOND SHIFT                     THIRD SHIFT

               5:45 AM                         2:15 PM                         10:00 PM

          (d)The normal starting time for the week for LVLC will be Monday for first shift,
          Monday afternoon for second shift, and Sunday night for third shift.


          (e)Exceptions to the above starting times will be:

             (i) The appropriate skilled trades employee(s) - One (1) Mechanical
                 Journeyman, One (1) Electrical Journeyman whose regular hours of work will
                 be 6:30 A.M./2:30 P.M./10:30 P.M.

             (ii) These employees’ quitting times will be 2:30 PM/10:30 PM/6:30 AM. The
                  Facilities Department representative will not be eligible for any overtime due
                  to these employees' early start. Should the employee be scheduled for any
                 overtime work, the overtime will start immediately after 2:30 PM/10:30 PM/6:30 AM.

           (f)The Company and the Union may meet to change from the straight through shift
          basis. This may only be done by mutual agreement

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       2. Multiple Shift Operations

       (a) For second shift and third shift maintenance, one electrical journeyman and one
           mechanical journeyman will be assigned to the regular shift of 2:30 PM to 10:30 PM
           and 10:30 PM to 6:30 AM.

       (b) Shift start-up. With respect to the start up of the second/third shift, the least senior
           employees will be probationary employees who are not eligible to bid on jobs. In
           order to minimize forcing of probationary employees to second/third shift who may
           prefer first shift, if there are not enough job bidders, all probationary employees will
           be canvassed for second shift and the most senior probationary employees
           preferring second/third shift will move until the required number of positions are
           filled. If the above canvass does not secure enough employees, the least senior
           employees will be placed in the positions.

       (c) If and when an additional shift is added, the Company may at its choice schedule
           the new shift assignees to train on another shift in whole or split in preparation for
           the additional shift start-up. The duration of the training will be determined by the
           manufacturing management.

       (d) Shift reduction. Employees being laid off will be processed by the end of their shift
           on the last day worked. The layoff effective day shall be the first day work is not
           available for the employee. Seniority for last day worked shall prevail insofar as no
           senior employee regardless of shift assignment will receive less straight time hour
           work potential than any working junior employee.


                                       ARTICLE 13 - OVERTIME

       SECTION 36

       (a) Unscheduled overtime for production will be rotated among the employees in
           each individual departments/area as outlined below. Each department/area
           shall have one (1) overtime lists covering all employees in the area.

          (1) All employees in the individual departments/area where the overtime is to be
              worked will be canvassed. Individual departments/area for the purpose of
              unscheduled overtime will be as follows:

                Production:

                Conventional Departments/ areas: *each area includes the VTLs in
                their respective areas
                       Rough Side –VEH1 *
                       Finish Side-VEH1 *
                       Cab 1 *
                       Eng 1 *
                       Aeroquip-remains as is presently, however, subject to being

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                   divided between Conventional and COE
                   Valve Groom-will be incorporated into main line during
                   insourcing implementation in 2020.
                   Hood Line
                   Urea/RG/Exhaust – Incorporate into Conventional finish
                   side/main line
                   Sleeper *
                   Production Layout
                   Batteries – Currently sequenced by Material Tech


             COE Departments’ areas: *each includes the VTLs in their respective
             Areas

                   Rough Side-VEH2 *
                   Finish Side-VEH2 *, Torque inspector
                   CAB2 *
                   ENG2 *
                   Frame Rail *
                   Frame Layout
                   Urea/RG/Exhaust – Incorporate existing Radiator groom into
                   COE finish side/main line
                   Batteries– Currently sequenced by Material Tech


             Paint Skilled Department: *each area includes Paint Specialist in their
             respective classifications
                   All Spray Painters *
                   Utility Welder
                   Sheet metal Finisher


             Offline Department: *each area includes Offline Specialist in their
             respective classifications
                    CAC Tech
                    CAC Welder
                    Offline Tech *


             Materials: Department areas
                   LVO-COE –
                          Material Techs, Material Flex
                          Team Lead
                   LVO-Conventional –
                          Material Tech, Material flex
                          Team Lead
                   LVO-Rec/WHSE/Shipping –
                          Material Tech, Material Flex, Material Technician Facility
                          Team Lead

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                  LVO-EOL/IMC –
                       -Material Tech, Material Flex, Material Tech CAC, Method/Lab
                       -Team lead
                  LVO- Combilift
                  LVO-Jockey Drivers
                  LVLC-Inbound
                       Material Tech, Material Flex
                       Coordinator
                  LVLC-Outbound –
                       Material Tech, Material Flex
                       Coordinator
                  LVLC-Sequencing –
                       Material Tech, Material Flex
                       Coordinator


            Training Department/Area:
                  Training Coordinators


            Methods Lab Department/Area:
                 Methods Lab Techs


            Material Inspector Department/Area:
                  Material Inspectors


            If employees accept overtime and are requested to perform work in a
            department that was not canvassed the company will be liable for the missed
            overtime. The company and the union will discuss the financial
            consequences of such an event. A minimum of one hour pay will be the
            result of this violation.

          Modifications to the above will be by mutual agreement.

       (2) In the production area, by canvassing all employees who are in the appropriate
           supplemental overtime canvass sequence, as listed below until the desired number
           of employees is obtained.




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                                      (b) Parties agree to new Matrix

                       * pull from second shift department/area before Supplemental


               Vehicle 1       Vehicle 2/     Vehicle 1/       Vehicle       Vehicle 1/     Vehicle
               Herbie cell     HerbieCell     Rough            2/Rough       Finish         2/Finish


               Vehicle         Vehicle        Vehicle          Vehicle 2/    Vehicle 2/     Vehicle 1/
               1/Frame L/O     2/Frame L/O    1/Herbie Cell    Herbie Cell   Finish         Finish

                                                               Vehicle
               Vehicle         Vehicle 1/     Vehicle                        Vehicle 1/     Vehicle 2/
                                                               2/Frame
               2/Herbie Cell   Herbie Cell    1/Frame L/O                    Rough          Rough
                                                               L/O

               Vehicle         Vehicle 2/     Vehicle 2/       Vehicle 1/    Vehicle 2/     Vehicle 1/
               1/Rough Side    Rough Side     Rough            Rough         Rough          Rough

               Vehicle 2/      Vehicle        Vehicle 1/       Vehicle 1/
               Rough Side      1/Rough Side   Finish           Finish




      Hood
               Valve Groom     Aeroquip       Engine 1         Engine 2      Sleeper Line   CAB-1        CAB-2
      Line
      Veh                                                                                   Sleeper
               Veh 1/Rou gh    Veh1/Rough     Engine 2         Engine 1      CAB-1                       CAB-1
      1/Finish                                                                              Line
      Veh
               Veh 1/Finish    Veh 1/Finish                                  CAB-2          CAB-2
      1/Rough


      When the Materials departmental overtime list is exhausted than the master seniority list in
      Materials will be canvassed using the rolling seniority list.

             (1) Supplementation to the Production Technician Offline classification overtime list
                 will be in the following order. A separate Flex Technician supplemental
                 overtime list will be created by master seniority with a ratio of one flex to
                 two production techs who will be canvassed on their own rotational
                 supplemental list. Each list must be exhausted before going to the next list.

                (i)       CAC Technicians.

                (ii)      Production Technician Offline homespots – An employee with a
                          homespot in Production Technician Offline who accepts overtime will be


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                     returned to the same job within the department, classification, and shift
                     he/she left at the end of the overtime. He/She will be placed at the bottom
                     of the overtime list upon his/her return.

          (2) Production:

              L-Cab Line (CAB-1), C-Cab Line (CAB-2), Sleeper Line, H-Chassis Line (VEH-
              2), G-Chassis Line (VEH-1), Hood Line, Engine Line 1, Engine Line 2, Valve
              Groom, Offline. Overtime turns, whether working in the individual’s group or in
              another group pursuant to the supplemental overtime canvass, will count as an
              overtime turn on the appropriate list.

      SECTION 37

       The following provisions will apply to all employees except the skilled trades department.

       (a) Unscheduled overtime will be rotated among the employees in their respective
           department. Records of overtime shall be kept on the following department lists: Pre
           –Shift, Post-Shift, Saturday, and Sunday/Holiday. The overtime lists shall be
           made available by the supervisor for the inspection of the appropriate Union
           representative upon request. The original lists shall be made up by order of seniority
           for the ready identification of employees. As employees are transferred into an
           individual department/area, they will take their place next in line at the bottom of the
           original individual department/area list, regardless of seniority and will not be
           offered overtime until their turns are reached. An employee will be considered to
           have been offered overtime when the employee refuses, is off sick, is on vacation
           and authorized leaves of absence of five (5) consecutive working days or more.

       (b) When an employee takes a Friday or any continual combination of days off, on
           casual time of absence of less than five (5) consecutive working days, that includes
           a Friday. The employee must notify their supervisor and Committeeperson in
           writing prior to leaving on their last scheduled work day of their desire to work
           overtime. The supervisor will make one attempt to contact the employee if
           overtime that they requested becomes available. It is the employee’s
           responsibility to ensure the correct phone number where they can be contacted is
           updated through Human Resources.

          It is the responsibility of the employee to make contact with the Supervisor directly to
          check if there is overtime available on the weekend and also advise the Supervisor
          of their desire to work if overtime is available. Failure of the employee to make
          contact with their Supervisor will not create a liability situation on Management.)

       (c) Employees returning to their home spot shall be slotted on the bottom of the
           appropriate overtime list(s) in accordance with the seniority of those returning to their
           home spot. If a less senior home spot employee is returned prior to a more senior
           home spot employee(s), the more senior employee's name will be entered on the
           list(s) at the same time in seniority order and Article 8, Section 22 of the Local
           Agreement will apply. Further, employees who are successful bidders on posted
           notices will be slotted on the bottom of the appropriate overtime list(s) in accordance

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          with the seniority of the successful bidders of each posted notice. If a less senior
          bidder is first placed on the job, the more senior bidder(s) will be entered on the
          overtime list(s) at the same time in seniority order and Article 8, Section 22 of this
          Local Agreement will apply.

       (d) Employees who are on a scheduled forty (40) hour vacation starting on Monday shall
           not be eligible for overtime on Saturday or Sunday of that week.

          Whenever an entire individual area or entire department is canvassed to work
          overtime, the appropriate overtime list will not be used. Should additional hours of
          overtime be necessary during this same period, the appropriate overtime list(s) will
          be used with the first employee asked being the one next in line. The last employee
          offered the additional overtime will establish the cutoff line and the employee in
          line will be the first one asked for the next canvass. If it is necessary to canvass the
          entire individual area or department to obtain the required personnel for the
          additional hours, the next employee not offered will be the first to be asked during
          the next canvass period.

          Whenever an entire individual area or department is scheduled to work overtime, it
          will not be necessary for an employee to take a "miss" since the overtime list will not
          be used.

       (e) Employees who agree to work overtime and fail to do so shall miss a turn on the
           appropriate overtime list. This miss will be effected the next time the employee is to
           be canvassed from the appropriate overtime list. Employees offered overtime will
           not have the option of accepting less overtime hours than canvassed. The company
           will determine the number of hours required for overtime. Failure to work the
           number of hours scheduled for the overtime will result in the employee missing a
           turn on the appropriate overtime list.

          An employee who accepts overtime and is unable to report for the overtime for an
          unforeseeable circumstance -- sickness, death in family, etc. -- shall call (610) 966-
          8873 and state the reason prior to the start of the shift. By complying with this
          procedure, the employee will not receive a miss on the appropriate overtime list as
          outlined above. This Section does not preclude the Company from taking
          appropriate disciplinary action, in conformity with Article 19 of the Master Agreement
          for an employee's repeated noncompliance with this Section.

          The above provision will be applicable any time an overtime list is used.

       (f) Any employee who is canvassed and accepts overtime when an overtime list is used
           will be eligible for any additional hours of overtime should they become necessary
           during that overtime period. The first employee to be asked for the additional hours
           will be the first employee who accepted the overtime. This will be applicable any time
           an overtime list is used. The additional employees needed will be drawn from the
           appropriate regular overtime list with the first employee to be asked being the first
           employee after the last one accepting the original overtime. The last additional
           employee accepting the overtime will establish the cutoff line for the next canvass.
           If all of the employees on the regular overtime list are canvassed and sufficient

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          manpower is not obtained, the appropriate overtime list will be used to gain the
          sufficient manpower. The last employee accepting the overtime on the overtime list
          will establish the cutoff line for the next canvass.

       (g) Employees without seniority shall not be placed on the overtime list until after their
           thirtieth (30) day of employment. Employees without seniority will not be canvassed
           to work overtime; however, they will be eligible to work if the entire individual area or
           department is working the overtime or if sufficient manpower is not obtained by
           canvassing all eligible employees on the list. In any classification where the only
           employees actively at work are ones with less than thirty (30) days, the employees
           will be eligible for the overtime.

      SECTION 38 - SCHEDULED OVERTIME

       (a) Scheduled overtime will be utilized when necessary to satisfy customer demands
           (short-term volume increases) or to make up lost production within any production
           area. In such cases, the following guidelines shall apply:

          (1) Employees will be notified as far in advance as possible, but in no event less
              than:

             (i) Twenty-four (24) hours for daily overtime as a result of lost production. It is
                 not management’s intent to work overtime to make up lost production without
                 reasonable efforts to resolve the cause of the problem(s).

             (ii) One (1) week in advance for daily overtime as a result of short-term volume
                  increases (seven (7) days, e.g., by end of shift on Monday for following
                  Monday.)

             (iii) One (1) week in advance for Saturday overtime (prior to end of shift on the
                   preceding Friday) except for catastrophic events.

             (iv) By Wednesday of the week in which the Saturday overtime would be
                  scheduled due to catastrophic events which are defined as: internal/external
                  events, e.g., snow storm, boiler breakdown, paint department breakdown,
                  supplier-related events, etc. which cause the plant to close for part or the full
                  day.

             Overtime will be scheduled, based upon the full requirements of a particular line
             group or the whole plant.

          (2) The following guidelines apply for scheduled overtime:

              (i) No department/area or the whole plant will work scheduled overtime on a more
              frequent basis than two (2) Saturdays on and one (1) Saturday off.

              (ii) Daily overtime will not exceed two (2) hours worked per day.



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            (iii) Up to eight (8) hours worked per week for short term volume increases to a
                  maximum of eighty (80) hours worked per calendar year.

            (iv) Up to twelve (12) hours per week for lost production in weeks in which
                 scheduled overtime for short term volume increases is not worked and not to
                 exceed thirty-two (32) hours in any calendar month or not to exceed more
                 than one hundred (100) hours per production line per calendar year. Lost
                 placements due to catastrophic events as described in Article 13, Section 37
                 (a) (1)(d) will be excluded from the one hundred (100) hour maximum.

            (v) The total combined scheduled overtime for short term volume increases and
                lost production will not exceed twelve (12) hours worked in any work week
                period.

            (vi) The hourly limitations set forth above shall apply to each overtime
                 department and area and overtime hours worked by one area shall not be
                 cumulated with hours worked by another area to reach the limitations.

         (3) Management will review with the Union in advance, the most practical method of
             scheduling daily overtime.

         (4) The scheduling of full production for the purposes of short term volume increases
             will be limited to those situations where short term customer demand makes rate
             changes impractical. These situations, which are normally known several weeks
             in advance, will be reviewed with the Union, prior to the implementation of the
             scheduled overtime, as an effort to develop various alternatives to the
             implementation of the scheduled overtime. This understanding is not intended to
             waive any of the provisions of the Master Agreement. There will be no layoffs
             within thirty (30) calendar days of working the overtime exclusive of any impact
             caused by voluntary layoff.

              Employees who are assigned to an individual production line group at the time
              the scheduled overtime is worked are expected to work as if it were any other
              regularly scheduled work day.

              Flex pool employees who are assigned to a group for less than two (2) weeks
              will work the overtime in the group to which they are assigned for that week.

              An employee in the Flex Pool classification who is assigned to an area where
              overtime has been scheduled and that employee has not been given the
              required twenty-four (24) hour scheduled overtime notice will be given an
              opportunity to work the scheduled overtime on a voluntary basis.

              A Production Technician Offline employee re-assigned to Department 223
              when overtime is scheduled will work the scheduled overtime if he/she has
              otherwise accepted overtime in the Offline Department. Upon completion of
              such overtime, the employee may return for the remainder of the overtime they


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               accepted in the Offline Department.

               Employees who are assigned to an individual production line group at the time
               the overtime is scheduled, but transfer or are transferred out of the group prior
               to the overtime being worked are ineligible to work that overtime.

          (5) Employees who are excused from working scheduled overtime due to personal
              conflicts, such as civic meetings, child care obligations, doctor appointments or
              other legitimate circumstances will only be excused at the discretion of the
              Company. Any employee not excused will be subject to the appropriate
              Company policies

          (6) If a particular area is scheduled to work overtime and additional hours of
              overtime for that area are necessary during this same period, the employees
              working the scheduled overtime will be canvassed by seniority for the additional
              overtime, and any non-scheduled overtime worked will not be subject to the
              rotation list.

          (7) In instances where the Company deems it necessary to cancel previously
              scheduled overtime, the Company will be required to notify employees that such
              overtime is canceled by no later than 11 AM on the day of the scheduled
              overtime. If notification is given subsequent to 11 AM, the hours canceled will be
              deducted from the one hundred (100) hour maximum set forth in Article 13,
              Section 37 (3) (d).

          (8) During a period of scheduled overtime, if it is deemed advisable by Management
              to cancel the balance of the scheduled overtime, employees will be given the
              opportunity to go home or stay and work for the duration of the overtime period,
              provided the cancellation is not a result of an act of God or other reason beyond
              the direct control of Management.

          (9) If unauthorized absenteeism creates the need for use of the Offline Agreement
              by impacting production, Production Technicians Offline may be reassigned for
              Saturday scheduled overtime. If management allows authorized time off in
              excess of those reasons provided for in Article 13, Section 37 (a) (7) of the Local
              Labor Agreement, production schedules must be adjusted.

      SECTION 39

       (a) The following overtime thresholds will be applied whenever overtime is worked,
           including holidays.
       (b) In cases where five (5) or more employees in a Committeeperson's district are
           working overtime on a single shift, the Bargaining Committeeperson of the district
           may also work as Committeeperson during the overtime hours.

          (1) The Committeeperson whose district covers the spray painters will not be eligible
              for any overtime due to additional time provided to the spray painters.



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       (c) In cases where thirty-five (35) or more employees are working overtime on a single
           shift, the Union President may also work as Union President during the overtime
           hours. In cases where twenty-five (25) or more employees are working overtime on
           a single shift, the Union Chairperson of the Bargaining Committee may also work as
           Shop Chairperson during the overtime hours.

       (d) Committeepersons who represent employees on second and/or third shift will be
           afforded up to a maximum of three (3) hours of overtime per week for the purpose of
           representation in weeks in which overtime is not otherwise available. The three (3)
           hour allowance may be used in total or in part on either adjacent shift on which the
           Committeeperson has active constituents. Should overtime occur during the week,
           those hours used prior to the overtime scheduled will not be charged against the
           overtime hours worked in the Committeeperson’s district provided the hours are
           used for legitimate reasons.

      SECTION 40

           It is agreed that the Human Resources Department shall be prepared to advise
           Bargaining Committeepersons by 2:30 PM Monday through Friday, as to whether or
           not overtime will be worked that day. With respect to Saturday and Sunday work,
           the Human Resources Department shall be prepared to advise Bargaining
           Committeepersons of the work after 9:00 AM on Friday; provided, however, that
           Bargaining Committeepersons shall check with the Human Resources Office for
           changes in the weekend overtime schedule by 2:30 PM on Friday. The Company
           will fax the list as to whether or not overtime will be worked that day to the Union
           Office in the Macungie Plant at 610-966-8031 and to the Local 677 Union Hall at
           610-797-1755 and e-mail the list.

       (a) It shall be the Bargaining Committeepersons' responsibility to ascertain from the
           department/area whether or not overtime will be worked. The Company shall not be
           obligated to pay overtime to any Bargaining Committeeperson who loses an
           opportunity to work overtime because of a lack of knowledge that overtime work was
           available, unless the Bargaining Committeeperson shall have checked with the
           Human Resources Department regarding availability of overtime.

       (b) In addition to the provision of Article 13, Section 38 of the Master Agreement, to the
           extent possible, notice of weekend overtime shall be given to second shift two (2)
           hours prior to the end of their shift on Thursday. The third shift shall be notified to the
           extent possible or earlier whenever possible of weekend overtime prior to 2:00 AM
           Friday morning.


      SECTION 41

       The Company will not send an employee home for the purpose of avoiding payment of
       overtime.




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      SECTION 42

       Employees who work overtime on a Sunday and transfer effective the following Monday
       to another shift, will be paid at the time and one-half rate for hours worked on the
       Monday shift provided the hours worked on Monday fall within a twenty-four (24) hour
       period of the overtime hours worked the preceding day, Sunday.

                                      ARTICLE 14 - HOLIDAYS

      SECTION 43

       (a) An employee's failure to perform work within the "qualifying workweek" shall be
           excused if due to one of the following reasons:

          (1) A personal injury out of and in the course of employment with the Company
              provided the injury has not caused the employee to be absent from work for
              more than thirty (30) calendar days prior to the holiday.

          (2) Jury service.

          (3) Witness in Court.

          (4) Scheduled vacation.

          (5) A temporary condition of no work available due to such causes as material
              shortages or trouble with machines or equipment but not including cases of
              separation from the payroll.

          (6) An employee reporting for work on one of the employee’s regularly scheduled
              workdays is sent home because no work is available.

          (7) In the case of an accredited representative of the Union, if failure to work is due
              to negotiating labor contracts with Management, attending meetings, or
              otherwise carrying on the legitimate duties of Union representatives provided that
              in any such case the Management shall have been notified in writing not later
              than the day prior to the absence and the employee has not been absent from
              work for more than thirty (30) calendar days prior to the holiday. The thirty (30)
              day limitation shall not be applicable in the case of accredited Local Union
              representatives absent for the purpose of negotiating labor contracts with
              Management.

          (8) Absenteeism of an employee by reason of the employee’s confining illness,
              provided the illness has not caused the employee to be absent from work for
              more than thirty (30) calendar days prior to the holiday. Computation of the thirty
              (30) calendar day period shall begin with and include the first day of absence
              from work which the employee would be scheduled to perform but for illness. In
              the event the thirty-first (31st) calendar day is a holiday, the employee shall be
              eligible for holiday pay. Reasonable excuse for such absenteeism shall be

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              established by a statement from the attending physician.

          (9) Leave of absence granted to reservists, national guards or state guards for
              required military encampment, training duty, or emergency duty, provided the
              absence has not caused the employee to be absent from work for more than
              thirty (30) calendar days prior to the holiday.

          (10)    Absenteeism by reason of the death of someone in the employee’s
             immediate family. Immediate family is defined as:

              Spouse, parent, parent of current spouse, child, brother, sister, stepparent,
              stepparent of current spouse, stepchild, stepbrother, stepsister, grandparent,
              grandchild, grandparent of current spouse, son-in-law and daughter-in-law.
              Reasonable excuse for such absenteeism shall be established by a statement
              from:
                    (i)    The attending physician of the employee, or

                     (ii)    The funeral director, or by

                     (iii)   An obituary notice showing the relationship to the deceased.

      SECTION 44

       Should employees be required to work on a holiday, and if the observed holiday occurs
       during any day of the work week from Monday through Friday, the appropriate master
       seniority list for the classification, department or group shall be used; if any employees
       are required to work during the weekend, the appropriate Saturday or Sunday overtime
       list will be used.


                                       ARTICLE 15 - VACATIONS
                                        (See Master Agreement)

      SECTION 45

       (a) An employee who is terminated from employment, retires, quits, dies or is
           discharged will be paid unused vacation pay earned in accordance with the
           provisions as outlined in Article 15 of the Master Agreement.

       (b) The provisions set forth in Item (a) above shall also be applied in the same manner
           utilizing the appropriate time period in each of the subsequent years of the Master
           Agreement.

      SECTION 46

       (a) For vacation time off in accordance with Article 15, Section 47 (a) of the current
           Master Agreement, an employee may use up to one (1) week (forty [40] hours) each
           vacation take year in units of one-half (1/2) day periods (four [4] hours) or more, with


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          pay for the following purposes:

          (1) Excused absences because of illness for which the employee does not receive
              accident and sickness insurance benefits, at the employee's average hourly
              earned rate for the week, including cost-of-living and night shift differential.

          (2) Any absence which has been requested by the employee and excused by the
              immediate supervisor, provided, however that the employee’s request will be
              denied only for the reason that it will interfere with production or operational
              requirements. Any request for paid absence allowance by an eligible employee
              made subsequent to the absence will be approved for payment, but the payment
              will not make the absence an excused absence or preclude the Company from
              considering the absence as the basis, in whole or in part, for disciplinary action.

          (3) Additional scheduled vacation time immediately prior to or following the
              employee’s other vacation time unconnected with any plant vacation shutdown,
              at the appropriate vacation pay rate.

          (4) By automatically receiving pay in lieu of time off for the period not used in
              accordance with vacation purposes (1), (2) and (3) above. This payment is to be
             made on the second (2nd) payday immediately following the end of the vacation take
             year at the appropriate vacation pay rate.

       (b) Employees who have allocated part of their vacation as casual days off in
           accordance with Section 45 (a) above and who thereby do not have full weeks of
           vacation time left during a vacation shutdown equal to the length of the shutdown will
           be disqualified for Supplemental Unemployment Benefits for the period of time not
           covered by their vacation during the vacation shutdown, except as is further
           provided for in Section 50 of Article 15 of the current Master Agreement.

      SECTION 47

       (a) A laid off employee may receive the vacation pay to which entitled while on layoff
           unless the employee requests the Company in writing to hold their vacation pay,
           await their return to work and schedule their vacation, provided however, that all
           unused vacation will be paid no later than the second (2nd) pay period following
           December 31 for all subsequent vacation take years. If there is a vacation
           shutdown, the vacation pay will be paid by the Company immediately prior to the
           vacation shutdown.

       (b) An employee who has not taken vacation during the period provided for will not be
           entitled to pay in lieu thereof, except in the case of an employee who was prevented
           from taking a full vacation prior to the end of the vacation take period because of
           continuing illness or injury during the last two (2) months of the vacation take year,
           and except as provided for in this Article. In those cases, the employee will receive
           pay in lieu of vacation.

          The Company will, prior to October 31st of the vacation take year, give notice of


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          those employees who have not yet taken their vacation to the Chairperson of the
          Local Bargaining Committee. The Company cannot pay out vacation without
          authorization from the employee.


      SECTION 48

       If the Company does not shut down or, in the event of a vacation shutdown, with
       respect to additional weeks of vacation time off, vacation will be scheduled throughout
       the year adhering as closely as practicable, in view of operational requirements, to the
       expressed desires of employees. Employees, however, will not be scheduled to take
       vacation before March 1 of any year, except at their request. In order to assure that
       vacation time is fairly and equitably determined, the following general provisions will
       apply:

       (a) Weekly vacation quotas will be established as has been locally agreed to except
           that weeks scheduled for the buck hunting week, the months of January and
           February, and weeks of pay in lieu of vacation will be excluded from the available
           number of weeks to be scheduled. At least ninety (90) days prior to the start of the
           vacation take year, a notice will be posted in each department stating the weeks
           during which vacations may be taken and the number of employees who may take
           vacations in each week. Commencing two (2) weeks subsequent to the posting of
           the notice, each employee in the department, commencing with the most senior
           employee, will be permitted to identify the week (or weeks, if entitled to more than
           one (1) week) during which the employee desires vacation.

          In the event that not all employees requesting vacation at a particular time can be
          permitted to take vacation at that time because either the number requesting a
          particular week is too great, or the services of some of the employees requesting
          vacation time are needed due to their skills to meet production requirements, the
          employees who cannot be scheduled for vacation time will be permitted to identify
          an alternate period, in accordance with seniority which will be subject to the same
          limitations as stated above. Vacations may not be postponed from one year to
          another.

       (b) Employees who fail to identify desired vacation times after two (2) weeks’ notice to
           do so will be given the choice of open weeks during which their services can be
           spared, commencing with the longest service employee. If an employee fails to
           identify a preference within a one (1) week period after being requested to do so
           under this Subsection, the Company will schedule that employee for vacation time in
           accordance with production requirements.

       (c) After all vacation time assignments have been made, which shall be no later than
           fifteen (15) days prior to the start of the vacation take year, the vacation time
           assignments will be posted in each department within one (1) week thereafter.

       (d) An employee who is transferred from one department to another after vacation
           assignments have been made in the department from which the employee was


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          transferred, will retain the assigned vacation time unless it is necessary in view of
          production requirements to change the employee’s vacation time. In those cases
          where it is necessary to change vacation time, the employee involved will be given
          the opportunity to state a preference of unassigned vacation time during which the
          employee's services are not needed to meet production requirements.

       (e) An employee who is injured or becomes ill prior to the start of the vacation may
           reschedule vacation subject to the provisions of this Section.

      SECTION 49

       With respect to any work to be performed during the vacation shutdown, the following
       procedure will apply:

       (a) Employees will be canvassed for volunteers in seniority order by department,
           classification and shift where work is scheduled.

       (b) In the event the Company's requirements are not satisfied under Subparagraph (a)
           above, the Union agrees that these manpower requirements will be satisfied through
           a procedure to be developed at the plant level, which will ensure that the manpower
           requirements are satisfied in accordance with Article 8 of the Macungie Local
           Supplemental Agreement.

       (c) In the event an employee working during the vacation shutdown has received less
           than sixty (60) days’ notice of the work, the employee will be entitled to SUB and
           unemployment compensation, if otherwise eligible, for any working days when they
           are not scheduled to work during that shutdown period.

       (d) The Company agrees to notify any employee who is scheduled to work during the
           vacation shutdown period no later than the third (3rd) Monday prior to the shutdown,
           if the Company intends to cancel that work. If the work is canceled subsequent to
           that cutoff date, any employee affected by that cancellation will be considered laid
           off during the vacation shutdown period and will be entitled to any applicable benefit
           for which the employee is eligible.

      SECTION 50

       All employees will be paid on the basis of their hourly straight-time rate (including
       applicable shift premium) received for the week preceding their vacation.

      SECTION 51

       (a) A vacation period will consist of consecutive work days. Vacation periods of one (1)
           week or longer will commence on a Monday. All vacation pay is to be received in
           advance.

       (b) Employees, at their option, may leave their vacation pay with the paymaster until
           they return from vacation.

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       (c) Employees entitled to four (4) weeks of vacation shall have the option to take pay in
           lieu of time off for the fourth (4th) week of vacation. Employees entitled to five (5)
           weeks of vacation shall have the option to take pay in lieu of time off for the fifth
           (5th) week of vacation. It is agreed that employees entitled to five (5) weeks of
           vacation will not have the option of taking pay in lieu of the fourth (4th) week of
           vacation except as is provided for in Section 51 of this Article. Upon the exercise of
           vacation pay option, an employee will receive pay on the second (2nd) pay period
           after making the request.

      SECTION 52

       (a) An employee who first acquires ten (10) or twenty (20) years’ seniority during the
           vacation take year may schedule the additional week of vacation or take pay for that
           week in lieu of time off at the time of scheduling.

       (b) An employee who schedules and takes vacation in accordance with Subsection (a)
           above, and who subsequently has a break in seniority prior to reaching his/her
           anniversary date, will have the appropriate amount of money which was paid in
           advance for the unearned vacation deducted from their final check.

      SECTION 53

       It was agreed that where vacation scheduling problems exist, the Company and the
       Union will meet to discuss and resolve any problems, consistent with the provisions of
       this Article.

                                        ARTICLE 16
                           WAGES, STARTING RATES & PROGRESSION

      SECTION 54

       The wage rates for all job classifications are as listed in Appendix A of this local
       Agreement.

      SECTION 55

       The starting rate for inexperienced employees hired in any classification in Appendix “B”
       and “C” shall be as outlined in Article 16 of the Master Agreement.

      SECTION 56

       Six percent (6%) shift premium will be paid for all work performed on the second (2nd)
       and third (3rd) shifts (nights).

      SECTION 57

       Any employee regularly called to work but not given work shall receive four (4) hours’


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       pay at the employee's regular basic hourly rate except in case of stoppage of
       production caused by labor disputes. Any employee called to work or permitted to
       come to work without having been properly notified that there will be no work, shall
       receive a minimum of four hours’ pay at the regular hourly rate, except in cases of labor
       disputes, or other conditions beyond the control of the Local Management.

      SECTION 58

       (a) Employees called in to perform work during a period of time separated from their
           regularly scheduled shift and not continuing into, or extending beyond, the
           scheduled shift shall be paid as follows:

          (i) A minimum of two (2) hours’ pay at one and one-half (1 1/2) times the base rate
              (including cost-of-living allowance and night shift differential, if any) for work
              performed on any one of the first five (5) regular work days in their work week.

          (ii) A minimum of two (2) hours’ pay at the regular premium rate of one and one-half
               (1 1/2) times and two (2) times the base rate (including cost-of-living allowance
               and night shift differential, if any) respectively on Saturday and Sunday.

                             ARTICLE 17 - TRANSFERS - WAGE RATES

      SECTION 59

       When an employee is transferred from one job to another, the employee shall receive
       the job rate for the new job, provided, however, that an employee who has not yet
       completed the employee's hiring progression pursuant to Article 16, Section 56, shall be
       transferred at the employee's same relative position within the wage progression for the
       new job classification until the employee has completed the employee's hiring
       progression period.

      SECTION 60

       If an employee is transferred or assigned to one (1) or more job classifications during a
       single workday, the employee shall receive the rate of the highest paying job for all
       hours worked during that day.

      SECTION 61

       At the time of transfer or as soon as possible thereafter, an employee transferred from
       one job to another shall be given a written notice stating the effective date of the
       transfer, the classification and rate from which the employee is transferred, and the
       classification and rate into which the employee is transferred. A copy of the notice will
       be given to the Union.

      SECTION 62

       Exceptions to the contract provisions relating to transfers to different classifications may

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       be made by agreement between the Company and the Union.


                                   ARTICLE 18 - WORK STANDARDS

      SECTION 63

       Work standards for all measurable work may be established on the basis of fairness and
       equity consistent with the quality of workmanship, the efficiency of operation, and the
       reasonable working capacity of skilled and experienced workers. The method of
       establishing new work standards or changing current standards shall jointly be discussed
       with the Union prior to implementation. In the case of production processes that said, the
       method must conform to recognized industrial engineering principles.

       When a non-production standard is being changed both the company and the union will
       meet to discuss the change before the standard is implemented.


      SECTION 64

       When a work standard or estimated standard is placed into effect, an employee may not
       grieve the standard until he/she has attempted to make the standard for a period of time
       sufficient to determine its accuracy.
       If the employee cannot make the standard after an honest attempt to perform the job, the
       following procedure shall be followed:

         1. He/She will report the specific problems to his/her Supervisor.

         2. The Supervisor, in a timely manner, will observe to see that the employee is following
            the proper methods and utilizing the proper equipment. He/She shall also insure the
            job is being performed under standard conditions and that the job is properly set up.


         3. If after making necessary adjustments, the employee still cannot meet the standard,
            he/she may call for his/her Committeeperson. If the Supervisor and the
            Committeeperson cannot resolve the dispute, the Industrial Engineer or Manager
            who set up the job, if available, shall be summoned to review the operation and
            participate in the discussion with the Supervisor and Committeeperson.

         4. If the dispute remains unresolved, the Committeeperson may process a grievance.

       No employee shall be disciplined for failure to meet an estimated standard until after the
       employee and his/her Committeeperson have been notified that said employee has not
       met the standard within the qualification period.
       In keeping with lean manufacturing concepts, the employee will have input regarding how
       his/her job assignment is set up or altered. Such input may come through the employee’s
       suggestion or interaction between the employee and his/her supervisor and/or the
       attendant engineer.

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      SECTION 65

       When a job is being restudied or disputed under the procedures above, the findings of
       such re-examination, whether they are by time study or other techniques, will be made
       available to the operator and/or his Committeeperson upon request.

       Job breakdowns, which will include the actual times it takes to perform individual items of
       an employee’s job, and/ or other pertinent data concerning the job dispute in question will
       be provided to the Union and employee upon request from the Committeeperson;
       however, it is mutually recognized that it would be impractical to provide this information
       during periods of work acceleration or decreases; however, such information shall be
       made available as soon as reasonably possible.


      SECTION 66

       The provisions of this work standards procedure shall not be subject to the arbitration
       provisions of this Agreement except by mutual agreement. Discipline for failure to meet
       production standards shall be subject to arbitration. Discipline assessed for failure to
       meet a work standard which is later found to be in error shall be adjusted on the basis of
       fairness and equity based upon the attendant circumstances.

      SECTION 67

       Production standards used for making work assignments on production lines
       shall not contain personal allowances. Production line workers shall receive
       forty-six (46) minutes for personal needs. All production standards shall contain a
       two and one-half percent (2.5%) miscellaneous allowance.

                           ARTICLE 19 - DISCHARGE AND DISCIPLINE

      SECTION 68

       The Company shall continue its present practice of notifying an appropriate
       Committeeperson prior to the removal or rejection of any employee from its premises.

                             ARTICLE 20 - STRIKES AND LOCKOUTS

      SECTION 69

       In accordance with the provisions of Article 20 of the Master Agreement, the Union shall
       have the right to strike, in accordance with the procedure set forth therein.

                                 ARTICLE 21 - HEALTH & SAFETY
                                     (See Master Agreement)

                                   ARTICLE 22 - PENSION PLAN
                                     (See Master Agreement)


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                               ARTICLE 23 - INSURANCE PROGRAM
                                    (See Master Agreement)


                                           ARTICLE 24 – S

                     UPPLEMENTAL UNEMPLOYMENT BENEFIT PLAN AND
                                SEVERANCE PAY PLAN
                                (See Master Agreement)


                          ARTICLE 25 - TRANSFERS TO OTHER PLANTS
                                    (See Master Agreement)


                                ARTICLE 26 - NO DISCRIMINATION
                                    (See Master Agreement)



            ARTICLE 27 - JOB SECURITY AND OUTSIDE CONTRACTING


      SECTION 70 - MACUNGIE OUTSOURCING

       During the 2012 negotiations, the Parties agreed to the following provisions in regards
       to outsourcing:

       (a) Outsourcing will be limited only to the extent of production on line work and off-line
           sub-assembly work. The term “production on line work and off-line sub-assembly
           work” shall not be construed to include an ability to outsource the complete cab
           groom assembly line, the complete hood groom assembly line, any non-assembly
           work or operations, including but not limited to the Customer Adaptation Center,
           final department, indirect labor, etc. Except as enumerated herein, the provisions of
           Article 27 will continue.

       (b) The company will not make sourcing decisions that have the potential to impact
           headcount without first describing the reasons for the contemplated decision with
           the Union. The company, in good faith, will take into consideration input from the
           Union prior to making the final decision. However, these discussions will not
           jeopardize the timeliness of the decision. The analysis process for make/buy
           decisions will be the Volvo Financial Review Procedures. Should a disagreement
           arise during the final make/buy review, the appropriate Union Representative and
           appropriate UAW Leadership will be provided a review opportunity with the senior
           manager of the area impacted.




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       (c) The appropriate Union Representative will participate in the review of the make/buy
           decisions and will be provided the information and data necessary to make
           meaningful contribution to the process. The appropriate Union Representative will
           also serve as the bargaining unit point of contact to consider bringing work into the
           plant. The appropriate Union Representative may participate in vendor visits.

       In consideration of the above, the following conditions are agreed to:

       (a) The terms and conditions of Letter 3 of the Macungie Local Supplemental
           Agreement will apply.

       (b) All current employees, by name, will not be subject to layoff from company-initiated
           sourcing decisions for the life of this Agreement.

       (c) The list of names will be reduced as persons on the list who, after the effective date,
           retire, die, quit, or otherwise cease to be employees.

       (d) No additional names will be added to the list during the term of this agreement.

       (e) Employees on the list may only be laid off due to reductions caused by volume or
           product mix changes.

       (f) If sufficient volunteers are not obtained through the voluntary layoff provision, an
           involuntary layoff will occur. Employees with less than ten (10) years of seniority
           who are involuntarily laid off as a result of a volume decrease will receive up to fifty-
           two (52) weeks of SUB benefits and up to fifty-two (52) weeks of H-S-M-D coverage.

       (g) Persons not on the protected list may be subject to layoff as a result of company-
           initiated actions, including, but not limited to introduction of technology, productivity
           improvements and sourcing decisions for the life of this agreement.


                                       ARTICLE 28 - GENERAL

      SECTION 71

       The Company agrees that all pending grievances under the prior contracts, and all
       arbitration awards under the prior contracts which have not been affected by this
       Agreement, shall maintain the same status as though the prior contracts had been
       continued without change.

      SECTION 72

       The Company will make every reasonable effort to see to it that the present food and
       refreshment services furnished by the concessionaire in its facilities are adequate,
       provided these services are self-sustaining.

      SECTION 73

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       The Company will provide bulletin boards in the plant at Macungie, at the locations as
       shall be agreed upon by the Company and the Union, not to exceed, however, in
       number the Company bulletin boards.

      SECTION 74

       In the event it becomes necessary to perform a Plant inventory, the procedure to be
       followed will be developed at the local level.

      SECTION 75

       All employees who are waiting to be examined by the Company physician before
       starting work upon return from sick leave will be compensated at the appropriate rate
       until the employee is released from the medical examination.

      SECTION 76

       Employees desiring to take time off on a General Election day shall be permitted to take
       two (2) hours off, without pay, for the purpose of voting. Employees desiring to take
       advantage of this Section will give their Supervisor as much advance notice as
       possible. Employees will only be permitted to take two (2) hours off without pay for the
       purpose of voting if they are unable to vote due to their scheduled working hours, such
       as a double shift that prevents them the opportunity to vote.

      SECTION 77

       It is the intention of the parties that all non-bargaining unit employees shall not perform
       any bargaining unit work. This is not to be interpreted to prevent the necessary function
       of instruction and demonstration.

      SECTION 78

       Employees who punch in any time after the start of the shift (e.g.: 6:45:01 AM for day
       shift, etc.) will be docked .10 of an hour for up to 6 minutes late.

      SECTION 79

       Effective September 1, 1997, the Macungie Operations is a smoke-free facility.

      SECTION 80

       Quality Audit personnel in performance of their job responsibilities shall operate
       vehicles on Company property to/from the Final lot and the Audit room and to validate
       the level of quality we are delivering to our customer, in accordance with the
       requirements of the Global Product Audit manual. In this capacity, the auditors
       will test drive the trucks being audited, perform a water test, and to verify all other
       functions of the truck in the audit process. In order to verify the functionality and
       integrity of the truck the auditors will have the ability to use the appropriate tools
       to verify the quality and reliably of the trucks. Auditors will not repair any

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       deficiencies found. It is recognized that such repairs have historically been made
       by the Offline Production Technicians. If any repairs require another
       classification’s expertise the parties can mutually agree that these repairs are
       necessary. In order for the auditors to test drive the trucks, they will add mud
       flaps, licenses etc. in order to legally drive the truck. This clearly adds no value to
       the truck as these will all be removed after the audit is competed.

      SECTION 81

       The Union shall receive all profits derived from the vending machines operated in the
       shop, and shall be used for social, recreational sports, scholarships, Children's
       Christmas Party, annual picnic or other constructive purposes for Union members and
       their families.

      SECTION 82

       (a) Upon conclusion of these negotiations, the Parties have agreed to have the
           "personal preparation" time evaluated by the Manufacturing Engineering
           Department. The studied time for "preparation and clean-up" purposes will then be
           placed into the Macungie work assignment as a line item.

       (b) In order to maintain effective unit output in the paint department due to increased
           paint pass requirements, a new paint procedure is instituted effective February 1996
           as a means to maintain schedule needs. As a result, all spray painters in the cab
           paint area (including Final), as well as the “G” Line (VEH-1) and “H” Line (VEH-2)
           spray painters, are needed to prepare and maintain equipment twelve (12) minutes
           prior to the start of the shift and six (6) minutes following the shift. This procedure will
           remain in effect as long as the paint pass requirements exceed the Operation’s eight
           (8) hour/shift paint capacity.

       (c) The additional eighteen (18) minutes per day, identified in (b) above, shall be paid in
           accordance with the provisions of Article 13 of the Master Agreement. The overtime
           paid in compliance with this section will not reduce the short work week allowance
           paid when applicable.

       (d) The spray painter jobs listed in (b) above, will be offered to the “most" senior spray
           painters. In the event this does not secure the required personnel, spray painters will
           be placed into the jobs in inverse seniority order. Employees entering the Spray
           Painter classification will be offered, seniority permitting, the opportunity to secure
           one of the jobs listed in (b) above. When any of the jobs in (b) above become open,
           any painter requesting the job shall fill the opening. When more than one (1)
           employee requests the open job, the most senior employee will fill the job.

       (e) Employees assigned to spray painting as a replacement for the jobs listed in (b)
           above after the start of their regular shift will not be paid an overtime premium unless
           the employee is required to paint to the end of the shift. In these cases, employees
           will be afforded twelve (12) minutes to clean up after the completion of the shift and
           be compensated in accordance with Article 13 of the Master Agreement.


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      SECTION 83

       Management will make available combination tool boxes from the Company tool crib for
       use by employees classified as Production Technician Offline. The tools remain the
       property of the corporation, are the responsibility of the individual employee to whom
       they are assigned and shall be returned to the tool crib upon transfer from the Final
       Department.

       Employees presently classified as Production Technicians Offline who require
       "specialty" tools in the performance of their job assignment may obtain the tools from
       the tool crib on an as-needed basis.

       Tools which become damaged in the course of work, lost, or stolen will be investigated
       and verified by Management, and reviewed on a case-by-case basis for replacement
       purposes, consistent with existing policy.

      SECTION 84

       All employees who report to the dispensary as a result of an injury incurred in the
       performance of the employee’s job duties or as a result of a medical condition
       necessitating being transported by ambulance during the regularly scheduled shift will
       be compensated at the appropriate rate. The employee must abide by the medical pass
       procedure except in case of an emergency.

      SECTION 85

       Employees presently classified as Material Technicians or employees who transfer into
       the Material Technician group will be afforded necessary training on CRT or "plant
       information systems" related to their job responsibilities.

      SECTION 86

       (a) Replacements for Spray Painters in the Macungie Division due to absenteeism will
           be populated in the following manner:

       (b) The appropriate number of Spray Painters will be added to the Cab/Chassis area.
           They normally will function as Production Technicians and will only be utilized for
           vacancies due to absenteeism, wherever they may occur in the Spray Painting
           classification of Department 227. The least senior spray painters will be utilized in
           this capacity unless there are more senior spray painters who desire to be utilized for
           absenteeism replacements. They will be assigned to Department 227 for overtime
           purposes.

       (c) Currently, there are two (2) STA's assigned to Department 227 for the spray painter
           classification. One will be assigned to Cab paint, and one will be assigned to the
           Chassis lines for the purpose of eliminating delays with the movement of manpower
           during the following conditions:



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             •   Peak loads
             •   Daily absenteeism and tardiness
             •   Training
             •   Physicals and therapy
             •   Dispensary Visits

          This procedure will eliminate downtime due to manpower requirements at the start
          of the shift and reduce the need to shutdown final paint or the tricolor booth.

          In addition to the above responsibilities, the chassis paint STA may be assigned in
          accordance with the provisions of Section 87 (b) above, whenever necessary after
          the Cab paint STA has been utilized.

          And when no spray painters’ work is available, the spray painter STA’s will be
          assigned to the Production Tech classification.

       (d) Touch-up paint work in Final can be performed by the Production Technician-Final
           and any work beyond touch-up will be performed by the Spray Painter. Touch-up
           work is defined as a correction of a defect with a finished area which is
           approximately fourteen (14) inches by fourteen (14) inches or less. In addition,
           when touch-up work is being performed the Company will continue the practice of
           not requiring the Production Technician-Final to use an air brush. Rather, use of the
           air brush will continue to be optional. Touch-up work performed by the Production
           Technician-Final will be done in the booth if the booth is available.

       (e) The Parties had many discussions concerning paint quality and the skill levels
           associated with spray painting in Cab Paint during the 2012 Local Wage & Seniority
           Agreement negotiations. The Parties have agreed to attract the best qualified
           candidates and compensate them for the required skills that the Spray Painters and
           the STA Painters will be paid a rate of one dollar ($1.00) above the established
           Production Technician rate.

      SECTION 87

       All future tractors purchased by the Company for inter-plant purposes shall be equipped
       with power steering.

      SECTION 88

       The Company will provide a program to place protective covers and heaters on lift
       trucks used extensively on the outside.

      SECTION 89

       The Utility Welder will perform all other welding functions not currently assigned to the
       skilled trades Welder. When welding work is not available, the Utility Welder will be
       assigned to the Offline group to perform Production Technician Offline work in the
       Offline Department welding area.

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      SECTION 90

       The Sheet Metal Finisher will perform all sheet metal finishing work. When finishing
       work is not available, the Sheet Metal Finisher will be assigned to the Offline group to
       perform Production Technician Offline work in the Offlline Department paint area.

      SECTION 91

       (a) All employees, except production employees, will be granted a five (5) minute period
           at the end of each work shift for putting away tools and making preparation to go
           home. Work shall continue, however, until the five (5) minute whistle blows.

          Employees shall not be processed for transfer or be canvassed for overtime during
          this five (5) minute period.

       (b) The above provision shall be applied whenever work shifts are scheduled for four (4)
           hours or more.

      SECTION 92

       Management will meet with the appropriate Committeeperson on those occasions when
       warranty work is scheduled to be performed. The parties will discuss the nature of the
       work for the purpose of determining whether any Mack labor will be required (e.g.,
       disassembly of work previously assembled by Mack labor). When such work is
       required, the appropriate bargaining unit personnel will perform such work and return to
       his/her regular job unless otherwise needed. Regardless of whether or not Mack labor is
       required, a Material Technician-Inspector will inspect the product following the
       completion of the supplier warranty work. For the warranty work required to be
       performed by the vendor, the Company will encourage the vendor to subcontract the
       required work to Mack Macungie. The Union Leadership is committed to provide the
       necessary manpower to efficiently complete the customer requirements timely. It
       remains the option of the vendor to choose the appropriate resolution.

      SECTION 93

       When work is to be performed by vendors during the off shift hours, the Company will
       meet with the Union and discuss said work to ensure that it is not work which a
       bargaining unit employee should be doing.

      SECTION 94

       It is Management’s intent to use security cameras and devices throughout the facility for
       the sole purpose of security. The equipment will not be used for the purpose of
       monitoring employee’s job performance or for invading employee’s rights to privacy.

       The parties agree that when the cameras are ever used inside the facility the parties will
       meet and discuss the use prior to installation and implementation.


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                               ARTICLE 29 - POSTING CONTRACT

       Management will promptly provide a sufficient number of printed copies of the
       Macungie Local Supplemental Agreement for distribution to each represented
       employee. The Parties will jointly proofread the Local Supplemental Agreement prior to
       printing to insure accuracy.


                                   ARTICLE 30 - SUCCESSORS
                                     (See Master Agreement)

                                     ARTICLE 31 - DURATION
                                     (See Master Agreement)

                              ARTICLE 32 - PROFIT SHARING PLAN
                                    (See Master Agreement)

                              ARTICLE 33 - LEGAL SERVICES PLAN
                                    (See Master Agreement)


                                   ARTICLE 34 - APPRENTICES

      SECTION 95

       Skilled trades for the purpose of this Agreement shall mean only the mutually
       recognized skilled trades occupations assigned to the Facilities Maintenance
       Department.

       All work shall be performed in compliance with the OSHA recommended Mack Trucks,
       Inc. Lockout policy.

       Facilities Maintenance Department employees shall be licensed to operate power
       equipment in the performance of the duties of their classifications. Lift trucks or any
       other transporting equipment may also be used to move production materials to the
       extent required incidental to the performance of the regular duties of their
       classifications.

       Layout Department can use power lifting equipment to move supplies and parts in and
       around their department in the performance of their duties.

       Facilities Maintenance Department employees shall be responsible for the loading,
       unloading and movement of office furniture, maintenance material, machinery and
       equipment.

       Common carrier items delivered through the receiving department to be delivered to
       Facilities Department or other designated drop area.



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            Layout Machinist                               Tool Fixture Welder

       • Sheet metal layout and         • Stick, mig, tig welding, flat and vertical
         bend allowance
       • Shear and V-brake              • Stick, mig, tig welding, overhead position
         operation
       • Lathe, mill, grinders, drill   • Oxy/acetylene burning, welding, brazing
         press
       • Tool and fixturing design      • Heat treat and hardening
       • Tool and fixture repairs       • Fixture and jig design to support welding operations

                 Electrical                                      Mechanical

       • General wiring                 • Boiler operations
       • Heavy construction             • Welding
       • 3 phase wiring                 • Plumbing/pipefitting
       • Motor control                  • Machine repair/auto
       • PLCs                           • Hydraulic/pneumatic


      SECTION 99

       Definition of Journeyman

       The term Journeyman when used in this Agreement means an employee who:

       (a) has satisfactorily completed a bona fide apprenticeship training course with similar
           standards to the Mack-UAW Apprenticeship Training Program or is a UAW
           Journeyman skills card holder.

       (b) has properly carried Journeyman status in any Mack plant under the terms of
           previous agreements between the parties; or

       (c) has been reclassified as a Journeyman under the terms of this Agreement; or
           (d)upon transfer or hire into an opening in the Skilled Trades, can document that
           the employee has worked in the trade for a period of time at least equivalent to the four
          years on-the-job experience required for classification to Journeyman status. Copies of any
          documents presented pursuant to this provision will be furnished to the Training Committee
          for evaluation.

      SECTION 100

       (a) Management will study its future maintenance Skilled Trades Manpower needs, and,
           at least once each six (6) months, will post a list of jobs, if any for which a shortage
           of Journeymen is anticipated. Where qualified Journeymen are not available in the
          plant, management may obtain qualified Journeymen as new hires. Employees working on
          other than skilled trades classifications will be permitted to file application for posted
          vacancies, listing their qualifications. Employees entering the skilled trades group will be

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          required to possess the appropriate tools for their respective classification.
       (b) Prior to obtaining new hire Journeyman, management will seek qualified
           Journeyman through the Apprentice pool. If the Apprentice pool does not yield
           qualified Journeyman, a plant-wide posting asking for qualified Journeyman will take
           place. Whether Journeyman applies from the Apprentice pool or as a result of the
           posting, documented proof must be submitted to the training committee for approval
           prior to awarding Journeyman status, and entering the group. Employees entering
           the skilled trades group will be required to possess the appropriate tools for their
           respective classification.

       (c) Recognizing the desirability of allowing employees in the skilled trades’
           classifications to fill jobs on the shift of their preference, the Company and the Union
           agree to the following procedure when filling skilled trades openings:

          (1) When an opening occurs on a specific shift, the job requirement(s) shall be
              satisfied by canvassing employees on the skilled trade date of entry list who
              have designated that shift as their shift preference whether they are currently
              working in the skilled trade department or not. An employee who does not return
              to their preferred shift will lose their date of entry.

          (2) Openings created as a result of a change in the number of employees assigned
              on a specific shift in a skilled trade classification (e.g., an increase on one shift
              and a decrease on another) will be offered in seniority order, after the application
              of (1) above. Upon completion of this canvass, if no one accepts to fill the
              opening, the employees on the skilled trade date of entry list not currently
              working within the skilled trade department shall be canvassed. If the employees
              choose not to return when initially canvassed, they shall establish a shift
              preference at that time by completing a skilled trade shift preference form.

          (3) Employees not working in the Facilities department who have different shift
              preferences will not be canvassed, regardless of date of entry, until all
              employees with a shift preference for the shift matching the opening have been
              canvassed. However, an employee with a different shift preference who elects
              not to return to the skilled trade will not lose their date of entry. In the event
              openings still exist after the canvassing, the Apprentice list will be used to fill the
              vacancy. If openings still exist after exhausting the Apprentice list, a posting will
              occur in accordance with Article 34, Section 105.

          (4) Once skilled trades’ employees on the date of entry list have established their
              shift preference(s), such preference may only be changed by completing a form
              available in the Facilities office. This form may be completed during the last two.

              (2) weeks of the quarters (i.e., last two weeks of March, June, September, and
              December of each year).

       (d) Where qualified journeymen are not available in the plant, management will meet
           with the skilled trades’ committeeperson and discuss methods to satisfy journeymen
           manpower requirements prior to obtaining qualified journeymen as new hires. As
           part of this process, the Company will:

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          -   recall previously qualified Macungie Operations Mack journeymen from layoff
              and if there are none;
          -   identify employees on general layoff who may qualify as Journeymen and if there
              are none who qualify;
          -   identify any employees on the Master Recall List who may qualify as
              Journeymen and if there are none who qualify then;
          -   hire new Journeymen.

       (e) Additional manpower required during the two-week summer vacation shutdown will
           be posted as temporary positions with no date of entry established.


      SECTION 101

       (a) In the event of a reduction in force in the Skilled Trades, any excess shall be from
           the affected Skilled Trades occupation and shift in reverse order of Skilled Trades
           Date of Entry in that occupation. If the employee has sufficient plant-wide seniority,
           the employee shall be transferred back to the employee's pre-transfer seniority
           group as provided in Article 7 of the Macungie Local Supplement.

       (b) If there is a plant-wide reduction that requires employees to be laid off and there are
           excesses in the Skilled Trades Department, Apprentices would be excessed unless
           an understanding was reached as written in Article 34, Section 105 (Article 8).

          1. If there are no Apprentices in the Skilled Trades group, the most senior
             Journeyman who is eligible for voluntary layoff would be placed on voluntary
             layoff.


      SECTION 102

       (a) Employees in the skilled trades classifications who desire to change their shift shall
           make application for transfer of shift by the end of the employee's regular second
           day of work of the normal regularly scheduled work week. If the employee's request
           is not made within this period, the employee's transfer will not be effective until the
           week following the next payroll period.

       (b) Transfer requests shall be granted on the basis of skilled trades date of entry within
           the classification and group, e.g., Mechanical-Journeyman may only displace a
           Mechanical-Journeyman who has a less senior date of entry; or a Mechanical
          Apprentice who has a less senior date of entry; or a Mechanical Apprentice may only
          displace a Mechanical Apprentice who has a less senior date of entry.

       (c) An employee making a transfer of shift request shall not have the right to cancel or
           withdraw the request. An employee shall have the right to change shift under this
           section no more than four (4) times within each calendar year.


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      SECTION 103           TRAINING COMMITTEE

       (a) Objective: To insure that training is required for all skilled trades employees and that
           we have a fully qualified skilled trades group, especially with the increasing need for
           specialized job knowledge in the areas of robots and PLC equipment, and to prepare
           for the increasing probability of retirements within the skilled trades classifications.

          Establish a training committee composed of the union committee person, a
          representative from the area vocational/technical school and/or Human Resources,
          facilities department management representative, and three (3) skilled trades
          employees (1 mechanic, 1 electrician, 1 layout machinist) to develop and implement
          an apprenticeship program for the skilled trades as well as a performance evaluation
          process for bidders/new hires. The committee will identify who needs training,
          monitor the training, develop individualized training plans, and have input into the
          selection of training institution(s).

      SECTION 104 - Apprentice Program

      Article 1      Definitions

       A. “Company” shall mean Mack Trucks, Inc.

       B. “Union” shall mean the duly authorized representatives of International Union, UAW
          and its Local Union 677.

       C. “Standards of Apprenticeship” shall mean this entire document including these
          definitions.

       D. “Registration Agency” shall mean the Bureau of Apprenticeship and Training, U.S.
          Department of Labor or State Apprenticeship Agency where such agency has been
          established.

       E. “Apprenticeship Agreement” shall mean a written agreement between the Company
          and the person employed as an apprentice. The agreement shall then be approved
          and signed by the person and Secretary of the Committee and registered with the
          Registration Agency and the Local Union.

       F. “Apprentice” shall mean a person engaged in learning and assisting in the trade to
          which assigned and who is covered by a written agreement providing for training in
          accordance with these standards of apprenticeship.

       G. “Apprentice Coordinator” shall mean the person employed by the Company as the
          person assigned the responsibility to perform the duties outlined in these standards of
          apprenticeship.
       H. “Committee” shall mean the Training Committee composed of representatives of the
          Company and the Union established under these standards for the purposes of
          administering the apprenticeship program and duties referred to in Article 13.


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       I. “Journeymen” means employees in a specific trade and shall not be construed to
          include journeymen employed in other trades. The word journeyman is used to
          designate individuals with proficient skill levels in a trade and is not intended to reflect
          gender.

       Article 2     Equal Opportunity in Apprenticeship

       "The recruitment selection, employment, and training of apprentices during their
       apprenticeship shall be without discrimination because of race, color, religion, national
       origin, or sex. The sponsor will take affirmative action to provide equal opportunity in
       apprenticeship and will operate the apprenticeship program as required under Title 29
       of the Code of Federal Regulations (CFR) Part 30, as amended.

       Article 3     Apprenticeship Eligibility Requirements

       Apprenticeship openings and testing will be posted on the Company's bulletin boards as
       openings occur in accordance with provisions of the apprenticeship program.

       Applications for apprenticeship will be accepted by the Human Resources Department
       from seniority employees within the Bargaining Unit who consider themselves eligible
       under this program.

       In the event a journeyman would need to be hired, the procedure as detailed in Article
       34, Section 101 (b) of the Macungie Supplement will be followed.

       After a preliminary check of each application by the Human Resources Department,
       applicants meeting the eligibility requirements as outlined in this program will be
       referred to the Training Committee for approval or disapproval.

       Applicants meeting the minimum eligibility requirements as outlined in this program will
       be referred to the Training Committee for selection. Selection of applicants will be based
       on the following:

       1. Applicants passing the assessment test will be chosen by seniority. The specific
          score required to pass will be based on the recommendation of the testing
          institution.

       2. Outside applicants will be ranked by test results. Highest will be first.

       Records of all applications and the selection process will be retained as determined by
       the Training Committee.



       Article 4 Credit for Previous Experience

       Credit for previous experience in the military service, an apprentice training program or
       a skilled trade classification including another facility, may be given up to the total time
       required on any phase of the apprenticeship training or related training schedules in
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       accordance with registration agency. Credit for such previous experience shall be given
       apprentices only at the time they have satisfactorily demonstrated that they possess
       such experience and are able to do the job. Related training credit shall be given
       apprentices at the time they have demonstrated that they possess the educational
       knowledge for which they are requesting credit under the related training schedule. At
       the time such credit is given, the apprentice's wage rate shall be correspondingly
       adjusted within the apprentice rate schedule based on the amount of credit given toward
       completion of the shop training schedule.


       Article 5 Term of Apprenticeship

       The term of apprenticeship shall be established by these apprenticeship standards in
       accordance with the schedule of work process and related instructions as outline in
       Appendices attached hereto.

       Each phase of the scheduled hours of shop training contained in a local program will be
       considered complete if it is within ten percent (10%) of the figure assigned to a
       particular phase of training. Where optional time is agreed to in the work schedules,
       not more than five percent (5%) of the total time may be assigned to optional work as
       set forth in the standards. Deviations from the limitations of this paragraph may be
       approved by the Training Committee.

       Credit will be awarded to apprentices for incidental sick, Accident and Sickness,
       workers’ compensation time, or bereavement allowance not to exceed a sum total of
       fourteen (14) work days in a calendar year.


       Article 6 Grace Period

       The first five hundred (500) hours of employment for apprentices who are seniority
       transferees shall be a grace period. During this grace period, these transferee
       apprentices may elect to return to their previous occupations and their apprenticeship
       agreements will be canceled by the Training Committee. After the five hundred (500)
       hour grace period, if the apprentice voluntarily leaves the skilled department, they forfeit
       the apprenticeship program and right to return. The registration agencies shall be
       advised of all such cancellations.

       (1) Newly Hired Employees

       The probationary period for newly hired employees as apprentices, shall be the first five
       hundred (500) hours of employment.

       Article 7 Hours of Work

       Apprentices shall work the same hours during the work week and be subject to the
       same conditions as the skilled workers of their trade. This includes being placed on the
       appropriate skills rotational overtime list. When apprentices are required to work
       overtime on special occasions, those occasions will be discussed between the Union

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       and Company representatives to achieve desired results. Apprentices on these
       occasions will receive credit on the term of their apprenticeship, for only the actual hours
       worked. The Training Committee may schedule related training classes during the
       apprentices normal work hours. The Company may reassign apprentices to off shifts as
       necessary to supplement training needs. In such cases, the appropriate shift differential
       shall be paid.

       The Training Committee shall limit the hours of overtime work of an apprentice where
       excessive work schedules interfere with related training.

       Article 8 Ratio

       When the Company determines to enroll new apprentices, the apprentices will be
       chosen in seniority order from the eligibility list in conjunction with the Training
       Committee.

       During the transition time where EIT’s and EITS’s are becoming journeymen,
       apprentices will be first impacted by layoffs, or excesses, unless the Company and
       Union come to an agreement to alter this understanding.

       When a permanent reduction in force occurs in a trade where Apprentices are
       employed, Apprentices shall be excessed until the ratio of Apprentices to Journeymen
       is one (1) to eight (8) or major fraction of eight (8). Thereafter, Apprentices shall be laid-
       off at the ratio of one (1) Apprentice for each eight (8) Journeymen laid-off in the trade.
       This is with the understanding that Journeymen and Employees In Training who were
       assigned to skilled trades prior to July 1, 2001 will not be laid off as a result of the
       application of the ratio referred to in this paragraph. The Company and Union have
       agreed that when a voluntary layoff occurs, the Company will consider alternate ways to
       layoff to avoid excessing apprentices, otherwise the excess will be by date of entry
       starting with the least senior Apprentice.

       The apprentices will exercise their seniority in their own group. For example, if there are
       four (4) apprentices in any specific trade and a reduction in this number is required due
       to lack of work, apprentices who are probationary employees shall be laid-off first.
       Thereafter, the first hired shall be the last laid-off and the last laid-off shall be the first to
       be recalled.

       In the event the reduction in force is due to unusual circumstances including, but not
       confined to, a transfer of or discontinuance of an operation, major technological
       developments, the elimination or consolidation of classifications, the discontinuance of a
       shift, or a drastic reduction in the level of work resulting in a heavy reduction in the
       skilled work force, the local parties shall mutually agree to an acceptable layoff and
       recall plan.

       If the Company requires more journeymen, it will go to the apprenticeship pool seeking
       journeymen before hiring from the outside. Documented proof of experience must be
       presented to the Training Committee for verification.
       .
       An employee having seniority in the plant who enters the apprentice training program

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       shall, during the period of his/her apprenticeship, retain and accumulate seniority in their
       former seniority group, and if excessed from the apprenticeship training program, they
       shall be able to return to the workforce, seniority permitting.

       When the work force is increased in a trade, apprentices may be recalled in accordance
       with their date of entry into the apprentice program when the journeymen levels
       increase in accordance with the ratio used at the time of layoff. Apprentices on layoff
       will be recalled before journeymen are hired into the trade to which the apprentices are
       assigned.

       Article 9 Seniority

       1. Employees successfully completing the Apprentice Program will be assigned a date
          of entry to their respective classification, reflecting the start date of their Apprentice
          Program. Should more than one employee be transferred into the Apprentice
          Program on the same date, the most senior employee will be given that actual date,
          the employee(s) next in line of seniority will be given an adjusted entry date based
          on seniority and the dates following the transfer. Seniority will be based upon the
          local Macungie or MCC seniority date. (As an example: Four (4) employees enter
          the apprentice program on August 13, 2012. The most senior employee transferred
          receives the August 13, 2012, respective date of entry. The second most senior
          employee receives an adjusted date of August 14, 2012, as their respective date of
          entry. The third most senior employee receives an adjusted date of August 15,
          2012 as their respective date of entry. The fourth most senior employee receives an
          adjusted date of August 16, 2012, as their respective adjusted date of entry. All
          persons entering the apprentice program shall always have an individual date of
          entry.) Apprentice Program completion is in accordance with the US Department of
          Labor requirements.

          In regards to graduating apprentices and journeyperson transferees from other
          locations, it is possible for a graduating apprentice to have an earlier date of entry
          into their respective skilled trades classification. (As an example: A journeyperson
          who transferred to Macungie from Hagerstown with a date of entry of January 12,
          2010 and an apprentice who has graduated after the January 12, 2010 date of entry
          of the Hagerstown employee and who has a date of entry of March 9, 2008, will be
          placed ahead of the Hagerstown employee.) In regards to a new hire journeyperson,
          an apprentice with a date of entry prior to the date of hire of the journeyperson will
          be placed ahead of the new hire upon successful graduation. As per Article 34,
          Section 98, Paragraphs A & B date of entry determines seniority in the skilled trades
          department.

       2. Upon successful completion of the Apprentice Program, only if there are no
          openings available in the employee’s skill trade classification, the employee shall
          exercise their seniority in accordance with Article 7 of the Macungie Supplemental
          Agreement.

       3. By the Veterans Reemployment Act, returned veterans who had their apprenticeship
          program interrupted shall, upon completion of the apprenticeship, receive seniority
          credit equal to the time on course, plus the length of service in the Armed Forces.
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       shall, during the period of his/her apprenticeship, retain and accumulate seniority in their
       former seniority group, and if excessed from the apprenticeship training program, they
       shall be able to return to the workforce, seniority permitting.

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          entry. The third most senior employee receives an adjusted date of August 15,
          2012 as their respective date of entry. The fourth most senior employee receives an
          adjusted date of August 16, 2012, as their respective adjusted date of entry. All
          persons entering the apprentice program shall always have an individual date of
          entry.) Apprentice Program completion is in accordance with the US Department of
          Labor requirements.

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          locations, it is possible for a graduating apprentice to have an earlier date of entry
          into their respective skilled trades classification. (As an example: A journeyperson
          who transferred to Macungie from Hagerstown with a date of entry of January 12,
          2010 and an apprentice who has graduated after the January 12, 2010 date of entry
          of the Hagerstown employee and who has a date of entry of March 9, 2008, will be
          placed ahead of the Hagerstown employee.) In regards to a new hire journeyperson,
          an apprentice with a date of entry prior to the date of hire of the journeyperson will
          be placed ahead of the new hire upon successful graduation. As per Article 34,
          Section 98, Paragraphs A & B date of entry determines seniority in the skilled trades
          department.

       2. Upon successful completion of the Apprentice Program, only if there are no
          openings available in the employee’s skill trade classification, the employee shall
          exercise their seniority in accordance with Article 7 of the Macungie Supplemental
          Agreement.

       3. By the Veterans Reemployment Act, returned veterans who had their apprenticeship
          program interrupted shall, upon completion of the apprenticeship, receive seniority
          credit equal to the time on course, plus the length of service in the Armed Forces.
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       Article 10   Discipline

       The Training Committee shall have the authority to cancel the apprenticeship
       agreement for an apprentice at any time for just cause pertaining to the apprenticeship,
       such as inability to learn, unsatisfactory work, or lack of interest in work or education.
       Such canceling shall not be subject to the grievance procedure.

       The Company has the right to discipline apprentices for cause or matters not related to
       their training as apprentices. Such discipline by the company may be subject to the
       grievance procedure.


       Article 11   Wages

       Newly hired Apprentices in each of the trades covered by these standards shall be paid
       a progressively increasing schedule of wages as follows:


       1st 1000 hours - not less than 65% of the journeyman wage rate.
       2nd 1000 hours - not less than 70% of the journeyman wage rate.
       3rd 1000 hours - not less than 75% of the journeyman wage rate.
       4th 1000 hours - not less than 80% of the journeyman wage rate.
       5th 1000 hours - not less than 85% of the journeyman wage rate.
       6th 1000 hours - not less than 90% of the journeyman wage rate.
       7th 1000 hours - not less than 95% of the journeyman wage rate.
       8th 1000 hours - not less than 95% of the journeyman wage rate.


       Employees transferring into the Apprentice program from another classification effective
       June 4, 2001, shall be paid a progressively increasing schedule as follows:




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                 APPRENTICE RATES EFFECTIVE AS OF 10/25/2019
                                 Electrical
        Hours         11/4/19      10/1/20      10/1/21         10/1/22
        0-1000        29.12         29.43         39.74         30.06
        1-2000        29.37         29.68         29.99         30.31
        2-3000        29.62         39.93         30.24         30.56
        3-4000        29.87         30.18         30.49         30.81
        4-5000        30.12         30.43         30.74         31.06
        5-6000        30.37         30.68         30.99         31.31
        6-7000        30.62         30.93         31.24         31.56
        7-8000        30.87         31.18         31.49         31.81



                 APPRENTICE RATES EFFECTIVE AS OF 10/25/2019
                                Mechanical
        Hours        11/4/19       10/1/20     10/1/21         10/1/22
        0-1000       29.12         29.43         39.74         30.06
        1-2000       29.37         29.68         29.99         30.31
        2-3000       29.62         39.93         30.24         30.56
        3-4000       29.87         30.18         30.49         30.81
        4-5000       30.12         30.43         30.74         31.06
        5-6000       30.37         30.68         30.99         31.31
        6-7000       30.62         30.93         31.24         31.56
        7-8000       30.87         31.18         31.49         31.81



                 APPRENTICE RATES EFFECTIVE AS OF 10/25/2019
                                  Layout
        Hours        11/4/19       10/1/20      10/1/21        10/1/22
        0-1000       29.30         29.61          29.92        30.24
        1-2000       29.55         39.86          30.17        30.49
        2-3000       29.80         30.11          30.42        30.74
        3-4000       30.05         30.36          30.67        30.99
        4-5000       30.30         30.61          30.92        31.24
        5-6000       30.55         30.86          31.17        31.49
        6-7000       30.80         31.11          31.42        31.74
        7-8000       31.05         31.36          31.67        31.99




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                        APPRENTICE RATES EFFECTIVE AS OF 10/25/2019
                                         Tool Fixture
          Hours              11/4/19      10/1/20      10/1/21                      10/1/22
          0-1000             29.22        29.53          29.84                      30.16
          1-2000             29.47        29.78          30.09                      30.41
          2-3000             29.72        30.03          30.34                      30.66
          3-4000             29.97        30.28          30.59                      30.91
          4-5000             30.22        30.53          30.84                      31.16
          5-6000             30.47        30.78          31.09                      31.41
          6-7000             30.72        31.03          31.34                      31.66
          7-8000             30.97        31.28          31.59                      31.91

       The Company agrees to pay, on behalf of apprentices covered by this agreement, for
       books, registration fees and/or tuition required in connection with related training under
       the apprentice program.

       If apprentices are laid-off, they may elect to continue school classes. Tuition, books and
       time spent in class during such layoff period will be paid upon the return of the
       apprentices to the apprentice program providing the apprentice present tuition and book
       receipts to the Company.
       Apprentices will be paid their regular base hourly rate while attending required classes
       of academic instruction. If an apprentice comes up for overtime the night the apprentice
       is scheduled for classroom instruction, classroom instruction will be attended first. This
       will count as time worked for overtime and will be charged to the hours worked for
       equalization purposes. Overtime hours spent in classroom instruction, when not up for
       overtime in a regular turn for overtime, will not be used for chargeable hours for
       equalization purposes.

       Apprentices who are given credit for previous experience shall be paid (upon signing
       the apprenticeship agreement), the wage rate for the period to which such credit
       advances them.

       Apprentices are to receive not less than the rate paid to journeymen in the trade in
       which they served their apprenticeship, after completing eight thousand (8,000) hours
       and receiving approval of their completion of training by the Training Committee.

       Article 12 Related Instruction and School Attendance

       Each apprentice shall enroll and attend weekly classes for the minimum number of
       related instruction hours as outlined for each particular trade, (according to instructions
       by the Training Committee.) Each apprentice after enrollment in such classes shall be
       registered with the appropriate State agency as an apprentice student on the forms
       furnished for this purpose.

       The location and quality of the classroom instruction shall meet with the approval of the
       Training Committee.

       The schedule or related instruction shall be outlined in appendices attached hereto.

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       In the case of failure on the part of apprentices to fulfill their obligation as to school
       attendance or successful academic accomplishment, the Training Committee may
       suspend or revoke the apprenticeship agreement. The apprentices hereby agree to
       abide by any such determination of the Committee.

       The Registration Agencies and the Local Union, the Local Board of Education, the State
       Agency and the UAW Regional Director shall be notified of any such cancellation. This
       action will terminate the eligibility of the apprentice as a student.

       Article 13    Training Committee

       This Committee shall be composed of six (6) members, half of who shall represent the
       Company and half of who shall represent the Union. The Committee shall elect a
       Chairperson and a Secretary. When a Company member is a Chairperson, a Union
       member shall be Secretary, and vice versa. The Committee shall meet weekly, or on
       call of the Chairperson, Secretary or any two (2) members of the Training Committee.

       The Union shall appoint three (3) journeymen, one from each skill group (Mech., Elect.
       and Layout) to serve in this capacity. Such appointees will be paid their regular rate of
       pay for hours worked on the Training Committee.

       It shall be the duty of the Committee to:

       1. See that prospective apprentices are interviewed and impressed with the
          responsibilities they are about to accept, as well as the benefits they will receive.

       2. Accept or reject applications for apprenticeship after preliminary examination by the
          Human Resources Department. The acceptance or rejection of applications for
          apprenticeship shall be governed by the standards established herein.

       3. Place apprentices under agreement, in accordance with the provisions of this
          Agreement.

       4. Evaluate, investigate and determine credit for previous experience.

       5. Hear and mutually decide on all questions involving the apprentices, which relate to
          their apprenticeship.

       6. Establish procedures with the appropriate State and Education Agencies. The form,
          contents, and schedule of the course or courses of instruction to be provided. The
          Committee will also cooperate with the school authorities in coordinating the related
          classroom instruction with the apprentice's basic schedule of work experience.

       7. Offer constructive suggestions for improvement of training on the job.

       8. Certify the names of graduate apprentices. No certificates will be issued unless
          approved by the Committee.
       9. Approve the minutes of committee meetings as provided by the Secretary.
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       10. Be responsible for the successful operation of the apprenticeship standards in the
           plant and the successful completion of the apprenticeship by the apprentices under
           these standards. The parties mutually agree that the decisions of the Training
           Committee are final and not subject to the Grievance Procedure.

       Article 14 Coordinator of Apprentices

       Apprentices shall be under the general direction of the Training Committee and under
       the immediate direction of the Supervisor of the department while working with a
       journeyman whom assigned. The Apprentice Coordinator is authorized to move
       apprentices from one shift and department to another in accordance with the
       predetermined schedule of work training. No apprentice may be retained on a
       scheduled work process for the period longer than the time scheduled for such work
       process unless permission is granted in writing by the Committee.

       The Training Committee, or an individual charged with this responsibility, in consultation
       with the Training Committee, shall prepare adequate record forms to be filled in by the
       Supervisor under whom the apprentices receive instruction and experience. Supervisors
       shall make a report at least every thirty (30) days to the Apprentice Coordinator on the
       work and progress of the apprentices under their supervision. These reports shall be
       submitted to the Joint Committee for its approval or disapproval.

       If the Apprentice Coordinator finds that an apprentice shows a lack of interest or does
       not have the ability to become a competent Journeyman, the Coordinator shall place all
       the facts in the case before the Committee for their considerations.

       Under these circumstances an apprentice may be permitted to continue in probationary
       status, required to repeat a specified process or series of processes or their agreement
       may be terminated.


       Article 15 Consultants

       The Committee may request interested agencies or organizations to designate a
       representative to serve as consultant(s) to the Committee. Consultants will be asked to
       participate without vote in conferences on special problems related to apprentice
       training, which affect the agencies they represent. This provision shall not be construed
       to compel any changes in these standards.

       Should any dispute arise which cannot be satisfactorily settled within the committee,
       either party may ask the Registration Agency to consider the matter.


       Article 16 Apprenticeship Agreement

       Apprenticeship Agreements entered into under these Apprenticeship Standards shall
       contain a clause making the Standards part of the Agreement with the same effect as if
       expressly written therein. For this reason, each applicant (and their parent or guardian if
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       a minor) shall be given an opportunity to read the Standards before signing their
       Apprenticeship Agreement.

       The following shall receive copies of the Apprenticeship Agreement:

       1.   The Apprentice
       2.   The Company
       3.   The Training Committee
       4.   The Registration Agencies
       5.   The Local Union
       6.   The Veterans Administration

       Article 17 Certificate of Completion of Apprenticeship

       Upon completion of the apprenticeship under these Apprenticeship Standards, the
       Training Committee will require that a certificate signifying completion of the
       Apprenticeship be issued by the Bureau of Apprenticeship and Training, U.S.
       Department of Labor, or by any State Apprenticeship Agency, unless otherwise
       approved by the Training Committee.

       Upon receiving the Certificate, the Chairperson and Secretary of the Training
       Committee will sign the Certificate before issuing it to the graduate.


       Article 18    Approval and Modification of Standards

       These Apprenticeship Standards may be amended or new schedules added at any time
       upon mutual agreement of the Company and the Union (Bargaining Committee). Such
       changes or amendments to these Standards will be submitted to the International
       Skilled Trades Department of the UAW and to the appropriate Registration Agencies for
       approval before becoming effective.

       Article 19    Health and Safety Training

       The employer shall instruct the apprentice in safe and healthful work practices and shall
       insure that the apprentice is trained in facilities and other environments that are in
       compliance with either the Occupational Safety and Health Standards promulgated by
       the Secretary of Labor under applicable Public Law or State Standards that have been
       found to be at least as effective as the Federal Standards.

       Article 20    Registration and De-registration

       The registration of these Standards of Apprenticeship by the Registration Agency
       certifies that the Standards conform to the Labor Standards, which the U.S. Department
       of Labor believes are necessary to safeguard the welfare of apprentices in our industry.

       The Labor Department’s General Labor Standards for Apprenticeship Programs as set
       forth in Title 29 of the Code of Federal Regulations.


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       This program may be deregistered upon the voluntary action of the sponsor, by the
       sponsor’s request for cancellation of the registration. The program may also be
       deregistered, for reasonable cause, by the Registration Agency when the Agency
       institutes formal deregistration proceedings in accordance with provisions of applicable
       Code of Federal Regulations.

       Upon de-registration or voluntary cancellation of the program, the sponsor will inform
       each apprentice, within 15 days, of the de-registration or cancellation and the effort of
       such action. This notification will conform to the requirements of applicable Code of
       Federal Regulations.

       Article 21    Complaint Procedure

       The Committee shall supply written notice of the Complaint Procedure Title 29 of Code
       of Federal Regulations Part 30 as amended to all applicants for apprenticeship and all
       apprentices.



       Filing:

       1. Any apprentice or applicant for apprenticeship who believes that he/she has been
          discriminated against on the basis of race, color, religion, national origin, or sex with
          regard to apprenticeship or that the equal opportunity standards with respect to
          his/her or her selection have not been followed in the operation of an apprenticeship
          program may, personally or through an authorized representative, file a complaint
          with the Department or, at the apprentice’s or applicant’s election, with a private
          review body established pursuant to subparagraph (3) of this paragraph. The
          complaint shall be in writing and shall be signed by the complainant. It must include
          the name, address, telephone number of the person allegedly discriminated against,
          the program sponsor involved and a brief description of the circumstances of the
          failure to apply the equal opportunity standards provided for in this part.

       2. The complaint must be filed not later than 180 days from the date of the alleged
          discrimination or specified failure to follow the equal opportunity standards and, in
          the case of complaints filed directly with review bodies designated by program
          sponsors to review such complaints, any referral of such complaint by the
          complainant to the Department must occur within the time limitation stated above or
          thirty (30) days from the final decision of such review body, whichever is later. The
          time may be extended by the Department for good cause shown.

       3. Sponsors are encouraged to establish fair, speedy, and effective procedures for a
          review body to consider complaints of failure to follow the equal opportunity
          standards. A private review body established by the program sponsor for this
          purpose should number three or more responsible persons from the community
          among those serving in this capacity without compensation. Members of the review body
          should not be directly associated with the administration of an apprenticeship program.
          Sponsors may join together in establishing a review body to serve the needs of programs
          within the community.

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                                                                     UAW - 000426
                                                                             JA001157
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       Processing of Complaints

       1.(a) When the sponsor has designated a review body for reviewing complaints, the
             Department, unless the complaint had indicated otherwise or unless the
             Department has determined that the review body will not effectively enforce the
             equal opportunity standards, shall upon receiving a complaint, refer it to the
             review body.

       (b)      The Department shall, within thirty (30) days following the referral of a complaint
                to the review body, obtain reports from the complainant and the review body as
                to the disposition of the complaint. If the complaint has been satisfactorily
                adjusted and there is no indication of failure to apply equal opportunity
                standards, the case shall be closed and the parties appropriately informed.

       (c)      When a complaint has not been resolved by the review body within ninety (90)
                days, or where, despite satisfactorily resolution of the particular complaint by the
                review body, there is evidence that equal opportunity practices of the
                apprenticeship program are not in accordance with this part, the Department
                may conduct such compliance review as found necessary and will take all
                necessary steps to resolve the complaint.

       2. Where no review body exists, the Department may conduct such compliance review
          as found necessary in order to determine the facts of the complaints and obtain
          such other information relating to compliance with these regulations as the
          circumstances warrant.

       3. Sponsors shall provide written notice of the above complaint procedure to all
          applicants for apprenticeship and all apprentices.

       Adjustments in Schedule for Compliance Review or Complaint Processing

       If, in the judgment of the Council, a particular situation warrants and requires special
       processing and either expedited or extended determination, it shall take on steps
       necessary to permit such determination if it finds that no person or party affected by
       such determination will be prejudiced by such special processing.


       SECTION 105

       (a) Within the Facilities Maintenance Department, overtime will be equalized among the
           skilled trades’ employees by occupation and shift.

             (1) Electrical occupation, for the purpose of scheduling overtime assignments, shall
                 be comprised of Journeyman and Apprentice.

             (2) Mechanical occupation, for the purpose of scheduling overtime assignments,
                 shall be comprised of Journeyman and Apprentice.

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                                                                      UAW - 000427
                                                                               JA001158
Case 5:21-cv-02500-JMG Document 25-4 Filed 04/11/22 Page 487 of 557



          (3) Layout Machinist occupation, for the purpose of scheduling overtime
              assignments, shall be comprised of Journeyman and Apprentice.

          (4) Tool Fixture Welder occupation, for the purpose of scheduling overtime
              assignments, shall be comprised of Journeyman and Apprentice.


       (b) Chargeable Hours:

          All hours of overtime offered shall be charged as time worked, whether the
          employee accepts or refuses the overtime. These hours shall be charged towards
          the accumulated hours at year-end. Overtime records will be maintained on a
          continuous basis. On the first Monday in December of each year, the employee in
          each classification by shift who is the lowest in accumulated overtime hours will be
          adjusted to reflect zero (0) hours on the chart. All other employees with the same or
          higher hours than the employee lowest in hours will be adjusted accordingly. In the
          administration of this paragraph, employees who on the first Monday in December of
          each year have been charged with an accumulated number of hours less than the
          employee who is highest in hours will be paid for all hours of difference minus
          twenty-eight (28).

       Example:

        Employee A – 100
        Employee B - 75=25 difference Pay 0
        Employee C - 50=50 difference Pay 22 hrs.
        Employee D - 25=75 difference Pay 47 hrs.

          (c) Overtime: Employees who are on a scheduled forty (40) hours of vacation will
              not be eligible for overtime during that week until their return to work.

             Exception to this rule shall occur under the following conditions:

             If the employee is first on the overtime list for Early Start on the Monday for which
             the employee will return to work or the employee is in line for Early Start on the
             Monday for which the employee will return to work where more than one
             employee is scheduled, a phone call shall be made to offer the employee the
             Early Start.

             If an employee is on prior approved absence or “called in” sick for Thursday or
             Friday when overtime is scheduled for Saturday or Sunday and the employee is
             “in line” to work, the Facilities Department will make a reasonable effort to
             contact the employee by phone to offer the overtime.

          Early Start: The “overtime week” shall be from 07:00 Monday until 06:59 the
          following Monday. Any early start shall be offered to the first employee on the
          overtime list and continuing with the list rotation until the overtime requirement is
          satisfied.

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                                                                   UAW - 000428
                                                                            JA001159
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          Overtime hours shall be recalculated and charged at the conclusion of each week for
          the upcoming week, including Mondays that are holidays. The exception to this
          application is for required “skills” that may be necessary.

          Apprentice Employees: The previous application that no Apprentice employee is
          permitted to work alone has been mutually agreed upon to be rescinded. Apprentice
          employees shall be permitted to work alone; however, necessary skills may be a
          determining factor for the overtime. The need for a necessary skill will be first
          discussed (if possible) with the Committeeperson.

          The above understanding does not supersede letter of understanding 95-1.

          (d) Recognizing the need for flexibility and efficiency in the scheduling of skilled
              trades overtime work assignments, when there is overtime to be worked, it will be
              equalized by classifications and shift. Employees with the least number of hours
              will be given first consideration to overtime in their respective classification.
              Special circumstances such as unique skills, job knowledge, etc., may require
              deviations. This method of offering overtime employs the low Monday low all
              week concept.

          (e) Overtime records will be maintained for each classification by shift and they will
              be available for review by the Committeeperson.

          (f) Except as modified herein, the provisions of Article 13 of the Macungie Local
              Agreement will apply to skilled trades employees.

          (g) Employees who transfer shift to shift or otherwise leave a group for thirty (30)
              days or more will enter the group at average hours.

          (h) New employees entering skilled trades will begin their overtime with the highest
              hours for the group they enter.


       SECTION 107

       All provisions of the Master and Local Shop Agreement presently in effect which are not
       superseded by this Skilled Trades Agreement shall apply.

       Addendum No. 1

       During the discussions which gave rise to the Macungie Skilled Trades Agreement, the
       parties agreed that the non-skilled work performed by employees in the Service
       Mechanic classification will be assigned to the General Maintenance classification as
       listed below:

       1. The collection/disposal of: Trash dumpsters, empty paint cans, cardboard, used oil
          and anti-freeze.


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                                                                  UAW - 000429
                                                                          JA001160
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       2. Stocking of janitorial supplies in all restroom facilities.

       3. Cleaning of conveyor pits and the oiling of the conveyors.

       4. Cleaning of line dollies and re-greasing of the dolly wheels.

       5. Lawn maintenance.

       6. All functions associated with the daily cleaning of spray booths and ovens, i.e.,
          cleaning of the walls, ceilings, lights, grates, oiling of the tracts, coating on floors and
          sludge hoppers and filter changes. These functions are examples of the work to be
          performed but do not represent an all-inclusive list.

       7. Changing paper in paint vaults, mixing rooms, Dyno, etc.

       8. Stripping paint off floors of spray booths.

       9. Clean tops of booths and ovens.
       10. Vac air supply plenums of spray booths.

       11. Scrapping of spray booth exhaust fans and exhaust stack cleaning.

       12. Clean and re-oil ovens.

       13. Clean out solvent buggies as required.

       14. Stripping of spray booths - Prep for booth coating (Filmite).

       15. Spraying of Filmite (Coverage by Skills. i.e., Equipment - Repairs).

       16. Oiling of lines.

       17. Delivery of bottled water and the cleaning of bottled water coolers.

       18. Clean and maintain eye wash stations, fire extinguisher checks, booth overspray
           check sheets, replenish skill kits, spray booth chemicals, and centrifuge operation.

       It is agreed as methods, technology or operating conditions change, the parties will
       meet to discuss the impact of transferring functions that no longer require special skills
       to general maintenance.


       Note: Any jobs not included on this list will be performed by the classification previously
             performing the work.


       Addendum No. 2 - Snow Removal Procedures

       1. All snow and ice will be removed by the skilled trades group Monday through Friday.

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                                                     74
                                                                        UAW - 000430
                                                                               JA001161
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          For snow removal on Saturday, Sunday or holidays refer to Paragraph 5 of this
          addendum.

       2. In the event a snow emergency exists Monday through Friday, and there is a
          shortage of skilled trades people to clear snow on the appropriate affected shift, the
          following will apply. All available mechanics will be canvassed from the previous
          shift. If there are not enough mechanics who accept, the workforce will be
          supplemented by Facilities employees as they report for work consistent with item 5
          B of this addendum.

       3. If the Company decides in good faith that the manpower and equipment is not
          adequate, the Company shall contact the proper Union representative and explain
          the reasons for the need for outside contractor assistance in the removal of snow
          and ice.

       4. In the absence of a third shift in the Facilities Department, should any snow removal
          work be necessary in the hours between 11:00 P.M. and 7:00 A.M. during the
          regular work week, second shift employees will be called in up to 3:00 A.M. and day
          shift employees will be called in starting at 3:00 A.M. The appropriate overtime list
          will be utilized. Should either shift's overtime list be exhausted, the other shift may be
          called in to supplement the workforce.The following procedures for snow and ice
          removal to cover Saturdays, Sundays and holidays were agreed to between the
          parties to the Macungie Assembly Plant Skilled Trades Agreement.

       A. Effective November 1st of each year, two (2) lists will be established for employees
          desirous of performing Saturday, Sunday and holiday snow and ice removal.

          *   One list will be comprised of employees who are actively working in the skilled
              trades classifications of Mechanical-Journeyman and Mechanical Apprentice.
              Employees will be placed on the list by their respective skilled trades date of
              entry.

          *   A second list will be comprised of employees who are actively working in the
              general maintenance classification. Employees will be placed on the list by their
              respective seniority dates.

          *   The two (2) lists will contain the shift and seniority date of each employee on the
              respective lists and will be updated as required. As employees enter their
              respective classification, e.g., general maintenance, mechanical skilled trades,
              they will be canvassed as their desire to be placed on the snow and ice removal
              list. Their names will be added to the bottom of the appropriate list. As
              employees leave their respective group, their names will be deleted from the
              appropriate list.

       B. Skilled Trades employees will:

          *   Operate major snow removal equipment
          *   Shovel with the operation of equipment, as required.


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                                                                     UAW - 000431
                                                                             JA001162
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          General Maintenance employees will perform:

          *   Snow Shoveling
          *   Operation of small snow plows (lawn tractor type) and snow blowers
          *   Spreading salt

       C. When utilizing the snow and ice removal list, the Company will call the first
          employee on the list and continue calling employees on the list in the order in which
          their names appear until the required manpower is obtained. Committeeperson
          representation shall be on the basis of five (5) or more employees working from the
          proper district. The Union President and Chairperson of the Bargaining Committee
          may also represent their constituents in accordance with the provisions of Article 13,
          Section 38 (c) of the Local Agreement. Failure to contact any of these Union
          representatives shall not result in a grievance; however, the Company shall make
          every reasonable effort to contact, in good faith, proper Union representatives.

       D. It will be the responsibility of the employee to inform the Company of any changes in
          address and telephone numbers.

       The Company will attempt to contact employees from this list. Failure to contact any of these
       employees shall not result in a grievance; however, the Company shall make every reasonable
       effort to contact, in good faith, proper employees. In attempting to contact the proper employee, if
       the Company's telephone call is answered by an answering machine, a message will be left
       stating the time of the call, the name and phone number of the calling party and a request for the
       employee to return the call within thirty minutes. If the Company does not receive a return call
       within the allotted time, the record will reflect the employee’s unavailability, and the Company will
       proceed to contact the next employee on the list.

       E. If the Company decides in good faith that the manpower and equipment is not
          adequate, the Company shall contact the Committeeperson and explain the reasons
          for the need for outside contractor assistance in the removal of snow and ice.

       F. The snow and ice removal list will be available for inspection by the proper Union
          representatives.

       G. Upon reporting to work, the Committeeperson or Alternate Committeeperson will be
          furnished a list of those employees contacted without response.

       H. The Saturday, Sunday, Holiday list for snow removal will be in effect from 7:00 A.M.
          Saturday until 5:00 A.M. Monday, with the same hours prevailing for holidays.

       I. If during the hours when snow and ice removal are in effect and the need for
          removal of snow and ice is necessary for the safety of employees entering or exiting
          the plant, one (1) facility employee, at work, may be assigned to perform snow and
          ice removal, consistent with “Item 5 B.” Exception, a skilled trades mechanic may
          spread salt in conjunction with plowing requirements (salt spreader) and also in the
          absence of a G.M.

          In the application of this procedure, time so spent shall not exceed one (1) hour in

                                                   76
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                                                                    UAW - 000432
                                                                            JA001163
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          duration.

          If more time is required for the removal of snow and ice, or when the outside
          contractor is requested for the removal of snow, consistent with “Item F,” the snow
          and ice removal lists will be activated.

       J. In resolution of Grievance 50189, the Parties have agreed to the following. “It is
          now agreed that where the contractors plow snow with an approximate 8 foot or
          larger plow/blade, they will be responsible for salting, including salting those areas if
          not plowed. The Bargaining Unit will plow snow and salt the center aisles in the
          areas contained in the attached diagram in final repair where vehicles are parked as
          detailed in the attached diagram, next to the scale building and against the building.
          Management will make the determination as to when snow plowing, shoveling, snow
          blowing or salting due to ice or other inclement weather concerns occur or are
          predicted. If the outside Contractor is performing plowing or salting, Management will
          have the appropriate contractual classification performing the work in the areas they
          are responsible.” Refer to diagram on page 113.
       Addendum No. 3

       During the course of these negotiations, the parties agreed to continue specific
       practices performed by employees in the Facilities Maintenance Department. These
       assignments are listed below:

       A. All spray booths and stacks will be cleaned, filters replaced and repaired, when
          necessary by the Facilities group. When the assigned work is completed, both the
          employee and the Supervisor shall inspect the work performed and, if satisfactory,
          both the employee and the Supervisor shall sign the inspection form.

       B. All cranes and hoists shall be inspected on a regular basis and, when necessary,
          repairs will be made by the Facilities group. When the assigned work is completed,
          both the employee and the Supervisor shall inspect the work performed and, if
          satisfactory, both the employee and the Supervisor shall sign the inspection form.




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                                                                    UAW - 000433
                                                                             JA001164
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       C. Industrial truck repair for equipment assigned to the Macungie Plant. This work,
          however, excludes 1) State inspections, 2) Front-end alignments and 3) Major body
          work and painting.

       D. Electrical repair and maintenance of welding machines.

       E. Fixture building as historically assigned will be performed by the Layout Machinist
          classification.

       F. Pinning of conveyor lines will be done by the appropriate skilled trades classification
          with the exception of work connected with cleaning spray booths. (For purposes of
          clarification, Production Techs, Production Flex, etc. on the Cab & Sleeper Lines are
          allowed to pin and unpin on those conveyor lines provided the pin is not jammed or
          broken, which requires the appropriate skilled trades classification to remove or
          repair. On the Chassis Lines, the appropriate skilled trades classification will pin and
          unpin the chassis buggies/dollies. In the Paint Spray booths, the Production Techs,
          Production Flex, etc. are allowed to pin and unpin prior to the actual spray booth and
          oven area. Moves required in the actual spray booth and oven areas will be
          performed by the appropriate skilled trades classification in regards to pinning or
          removing and repairing pins.

       G. Clean-up of spills in excess of five (5) gallons will be done by the appropriate skilled
          trades classification. (Note: All classifications to be given training with hazardous
          materials and liquids.)

       H. All projects will be considered block of work, i.e., Spur Line Area Repaint – prepped,
          cleaned and painted – done by the appropriate skilled trades classification.
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                                                                    UAW - 000434
                                                 78
                                                                            JA001165
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       IN WITNESS WHEREOF, the parties have executed this MACUNGIE OPERATIONS
       SUPPLEMENTAL AGREEMENT THIS 25nd day of October, 2019:




       FOR LOCAL 677                               FOR THE COMPANY




       Karl Klaus                                  John Ptolemy
       Regional Rep.                               Manager, Labor Relations



       Walt Smith                                  Timothy Newman
       President                                   Director of Human Resources



       Kevin Fronheiser
       Shop Chairperson


       Louis Kurtz
       Committeeperson



       Michael Kalusky
       Committeeperson

       ____________________
       Rusty Jones
       Committeeperson




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                                                       UAW - 000435
                                                               JA001166
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       Letter #1


       Reissued: October 25, 2019
       (Original date 2/20/78)

       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, Pennsylvania 18103

       Re: Temporary Layoff Interpretation
           Article 7, Section 11

       Dear Mr. Smith:

       After several discussions and meetings between the Company and the Union, the
       following has been agreed to when applying the contract language on Temporary
       Layoffs:

       1. When an area is affected by a temporary layoff, it will be management's decision as
          to which shift would be affected by the layoff. This temporary layoff would be based
          on department, shift and classification.

       2. Once a temporary layoff request has been signed, it will be valid on any job that the
          employee might transfer to, and it is not restricted solely to the job the employee
          was on at the time he/she completed the temporary layoff request form.

       3. It is possible for a temporary layoff to exist at the same time the Division is involved
          in a general layoff.

       4. When employees exercise their seniority under Article 9 and they are on temporary
          layoff, they will not be moved until the first Monday after their return to work; if the
          employees return to work on Monday, they will be moved to the appropriate shift
          that day.

       5. If any employee is out on temporary layoff and is in the group on a temporary basis,
          and the temporary condition no longer exists due to the return of the employee they
          were replacing, that employee would be recalled from the temporary layoff and will
          exercise their seniority in accordance with the Contract. The employee that returns
          will then be subject to the conditions of this temporary layoff.

       6. Any employee not at work for any reason other than disciplinary suspension will be
          allowed to sign up only on the first day that the employee returns to work.




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                                                                    UAW - 000436
                                                                            JA001167
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       7. If a person is out on any type of absence, that employee will be permitted to change
          their election by letter, provided the letter is received prior to the date specified in
          the Contract.

       8. Employees out on temporary layoff will not be permitted to bid.

       9. In any classification, department and shift where there is a temporary layoff, and
          should an employee wish to bump into that area, that employee will be permitted to
          bump providing that employee has seniority over one of the employees presently
          working. It is understood that the employee bumping into the area will not be placed
          in temporary layoff regardless of whether or not that employee elected temporary
          layoff, but will displace the least senior employee working.

       10. The employee being displaced under Item #9 above will then be placed on
           temporary layoff providing that employee has seniority over another employee on
           temporary layoff. If the employee being bumped under #9 does not have seniority
           over another employee on temporary layoff, that employee bumped will then
           exercise their seniority in accordance with the Contract.

       11. The least senior employee on temporary layoff will be the employee to return when
           affected by #10 above and will exercise their seniority in accordance with the
           Contract.

       12. The liability of the Company with respect to #11 above will be limited to that
           presently incurred by the recall of an employee on any layoff.

       13. The Company and Union will meet in order to resolve any problems that occur in
           connection with temporary layoff.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations




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                                                  81
                                                                    UAW - 000437
                                                                            JA001168
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       Letter #2


       Reissued: October 25, 2019
       (Original date 10/29/82)

       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, Pennsylvania 18103

       Dear Mr. Smith:

       Re:   Standing Committees (U.A.W. 677)

       In the 1984 contract negotiations, the Company and the Union discussed the release of
       employees for union business on "Standing Committees". The Company agreed to
       continue the present practices in relation to these releases within the Macungie
       Operations. The Union agreed to give timely notice, by telephone or letter, in requesting
       the release.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations




                                                82
                                                 82
                                                                  UAW - 000438
                                                                          JA001169
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       Letter #3

       Reissued: October 25, 2019
       Revised: October 2, 2012
       (Original date 7/20/98)

       Mr. Walt Smith, President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, Pennsylvania 18103

       Dear Mr. Smith:

       Re: Work Content Assigned to the Macungie Operations

       As discussed during the course of the 1998 Local Labor negotiations, several items of
       the previous letter #3 were incorporated into the Master Labor Agreement or removed
       from the labor agreements. However, the following items remain intact as written below:

       1. During the term of this Agreement, all Mack models and their replacements that are
          currently in regular production at the Macungie Plant will, for the life of the new 2012
          Local Wage & Seniority Agreement, continue to be exclusively produced in the
          Macungie Facility for the North American Market, until Macungie reaches full
          capacity. It is recognized by the Parties that the Macungie facility has current
          bottlenecks in both Cab Paint and Receiving that limit the capacity to manufacture
          vehicles. If Macungie does not have capacity to produce the required vehicle
          volumes for the North American Market, those excess units will be produced for the
          North American Market at the Volvo New River Valley Plant. If the Macungie Plant
          falls below capacity and work is at the Volvo New River Valley Plant that work would
          be returned to bring the Macungie Plant back to capacity rate. Prior to moving any
          work to the NRV Facility, the Company will meet and discuss with the local Union to
          confirm that the Macungie Facility is fully utilized to its capacity. If the Volvo New
          River Valley Plant is at capacity, the Local Parties will verify the capacity issues and
          have discussions with the International Union UAW to resolve, but it is agreed that
          there will not be a disruption in the delivery of Mack Trucks Brand products to its
          customers. This Agreement does not interfere with the production of the Mack
          Trucks Brand at any facility or any market outside of the North American Market for
          sale in those global regions outside of the North American Market.

       2. The Company further commits to the assignment of the assembly of Glider Kits on
          models currently produced, to the Macungie Division as of the effective date for the
          productivity improvements referenced in accordance with Article 18, Section 19 of
          the 1987 Agreement for the North American Market.

       Sincerely,

       John Ptolemy
       Manager, Labor Relations

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                                                  83
                                                                    UAW - 000439
                                                                            JA001170
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       Letter #4


       Reissued: October 25, 2019
       (Original date 11/4/92)



       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Foot Protection

       Dear Mr. Smith:

       Management will examine the current wall-to-wall foot protection requirements at the
       Macungie Assembly Plant. The results of this effort will be reviewed by, and input
       requested from, the Local Union.

       In areas of the Macungie Assembly Plant where safety considerations require
       employees to wear foot protection, Management will abide by the provisions of Article
       21, Sections 74 (a) and (d) of the Master Agreement dated October 2, 2001.

       Individual difficulties associated with personal protective equipment may be raised
       directly with the Health and Safety Supervisor or this office for evaluation and
       correction.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations




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                                                                UAW - 000440
                                                                       JA001171
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       Letter #5


       Reissued: October 25, 2019
       (Original date 11/4/92)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Additional Relief Time

       Dear Mr. Smith:

       During the 1992 Macungie Local Shop negotiations, the parties discussed the Union's
       concern for additional relief time. The parties have agreed to delete the five minute
       wash up time and add eight minutes to the personal relief time, thereby providing
       thirteen minutes to be used to extend the lunch period from seventeen minutes to thirty
       minutes for those affected employees. The parties further agreed that the miscellaneous
       allowance outlined in Article 18, Section 67 of the Local Supplemental Agreement would
       be reduced from five percent (5%) to two and one-half percent
       (2 1/2%).

       Sincerely,

       John Ptolemy
       Manager, Labor Relations




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                                                                 UAW - 000441
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       Letter #6


       Reissued: October 25, 2019
       (Original date 11/4/92)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Production Standards

       Dear Mr. Smith

       During these negotiations, the parties discussed several matters relating to Production
       Standards. Management expressed interest in removing Letter #91-6, “Cycle Time”
       under Production Standards. The Union voiced its concern about attempts to make up
       production down time, accumulated or otherwise, and further, expressed an interest in
       achieving an understanding that provides an alternative to Letter #91-6.

       As a result, Management affirmed its commitment to not use standard unit starting
       positions or variable starting positions for the purpose of compensating for units which
       may be lost due to down time or the “formula” by which placements are currently
       developed to make up or increase scheduled production to compensate for units which
       may be lost due to down time.

       This subject will be reviewed with line Management to further ensure its understanding.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations




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                                                                  UAW - 000442
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Case 5:21-cv-02500-JMG Document 25-4 Filed 04/11/22 Page 502 of 557


       Letter #7


       Reissued: October 25, 2019
       (Original date 11/4/92)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Elimination of Steward Districts

       Dear Mr. Smith:

       In resolution of one of the most difficult issues before the parties in these 1992 Local
       Supplemental Agreement negotiations, the following was agreed to:

       All present steward districts will continue to function in the same businesslike manner as
       they have in the past until they serve out their current terms of office through July 1,
       1995 at which time steward districts will be eliminated. During this transitional period,
       language from the 1987 Agreement governing stewards will continue until the July 1,
       1995 date.

       The number of full time Committeeperson positions is based upon the specific history of
       the Macungie Local and will not be cited by either party for any reason in any other
       Local, unit or location.

       It is recognized that these modifications of our representation provisions will help move
       Mack toward being more equally competitive with the industry, thereby aiding in Macks’
       drive for profitability and the accompanying job security which we all desire.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations




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                                                                     UAW - 000443
                                                                             JA001174
Case 5:21-cv-02500-JMG Document 25-4 Filed 04/11/22 Page 503 of 557



       Letter #8


       Reissued: October 25, 2019
       (Original date 9/12/94)

       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re:   Problem Resolution

       Dear Mr. Smith:

       The Company and Union agree that the most effective approach to problem resolution
       in the workplace is to have problems resolved at the point of origin. An issue that has
       long inhibited first line supervisors and UAW representatives from resolving problems as
       they occur in their respective areas is the concern of establishing a “practice.” In order
       to eliminate this concern and foster an improved problem solving atmosphere, the
       parties agree that:

       • Supervisors and the appropriate Union representatives working with them should
         openly discuss problems as they surface.

       • The parties should resolve the issue in a manner that is mutually acceptable to them
         based on the work factors that exist at that time.

       • The agreed upon solution shall not establish a practice or precedent for handling
         future occurrences of the same problem.

       • If the same problem should reoccur, discussions will again take place for the best
         possible solution.

       • If the parties agree to establish a practice, it shall be set forth in writing and signed
         by the Chairperson, Local 677 and the Human Resources Manager - Macungie.
       • The Company and Union believe that by reaching this agreement, the effectiveness
         of problem solving at the first line level will be substantially enhanced, resulting in a
         more positive day-to-day working relationship.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations


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                                                                    UAW - 000444
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Case 5:21-cv-02500-JMG Document 25-4 Filed 04/11/22 Page 504 of 557


       Letter #9


       Reissued: October 25, 2019
       (Original date 3/14/94)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re:    Scheduled Overtime - Short-Term Volume
              Increases

       Dear Mr. Smith:

       During the past several months, the Company and Union have had numerous
       discussions concerning the utilization of scheduled overtime as provided for in Article
       13, Section 37 of the Macungie Local Supplemental Agreement.

       The parties have had an honest disagreement over what short term volume increases
       means as stated in Section 37 (5) of the language. In order to clarify this issue and
       avoid any future misunderstanding concerning the use of scheduled overtime, the
       following is agreed to:

       ∗ The eighty (80) hours of scheduled overtime cannot be used at the sole discretion of
         the Company for normal production requirements but used only for short term
         volume increase.

       ∗ While benefit costs associated with the recall of employees will be considered in
         making business decisions, they will not be used as a reason for working scheduled
         overtime.

       ∗ As rates change and scheduled overtime may be required, informational meetings
         will be held to review the data with the union.

       ∗ Scheduled overtime will be worked consistent with the provisions of the contract
         when:

             − Order intake increases above the average order intake requiring the build rate
               to be increased, and

             − The increase is based upon a need to meet customer delivery dates, and




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            − Where the orders require a reactionary response from Mack Trucks which
              means the delivery of the trucks requires they be built and delivered within up
              to a consecutive three (3) month time period immediately following normal
              processing time requirements, i.e. engineering and material lead times, and

            − Where failure to meet the customer delivery dates could result in the customer
              not placing the order with Mack Trucks, and

            − The overtime can be scheduled during a period lasting not more than three (3)
              consecutive months at a time, and

            − The overtime is needed to prevent disruption in the plant associated with a
              short term (in this case, three (3) consecutive months or less) recall of
              employees.

       If during the period of scheduled overtime the projected rate changes, scheduled
       overtime will be affected according to the examples on record as per the original short-
       term volume increase/scheduled overtime letter dated March 14, 1994.

       Sincerely,


       John Ptolemy Manager,
       Labor Relations




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                                                                  UAW - 000446
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Case 5:21-cv-02500-JMG Document 25-4 Filed 04/11/22 Page 506 of 557


       Letter #10

       Reissued: October 25, 2019
       Revised: October 2, 2012
       (Original date 10/10/96)

       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re:   Macungie Customer Adaptation Center

       Dear Mr. Smith:

       Regarding the Customer Adaptation Centers (CAC) at both the Macungie Operations and
       Allentown Mack Customer Center (MCC), the Company and the Union discussed the
       importance of both centers to the future of the operation and the Macungie employees.
       The CAC represents a substantial investment in not only physical plant facilities, but also
       Macungie employees who will benefit from additional job opportunities and training. This
       is an opportunity for the Macungie Operations to go into a new line of business, increase
       new vehicle orders, and in doing so, provide additional job security. However, this new
       opportunity requires flexibility and competitiveness in operations. With this thought in
       mind, the Company and the Union have agreed to the following points of understanding
       for the operation of this new business venture:

       • The CAC will be staffed with 2 job classifications: CAC Technician and Combination
         Welder/CAC Technician. The CAC Technician will assist production line Technicians
         in the installation of certain CAC options or may install specific unique options not in
         the production manning sheets. All delivery and stocking of areas/bins will be done by
         Material Technicians. The Combination Welder/CAC Technician will be a certified
         welder and will perform welding operations as required by the customer options. It is
         understood that only Material Technicians and certain skilled tradesmen can operate
         forklifts in the Macungie facility. However, some circumstances may dictate movement
         of stock or parts directly related to the CAC as currently performed by Engineering and
         Plant Layout.

       • These jobs will be posted as per Article 8. Depending upon the estimated demand for
         CAC services at the time of the job posting, the Company will post for and train
         additional employees. The need to fill future vacation vacancies will be discussed with
         the Union as they arise. Due to the need for employees with strong mechanical skills, a
         minimum of 5 years of Mack experience in one or a combination of any of the following
         areas will be required: Final Mechanic, repair positions on the assembly lines, or
         assembly on any of the assembly lines, or appropriate related and proven experience.
         Both parties will review each bid application and mutually agree to the bidder’s
          qualifications. Additional training will be provided for future employees on an ongoing basis.



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       • Employees who work in the CAC will receive approximately 5-6 weeks of training in
         such areas as: Health and safety, demerit audits, electrical operations, blueprint
         reading, Commercial Drivers License (CDL), Pre-Delivery Inspection (PDI), as well as
         team building skills. Since a CDL will be required, the Company will pay for the costs
         for CAC homespot employees associated with obtaining a CDL and its renewal. CAC
         Technicians will be subject to all Federal, state, and local regulations, including
         mandated alcohol and drug testing. Welding certification training will be provided to
         the Combination Welder/CAC Technician.

       • Employees will be provided with the necessary tools.

       • Layout work to be performed by the CAC Technicians will include frame layout. Any
         fabrication or modification type layout work will be done by the skilled trades. Work
         other than frame layout will be discussed between the parties and mutually agreed to.

       • All provisions of the Master and Local Shop Agreement presently in effect which are
         not superseded by this agreement shall apply unless otherwise mutually agreed to
         between the Parties. The provisions of the agreements previously mentioned also
         apply to those bargaining unit employees assigned to work in the CAC at the MCC in
         Allentown.

       • For openings or new positions at either Macungie or the MCC, employees will be
         canvassed by seniority by the Committeeperson. An employee accepting the canvass
         to either the Macungie or MCC CAC will work at that location. If an employee is
         required to go and work at the other CAC location during a workday in progress
         Management will provide the transportation to and back from the location. If an
         employee is needed for a full day or more to work at the other CAC location, they will
         report at that location for their respective shift to perform the work required.
         Movement of employees will be the result of development needs, training advisory
         capacity/expertise or workload. Prior to movement, Management will have a
         discussion and advise the Committeeperson of the move and the reasons behind the
         move. If the Union has concerns in regards to movement, the Chairman of the Shop
         Committee will contact the HR Director to resolve the issue.

       The intent of this agreement is not to rearrange the work responsibilities of the existing
       classifications but to allow additional work to be insourced in a cost-efficient manner. Any
       work responsibilities not included in this written agreement will be discussed for mutual
       agreement prior to implementation.

       Sincerely,

       John Ptolemy
       Manager, Labor Relations




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                                                                   UAW - 000448
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       Letter #11


       Reissued: October 25, 2019
       (Original date 5/6/95)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

         Re:    Daily Absenteeism Replacement Procedure for Production Technician
                Layout

       Dear Mr. Smith:

       The Company and the Union discussed the concerns of the parties regarding the
       Production Technician Layout classification. The following procedure is agreed to for daily
       absenteeism replacement of a Production Technician Layout employee up to three
       (3) consecutive work days.

       • The Company will post a temporary job bid for the purpose of attaining a list of
         employees interested in learning the required skills for the classification of
         Production Technician Layout.

       • All bidders will be notified of the intent to utilize people from the list as replacements
         when required.

       • As a result of the posting, the Company and the Union will agree to a reasonable
         number of people, a maximum of four (4), to train for the position.

       • Employees will be selected for training in seniority order.

       • The amount of training necessary will be determined by management as a guideline
         and adjusted accordingly based on the employee’s ability.

       • While the employees are in training, they will be replaced and returned to the regular
         position upon completion of the training.

       • When a Production Technician Layout is needed, the employees on the list will be
         rotated starting with the most senior employee on the list.

       • For the purpose of overtime, a supplemental overtime list will be established with the
         names of the daily absenteeism replacements for the Production Technician Layout




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          classification. When the regular Production Technician Layout employee refuses
          unscheduled overtime or is absent from work, this list will be utilized. An employee
          on this list who has been offered overtime in his/her regular job assignment and
          either refused or accepted work will not be canvassed in the Production Technician
          Layout classification. However, if no one from the supplemental overtime list is so
          available, the least senior employee on the list who has accepted overtime in his/her
          own classification will be required to work overtime in the Production Technician
          Layout classification. The overtime record will be marked accordingly and the next
          employee on the list will be canvassed. This supplemental overtime list will be used
          after all homespots have been canvassed. If the homespot employee accepts the
          overtime, he/she will return to his /her job classification and will remain in the same
          position on that overtime list.

       • If this procedure is used when an employee is out of his/her homespot in the
         Production Technician Layout classification, the most senior homespot employee
         will be paid the difference in monies between his/her current classification and the
         Production Technician Layout classification.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations




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                                                                   UAW - 000450
                                                                           JA001181
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       Letter #12

       Reissued: October 25, 2019
       Revised: October 2, 2012
       (Original date 12/22/94)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Journeyman Levels

       Dear Mr. Smith:

       While recognizing that an appropriate minimum number of journeymen must be
       assigned by classification and shift within the Facilities Department, both parties
       understand that these minimum levels do not apply to the annual vacation shutdown, as
       job assignments during that period are made based upon the skill level of those
       employees scheduled to work.

       When there is only one (1) skilled trades employee assigned to a shift, a journeyman
       will be required. The Company also agrees that when a journeyman opening exists to
       maintain the minimum journeymen levels, it will canvass all employees within the
       Apprentice skilled trades classification who are eligible to be upgraded to journeymen
       within six (6) months of such opening. This canvass will be done by date of entry. If no
       one internal to the group accepts the opening or is otherwise qualified, the job will be
       posted. Additionally, the Company also agreed that, when a journeyman does not
       apply for such a job posting, it will review the amount of time remaining until the
       otherwise qualified most senior Apprentice applicant closest to being upgraded to
       journeyman would reach journeyman status. This review will be done in consideration of
       the amount of time necessary to hire and train a new employee. After such review and
       discussion with the Union, the Company may then permit such employee to be assigned
       to the job.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations




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                                                                  UAW - 000451
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       Letter #13


       Reissued: October 25, 2019
       (Original date 7/22/96)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Facilities Department - Vacation Shutdown Manpower

       Dear Mr. Smith:

       This letter is to confirm our conversation with Tim Litzenberger during which the
       Company committed to meet no later than May 15 of each year to review the Facilities
       Department vacation shutdown manpower needs.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations




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                                                               UAW - 000452
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       Letter #14


       Reissued: October 25, 2019
       (Original date 7/20/98)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Hunting Week

       Dear Mr. Smith:

       In order to accommodate the Macungie Operations employees’ desires to take time off
       from work during the Buck Hunting Week and so that the Company can develop a
       production plan to meet customer demand that insures predictability of attendance and
       the ability to get the job done with the least disruption to production and quality, the
       following will apply:

       • The Company and the Union will issue a joint letter detailing the guidelines for taking
         time off from work during the Buck Hunting week. Subsequently, a joint
         Union/Company canvass will be completed no less than 60 days before the hunting
         week to determine who will and will not be at work. The Operations production
         schedule will then be developed based upon the commitments of the employees
         during the canvass.

       • There will not be any limit on the number of employees who may take time off from
         work during the Buck Hunting week. However, employees will only be permitted to
         take off from work for days that they are taking paid casual vacation or a paid full
         week of vacation. Employees who are not eligible for casual vacation will be
         permitted to take time off without pay.

       • No one will be permitted to take time off unless he/she has scheduled the time off in
         accordance with the joint canvass. Any employee who designates time off for work
         must remain out of work for the days indicated.




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       • Flexibility in job assignments during this period of high absenteeism will be permitted
         in order to insure orderly, quality production. As much as possible, employees
         working on the assembly lines will be placed on jobs based upon job knowledge.

       • As necessary, employees from the Flex Pool or the least senior employees in
         Department 223 may be assigned to the material technician and/or the General
         Maintenance classification.

       • To ensure that employees are properly trained for the hunting week, the Company
         and the Union will jointly develop training plans. Training as deemed necessary to
         insure that the production schedule is met (i.e.: lift truck training for material
         technicians, critical jobs in production) will be permitted without having to follow
         normal overtime rotation canvassing procedures. Any employee who works overtime
         out of rotation for training purposes will take a miss on his/her next overtime turn.

       • Although our goal is not to lose placements, any placements lost will be made up as
         necessary as per Article 13.

       • Employees who have scheduled paid time off for days during the hunting week and
         subsequent to the scheduling have personal emergencies which result in the need
         to utilize the days reserved for hunting will be provided special consideration for
         taking unpaid days off during the hunting week.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations




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                                                                  UAW - 000454
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       Letter #15


       Reissued: October 25, 2019
       (Original date 7/20/98)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Working Trained Employees on Overtime

       Dear Mr. Smith:

       During the 1998 Local contract negotiations, the parties discussed the concept of
       working employees on overtime out of line of rotation based on the required job
       knowledge for the overtime work. The parties agreed that the appropriate union
       representative would meet with management, evaluate the facts and make a decision
       based upon the business need presented. When an agreement is reached, the
       employee scheduled for the out-of-turn rotation will receive a miss on his/her next
       overtime turn. Such agreements will not result in any other employee(s) on the overtime
       list being compensated as a result of this agreement.

       Sincerely,



       John Ptolemy

       Manager, Labor Relations




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                                                                 UAW - 000455
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       Letter #16


       Reissued: October 25, 2019
       (Original date 7/20/98)

       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

         Re:    Dyno Tech - Special Overtime List

       Dear Mr. Smith:

       During the course of the 1998 Local Labor Negotiations, the Company and the Union
       agreed to create a special rotational overtime list as follows, for those employees in the
       Final Department who perform the dyno function:

       • This list shall be made up of the current employees who perform the dyno function
         plus additional trained employees and will be utilized whenever it is necessary to
         work overtime in the dyno function.

       • These additional trained employees will be determined by an internal Final
         Department canvass with all interested employees receiving the training.

       • An employee who works overtime from this special rotational overtime list will
         receive a miss for his/her next turn on the regular final technician overtime list.

       • If not enough employees on the special overtime list accept overtime, the least
         senior qualified employee(s) who accepted to work in the Final Department will work
         the overtime in the dyno function.

       Sincerely,

       John Ptolemy
       Manager, Labor Relations




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       Letter #17


       Reissued: October 25, 2019
       (Original date 7/20/98)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re:    Backup Training for the Material Technician in the Facilities Department

       Dear Mr. Smith:

       Training for employees to create a backup training list for use when the Material
       Technician in the Facilities Department is absent will be established as follows:

       1. Ongoing training will be provided for the two most senior day shift employees on a
          newly established Material Technician Facilities backup training list. A plant-wide
          posting of one week will be conducted with the two most senior employees being
          trained for this Material Technician Facilities replacement. An initial training period
          of 80 hours will be given to each of the two individuals. Training progress will be
          evaluated at this time for efficiency and progress. The list will be rotated so that each
          employee will receive eight hours of training once a month. A schedule for the
          training will be established on an ongoing basis.

       2. Backup Material Technician Facilities replacements for absenteeism will be back
          filled by the flex group. When such absence occurs, assignment to the classification
          will coincide with the above-referenced training schedule. Whoever is assigned for
          training during the week of the absence(s) will be assigned to the Material
          Technician Facilities for any absenteeism that occurs during that same week. Such
          assignment will be in lieu of training for that given week. The employee to be
          temporarily assigned to the Material Technician Facilities will be released from
          his/her regular job assignment immediately upon request.

       3. Any time an employee is assigned to the Material Technician Facilities, excluding
          those time periods that an employee has been assigned by bid, the employee will
          receive the rate of pay of the job classification from which he/she was assigned or
          the higher rate of pay. This includes assignments for the weekly training periods and
          daily absentee replacement(s) in accordance with the flex pool agreement.

       4. For the purpose of overtime, a separate overtime list will be established with the
          names of the two most senior qualified Material Technician Facilities employees.



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           When the regular Material Technician Facilities refuses voluntary overtime, this list
           will be utilized. An employee on this list who has been offered overtime in his/her
           regular job assignment and refused such overtime shall not accept to work overtime
           as a Material Technician in Facilities. The overtime record will be marked
           accordingly and the next employee on the list will be canvassed. At no time will any
           employee on the Material Technician Facilities list be forced to accept overtime as a
           Material Technician in the Facilities Department.

       5. If there is not enough work to perform when an employee is temporarily assigned to
          the classification, the temporarily assigned employee will be returned to his/her
          regular job classification providing he/she is there for a minimum of 4 hours, except
          when it is necessary to do GRRs and POs.

       6. Both parties agree to meet and resolve any differences that arise during the
          implementation of this procedure.


           MATERIAL TECHNICIAN FACILITIES REQUIREMENTS AND RESPONSIBILITIES

       •   Self-starter
       •   Good communications skills
       •   Ability to work in an unsupervised atmosphere
       •   Basic accounting procedures (inventory, receipts, etc.)
       •   Computer skills. Windows and mouse functions.
       •   Typing skills
       •    Receive emergency repair calls from shop and advise the appropriate supervisor
       •   Order and receive parts using EBD and iMaint
       •   Create requisitions for purchases including yearly blanket requisitions and purchasing
           card purchases not entered in EBD
               • Maintain log of requisition numbers. (Copy to be given to accounting at the end
                   of each month, along with a copy of each requisition.)
       •   Call vendors for pricing
       •   Contact buyers for PO numbers for rush orders
       •   Follow-up on orders with vendors
       •   Create ATS’s for all material being returned to vendors
       •   Do GRR’s for accounts payable as requested.
       •   Purge exception report
       •   Maintain a perpetual inventory of parts
       •   Create a reorder report (d-Base VI - PC)
       •   Send price inquiries
       •   Order parts. Next day rush orders with special parts and deliver to supervisor
       •   Receive parts (GRR)
       •   Place parts in stock
       •   Record activity into inventory
       •   Maintain requisition files (old/new)


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                                                                   UAW - 000458
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       • Maintain an accurate inventory
       • Reconcile purchasing card statement

       The above items are not intended to be all inclusive.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations




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                                                               UAW - 000459
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       Letter #18


       Revised: October 25, 2019
       (Original date 7/20/98)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Voluntary Layoff in Skilled Trades

       Dear Mr. Smith:

       During the 1998 contract negotiations discussions were held to clarify the voluntary
       layoff procedure as it pertains to the skilled trades. It was agreed that the application of
       Article 34, Section 110 means that if there is a plant-wide reduction that requires
       employees to be laid off and there are excesses in the skilled trades department, the
       following sequence will be followed:

       Excesses will be scheduled in the E.I.T. group by shift first with employees who elected
       voluntary layoff being the first employees to be laid off.

       Current manning in each group:

       3 E.I.T. in group                       0 E.I.T. sign-up for voluntary layoff
       6 E.I.T.S. in group                     3 E.I.T.S. sign-up for voluntary layoff
       15 Journeymen in group                  5 Journeymen sign-up for voluntary layoff

       Example #1 Facilities has decided to excess 2 skilled trades department employees.
       Note, since no E.I.T. employees signed-up for voluntary layoff, the two least senior
       E.I.T. employees would be excessed from the group and processed in accordance with
       the language governing the plant-wide layoff.

       Example #2 Using the manning above, if it was necessary to excess 4 skilled trades
       employees, the 3 E.I.T. employees would be excessed first, and then the most senior
       E.I.T.S. who volunteered and is eligible for voluntary layoff would be included and
       placed on voluntary layoff.

       Example #3 Using the manning above, if 7 skilled trades employees were to be
       excessed, the 3 E.I.T. employees would be excessed, the 3 E.I.T.S. who volunteered
       would be placed on voluntary layoff and the least senior remaining E.I.T.S. would be
       excessed from the group and processed in accordance with the language governing
       plant-wide layoff.


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                                                  104
                                                                    UAW - 000460
                                                                             JA001191
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       Example #4 Using the manning above, if 10 skilled trades employees were to be
       excessed, the 3 E.I.T. employees would be excessed, the 3 E.I.T.S. employees who
       volunteered would be placed on voluntary layoff and the remaining 3 E.I.T.S. would be
       excessed from the group and processed in accordance with the language governing
       plant-wide layoff. Finally, the most senior Journeyman who is eligible for voluntary layoff
       would be placed on voluntary layoff.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations




                                                 105
                                                 105
                                                                    UAW - 000461
                                                                            JA001192
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       Letter #19

       Reissued: October 25, 2019
       (Original date 7/20/98)

       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re:   Sub-Contractor Coverage on Saturdays, Sundays, and Holidays and
             Contractor/Vendor Coverage Monday through Friday

       Dear Mr. Smith:

       During the 1998 negotiations, the Company and the Union agreed to the following:

       Sub-Contractor Coverage Saturday, Sunday, and Holidays

       No Facilities sub-contractor will work in the Macungie plant on Saturdays, Sundays, or
       holidays without the presence of a ratio of employees from the Facilities skilled trades
       department. The ratio will be one (1) Mack employee for every two (2) sub-contracting
       employees. The employees scheduled to work will be in the classification of the type of
       work being performed by the sub-contractor, i.e., electrical or mechanical. It is
       understood that management will assign the employees work within their classification.

       Contractor/Vendor Coverage Monday through Friday

       Skilled trades employees will not be assigned to work with contractors/vendors
       Mondays through Fridays unless as a result of a sub-contracting meeting. Our
       employees will then perform portions of this project. In addition, coverage will be
       assigned when contractors/vendors perform warranty work that will provide educational
       benefit to skilled trades employees, e.g., lift trucks, hoists, and new machinery.

       Sincerely,

       John Ptolemy
       Manager, Labor Relations




                                                106
                                                106
                                                                  UAW - 000462
                                                                          JA001193
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       Letter #20


       Reissued: October 25, 2019
       (Original date 7/20/98)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Skilled Trades - Facilities Department Balancing Third Shift Overtime

       Dear Mr. Smith:

       Although there is no contractual obligation to do so, the Company will make a
       conscientious effort based on production demands and preventive maintenance
       schedules to balance overtime hours between the shift in an attempt to provide
       overtime opportunity for third shift Facility Department employees.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations




                                             107
                                             107
                                                              UAW - 000463
                                                                     JA001194
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       Letter #21


       Reissued: October 25, 2019
       (Original date 7/20/98)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

         Re:    Clean Up of Small Spills

       Dear Mr. Smith:

       In an attempt to promote safety, it is agreed that one 18-inch absorbent pad or wipes
       can be used by employees to clean up small spills on the shop floor.

       Sincerely,


       John Ptolemy
       Manager, Labor Relatio




                                                108
                                                108
                                                                  UAW - 000464
                                                                          JA001195
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       Letter #22


       Reissued: October 25, 2019
       (Original date 7/20/98)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103


       Re: Facilities Department - Rules for Overtime

       Dear Mr. Smith:

       Overtime: Employees who are on a scheduled forty (40) hours of vacation will not be
       eligible for overtime during that week until their return to work.

       Exception to this rule shall occur under the following conditions:

          If the employee is first on the overtime list for Early Start on the Monday for which
          the employee will return to work or the employee is in line for Early Start on the
          Monday for which the employee will return to work where more than one employee
          is scheduled, a phone call shall be made to offer the employee the Early Start.

          If an employee is on prior approved absence or “called in” sick for Thursday or
          Friday when overtime is scheduled for Saturday or Sunday and the employee is “in
          line” to work, the Facilities Department will make a reasonable effort to contact the
          employee by phone to offer the overtime.

       Early Start: The “overtime week” shall be from 07:00 Monday until 06:59 the following
       Monday. Any early start shall be offered to the first employee on the overtime list and
       continuing with the list rotation until the overtime requirement is satisfied.

       Overtime hours shall be recalculated and charged at the conclusion of each week for
       the upcoming week, including Mondays that are holidays. The exception to this
       application is for required “skills” that may be necessary.




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                                                  109
                                                                    UAW - 000465
                                                                            JA001196
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       Apprentice. Employees: The previous application that no Apprentice employee is
       permitted to work alone has been mutually agreed upon to be rescinded. Apprentice.
       employees shall be permitted to work alone, however, necessary skills may be a
       determining factor for the overtime. The need for a necessary skill will be first
       discussed (if possible) with the proper union representative.

       The above understanding does not supersede letter of understanding 95-1.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations




                                              110
                                              110
                                                               UAW - 000466
                                                                       JA001197
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       Letter #23


       Reissued: October 25, 2019
       (Original date 7/20/98)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Representatives - Community Services,
           Insurance, and Pension

       Dear Mr. Smith:

       The parties agree that the Local 677 President will appoint one (1) individual from any of
       the Local 677 locations to serve as community service representative, insurance
       representative and pension representative. The appointed representative will serve all
       Local 677 locations and will serve full-time in these capacities. The Company will not be
       responsible for any required overtime.

       Sincerely,


       John Ptolemy
       Manager, Labor Relations




                                                 111
                                                 111
                                                                   UAW - 000467
                                                                           JA001198
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       Letter #24


       Reissued: October 25, 2019
       (Original date 10/2/04)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Overtime Breaks

       Dear Mr. Smith:

       During the 2001 Local contract negotiations, the parties discussed the desire to clarify
       the breaks during overtime. The Company and the Union agree that during the overtime
       hours worked, either three (3) minutes for one-half hour or five (5) minutes for an hour
       will be accumulated to provide a break at a reasonable time during the overtime hours.

       Sincerely,


       John Ptolemy
       Manager, Labor Relation




                                                112
                                                112
                                                                  UAW - 000468
                                                                          JA001199
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       Letter #25


       Reissued October 25, 2019
       (Original date June 1, 2009)



       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103


       Re: Second Shift Representation



       Dear Mr. Smith:

       1. The parties agree that one (1) Committee person and one (1) Alternate
          Committeeperson per Article 3, Section 4(b) will be identified as per Article 3,
          Section 1, and will commence representation duties simultaneous to the start of
          training of the second shift personnel.

       2. A second Committeeperson and Alternate will be provided with the start of a second
          chassis and cab line.

       3. The maximum representation for full second shift production will be two (2)
          Committeepersons and two (2) Alternate Committeepersons.

       4. Until elections are held for any second shift Committeeperson, the Company will
          provide forty (40) hours at the second shift rate to be used by any
          Committeepersofrom Districts 1, 2 or 3. These hours would be used only for second
          shift representation and would be in addition to the respective Committeeperson’s
          regular and overtime hours from the first shift. The Union will notify the Company as
          far in advance as possible as to which Committeeperson from Districts 1, 2 or 3 will
          be representing the second shift. The election for the second shift representatives
          will be held as soon as possible and in keeping with the Union’s election policies and
          rules.

       5. If production ceases on one truck line and one cab line, one (1) Committeeperson
          and one (1) Alternate Committeeperson will be released. The remaining second shift
          Committeeperson and alternate Committeeperson will remain until such time that
          there is no longer any assembly production personnel on second shift.


                                                113
                                                 113
                                                                  UAW - 000469
                                                                          JA001200
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       6. Districts 4, 5 and 6 will continue to represent their second shift constituents until
          such time that a second Committeeperson is elected.


       Sincerely,


       John Ptolemy
        Manager, Labor Relations




                                                114
                                                114
                                                                  UAW - 000470
                                                                          JA001201
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       Letter #26


       Reissued: October 25, 2019
       (Original Date October 2, 2012)



       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Overtime Canvass Process

       Dear Mr. Smith:

       During these negotiations Management and the Union talked about the continued costly
       issues with the overtime canvass process. To resolve this issue the Parties agreed that
       prior to a canvass the Business Team leader will contact the Committeeperson or the
       Alternate, in the Committeepersons absence, and they will mutually agree as to the
       starting point of the canvass and the order of employees to be canvassed. If the
       Committeeperson is consulted before the overtime canvass is conducted and concurs
       with the employees to be canvassed for overtime then if an error occurs there will be no
       liability. If this procedure is followed and an error occurs in the overtime canvass, the
       affected employee(s) will be the first to be offered overtime during the next overtime
       canvass. If an error occurs in the overtime canvass as a result of the Business Team
       Leader failing t consult or disregarding the Committeeperson’s assistance, it will result
       in a monetary liability for the Company with the affected employee(s) being
       compensated for the duration of the missed overtime opportunity. Furthermore, it shall
       be the area Supervisor’s responsibility to notify the Business Team Leader and the
       appropriate Committeeperson does not get back with the Business Team Leader there
       will be no liability and the affected employee(s) will be the first to be offered overtime
       during the next overtime canvass.


       Sincerely,


       John Ptolemy
       Manager, Labor Relations




                                                 115
                                                 115
                                                                   UAW - 000471
                                                                           JA001202
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       Letter #27


       Reissued: October 25, 2019
       (Original Date October 2, 2012)



       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Lease and Rental Company Equipment Repairs and Preventative
           Maintenance.

       Dear Mr. Smith:

       During the course of the 2012 Local Wage and Seniority Agreement negotiations the
       Parties had discussions concerning leased and rental equipment. It was agreed that
       rental and lease agreements include preventative maintenance and repair as part of the
       contracts. As such the Parties agreed to enclose an area where this work would be
       completed in the Shop by the outside technicians. The enclosure may be curtain or wall
       but a barrier to designate and enclose the working area.


       Sincerely,


       John Ptolemy
       Manager, Labor Relations




                                               116
                                               116
                                                                UAW - 000472
                                                                        JA001203
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       Letter #28


       Reissued: October 25, 2019
       (Original Date October 2, 2012)



       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Torque Inspection

       Dear Mr. Smith:

       During the 2012 LWSA negotiations there was a discussion between the Parties on
       how to resolve an issue that occurs when the torque inspector is not present at work
       which is a key quality position. The Parties agreed to post for two (2) back-up positions
       on each production shift to ensure that there will be a qualified employee capable of
       performing the role of torque inspector if that employee is not present at work. Those
       senior employees who indicated through the posting an interest to be backups will be
       trained in order to be qualified as a replacement. They will function in seniority order
       during the absence of the torque inspector. The Parties further agree to jointly set up a
       training program to ensure that there will always be at least two (2) qualified backups.

       The posting for the torque inspector backup will be posted for five (5) work days
       beginning on a Wednesday and will be made available for bid only to those employees
       in Department 223 classified as Production Technician.


       Sincerely,


       John Ptolemy
       Manager, Labor Relations




                                                 117
                                                 117
                                                                   UAW - 000473
                                                                           JA001204
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       Letter #29


       Reissued: October 25, 2019
       (Original Date October 2, 2009)


       Mr. Walt Smith
       President
       U.A.W., Local 677
       2101 Mack Boulevard
       Allentown, PA 18103

       Re: Maintenance Understanding

       Dear Mr. Smith:

       During the course of the 2007 Negotiations, the Parties held discussions regarding the
       performance of skilled trades/ maintenance/ general maintenance work at Macungie
       and its impact on the Company’s competitive position. To this end, the Parties have
       developed the following list. Work functions contained on this list shall not be subject to
       the provisions of Article 27, Section 78 of the Master Agreement. The Company shall
       inform the union in writing when work on this list is to be performed by an external party.

            • All grounds/lawn maintenance including grass cutting and trimming, tree
                 trimming/removal, landscaping, rut repair, seeding, fertilizing, etc.
            • Offices, dispensary, gift shop, wellness center & guard house cleaning/trash
                 removal/floor waxing
            • Refurbishing/constructing restrooms etc. including any dry wall work
            • Snow removal performed with a 8-foot (approximate) or larger plow
            • Concrete cutting, forming, & pouring
            • Outside fencing repairs/installations
            • Building construction & demolition
            • Repairs to the roof
            • Window replacement
            • All outside underground utility work (current practice continues for inside work)
            • Major project work including but not limited to spray booth
                 construction/installation, spray booth retrofit/modification, new crane system
                 installation/retrofit, new sprinkler/fire suppression system installations – these
                 projects should be considered blocks of work where the contractor is
                 responsible for all aspects of the project so all liability falls on them (Main
                 power, air & water hook-ups will be performed by BU)
            • Any work requiring special government or regulatory permitting (examples
                 include welding on pressure vessels or natural gas piping, installation of large
                 storage tanks, tank cleaning) (excludes confined space entry permitting and
                 hot work permitting)

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                                                  118
                                                                     UAW - 000474
                                                                              JA001205
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            • Blacktop repair/replacement (we do not consider this their work now)
            • Concrete floor stripping/sealing (we do not consider this their work now)
            • All excavating requiring equipment (we do not consider this their work now)
            • Roof replacement (we do not consider this their work now)
            • Installation/repair of electrical systems above 480 volts 60 amps
            • Installations requiring certified installers


       Sincerely,


       John Ptolemy
       Manager, Labor Relations




                                                119
                                                119
                                                                  UAW - 000475
                                                                          JA001206
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                                      NEW APPENDIX A
                                    MACUNGIE OPERATIONS


                   Base rate wage increase Macungie Shop, EBU, and OBU



      • Following the ratification of the Agreement, a one-time base rate increase of 3% will
        be paid to all B.U. employees covered by this agreement.

      • During the second year of this Agreement, all B.U. employees will receive a 1%
        general wage increase effective October 1, 2020

      • During the third year of this Agreement, all B.U. employees will receive a 1% general
        wage increase effective October 1, 2021

      • During the fourth year of this Agreement, all B.U. employees will receive a 1%
        general wage increase effective October 1, 2022




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                                                                UAW - 000476
                                                                        JA001207
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                                          NEW APPENDIX A
                                        MACUNGIE OPERATIONS

                          Full rate employees inclusive of COLA (.22 per hour)

       Occupation Title                         Effective October 25, 2019
                             Top Rate
                                                11/04/19 10/01/20 10/01/21 10/01/22 10/01/2
                                                                                    3
       Production Technician                     $28.71   $29.00   $29.29   $29.58 $29.88
       Production Technician – L/O Group         $28.86   $29.15   $29.44   $29.73 $30.03
       Production Technician – Flex              $29.74   $30.04   $30.34   $30.64 $30.95
       Production Technician - Team Leader       $30.77   $31.08   $31.39   $31.70 $32.02
       Methods Lab/Line Tech                     $30.77   $31.08   $31.39   $31.70 $32.02
       Production Tech VEH2-Frame Rail           $29.51   $29.81   $30.10   $30.40 $30.71
       VEH2 Frame Rail Layout                    $28.86   $29.15   $29.44   $29.73 $30.03
       Welder/Frame Tech Combination             $29.58   $29.88   $30.17   $30.48 $30.78
       Production Technician/Final               $28.20   $28.48   $28.77   $29.05 $29.35
       Option Center Technician                  $28.74   $29.03   $29.32   $29.61 $29.91
       Option Center Tech/Combination Welder     $28.81   $29.10   $29.39   $29.68 $29.98
       Spray Painter/Group - OT                  $29.77   $30.07   $30.37   $30.67 $30.98
       Utility Welder/Group                      $28.81   $29.10   $29.39   $29.68 $29.98
       Sheet Metal Finisher/Group                $28.65   $28.94   $29.23   $29.52 $29.81
       Combilift operator                        $28.45   $28.73   $29.02   $29.31 $29.61
       Material Tech Flex                        $28.39   $28.67   $28.96   $29.25 $29.54
       Material Technician                       $27.39   $27.66   $27.94   $28.22 $28.50
       Material Technician - Team Leader         $29.48   $29.77   $30.07   $30.37 $30.68
       Jockey Driver                             $28.45   $28.73   $29.02   $29.31 $29.61
       CKD Tech                                  $27.76   $28.04   $28.32   $28.60 $28.89
       Material - LVLC                           $27.39   $27.66   $27.94   $28.22 $28.50
       Material Coordinator - LVLC               $28.45   $28.73   $29.02   $29.31 $29.61
       Material Tech Flex - LVLC                 $28.39   $28.67   $28.96   $29.25 $29.54
       Material Tech - Inspector                 $28.71   $29.00   $29.29   $29.58 $29.88
       Training Coordinator                      $30.77   $31.08   $31.39   $31.70 $32.02
       Electrical Journeyman                     $30.87   $31.18   $31.49   $31.81 $32.12
       Mechanical Journeyman                     $30.87   $31.18   $31.49   $31.81 $32.12
       Mechanical Employee-in-                   $30.28   $30.58   $30.89   $31.20 $31.51
       Training/Seniority
       Layout Machinist Journeyman               $31.05     $31.36     $31.67    $31.99   $32.31
       Tool Fixture Welder Journeyman            $30.97     $31.28     $31.59    $31.91   $32.23
       General Maintenance - 70%                 $19.24     $19.43     $19.63    $19.82   $20.02




                                                 121
                                                  121
                                                                     UAW - 000477
                                                                             JA001208
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                                               APPENDIX B
                                           MACUNGIE OPERATIONS

                              Legacy progression (bridged employees as of October 25,
                              2019). Employees hired before January 1, 2018. Rates
                              not inclusive of COLA (.22 per hour) until reaching full rate.

      Occupation Title                               Effective October 25, 2019
                            First Year of Service
                           70%                       11/04/19 10/01/20 10/01/21 10/01/22 10/01/23

      Production Technician                           $20.10     $20.30     $20.50     $20.71   $20.92
      Production Technician – L/O Group               $20.20     $20.40     $20.61     $20.81   $21.02
      Production Technician – Flex                    $20.82     $21.03     $21.24     $21.45   $21.67
      Production Technician - Team Leader             $21.54     $21.76     $21.97     $22.19   $22.41
      Methods Lab/Line Tech                           $21.54     $21.76     $21.97     $22.19   $22.41
      Production Tech VEH2-Frame Rail                 $20.66     $20.87     $21.08     $21.29   $21.50
      VEH2 Frame Rail Layout                          $20.20     $20.40     $20.61     $20.81   $21.02
      Welder/Frame Tech Combination                   $20.71     $20.92     $21.13     $21.34   $21.55
      Production Technician/Final                     $19.75     $19.95     $20.15     $20.35   $20.55
      Option Center Technician                        $20.12     $20.32     $20.52     $20.73   $20.94
      Option Center Tech/Combination Welder           $20.17     $20.37     $20.58     $20.78   $20.99
      Spray Painter/Group - OT                        $20.85     $21.06     $21.27     $21.48   $21.70
      Utility Welder/Group                            $20.17     $20.37     $20.58     $20.78   $20.99
      Sheet Metal Finisher/Group                      $20.05     $20.25     $20.45     $20.66   $20.86
      Combilift operator                              $19.92     $20.12     $20.32     $20.52   $20.73
      Material Tech Flex                              $19.87     $20.07     $20.27     $20.47   $20.68
      Material Technician                             $19.17     $19.36     $19.56     $19.75   $19.95
      Material Technician - Team Leader               $20.63     $20.84     $21.04     $21.26   $21.47
      Jockey Driver                                   $19.89     $20.09     $20.29     $20.49   $20.70
      CKD Tech                                        $19.43     $19.62     $19.82     $20.02   $20.22
      Material - LVLC                                 $19.17     $19.36     $19.56     $19.75   $19.95
      Material Coordinator - LVLC                     $19.92     $20.12     $20.32     $20.52   $20.73
      Material Tech Flex - LVLC                       $19.87     $20.07     $20.27     $20.47   $20.68
      Material Tech - Inspector                       $20.10     $20.30     $20.50     $20.71   $20.92
      Training Coordinator                            $21.54     $21.76     $21.97     $22.19   $22.41




                                                        122
                                                       122
                                                                          UAW - 000478
                                                                                     JA001209
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                                              APPENDIX B cont.
                                           MACUNGIE OPERATIONS

                             Legacy progression (bridged employees as of October 25,
                             2019). Employees hired before January 1, 2018. Rates
                             not inclusive of COLA (.22 per hour) until reaching full rate.

       Occupation Title                               Effective October 25, 2019
                            Second Year of Service
                            75%                       11/04/19 10/01/20 10/01/21 10/01/22 10/01/23

       Production Technician                           $21.53     $21.75     $21.96     $22.18   $22.40
       Production Technician – L/O Group               $21.65     $21.87     $22.09     $22.31   $22.53
       Production Technician – Flex                    $22.30     $22.52     $22.75     $22.98   $23.21
       Production Technician - Team Leader             $23.07     $23.30     $23.53     $23.77   $24.01
       Methods Lab/Line Tech                           $23.07     $23.30     $23.53     $23.77   $24.01
       Production Tech VEH2-Frame Rail                 $22.13     $22.35     $22.57     $22.80   $23.03
       VEH2 Frame Rail Layout                          $21.65     $21.87     $22.09     $22.31   $22.53
       Welder/Frame Tech Combination                   $22.19     $22.41     $22.64     $22.86   $23.09
       Production Technician/Final                     $21.16     $21.37     $21.59     $21.80   $22.02
       Option Center Technician                        $21.56     $21.78     $21.99     $22.21   $22.44
       Option Center Tech/Combination Welder           $21.60     $21.82     $22.03     $22.25   $22.48
       Spray Painter/Group - OT                        $22.33     $22.55     $22.78     $23.01   $23.24
       Utility Welder/Group                            $21.61     $21.83     $22.04     $22.26   $22.49
       Sheet Metal Finisher/Group                      $21.50     $21.72     $21.93     $22.15   $22.37
       Combilift operator                              $21.33     $21.54     $21.76     $21.98   $22.20
       Material Tech Flex                              $21.29     $21.50     $21.72     $21.94   $22.15
       Material Technician                             $20.54     $20.75     $20.95     $21.16   $21.37
       Material Technician - Team Leader               $22.11     $22.33     $22.55     $22.78   $23.01
       Jockey Driver                                   $21.31     $21.52     $21.74     $21.96   $22.18
       CKD Tech                                        $20.82     $21.03     $21.24     $21.45   $21.67
       Material - LVLC                                 $20.54     $20.75     $20.95     $21.16   $21.37
       Material Coordinator - LVLC                     $21.33     $21.54     $21.76     $21.98   $22.20
       Material Tech Flex - LVLC                       $21.29     $21.50     $21.72     $21.94   $22.15
       Material Tech - Inspector                       $21.53     $21.75     $21.96     $22.18   $22.40
       Training Coordinator                            $23.07     $23.30     $23.53     $23.77   $24.01




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                                            MACUNGIE OPERATIONS

                              Legacy progression (bridged employees as of October 25,
                              2019). Employees hired before January 1, 2018. Rates
                              not inclusive of COLA (.22 per hour) until reaching full rate.

       Occupation Title                              Effective October 25, 2019
                            Third Year of Service
                            80%                      11/04/19 10/01/20 10/01/21 10/01/22 10/01/23

       Production Technician                          $22.97     $23.20     $23.43     $23.67   $23.90
       Production Technician – L/O Group              $23.08     $23.31     $23.54     $23.78   $24.02
       Production Technician – Flex                   $23.79     $24.03     $24.27     $24.51   $24.76
       Production Technician - Team Leader            $24.62     $24.87     $25.11     $25.37   $25.62
       Methods Lab/Line Tech                          $24.62     $24.87     $25.11     $25.37   $25.62
       Production Tech VEH2-Frame Rail                $23.61     $23.85     $24.08     $24.33   $24.57
       VEH2 Frame Rail Layout                         $23.08     $23.31     $23.54     $23.78   $24.02
       Welder/Frame Tech Combination                  $23.66     $23.90     $24.14     $24.38   $24.62
       Production Technician/Final                    $22.56     $22.79     $23.01     $23.24   $23.48
       Option Center Technician                       $22.99     $23.22     $23.45     $23.69   $23.92
       Option Center Tech/Combination Welder          $23.04     $23.27     $23.50     $23.74   $23.98
       Spray Painter/Group - OT                       $23.81     $24.05     $24.29     $24.53   $24.78
       Utility Welder/Group                           $23.04     $23.27     $23.50     $23.74   $23.98
       Sheet Metal Finisher/Group                     $22.93     $23.16     $23.39     $23.62   $23.86
       Combilift operator                             $22.76     $22.99     $23.22     $23.45   $23.68
       Material Tech Flex                             $22.71     $22.94     $23.17     $23.40   $23.63
       Material Technician                            $21.91     $22.13     $22.35     $22.57   $22.80
       Material Technician - Team Leader              $23.59     $23.83     $24.06     $24.30   $24.55
       Jockey Driver                                  $22.73     $22.96     $23.19     $23.42   $23.65
       CKD Tech                                       $22.21     $22.43     $22.66     $22.88   $23.11
       Material - LVLC                                $21.91     $22.13     $22.35     $22.57   $22.80
       Material Coordinator - LVLC                    $22.76     $22.99     $23.22     $23.45   $23.68
       Material Tech Flex - LVLC                      $22.71     $22.94     $23.17     $23.40   $23.63
       Material Tech - Inspector                      $22.97     $23.20     $23.43     $23.67   $23.90
       Training Coordinator                           $24.62     $24.87     $25.11     $25.37   $25.62




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                                           MACUNGIE OPERATIONS

                             Legacy progression (bridged employees as of October 25,
                             2019). Employees hired before January 1, 2018. Rates
                             not inclusive of COLA (.22 per hour) until reaching full rate.

       Occupation Title                              Effective October 25, 2019
                            Fourth Year of Service
                            85%                      11/04/19 10/01/20 10/01/21 10/01/22 10/01/23

       Production Technician                           $24.40     $24.64     $24.89     $25.14   $25.39
       Production Technician – L/O Group               $24.53     $24.78     $25.02     $25.27   $25.53
       Production Technician – Flex                    $25.28     $25.53     $25.79     $26.05   $26.31
       Production Technician - Team Leader             $26.15     $26.41     $26.68     $26.94   $27.21
       Methods Lab/Line Tech                           $26.15     $26.41     $26.68     $26.94   $27.21
       Production Tech VEH2-Frame Rail                 $25.08     $25.33     $25.58     $25.84   $26.10
       VEH2 Frame Rail Layout                          $24.53     $24.78     $25.02     $25.27   $25.53
       Welder/Frame Tech Combination                   $25.14     $25.39     $25.65     $25.90   $26.16
       Production Technician/Final                     $23.97     $24.21     $24.45     $24.70   $24.94
       Option Center Technician                        $24.43     $24.67     $24.92     $25.17   $25.42
       Option Center Tech/Combination Welder           $24.48     $24.72     $24.97     $25.22   $25.47
       Spray Painter/Group - OT                        $25.30     $25.55     $25.81     $26.07   $26.33
       Utility Welder/Group                            $24.48     $24.72     $24.97     $25.22   $25.47
       Sheet Metal Finisher/Group                      $24.36     $24.60     $24.85     $25.10   $25.35
       Combilift operator                              $24.18     $24.42     $24.67     $24.91   $25.16
       Material Tech Flex                              $24.13     $24.37     $24.62     $24.86   $25.11
       Material Technician                             $23.28     $23.51     $23.75     $23.99   $24.23
       Material Technician - Team Leader               $25.06     $25.31     $25.56     $25.82   $26.08
       Jockey Driver                                   $24.15     $24.39     $24.64     $24.88   $25.13
       CKD Tech                                        $23.60     $23.84     $24.07     $24.32   $24.56
       Material - LVLC                                 $23.28     $23.51     $23.75     $23.99   $24.23
       Material Coordinator - LVLC                     $24.18     $24.42     $24.67     $24.91   $25.16
       Material Tech Flex - LVLC                       $25.39     $25.64     $25.90     $26.16   $26.42
       Material Tech - Inspector                       $24.40     $24.64     $24.89     $25.14   $25.39
       Training Coordinator                            $26.15     $26.41     $26.68     $26.94   $27.21




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                                              APPENDIX B cont.
                                           MACUNGIE OPERATIONS

                             Legacy progression (bridged employees as of October 25,
                             2019). Employees hired before January 1, 2018. Rates
                             not inclusive of COLA (.22 per hour) until reaching full rate.

       Occupation Title                              Effective October 25, 2019
                            Fifth Year of Service
                            90%                      11/04/19 10/01/20 10/01/21 10/01/22 10/01/23

       Production Technician                          $25.83     $26.09      $26.35     $26.61   $26.88
       Production Technician – L/O Group              $25.98     $26.24      $26.50     $26.77   $27.03
       Production Technician – Flex                   $26.76     $27.03      $27.30     $27.57   $27.85
       Production Technician - Team Leader            $27.69     $27.97      $28.25     $28.53   $28.81
       Methods Lab/Line Tech                          $27.69     $27.97      $28.25     $28.53   $28.81
       Production Tech VEH2-Frame Rail                $26.56     $26.83      $27.09     $27.36   $27.64
       VEH2 Frame Rail Layout                         $25.98     $26.24      $26.50     $26.77   $27.03
       Welder/Frame Tech Combination                  $26.62     $26.89      $27.16     $27.43   $27.70
       Production Technician/Final                    $25.38     $25.63      $25.89     $26.15   $26.41
       Option Center Technician                       $25.86     $26.12      $26.38     $26.64   $26.91
       Option Center Tech/Combination Welder          $25.93     $26.19      $26.45     $26.72   $26.98
       Spray Painter/Group - OT                       $26.79     $27.06      $27.33     $27.60   $27.88
       Utility Welder/Group                           $25.93     $26.19      $26.45     $26.72   $26.98
       Sheet Metal Finisher/Group                     $25.79     $26.05      $26.31     $26.57   $26.84
       Combilift operator                             $25.62     $25.88      $26.13     $26.40   $26.66
       Material Tech Flex                             $25.55     $25.81      $26.06     $26.32   $26.59
       Material Technician                            $24.65     $24.90      $25.15     $25.40   $25.65
       Material Technician - Team Leader              $26.53     $26.80      $27.06     $27.33   $27.61
       Jockey Driver                                  $25.57     $25.83      $26.08     $26.34   $26.61
       CKD Tech                                       $24.98     $25.23      $25.48     $25.74   $25.99
       Material - LVLC                                $24.65     $24.90      $25.15     $25.40   $25.65
       Material Coordinator - LVLC                    $25.62     $25.88      $26.13     $26.40   $26.66
       Material Tech Flex - LVLC                      $25.55     $25.81      $26.06     $26.32   $26.59
       Material Tech - Inspector                      $25.83     $26.09      $26.35     $26.61   $26.88
       Training Coordinator                           $27.69     $27.97      $28.25     $28.53   $28.81




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                                               APPENDIX B cont.
                                            MACUNGIE OPERATIONS

                             Legacy progression (bridged employees as of October 25,
                             2019). Employees hired before January 1, 2018. Rates
                             not inclusive of COLA (.22 per hour) until reaching full rate

       Occupation Title                              Effective October 25, 2019
                            Sixth Year of Service
                            95%                      11/04/19 10/01/20 10/01/21 10/01/22 10/01/23

       Production Technician                          $27.27     $27.54     $27.82     $28.10   $28.38
       Production Technician – L/O Group              $27.42     $27.69     $27.97     $28.25   $28.53
       Production Technician – Flex                   $28.25     $28.53     $28.82     $29.11   $29.40
       Production Technician - Team Leader            $29.23     $29.52     $29.82     $30.12   $30.42
       Methods Lab/Line Tech                          $29.23     $29.52     $29.82     $30.12   $30.42
       Production Tech VEH2-Frame Rail                $28.04     $28.32     $28.60     $28.89   $29.18
       VEH2 Frame Rail Layout                         $27.42     $27.69     $27.97     $28.25   $28.53
       Welder/Frame Tech Combination                  $28.10     $28.38     $28.66     $28.95   $29.24
       Production Technician/Final                    $26.79     $27.06     $27.33     $27.60   $27.88
       Option Center Technician                       $27.31     $27.58     $27.86     $28.14   $28.42
       Option Center Tech/Combination Welder          $27.37     $27.64     $27.92     $28.20   $28.48
       Spray Painter/Group - OT                       $28.28     $28.56     $28.85     $29.14   $29.43
       Utility Welder/Group                           $27.37     $27.64     $27.92     $28.20   $28.48
       Sheet Metal Finisher/Group                     $27.22     $27.49     $27.77     $28.04   $28.33
       Combilift operator                             $27.03     $27.30     $27.57     $27.85   $28.13
       Material Tech Flex                             $26.97     $27.24     $27.51     $27.79   $28.07
       Material Technician                            $26.02     $26.28     $26.54     $26.81   $27.08
       Material Technician - Team Leader              $28.01     $28.29     $28.57     $28.86   $29.15
       Jockey Driver                                  $27.00     $27.27     $27.54     $27.82   $28.10
       CKD Tech                                       $26.37     $26.63     $26.90     $27.17   $27.44
       Material - LVLC                                $26.02     $26.28     $26.54     $26.81   $27.08
       Material Coordinator - LVLC                    $27.03     $27.30     $27.57     $27.85   $28.13
       Material Tech Flex - LVLC                      $26.97     $27.24     $27.51     $27.79   $28.07
       Material Tech - Inspector                      $27.27     $27.54     $27.82     $28.10   $28.38
       Training Coordinator                           $29.23     $29.52     $29.82     $30.12   $30.42




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                                                  APPENDIX C
                                          MACUNGIE OPERATIONS
                           Employees hired after January 1, 2018 will follow this
                           pay rate progression. Rates not inclusive of COLA (.22 per
                           hour) until reaching full rate


       Occupation Title                            Effective October 25, 2019
                           First Year of Service
                          70%                      11/04/19 10/01/20 10/01/21 10/01/22 10/01/23

       Production Technician                        $20.10     $20.30     $20.50     $20.71   $20.92
       Production Technician – L/O Group            $20.20     $20.40     $20.61     $20.81   $21.02
       Production Technician – Flex                 $20.82     $21.03     $21.24     $21.45   $21.67
       Production Technician - Team Leader          $21.54     $21.76     $21.97     $22.19   $22.41
       Methods Lab/Line Tech                        $21.54     $21.76     $21.97     $22.19   $22.41
       Production Tech VEH2-Frame Rail              $20.66     $20.87     $21.08     $21.29   $21.50
       VEH2 Frame Rail Layout                       $20.20     $20.40     $20.61     $20.81   $21.02
       Welder/Frame Tech Combination                $20.71     $20.92     $21.13     $21.34   $21.55
       Production Technician/Final                  $19.75     $19.95     $20.15     $20.35   $20.55
       Option Center Technician                     $20.12     $20.32     $20.52     $20.73   $20.94
       Option Center Tech/Combination Welder        $20.17     $20.37     $20.58     $20.78   $20.99
       Spray Painter/Group - OT                     $20.85     $21.06     $21.27     $21.48   $21.70
       Utility Welder/Group                         $20.17     $20.37     $20.58     $20.78   $20.99
       Sheet Metal Finisher/Group                   $20.05     $20.25     $20.45     $20.66   $20.86
       Combilift operator                           $19.92     $20.12     $20.32     $20.52   $20.73
       Material Tech Flex                           $19.87     $20.07     $20.27     $20.47   $20.68
       Material Technician                          $19.17     $19.36     $19.56     $19.75   $19.95
       Material Technician - Team Leader            $20.63     $20.84     $21.04     $21.26   $21.47
       Jockey Driver                                $19.89     $20.09     $20.29     $20.49   $20.70
       CKD Tech                                     $19.43     $19.62     $19.82     $20.02   $20.22
       Material - LVLC                              $19.17     $19.36     $19.56     $19.75   $19.95
       Material Coordinator - LVLC                  $19.92     $20.12     $20.32     $20.52   $20.73
       Material Tech Flex - LVLC                    $19.87     $20.07     $20.27     $20.47   $20.68
       Material Tech - Inspector                    $20.10     $20.30     $20.50     $20.71   $20.92
       Training Coordinator                         $21.54     $21.76     $21.97     $22.19   $22.41




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                                           APPENDIX C cont.
                                        MACUNGIE OPERATIONS

                          Employees hired after January 1, 2018 will follow this
                          pay rate progression. Rates not inclusive of COLA (.22 per
                          hour) until reaching full rate

       Occupation Title                            Effective October 25, 2019
                          Second Year of Service
                          71%                      11/04/19 10/01/20 10/01/21 10/01/22 10/01/23

       Production Technician                        $20.38     $20.58     $20.79     $21.00   $21.21
       Production Technician – L/O Group            $20.49     $20.69     $20.90     $21.11   $21.32
       Production Technician – Flex                 $21.12     $21.33     $21.54     $21.76   $21.98
       Production Technician - Team Leader          $21.85     $22.07     $22.29     $22.51   $22.74
       Methods Lab/Line Tech                        $21.85     $22.07     $22.29     $22.51   $22.74
       Production Tech VEH2-Frame Rail              $20.95     $21.16     $21.37     $21.58   $21.80
       VEH2 Frame Rail Layout                       $20.49     $20.69     $20.90     $21.11   $21.32
       Welder/Frame Tech Combination                $21.00     $21.21     $21.42     $21.64   $21.85
       Production Technician/Final                  $20.02     $20.22     $20.42     $20.63   $20.83
       Option Center Technician                     $20.40     $20.60     $20.81     $21.02   $21.23
       Option Center Tech/Combination Welder        $20.46     $20.66     $20.87     $21.08   $21.29
       Spray Painter/Group - OT                     $21.12     $21.33     $21.54     $21.76   $21.98
       Utility Welder/Group                         $20.46     $20.66     $20.87     $21.08   $21.29
       Sheet Metal Finisher/Group                   $20.34     $20.54     $20.75     $20.96   $21.17
       Combilift operator                           $20.18     $20.38     $20.59     $20.79   $21.00
       Material Tech Flex                           $20.16     $20.36     $20.57     $20.77   $20.98
       Material Technician                          $19.45     $19.64     $19.84     $20.04   $20.24
       Material Technician - Team Leader            $20.93     $21.14     $21.35     $21.56   $21.78
       Jockey Driver                                $20.18     $20.38     $20.59     $20.79   $21.00
       CKD Tech                                     $19.70     $19.90     $20.10     $20.30   $20.50
       Material - LVLC                              $19.45     $19.64     $19.84     $20.04   $20.24
       Material Coordinator - LVLC                  $20.18     $20.38     $20.59     $20.79   $21.00
       Material Tech Flex - LVLC                    $20.16     $20.36     $20.57     $20.77   $20.98
       Material Tech - Inspector                    $20.38     $20.58     $20.79     $21.00   $21.21
       Training Coordinator                         $21.85     $22.07     $22.29     $22.51   $22.74




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                                                APPENDIX C cont.
                                             MACUNGIE OPERATIONS

                             Employees hired after January 1, 2018 will follow this
                             pay rate progression. Rates not inclusive of COLA (.22 per
                             hour) until reaching full rate

       Occupation Title                           Effective October 25, 2019
                          Third Year of Service
                          72%                     11/04/19 10/01/20 10/01/21 10/01/22 10/01/23

       Production Technician                       $20.67     $20.88     $21.09     $21.30   $21.51
       Production Technician – L/O Group           $20.78     $20.99     $21.20     $21.41   $21.62
       Production Technician – Flex                $21.41     $21.62     $21.84     $22.06   $22.28
       Production Technician - Team Leader         $22.16     $22.38     $22.61     $22.83   $23.06
       Methods Lab/Line Tech                       $22.16     $22.38     $22.61     $22.83   $23.06
       Production Tech VEH2-Frame Rail             $21.25     $21.46     $21.68     $21.89   $22.11
       VEH2 Frame Rail Layout                      $20.78     $20.99     $21.20     $21.41   $21.62
       Welder/Frame Tech Combination               $21.30     $21.51     $21.73     $21.95   $22.16
       Production Technician/Final                 $20.30     $20.50     $20.71     $20.92   $21.12
       Option Center Technician                    $20.69     $20.90     $21.11     $21.32   $21.53
       Option Center Tech/Combination Welder       $20.74     $20.95     $21.16     $21.37   $21.58
       Spray Painter/Group - OT                    $21.41     $21.62     $21.84     $22.06   $22.28
       Utility Welder/Group                        $20.74     $20.95     $21.16     $21.37   $21.58
       Sheet Metal Finisher/Group                  $20.63     $20.84     $21.04     $21.26   $21.47
       Combilift operator                          $20.46     $20.66     $20.87     $21.08   $21.29
       Material Tech Flex                          $20.44     $20.64     $20.85     $21.06   $21.27
       Material Technician                         $19.71     $19.91     $20.11     $20.31   $20.51
       Material Technician - Team Leader           $21.23     $21.44     $21.66     $21.87   $22.09
       Jockey Driver                               $20.46     $20.66     $20.87     $21.08   $21.29
       CKD Tech                                    $19.98     $20.18     $20.38     $20.59   $20.79
       Material - LVLC                             $19.71     $19.91     $20.11     $20.31   $20.51
       Material Coordinator - LVLC                 $20.46     $20.66     $20.87     $21.08   $21.29
       Material Tech Flex - LVLC                   $20.44     $20.64     $20.85     $21.06   $21.27
       Material Tech - Inspector                   $20.67     $20.88     $21.09     $21.30   $21.51
       Training Coordinator                        $22.16     $22.38     $22.61     $22.83   $23.06




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                                           MACUNGIE OPERATIONS

                            Employees hired after January 1, 2018 will follow this
                            pay rate progression. Rates not inclusive of COLA (.22 per
                            hour) until reaching full rate


       Occupation Title                            Effective October 25, 2019
                          Fourth Year of Service
                          74%                      11/04/19 10/01/20 10/01/21 10/01/22 10/01/23

       Production Technician                        $21.24     $21.45     $21.67     $21.88   $22.10
       Production Technician – L/O Group            $21.35     $21.56     $21.78     $22.00   $22.22
       Production Technician – Flex                 $22.00     $22.22     $22.44     $22.67   $22.89
       Production Technician - Team Leader          $22.76     $22.99     $23.22     $23.45   $23.68
       Methods Lab/Line Tech                        $22.76     $22.99     $23.22     $23.45   $23.68
       Production Tech VEH2-Frame Rail              $21.84     $22.06     $22.28     $22.50   $22.73
       VEH2 Frame Rail Layout                       $21.35     $21.56     $21.78     $22.00   $22.22
       Welder/Frame Tech Combination                $21.89     $22.11     $22.33     $22.55   $22.78
       Production Technician/Final                  $20.87     $21.08     $21.29     $21.50   $21.72
       Option Center Technician                     $21.27     $21.48     $21.70     $21.91   $22.13
       Option Center Tech/Combination Welder        $21.31     $21.52     $21.74     $21.96   $22.18
       Spray Painter/Group - OT                     $22.00     $22.22     $22.44     $22.67   $22.89
       Utility Welder/Group                         $21.31     $21.52     $21.74     $21.96   $22.18
       Sheet Metal Finisher/Group                   $21.21     $21.42     $21.64     $21.85   $22.07
       Combilift operator                           $21.03     $21.24     $21.45     $21.67   $21.88
       Material Tech Flex                           $21.01     $21.22     $21.43     $21.65   $21.86
       Material Technician                          $20.27     $20.47     $20.68     $20.88   $21.09
       Material Technician - Team Leader            $21.82     $22.04     $22.26     $22.48   $22.71
       Jockey Driver                                $21.03     $21.24     $21.45     $21.67   $21.88
       CKD Tech                                     $20.54     $20.75     $20.95     $21.16   $21.37
       Material - LVLC                              $20.27     $20.47     $20.68     $20.88   $21.09
       Material Coordinator - LVLC                  $21.03     $21.24     $21.45     $21.67   $21.88
       Material Tech Flex - LVLC                    $21.01     $21.22     $21.43     $21.65   $21.86
       Material Tech - Inspector                    $21.24     $21.45     $21.67     $21.88   $22.10
       Training Coordinator                         $22.76     $22.99     $23.22     $23.45   $23.68




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                                                                                   JA001218
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                                               APPENDIX C cont.
                                            MACUNGIE OPERATIONS

                             Employees hired after January 1, 2018 will follow this
                             pay rate progression. Rates not inclusive of COLA (.22 per
                             hour) until reaching full rate


       Occupation Title                           Effective October 25, 2019
                          Fifth Year of Service
                          76%                     11/04/19 10/01/20 10/01/21 10/01/22 10/01/23

       Production Technician                       $21.82     $22.04     $22.26     $22.48   $22.71
       Production Technician – L/O Group           $21.93     $22.15     $22.37     $22.59   $22.82
       Production Technician – Flex                $22.60     $22.83     $23.05     $23.28   $23.52
       Production Technician - Team Leader         $23.38     $23.61     $23.85     $24.09   $24.33
       Methods Lab/Line Tech                       $23.38     $23.61     $23.85     $24.09   $24.33
       Production Tech VEH2-Frame Rail             $22.42     $22.64     $22.87     $23.10   $23.33
       VEH2 Frame Rail Layout                      $21.93     $22.15     $22.37     $22.59   $22.82
       Welder/Frame Tech Combination               $22.48     $22.70     $22.93     $23.16   $23.39
       Production Technician/Final                 $21.43     $21.64     $21.86     $22.08   $22.30
       Option Center Technician                    $21.84     $22.06     $22.28     $22.50   $22.73
       Option Center Tech/Combination Welder       $21.89     $22.11     $22.33     $22.55   $22.78
       Spray Painter/Group - OT                    $22.60     $22.83     $23.05     $23.28   $23.52
       Utility Welder/Group                        $21.89     $22.11     $22.33     $22.55   $22.78
       Sheet Metal Finisher/Group                  $21.77     $21.99     $22.21     $22.43   $22.65
       Combilift operator                          $21.60     $21.82     $22.03     $22.25   $22.48
       Material Tech Flex                          $21.58     $21.80     $22.01     $22.23   $22.46
       Material Technician                         $20.82     $21.03     $21.24     $21.45   $21.67
       Material Technician - Team Leader           $22.40     $22.62     $22.85     $23.08   $23.31
       Jockey Driver                               $21.60     $21.82     $22.03     $22.25   $22.48
       CKD Tech                                    $21.09     $21.30     $21.51     $21.73   $21.95
       Material - LVLC                             $20.82     $21.03     $21.24     $21.45   $21.67
       Material Coordinator - LVLC                 $21.60     $21.82     $22.03     $22.25   $22.48
       Material Tech Flex - LVLC                   $21.58     $21.80     $22.01     $22.23   $22.46
       Material Tech - Inspector                   $21.82     $22.04     $22.26     $22.48   $22.71
       Training Coordinator                        $23.38     $23.61     $23.85     $24.09   $24.33




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                                                   132
                                                                       UAW - 000488
                                                                                  JA001219
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                                            APPENDIX C cont.
                                         MACUNGIE OPERATIONS



                          Employees hired after January 1, 2018 will follow this
                          pay rate progression. Rates not inclusive of COLA (.22 per
                          hour) until reaching full rate

       Occupation Title                           Effective October 25, 2019
                          Sixth Year of Service
                          79%                     11/04/19 10/01/20 10/01/21 10/01/22 10/01/23

       Production Technician                       $22.68     $22.91     $23.14   $23.37   $23.60
       Production Technician – L/O Group           $22.79     $23.02     $23.25   $23.48   $23.72
       Production Technician – Flex                $23.49     $23.72     $23.96   $24.20   $24.44
       Production Technician - Team Leader         $24.31     $24.55     $24.80   $25.05   $25.30
       Methods Lab/Line Tech                       $24.31     $24.55     $24.80   $25.05   $25.30
       Production Tech VEH2-Frame Rail             $23.31     $23.54     $23.78   $24.02   $24.26
       VEH2 Frame Rail Layout                      $22.79     $23.02     $23.25   $23.48   $23.72
       Welder/Frame Tech Combination               $23.37     $23.60     $23.84   $24.08   $24.32
       Production Technician/Final                 $22.28     $22.50     $22.73   $22.96   $23.18
       Option Center Technician                    $22.70     $22.93     $23.16   $23.39   $23.62
       Option Center Tech/Combination Welder       $22.75     $22.98     $23.21   $23.44   $23.67
       Spray Painter/Group - OT                    $23.49     $23.72     $23.96   $24.20   $24.44
       Utility Welder/Group                        $22.75     $22.98     $23.21   $23.44   $23.67
       Sheet Metal Finisher/Group                  $22.64     $22.87     $23.10   $23.33   $23.56
       Combilift operator                          $22.45     $22.67     $22.90   $23.13   $23.36
       Material Tech Flex                          $22.43     $22.65     $22.88   $23.11   $23.34
       Material Technician                         $21.64     $21.86     $22.07   $22.30   $22.52
       Material Technician - Team Leader           $23.29     $23.52     $23.76   $24.00   $24.24
       Jockey Driver                               $22.45     $22.67     $22.90   $23.13   $23.36
       CKD Tech                                    $21.93     $22.15     $22.37   $22.59   $22.82
       Material - LVLC                             $21.64     $21.86     $22.07   $22.30   $22.52
       Material Coordinator - LVLC                 $22.45     $22.67     $22.90   $23.13   $23.36
       Material Tech Flex - LVLC                   $22.43     $22.65     $22.88   $23.11   $23.34
       Material Tech - Inspector                   $22.68     $22.91     $23.14   $23.37   $23.60
       Training Coordinator                        $24.31     $24.55     $24.80   $25.05   $25.30




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                                                   133
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                                                                               JA001220
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                                           APPENDIX D
                                       MACUNGIE OPERATIONS

         The below wage rates shall be applicable for all employees hired before or after
         October 25, 2019 The rates are based on the provisions set forth in Article 16, Sections
         56 (f) and 58 (c) of the Master Agreement.


                          APPRENTICE RATES EFFECTIVE AS OF 10/25/2019
                                         Mechanical
           Hours              11/4/19       10/1/20     10/1/21                         10/1/22
           0-1000             29.12         29.43         39.74                         30.06
           1-2000             29.37         29.68         29.99                         30.31
           2-3000             29.62         39.93         30.24                         30.56
           3-4000             29.87         30.18         30.49                         30.81
           4-5000             30.12         30.43         30.74                         31.06
           5-6000             30.37         30.68         30.99                         31.31
           6-7000             30.62         30.93         31.24                         31.56
           7-8000             30.87         31.18         31.49                         31.81



                          APPRENTICE RATES EFFECTIVE AS OF 10/25/2019
                                           Layout
           Hours              11/4/19       10/1/20     10/1/21                         10/1/22
           0-1000             29.30         29.61         29.92                         30.24
           1-2000             29.55         39.86         30.17                         30.49
           2-3000             29.80         30.11         30.42                         30.74
           3-4000             30.05         30.36         30.67                         30.99
           4-5000             30.30         30.61         30.92                         31.24
           5-6000             30.55         30.86         31.17                         31.49
           6-7000             30.80         31.11         31.42                         31.74
           7-8000             31.05         31.36         31.67                         31.99


                          APPRENTICE RATES EFFECTIVE AS OF 10/25/2019
                                         Tool Fixture
           Hours              11/4/19       10/1/20     10/1/21                         10/1/22
           0-1000              29.22        29.53         29.84                         30.16
           1-2000              29.47        29.78         30.09                         30.41
           2-3000              29.72        30.03         30.34                         30.66
           3-4000              29.97        30.28         30.59                         30.91
           4-5000              30.22        30.53         30.84                         31.16
           5-6000              30.47        30.78         31.09                         31.41
           6-7000              30.72        31.03         31.34                         31.66
           7-8000              30.97        31.28         31.59                         31.91


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                                                                     UAW - 000490
                                                                              JA001221
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                   APPRENTICE RATES EFFECTIVE AS OF 10/25/2019
                                   Electrical
          Hours        11/4/19       10/1/20      10/1/21        10/1/22
          0-1000        29.12        29.43          39.74        30.06
          1-2000        29.37        29.68          29.99        30.31
          2-3000        29.62        39.93          30.24        30.56
          3-4000        29.87        30.18          30.49        30.81
          4-5000        30.12        30.43          30.74        31.06
          5-6000        30.37        30.68          30.99        31.31
          6-7000        30.62        30.93          31.24        31.56
          7-8000        30.87        31.18          31.49        31.81




                                      135

                                      135
                                                     UAW - 000491
                                                            JA001222
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                                    2020 CALENDAR

                      JANUARY                                 JULY
        S    M    T     W      T    F    S    S    M    T      W      T    F    S
                        1      2    3    4                     1      2    3    4
        5    6    7     8      9    10   11   5    6    7      8      9    10   11
        12   13   14    15     16   17   18   12   13   14     15     16   17   18
        19   20   21    22     23   24   25   19   20   21     22     23   24   25
        26   27   28    29     30   31        26   27   28     29     30   31

                  FEBRUARY                                   AUGUST
        S    M    T     W      T    F    S    S    M    T      W      T    F    S
                                          1                                      1
        2     3    4     5      6    7   8    2     3   4       5      6   7    8
        9    10   11    12     13   14   15   9    10   11     12     13   14   15
        16   17   18    19     20   21   22   16   17   18     19     20   21   22
        23   24   25    26     27   28   29   23   24   25     26     27   28   29
                                              30   31
                       MARCH                            SEPTEMBER
        S    M    T     W      T    F    S    S    M    T      W       T    F   S
         1    2    3     4      5    6    7              1      2      3    4    5
        8    9    10    11     12   13   14   6    7     8      9     10   11   12
        15   16   17    18     19   20   21   13   14   15     16     17   18   19
        22   23   24    25     26   27   28   20   21   22     23     24   25   26
        29   30   31                          27   28   29     30

                       APRIL                                OCTOBER
        S    M    T     W      T    F    S    S    M    T      W       T    F   S
                        1      2    3    4                             1    2    3
        5    6    7     8      9    10   11   4    5     6      7      8    9   10
        12   13   14    15     16   17   18   11   12   13     14     15   16   17
        19   20   21    22     23   24   25   18   19   20     21     22   23   24
        26   27   28    29     30             25   26   27     28     29   30   31

                        MAY                             NOVEMBER
        S    M    T     W      T    F    S    S    M    T      W      T    F    S
                                     1    2    1    2    3      4      5    6    7
        3    4    5     6      7    8    9    8    9    10     11     12   13   14
        10   11   12    13     14   15   16   15   16   17     18     19   20   21
        17   18   19    20     21   22   23   22   23   24     25     26   27   28
        24   25   26    27     28   29   30   29   30
        31
                       JUNE                             DECEMBER
        S    M    T     W       T    F   S    S    M    T      W       T    F   S
             1     2     3      4    5   6               1      2      3    4    5
        7    8    9     10     11   12   13   6    7     8      9     10   11   12
        14   15   16    17     18   19   20   13   14   15     16     17   18   19
        21   22   23    24     25   26   27   20   21   22     23     24   25   26
        28   29   30                          27   28   29     30     31
                                                    UAW - 000492
                                                              JA001223
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                                    2021 CALENDAR

                      JANUARY                                 JULY
        S    M    T     W      T    F    S    S    M    T      W       T    F   S
                                     1    2                            1    2    3
        3    4    5     6      7    8    9    4    5     6      7      8    9   10
        10   11   12    13     14   15   16   11   12   13     14     15   16   17
        17   18   19    20     21   22   23   18   19   20     21     22   23   24
        24   25   26    27     28   29   30   25   26   27     28     29   30   31
        31
                  FEBRUARY                                   AUGUST
        S    M    T     W       T    F   S    S    M    T      W      T    F    S
             1     2     3      4    5   6     1    2    3      4      5    6    7
        7    8    9     10     11   12   13   8    9    10     11     12   13   14
        14   15   16    17     18   19   20   15   16   17     18     19   20   21
        21   22   23    24     25   26   27   22   23   24     25     26   27   28
        28                                    29   30   31

                       MARCH                            SEPTEMBER
        S    M    T     W       T    F   S    S    M    T      W       T    F   S
             1     2     3      4    5   6                      1      2    3    4
        7    8    9     10     11   12   13   5    6     7     8      9    10   11
        14   15   16    17     18   19   20   12   13   14     15     16   17   18
        21   22   23    24     25   26   27   19   20   21     22     23   24   25
        28   29   30    31                    26   27   28     29     30

                       APRIL                                OCTOBER
        S    M    T     W       T    F   S    S    M    T      W      T    F    S
                                1    2    3                                 1    2
        4     5    6     7      8    9   10   3    4     5      6      7   8    9
        11   12   13    14     15   16   17   10   11   12     13     14   15   16
        18   19   20    21     22   23   24   17   18   19     20     21   22   23
        25   26   27    28     29   30        24   25   26     27     28   29   30
                                              31
                        MAY                             NOVEMBER
        S    M    T     W      T    F    S    S    M    T      W       T    F   S
                                          1        1     2      3      4    5   6
        2     3    4     5      6    7   8    7    8     9     10     11   12   13
        9    10   11    12     13   14   15   14   15   16     17     18   19   20
        16   17   18    19     20   21   22   21   22   23     24     25   26   27
        23   24   25    26     27   28   29   28   29   30
        30   31
                       JUNE                             DECEMBER
        S    M    T     W       T    F   S    S    M    T      W       T    F   S
                   1     2      3    4    5                     1      2    3    4
        6    7    8     9      10   11   12   5    6     7     8      9    10   11
        13   14   15    16     17   18   19   12   13   14     15     16   17   18
        20   21   22    23     24   25   26   19   20   21     22     23   24   25
        27   28   29    30                    26   27   28     29     30   31
                                                    UAW - 000493
                                                              JA001224
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                                    2022 CALENDAR

                      JANUARY                                 JULY
        S    M    T     W      T    F    S    S    M    T      W      T     F   S
                                          1                                 1    2
        2     3    4     5      6    7   8    3    4     5      6      7   8    9
        9    10   11    12     13   14   15   10   11   12     13     14   15   16
        16   17   18    19     20   21   22   17   18   19     20     21   22   23
        23   24   25    26     27   28   29   24   25   26     27     28   29   30
        30   31                               31
                  FEBRUARY                                   AUGUST
        S    M    T     W       T    F   S    S    M    T      W      T    F    S
                  1      2      3    4    5         1    2      3      4    5    6
        6     7   8     9      10   11   12   7    8     9     10     11   12   13
        13   14   15    16     17   18   19   14   15   16     17     18   19   20
        20   21   22    23     24   25   26   21   22   23     24     25   26   27
        27   28                               28   29   30     31

                       MARCH                            SEPTEMBER
        S    M    T     W       T    F   S    S    M    T      W       T    F   S
                  1      2      3    4    5                            1    2    3
        6    7    8     9      10   11   12   4    5     6      7      8    9   10
        13   14   15    16     17   18   19   11   12   13     14     15   16   17
        20   21   22    23     24   25   26   18   19   20     21     22   23   24
        27   28   29    30     31             25   26   27     28     29   30

                       APRIL                                OCTOBER
        S    M    T     W      T     F   S    S    M    T      W      T    F    S
                                     1    2                                      1
        3    4    5     6      7    8    9    2     3    4      5      6   7    8
        10   11   12    13     14   15   16   9    10   11     12     13   14   15
        17   18   19    20     21   22   23   16   17   18     19     20   21   22
        24   25   26    27     28   29   30   23   24   25     26     27   28   29
                                              30   31
                        MAY                             NOVEMBER
        S    M    T     W       T    F   S    S    M    T      W       T    F   S
         1    2    3     4      5    6    7             1      2      3    4    5
        8    9    10    11     12   13   14   6    7    8      9      10   11   12
        15   16   17    18     19   20   21   13   14   15     16     17   18   19
        22   23   24    25     26   27   28   20   21   22     23     24   25   26
        29   30   31                          27   28   29     30

                       JUNE                             DECEMBER
        S    M    T     W       T    F   S    S    M    T      W       T    F   S
                         1      2    3    4                            1    2    3
        5    6    7     8      9    10   11   4    5     6      7      8    9   10
        12   13   14    15     16   17   18   11   12   13     14     15   16   17
        19   20   21    22     23   24   25   18   19   20     21     22   23   24
        26   27   28    29     30             25   26   27     28     29   30   31
                                                    UAW - 000494
                                                              JA001225
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                                    2023 CALENDAR

                      JANUARY                                 JULY
        S    M    T     W       T    F   S    S    M    T      W      T    F    S
         1    2    3     4      5    6    7                                      1
        8    9    10    11     12   13   14   2     3   4      5      6    7    8
        15   16   17    18     19   20   21   9    10   11     12     13   14   15
        22   23   24    25     26   27   28   16   17   18     19     20   21   22
        29   30   31                          23   24   25     26     27   28   29
                                              30   31
                  FEBRUARY                                   AUGUST
        S    M    T     W       T    F   S    S    M    T      W       T    F   S
                         1      2    3    4             1      2      3    4    5
        5    6    7     8      9    10   11   6    7    8      9      10   11   12
        12   13   14    15     16   17   18   13   14   15     16     17   18   19
        19   20   21    22     23   24   25   20   21   22     23     24   25   26
        26   27   28                          27   28   29     30     31

                       MARCH                            SEPTEMBER
        S    M    T     W       T    F   S    S    M    T      W      T     F   S
                         1      2    3    4                                 1    2
        5    6    7     8      9    10   11   3    4     5      6      7   8    9
        12   13   14    15     16   17   18   10   11   12     13     14   15   16
        19   20   21    22     23   24   25   17   18   19     20     21   22   23
        26   27   28    29     30   31        24   25   26     27     28   29   30

                       APRIL                                OCTOBER
        S    M    T     W      T    F    S    S    M    T      W       T    F   S
                                          1    1    2    3      4      5    6    7
        2     3    4     5      6    7    8   8    9    10     11     12   13   14
        9    10   11    12     13   14   15   15   16   17     18     19   20   21
        16   17   18    19     20   21   22   22   23   24     25     26   27   28
        23   24   25    26     27   28   29   29   30   31
        30
                        MAY                             NOVEMBER
        S    M    T     W      T    F    S    S    M    T      W       T    F   S
              1    2     3      4    5    6                     1      2    3    4
        7    8    9     10     11   12   13   5    6     7     8      9    10   11
        14   15   16    17     18   19   20   12   13   14     15     16   17   18
        21   22   23    24     25   26   27   19   20   21     22     23   24   25
        28   29   30    31                    26   27   28     29     30

                       JUNE                             DECEMBER
        S    M    T     W       T    F   S    S    M    T      W      T     F   S
                                1    2    3                                 1    2
        4     5    6     7      8    9   10   3    4     5      6      7   8    9
        11   12   13    14     15   16   17   10   11   12     13     14   15   16
        18   19   20    21     22   23   24   17   18   19     20     21   22   23
        25   26   27    28     29   30        24   25   26     27     28   29   30
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